Case: 25-1611   Document: 00118310432   Page: 1   Date Filed: 07/08/2025   Entry ID: 6734280




                           APHA PLAINTIFFS’ APPENDIX
Case: 25-1611      Document: 00118310432               Page: 2       Date Filed: 07/08/2025            Entry ID: 6734280




                                            TABLE OF CONTENTS
                                                                                                     PAGE NO.

      Exhibit 2 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-02) ................................................................................ APHA App. 001

      Exhibit 19 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-19) ................................................................................ APHA App. 005

      Exhibit 20 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-20) ................................................................................ APHA App. 102

      Exhibit 21 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-21) ................................................................................ APHA App. 162

      Exhibit 22 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-22) ................................................................................ APHA App. 227

      Exhibit 23 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-23) ................................................................................ APHA App. 309

      Exhibit 24 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-24) ................................................................................ APHA App. 398

      Exhibit 25 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-25) ................................................................................ APHA App. 455

      Exhibit 26 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-26) ................................................................................ APHA App. 462

      Exhibit 29 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-29) ................................................................................ APHA App. 481

      Exhibit 30 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-30) ................................................................................ APHA App. 549

      Exhibit 31 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-31) ................................................................................ APHA App. 678

      Exhibit 33 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-33) ................................................................................ APHA App. 722
Case: 25-1611        Document: 00118310432                   Page: 3          Date Filed: 07/08/2025                Entry ID: 6734280




      Exhibit 34 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-34) ................................................................................ APHA App. 779

      Exhibit 40 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-40) ................................................................................ APHA App. 799

      Exhibit 41 to Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 38-41) ................................................................................ APHA App. 844

      Memorandum of Law in Support of Plaintiffs' Motion for Preliminary Injunction
      (Dkt. No. 41) .................................................................................................. APHA App. 911

      Reply in Support of Plaintiffs' Motion for a Preliminary Injunction
      (Dkt. No. 71) .................................................................................................. APHA App. 964

      Exhibit 43 to Plaintiffs' Reply Brief in Support of Preliminary Injunction
      (Dkt. No. 72-01) ................................................................................ APHA App. 990

      Plaintiffs' Opening Brief for Phase 1 Proceeding
      (Dkt. No. 103) ................................................................................................ APHA App. 998

      Memorandum of Points and Authorities in Support of Defendants' Motion to
      Dismiss Plaintiffs' Phase 2 Claims
      (Dkt. No. 131) ................................................................................. APHA App. 1040

      Exhibit A to Proposed Partial Final Judgment
      (Dkt. No. 138-01) ............................................................................ APHA App. 1068

      Exhibit B to Proposed Partial Final Judgment
      (Dkt. No. 138-02) ............................................................................ APHA App. 1085

      Excerpts from Administrative Record ............................................ APHA App. 1103
Case: 25-1611   Document: 00118310432   Page: 4   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-2
                                  Document 38-2   Filed 04/25/25
                                                  Filed 04/25/25   Page1of4
                                                                   Page 1 of 4




                        EXHIBIT
                        EXHIBIT 2




                                                                      APHA App. 001
 Case: 25-1611                   Document: 00118310432                         Page: 5           Date Filed: 07/08/2025                     Entry ID: 6734280
Budget | National Institutes of Health (NIH)                                                                      https://www.nih. gov/about-nih/what-we-do/budget
                                Case 1:25-cv-10787-BEM
                                Case 1:25-cv-10787-BEM                    Document 38-2
                                                                          Document 38-2             Filed 04/25/25
                                                                                                    Filed 04/25/25           Page 2
                                                                                                                             Page 2of4
                                                                                                                                    of 4


                       National Institutes
                       of Health


         Vin AW    AYA oa BO)



     Budget
     Research for the People

     The NIH invests most of its nearly $48 billion budget' in medical research for the American people.

     Nearly 83 percent? of NIH’s funding is awarded for extramural research, largely through almost 50,000 competitive grants to more than
     300,000 researchers at more than 2,500 universities, medical schools, and other research institutions in every state.

     In addition, approximately 11 percent? of the NIH's budget supports projects conducted by nearly 6,000 scientists in its own laboratories,
     most of which are on the NIH campus in Bethesda, Maryland. The remaining 6 percent? covers research support, administrative, and facility
     construction, maintenance, or operational costs.


     Justifications, Testimonies, and Appropriations

           e Budget Requests — congressional justifications
           e Congressional Testimony — budget requests & testimony by the NIH Director
           e History of NIH Appropriations — from 1938


     Funding for Diseases, Conditions, Research Areas

           e Funding levels for diseases, conditions, and research areas, based on actual grants, contracts, research conducted at NIH, and other
              mechanisms of support.


     Grants Awarded

           e Funded Organization — universities and research organizations around the nation receiving research grants and contracts
           e Budget and Spending — funding for grants and contracts
           ¢ Success Rates — annual percentage of research grant applications that are funded
           e RePORTER — a Searchable database of NIH-funded research projects


     ’ Based on historical distribution of actual   FY 2022 obligations across extramural and intramural mechanisms that comprise the annual NIH budget.

       Reflects the sum of enacted discretionary budget authority of slightly over $46.1 billion received under the Consolidated Appropriations Act, 2023 (P.L.
     117-328). The budget total of $47.7 billion also includes $1.412 billion derived from PHS Evaluation financing, $141.5 million mandatory funding for the
     Special type 1 diabetes account, and $1.085 billion received from 21" Century Cures Act allocations. Appropriations received by the recently established
     Advanced Research Projects Agency for Health (ARPA-H) are excluded as is unobligated carryover related to emergency pandemic supplemental
     appropriations enacted prior to FY 2022 and resources from the HHS Nonrecurring Expenses Fund (NEF).


     This page last reviewed on October 3, 2024



            Impact of NIH Research




1 of 3                                                                                                                                               4/18/2025, 5:43 PM
                                                                                                                                    APHA App. 002
 Case: 25-1611                  Document: 00118310432                 Page: 6          Date Filed: 07/08/2025                Entry ID: 6734280
Budget | National Institutes of Health (NIH)                                                            https://www.nih.gov/about-nih/what-we-do/budget
                              Case 1:25-cv-10787-BEM
                              Case 1:25-cv-10787-BEM             Document 38-2
                                                                 Document 38-2           Filed 04/25/25
                                                                                         Filed 04/25/25          Page 3
                                                                                                                 Page 3of4
                                                                                                                        of 4




            NIH research has had a major positive impact on nearly all of our lives by improving human health, fueling the U.S. economy, and
            creating jobs in our communities.


               Read more »




             Related Links
            Office of Budget — NIH budget management, policy, planning, analysis, formulation and presentation

            Office of Financial Management — provides leadership and direction for NIH financial management activities

            Office of Extramural Research — provides guidance to NIH Institutes for research and training conducted outside the NIH

            Office of Intramural Research — coordinates research conducted directly by NIH scientists

             NIH Research Portfolio Online Reporting Tools — A one-stop shop for reports on the NIH research portfolio




         NIH...Turning Discovery Into Health”




2 of 3                                                                                                                                4/18/2025, 5:43 PM
                                                                                                                         APHA App. 003
 Case: 25-1611                  Document: 00118310432                         Page: 7    Date Filed: 07/08/2025         Entry ID: 6734280
Budget | National Institutes of Health (NIH)                                                       https://www.nih.gov/about-nih/what-we-do/budget
                              Case 1:25-cv-10787-BEM
                              Case 1:25-cv-10787-BEM                     Document 38-2
                                                                         Document 38-2    Filed 04/25/25
                                                                                          Filed 04/25/25    Page 4
                                                                                                            Page 4of4
                                                                                                                   of 4


         National Institutes of Health, 9000 Rockville Pike, Bethesda, Maryland 20892

         U.S. Department of Health and Human Services




3 of 3                                                                                                                         4/18/2025, 5:43 PM
                                                                                                                 APHA App. 004
Case: 25-1611   Document: 00118310432   Page: 8   Date Filed: 07/08/2025   Entry ID: 6734280




        Case 1:25-cv-10787-BEM
        Case 1:25-cv-10787-BEM   Document 38-19
                                 Document 38-19   Filed 04/25/25
                                                  Filed 04/25/25   Page 1
                                                                   Page 1 of
                                                                          of 97
                                                                             97




                     EXHIBIT
                     EXHIBIT 19
                             19




                                                                      APHA App. 005
Case: 25-1611       Document: 00118310432           Page: 9      Date Filed: 07/08/2025         Entry ID: 6734280

          Case 1:25-cv-10787-BEM             Document 38-19       Filed 04/25/25     Page 2 of 97




                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS


      AMERICAN PUBLIC HEALTH
      ASSOCIATION, et al.,

                               Plaintiffs,
                                                              Case No. 1:25-cv-10787-BEM
                       v.

      NATIONAL INSTITUTES OF HEALTH, et al.,

                               Defendants.



                              DECLARATION OF BRITTANY CHARLTON

               I, Brittany Charlton, pursuant to 28 U.S.C. § 1746, depose and say as follows:

        1. My name is Brittany Charlton. I am an Associate Professor at Harvard Medical School and
     the Harvard T.H. Chan School of Public Health and Founding Director of the LGBTQ Health
     Center of Excellence. As an internationally recognized expert in lesbian, gay, bisexual,
     transgender, and queer (LGBTQ) health, particularly cancer and reproductive health outcomes, I
     have focused my career on producing data-driven research to inform clinical practice and public
     policy.
        2. I am offering this declaration in my individual capacity and not on behalf of my employer.
        3. I was raised in a family of proud union nurses who believed deeply in service, fairness, and
     standing up for those in need. Therefore, I was called to public health through years of academic
     work, advocacy, and frontline healthcare within LGBTQ communities. For example, I proudly
     served a year in AmeriCorps at an LGBTQ-focused community health center, providing HIV
     counseling and cancer screenings, training physicians in respectful, evidence-based care, and
     supporting LGBTQ teen moms as a birth doula. I then earned my MSc and ScD in epidemiology
     from the Harvard T.H. Chan School of Public Health.
        4. Before age thirty, Harvard Medical School and the Harvard Chan School of Public Health
     recruited me to their faculties. I have published over 100 research papers in top medical journals,
     including The Journal of the American Medical Association (JAMA), The BMJ, and the American

                                                       1
                                                                                          APHA App. 006
Case: 25-1611     Document: 00118310432              Page: 10       Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-19         Filed 04/25/25       Page 3 of 97




       Journal of Preventive Medicine. My work has been cited over 2,600 times. I have mentored over
       seventy-five faculty, postdoctoral fellows, and trainees, earning international recognition for my
       commitment to developing the next generation of scientists. A year ago, I launched the LGBTQ
       Health Center of Excellence—an initiative to advance health equity through an academic center
       that trains future leaders, drives innovative research, and informs public policy.
          5. With a proven ability to win and manage federal grants, I was prepared to secure the
       funding needed to establish a lasting academic center. Over the past fifteen years, I have received
       continuous National Institutes of Health (NIH) funding, securing more than fifteen grants. I was
       awarded a large-scale R01 grant early in my career, an uncommon achievement. NIH grant
       applications are incredibly demanding. Preparing one can take months or even years and involves
       entire teams of scientists and staff. Proposals often exceed 200 pages and must make a compelling
       case that the health issue being studied is urgent and nationally significant. Applicants must prove
       that their proposed methods are the best possible approach to solve the problem. They must also
       demonstrate that their team is uniquely qualified. Every application undergoes rigorous peer
       review by experts, and funding rates are low—especially for R01 grants, where many researchers
       apply multiple times before ever being funded. Securing a grant is not just about money—it is a
       hard-won endorsement of a project’s scientific importance, methodological rigor, and real-world
       potential to improve public health.
          6. Since March 2025, NIH has terminated my entire portfolio of grants; I was the sole
       principal investigator for three of these grants and co-investigator of two others. For each grant,
       NIH stated in a termination notice that the project “no longer effectuates agency priorities.” The
       total NIH funding allocated in those five multi-year grants was approximately $16 million; the
       early terminations resulted in roughly $6 million in lost funding as the projects were still underway.
       To put this loss in perspective, I rank as the fifty-first most highly funded NIH investigator
       compared to the nearly 500 faculty across Harvard’s thirteen schools (e.g., Harvard College,
       Harvard Medical School, Harvard Chan School of Public Health). Terminating my entire portfolio
       has been no minor adjustment, but rather the abrupt defunding of one of the most federally
       supported research programs in LGBTQ health in the world.
          7. One of these terminated grants was an “R61” grant (R61HD117134), aimed at time-
       sensitive policy questions, to study the impact of discriminatory and supportive legislation on the
       mental health of LGBTQ young people. NIH reviewers scored the grant application in the top



                                                         2

                                                                                              APHA App. 007
Case: 25-1611       Document: 00118310432           Page: 11        Date Filed: 07/08/2025         Entry ID: 6734280

            Case 1:25-cv-10787-BEM             Document 38-19       Filed 04/25/25      Page 4 of 97




       twelfth percentile, and it was approved for $4.15 million in costs over five years; it should have
       received an automatic no-cost extension for a sixth year.
          8. A true and correct copy of this R61 grant’s Notice of Award (i.e., NOA) is attached as
       Exhibit A.
          9. The overarching goal of the R61 project was to understand how four types of LGBTQ-
       related policies—religious exemptions, healthcare bans, restrictive curricula, and supportive
       curricula—impact mental health in late adolescence and early adulthood. The findings would offer
       timely, evidence-based guidance to help healthcare providers, educators, and policymakers
       improve mental health for all young people, not just those who are LGBTQ.
          10. To complete the project’s research aims, our team collected time-sensitive data from the
       Healthy Minds Study—the largest mental health survey of U.S. college students. We used these
       data to examine how policies and stigma are linked to mental health, with results disaggregated
       for LGBTQ and non-LGBTQ students. We then conducted in-depth interviews with individuals
       directly impacted by these policies. Next, we used nationally representative Behavioral Risk Factor
       Surveillance System data to estimate the effects of supportive and discriminatory policies among
       the entire U.S. population. In future years, we were going to apply quasi-experimental methods to
       quantify the causal impact of such policies on mental health.
          11. Over a quarter of U.S. young adults identify as LGBTQ and face disproportionate rates of
       depression, anxiety, and suicide compared to their peers. The wave of state policies targeting
       LGBTQ people continues to grow—more than 500 such bills were proposed in state legislatures
       in 2024 alone. This study was built on my prior research on mental health disparities that arise
       from such structural stigma and discrimination. We aimed to guide urgently needed interventions
       that improve mental health and help vulnerable, underserved communities—goals squarely
       aligned with NIH’s stated priorities.
          12. Applying for the R61 grant was an intense and compressed process. The funding
       opportunity, not to mention the research, was time-sensitive. We had only months to write the
       application to secure five years of funding. The process demanded deep expertise, coordination
       with collaborators across the U.S., and attention to detail to meet NIH’s rigorous standards. I had
       to set aside personal milestones like family events, celebrations, and other professional obligations
       to develop a competitive application under significant time pressure. The research topic was
       meaningful to me and the broader LGBTQ community, of which I am a member; therefore, I felt



                                                        3

                                                                                             APHA App. 008
Case: 25-1611     Document: 00118310432             Page: 12       Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM          Document 38-19         Filed 04/25/25       Page 5 of 97




       the sacrifice was worthwhile at the time. A true and correct copy of a printout of the R61 funding
       announcement, accessed April 18, 2025, is attached as Exhibit B.
          13. The funded project launched on August 26, 2024. Before the termination, I had never
       received any previous indication that my grant was in jeopardy.
          14. The R61 grant supported about a third of my time.
          15. Less than eight months into the five-year project, NIH issued a termination notice on March
       12, 2025, stating that the award “no longer effectuates agency priorities.” A true and correct copy
       of the R61 termination notice is attached as Exhibit C.
          16. Two days later, on March 14, 2025, I received a revised Notice of Award reflecting the
       R61 grant’s termination and echoing the termination letter’s language. A true and correct copy of
       the revised Notice of Award is attached as Exhibit D.
          17. Neither the revised Notice of Award nor the termination notice included any individualized
       explanation for why NIH cancelled the grant, and both failed to discuss the grant application,
       progress reports, or other related materials (despite the project’s exceptional documented
       productivity, including advancement ahead of proposed timelines, publication of results, and
       ongoing dissemination efforts). Instead, the termination notice stated:
              This award no longer effectuates agency priorities. Research programs based on gender
              identity are often unscientific, have little identifiable return on investment, and do nothing
              to enhance the health of many Americans. Many such studies ignore, rather than seriously
              examine, biological realities. It is the policy of NIH not to prioritize these research
              program. [sic]
       Ex. C at 1; see also Ex. D at 5.
          18. I do not understand what the termination notice and revised Notice of Award mean by
       “gender identity” or “biological realities” concerning my project. When I reached out to my NIH
       Program Officer—the PhD-level scientific staff member responsible for overseeing and supporting
       funded research projects—she confirmed that she was not consulted about the termination of my
       grant. She also stated that she had never witnessed such terminations in her nine years at the
       agency. She expressed that the process surrounding my grant’s termination was highly unusual.
       She explained that the National Institute of Child Health and Human Development (“NICHD”)
       scientific staff typically oversee and manage grants. But, in this case, they were given no
       information about how awards were selected for termination, what criteria were used, or who made
       the decisions. She emphasized that program staff like her were not even notified of the termination
       until the revised Notice of Award was issued following the termination letter, describing this


                                                        4

                                                                                             APHA App. 009
Case: 25-1611     Document: 00118310432              Page: 13       Date Filed: 07/08/2025         Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-19         Filed 04/25/25      Page 6 of 97




       sequence as far outside the norm. This Program Officer expressed that she did not understand how
       anonymous decision-makers not familiar with the details of the project had concluded that “no
       corrective action is possible” or that the project conflicted with agency priorities—particularly as
       I had responded to a specific Notice of Funding Opportunity that sought out projects addressing
       this particular topic. She also stated that, if given a chance to appeal, she believed our team could
       propose feasible modifications, emphasizing that the project was not focused on “gender identity”
       but rather on the health effects of policies related to sex and gender.
          19. As a mid-career researcher familiar with NIH processes and norms, I know that early
       termination under these circumstances is highly unusual and inconsistent with established
       precedent. It is extremely rare for a grant to be terminated mid-project, I have only ever seen this
       happen when an investigator has engaged in misconduct or a research participant (e.g., patient)
       has been harmed.
          20. What is happening now with NIH grant terminations is markedly different: research
       participants are being put at risk because NIH has abruptly withdrawn support. For example, in
       the case of a randomized controlled trial, this support is being withdrawn partway through their
       treatment, allowing for no oversight of the close-out process. It has taken over a month of daily
       meetings, including with institutional leadership and staff, as we tried to make sense of the
       termination and to formulate a plan for how to responsibly close out the project while safeguarding
       the health and well-being of the study participants. Closing out a large study—especially
       midstream—requires tremendous effort: reviewing protocols, contacting participants, and
       protecting data integrity. The lack of an orderly process could result in real harm, and my research
       team is struggling without guidance to safeguard study participants.
          21. At the time NIH terminated the R61 grant, my team was actively conducting sensitive, in-
       depth interviews with young people across the U.S. whose mental health was directly impacted by
       discriminatory and supportive legislation. Participants were sharing intensely personal stories
       about the toll of living under policies such as “Don’t Say Gay” laws—stories they may not feel
       safe disclosing again. We were forced to cancel multiple interviews scheduled for the next day,
       without explanation. This sudden disruption jeopardized the emotional well-being of already
       vulnerable young people and raised serious ethical concerns. Such abrupt cancellations risk
       increasing distress among participants who were already actively struggling with their mental
       health. The termination shattered a real-time study to document a rapidly evolving public health
       crisis. As a result, we risk losing valuable firsthand accounts during a pivotal period. The loss


                                                         5

                                                                                             APHA App. 010
Case: 25-1611     Document: 00118310432            Page: 14       Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM          Document 38-19         Filed 04/25/25     Page 7 of 97




       would constitute a blind spot in the scientific record and a missed opportunity to inform urgently
       needed health and policy interventions.
          22. I had also received an R01 grant (R01MD015256) awarded to my institution, titled Sexual
       orientation-related disparities in obstetrical and perinatal health. A true and correct copy of the
       Notice of Award for this R01 grant is attached as Exhibit E. The project was a “longitudinal study”
       following a population over time. We designed the study to quantify obstetrical and perinatal
       health disparities between lesbian/bisexual women and their heterosexual peers (notably, the study
       did not include transgender participants). Lesbian/bisexual women and their children account for
       an estimated 800,000 births annually across the country. Prior research found that LGBTQ women
       have more risk factors (e.g., depression, substance use) for adverse obstetrical and perinatal
       outcomes compared to heterosexual women. The hypothesis that this study was designed to test
       was that lesbian and bisexual mothers are subjected to unique forms of stigma, prejudice, and
       discrimination. Therefore, this research filled a gap in our understanding; little is known about
       how pregnancy outcomes—not to mention the baby’s health—differ across sexual orientation
       groups. Studying groups, like lesbian/bisexual women, that experience disproportionately high
       rates of adverse outcomes allows scientists to identify risk factors. Our preliminary research has
       revealed that lesbian/bisexual women have higher rates of adverse pregnancy outcomes than their
       heterosexual peers, making their inclusion essential.
          23. In 2020, NIH reviewers scored the grant application in the top seventh percentile, and the
       project was approved for $4.42 million in funding over five years; it should have received an
       automatic no-cost extension for a sixth year.
          24. The research took advantage of three unique, ongoing longitudinal, intergenerational
       cohorts: the Nurses’ Health Study 2, their offspring in the Growing Up Today Study 1 and 2, and
       a third generation of the Growing Up Today Study participants’ children. Our team analyzed
       obstetrical and perinatal inequities across sexual orientation subgroups, using advanced study
       designs that allow for intergenerational comparisons. Finally, drawing on well-established
       research linking chronic stress from discrimination to health outcomes, we examined factors like
       depression, substance use, and social support to understand what drives health inequities—and
       where targeted interventions could make the greatest impact.
          25. By generating rigorous evidence about research participants’ health needs—including
       those of lesbian/bisexual women and their heterosexual peers—the study directly supported NIH’s
       stated goal of identifying and addressing the needs of at-risk populations. Improving the health of


                                                        6

                                                                                           APHA App. 011
Case: 25-1611      Document: 00118310432              Page: 15       Date Filed: 07/08/2025        Entry ID: 6734280

            Case 1:25-cv-10787-BEM            Document 38-19         Filed 04/25/25     Page 8 of 97




       lesbian/bisexual women and their children addresses other major NIH priority areas, such as
       understanding the mechanisms of inequities. Most importantly, this study was designed to identify
       targeted interventions that would improve the health of lesbian/bisexual mothers and their children.
          26. Applying for the R01 grant was an extraordinarily time-intensive process. I wrote and
       revised this grant application multiple times, supported by a team of staff, trainees, and
       collaborators. I applied twice, subjecting the project to rigorous peer review. Securing an R01 grant
       is widely recognized as a career-defining achievement in biomedical research, with success rates
       in the single digits and a typical age of first award in the mid-forties.
          27. Receiving my grant at age thirty-five was a tremendous honor and turning point in my
       career. This grant allowed me to hire and retain staff, as well as support myself and my family.
          28. Over 50 of my mentees were involved with this project, including faculty, postdoctoral
       fellows, doctoral degree students, master’s degree students, and staff. In 2024 alone, the team
       published fifteen peer-reviewed scientific papers on various sexual orientation-related health
       inequities, and we presented the project’s conclusions forty-three other times at scientific
       meetings.
          29. The R01 grant supported almost fifty percent of my time.
          30. This study was so successful that NIH continued funding this grant for four years; at no
       point was there any indication that the grant was in jeopardy.
          31. Four years into the five-year grant, on February 18, 2025, my institution received a revised
       Notice of Award reflecting a no-cost two-month extension of the previous year’s award until April
       30, 2025. I found this highly unusual as no-cost extensions are almost universally granted after the
       originally funded period for a research grant concludes (at the end of year 5 for a typical R01) to
       allow remaining work to be completed, and only at the investigator’s request. There was little to
       no context on this unusually limited extension. While my institution planned to contact our NIH-
       assigned Grants Management Specialist, I proactively contacted my NIH-assigned Program
       Officer for context; I received no response. I also contacted the Program Officer’s supervisor—a
       Division Director at the National Institute on Minority Health and Health Disparities
       (“NIMHD”)—and received no response.
          32. That revised Notice of Award for this R01 grant was the last communication that I have
       received regarding this grant; a true and correct copy of this latest R01 Notice of Award in PDF
       form is attached as Exhibit F.



                                                          7

                                                                                             APHA App. 012
Case: 25-1611        Document: 00118310432           Page: 16       Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-19         Filed 04/25/25       Page 9 of 97




          33. On March 21, 2025, my institution forwarded me a notice from NIH terminating the grant
       stating that the award “no longer effectuates agency priorities.” A true and correct copy of the
       termination letter is attached as Exhibit G. I have redacted my personal email address from the
       attached exhibit solely to protect my personal identifying information.
          34. The termination notice does not include any individualized explanation for why the grant
       was cancelled. It does not identify any places where we failed to meet any objectives or goals,
       cites no areas of poor-quality work or scientific misconduct, and fails to discuss any of the data or
       analysis from our application, annual progress reports, or other related material. Instead, the
       termination notice includes the following language about its decision:
              This award no longer effectuates agency priorities. Research programs based primarily on
              artificial and non-scientific categories, including amorphous equity objectives, are
              antithetical to the scientific inquiry, do nothing to expand our knowledge of living systems,
              provide low returns on investment, and ultimately do not enhance health, lengthen life, or
              reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are often
              used to support unlawful discrimination on the basis of race and other protected
              characteristics, which harms the health of Americans. Therefore, it is the policy of NIH not
              to prioritize such research programs.
       Ex. G at 1.
          35. I do not understand what the notice means by the phrase “diversity, equity, and inclusion
       (‘DEI’) studies,” and I do not know why NIH believes this project is based on “amorphous equity
       objectives.” While the project did involve lesbian and bisexual participants, the research focused
       on studying and developing interventions to improve maternal and perinatal health outcomes for
       all mothers, including heterosexual women. The only imaginable “equity objective” was that we
       were trying to improve healthcare for a segment of the population that had been largely ignored
       despite a greater-than-average rate of poor outcomes. Like any NIH-funded project, our
       application was required to have very clear objectives, based on established scientific literature.
          36. I also do not understand why NIH claims this project does not effectuate agency priorities.
       In October 2016, after a rigorous, evidence-based review process, NIH officially designated
       LGBTQ populations (i.e., “sexual and gender minorities”) as a health disparity population—a
       designation reserved for groups facing significant, documented health disparities. This designation
       made research on LGBTQ health an explicit NIH priority, reinforcing the importance of studies
       like mine in addressing national public health needs. A true and correct copy of a printout of the
       NIH webpage detailing this policy, accessed April 18, 2025, is attached as Exhibit H. I developed
       this project in part because it was directly aligned with NIH’s stated research priorities at the time
       and responded to explicit calls for work in this area.

                                                         8

                                                                                              APHA App. 013
Case: 25-1611      Document: 00118310432              Page: 17       Date Filed: 07/08/2025           Entry ID: 6734280

           Case 1:25-cv-10787-BEM            Document 38-19          Filed 04/25/25      Page 10 of 97




           37. As outlined above, terminating my R01 grant under these circumstances is a stark departure
       from established NIH norms and precedent.
           38. This project supported an entire research team, many of whom built their careers on the
       work it enabled. For me, this research represented over two decades of dedication to addressing
       reproductive health inequities in LGBTQ populations—an area of study that has historically been
       ignored. The grant allowed dozens of students and trainees to publish papers, gain clinical insight,
       and pursue careers in medicine and public health.
           39. Further benefits from this project are now at risk. Critical findings, such as data showing
       that lesbians are nearly three times as likely to experience stillbirth as heterosexual women, may
       never be published—a waste of the taxpayer dollars that funded years of prior research. Without
       the support from this grant, the trainees leading the study no longer have the salary support or
       institutional backing to complete data analysis and manuscript preparation. They face serious
       career setbacks, job insecurity, and financial instability, and they cannot finish their work. They
       may have no peer-reviewed publications, no tangible outcomes from their pre- and postdoctoral
       training, and significantly reduced chances of securing future funding or jobs. This means the
       research will sit unfinished, and its potential to save lives will be lost. This is not just an academic
       loss—it means more patients will suffer harm, more pregnancies will end in preventable stillbirths,
       and systemic inequities will remain unaddressed.
           40. Tied to my R01 grant was an administrative supplement grant (R01MD015256) of
       approximately $100,000, titled Improving service delivery models of medically assisted
       reproduction: A patient journey mapping study of sexual minority women couples’ experience of
       medicalized family formation. This award was to support an advanced postdoctoral fellow on our
       research team. This grant would have enabled her to have the necessary final year of postdoctoral
       training before moving into a faculty role, providing a sound footing for her future career. This
       opportunity is now lost to her. A true and correct copy of the R01 administrative supplement
       grant’s Notice of Award is attached as Exhibit I.
           41. The supplemental grant project was designed to study how LGBTQ couples form families.
       It recognized the specialized fertility services they may require and the negative experiences they
       may encounter in accessing fertility care. The overall goal was to help other LGBTQ couples
       seeking to start a family.
           42. Our research team conducted semi-structured interviews with LGBTQ couples trying to
       become pregnant, capturing in-depth qualitative data on their fertility care. These data were paired


                                                          9

                                                                                               APHA App. 014
Case: 25-1611      Document: 00118310432             Page: 18        Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-19         Filed 04/25/25       Page 11 of 97




       with quantitative assessments, such as measures of mental health and healthcare history, for a
       robust, mixed-methods analysis.
            43. To provide an intuitive understanding of LGBTQ patients seeking fertility care, we planned
       to use a human-centered research method known as journey mapping. It visually charts how an
       individual interacts with a system—such as reproductive healthcare—to identify key barriers and
       facilitators in their experience. A central aim of the study was to translate this data into actionable
       insights for fertility clinics. The project aimed to increase providers’ awareness and empathy of
       the distinctive burdens faced by women in same-sex couples navigating fertility care, with the goal
       of improving clinical practices and patient experiences. The study was also designed to develop
       best practices for inclusive data collection in national cohort studies, laying the groundwork for
       future large-scale research on preconception and perinatal health inequities.
            44. This project directly addressed the core objectives outlined in the NIH Sexual and Gender
       Minority Research Office’s funding announcement (i.e., Notice of Special Interest), which
       solicited administrative supplements to expand existing research projects to incorporate LGBTQ
       populations or LGBTQ-relevant research questions. The funding announcement explicitly
       prioritized research in high-need areas identified through NIH’s own portfolio analysis. The
       project’s aims were fully aligned with NIH’s stated scientific and policy goals—namely, to ensure
       the inclusion of LGBTQ populations in rigorous, data-driven studies. A true and correct copy of a
       printout of the Notice of Special Interest webpage, accessed April 18, 2025, is attached as Exhibit
       J.
            45. Applying for the R01 administrative supplement was an enormous undertaking, despite the
       relatively small funding amount. As a mid-career investigator, I typically would not write a grant
       for $100,000 due to the high time and resource demands—it requires support from a whole team
       of staff and scientists. I donated significant staff and personal time to pursue this supplement to
       support an exceptional trainee with a compelling idea and no other funding source. We
       collaborated closely on the submission because this award would allow her to extend her
       postdoctoral training and pursue promising research that could serve as a springboard for her future
       career.
            46. On March 21, 2025, before the project could fully get off the ground, my institution
       forwarded me a notice from NIH terminating the grant stating that the award “no longer effectuates
       agency priorities.” A true and correct copy of my termination notice is attached as Exhibit K. I



                                                         10

                                                                                              APHA App. 015
Case: 25-1611        Document: 00118310432            Page: 19        Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM             Document 38-19         Filed 04/25/25       Page 12 of 97




       have redacted my personal email address from the attached exhibit solely to protect my personal
       identifying information.
          47. There was no reference to the scientific merits of the proposal, the project’s aims, or any
       materials submitted in our application. Instead, the termination notice relied solely on generalized
       language, offering no substantive explanation or evidence-based rationale for the decision. The
       termination notice stated:
                This award no longer effectuates agency priorities. Research programs based on
                gender identity are often unscientific, have little identifiable return on investment,
                and do nothing to enhance the health of many Americans. Many such studies
                ignore, rather than seriously examine, biological realities. It is the policy of NIH
                not to prioritize these research programs. NIH is obligated to carefully steward
                grant awards to ensure taxpayer dollars are used in ways that benefit the American
                people and improve their quality of life. Your project does not satisfy these criteria.
       Ex. K at 1.
          48. As above, I was never given any previous indication that this grant was in jeopardy, and
       termination under these circumstances is highly unusual and inconsistent with NIH precedent.
          49. As with the termination notices for the grants described above, I do not understand why
       NIH believes this project is based on “gender identity.” The project’s primary focus is on women
       in same-sex couples trying to become parents. I also do not understand what the notice means by
       “biological realities.” The project was open to any participants who could become pregnant
       (potentially including transgender participants, though the project did not progress far into the
       phase of participant recruitment). We focused on how LGBTQ women form families and the ways
       these women may receive different or substandard obstetrical and gynecological care that could
       put their health at risk or interfere with their ability to form families. I also do not understand why
       NIH believes this project does not effectuate agency priorities, as agency guidance indicated that
       research concerning LGBTQ people was an NIH priority.
       Ex. H.
          50. This grant’s termination has effectively derailed the career trajectory of a talented
       postdoctoral fellow who is not only a member of the LGBTQ community but also poised to become
       a future leader in this field. She turned down other career opportunities to commit to this project.
       The grant’s termination abruptly eliminated her salary support and prevented the research from
       fully launching; at this point, the timeline has passed, and the opportunity is lost. This fellow’s
       success would have advanced research into health disparities and positioned me to mentor another



                                                          11

                                                                                               APHA App. 016
Case: 25-1611     Document: 00118310432              Page: 20       Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM            Document 38-19         Filed 04/25/25      Page 13 of 97




       postdoctoral fellow through a successful faculty transition—mentorship that would have been an
       additional benefit to me to advance my career from Associate Professor to Professor.
          51. Because of the loss of my entire portfolio of grants, I have lost nearly all my salary and the
       money to pay the wages of about eighteen people in my organization who directly or indirectly
       support these research studies. I have already had to terminate a senior team member and fear I
       will have to terminate all remaining team members. Faculty and staff based at our study’s subsites
       (i.e., Boston Children’s Hospital, Harvard T.H. Chan School of Public Health, Brigham and
       Women’s Hospital, University of Utah, Boston University) have lost salary support or had their
       employment terminated.
          52. The termination of this research has upended the lives and careers of dozens of my team
       members—master’s students, doctoral students, postdoctoral fellows, faculty, and staff, many of
       whom relocated or made life-altering commitments to pursue this work. One student has taken
       medical leave for mental health reasons following our grant terminations and may never return to
       the field. Another team member—this one more senior in their career—is also on leave, partly due
       to the stress this upheaval has caused. Some of the brightest scientists in public health and medicine
       are now being aggressively recruited to academic institutions outside the U.S. Others are leaving
       academic research and teaching careers entirely. Several have begun rewriting their CVs to
       downplay their LGBTQ identities or erase the focus of their health equity work, no longer
       confident that this scholarship is safe or valued. One of our team’s senior members confided: “The
       threats to our work don’t just make me fear for my career—they make me fear for my safety. I
       wonder whether this country still has a place for people like me.” These grant terminations are not
       just the loss of individual careers—it is the quiet dismantling of a generation of future leaders in
       medicine and public health, and with them, the hope for a more equitable future.
          53. Worse still, the breach of trust with our research participants will be exceedingly hard to
       repair. Many of them entrusted us with highly sensitive information about their lives, and the
       sudden termination of this grant has made it clear that their contributions were not treated with the
       seriousness they deserved. Even if funding were restored today, I am not sure these participants
       would—or should—trust us again.
          54. When time-sensitive or long-term studies are cut short, the consequences are lasting. Data
       becomes unusable, follow-up is lost, and the study’s design collapses, undermining current
       findings and future research. In this case, the termination severed a rare and irreplaceable source
       of insight into an underserved population. Scientific progress depends on continuity; repairing the


                                                        12

                                                                                              APHA App. 017
Case: 25-1611     Document: 00118310432              Page: 21          Date Filed: 07/08/2025        Entry ID: 6734280

           Case 1:25-cv-10787-BEM            Document 38-19            Filed 04/25/25    Page 14 of 97




       damage once that chain is broken is difficult. As importantly, it is an ethical breach: participants
       entrusted us with intimate details of their lives, believing their stories would be used for the public
       good.
          55. Scientists who conduct human subjects research are required to complete a course in ethical
       principles and individual protection. This training is grounded in the Belmont Report, a
       foundational document that outlines core principles for protecting research subjects: respect for
       persons, beneficence, and justice. It was developed by the National Commission for the Protection
       of Human Subjects of Biomedical and Behavioral Research in 1978. It serves as the basis for many
       current research regulations, all of which scientists are mandated to follow. Funding terminations
       without cause and with no plans or guidance for protecting research subjects have created, at the
       very least, an ethical breach that cannot be easily repaired.
          56. The loss of my entire grant portfolio has crippled the LGBTQ Health Center of Excellence,
       marking the end of much of Harvard’s LGBTQ health research. It is personally and professionally
       devastating to see the closure of our academic center, which I spent much of my career developing.
       Worse still, it sends a chilling message to others in the field that research serving marginalized
       communities is no longer safe or sustainable. This threatens the future of public health and
       evidence-based medicine. It also puts many individuals at potential risk—including those who are
       racial/ethnic minorities, low-income, or disabled—without acknowledging their right to health.
          57. Following the termination of these grants, the personal toll of standing up for this work has
       been as devastating—if not more so—as the professional consequences. Since I began speaking
       out publicly about the importance of safeguarding research into LGBTQ health—before any of my
       own grants were affected—I have been met with an onslaught of hostility. The harassment has
       escalated rapidly, invading both my digital life and my private office. I’ve faced waves of online
       abuse filled with hate and fear — and disturbingly, threats have arrived at my doorstep, forcing
       me to tighten home security.
          58. These grant terminations have broader implications. When science is silenced by ideology,
       we all lose. If research on marginalized communities can be erased for political reasons, it sets a
       dangerous precedent: that some lives are less worthy of understanding, care, or protection. This is
       not just an attack on the LGBTQ community—it is a blow to the integrity of science and the health
       of every American.
          59. I am actively appealing these terminations, but am at a loss for how to do so. The language
       used to justify the terminations is vague, making it impossible to understand why this work was


                                                         13

                                                                                              APHA App. 018
Case: 25-1611     Document: 00118310432           Page: 22       Date Filed: 07/08/2025        Entry ID: 6734280

          Case 1:25-cv-10787-BEM          Document 38-19        Filed 04/25/25       Page 15 of 97




      deemed unacceptable or what corrective action one could reasonably take to address any perceived
      substantive issues. I cannot ethically or responsibly recharacterize my project to meet priorities
      that have not been clearly defined. I have had to close out work that involves at-risk populations
      without guidance in an area where the stakes are far too high for guesswork.
         60. As I continue to manage closing out these projects, I am aware that success may be
      impossible: The termination notices assert that the research’s premise is fundamentally
      incompatible with the agency’s new priorities, and therefore, truth seems to have become
      subordinate to ideology—a shift that threatens not just science but the very foundations of
      democratic inquiry.




                                                     14
                                                                                         APHA App. 019
Case: 25-1611      Document: 00118310432               Page: 23         Date Filed: 07/08/2025     Entry ID: 6734280

          Case 1:25-cv-10787-BEM           Document 38-19         Filed 04/25/25   Page 16 of 97




      I declare under penalty of perjury that the foregoing is true and correct.
             Executed this 23 rd day of April, 2025.




                                                         ��-
                                                          rittany Charlton




                                                        15



                                                                                            APHA App. 020
Case: 25-1611   Document: 00118310432   Page: 24   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-19
                                  Document 38-19   Filed 04/25/25
                                                   Filed 04/25/25   Page 17
                                                                    Page 17 of
                                                                            of 97
                                                                               97




                        EXHIBIT
                        EXHIBIT A




                                                                       APHA App. 021
Case: 25-1611          Document: 00118310432                          Page: 25                       Date Filed: 07/08/2025                           Entry ID: 6734280

                     Department
                   Case         of Health and Human Document
                        1:25-cv-10787-BEM           Services 38-19                                      Filed 04/25/25            Page 18 of 97Notice of Award
                       National Institutes of Health                                                                                                 FAIN# R61HD117134
                       EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD                                                                             Federal Award Date
                       HEALTH & HUMAN DEVELOPMENT                                                                                                            08/26/2024



   Recipient Information                           Federal Award Information
   1. Recipient Name
      HARVARD PILGRIM HEALTH CARE INC
      1 WELLNESS WAY                               11. Award Number
      CANTON, MA 02021                                1R61HD117134-01

   2. Congressional District of Recipient          12. Unique Federal Award Identification Number (FAIN)
      08                                              R61HD117134

   3. Payment System Identifier (ID)               13. Statutory Authority
      1042452600A1                                    42 USC 241 42 CFR PART 52

   4. Employer Identification Number (EIN)         14. Federal Award Project Title
      042452600                                       Supportive and restrictive factors and mental health in LGBT adolescent and young
                                                      adult populations
   5. Data Universal Numbering System (DUNS)
      071721088                                    15. Assistance Listing Number
                                                      93.865
   6. Recipient’s Unique Entity Identifier
      NZVVQ8GNVX65                                 16. Assistance Listing Program Title
                                                      Child Health and Human Development Extramural Research
   7. Project Director or Principal Investigator
      Brittany Michelle Charlton, DSC              17. Award Action Type
      Assistant Professor                             New Competing
      bcharlton@mail.harvard.edu
      617-466-9262                                 18. Is the Award R&D?
                                                      Yes
   8. Authorized Official
      Cary Williams                                                      Summary Federal Award Financial Information
                                                    19. Budget Period Start Date 08/26/2024 – End Date 07/31/2025
                                                    20. Total Amount of Federal Funds Obligated by this Action                                                      $838,837
                                                             20 a. Direct Cost Amount                                                                               $694,515
                                                             20 b. Indirect Cost Amount                                                                             $144,322
   Federal Agency Information                       21. Authorized Carryover
   9. Awarding Agency Contact Information           22. Offset
      Yvonne C. Talley                              23. Total Amount of Federal Funds Obligated this budget period                                                  $838,837
      Grants Management Official                    24. Total Approved Cost Sharing or Matching, where applicable                                                              $0
      EUNICE KENNEDY SHRIVER NATIONAL               25. Total Federal and Non-Federal Approved this Budget Period                                                   $838,837
      INSTITUTE OF CHILD HEALTH & HUMAN                                   ---------------------------------------------------------------------------------------------------------
      DEVELOPMENT                                   26. Project Period Start Date 08/26/2024 – End Date 07/31/2025
      talleyy@mail.nih.gov                          27. Total Amount of the Federal Award including Approved Cost                                                   $838,837
      301-496-7432                                      Sharing or Matching this Project Period
   10. Program Official Contact Information
      Ronna Popkin                                 28. Authorized Treatment of Program Income
                                                      Additional Costs
      EUNICE KENNEDY SHRIVER NATIONAL
      INSTITUTE OF CHILD HEALTH & HUMAN             29. Grants Management Officer - Signature
      DEVELOPMENT                                      Yvonne C. Talley
      ronna.popkin@nih.gov
      301-827-5121
    30. Remarks
        Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or
        otherwise requested from the grant payment system.




                                                                          Page 1 of 7
                                                    Version:25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:12 AM




                                                                                                                                           APHA App. 022
Case: 25-1611    Document: 00118310432                           Page: 26                       Date Filed: 07/08/2025      Entry ID: 6734280

            Case 1:25-cv-10787-BEM                   Document 38-19                               Filed 04/25/25   Page 19 of 97



                                                                      Notice of Award
          Phase 1 Exploratory/Developmental Grant
          Department of Health and Human Services
          National Institutes of Health

          EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

            SECTION I – AWARD DATA – 1R61HD117134-01



            Principal Investigator(s):
            Brittany Michelle Charlton, DSC

            Award e-mailed to: research_admin@harvardpilgrim.org

            Dear Authorized Official:

            The National Institutes of Health hereby awards a grant in the amount of $838,837 (see “Award Calculation”
            in Section I and “Terms and Conditions” in Section III) to HARVARD PILGRIM HEALTH CARE in support of the
            above referenced project. This award is pursuant to the authority of 42 USC 241 42 CFR PART 52 and is
            subject to the requirements of this statute and regulation and of other referenced, incorporated or attached
            terms and conditions.

            Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
            funds are drawn down or otherwise requested from the grant payment system.

            Each publication, press release, or other document about research supported by an NIH award must include
            an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
            was supported by the Eunice Kennedy Shriver National Institute Of Child Health & Human Development of
            the National Institutes of Health under Award Number R61HD117134. The content is solely the responsibility
            of the authors and does not necessarily represent the official views of the National Institutes of Health.”
            Prior to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC
            in advance to allow for coordination.

            Award recipients must promote objectivity in research by establishing standards that provide a reasonable
            expectation that the design, conduct and reporting of research funded under NIH awards will be free from
            bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
            revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
            through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
            Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
            website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
            information.

            If you have any questions about this award, please direct questions to the Federal Agency contacts.

            Sincerely yours,




            Yvonne C. Talley
            Grants Management Officer
            EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

            Additional information follows




            Cumulative Award Calculations for this Budget Period (U.S. Dollars)

                                                                     Page 2 of 7
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:12 AM



                                                                                                                      APHA App. 023
Case: 25-1611     Document: 00118310432                             Page: 27                       Date Filed: 07/08/2025       Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-19                               Filed 04/25/25   Page 20 of 97

           Salaries and Wages                                                                                               $140,347
           Fringe Benefits                                                                                                   $41,823
           Personnel Costs (Subtotal)                                                                                       $182,170
           Consultant Services                                                                                                $5,000
           Travel                                                                                                             $6,500
           Subawards/Consortium/Contractual Costs                                                                           $500,845

           Federal Direct Costs                                                                                             $694,515
           Federal F&A Costs                                                                                                $144,322
           Approved Budget                                                                                                  $838,837
           Total Amount of Federal Funds Authorized (Federal Share)                                                         $838,837
           TOTAL FEDERAL AWARD AMOUNT                                                                                       $838,837

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                            $838,837


                              SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
           YR                    THIS AWARD                             CUMULATIVE TOTALS
            1                                   $838,837                                                                $838,837

           Fiscal Information:
           Payment System Identifier:         1042452600A1
           Document Number:                   RHD117134A
           PMS Account Type:                  P (Subaccount)
           Fiscal Year:                       2024

           IC       CAN                                                                 2024
           OD       8055729                                                             $838,837



           NIH Administrative Data:
           PCC: PDB -RP / OC: 41021 / Released: 08/15/2024
           Award Processed: 08/26/2024 12:12:01 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 1R61HD117134-01

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 1R61HD117134-01

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                a. The grant program legislation and program regulation cited in this Notice of Award.
                b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                   those included in appropriations acts.
                c. 45 CFR Part 75.
                d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                   Statement, including addenda in effect as of the beginning date of the budget period.
                e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                   progress report when applicable.
                f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
                                                                     Page 3 of 7
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:12 AM



                                                                                                                       APHA App. 024
Case: 25-1611     Document: 00118310432                               Page: 28                       Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-19                               Filed 04/25/25   Page 21 of 97

          research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
          the rate(s) specified in the award document(s).


          An unobligated balance may be carried over into the next budget period without Grants Management Officer
          prior approval.

          This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

          This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
          (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
          consortium/subaward be issued under this award, a UEI requirement must be included. See
          http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
          requirement and other additional information.

          This award has been assigned the Federal Award Identification Number (FAIN) R61HD117134. Recipients
          must document the assigned FAIN on each consortium/subaward issued under this award.

          Based on the project period start date of this project, this award is likely subject to the Transparency Act
          subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
          may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
          applicability information.

          In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
          information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


          This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
          Statement Section 8.6 Closeout for complete closeout requirements at:
          http://grants.nih.gov/grants/policy/policy.htm#gps.

          A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
          Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
          Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
          additional information on this submission requirement. The final FFR must indicate the exact balance of
          unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
          between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
          awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
          expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
          expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

          A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
          conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
          568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
          Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
          G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
          U42, U45, UC6, UC7, UR2, X01, X02.

          Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
          (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
          renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
          well. Instructions for preparing an Interim or Final RPPR are at:
          https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
          the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
          reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
          lay person audience.

          NIH requires electronic submission of the final invention statement through the Closeout feature in the
          Commons.

          NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
          then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
          electronically as noted above. If not already submitted, the Final Invention Statement is required and should
          be sent directly to the assigned Grants Management Specialist.

                                                                      Page 4 of 7
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:12 AM



                                                                                                                         APHA App. 025
Case: 25-1611       Document: 00118310432                           Page: 29                       Date Filed: 07/08/2025    Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-19                               Filed 04/25/25   Page 22 of 97

           This award is funded by the following list of institutes. Any papers published under the auspices of this
           award must cite the funding support of all institutes.
           Office Of The Director, National Institutes Of Health (OD)


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
           and https://www.hhs.gov/.

                •   Recipients of FFA must ensure that their programs are accessible to persons with limited English
                    proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                    meaningful access to programs or activities by limited English proficient individuals,
                    see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                    sheet-guidance/index.html and https://www.lep.gov.
                •   For information on an institution’s specific legal obligations for serving qualified individuals with
                    disabilities, including providing program access, reasonable modifications, and to provide effective
                    communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                •   HHS funded health and education programs must be administered in an environment free of sexual
                    harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                    For information about NIH's commitment to supporting a safe and respectful work environment,
                    who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                    individuals supported on NIH-funded awards, please see
                    https://grants.nih.gov/grants/policy/harassment.htm.
                •   For guidance on administering programs in compliance with applicable federal religious
                    nondiscrimination laws and applicable federal conscience protection and associated anti-
                    discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                    https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


           Treatment of Program Income:
           Additional Costs

           SECTION IV – HD SPECIFIC AWARD CONDITIONS – 1R61HD117134-01


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.

           TRANSITION PHASE
           In accordance with PAR-22-233, funding for the R33 phase of this award will be is
           contingent upon (1) determination that the R61 goals and milestones were achieved; (2)
           review and approval of the transition application package; and (3) availability of funds.

           The following documentation/information must be provided in the R33 transition
           application:
                                                                     Page 5 of 7
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:12 AM



                                                                                                                       APHA App. 026
Case: 25-1611    Document: 00118310432                         Page: 30                       Date Filed: 07/08/2025    Entry ID: 6734280

           Case 1:25-cv-10787-BEM               Document 38-19                               Filed 04/25/25   Page 23 of 97

                1. Detailed categorical budget and justification for each year of the R33 phase. Total
                   direct costs cannot exceed the competing application requested amounts or the
                   Integrated Review Group recommended funding levels, if applicable.
                2. Milestones section identifying the approved R61 milestones and the progress
                   towards meetings those milestones.
                3. One-page abstract describing the R3 phase research plan. State if the originally
                   approved aims have been modified or remain the same. If modified, provide a
                   justification for the modifications.
           These components are required two months prior to the anticipated start of the
           R33 phase. The report should be sent as a single pdf attachment to the Grants
           Management Specialist and Program Official indicated on this Notice of Award using the
           PHS 2590 format. The report must be approved by the institutional Signing Official.

           The appropriate NICHD Grants Management and Program staff will review the
           R33 transition application. If the transition request is not approved, written notification
           will be sent to the applicant.

           ************************

           Co-fund
           This award provides co-funding support in the amount of $838,837 ($694,515 direct
           costs + $144,322 facilities and administrative costs) from Office of Behavioral and Social
           Sciences Research (OBSSR).
           Start Date
           This award includes funds for twelve months of support but is awarded for less than
           twelve months.

           Human Subjects
           For all competing applications or new protocols, the NICHD expects investigators for
           ALL NICHD Clinical Trials to abide by the requirements stated in NIH Guide Notice
           NOT-HD-20-036 “NICHD Data Safety Monitoring Guidelines for Extramural Clinical
           Trials and Clinical Research”. All NICHD applications which include Clinical Trials
           must include a Data Safety Monitoring Plan. All NIH-sponsored multi-site clinical trials,
           NIH-defined Phase III clinical trials and some single site clinical trials that pose potential
           risk to participants require Data and Safety Monitoring Board (DSMB) oversight.
           Applicants are expected to establish an independent, external DSMB when required by
           this policy.

           For all competing applications or new protocols, the NICHD expects investigators for
           ALL human subject research to abide by the requirements stated in NIH Guide Notice
           NOT-HD-20-035 “NICHD Serious Adverse Event, Unanticipated Problem, and Serious
           Adverse Event Reporting Guidance”.

           Data Management Sharing Plan
           Dissemination of study data will be in accordance with the recipient’s accepted Data
           Management and Sharing Plan as stated in the application dated 02/14/2024..

           Graduate Student
           The maximum amount that NIH will provide to support the compensation package
           (salary, fringe benefits and tuition remission) for a graduate student is equal to the zero

                                                                Page 6 of 7
                                         Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:12 AM



                                                                                                                  APHA App. 027
Case: 25-1611     Document: 00118310432                                Page: 31                       Date Filed: 07/08/2025    Entry ID: 6734280

           Case 1:25-cv-10787-BEM                       Document 38-19                               Filed 04/25/25   Page 24 of 97

           level postdoctoral stipend in effect at the time of the completing award, as described
           in NOT-OD-02-017. This award has been adjusted accordingly.

           Consortium
           This award includes funds awarded for consortium activity with Boston University.

           Data Management and Sharing Policy: Applicable

           This project is expected to generate scientific data. Therefore, the Final NIH Policy for Data Management
           and Sharing applies. The approved Data Management and Sharing (DMS) Plan is hereby incorporated as a
           term and condition of award, and the recipient shall manage and disseminate scientific data in accordance
           with the approved plan. Any significant changes to the DMS Plan (e.g., new scientific direction, a different
           data repository, or a timeline revision) require NIH prior approval. Failure to comply with the approved DMS
           plan may result in suspension and/or termination of this award, withholding of support, audit disallowances,
           and/or other appropriate action. See NIH Grants Policy Statement Section 8.2.3 for more information on
           data management and sharing expectations.




           SPREADSHEET SUMMARY
           AWARD NUMBER: 1R61HD117134-01

           INSTITUTION: HARVARD PILGRIM HEALTH CARE

           Budget                                                         Year 1
           Salaries and Wages                                             $140,347
           Fringe Benefits                                                $41,823
           Personnel Costs (Subtotal)                                     $182,170
           Consultant Services                                            $5,000
           Travel                                                         $6,500
           Subawards/Consortium/Contractual Costs                         $500,845
           TOTAL FEDERAL DC                                               $694,515
           TOTAL FEDERAL F&A                                              $144,322
           TOTAL COST                                                     $838,837


           Facilities and Administrative Costs                            Year 1
           F&A Cost Rate 1                                                66%
           F&A Cost Base 1                                                $218,670
           F&A Costs 1                                                    $144,322




                                                                        Page 7 of 7
                                                 Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:12 AM



                                                                                                                          APHA App. 028
Case: 25-1611   Document: 00118310432   Page: 32   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-19
                                  Document 38-19   Filed 04/25/25
                                                   Filed 04/25/25   Page 25
                                                                    Page 25 of
                                                                            of 97
                                                                               97




                        EXHIBIT
                        EXHIBIT B




                                                                       APHA App. 029
Case: 25-1611                Document: 00118310432                    Page: 33           Date Filed: 07/08/2025                 Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    26
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)


   This notice has expired. For NIH, in limited situations, applications may be accepted on a
       case-by-case basis for a short period after expiration to accommodate NIH late or
   continuous submission policies (https://grants.nih.gov/grants-process/submit/submission-
     policies). Contact the eRA Service Desk (https://www.era.nih.gov/need-help) for any
   submission issues. Check the NIH Guide (https://grants.nih.gov/funding/searchguide/) for
                                active opportunities and notices.

     Department of Health and Human Services

     Part 1. Overview Information
     Participating Organization(s)
      National Institutes of Health (NIH (http://www.nih.gov))




                                                                          ED
     Components of Participating Organizations
      Office of Behavioral and Social Sciences Research (OBSSR (https://obssr.od.nih.gov/))

      National Institute on Alcohol Abuse and Alcoholism (NIAAA (https://www.niaaa.nih.gov/))

      National Institute of Arthritis and Musculoskeletal and Skin Diseases (NIAMS (https://www.niams.nih.gov/))
                                                     PIR
      Eunice Kennedy Shriver National Institute of Child Health and Human Development (NICHD (https://www.nichd.nih.gov/))

      National Institute on Drug Abuse (NIDA (https://www.drugabuse.gov/))

      National Institute of Nursing Research (NINR (https://www.ninr.nih.gov/))

      National Institute on Minority Health and Health Disparities (NIMHD (https://www.nimhd.nih.gov/))

      National Cancer Institute (NCI (https://www.cancer.gov/))

      All applications to this funding opportunity announcement should fall within the mission of the Institutes/Centers. OBSSR and the
                                                   EX


      following NIH Offices may co-fund applications assigned to those Institutes/Centers.

      Division of Program Coordination, Planning and Strategic Initiatives, Office of Disease Prevention (ODP (https://prevention.nih.gov/))

      Office of Research on Women's Health (ORWH (https://orwh.od.nih.gov/))




     Funding Opportunity Title

      Time-Sensitive Opportunities for Health Research (R61/R33 Clinical Trial Not Allowed)

     Activity Code
      R61 (//grants.nih.gov/grants/funding/ac_search_results.htm?text_curr=r61&Search.x=0&Search.y=0&Search_Type=Activity)/R33
      (//grants.nih.gov/grants/funding/ac_search_results.htm?text_curr=r33&Search.x=0&Search.y=0&Search_Type=Activity)
      Exploratory/Developmental Phased Award



     Announcement Type
      New


     Related Notices


 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                  1/20
                                                                                                                        APHA App. 030
Case: 25-1611                Document: 00118310432                    Page: 34           Date Filed: 07/08/2025                 Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    27
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)

      See Notices of Special Interest (https://grants.nih.gov/grants/guide/NOSIs_targetingList.cfm?GuideDocID=37757) associated with this
      funding opportunity

      April 04, 2024 - Overview of Grant Application and Review Changes for Due Dates on or after January 25, 2025. See Notice NOT-OD-
      24-084 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-24-084.html)

      February 29, 2024 - Notice of Change to Expiration Date for PAR-22-233 Time-Sensitive Opportunities for Health Research (R61/R33
      Clinical Trial Not Allowed). See Notice NOT-OD-24-065 (//grants.nih.gov/grants/guide/notice-files/NOT-OD-24-065.html)

      December 01, 2023 - Notice of Change to Expiration Date for PAR-22-233. See Notice NOT-OD-24-016
      (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-24-016.html)

      October 25, 2023 - Notice of Change to Expiration Date for PAR-22-233 Time-Sensitive Opportunities for Health Research (R61/R33
      Clinical Trial Not Allowed) . See Notice NOT-OD-24-016 (//grants.nih.gov/grants/guide/notice-files/NOT-OD-24-016.html)

      NOT-OD-23-012 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-23-012.html) Reminder: FORMS-H Grant Application Forms
      and Instructions Must be Used for Due Dates On or After January 25, 2023 - New Grant Application Instructions Now Available

      NOT-OD-22-190 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-22-190.html) - Adjustments to NIH and AHRQ Grant Application
      Due Dates Between September 22 and September 30, 2022
      September 28, 2022 - Notice of Information for Pre-Application Webinar for PAR-22-233. See Notice NOT-OD-22-222
      (//grants.nih.gov/grants/guide/notice-files/NOT-OD-22-222.html).



     Funding Opportunity Announcement (FOA) Number

      PAR-22-233

     Companion Funding Opportunity
      None


     Number of Applications
      See Section III. 3. Additional Information on Eligibility.



     Assistance Listing Number(s)
      93.307, 93.279, 93.399, 93.313, 93.361, 93.273, 93.846, 93.865


     Funding Opportunity Purpose
      This Funding Opportunity Announcement (FOA) establishes an accelerated review/award process to support research to understand health
      outcomes related to an unexpected and/or time-sensitive event (e.g., emergent environmental threat; pandemic; change in local, state, or
      national policy; natural disaster). Applications in response to this FOA must demonstrate that the research proposed is time-sensitive and
      must be initiated with minimum delay due to a limited window of opportunity to collect baseline data, answer key research questions, and/or
      prospectively evaluate a new policy or program. This FOA is intended to support opportunities in which empirical study could only be
      available through expedited review and funding, necessitating a substantially shorter process than the typical NIH grant review/award cycle.
      The time from submission to award is expected to occur within 4-5 months. However, administrative requirements and other unforeseen
      circumstances may delay issuance dates beyond that timeline.




     Key Dates
     Posted Date
      September 01, 2022


     Open Date (Earliest Submission Date)
      November 01, 2022


     Letter of Intent Due Date(s)

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                        2/20
                                                                                                                        APHA App. 031
Case: 25-1611                Document: 00118310432                    Page: 35           Date Filed: 07/08/2025                   Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    28
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)

      4 weeks prior to application due date


     Application Due Date(s)
     Applications will be accepted on a rolling basis, beginning November 1, 2022. Applications will be accepted through March 1, 2025.

     All applications are due by 5:00 PM local time of applicant organization.

     AIDS Application Due Date(s)
     Not Applicable

     Scientific Merit Review
     Applications will be reviewed within 8 weeks.

     Advisory Council Review
     Applications will be reviewed on an expedited basis

     Earliest Start Date
     Within 4-6 months of application

     Expiration Date
      New Date March 2, 2025 (Original Date: November 02, 2023) per issuance of NOT-OD-24-065 (//grants.nih.gov/grants/guide/notice-
      files/NOT-OD-24-065.html)


     Due Dates for E.O. 12372
      Not Applicable


     Required Application Instructions
     It is critical that applicants follow the instructions in the Research (R) Instructions in the SF424 (R&R) Application Guide
     (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400), except where instructed to do otherwise (in this FOA or in a Notice from NIH
     Guide for Grants and Contracts (//grants.nih.gov/grants/guide/url_redirect.php?id=11164)).

     Conformance to all requirements (both in the Application Guide and the FOA) is required and strictly enforced. Applicants must read and
     follow all application instructions in the Application Guide as well as any program-specific instructions noted in Section IV. When the program-
     specific instructions deviate from those in the Application Guide, follow the program-specific instructions.

     Applications that do not comply with these instructions may be delayed or not accepted for review.


     Table of Contents
     Part 1. Overview Information
         Key Dates
     Part 2. Full Text of Announcement
         Section I. Funding Opportunity Description
         Section II. Award Information
         Section III. Eligibility Information
         Section IV. Application and Submission Information
         Section V. Application Review Information
         Section VI. Award Administration Information
         Section VII. Agency Contacts
         Section VIII. Other Information




     Part 2. Full Text of Announcement
     Section I. Funding Opportunity Description
     BACKGROUND



 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                           3/20
                                                                                                                         APHA App. 032
Case: 25-1611                Document: 00118310432                     Page: 36            Date Filed: 07/08/2025                    Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    29
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
     This Funding Opportunity Announcement (FOA) establishes an accelerated review/award process to support novel behavioral and social
     science research (BSSR) to understand health outcomes related to an unexpected and/or time-sensitive event. Applications in response to
     this FOA must demonstrate that the research proposed is time-sensitive and must be initiated with minimum delay due to a limited
     window of opportunity to collect baseline data, answer key research questions, and/or prospectively evaluate a new policy or
     program that will likely impact health-related behavior or health outcomes in a given population. In other words, the urgency of the
     public health problem being studied will not, on its own, be sufficient justification for time sensitivity.

     RESEARCH SCOPE

     This FOA is intended to support research and data collection for unanticipated real-world events (i.e., those that occur outside of a laboratory
     or other controlled setting for research purposes). These events inherently have limited windows of opportunity for planning and conducting
     rigorous research and data collection. It is critical that researchers maximize these learning opportunities to better inform health care and
     public health efforts, as well as policymakers.

     Key Definitions for this FOA:

             An event is a unique and often unanticipated issue that arises in a particular community/population, due to emerging environmental
             threats, other public health threats, disaster events, or policy changes.
             Policy is broadly defined to include both formal public policies at local, state, and federal levels of government, and organizational
             level policies, such as those implemented by large organizations, worksites, or school districts.
             Program is defined as a set of activities such as implementation of system-level interventions, tools, or guidelines initiated by
             governmental or other organizational bodies, within public or private entities in local, state, or federal jurisdictions.
             Infrastructure changes are alterations to the built environment such as housing, roads and other aspects of transportation systems,
             retail environments, and building of parks or green spaces.

     This FOA encourages partnerships and collaboration between researchers and the impacted community, which may include the following
     types of entities (as appropriate): community-based organizations, local and state governments, private or non-profit organizations,
     behavioral health or health care systems, individual health care providers, departments of health, community health clinics, juvenile or
     criminal justice settings, schools, child welfare systems, etc.

     The distinguishing features of a responsive study are:

     (1) The unpredictable and unanticipated nature of the research opportunity.

     (2) The clear scientific value and feasibility of the study.

     (3) A feasible plan for collection of baseline data and primary data collection (although use of existing data is allowed, a plan for collecting
     important and new data rapidly should be provided).

     (4) A justification for why an expedited review and funding (substantially shorter than the typical NIH grant review/award cycle) are required in
     order for the scientific question(s) to be addressed and the research design to be implemented. Expected study methodologies may include,
     but are not limited to, interrupted time-series, difference-in-difference designs, regression discontinuity, or propensity scoring.

     In situations where applications under this FOA focus on a particular locality (region, community, or other defined geographic area), note that
     findings should have the potential to be generalizable beyond the particular locality or population. Proposed studies should demonstrate the
     ability to inform the understanding of the impact of the event, policy, program or infrastructure change in the near-term. Applicants are
     encouraged to include secondary implementation related outcomes that could inform interpretation of outcomes for future researchers and
     decision-makers, such as unintended consequences or barriers and facilitators associated with implementation.

     Applicants are also encouraged to review the NIH-led efforts that recommend research strategies for ensuring study rigor and reducing bias,
     such as including an appropriate comparison group where possible: NIH Pathways to Prevention (P2P) Workshop: Method for Evaluating
     Natural Experiments in Obesity (https://prevention.nih.gov/research-priorities/research-needs-and-gaps/pathways-prevention/methods-
     evaluating-natural-experiments-obesity). Furthermore, attention should be paid to ongoing developments in strengthening causal inference
     from evaluation of these natural experiments or observational study designs. Considerable progress has been made on this topic in public
     health, econometrics, and diverse aspects of policy research.

     STRUCTURE

     This FOA will utilize a bi-phasic, milestone-driven R61/R33 mechanism, consisting of a R61 phase with developmental activities and a R33
     phase with expanded activities designed to achieve the full research aims. The R61 phase will be up to one year, and will support
     developmental, exploratory research, Institutional Review Board approval for human subjects protection, further development of study
     partnerships, and the collection of baseline data. The R33 phase will build on this initial work for up to four years to include further
     development, application, follow-up data collection, or implementation as appropriate and relevant to the proposed research questions.

     The application should articulate clear aims and objectives for each phase of the proposed research, with specific discussion of how results
     from the R61 phase will inform the R33 phase. In addition, applications must delineate explicit milestones for the R61 and R33 phases. A
     milestone is defined as a scheduled event in the project timeline that indicates completion of a project stage or activity. It is expected that
 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                            4/20
                                                                                                                            APHA App. 033
Case: 25-1611                Document: 00118310432                      Page: 37            Date Filed: 07/08/2025                    Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    30
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
     baseline data collection will be conducted within six months of award, which should be included in the applicant’s submission of a
     project timeline and milestones. At the completion of the R61 phase, the Program Director (PD)/Principal Investigator (PI) will submit a
     report that includes the progress on each of the milestones and a clear description of how research during the R33 phase will be impacted by
     attainment of the R61 milestones. The IC program and other relevant staff will review the report and make recommendations on funding of
     the R33 grant based on two independent factors: 1) the preliminary research results and achievement of the milestones and 2) availability of
     funds and program priorities, irrespective of milestone achievements. Transition to the R33 phase is neither automatic nor guaranteed.
     Funding for the R33 phase is subject to availability of funds and program priorities, independent of milestone achievement. In addition, given
     the possibility for changes in policy or program implementation that are beyond the control of the grantee, grant awards may be terminated
     early if these changes limit the possibility to collect meaningful outcome data.

     ADDITIONAL GUIDANCE

     While applicants may propose to investigate time-sensitive opportunities outside the U.S., they must demonstrate within the application that
     all the proper logistics, human subjects concerns, and approvals, both domestic and international, can be addressed within the limited time
     frame outlined in this announcement. In addition, the applicant must demonstrate how information obtained from this study will have direct
     implications for US practice or policy.

     Applicants are strongly encouraged to contact the relevant scientific contact(s) listed below to discuss whether their application
     would likely be responsive based on time-sensitivity four (4) weeks in advance of planned application.

     Applications Not Responsive to this FOA
     The following types of applications are not responsive to this FOA. Applications not responsive to this FOA will not be reviewed.

             Applications that do not explicitly justify the time sensitivity of the proposed work, the urgent need for data collection, and the need for
             an expedited review timeline. Include this explanation in the Significance section of the application.
             Applications that propose to use qualitative data exclusively (though mixed method approaches are encouraged).
             Applications that propose to conduct analyses of existing data exclusively (unless allowed in IC-specific interests).
             Applications aimed at addressing unanticipated needs or additional aims for an existing study (i.e., expansion of an existing study).
             Applications proposing to use animals (e.g., pets, laboratory animals, or wildlife) as surrogates for human health or exposure.
             Applications where the PD/PI of the evaluation study application is the Director and/or initiator of the policy, program, or infrastructure
             change that will be evaluated.
             Applications that independently propose initiation and/or delivery of new policies or programs.

     All responsive applications to this FOA will be subject to an accelerated review and award process. It is intended that eligible applications
     selected for funding will be awarded within 4-5 months of the application due date. However, administrative requirements and other
     unforeseen circumstances may delay issuance dates beyond that timeline.

     SPECIFIC AREAS OF RESEARCH INTEREST

     National Cancer Institute (NCI)

     NCI supports time-sensitive evaluation of programs, policies, and major events that concern aspects of cancer prevention and control
     including, but not limited to:

     Evaluation of the effects of:

             Laws, regulations, or policies that may influence cancer risk factors including use of tobacco, alcohol, and other substances, sun safety
             and indoor tanning, diet, physical activity, and sleep.
             Changes to the built and natural environment involving factors such as housing, transportation infrastructure, food environment, parks
             and other green and blue spaces and the potential effect on cancer risk factors, exposure to environmental carcinogens, access to
             care, or other cancer-related health outcomes.
             Emerging programs and policies related to cancer screening, diagnosis, vaccination (e.g., HPV), treatment, and survivorship.
             New policies, programs, and practices in cancer care delivery related to standards of care, health insurance coverage, access to
             services, reimbursement, and other factors that influence delivery of cancer care services and its outcomes
             The impact and response to public health emergencies or disasters (natural or man-made) on acute stress, allostatic load or other
             aspects of accumulated stress, or cancer-related care, including preventative, diagnostic, treatment, and survivorship care.
             Natural and man-made disasters (e.g., chemical spills, fumes, weather events, and fires), and resulting environmental exposures on
             biomarkers, etiology, and healthcare delivery across the cancer control continuum.
             Natural and man-made disasters (e.g., chemical spills, fumes, weather events, and fires), and resulting environmental exposures on
             biomarkers, etiology, and healthcare delivery across the cancer control continuum.

     Proposals evaluating policy and program efforts and responses to major events from diverse sectors, including government, educational, non-
     profit, and commercial sectors are of interest.

     Eunice Kennedy Shriver National Institute of Child Health and Human Development (NICHD)

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                               5/20
                                                                                                                             APHA App. 034
Case: 25-1611                Document: 00118310432                    Page: 38            Date Filed: 07/08/2025                    Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    31
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
     NICHD has particular interest in research on time-sensitive events, policies, programs, or infrastructure changes on vulnerable populations
     falling within the NICHD scientific mission area, including infants, children, and adolescents and pregnant and post-partum people; individuals
     with physical and/or intellectual disabilities; and children who are unhoused or in foster care. The NICHD Strategic Plan
     (https://www.nichd.nih.gov/about/org/strategicplan) outlines high priority areas for the Institute.

     Examples of research questions include but are not limited to the following:

             Understanding the short- and long-term impact of the time-sensitive event on child development outcomes, as well as family
             functioning.
             The impact of climate/environmental changes on dietary patterns, food choices, and eating behaviors.
             How changes in access to school lunch programs affect dietary patterns, food choices, and eating behaviors in children and their
             families.
             The impact of the event and the concomitant public health response on the management of complex medical conditions, critical illness,
             and severe, life-threatening injuries in children.
             The impact of the event on emergency medical services to children (EMSC) and the availability of these services during and after the
             event to affected children in low- to moderate- resourced communities.
             Studies identifying and developing data sources, tools and resources needed to strengthen tracking, reporting and communication
             among systems of care for traumatized, injured and affected children during and after the unexpected event.
             The impact of the event and the concomitant public health response on children and adults with physical and/or intellectual disabilities,
             and disparities in outcomes experienced by persons with disabilities compared to persons without disabilities.
             Studies that examine how unexpected disruptions in access to therapies and special education services affect developmental,
             behavioral and functional outcomes in children and adults with disabilities.

     National Institute on Drug Abuse (NIDA)

     This notice of funding opportunity (NOFO) will support pilot, feasibility or exploratory research in priority areas in substance use epidemiology,
     prevention, and health services, including: 1) responses to sudden and severe emerging drug issues (e.g. the ability to look into a large and
     sudden spike in opioid or synthetic cannabinoid use/overdoses in a particular community); 2) responses to emerging marijuana trends and
     topics related to the shifting policy landscape, related to imminent policy change; 3) responses to unexpected and time-sensitive prescription
     drug abuse research opportunities (e.g., new state or local efforts); 4) responses to unexpected and time-sensitive medical system issues
     (e.g. opportunities to understand addiction services in the evolving health care system); 5) responses to unexpected and time-sensitive
     criminal or juvenile justice opportunities (e.g. new system and/or structural level changes) that relate to drug abuse and access and provision
     of health care service; 6) partnerships between researchers and state or local organizations to support the evaluation of new local policies,
     programs, or practices in response to public health emergencies (e.g., the opioid crisis); 7) research examining how the COVID-19 pandemic
     has impacted drug markets and overdose risk; 8) research examining health outcomes associated with telehealth compared to in-person
     psychiatric care (e.g. risk of diversion/misuse, reduced treatment gap); 9) research examining the impact of the discontinuation of the
     Medicaid continuous enrollment provision that was enacted during the COVID-19 pandemic on populations with substance use disorders, and
     10) research to understand outcomes related to states receiving and implementing Centers for Medicare and Medicaid Services (CMS) 1115
     waivers that allow Medicaid to pay for health care services in carceral settings.

     National Institute on Minority Health and Health Disparities (NIMHD)

     The mission of NIMHD is to lead scientific research to improve minority health and reduce health disparities. NIMHD focuses on all aspects of
     health and health care for racial and ethnic minority populations in the U.S. and the full continuum of health disparity causes as well as the
     interrelation of these causes. NIMHD projects should include a focus on racial and ethnic minority populations (African Americans/Blacks,
     Latinos/Hispanics, American Indians and Alaska Natives, Asian Americans, Native Hawaiians and Pacific Islanders) and or less privileged
     socioeconomic groups, Projects may also examine intersectionality of race or ethnic minority identity and/or low socioeconomic status with
     rurality and/or sexual and gender minority identity and/or disability condition. Comparison groups/populations may also be included as
     appropriate for the research questions posed. NIMHD encourages research projects that use approaches encompassing multiple domains of
     influence (e.g., biological, behavioral, sociocultural, environmental, physical environment, health system) and multiple levels of influence (e.g.,
     individual, interpersonal, family, peer group, community, societal) to understand and address health disparities (see the NIMHD Research
     Framework, https://www.nimhd.nih.gov/about/overview/research-framework.html, for more information). Studies based outside the U.S. or its
     territories will not be supported by NIMHD under this FOA. Time-sensitive research that NIMHD is interested in supporting includes:

             The effects of policy changes on health outcomes, and mechanisms of those health outcomes, in populations that experience
             health disparities, including: immigration policy, health care coverage, gun policy, police use-of-force policy, environmental
             regulations, prescribing practices, and vaccination requirements
             The immediate and longer-term impact of natural disasters on the health of populations that experience health disparities
             (particularly through the lens of understanding how climate change is impacting health disparities)
             Effects of changes to the built environment (e.g., greenspace, pedestrian walkways, bike paths) on health and health behaviors for
             populations that experience health disparities

     National Institute of Nursing Research (NINR)

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                            6/20
                                                                                                                           APHA App. 035
Case: 25-1611                Document: 00118310432                     Page: 39           Date Filed: 07/08/2025                   Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    32
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
     NINR supports research to solve pressing health challenges and inform practice and policy - optimizing health and advancing health equity
     into the future. NINR discovers solutions to health challenges through the lenses of health equity, social determinants of health, population
     and community health, prevention and health promotion, and systems and models of care. Drawing on the strengths of nursing’s holistic,
     contextualized perspective, core values, and broad reach, NINR funds multilevel and cross-sectoral research that examines the factors that
     impact health across the many settings in which nurses work, including homes, schools, workplaces, clinics, justice settings, and the
     community. Observational, intervention, and implementation research are of interest to NINR.

     Research is encouraged in the following areas:

             Factors involved in a response to a time-sensitive event that affect health equity, including mechanisms involved.
             Effects of social determinants of health on the response to and health effects resulting from a time-sensitive event.
             Prevention and early detection of health effects of a time-sensitive event, including plans for health promotion during and following the
             event.
             Examining clinical, organizational and/or policy changes to address health related needs during and following a time-sensitive event.

     National Institute on Alcohol Abuse and Alcoholism (NIAAA)

     NIAAA will support time-sensitive research in public health priority areas in alcohol and related substance use epidemiology, prevention, and
     health services, including but not necessarily limited to:

             time-sensitive research opportunities to study the effects of changes in alcohol-related policies, including effects on combined use of
             alcohol and other substances and evaluation of the implementation or effectiveness of policies, programs, or practices affecting
             alcohol-related behaviors and outcomes;
             time-sensitive research opportunities to study changes in factors affecting access, delivery, or financing of health care services for
             alcohol use disorder and alcohol-related conditions;
             time-sensitive research opportunities to study alcohol-related effects associated with sudden and severe events, such as natural
             disasters, acts of war, or epidemics;
             time-sensitive research opportunities to study the effects on diversity, health equity, inclusion, or access of unanticipated events
             affecting alcohol-related behaviors and outcomes; and
             time-sensitive research opportunities to inform state or local organizations of the alcohol-related consequences of new or changing
             policies, programs, or practices.

     National Institute of Arthritis and Musculoskeletal and Skin Diseases (NIAMS)

     NIAMS is interested in applications focused on evaluating time-sensitive natural experiments that concern populations with or at risk for
     development of NIAMS core-mission diseases (arthritic and other rheumatic, musculoskeletal, and skin disorders. Examples include, but are
     not limited to, time-sensitive natural experiments of changes to the neighborhood food and physical activity environments on the health of
     populations experiencing or at risk for NIAMS core-mission diseases. Studies among underserved, vulnerable, diverse and health disparities
     populations are encouraged.

     Office of Disease Prevention (ODP)

     The ODP is the lead office at the NIH responsible for assessing, facilitating, and stimulating research in disease prevention. In partnership
     with the 27 NIH Institutes and Centers, the ODP strives to increase the scope, quality, dissemination, and impact of NIH-supported prevention
     research. The ODP co-funds research that has strong implications for disease and injury prevention and health equity and that includes
     innovative and appropriate research design, measurement, and analysis methods. The ODP has a specific interest in projects that develop
     and/or test preventive interventions. Of particular interest is prevention research addressing leading causes and risk factors for premature
     morbidity and mortality, dissemination and implementation, and health disparities. The ODP does not award grants; therefore, applications
     must be relevant to the objectives of at least one of the participating NIH Institutes and Centers (IC) listed in this announcement. Please
     contact the relevant IC Scientific/Research Contact(s) listed for questions regarding IC research priorities and funding. ODP only accepts co-
     funding requests from NIH Institutes and Centers (ICs). For additional information about ODP, please refer to the ODP Strategic Plan for
     Fiscal Years 2019 2023 (https://prevention.nih.gov/about-odp/strategic-plan-2019-2023).

     Office of Research on Women's Health (ORWH)

     ORWH works with the 27 NIH Institutes and Centers to advance rigorous research of relevance to women and individuals assigned female at
     birth. For this funding opportunity, ORWH is particularly interested in intersectional research into the health impacts of time-sensitive events,
     policies, programs, or infrastructure changes on women, including:

             Impacts of policy changes on the health of women and people who can become pregnant (e.g., state abortion regulations, extensions
          to postpartum insurance coverage)
          Impacts of policy changes that influence access to women's preventative health services (e.g., contraception, HPV vaccination, pre-
          exposure prophylaxis (PrEP))
          Gender-based violence following time-sensitive events (e.g., natural disasters; pandemics)
     See Section VIII. Other Information for award authorities and regulations.

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                            7/20
                                                                                                                           APHA App. 036
Case: 25-1611                Document: 00118310432                      Page: 40         Date Filed: 07/08/2025                   Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    33
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)

     Section II. Award Information
     Funding Instrument
      Grant: A support mechanism providing money, property, or both to an eligible entity to carry out an approved project or activity.



     Application Types Allowed
      New


      The OER Glossary (//grants.nih.gov/grants/guide/url_redirect.php?id=11116) and the SF424 (R&R) Application Guide provide details on
      these application types. Only those application types listed here are allowed for this FOA.



     Clinical Trial?
      Not Allowed: Only accepting applications that do not propose clinical trials.



      Need help determining whether you are doing a clinical trial? (https://grants.nih.gov/grants/guide/url_redirect.php?id=82370)



     Funds Available and Anticipated Number of Awards
      PA/PAR:

      The number of awards is contingent upon NIH appropriations and the submission of a sufficient number of meritorious applications.



     Award Budget
      Application budgets are not limited but need to reflect the actual needs of the proposed project.


     Award Project Period

      The scope of the proposed project should determine the requested project award period.

      The maximum period of the combined R61 and R33 phases is 5 years, with up to 1 year for the R61 phase and up to 4 years for the R33
      phase.


     NIH grants policies as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120) will apply to the
     applications submitted and awards made from this FOA.


     Section III. Eligibility Information
     1. Eligible Applicants

     Eligible Organizations
     Higher Education Institutions

             Public/State Controlled Institutions of Higher Education
             Private Institutions of Higher Education

     The following types of Higher Education Institutions are always encouraged to apply for NIH support as Public or Private Institutions of Higher
     Education:

             Hispanic-serving Institutions
             Historically Black Colleges and Universities (HBCUs)
             Tribally Controlled Colleges and Universities (TCCUs)
             Alaska Native and Native Hawaiian Serving Institutions
             Asian American Native American Pacific Islander Serving Institutions (AANAPISIs)

     Nonprofits Other Than Institutions of Higher Education

             Nonprofits with 501(c)(3) IRS Status (Other than Institutions of Higher Education)

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                          8/20
                                                                                                                          APHA App. 037
Case: 25-1611                Document: 00118310432                    Page: 41            Date Filed: 07/08/2025                  Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    34
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
             Nonprofits without 501(c)(3) IRS Status (Other than Institutions of Higher Education)

     For-Profit Organizations

             Small Businesses
             For-Profit Organizations (Other than Small Businesses)

     Local Governments

           State Governments
           County Governments
           City or Township Governments
           Special District Governments
           Indian/Native American Tribal Governments (Federally Recognized)
           Indian/Native American Tribal Governments (Other than Federally Recognized)
     Federal Government

             Eligible Agencies of the Federal Government
             U.S. Territory or Possession

     Other

             Independent School Districts
             Public Housing Authorities/Indian Housing Authorities
             Native American Tribal Organizations (other than Federally recognized tribal governments)
             Faith-based or Community-based Organizations
             Regional Organizations

     Other

             Independent School Districts
             Public Housing Authorities/Indian Housing Authorities
             Native American Tribal Organizations (other than Federally recognized tribal governments)
             Faith-based or Community-based Organizations
             Regional Organizations

     Foreign Institutions
     Non-domestic (non-U.S.) Entities (Foreign Institutions) are not eligible to apply.

     Non-domestic (non-U.S.) components of U.S. Organizations are eligible to apply.

     Foreign components, as defined in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11118), are
     allowed.

     Required Registrations
     Applicant Organizations

     Applicant organizations must complete and maintain the following registrations as described in the SF 424 (R&R) Application Guide to be
     eligible to apply for or receive an award. All registrations must be completed prior to the application being submitted. Registration can take 6
     weeks or more, so applicants should begin the registration process as soon as possible. The NIH Policy on Late Submission of Grant
     Applications (//grants.nih.gov/grants/guide/notice-files/NOT-OD-15-039.html) states that failure to complete registrations in advance of a due
     date is not a valid reason for a late submission.

             System for Award Management (SAM) (https://grants.nih.gov/grants/guide/url_redirect.php?id=82390) Applicants must complete and
             maintain an active registration, which requires renewal at least annually. The renewal process may require as much time as the
             initial registration. SAM registration includes the assignment of a Commercial and Government Entity (CAGE) Code for domestic
             organizations which have not already been assigned a CAGE Code.
                      NATO Commercial and Government Entity (NCAGE) Code (//grants.nih.gov/grants/guide/url_redirect.php?id=11176) Foreign
                      organizations must obtain an NCAGE code (in lieu of a CAGE code) in order to register in SAM.
                      Unique Entity Identifier (UEI)- A UEI is issued as part of the SAM.gov registration process. The same UEI must be used for all
                      registrations, as well as on the grant application.
             eRA Commons (https://grants.nih.gov/grants/guide/url_redirect.php?id=11123) - Once the unique organization identifier is established,
             organizations can register with eRA Commons in tandem with completing their full SAM and Grants.gov registrations; all registrations
             must be in place by time of submission. eRA Commons requires organizations to identify at least one Signing Official (SO) and at least
             one Program Director/Principal Investigator (PD/PI) account in order to submit an application.



 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                           9/20
                                                                                                                          APHA App. 038
Case: 25-1611                Document: 00118310432                     Page: 42             Date Filed: 07/08/2025                   Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    35
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
             Grants.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=82300) Applicants must have an active SAM registration in order to
             complete the Grants.gov registration.

     Program Directors/Principal Investigators (PD(s)/PI(s))

     All PD(s)/PI(s) must have an eRA Commons account. PD(s)/PI(s) should work with their organizational officials to either create a new account
     or to affiliate their existing account with the applicant organization in eRA Commons. If the PD/PI is also the organizational Signing Official,
     they must have two distinct eRA Commons accounts, one for each role. Obtaining an eRA Commons account can take up to 2 weeks.
     Eligible Individuals (Program Director/Principal Investigator)
     Any individual(s) with the skills, knowledge, and resources necessary to carry out the proposed research as the Program Director(s)/Principal
     Investigator(s) (PD(s)/PI(s)) is invited to work with his/her organization to develop an application for support.

     For institutions/organizations proposing multiple PDs/PIs, visit the Multiple Program Director/Principal Investigator Policy and submission
     details in the Senior/Key Person Profile (Expanded) Component of the SF424 (R&R) Application Guide.

     2. Cost Sharing
     This FOA does not require cost sharing as defined in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?
     id=11126).

     3. Additional Information on Eligibility

     Number of Applications
     Applicant organizations may submit more than one application, provided that each application is scientifically distinct.

     The NIH will not accept duplicate or highly overlapping applications under review at the same time, per 2.3.7.4 Submission of Resubmission
     Application (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_2/2.3.7_policies_affecting_applications.htm#Submissi). This means
     that the NIH will not accept:

             A new (A0) application that is submitted before issuance of the summary statement from the review of an overlapping new (A0) or
             resubmission (A1) application.
             A resubmission (A1) application that is submitted before issuance of the summary statement from the review of the previous new (A0)
             application.
             An application that has substantial overlap with another application pending appeal of initial peer review (see 2.3.9.4 Similar,
             Essentially Identical, or Identical Applications
             (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_2/2.3.9_application_receipt_information_and_deadlines.htm#Similar,)).


     Section IV. Application and Submission Information
     1. Requesting an Application Package
     The application forms package specific to this opportunity must be accessed through ASSIST, Grants.gov Workspace or an institutional
     system-to-system solution. Links to apply using ASSIST or Grants.gov Workspace are available in Part 1 of this FOA. See your
     administrative office for instructions if you plan to use an institutional system-to-system solution.

     2. Content and Form of Application Submission
     It is critical that applicants follow the instructions in the Research (R) Instructions in the SF424 (R&R) Application Guide
     (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) except where instructed in this funding opportunity announcement to do
     otherwise. Conformance to the requirements in the Application Guide is required and strictly enforced. Applications that are out of compliance
     with these instructions may be delayed or not accepted for review.

     Letter of Intent
     Although a letter of intent is not required, is not binding, and does not enter into the review of a subsequent application, the information that it
     contains allows IC staff to estimate the potential review workload and plan the review.

     By the date listed in Part 1. Overview Information, prospective applicants are asked to submit a letter of intent that includes the following
     information:

             Descriptive title of proposed activity
             Name(s), address(es), and telephone number(s) of the PD(s)/PI(s)
             Names of other key personnel
             Participating institution(s)
             Number and title of this funding opportunity

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                           10/20
                                                                                                                             APHA App. 039
Case: 25-1611                Document: 00118310432                    Page: 43           Date Filed: 07/08/2025                 Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    36
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
     The letter of intent should be sent to:

     Rosalind King, PhD
     Office of Behavioral and Social Sciences Research (OBSSR)
     Phone: 301-451-3832
     Email: kingros@nih.gov (mailto:kingros@nih.gov)
     Page Limitations
     All page limitations described in the SF424 Application Guide and the Table of Page Limits (//grants.nih.gov/grants/guide/url_redirect.php?
     id=11133) must be followed.

     Instructions for Application Submission
     Note: Effective for due dates on or after January 25, 2023, the Data Management and Sharing (DMS) Plan will be attached in the Other
     Plan(s) attachment in FORMS-H and subsequent application forms packages. For due dates on or before January 24, 2023, the Data
     Sharing Plan and Genomic Data Sharing Plan GDS) will continue to be attached in the Resource Sharing Plan attachment in FORMS-G
     application forms packages.

     The following section supplements the instructions found in the SF424 (R&R) Application Guide and should be used for preparing an
     application to this FOA.

     SF424(R&R) Cover
     All instructions in the SF424 (R&R) Application Guide must be followed.

     SF424(R&R) Project/Performance Site Locations
     All instructions in the SF424 (R&R) Application Guide must be followed.

     SF424(R&R) Other Project Information
     All instructions in the SF424 (R&R) Application Guide must be followed.

     SF424(R&R) Senior/Key Person Profile
     All instructions in the SF424 (R&R) Application Guide must be followed.

     R&R Budget
     All instructions in the SF424 (R&R) Application Guide must be followed.

     R&R Subaward Budget
     All instructions in the SF424 (R&R) Application Guide must be followed.

     PHS 398 Cover Page Supplement
     All instructions in the SF424 (R&R) Application Guide must be followed.

     PHS 398 Research Plan
     Other Plan(s):

     Note: Effective for due dates on or after January 25, 2023, the Data Management and Sharing Plan will be attached in the Other Plan(s)
     attachment in FORMS-H and subsequent application forms packages. For due dates on or before January 24, 2023, the Data Sharing
     Plan and Genomic Data Sharing Plan GDS) will continue to be attached in the Resource Sharing Plan attachment in FORMS-G
     application forms packages.

     All applicants planning research (funded or conducted in whole or in part by NIH) that results in the generation of scientific data are
     required to comply with the instructions for the Data Management and Sharing Plan. All applications, regardless of the amount of direct
     costs requested for any one year, must address a Data Management and Sharing Plan.

     All instructions in the SF424 (R&R) Application Guide must be followed, with the following additional instructions:

     Research Strategy: Applications should justify the time sensitivity of the proposed work, the urgent need for data collection, and the need for
     an expedited review timeline in the Significance section of the application.

     The Research Strategy should include a description of both the R61 and R33 phases, each with clear aims and objectives. Include a specific
     section labeled "Milestones". Milestones should be clearly described, feasible, well developed, quantifiable, and scientifically justified to
     transition to the R33 phase. A discussion of the milestones relative to the progress of the R61 phase and the implications of successful
     completion of the milestones for the R33 phase should be included. It is expected that baseline data collection will be conducted within
     six months of award, which should be included in the applicant’s submission of a project timeline and milestones.

     If applicable and proposing to investigate time-sensitive opportunities outside the U.S., the application must include information
     demonstrating that all the proper logistics, human subjects concerns, and approvals, both domestic and international, can be addressed
 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                        11/20
                                                                                                                           APHA App. 040
Case: 25-1611                Document: 00118310432                    Page: 44            Date Filed: 07/08/2025                  Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    37
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
     within the limited time frame outlined in this announcement. In addition, the applicant must demonstrate how information obtained from this
     study will have direct implications for US practice or policy.
     Resource Sharing Plan: Individuals are required to comply with the instructions for the Resource Sharing Plans as provided in the SF424
     (R&R) Application Guide.

     The following modifications also apply:

             All applications, regardless of the amount of direct costs requested for any one year, should address a Data Sharing Plan.

     Appendix:
     Only limited Appendix materials are allowed. Follow all instructions for the Appendix as described in the SF424 (R&R) Application Guide.
     PHS Human Subjects and Clinical Trials Information
     When involving human subjects research, clinical research, and/or NIH-defined clinical trials (and when applicable, clinical trials research
     experience) follow all instructions for the PHS Human Subjects and Clinical Trials Information form in the SF424 (R&R) Application Guide,
     with the following additional instructions:

     If you answered Yes to the question Are Human Subjects Involved? on the R&R Other Project Information form, you must include at least one
     human subjects study record using the Study Record: PHS Human Subjects and Clinical Trials Information form or Delayed Onset
     Study record.

     Study Record: PHS Human Subjects and Clinical Trials Information

     All instructions in the SF424 (R&R) Application Guide must be followed.

     Delayed Onset Study

     Note: Delayed onset (https://grants.nih.gov/grants/glossary.htm#DelayedOnsetStudy) does NOT apply to a study that can be described but
     will not start immediately (i.e., delayed start).All instructions in the SF424 (R&R) Application Guide must be followed.

     PHS Assignment Request Form
     All instructions in the SF424 (R&R) Application Guide must be followed.

     3. Unique Entity Identifier and System for Award Management (SAM)
     See Part 1. Section III.1 for information regarding the requirement for obtaining a unique entity identifier and for completing and maintaining
     active registrations in System for Award Management (SAM), NATO Commercial and Government Entity (NCAGE) Code (if applicable), eRA
     Commons, and Grants.gov

     4. Submission Dates and Times
     Part I. Overview Information contains information about Key Dates and times. Applicants are encouraged to submit applications before the
     due date to ensure they have time to make any application corrections that might be necessary for successful submission. When a
     submission date falls on a weekend or Federal holiday (https://grants.nih.gov/grants/guide/url_redirect.php?id=82380), the application
     deadline is automatically extended to the next business day.

     Organizations must submit applications to Grants.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=11128) (the online portal to find and
     apply for grants across all Federal agencies). Applicants must then complete the submission process by tracking the status of the application
     in the eRA Commons (https://grants.nih.gov/grants/guide/url_redirect.php?id=11123), NIH’s electronic system for grants administration. NIH
     and Grants.gov systems check the application against many of the application instructions upon submission. Errors must be corrected and a
     changed/corrected application must be submitted to Grants.gov on or before the application due date and time. If a Changed/Corrected
     application is submitted after the deadline, the application will be considered late. Applications that miss the due date and time are subjected
     to the NIH Policy on Late Application Submission. This FOA accepts applications on a rolling basis. Applications are reviewed on an
     expedited schedule and assigned to an Advisory Council round based on their actual submission date. Because the Scientific Merit Review
     assignment deadline listed in Part 1. Key Dates is not an application due date, the NIH Policy on Late Application Submission does not apply
     to the Scientific Merit Review or Advisory Council round assigned.

     Applicants are responsible for viewing their application before the due date in the eRA Commons to ensure accurate and successful
     submission.

     Information on the submission process and a definition of on-time submission are provided in the SF424 (R&R) Application Guide.

     5. Intergovernmental Review (E.O. 12372)
     This initiative is not subject to intergovernmental review
     (https://grants.nih.gov/grants/policy/nihgps/html5/section_10/10.10.1_executive_orders.htm).

     6. Funding Restrictions

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                          12/20
                                                                                                                          APHA App. 041
Case: 25-1611                Document: 00118310432                      Page: 45            Date Filed: 07/08/2025                    Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    38
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
     All NIH awards are subject to the terms and conditions, cost principles, and other considerations described in the NIH Grants Policy
     Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120).

     Pre-award costs are allowable only as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?
     id=11143).

     7. Other Submission Requirements and Information
     Applications must be submitted electronically following the instructions described in the SF424 (R&R) Application Guide. Paper applications
     will not be accepted.

     Applicants must complete all required registrations before the application due date. Section III. Eligibility Information contains information
     about registration.

     For assistance with your electronic application or for more information on the electronic submission process, visit How to Apply Application
     Guide (https://grants.nih.gov/grants/how-to-apply-application-guide.html). If you encounter a system issue beyond your control that threatens
     your ability to complete the submission process on-time, you must follow the Dealing with System Issues (https://grants.nih.gov/grants/how-
     to-apply-application-guide/due-dates-and-submission-policies/dealing-with-system-issues.htm) guidance. For assistance with application
     submission, contact the Application Submission Contacts in Section VII.

          Important reminders:

          All PD(s)/PI(s) must include their eRA Commons ID in the Credential fieldof the Senior/Key Person Profile form. Failure to register in the
          Commons and to include a valid PD/PI Commons ID in the credential field will prevent the successful submission of an electronic
          application to NIH. See Section III of this FOA for information on registration requirements.

          The applicant organization must ensure that the unique entity identifier provided on the application is the same identifier used in the
          organization’s profile in the eRA Commons and for the System for Award Management. Additional information may be found in the SF424
          (R&R) Application Guide.

          See more tips (//grants.nih.gov/grants/guide/url_redirect.php?id=11146) for avoiding common errors.

     Upon receipt, applications will be evaluated for completeness and compliance with application instructions by the Center for Scientific Review,
     NIH. Applications that are incomplete , non-compliant or non-responsive will not be reviewed.

     Requests of $500,000 or more for direct costs in any year
     Applicants requesting $500,000 or more in direct costs in any year (excluding consortium F&A) must contact a Scientific/ Research Contact at
     least 6 weeks before submitting the application and follow the Policy on the Acceptance for Review of Unsolicited Applications that Request
     $500,000 or More in Direct Costs as described in the SF424 (R&R) Application Guide.

     Post Submission Materials
     Applicants are required to follow the instructions for post-submission materials, as described in the policy
     (//grants.nih.gov/grants/guide/url_redirect.php?id=82299). Any instructions provided here are in addition to the instructions in the policy.


     Section V. Application Review Information
     1. Criteria
     Note: Effective for due dates on or after January 25, 2023, the Data Sharing Plan and Genomic Data Sharing Plan (GDS) as part of the
     Resource Sharing Plan will not be evaluated at time of review.

     Only the review criteria described below will be considered in the review process. Applications submitted to the NIH in support of the NIH
     mission (//grants.nih.gov/grants/guide/url_redirect.php?id=11149) are evaluated for scientific and technical merit through the NIH peer review
     system.

     Overall Impact
     Reviewers will provide an overall impact score to reflect their assessment of the likelihood for the project to exert a sustained, powerful
     influence on the research field(s) involved, in consideration of the following review criteria and additional review criteria (as applicable for the
     project proposed).

     Scored Review Criteria
     Reviewers will consider each of the review criteria below in the determination of scientific merit and give a separate score for each. An
     application does not need to be strong in all categories to be judged likely to have major scientific impact. For example, a project that by its
     nature is not innovative may be essential to advance a field.


 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                               13/20
                                                                                                                             APHA App. 042
Case: 25-1611                Document: 00118310432                      Page: 46            Date Filed: 07/08/2025                    Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    39
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)

          Significance
          Does the project address an important problem or a critical barrier to progress in the field? Is the prior research that serves as the key
          support for the proposed project rigorous? If the aims of the project are achieved, how will scientific knowledge, technical capability,
          and/or clinical practice be improved? How will successful completion of the aims change the concepts, methods, technologies,
          treatments, services, or preventative interventions that drive this field?

          Investigator(s)
          Are the PD(s)/PI(s), collaborators, and other researchers well suited to the project? If Early Stage Investigators or those in the early
          stages of independent careers, do they have appropriate experience and training? If established, have they demonstrated an ongoing
          record of accomplishments that have advanced their field(s)? If the project is collaborative or multi-PD/PI, do the investigators have
          complementary and integrated expertise; are their leadership approach, governance, and organizational structure appropriate for the
          project?

          Innovation
          Does the application challenge and seek to shift current research or clinical practice paradigms by utilizing novel theoretical concepts,
          approaches or methodologies, instrumentation, or interventions? Are the concepts, approaches or methodologies, instrumentation, or
          interventions novel to one field of research or novel in a broad sense? Is a refinement, improvement, or new application of theoretical
          concepts, approaches or methodologies, instrumentation, or interventions proposed?

          Approach
          Are the overall strategy, methodology, and analyses well-reasoned and appropriate to accomplish the specific aims of the project? Have
          the investigators included plans to address weaknesses in the rigor of prior research that serves as the key support for the proposed
          project? Have the investigators presented strategies to ensure a robust and unbiased approach, as appropriate for the work proposed?
          Are potential problems, alternative strategies, and benchmarks for success presented? If the project is in the early stages of
          development, will the strategy establish feasibility and will particularly risky aspects be managed? Have the investigators presented
          adequate plans to address relevant biological variables, such as sex, for studies in vertebrate animals or human subjects?

          If the project involves human subjects and/or NIH-defined clinical research, are the plans to address 1) the protection of human subjects
          from research risks, and 2) inclusion (or exclusion) of individuals on the basis of sex/gender, race, and ethnicity, as well as the inclusion
          or exclusion of individuals of all ages (including children and older adults), justified in terms of the scientific goals and research strategy
          proposed?

     Milestones and timeline: Is there a unifying research question that transcends both R61 and R33 phases? Does the application provide well
     described, feasible and quantifiable milestones for the R61 phase and related scientific goals and objectives for the R33 phase? Are those
     milestones conducive to accomplishing the study aims? Are the goals of the R33 phase based, in part, on findings collected during the R61
     phase? Does the timeline demonstrate baseline data collection within six months of award?

          Environment
          Will the scientific environment in which the work will be done contribute to the probability of success? Are the institutional support,
          equipment, and other physical resources available to the investigators adequate for the project proposed? Will the project benefit from
          unique features of the scientific environment, subject populations, or collaborative arrangements?

     If applicable and proposing to investigate time-sensitive opportunities outside the U.S., is there appropriate justification of how the information
     obtained from the study will have direct implications for US practice and/or policy? Is there adequate information provided demonstrating that
     all the proper logistics, human subjects concerns, and approvals, both domestic and international, can be addressed within the limited time
     frame outlined in this announcement.

     Additional Review Criteria
     As applicable for the project proposed, reviewers will evaluate the following additional items while determining scientific and technical merit,
     and in providing an overall impact score, but will not give separate scores for these items.

          Protections for Human Subjects
          For research that involves human subjects but does not involve one of the categories of research that are exempt under 45 CFR Part 46,
          the committee will evaluate the justification for involvement of human subjects and the proposed protections from research risk relating to
          their participation according to the following five review criteria: 1) risk to subjects, 2) adequacy of protection against risks, 3) potential
          benefits to the subjects and others, 4) importance of the knowledge to be gained, and 5) data and safety monitoring for clinical trials.

          For research that involves human subjects and meets the criteria for one or more of the categories of research that are exempt under 45
          CFR Part 46, the committee will evaluate: 1) the justification for the exemption, 2) human subjects involvement and characteristics, and

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                               14/20
                                                                                                                             APHA App. 043
Case: 25-1611                Document: 00118310432                      Page: 47            Date Filed: 07/08/2025                     Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    40
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
          3) sources of materials. For additional information on review of the Human Subjects section, please refer to the Guidelines for the Review
          of Human Subjects (//grants.nih.gov/grants/guide/url_redirect.php?id=11175).
          Inclusion of Women, Minorities, and Individuals Across the Lifespan
          When the proposed project involves human subjects and/or NIH-defined clinical research, the committee will evaluate the proposed plans
          for the inclusion (or exclusion) of individuals on the basis of sex/gender, race, and ethnicity, as well as the inclusion (or exclusion) of
          individuals of all ages (including children and older adults) to determine if it is justified in terms of the scientific goals and research
          strategy proposed. For additional information on review of the Inclusion section, please refer to the Guidelines for the Review of Inclusion
          in Clinical Research (//grants.nih.gov/grants/guide/url_redirect.php?id=11174).

          Vertebrate Animals
          The committee will evaluate the involvement of live vertebrate animals as part of the scientific assessment according to the following
          criteria: (1) description of proposed procedures involving animals, including species, strains, ages, sex, and total number to be used; (2)
          justifications for the use of animals versus alternative models and for the appropriateness of the species proposed; (3) interventions to
          minimize discomfort, distress, pain and injury; and (4) justification for euthanasia method if NOT consistent with the AVMA Guidelines for
          the Euthanasia of Animals. Reviewers will assess the use of chimpanzees as they would any other application proposing the use of
          vertebrate animals. For additional information on review of the Vertebrate Animals section, please refer to the Worksheet for Review of
          the Vertebrate Animal Section (//grants.nih.gov/grants/guide/url_redirect.php?id=11150).

          Biohazards
          Reviewers will assess whether materials or procedures proposed are potentially hazardous to research personnel and/or the
          environment, and if needed, determine whether adequate protection is proposed.

          Resubmissions
     Not Applicable

          Renewals
     Not Applicable

          Revisions
     Not Applicable

     Additional Review Considerations
     Note: Effective for due dates on or after January 25, 2023, the Data Sharing Plan and Genomic Data Sharing Plan (GDS) as part of the
     Resource Sharing Plan will not be evaluated at time of review.

     As applicable for the project proposed, reviewers will consider each of the following items, but will not give scores for these items, and should
     not consider them in providing an overall impact score.

          Time Sensitivity
     Reviewers will assess whether or not (i.e., yes/no) applications demonstrate the time sensitivity of the research opportunity; in other words,
     will an important opportunity for scientific inquiry and data collection be lost if the work is not initiated in an expedited way (i.e., with minimum
     delay). It should be clear that the knowledge gained from the proposed study is time-sensitive such that an expedited review and funding are
     required in order for the scientific question(s) to be answered. Reviewers are also asked to determine whether or not the event described in
     the application offers an uncommon and scientifically compelling opportunity that might only be available through this mechanism. Of
     particular relevance is that an expedited award would facilitate baseline data collection at a critical point in the timeline of the event in
     question.

          Applications from Foreign Organizations
          Not Applicable.

          Select Agent Research
          Reviewers will assess the information provided in this section of the application, including 1) the Select Agent(s) to be used in the
          proposed research, 2) the registration status of all entities where Select Agent(s) will be used, 3) the procedures that will be used to
          monitor possession use and transfer of Select Agent(s), and 4) plans for appropriate biosafety, biocontainment, and security of the Select
          Agent(s).

          Resource Sharing Plans

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                                15/20
                                                                                                                              APHA App. 044
Case: 25-1611                Document: 00118310432                        Page: 48              Date Filed: 07/08/2025              Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    41
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
          Reviewers will comment on whether the following Resource Sharing Plans, or the rationale for not sharing the following types of
          resources, are reasonable: (1) Data Sharing Plan (//grants.nih.gov/grants/guide/url_redirect.php?id=11151); (2) Sharing Model Organisms
          (https://sharing.nih.gov/other-sharing-policies/model-organism-sharing-policy#policy-overview); and (3) Genomic Data Sharing Plan
          (GDS) (https://sharing.nih.gov/genomic-data-sharing-policy).

          Authentication of Key Biological and/or Chemical Resources:
          For projects involving key biological and/or chemical resources, reviewers will comment on the brief plans proposed for identifying and
          ensuring the validity of those resources.

          Budget and Period of Support
          Reviewers will consider whether the budget and the requested period of support are fully justified and reasonable in relation to the
          proposed research.

     2. Review and Selection Process
     Applications will be evaluated for scientific and technical merit by (an) appropriate Scientific Review Group(s) convened by Center for
     Scientific Review (CSR) in accordance with NIH peer review policy and procedures (//grants.nih.gov/grants/guide/url_redirect.php?id=11154),
     using the stated review criteria
     (file:///C:/Users/mckenziene/AppData/Local/Microsoft/Windows/INetCache/Content.Outlook/13V4QPZR/Research%20Draft.doc#_1._Criteria).
     Assignment to a Scientific Review Group will be shown in the eRA Commons.

     As part of the scientific peer review, all applications will receive a written critique.

     Applications may undergo a selection process in which only those applications deemed to have the highest scientific and technical merit
     (generally the top half of applications under review) will be discussed and assigned an overall impact score.

     Applications will be assigned on the basis of established PHS referral guidelines to the appropriate NIH Institute or Center. Applications
     will compete for available funds with all other recommended applications submitted in response to this FOA. Following initial peer review,
     recommended applications will receive a second level of review by the appropriate national Advisory Council or Board. The following will
     be considered in making funding decisions:
                Scientific and technical merit of the proposed project as determined by scientific peer review.
                Availability of funds.
                Relevance of the proposed project to program priorities.

     3. Anticipated Announcement and Award Dates
     After the peer review of the application is completed, the PD/PI will be able to access his or her Summary Statement (written critique) via the
     eRA Commons (https://grants.nih.gov/grants/guide/url_redirect.php?id=11123). Refer to Part 1 for dates for peer review, advisory council
     review, and earliest start date.

     Information regarding the disposition of applications is available in the NIH Grants Policy Statement
     (//grants.nih.gov/grants/guide/url_redirect.php?id=11120).


     Section VI. Award Administration Information
     1. Award Notices
     If the application is under consideration for funding, NIH will request "just-in-time" information from the applicant as described in the NIH
     Grants Policy Statement (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_2/2.5.1_just-in-time_procedures.htm).

     A formal notification in the form of a Notice of Award (NoA) will be provided to the applicant organization for successful applications. The NoA
     signed by the grants management officer is the authorizing document and will be sent via email to the recipient's business official.

     Recipients must comply with any funding restrictions described in Section IV.5. Funding Restrictions. Selection of an application for award is
     not an authorization to begin performance. Any costs incurred before receipt of the NoA are at the recipient's risk. These costs may be
     reimbursed only to the extent considered allowable pre-award costs.

     Any application awarded in response to this FOA will be subject to terms and conditions found on the Award Conditions and Information for
     NIH Grants (https://grants.nih.gov/grants/policy/nihgps/HTML5/part_ii_subpart_b.htm) website. This includes any recent legislation and policy
     applicable to awards that is highlighted on this website.

     Institutional Review Board or Independent Ethics Committee Approval: Recipient institutions must ensure that protocols are reviewed by their
     IRB or IEC. To help ensure the safety of participants enrolled in NIH-funded studies, the recipient must provide NIH copies of documents
     related to all major changes in the status of ongoing protocols.

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                          16/20
                                                                                                                           APHA App. 045
Case: 25-1611                Document: 00118310432                     Page: 49            Date Filed: 07/08/2025                   Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    42
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)

     2. Administrative and National Policy Requirements
     All NIH grant and cooperative agreement awards include the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?
     id=11120) as part of the NoA. For these terms of award, see the NIH Grants Policy Statement Part II: Terms and Conditions of NIH Grant
     Awards, Subpart A: General (//grants.nih.gov/grants/guide/url_redirect.php?id=11157) and Part II: Terms and Conditions of NIH Grant Awards,
     Subpart B: Terms and Conditions for Specific Types of Grants, Recipients, and Activities (//grants.nih.gov/grants/guide/url_redirect.php?
     id=11159), including of note, but not limited to:

             Federalwide Research Terms and Conditions
             (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_3/3.1_federalwide_standard_terms_and_conditions_for_research_grants.htm)
             Prohibition on Certain Telecommunications and Video Surveillance Services or Equipment (https://grants.nih.gov/grants/guide/notice-
             files/NOT-OD-21-041.html)
             Acknowledgment of Federal Funding
             (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_4/4.2.1_acknowledgement_of_federal_funding.htm)

     If a recipient is successful and receives a Notice of Award, in accepting the award, the recipient agrees that any activities under the award are
     subject to all provisions currently in effect or implemented during the period of the award, other Department regulations and policies in effect
     at the time of the award, and applicable statutory provisions.

     Should the applicant organization successfully compete for an award, recipients of federal financial assistance (FFA) from HHS must
     administer their programs in compliance with federal civil rights laws that prohibit discrimination on the basis of race, color, national origin,
     disability, age and, in some circumstances, religion, conscience, and sex (including gender identify, sexual orientation, and pregnancy). This
     includes ensuring programs are accessible to persons with limited English proficiency and persons with disabilities. The HHS Office for Civil
     Rights provides guidance on complying with civil rights laws enforced by HHS. Please see https://www.hhs.gov/civil-rights/for-
     providers/provider-obligations/index.html (https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html) and
     https://www.hhs.gov/civil-rights/for-individuals/nondiscrimination/index.html (https://www.hhs.gov/civil-rights/for-
     individuals/nondiscrimination/index.html)

     HHS recognizes that research projects are often limited in scope for many reasons that are nondiscriminatory, such as the principal
     investigator’s scientific interest, funding limitations, recruitment requirements, and other considerations. Thus, criteria in research protocols
     that target or exclude certain populations are warranted where nondiscriminatory justifications establish that such criteria are appropriate with
     respect to the health or safety of the subjects, the scientific study design, or the purpose of the research. For additional guidance regarding
     how the provisions apply to NIH grant programs, please contact the Scientific/Research Contact that is identified in Section VII under Agency
     Contacts of this FOA.

             Recipients of FFA must ensure that their programs are accessible to persons with limited English proficiency. For guidance on meeting
             the legal obligation to take reasonable steps to ensure meaningful access to programs or activities by limited English proficient
             individuals see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-sheet-guidance/index.html
             (https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-sheet-guidance/index.html) and
             https://www.lep.gov (https://www.lep.gov/).
             For information on an institution’s specific legal obligations for serving qualified individuals with disabilities, including reasonable
             accommodations and making services accessible to them, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html
             (https://www.hhs.gov/ocr/civilrights/understanding/disability/index.html).
             HHS funded health and education programs must be administered in an environment free of sexual harassment, see
             https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html (https://www.hhs.gov/civil-rights/for-individuals/sex-
             discrimination/index.html). For information about NIH's commitment to supporting a safe and respectful work environment, who to
             contact with questions or concerns, and what NIH's expectations are for institutions and the individuals supported on NIH-funded
             awards, please see https://grants.nih.gov/grants/policy/harassment.htm (https://grants.nih.gov/grants/policy/harassment.htm).
             For guidance on administering programs in compliance with applicable federal conscience protection and associated anti-
             discrimination laws see https://www.hhs.gov/conscience/conscience-protections/index.html
             (https://www.hhs.gov/conscience/conscience-protections/index.html) and https://www.hhs.gov/conscience/religious-freedom/index.html
             (https://www.hhs.gov/conscience/religious-freedom/index.html).

     Please contact the HHS Office for Civil Rights for more information about obligations and prohibitions under federal civil rights laws at
     https://www.hhs.gov/ocr/about-us/contact-us/index.html (https://www.hhs.gov/ocr/about-us/contact-us/index.html) or call 1-800-368-1019 or
     TDD 1-800-537-7697.

     In accordance with the statutory provisions contained in Section 872 of the Duncan Hunter National Defense Authorization Act of Fiscal Year
     2009 (Public Law 110-417), NIH awards will be subject to the Federal Awardee Performance and Integrity Information System (FAPIIS)
     requirements. FAPIIS requires Federal award making officials to review and consider information about an applicant in the designated
     integrity and performance system (currently FAPIIS) prior to making an award. An applicant, at its option, may review information in the
     designated integrity and performance systems accessible through FAPIIS and comment on any information about itself that a Federal agency
     previously entered and is currently in FAPIIS. The Federal awarding agency will consider any comments by the applicant, in addition to other

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                            17/20
                                                                                                                           APHA App. 046
Case: 25-1611                Document: 00118310432                    Page: 50           Date Filed: 07/08/2025                 Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    43
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
     information in FAPIIS, in making a judgement about the applicant’s integrity, business ethics, and record of performance under Federal
     awards when completing the review of risk posed by applicants as described in 45 CFR Part 75.205 and 2 CFR Part 200.206 Federal
     awarding agency review of risk posed by applicants. This provision will apply to all NIH grants and cooperative agreements except
     fellowships.
     Cooperative Agreement Terms and Conditions of Award
     Not Applicable

     Data Management and Sharing

     Note: The NIH Policy for Data Management and Sharing is effective for due dates on or after January 25, 2023.

     Consistent with the NIH Policy for Data Management and Sharing, when data management and sharing is applicable to the award,
     recipients will be required to adhere to the Data Management and Sharing requirements as outlined in the NIH Grants Policy Statement
     (/grants/policy/nihgps/HTML5/section_8/8.2.3_sharing_research_resources.htm#Data). Upon the approval of a Data Management and
     Sharing Plan, it is required for recipients to implement the plan as described.

     3. Reporting
     When multiple years are involved, recipients will be required to submit the Research Performance Progress Report (RPPR)
     (//grants.nih.gov/grants/rppr/index.htm) annually and financial statements as required in the NIH Grants Policy Statement.
     (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_8/8.4.1_reporting.htm)

     A final RPPR, invention statement, and the expenditure data portion of the Federal Financial Report are required for closeout of an award, as
     described in the NIH Grants Policy Statement (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_8/8.6_closeout.htm). NIH FOAs
     outline intended research goals and objectives. Post award, NIH will review and measure performance based on the details and outcomes
     that are shared within the RPPR, as described at 45 CFR Part 75.301 and 2 CFR Part 200.301.

     The Federal Funding Accountability and Transparency Act of 2006 (Transparency Act), includes a requirement for recipients of Federal grants
     to report information about first-tier subawards and executive compensation under Federal assistance awards issued in FY2011 or later. All
     recipients of applicable NIH grants and cooperative agreements are required to report to the Federal Subaward Reporting System (FSRS)
     available at www.fsrs.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=11170) on all subawards over $25,000. See the NIH Grants
     Policy Statement
     (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_4/4.1.8_federal_funding_accountability_and_transparency_act__ffata_.htm) for
     additional information on this reporting requirement.

     In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part 75, recipients that have currently
     active Federal grants, cooperative agreements, and procurement contracts from all Federal awarding agencies with a cumulative total value
     greater than $10,000,000 for any period of time during the period of performance of a Federal award, must report and maintain the currency
     of information reported in the System for Award Management (SAM) about civil, criminal, and administrative proceedings in connection with
     the award or performance of a Federal award that reached final disposition within the most recent five-year period. The recipient must also
     make semiannual disclosures regarding such proceedings. Proceedings information will be made publicly available in the designated integrity
     and performance system (currently FAPIIS). This is a statutory requirement under section 872 of Public Law 110-417, as amended (41 U.S.C.
     2313). As required by section 3010 of Public Law 111-212, all information posted in the designated integrity and performance system on or
     after April 15, 2011, except past performance reviews required for Federal procurement contracts, will be publicly available. Full reporting
     requirements and procedures are found in Appendix XII to 45 CFR Part 75 Award Term and Conditions for Recipient Integrity and
     Performance Matters.


     Section VII. Agency Contacts
     We encourage inquiries concerning this funding opportunity and welcome the opportunity to answer questions from potential applicants.

     Application Submission Contacts
     eRA Service Desk (Questions regarding ASSIST, eRA Commons, application errors and warnings, documenting system problems that
     threaten submission by the due date, and post-submission issues)

     Finding Help Online: http://grants.nih.gov/support/ (//grants.nih.gov/support/) (preferred method of contact)
     Telephone: 301-402-7469 or 866-504-9552 (Toll Free)

     General Grants Information (Questions regarding application instructions, application processes, and NIH grant resources)
     Email: GrantsInfo@nih.gov (mailto:GrantsInfo@nih.gov) (preferred method of contact)
     Telephone: 301-945-7573

     Grants.gov Customer Support (Questions regarding Grants.gov registration and Workspace)
     Contact Center Telephone: 800-518-4726

 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                    18/20
                                                                                                                        APHA App. 047
Case: 25-1611                Document: 00118310432                    Page: 51           Date Filed: 07/08/2025                 Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    44
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
     Email: support@grants.gov (mailto:support@grants.gov)
     Scientific/Research Contact(s)
     Rosalind King, PhD
     Office of Behavioral and Social Sciences Research (OBSSR)
     Phone: 301-451-3832
     Email: kingros@nih.gov (mailto:kingros@nih.gov)

     Sarika Parasuraman, PhD, MPH
     National Institute on Alcohol Abuse and Alcoholism (NIAAA)
     Phone: 301-435-5482
     Email: sarika.parasuraman@mail.nih.gov (mailto:sarika.parasuraman@mail.nih.gov)

     Karen A. Kehl, PhD, RN
     National Institute of Nursing Research
     Telephone: 301-594-8010
     Email: karen.kehl@nih.gov (mailto:karen.kehl@nih.gov)

     Yan Wang, MD, PhD
     National Institute of Arthritis and Musculoskeletal and Skin Diseases (NIAMS)
     Phone: 301-594-5032
     Email: Yan.Wang1@nih.gov (mailto:Yan.Wang1@nih.gov)

     Elizabeth Anne Barr, Ph.D.
     Office of Research on Women's Health (ORWH)
     Phone: 301-402-7895
     E-mail: elizabeth.barr@nih.gov (mailto:elizabeth.barr@nih.gov)

     Arielle Samantha Gillman
     National Institute on Minority Health and Health Disparities (NIMHD)
     Phone: 301-402-1366
     E-mail: arielle.gillman@nih.gov (mailto:arielle.gillman@nih.gov)

     Layla Esposito, PhD
     Eunice Kennedy Shriver National Institute of Child Health and Human Development (NICHD)
     Telephone: 301-435-6888
     Email: espositl@mail.nih.gov (mailto:espositl@mail.nih.gov)

     Marsha Lopez
     National Institute on Drug Abuse (NIDA)
     Phone: 301-402-1846
     E-mail: lopezmar@mail.nih.gov (mailto:lopezmar@mail.nih.gov)

     Jill Reedy, PhD, MPH, RDN
     National Cancer Institute (NCI)
     Phone: 240-276-6812
     Email: reedyj@mail.nih.gov (mailto:reedyj@mail.nih.gov)

     Bramaramba Kowtha MS, RDN, LDN
     Office of Disease Prevention (ODP)
     Telephone: 301-435-8052
     Email: bramaramba.kowtha@nih.gov

     Peer Review Contact(s)
     Center for Scientific Review (CSR)
     Email: FOAReviewContact@csr.nih.gov (mailto:FOAReviewContact@csr.nih.gov)

     Financial/Grants Management Contact(s)
     The Office of Behavioral and Social Sciences Research (OBSSR (https://obssr.od.nih.gov/)) cannot accept assignments of applications or
     manage funded research projects. Please contact the IC-based grants management professionals below for related inquiries .

     Judy Fox
     National Institute on Alcohol Abuse and Alcoholism (NIAAA)
     Telephone: 301-443-4707
     Email: jfox@mail.nih.gov (mailto:jfox@mail.nih.gov)
 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                 19/20
                                                                                                                        APHA App. 048
Case: 25-1611                Document: 00118310432                         Page: 52          Date Filed: 07/08/2025             Entry ID: 6734280

 4/18/25, 3:10 PM     Case 1:25-cv-10787-BEM             Document
                                    Expired PAR-22-233: Time-Sensitive   38-19 for Health
                                                                       Opportunities FiledResearch
                                                                                            04/25/25         Page
                                                                                                   (R61/R33 Clinical    45
                                                                                                                     Trial Notof  97
                                                                                                                               Allowed)
     Ron Wertz
     National Institute of Nursing Research (NINR)
     Telephone: 301-594-2807
     Email: wertzr@mail.nih.gov (mailto:wertzr@mail.nih.gov)

     Sahar Rais-Danai
     National Institute of Arthritis and Musculoskeletal and Skin Diseases (NIAMS)
     Phone: 301-594-5032
     E-mail: sahar.rais-danai@nih.gov (mailto:sahar.rais-danai@nih.gov)

     Priscilla Grant
     National Institute on Minority Health and Health Disparities (NIMHD)
     Phone: 301-594-8412
     E-mail: pg38h@nih.gov (mailto:pg38h@nih.gov)

     Margaret Young
     Eunice Kennedy Shriver National Institute of Child Health and Human Development (NICHD)
     Telephone: 301-642-4552
     Email: margaret.young@nih.gov (mailto:margaret.young@nih.gov)

     Pamela G Fleming
     National Institute on Drug Abuse (NIDA)
     Phone: 301-480-1159
     E-mail: pfleming@mail.nih.gov (mailto:pfleming@mail.nih.gov)

     Crystal Wolfrey
     National Cancer Institute (NCI)
     Phone: 240-276-6277
     Email: crystal.wolfrey@nih.gov


     Section VIII. Other Information
     Recently issued trans-NIH policy notices (//grants.nih.gov/grants/guide/url_redirect.php?id=11163) may affect your application submission. A
     full list of policy notices published by NIH is provided in the NIH Guide for Grants and Contracts
     (//grants.nih.gov/grants/guide/url_redirect.php?id=11164). All awards are subject to the terms and conditions, cost principles, and other
     considerations described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120).

     Authority and Regulations
     Awards are made under the authorization of Sections 301 and 405 of the Public Health Service Act as amended (42 USC 241 and 284) and
     under Federal Regulations 42 CFR Part 52 and 45 CFR Part 75.



     Weekly TOC for this Announcement (/grants/guide/WeeklyIndex.cfm?09-02-22)
     NIH Funding Opportunities and Notices (/grants/guide/index.html)




                                                                       (/grants/oer.htm)


                                                       Department of Health
                          (https://www.hhs.gov/)
                                                       and Human Services (HHS)

                                                                                 (https://www.usa.gov/)


                                                                NIH... Turning Discovery Into Health®




 https://grants.nih.gov/grants/guide/pa-files/PAR-22-233.html                                                                                       20/20
                                                                                                                        APHA App. 049
Case: 25-1611   Document: 00118310432   Page: 53   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-19
                                  Document 38-19   Filed 04/25/25
                                                   Filed 04/25/25   Page 46
                                                                    Page 46 of
                                                                            of 97
                                                                               97




                        EXHIBIT
                        EXHIBIT C




                                                                       APHA App. 050
Case: 25-1611        Document: 00118310432                 Page: 54   Date Filed: 07/08/2025   Entry ID: 6734280

          Case 1:25-cv-10787-BEM                 Document 38-19       Filed 04/25/25   Page 47 of 97




     March 12, 2025

     Cary Williams
     Harvard Pilgrim Health Care
     Email: research admin@hphci.harvard.edu


     Dear Cary Williams:

     Funding for Project Number 1R61HD117134-01 is hereby terminated pursuant to the 2024
     National Institutes of Health (“NIH”) Grants Policy Statement,1 and 2 C.F.R. § 200.340(a)(2).
     This letter constitutes a notice of termination.2

            The 2024 Policy Statement applies to your project because NIH approved your grant on
     August 22, 2024, and “obligations generally should be determined by reference to the law in effect
     when the grants were made.” 3

             The 2024 Policy Statement “includes the terms and conditions of NIH grants and
     cooperative agreements and is incorporated by reference in all NIH grant and cooperative
     agreement awards.” 4 According to the Policy Statement, “NIH may … terminate the grant in
     whole or in part as outlined in 2 CFR Part 200.340.” 5 At the time your grant was issued, 2 C.F.R.
     § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity,
     to the greatest extent authorized by law, if an award no longer effectuates the program goals or
     agency priorities.”

             This award no longer effectuates agency priorities. Research programs based on gender
     identity are often unscientific, have little identifiable return on investment, and do nothing to
     enhance the health of many Americans. Many such studies ignore, rather than seriously examine,
     biological realities. It is the policy of NIH not to prioritize these research program.
            Although “NIH generally will suspend (rather than immediately terminate) a grant and
     allow the recipient an opportunity to take appropriate corrective action before NIH makes a
     termination decision,” 6 no corrective action is possible here. The premise of Project Number 5



     1
       https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
     2
       2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
     3
       Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
     4
       2024 Policy Statement at IIA-1.
     5
       Id. at IIA-155.
     6
       2024 Policy Statement at IIA-156.
                                                                                          APHA App. 051
Case: 25-1611       Document: 00118310432             Page: 55    Date Filed: 07/08/2025        Entry ID: 6734280

          Case 1:25-cv-10787-BEM                Document 38-19   Filed 04/25/25      Page 48 of 97




     1R61HD117134-01 is incompatible with agency priorities, and no modification of the project could
     align the project with agency priorities.

             Costs resulting from financial obligations incurred after termination are not allowable. 7
     Nothing in this notice excuses either NIH or you from complying with the closeout obligations
     imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
     Funding Accountability and Transparency Act or the Office of Management and Budget’s
     regulations to USAspending.gov. 8
     Administrative Appeal

              You may object and provide information and documentation challenging this termination. 9
     NIH has established a first-level grant appeal procedure that must be exhausted before you may
     file an appeal with the Departmental Appeals Board. 10

             You must submit a request for such review to Dr. Matt Memoli no later than 30 days after
     the written notification of the determination is received, except that if you show good cause why
     an extension of time should be granted, Dr. Memoli may grant an extension of time. 11

             The request for review must include a copy of the adverse determination, must identify the
     issue(s) in dispute, and must contain a full statement of your position with respect to such issue(s)
     and the pertinent facts and reasons in support of your position. In addition to the required written
     statement, you shall provide copies of any documents supporting your claim. 12



     Sincerely,


     Michelle G. Bulls, on behalf of Margaret Young, Chief Grants Management Officer, NICHD
     Director, Office of Policy for Extramural Administration
     Office of Extramural Research




     7
       See 2 C.F.R. § 200.343 (2024).
     8
       2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
     9
       See 45 C.F.R. § 75.374.
     10
        See 42 C.F.R. Part 50, Subpart D.
     11
        Id. § 50.406(a).
     12
        Id. § 50.406(b).
                                                                                          APHA App. 052
Case: 25-1611   Document: 00118310432   Page: 56   Date Filed: 07/08/2025   Entry ID: 6734280




        Case 1:25-cv-10787-BEM
        Case 1:25-cv-10787-BEM   Document 38-19
                                 Document 38-19    Filed 04/25/25
                                                   Filed 04/25/25   Page 49
                                                                    Page 49 of
                                                                            of 97
                                                                               97




                        EXHIBIT
                        EXHIBIT D




                                                                       APHA App. 053
Case: 25-1611          Document: 00118310432                          Page: 57                       Date Filed: 07/08/2025                           Entry ID: 6734280

                     Department
                   Case         of Health and Human Document
                        1:25-cv-10787-BEM           Services 38-19                                      Filed 04/25/25            Page 50 of 97Notice of Award
                       National Institutes of Health                                                                                                 FAIN# R61HD117134
                       EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD                                                                             Federal Award Date
                       HEALTH & HUMAN DEVELOPMENT                                                                                                            03/14/2025



   Recipient Information                           Federal Award Information
   1. Recipient Name
      HARVARD PILGRIM HEALTH CARE INC
      1 WELLNESS WAY                               11. Award Number
      CANTON, MA 02021                                1R61HD117134-01

   2. Congressional District of Recipient          12. Unique Federal Award Identification Number (FAIN)
      08                                              R61HD117134

   3. Payment System Identifier (ID)               13. Statutory Authority
      1042452600A1                                    42 USC 241 42 CFR PART 52

   4. Employer Identification Number (EIN)         14. Federal Award Project Title
      042452600                                       Supportive and restrictive factors and mental health in LGBT adolescent and young
                                                      adult populations
   5. Data Universal Numbering System (DUNS)
      071721088                                    15. Assistance Listing Number
                                                      93.865
   6. Recipient’s Unique Entity Identifier
      NZVVQ8GNVX65                                 16. Assistance Listing Program Title
                                                      Child Health and Human Development Extramural Research
   7. Project Director or Principal Investigator
      Brittany Michelle Charlton, DSC              17. Award Action Type
      Assistant Professor                             New Competing (REVISED)
      bcharlton@mail.harvard.edu
      617-466-9262                                 18. Is the Award R&D?
                                                      Yes
   8. Authorized Official
      Cary Williams                                                      Summary Federal Award Financial Information
                                                    19. Budget Period Start Date 08/26/2024 – End Date 03/12/2025
                                                    20. Total Amount of Federal Funds Obligated by this Action                                                                 $0
                                                             20 a. Direct Cost Amount                                                                                          $0
                                                             20 b. Indirect Cost Amount                                                                                        $0
   Federal Agency Information                       21. Authorized Carryover
   9. Awarding Agency Contact Information           22. Offset
      Yvonne C. Talley                              23. Total Amount of Federal Funds Obligated this budget period                                                  $838,837
      Grants Management Official                    24. Total Approved Cost Sharing or Matching, where applicable                                                              $0
      EUNICE KENNEDY SHRIVER NATIONAL               25. Total Federal and Non-Federal Approved this Budget Period                                                   $838,837
      INSTITUTE OF CHILD HEALTH & HUMAN                                   ---------------------------------------------------------------------------------------------------------
      DEVELOPMENT                                   26. Project Period Start Date 08/26/2024 – End Date 03/12/2025
      talleyy@mail.nih.gov                          27. Total Amount of the Federal Award including Approved Cost                                                   $838,837
      301-496-7432                                      Sharing or Matching this Project Period
   10. Program Official Contact Information
      Ronna Popkin                                 28. Authorized Treatment of Program Income
                                                      Additional Costs
      EUNICE KENNEDY SHRIVER NATIONAL
      INSTITUTE OF CHILD HEALTH & HUMAN             29. Grants Management Officer - Signature
      DEVELOPMENT                                      Margaret A. Young
      ronna.popkin@nih.gov
      301-827-5121
    30. Remarks
        Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or
        otherwise requested from the grant payment system.




                                                                          Page 1 of 6
                                                    Version:25 - 2/15/2024 9:51 AM | Generated on: 3/15/2025 12:09 AM




                                                                                                                                           APHA App. 054
Case: 25-1611    Document: 00118310432                           Page: 58                       Date Filed: 07/08/2025      Entry ID: 6734280

            Case 1:25-cv-10787-BEM                   Document 38-19                               Filed 04/25/25   Page 51 of 97



                                                                      Notice of Award
          Phase 1 Exploratory/Developmental Grant
          Department of Health and Human Services
          National Institutes of Health

          EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

            SECTION I – AWARD DATA – 1R61HD117134-01 REVISED



            Principal Investigator(s):
            Brittany Michelle Charlton, DSC

            Award e-mailed to: research_admin@hphci.harvard.edu

            Dear Authorized Official:

            The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and “Terms
            and Conditions” in Section III) to HARVARD PILGRIM HEALTH CARE in support of the above referenced
            project. This award is pursuant to the authority of 42 USC 241 42 CFR PART 52 and is subject to the
            requirements of this statute and regulation and of other referenced, incorporated or attached terms and
            conditions.

            Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
            funds are drawn down or otherwise requested from the grant payment system.

            Each publication, press release, or other document about research supported by an NIH award must include
            an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
            was supported by the Eunice Kennedy Shriver National Institute Of Child Health & Human Development of
            the National Institutes of Health under Award Number R61HD117134. The content is solely the responsibility
            of the authors and does not necessarily represent the official views of the National Institutes of Health.”
            Prior to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC
            in advance to allow for coordination.

            Award recipients must promote objectivity in research by establishing standards that provide a reasonable
            expectation that the design, conduct and reporting of research funded under NIH awards will be free from
            bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
            revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
            through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
            Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
            website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
            information.

            If you have any questions about this award, please direct questions to the Federal Agency contacts.

            Sincerely yours,




            Margaret A. Young
            Grants Management Officer
            EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

            Additional information follows




            Cumulative Award Calculations for this Budget Period (U.S. Dollars)

                                                                     Page 2 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/15/2025 12:09 AM



                                                                                                                      APHA App. 055
Case: 25-1611     Document: 00118310432                             Page: 59                       Date Filed: 07/08/2025       Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-19                               Filed 04/25/25   Page 52 of 97

           Salaries and Wages                                                                                               $140,347
           Fringe Benefits                                                                                                   $41,823
           Personnel Costs (Subtotal)                                                                                       $182,170
           Consultant Services                                                                                                $5,000
           Travel                                                                                                             $6,500
           Subawards/Consortium/Contractual Costs                                                                           $500,845

           Federal Direct Costs                                                                                             $694,515
           Federal F&A Costs                                                                                                $144,322
           Approved Budget                                                                                                  $838,837
           Total Amount of Federal Funds Authorized (Federal Share)                                                         $838,837
           TOTAL FEDERAL AWARD AMOUNT                                                                                       $838,837

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                                 $0


                              SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
           YR                    THIS AWARD                             CUMULATIVE TOTALS
            1                                   $838,837                                                                $838,837

           Fiscal Information:
           Payment System Identifier:         1042452600A1
           Document Number:                   RHD117134A
           PMS Account Type:                  P (Subaccount)
           Fiscal Year:                       2024

           IC       CAN                                                                 2024
           OD       8055729                                                             $838,837



           NIH Administrative Data:
           PCC: PDB -RP / OC: 41021 / Released: 03/14/2025
           Award Processed: 03/15/2025 12:09:47 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 1R61HD117134-01 REVISED

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 1R61HD117134-01 REVISED

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                a. The grant program legislation and program regulation cited in this Notice of Award.
                b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                   those included in appropriations acts.
                c. 45 CFR Part 75.
                d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                   Statement, including addenda in effect as of the beginning date of the budget period.
                e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                   progress report when applicable.
                f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
                                                                     Page 3 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/15/2025 12:09 AM



                                                                                                                       APHA App. 056
Case: 25-1611     Document: 00118310432                               Page: 60                       Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-19                               Filed 04/25/25   Page 53 of 97

          research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
          the rate(s) specified in the award document(s).


          An unobligated balance may be carried over into the next budget period without Grants Management Officer
          prior approval.

          This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

          This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
          (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
          consortium/subaward be issued under this award, a UEI requirement must be included. See
          http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
          requirement and other additional information.

          This award has been assigned the Federal Award Identification Number (FAIN) R61HD117134. Recipients
          must document the assigned FAIN on each consortium/subaward issued under this award.

          Based on the project period start date of this project, this award is likely subject to the Transparency Act
          subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
          may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
          applicability information.

          In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
          information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


          This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
          Statement Section 8.6 Closeout for complete closeout requirements at:
          http://grants.nih.gov/grants/policy/policy.htm#gps.

          A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
          Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
          Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
          additional information on this submission requirement. The final FFR must indicate the exact balance of
          unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
          between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
          awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
          expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
          expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

          A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
          conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
          568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
          Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
          G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
          U42, U45, UC6, UC7, UR2, X01, X02.

          Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
          (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
          renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
          well. Instructions for preparing an Interim or Final RPPR are at:
          https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
          the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
          reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
          lay person audience.

          NIH requires electronic submission of the final invention statement through the Closeout feature in the
          Commons.

          NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
          then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
          electronically as noted above. If not already submitted, the Final Invention Statement is required and should
          be sent directly to the assigned Grants Management Specialist.

                                                                      Page 4 of 6
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/15/2025 12:09 AM



                                                                                                                         APHA App. 057
Case: 25-1611       Document: 00118310432                            Page: 61                       Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-19                               Filed 04/25/25   Page 54 of 97

           This award is funded by the following list of institutes. Any papers published under the auspices of this
           award must cite the funding support of all institutes.
           Office Of The Director, National Institutes Of Health (OD)


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
           and https://www.hhs.gov/.

                ·   Recipients of FFA must ensure that their programs are accessible to persons with limited English
                    proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                    meaningful access to programs or activities by limited English proficient individuals,
                    see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                    sheet-guidance/index.html and https://www.lep.gov.
                ·   For information on an institution’s specific legal obligations for serving qualified individuals with
                    disabilities, including providing program access, reasonable modifications, and to provide effective
                    communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                ·   HHS funded health and education programs must be administered in an environment free of sexual
                    harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                    For information about NIH's commitment to supporting a safe and respectful work environment,
                    who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                    individuals supported on NIH-funded awards, please see
                    https://grants.nih.gov/grants/policy/harassment.htm.
                ·   For guidance on administering programs in compliance with applicable federal religious
                    nondiscrimination laws and applicable federal conscience protection and associated anti-
                    discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                    https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


           Treatment of Program Income:
           Additional Costs

           SECTION IV – HD SPECIFIC AWARD CONDITIONS – 1R61HD117134-01 REVISED


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.

           REVISION: This revised award terminates the budget, and the project end dates
           to 03/12/2025.

           It is the policy of NIH not to prioritize Research programs based on gender identity are
           often unscientific, have little identifiable return on investment, and do nothing to enhance
           the health of many Americans. Many such studies ignore, rather than seriously examine,
           biological realities. It is the policy of NIH not to prioritize these research
                                                                     Page 5 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/15/2025 12:09 AM



                                                                                                                        APHA App. 058
Case: 25-1611     Document: 00118310432                                Page: 62                       Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                      Document 38-19                               Filed 04/25/25   Page 55 of 97

          programs. Therefore, this project is terminated. HARVARD PILGRIM HEALTH CARE,
          INC., may request funds to support patient safety and orderly closeout of the project.
          Funds used to support any other research activities will be disallowed and recovered.

          Please be advised that your organization, as part of the orderly closeout process will need
          to submit the necessary closeout documents (i.e., Final Research Performance Progress
          Report, Final Invention Statement, and the Final Federal Financial Report (FFR), as
          applicable) within 120 days of the end of this grant.

          NIH is taking this enforcement action in accordance with 2 C.F.R. Â§ 200.340 as
          implemented in NIH GPS Section 8.5.2. This revised award represents the final decision
          of the NIH. It shall be the final decision of the Department of Health and Human Services
          (HHS) unless within 30 days after receiving this decision you mail or email a written
          notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
          appeal justification, total amount in dispute, and any material or documentation that will
          support your position. Finally, the appeal must be signed by the institutional official
          authorized to sign award applications and must be dated no later than 30 days after the
          date of this notice.



          Data Management and Sharing Policy: Applicable

          This project is expected to generate scientific data. Therefore, the Final NIH Policy for Data Management
          and Sharing applies. The approved Data Management and Sharing (DMS) Plan is hereby incorporated as a
          term and condition of award, and the recipient shall manage and disseminate scientific data in accordance
          with the approved plan. Any significant changes to the DMS Plan (e.g., new scientific direction, a different
          data repository, or a timeline revision) require NIH prior approval. Failure to comply with the approved DMS
          plan may result in suspension and/or termination of this award, withholding of support, audit disallowances,
          and/or other appropriate action. See NIH Grants Policy Statement Section 8.2.3 for more information on
          data management and sharing expectations.




          SPREADSHEET SUMMARY
          AWARD NUMBER: 1R61HD117134-01 REVISED

          INSTITUTION: HARVARD PILGRIM HEALTH CARE

          Budget                                                         Year 1
          Salaries and Wages                                             $140,347
          Fringe Benefits                                                $41,823
          Personnel Costs (Subtotal)                                     $182,170
          Consultant Services                                            $5,000
          Travel                                                         $6,500
          Subawards/Consortium/Contractual Costs                         $500,845
          TOTAL FEDERAL DC                                               $694,515
          TOTAL FEDERAL F&A                                              $144,322
          TOTAL COST                                                     $838,837


          Facilities and Administrative Costs                            Year 1
          F&A Cost Rate 1                                                66%
          F&A Cost Base 1                                                $218,670
          F&A Costs 1                                                    $144,322


                                                                       Page 6 of 6
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/15/2025 12:09 AM



                                                                                                                          APHA App. 059
Case: 25-1611   Document: 00118310432   Page: 63   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-19
                                  Document 38-19   Filed 04/25/25
                                                   Filed 04/25/25   Page 56
                                                                    Page 56 of
                                                                            of 97
                                                                               97




                        EXHIBIT
                        EXHIBIT E




                                                                       APHA App. 060
Case: 25-1611          Document: 00118310432                         Page: 64                Date Filed: 07/08/2025                          Entry ID: 6734280

                    Department
                  Case          of Health and Human
                       1:25-cv-10787-BEM            Services
                                              Document  38-19                                 Filed 04/25/25                Page 57 ofNotice
                                                                                                                                       97 of Award
                       National Institutes of Health                                                                                      FAIN# R01MD015256
                       NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH                                                                         Federal Award Date
                                                                                                                                                        05/16/2021
                       DISPARITIES

   Recipient Information                               Federal Award Information
   1. Recipient Name
      CHILDREN'S HOSPITAL CORPORATION, THE
                                           11. Award Number
      300 LONGWOOD AVE
                                              1R01MD015256-01A1
     BOSTON, MA 02115
                                                      12. Unique Federal Award Identification Number (FAIN)
                                                         R01MD015256
   2. Congressional District of Recipient
      07
                                                      13. Statutory Authority
                                                         42 USC 241 42 CFR 52
   3. Payment System Identifier (ID)
      1042774441A1
                                                      14. Federal Award Project Title
                                                         Sexual orientation-related disparities in obstetrical and perinatal health
   4. Employer Identification Number (EIN)
      042774441
                                                      15. Assistance Listing Number
                                                         93.307
   5. Data Universal Numbering System (DUNS)
      076593722
                                                      16. Assistance Listing Program Title
                                                         Minority Health and Health Disparities Research
   6. Recipient’s Unique Entity Identifier
                                                      17. Award Action Type
                                                         New Competing
   7. Project Director or Principal Investigator
      Brittany Michelle Charlton, DSC
                                                      18. Is the Award R&D?
      Assistant Professor
                                                         Yes
      bcharlton@mail.harvard.edu
      857-218-5463
                                                                         Summary Federal Award Financial Information
   8. Authorized Official                              19. Budget Period Start Date 05/16/2021 – End Date 02/28/2022
      Jamie Chan                                       20. Total Amount of Federal Funds Obligated by this Action                                          $929,389
                                                                 20 a. Direct Cost Amount                                                                  $580,577
                                                                 20 b. Indirect Cost Amount                                                                $348,812
                                                       21. Authorized Carryover                                                                                     $0
                                                       22. Offset                                                                                                   $0
   Federal Agency Information                          23. Total Amount of Federal Funds Obligated this budget period                                      $929,389
   9. Awarding Agency Contact Information              24. Total Approved Cost Sharing or Matching, where applicable                                                $0
      CARLA GRIFFITH                                   25. Total Federal and Non-Federal Approved this Budget Period                                       $929,389
      Grants Management Specialist                            ---------------------------------------------------------------------------------------------------------
      NATIONAL INSTITUTE ON MINORITY                   26. Project Period Start Date 05/16/2021 – End Date 02/28/2026
      HEALTH AND HEALTH DISPARITIES                    27. Total Amount of the Federal Award including Approved Cost                                       $929,389
      griffithcp@mail.nih.gov                              Sharing or Matching this Project Period
      301-594-8944
   10. Program Official Contact Information           28. Authorized Treatment of Program Income
      DOROTHY M CASTILLE                                 Additional Costs
      Health Scientist Administrator
      NATIONAL INSTITUTE ON MINORITY                  29. Grants Management Officer - Signature
      HEALTH AND HEALTH DISPARITIES                      Priscilla Grant
      dorothy.castille@nih.gov
      301-594-9411
   30. Remarks
       Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or otherwise
       requested from the grant payment system.



                                                                        Page 1 of 7
                                             Version:203 - 1/27/2021 10:14 PM | Generated on: 5/16/2021 8:13 AM

                                                                                                                                   APHA App. 061
Case: 25-1611     Document: 00118310432                     Page: 65             Date Filed: 07/08/2025           Entry ID: 6734280

            Case 1:25-cv-10787-BEM                  Document 38-19                Filed 04/25/25          Page 58 of 97
                                                               Notice of Award
          RESEARCH
          Department of Health and Human Services
          National Institutes of Health

          NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES

            SECTION I – AWARD DATA – 1R01MD015256-01A1



            Principal Investigator(s):
            Brittany Michelle Charlton, DSC


            Award e-mailed to: osp@childrens.harvard.edu

            Dear Authorized Official:

            The National Institutes of Health hereby awards a grant in the amount of $929,389 (see “Award
            Calculation” in Section I and “Terms and Conditions” in Section III) to BOSTON CHILDREN'S HOSPITAL in
            support of the above referenced project. This award is pursuant to the authority of 42 USC 241 42 CFR
            52 and is subject to the requirements of this statute and regulation and of other referenced, incorporated
            or attached terms and conditions.


            Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
            funds are drawn down or otherwise requested from the grant payment system.

            Each publication, press release, or other document about research supported by an NIH award must
            include an acknowledgment of NIH award support and a disclaimer such as “Research reported in this
            publication was supported by the National Institute On Minority Health And Health Disparities of the
            National Institutes of Health under Award Number R01MD015256. The content is solely the responsibility
            of the authors and does not necessarily represent the official views of the National Institutes of Health.”
            Prior to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC
            in advance to allow for coordination.

            Award recipients must promote objectivity in research by establishing standards that provide a
            reasonable expectation that the design, conduct and reporting of research funded under NIH awards will
            be free from bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with
            the 2011 revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to
            the NIH through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
            Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
            website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
            information.

            If you have any questions about this award, please direct questions to the Federal Agency contacts.

            Sincerely yours,


            Priscilla Grant
            Grants Management Officer
            NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES

            Additional information follows

            Cumulative Award Calculations for this Budget Period (U.S. Dollars)

                                                               Page 2 of 7
                                    Version: 203 - 1/27/2021 10:14 PM | Generated on: 5/16/2021 8:13 AM

                                                                                                             APHA App. 062
Case: 25-1611     Document: 00118310432                     Page: 66            Date Filed: 07/08/2025              Entry ID: 6734280

            Salaries and Wages
             Case 1:25-cv-10787-BEM           Document 38-19                      Filed 04/25/25                $267,108
                                                                                                          Page 59 of 97
            Fringe Benefits                                                                                       $82,310
            Personnel Costs (Subtotal)                                                                           $349,418
            Consultant Services                                                                                   $19,200
            Materials & Supplies                                                                                   $1,000
            Travel                                                                                                 $7,500
            Other                                                                                                   $885
            Subawards/Consortium/Contractual Costs                                                               $202,574


            Federal Direct Costs                                                                                 $580,577
            Federal F&A Costs                                                                                    $348,812
            Approved Budget                                                                                      $929,389
            Total Amount of Federal Funds Authorized (Federal Share)                                             $929,389
            TOTAL FEDERAL AWARD AMOUNT                                                                           $929,389

            AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                $929,389


                           SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
             YR                 THIS AWARD                                     CUMULATIVE TOTALS
              1                                     $929,389                                               $929,389
              2                                     $859,031                                               $859,031
              3                                     $849,882                                               $849,882
              4                                     $849,117                                               $849,117
              5                                     $846,211                                               $846,211
            Recommended future year total cost support, subject to the availability of funds and satisfactory progress
            of the project

            Fiscal Information:
            Payment System Identifier:          1042774441A1
            Document Number:                    RMD015256A
            PMS Account Type:                   P (Subaccount)
            Fiscal Year:                        2021

            IC       CAN             2021               2022                 2023              2024          2025
            MD       8472687         $929,389           $859,031             $849,882          $849,117      $846,211

            Recommended future year total cost support, subject to the availability of funds and satisfactory progress
            of the project

            NIH Administrative Data:
            PCC: CPS01DC / OC: 41021 / Released: Grant, Priscilla 05/09/2021
            Award Processed: 05/16/2021 08:13:51 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 1R01MD015256-01A1

            For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
            http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 1R01MD015256-01A1

            This award is based on the application submitted to, and as approved by, NIH on the above-titled project
            and is subject to the terms and conditions incorporated either directly or by reference in the following:

                 a. The grant program legislation and program regulation cited in this Notice of Award.
                 b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                    those included in appropriations acts.
                 c. 45 CFR Part 75.
                                                               Page 3 of 7
                                    Version: 203 - 1/27/2021 10:14 PM | Generated on: 5/16/2021 8:13 AM

                                                                                                             APHA App. 063
Case: 25-1611        Document: 00118310432                    Page: 67            Date Filed: 07/08/2025          Entry ID: 6734280

             d. 1:25-cv-10787-BEM
           Case National Policy Requirements Document
                                             and all other requirements
                                                            38-19 Filed described in the NIH Grants
                                                                             04/25/25        Page Policy
                                                                                                    60 of 97
                      Statement, including addenda in effect as of the beginning date of the budget period.
                e.    Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                      progress report when applicable.
                f.    This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but
           non-research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other
           than the rate(s) specified in the award document(s).


           An unobligated balance may be carried over into the next budget period without Grants Management
           Officer prior approval.

           This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

           This award is subject to the requirements of 2 CFR Part 25 for institutions to receive a Dun & Bradstreet
           Universal Numbering System (DUNS) number and maintain an active registration in the System for Award
           Management (SAM). Should a consortium/subaward be issued under this award, a DUNS requirement
           must be included. See http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award
           term implementing this requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN) R01MD015256. Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions
           that may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional
           award applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For
           more information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.




           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR
           Part 75, recipients that have currently active Federal grants, cooperative agreements, and procurement
           contracts with cumulative total value greater than $10,000,000 must report and maintain information in
           the System for Award Management (SAM) about civil, criminal, and administrative proceedings in
           connection with the award or performance of a Federal award that reached final disposition within the
           most recent five-year period. The recipient must also make semiannual disclosures regarding such
           proceedings. Proceedings information will be made publicly available in the designated integrity and
           performance system (currently the Federal Awardee Performance and Integrity Information System
           (FAPIIS)). Full reporting requirements and procedures are found in Appendix XII to 45 CFR Part 75. This
           term does not apply to NIH fellowships.
           Treatment of Program Income:
           Additional Costs


                                                                Page 4 of 7
                                     Version: 203 - 1/27/2021 10:14 PM | Generated on: 5/16/2021 8:13 AM

                                                                                                           APHA App. 064
Case: 25-1611     Document: 00118310432                      Page: 68            Date Filed: 07/08/2025            Entry ID: 6734280

            Case 1:25-cv-10787-BEM
           SECTION                          Document
                   IV – MD SPECIFIC AWARD CONDITIONS    38-19 Filed 04/25/25
                                                     – 1R01MD015256-01A1                                 Page 61 of 97


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.


           REQUIREMENT: This award is subject to the conditions set forth in PA-20-185, NIH Research
           Project Grant (Parent R01 Clinical Trial Not Allowed), NIH Guide to Grants and Contracts,
           05/05/20, which is hereby incorporated by reference as special terms and conditions of this
           award.

           Copies of this RFA may be accessed at the following internet address:
           http://www.nih.gov/grants/guide/index.html

           Copies may also be obtained from the Grants Management Contact indicated in the terms of
           award.


           INFORMATION The committed levels for future years reflect the removal of inflationary
           escalation.


           INFORMATION In order to redistribute awards more evenly throughout the year, budget periods
           are being adjusted. This award is issued with a 9.5 month budget period and with 12 months of
           support. Continuation awards will cycle each year on March 1st.


           INFORMATION: Although the budget period start date for this award is May 16th, this award
           includes funds for 12 months of support. Future year budget periods will cycle on March
           1st. Allowable preaward costs may be charged to this award, in accordance with the conditions
           outlined in the NIH Grants Policy Statement, and with institutional requirements for prior approval.
           The NIH GPS can be found on the internet at http://grants.nih.gov/grants/policy/nihgps/nihgps.pdf


           REQUIREMENT: Use of humans and animals in any new activities must be requested prior to the
           start of the activity and must be approved in writing in advance by the NIMHD. See NOT-MD-08-
           002, “Guidance and Clarification on NCMHD Policy on Prior Approval for Subprojects and Pilot
           Projects Involving Human Subjects or Vertebrate Animals,” NIH Guide to Grants and Contracts,
           April 29, 2008, which is hereby incorporated by reference as special terms and conditions of this
           award. See also NOT-OD-15-129, “Prior NIH Approval of Human Subjects Research in Active
           Awards Initially Submitted without Definitive Plans for Human Subjects Involvement (Delayed
           Onset Awards): Updated Notice,” and NIH-OD-15-128, “Guidance on Changes That Involve
           Human Subjects in Active Awards and That Will Require Prior NIH Approval: Updated Notice.”

           Copies of these Notices may be accessed at the following internet
           address: http://www.nih.gov/grants/guide/index.html

           Copies may also be obtained from the Grants Management Contact indicated in the terms of
           award.


           INFORMATION: This award reflects the NIMHD’s acceptance of the certification that all key
           personnel have completed education on the protection of human subjects, in accordance with
           NIH policy, “Required Education in the Protection of Human Research Participants,” as
           announced in the June 5, 2000 NIH Guide (revised August 25, 2000)
           (http://grants.nih.gov/grants/guide/notice-files/NOT-OD-00-039.html).

           Any individual involved in the design and conduct of the study that is not included in the
           certification must satisfy this requirement prior to participating in the project. Failure to comply
           can result in the suspension and/or termination of this award, withholding of support of the
           continuation award, audit disallowances, and/or other appropriate action.
                                                          Page 5 of 7
                                   Version: 203 - 1/27/2021 10:14 PM | Generated on: 5/16/2021 8:13 AM

                                                                                                             APHA App. 065
Case: 25-1611    Document: 00118310432                     Page: 69            Date Filed: 07/08/2025            Entry ID: 6734280

           Case 1:25-cv-10787-BEM                Document 38-19                Filed 04/25/25          Page 62 of 97
          INFORMATION: See "Federalwide Assurance Requirements” and “Certification of IRB Approval”
          under the Human Subjects Protections section in the NIH Grants Policy Statement (NIHGPS), for
          specific requirements and recipient responsibilities related to the protection of human subjects,
          which are applicable to and are a term and condition of this award. The NIHGPS can found on
          the internet at http://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.


          INFORMATION: Funds awarded for direct cost compensation for Graduate Research Assistants
          are limited in accordance with the NIH policy.


          INFORMATION None of the funds in this award shall be used to pay the salary of an individual
          at a rate in excess of the current salary cap. See the new Salary Limitations on
          Grants: https://grants.nih.gov/grants/policy/salcap_summary.htm


          INFORMATION: Unobligated balances may be used by the NIMHD to reduce or offset funding for
          a subsequent budget period.


          INFORMATION: Regarding changes in scope, attention is called to the NIH Grants Policy
          Statement. The Change in Scope section is found in Section 8.1.2 at
          http://grants.nih.gov/grants/policy/nihgps/nihgps.pdf. The recipient must obtain prior approval
          from the NIMHD for a change in the direction, aims, objectives, purposes, or type of research or
          training, or other areas that constitute a significant change in the approved project. Specific
          examples are provided.


          INFORMATION: Regarding allowability of selected items of cost, attention is called to the NIH
          Grants Policy Statement. The Selected Items of Cost section is found in Section 7.9.1 at
          http://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.


          INFORMATION: Honoraria are unallowable when the primary intent is to confer distinction on, or
          to symbolize respect, esteem, or admiration for, the recipient of the honorarium. A payment for
          services rendered, such as a speaker’s fee under a conference grant, is allowable. See Section
          7.9.1 at http://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.


          INFORMATION This award includes funds awarded for consortium activity. Consortia are to be
          established and administered as described in the NIH Grants Policy Statement (NIH GPS). The
          referenced section of the NIH GPS is available
          at: http://grants.nih.gov/grants/policy/nihgps/nihgps.pdf. See "Consortium Agreements" in
          Section 15 for specific responsibilities and requirements for recipients and consortium
          participants, which are applicable to and are a term and condition of this award.


          RESTRICTION: Stipends and payments made for educational assistance (e.g., scholarships,
          fellowships, and student aid costs) may not be paid from NIH research grant funds even when
          they would appear to benefit the research project (NIH GPS Section 7.9.1). Compensation must
          be in accordance with organizational policies consistently applied to both federally and non-
          federally supported activities and must be supported by acceptable accounting records that
          reflect the employer-employee relationship. Under these conditions, the funds provided as
          compensation for services rendered are not considered stipend supplementation; they are
          allowable charges to Federal grants, including PHS research grants. (A stipend is a payment
          made to an individual under a fellowship or training grant in accordance with pre-established
          levels to provide for the individual’s living expenses during the period of training. A stipend is not
          considered compensation for the services expected of an employee.) See the NIH Grants Policy
          Statement for allowable forms of student compensation, available at
          http://grants.nih.gov/grants/policy/nihgps/nihgps.pdf


                                                            Page 6 of 7
                                 Version: 203 - 1/27/2021 10:14 PM | Generated on: 5/16/2021 8:13 AM

                                                                                                           APHA App. 066
Case: 25-1611    Document: 00118310432                      Page: 70             Date Filed: 07/08/2025                   Entry ID: 6734280

           SPREADSHEET SUMMARY
            Case 1:25-cv-10787-BEM      Document 38-19                            Filed 04/25/25             Page 63 of 97
           AWARD NUMBER: 1R01MD015256-01A1

           INSTITUTION: BOSTON CHILDREN'S HOSPITAL

           Budget                          Year 1             Year 2            Year 3            Year 4         Year 5
           Salaries and Wages              $267,108           $262,190          $258,026          $251,047       $252,126
           Fringe Benefits                 $82,310            $79,969           $72,973           $73,520        $70,799
           Personnel Costs (Subtotal)      $349,418           $342,159          $330,999          $324,567       $322,925
           Consultant Services             $19,200            $19,200           $19,200           $19,200        $19,200
           Materials & Supplies            $1,000             $1,000            $1,000            $1,000         $1,000
           Travel                          $7,500             $7,500            $7,500            $9,500         $9,500
           Other                           $885               $885              $885              $885           $885
           Subawards/Consortium/Con        $202,574           $202,814          $209,878          $209,878       $209,878
           tractual Costs
           Publication Costs                                                    $2,000            $6,000         $6,000
           TOTAL FEDERAL DC                $580,577           $573,558          $571,462          $571,030       $569,388
           TOTAL FEDERAL F&A               $348,812           $285,473          $278,420          $278,087       $276,823
           TOTAL COST                      $929,389           $859,031          $849,882          $849,117       $846,211


           Facilities and Administrative   Year 1             Year 2            Year 3            Year 4         Year 5
           Costs
           F&A Cost Rate 1                 77%                77%               77%               77%            77%
           F&A Cost Base 1                 $453,003           $370,744          $361,584          $361,152       $359,510
           F&A Costs 1                     $348,812           $285,473          $278,420          $278,087       $276,823




                                                               Page 7 of 7
                                    Version: 203 - 1/27/2021 10:14 PM | Generated on: 5/16/2021 8:13 AM

                                                                                                                APHA App. 067
Case: 25-1611   Document: 00118310432   Page: 71   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-19
                                  Document 38-19   Filed 04/25/25
                                                   Filed 04/25/25   Page 64
                                                                    Page 64 of
                                                                            of 97
                                                                               97




                         EXHIBIT
                         EXHIBIT F




                                                                       APHA App. 068
Case: 25-1611   Document: 00118310432   Page: 72     Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM   Document 38-19     Filed 04/25/25   Page 65 of 97




        Department of Health and Human Services
         National Institutes of Health
         NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES
        Notice of Award
         FAIN# R01MD015256
         Federal Award Date
         02/18/2025
        Recipient Information
         1. Recipient Name
         HARVARD PILGRIM HEALTH CARE INC
         1 WELLNESS WAY
         CANTON, MA 02021

         2. Congressional District of Recipient
         08

         3. Payment System Identifier (ID)
         1042452600A1

         4. Employer Identification Number (EIN)
         042452600

         5. Data Universal Numbering System (DUNS)
         071721088

         6. Recipient’s Unique Entity Identifier
         NZVVQ8GNVX65

         7. Project Director or Principal Investigator
         Brittany Michelle Charlton, DSC
         Assistant Professor
         bcharlton@mail.harvard.edu
         617-466-9262

         8. Authorized Official
         Charlotte Johnson
         research_admin@harvardpilgrim.org



         Federal Agency Information
         9. Awarding Agency Contact Information
         MICHELLE MAE Phillips
         Grants Management Specialist
         NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES
         michelle.phillips@nih.gov
         (301) 402-1366
         10. Program Official Contact Information
         Priscah Mujuru
         Program Officer
         NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES
         priscah.mujuru@nih.gov
         301-594-9765

                                                                         APHA App. 069
Case: 25-1611   Document: 00118310432   Page: 73    Date Filed: 07/08/2025   Entry ID: 6734280

          Case 1:25-cv-10787-BEM   Document 38-19    Filed 04/25/25   Page 66 of 97




       Federal Award Information

        11. Award Number
        5R01MD015256-05

        12. Unique Federal Award Identification Number (FAIN)
        R01MD015256

        13. Statutory Authority
        42 USC 241 42 CFR 52

        14. Federal Award Project Title
        Sexual orientation-related disparities in obstetrical and perinatal
       health

        15. Assistance Listing Number
        93.307

        16. Assistance Listing Program Title
        Minority Health and Health Disparities Research

        17. Award Action Type
        Non-Competing Continuation (REVISED)

        18. Is the Award R&D?
        Yes

        Summary Federal Award Financial Information
       19. Budget Period Start Date 03/01/2024 – End Date 04/30/2025
       20. Total Amount of Federal Funds Obligated by this Action
       $0
       20 a. Direct Cost Amount
       $0
       20 b. Indirect Cost Amount
       $0
       21. Authorized Carryover

       22. Offset

       23. Total Amount of Federal Funds Obligated this budget period
       $802,428
       24. Total Approved Cost Sharing or Matching, where applicable
       $0
       25. Total Federal and Non-Federal Approved this Budget Period
       $802,428
       -------------------------------------------------------------------------
       --------------------------------
       26. Project Period Start Date 05/16/2021 – End Date 04/30/2026
       27. Total Amount of the Federal Award including Approved Cost Sharing or
       Matching this Project Period
       $3,917,674


                                                                        APHA App. 070
Case: 25-1611   Document: 00118310432   Page: 74    Date Filed: 07/08/2025      Entry ID: 6734280

    Case 1:25-cv-10787-BEM    Document 38-19   Filed 04/25/25   Page 67 of 97



  28. Authorized Treatment of Program Income
  Additional Costs

  29. Grants Management Officer - Signature
  Priscilla Grant
 30. Remarks
 Acceptance of this award, including the "Terms and Conditions," is
 acknowledged by the recipient when funds are drawn down or otherwise
 requested from the grant payment system.

  Page 1 of 6
  Version:25 - 2/15/2024 9:51 AM | Generated on: 2/19/2025 12:03 AM




 Notice of Award




 RESEARCH



 Department of Health and Human Services
 National Institutes of Health


 NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES



     SECTION I – AWARD DATA – 5R01MD015256-05 REVISED



  Principal Investigator(s):
  Brittany Michelle Charlton, DSC

  Award e-mailed to: research_admin@hphci.harvard.edu

  Dear Authorized Official:

  The National Institutes of Health hereby revises this award (see “Award
 Calculation” in Section I and “Terms and Conditions” in Section III) to
 HARVARD PILGRIM HEALTH CARE in support of the above referenced project.
 This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is
 subject to the requirements of this statute and regulation and of other
 referenced, incorporated or attached terms and conditions.


                                                                        APHA App. 071
Case: 25-1611   Document: 00118310432    Page: 75   Date Filed: 07/08/2025   Entry ID: 6734280

          Case 1:25-cv-10787-BEM   Document 38-19    Filed 04/25/25   Page 68 of 97



        Acceptance of this award, including the "Terms and Conditions," is
       acknowledged by the recipient when funds are drawn down or otherwise
       requested from the grant payment system.

        Each publication, press release, or other document about research
       supported by an NIH award must include an acknowledgment of NIH award
       support and a disclaimer such as “Research reported in this publication
       was supported by the National Institute On Minority Health And Health
       Disparities of the National Institutes of Health under Award Number
       R01MD015256. The content is solely the responsibility of the authors and
       does not necessarily represent the official views of   the National
       Institutes of Health.” Prior to issuing a press release concerning the
       outcome of this research, please notify the NIH awarding IC in advance to
       allow for coordination.

        Award recipients must promote objectivity in research by establishing
       standards that provide a reasonable expectation that the design, conduct
       and reporting of research funded under NIH awards will be free from bias
       resulting from an Investigator’s Financial Conflict of Interest (FCOI),
       in accordance with the 2011 revised regulation at 42 CFR Part 50 Subpart
       F.   The Institution shall submit all FCOI reports to the NIH through the
       eRA Commons FCOI Module. The regulation does not apply to Phase I Small
       Business Innovative Research (SBIR) and Small Business Technology
       Transfer (STTR) awards. Consult the NIH website
       http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and
       additional important information.

        If you have any questions about this award, please direct questions to
       the Federal Agency contacts.

        Sincerely yours,




        Priscilla Grant
        Grants Management Officer
        NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES

        Additional information follows




       Cumulative Award Calculations for this Budget Period (U.S. Dollars)
        Salaries and Wages             $246,010
        Fringe Benefits          $68,883
        Personnel Costs (Subtotal)           $314,893
        Travel             $6,729
        Subawards/Consortium/Contractual Costs          $260,235
        Publication Costs              $5,000

        Federal Direct Costs

                                                                        APHA App. 072
Case: 25-1611     Document: 00118310432   Page: 76    Date Filed: 07/08/2025   Entry ID: 6734280

          Case 1:25-cv-10787-BEM     Document 38-19    Filed 04/25/25   Page 69 of 97



       $586,857
       Federal F&A Costs
       $215,571
       Approved Budget
       $802,428
       Total Amount of Federal Funds Authorized (Federal Share)
       $802,428
       TOTAL FEDERAL AWARD AMOUNT
       $802,428

        AMOUNT OF THIS ACTION (FEDERAL SHARE)
       $0


        SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 5 ) (for this Document Number)
       AWARD NUMBER
       TOTAL FEDERAL AWARD AMOUNT
       5R01MD015256-05
       $802,428

        3R01MD015256-05S1
       $99,998

        TOTAL
       $902,426


        SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
       YR
       THIS AWARD
       CUMULATIVE TOTALS

        5
       $802,428
       $902,426

        6
       $801,979
       $801,979

        Recommended future year total cost support, subject to the availability
       of funds and satisfactory progress of the project

        Fiscal Information:
        Payment System Identifier:
       1042452600A1
       Document Number:
       RMD015256B
       PMS Account Type:
       P (Subaccount)
       Fiscal Year:
       2024

        IC

                                                                          APHA App. 073
Case: 25-1611     Document: 00118310432   Page: 77   Date Filed: 07/08/2025     Entry ID: 6734280

          Case 1:25-cv-10787-BEM    Document 38-19    Filed 04/25/25   Page 70 of 97



       CAN
       2024
       2025
       MD
       8472687
       $802,428
       $801,979

        Recommended future year total cost support, subject to the availability
       of funds and satisfactory progress of the project

        NIH Administrative Data:
        PCC: CPS01PM / OC: 41025 / Released: 02/18/2025
        Award Processed: 02/19/2025 12:03:40 AM

          SECTION II – PAYMENT/HOTLINE INFORMATION – 5R01MD015256-05          REVISED

        For payment and HHS Office of Inspector General Hotline information, see
       the NIH Home Page at
       http://grants.nih.gov/grants/policy/awardconditions.htm

          SECTION III – STANDARD TERMS AND CONDITIONS – 5R01MD015256-05          REVISED

        This award is based on the application submitted to, and as approved by,
       NIH on the above-titled project and is subject to the terms and
       conditions incorporated either directly or by reference in the following:

             a.   The grant program legislation and program regulation cited in
       this Notice of Award.
             b.    Conditions on activities and expenditure of funds in other
       statutory requirements, such as
        those included in appropriations acts.
             c.    45 CFR Part 75.
             d.   National Policy Requirements and all other requirements
       described in the NIH Grants Policy Statement, including addenda in effect
       as of the beginning date of the budget period.
             e.   Federal Award Performance Goals: As required by the periodic
       report in the RPPR or in the final progress report when applicable.
             f.   This award notice, INCLUDING THE TERMS AND CONDITIONS CITED
       BELOW.

        (See NIH Home Page at
       http://grants.nih.gov/grants/policy/awardconditions.htm for certain
        references cited above.)

        Research and Development (R&D): All awards issued by the National
       Institutes of Health (NIH) meet the definition of “Research and
       Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
       awards as part of the R&D cluster on the Schedule of Expenditures of
       Federal Awards (SEFA). The auditor should test NIH awards for compliance
       as instructed in Part V, Clusters of Programs. NIH recognizes that some
       awards may have another classification for purposes of indirect costs.
       The auditor is not required to report the disconnect (i.e., the award is
       classified as R&D for Federal Audit Requirement purposes but non-research

                                                                         APHA App. 074
Case: 25-1611   Document: 00118310432   Page: 78    Date Filed: 07/08/2025   Entry ID: 6734280

          Case 1:25-cv-10787-BEM   Document 38-19    Filed 04/25/25   Page 71 of 97



       for indirect cost rate purposes), unless the auditee is charging indirect
       costs at a rate other than the rate(s) specified in the award
       document(s).


        An unobligated balance may be carried over into the next budget period
       without Grants Management Officer prior approval.

        This grant is subject to Streamlined Noncompeting Award Procedures
       (SNAP).

        This award is subject to the requirements of 2 CFR Part 25 for
       institutions to obtain a unique entity identifier (UEI) and maintain an
       active registration in the System for Award Management (SAM). Should a
       consortium/subaward be issued under this award, a UEI requirement must be
       included.   See http://grants.nih.gov/grants/policy/awardconditions.htm
       for the full NIH award term implementing this requirement and other
       additional information.

        This award has been assigned the Federal Award Identification Number
       (FAIN) R01MD015256. Recipients must document the assigned FAIN on each
       consortium/subaward issued under this award.

        Based on the project period start date of this project, this award is
       likely subject to the Transparency Act subaward and executive
       compensation reporting requirement of 2 CFR Part 170. There are
       conditions that may exclude this award; see
       http://grants.nih.gov/grants/policy/awardconditions.htm for additional
       award applicability information.

        In accordance with P.L. 110-161, compliance with the NIH Public Access
       Policy is now mandatory. For more information, see NOT-OD-08-033 and the
       Public Access website: http://publicaccess.nih.gov/.




        Recipients must administer the project in compliance with federal civil
       rights laws that prohibit discrimination on the basis of race, color,
       national origin, disability, age, and comply with applicable conscience
       protections. The recipient will comply with applicable laws that prohibit
       discrimination on the basis of sex, which includes discrimination on the
       basis of gender identity, sexual orientation, and pregnancy. Compliance
       with these laws requires taking reasonable steps to provide meaningful
       access to persons with limited English proficiency and providing programs
       that are accessible to and usable by persons with disabilities. The HHS
       Office for Civil Rights provides guidance on complying with civil rights
       laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-
       providers/provider-obligations/index.html and https://www.hhs.gov/.

        · Recipients of FFA must ensure that their programs are accessible to
       persons with limited English proficiency. For guidance on meeting the
       legal obligation to take reasonable steps to ensure meaningful access to
       programs or activities by limited English proficient individuals,

                                                                        APHA App. 075
Case: 25-1611   Document: 00118310432   Page: 79    Date Filed: 07/08/2025   Entry ID: 6734280

          Case 1:25-cv-10787-BEM   Document 38-19    Filed 04/25/25   Page 72 of 97



       see https://www.hhs.gov/civil-rights/for-individuals/special-
       topics/limited-english-proficiency/fact-sheet-guidance/index.html
       and https://www.lep.gov.
        · For information on an institution’s specific legal obligations for
       serving qualified individuals with disabilities, including providing
       program access, reasonable modifications, and to provide effective
       communication, see
       http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
        · HHS funded health and education programs must be administered in an
       environment free of sexual harassment; see https://www.hhs.gov/civil-
       rights/for-individuals/sex-discrimination/index.html. For information
       about NIH's commitment to supporting a safe and respectful work
       environment, who to contact with questions or concerns, and what NIH's
       expectations are for institutions and the individuals supported on NIH-
       funded awards, please see
       https://grants.nih.gov/grants/policy/harassment.htm.
        · For guidance on administering programs in compliance with applicable
       federal religious nondiscrimination laws and applicable federal
       conscience protection and associated anti-discrimination laws, see
       https://www.hhs.gov/conscience/conscience-protections/index.html and
       https://www.hhs.gov/conscience/religious-freedom/index.html.

        In accordance with the regulatory requirements provided at 45 CFR 75.113
       and Appendix XII to 45 CFR Part 75, recipients that have currently active
       Federal grants, cooperative agreements, and procurement contracts with
       cumulative total value greater than $10,000,000 must report and maintain
       information in the System for Award Management (SAM) about civil,
       criminal, and administrative proceedings in connection with the award or
       performance of a Federal award that reached final disposition within the
       most recent five-year period. The recipient must also make semiannual
       disclosures regarding such proceedings. Proceedings information will be
       made publicly available in the designated integrity and performance
       system (currently the Federal Awardee Performance and Integrity
       Information System (FAPIIS)). Full reporting requirements and procedures
       are found in Appendix XII to 45 CFR Part 75. This term does not apply to
       NIH fellowships.


        Treatment of Program Income:
        Additional Costs

          SECTION IV –   MD SPECIFIC AWARD CONDITIONS – 5R01MD015256-05      REVISED


        Clinical Trial Indicator: No
        This award does not support any NIH-defined Clinical Trials. See the NIH
       Grants Policy Statement Section 1.2 for NIH definition of Clinical Trial.


        INFORMATION: This revised award's end date has been adjusted to 4/30/25
       due to the large unobligated balance.

        THE FOLLOWING TERMS FROM THE PREVIOUS NOTICE OF AWARD LETTER ISSUED ON
       05/30/2024 ALSO APPLY TO THIS AWARD:

                                                                        APHA App. 076
Case: 25-1611   Document: 00118310432   Page: 80    Date Filed: 07/08/2025   Entry ID: 6734280

          Case 1:25-cv-10787-BEM   Document 38-19    Filed 04/25/25   Page 73 of 97




        INFORMATION: This revised award has been issued in accordance with
       NIMHD’s Fiscal Year 2024 funding policy for non-competing awards.

        THE FOLLOWING TERMS FROM THE PREVIOUS NOTICE OF AWARD LETTER ISSUED ON
       02/03/2024 ALSO APPLY TO THIS AWARD:

        REQUIREMENT: This award is subject to the conditions set forth in PA-20-
       185, NIH Research Project Grant (Parent R01 Clinical Trial Not Allowed),
       NIH Guide to Grants and Contracts, 05/05/20, which is hereby incorporated
       by reference as special terms and conditions of this award.

        Copies of this RFA may be accessed at the following internet address:
       http://www.nih.gov/grants/guide/index.html

        Copies may also be obtained from the Grants Management Contact indicated
       in the terms of award.

        REQUIREMENT: The recipient is required to follow the data sharing plan
       included in the application and may not implement any changes in the plan
       without the written prior approval of the NIMHD.

        INFORMATION: This award reflects the NIMHD’s acceptance of the
       certification that all key personnel have completed education on the
       protection of human subjects, in accordance with NIH policy, “Required
       Education in the Protection of Human Research Participants,” as announced
       in the June 5, 2000 NIH Guide (revised August 25, 2000)
       (http://grants.nih.gov/grants/guide/notice-files/NOT-OD-00-039.html).

        Any individual involved in the design and conduct of the study that is
       not included in the certification must satisfy this requirement prior to
       participating in the project. Failure to comply can result in the
       suspension and/or termination of this award, withholding of support of
       the continuation award, audit disallowances, and/or other appropriate
       action.

        REQUIREMENT: Use of humans and animals in any new activities must be
       requested prior to the start of the activity and must be approved in
       writing in advance by the NIMHD. See NOT-MD-08-002, “Guidance and
       Clarification on NCMHD Policy on Prior Approval for Subprojects and Pilot
       Projects Involving Human Subjects or Vertebrate Animals,” NIH Guide to
       Grants and Contracts, April 29, 2008, which is hereby incorporated by
       reference as special terms and conditions of this award. See also NOT-
       OD-15-129, “Prior NIH Approval of Human Subjects Research in Active
       Awards Initially Submitted without Definitive Plans for Human Subjects
       Involvement (Delayed Onset Awards): Updated Notice,” and NIH-OD-15-128,
       “Guidance on Changes That Involve Human Subjects in Active Awards and
       That Will Require Prior NIH Approval: Updated Notice.”

        Copies of these Notices may be accessed at the following internet
       address: http://www.nih.gov/grants/guide/index.html

        Copies may also be obtained from the Grants Management Contact indicated
       in the terms of award.

                                                                        APHA App. 077
Case: 25-1611   Document: 00118310432   Page: 81     Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM   Document 38-19     Filed 04/25/25   Page 74 of 97




         SPREADSHEET SUMMARY
         AWARD NUMBER: 5R01MD015256-05 REVISED

         INSTITUTION: HARVARD PILGRIM HEALTH CARE

         Budget
        Year 5
        Year 6
        Salaries and Wages
        $246,010
        $246,010
        Fringe Benefits
        $68,883
        $68,883
        Personnel Costs (Subtotal)
        $314,893
        $314,893
        Travel
        $6,729
        $5,751
        Subawards/Consortium/Contractual Costs
        $260,235
        $261,410
        Publication Costs
        $5,000
        $5,000
        TOTAL FEDERAL DC
        $586,857
        $587,054
        TOTAL FEDERAL F&A
        $215,571
        $214,925
        TOTAL COST
        $802,428
        $801,979


         Facilities and Administrative Costs
        Year 5
        Year 6
        F&A Cost Rate 1
        66%
        66%
        F&A Cost Base 1
        $326,622
        $325,644
        F&A Costs 1
        $215,571
        $214,925


                                                                         APHA App. 078
Case: 25-1611   Document: 00118310432   Page: 82     Date Filed: 07/08/2025   Entry ID: 6734280




           Case 1:25-cv-10787-BEM   Document 38-19     Filed 04/25/25   Page 75 of 97




                    Page 6 of 6
                    Version: 25 - 2/15/2024 9:51 AM | Generated on: 2/19/2025
        12:03 AM




                                                                         APHA App. 079
Case: 25-1611   Document: 00118310432   Page: 83   Date Filed: 07/08/2025   Entry ID: 6734280




        Case 1:25-cv-10787-BEM
        Case 1:25-cv-10787-BEM   Document 38-19
                                 Document 38-19    Filed 04/25/25
                                                   Filed 04/25/25   Page 76
                                                                    Page 76 of
                                                                            of 97
                                                                               97




                        EXHIBIT
                        EXHIBIT G




                                                                       APHA App. 080
Case: 25-1611                  Document: 00118310432                                     Page: 84            Date Filed: 07/08/2025                            Entry ID: 6734280

                         Case 1:25-cv-10787-BEM                                      Document 38-19           Filed 04/25/25               Page 77 of 97




                                                                                                                                                            Fri, Mar 21, 2025 at 12:51 PM




     Hi Brittany,

     I'm sorry to forward the below termination notice for your R01.

     Joe will be in contact with you to coordinate notification to subaward sites.



     Cary

     Cary Williams, MEd, CRA (she/her)

     Director | Office of Sponsored Programs

     Harvard Pilgrim Health Care, Inc. | Harvard Pilgrim Health Care Institute, LLC

     617-867-4958 | cary_williams@hphci_harvard.edu
     Upcoming OOO: 3/27 — 4/4




     From: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
     Sent: Friday, March 21, 2025 12:30 PM
     To: Research Admin <research_admin@hphci_harvard.edu>
     Subject: Grant Termination Notification




     WARNING: This email originated from outside of the organization.
         Do   not click links or attachments unless you recognize the sender and           know the content is safe.




     i        Se            NIHY) National Institutes of Health
         “ a.                                   Office of Extramural Research
          Reevigs




     3/21/2025

     Cary Williams

     Harvard Pilgrim Health Care, Inc.

     research_admin@harvardpilgrim.org



     Dear Cary Williams:

     Effective with the date of this letter, funding for Project Number 5RO1MD015256-05 is hereby terminated pursuant to the Fiscal Year 2024 National Institutes of Health
     (“NIH”) Grants Policy Statement.[1] and 2 CFR. § 200.340(a)(2). This letter constitutes a notice of termination
                                                                                                                   [2]

     The 2024 Policy Statement applies to your project because NIH approved your grant on 3/1/2024, and “obligations generally should be determined by reference to the law
     in effect when the grants were snade.”{ a

     The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements and is incorporated by reference in all NIH grant and cooperative
     agreement awards.[4]” According to the Policy Statement, “NIH may ... terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.[5]” At the time your
     grant was issued, 2 C.FR. § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity, to the greatest extent authorized by law, if an
     award no longer effectuates the program goals or agency priorities.”

     This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-scientific categories, including amorphous equity objectives,
     are antithetical to the scientific inquiry, do nothing to expand our knowledge of living systems, provide low retums on investment, and ultimately do not enhance health,
     lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DETI’) studies are often used to support unlawful discrimination on the basis of race and
     other protected characteristics, which harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research programs.

     Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an opportunity to take appropriate corrective action before NIH
     makes a termination decision,”[6] no corrective action is possible here. The premise of this award is incompatible with agency priorities, and no modification of the project
     could align the project with agency priorities.

     Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this notice excuses either NIH or you from complying with the
     closeout obligations imposed by 2 C_F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal Funding Accountability and Transparency Act or the
     Office of Management and Budget’s regulations to USAspending.gov.[8]

     Administrative Appeal

     You may object and provide information and documentation challenging this termination
                                                                                         [9] NIH has established a first-level grant appeal procedure that must be
     exhausted before you may file an appeal with the Departmental Appeals Board.[10]

     ‘You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written notification of the determination is recerved, except that 1f you show
     good cause why an extension of time should be granted, Dr. Memoli may grant an extension of time.[11]




                                                                                                                                                    APHA App. 081
Case: 25-1611                  Document: 00118310432                                   Page: 85         Date Filed: 07/08/2025                            Entry ID: 6734280

                          Case 1:25-cv-10787-BEM                                   Document 38-19         Filed 04/25/25                Page 78 of 97
    The request for review must include a copy of the adverse determination, must identify the issue(s) in dispute, and must contain a full statement of your position with
    respect to such issue(s) and the pertinent facts and reasons in support of your position. In addition to the required written statement, you shall provide copies of any
    documents supporting your claim.[12]


    Sincerely,




    Michelle G. Bulls, on behalf of Priscilla Grant, Chief Grants Management Officer, NIMHD
    Director, Office of Policy for Extramural Research Administration
    Office of Extramural Research




    [1] https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf [grants.nih.gov].

    [2] 2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373

    [3] Bennett v. New Jersey, 470 U.S. 632, 638 (1985).

    [4] NIH Grants Policy Statement at IIA-1.

    [5] Id. at IIA-155.

    [6] NIH Grants Policy Statement at IIA-156.

    [7] See 2 C.F.R. § 200.343 (2024).

    [8] 2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)

    [9] See 45 C.F.R. § 75.374.

    [10] See 42 C.F.R. Part 50, Subpart D

    [11] 11 Id. § 50.406(a)

    [12] 12 Id. § 50.406(b)




                                                                                                                                               APHA App. 082
Case: 25-1611   Document: 00118310432   Page: 86   Date Filed: 07/08/2025   Entry ID: 6734280




        Case 1:25-cv-10787-BEM
        Case 1:25-cv-10787-BEM   Document 38-19
                                 Document 38-19    Filed 04/25/25
                                                   Filed 04/25/25   Page 79
                                                                    Page 79 of
                                                                            of 97
                                                                               97




                        EXHIBIT
                        EXHIBIT H
                                A




                                                                       APHA App. 083
Case: 25-1611                Document: 00118310432                     Page: 87   Date Filed: 07/08/2025            Entry ID: 6734280

 4/18/25, 1:23 PM    Case 1:25-cv-10787-BEM      Document
                                        NOT-OD-19-139:            38-19Minority
                                                       Sexual and Gender     Filed    04/25/25
                                                                                Populations             Page
                                                                                            in NIH-Supported     80 of 97
                                                                                                             Research

   Sexual and Gender Minority Populations in NIH-Supported Research

   Notice Number: NOT-OD-19-139

   Key Dates
   Release Date: August 28, 2019

   Related Announcements

             September 6, 2024 - Updating the Definition of Sexual and Gender Minority Populations in NIH-
             Supported Research. See Notice NOT-OD-24-169.

   Issued by
   Sexual and Gender Minority Research Office (SGMRO)

   Purpose

   The purpose of this Notice is to announce the revision of the definition of sexual and gender minority (SGM)
   populations for research purposes at the NIH, as well as to provide a summary of information about SGM health
   research at the NIH. It is expected that this Notice will help to enhance the representation of SGM individuals in
   the agency’s research portfolio and to stimulate the development of novel research projects and strategies to
   better understand and advance SGM health.

   Implementation Timeline

   This Notice is effective upon its release date.

   The Sexual & Gender Minority Research Office

   The NIH Fiscal Years 2016-2020 Strategic Plan to Advance Research on the Health and Well-Being of Sexual
   and Gender Minorities was released in 2015. The plan elucidated goals and objectives to encourage the
   advancement of basic, clinical, behavioral, population, and social sciences research to improve the health of
   SGM individuals. One of the objectives of the strategic plan was to establish a central office to coordinate SGM-
   related research and activities at the NIH. Established in 2015, the Sexual & Gender Minority Research Office
   (SGMRO) resides within the Division of Program Coordination, Planning, and Strategic Initiatives (DPCPSI) in
   the NIH Office of the Director.

   The NIH laid out four overarching goals in its FY 2016-2020 SGM strategic plan: (1) Expand the knowledge
   base of SGM health and well-being through NIH-supported research; (2) Remove barriers to planning,
   conducting, and reporting NIH-supported research about SGM health and well-being; (3) Strengthen the
   community of researchers and scholars who conduct research relevant to SGM health and well-being; and (4)
   Evaluate progress on advancing SGM research. The SGMRO pursues these goals by convening and participating
   in events involving SGM health priorities, managing dissemination of information about SGM health research,
   and working with NIH Institutes, Centers, and Offices (ICOs) to leverage resources and develop initiatives to
   promote SGM health and research.

   Definition of Sexual and Gender Minorities

   At the NIH, the term sexual and gender minority originally encompassed individuals who identify as lesbian,
   gay, bisexual, transgender, queer, or intersex, as well as those who do not self-identify with one of these terms,
   but whose sexual orientation, gender identity, or reproductive development varies from traditional, societal,
   cultural, or physiological norms. The NIH has heretofore opted to use this definition to maintain inclusivity and
   consistency in reporting. However, after consultation with several NIH groups that possess contemporary
   expertise in SGM health and research, the NIH is releasing an updated SGM definition to foster and expand

 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-19-139.html                                                            1/2
                                                                                                             APHA App. 084
Case: 25-1611                Document: 00118310432                     Page: 88   Date Filed: 07/08/2025    Entry ID: 6734280

                Case 1:25-cv-10787-BEM
 4/18/25, 1:23 PM                               Document
                                       NOT-OD-19-139:            38-19Minority
                                                      Sexual and Gender     Filed    04/25/25
                                                                               Populations             Page
                                                                                           in NIH-Supported     81 of 97
                                                                                                            Research
   inclusion of SGM individuals in health research by better clarifying the populations who fall under the SGM
   umbrella. The definition of SGM is revised to read as follows:

   SGM populations include, but are not limited to, individuals who identify as lesbian, gay, bisexual, asexual,
   transgender, Two-Spirit, queer, and/or intersex. Individuals with same-sex or -gender attractions or behaviors
   and those with a difference in sex development are also included. These populations also encompass those who
   do not self-identify with one of these terms but whose sexual orientation, gender identity or expression, or
   reproductive development is characterized by non-binary constructs of sexual orientation, gender, and/or sex.

   The SGMRO would like to make clear that this change in definition is not intended to exclude any person or
   population previously included under the former definition of SGM populations.

   SGM as a Health Disparity Population

   SGM individuals face unique health challenges, and a continually growing body of evidence suggests that SGM
   individuals suffer disproportionately from a variety of conditions and diseases. In October 2016, the National
   Institute on Minority Health and Health Disparities (NIMHD), in collaboration with the Agency for Healthcare
   Research and Quality (AHRQ), announced that SGM populations had been officially designated as a health
   disparity population for NIH and AHRQ research. This designation has since facilitated the creation of tailored
   research projects, programs, and activities intended to tackle the distinct issues encountered by SGM individuals.
   In addition, ascertainment of SGM status in ongoing and planned population studies has been enhanced.
   However, SGM-specific health disparities persist today, and novel methods to measure, address, and prevent
   them are still needed.

   Addressing SGM-Specific Health Disparities

   To help eliminate these disparities, the 21st Century Cures Act, which authorized funding to accelerate research
   in several key public health areas at the NIH, included provisions specifically intended to increase participation
   of SGM populations in NIH-supported clinical research and to facilitate the development of methods for
   conducting SGM research. In support of this, the NIH SGM Research Working Group (SGM RWG), a working
   group of the NIH Council of Councils, recommended in its 2019 Mid-Course Strategic Plan Review that the NIH
   encourage applicants for clinical research funding to demonstrate consideration of inclusion of SGM populations
   whenever appropriate. Increased data collection and analyses on SGM populations may help to illuminate
   important information needed to address the health of these communities.

   Inquiries

   Please direct all inquiries to:

   Karen L Parker, PhD, MSW
   Division of Program Coordination, Planning, and Strategic Initiatives
   Sexual & Gender Minority Research Office
   Telephone: 301-451-2055?
   Email: klparker@mail.nih.gov

   Weekly TOC for this Announcement
   NIH Funding Opportunities and Notices




 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-19-139.html                                                       2/2
                                                                                                      APHA App. 085
Case: 25-1611   Document: 00118310432   Page: 89   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-19
                                  Document 38-19   Filed 04/25/25
                                                   Filed 04/25/25   Page 82
                                                                    Page 82 of
                                                                            of 97
                                                                               97




                          EXHIBIT
                          EXHIBIT I|




                                                                       APHA App. 086
Case: 25-1611          Document: 00118310432                           Page: 90                       Date Filed: 07/08/2025                          Entry ID: 6734280

                     Department
                   Case         of Health and Human Document
                        1:25-cv-10787-BEM           Services 38-19                                      Filed 04/25/25            Page 83 of 97Notice of Award
                       National Institutes of Health                                                                                                 FAIN# R01MD015256
                       NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH                                                                                Federal Award Date
                       DISPARITIES                                                                                                                            09/03/2024



   Recipient Information                           Federal Award Information
   1. Recipient Name
      HARVARD PILGRIM HEALTH CARE INC
      1 WELLNESS WAY                               11. Award Number
      CANTON, MA 02021                                3R01MD015256-05S1

   2. Congressional District of Recipient          12. Unique Federal Award Identification Number (FAIN)
      08                                              R01MD015256

   3. Payment System Identifier (ID)               13. Statutory Authority
      1042452600A1                                    42 USC 241 42 CFR 52

   4. Employer Identification Number (EIN)         14. Federal Award Project Title
      042452600                                       Improving service delivery models of medically assisted reproduction: A patient
                                                      journey mapping study of sexual minority women couples’ experience of medicalized
   5. Data Universal Numbering System (DUNS)          family formation
      071721088
                                                   15. Assistance Listing Number
   6. Recipient’s Unique Entity Identifier            93.307
      NZVVQ8GNVX65
                                                   16. Assistance Listing Program Title
   7. Project Director or Principal Investigator      Minority Health and Health Disparities Research
      Brittany Michelle Charlton, DSC
      Assistant Professor                          17. Award Action Type
      bcharlton@mail.harvard.edu                      Supplement
      617-466-9262
                                                   18. Is the Award R&D?
   8. Authorized Official                             Yes
      Charlotte Johnson
      research_admin@harvardpilgrim.org                                  Summary Federal Award Financial Information
                                                    19. Budget Period Start Date 03/01/2024 – End Date 02/28/2025
                                                    20. Total Amount of Federal Funds Obligated by this Action                                                        $99,998
                                                             20 a. Direct Cost Amount                                                                                 $60,240
   Federal Agency Information                                20 b. Indirect Cost Amount                                                                               $39,758
   9. Awarding Agency Contact Information           21. Authorized Carryover
      MICHELLE MAE Phillips                         22. Offset
      Grants Management Specialist                  23. Total Amount of Federal Funds Obligated this budget period                                                    $99,998
      NATIONAL INSTITUTE ON MINORITY                24. Total Approved Cost Sharing or Matching, where applicable                                                              $0
      HEALTH AND HEALTH DISPARITIES                 25. Total Federal and Non-Federal Approved this Budget Period                                                     $99,998
      michelle.phillips@nih.gov                                           ---------------------------------------------------------------------------------------------------------
      (301) 402-1366                                26. Project Period Start Date 05/16/2021 – End Date 02/28/2026
   10. Program Official Contact Information         27. Total Amount of the Federal Award including Approved Cost                                                $3,917,674
      Priscah Mujuru                                    Sharing or Matching this Project Period
      Program Officer
      NATIONAL INSTITUTE ON MINORITY               28. Authorized Treatment of Program Income
      HEALTH AND HEALTH DISPARITIES                   Other (See Remarks)
      priscah.mujuru@nih.gov
      301-594-9765                                 29. Grants Management Officer - Signature
                                                      Priscilla Grant
    30. Remarks
        Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or
        otherwise requested from the grant payment system.




                                                                           Page 1 of 6
                                                     Version:25 - 2/15/2024 9:51 AM | Generated on: 9/4/2024 12:34 AM




                                                                                                                                           APHA App. 087
Case: 25-1611    Document: 00118310432                           Page: 91                        Date Filed: 07/08/2025      Entry ID: 6734280

            Case 1:25-cv-10787-BEM                    Document 38-19                               Filed 04/25/25   Page 84 of 97



                                                                      Notice of Award
          RESEARCH
          Department of Health and Human Services
          National Institutes of Health

          NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES

            SECTION I – AWARD DATA – 3R01MD015256-05S1



            Principal Investigator(s):
            Brittany Michelle Charlton, DSC

            Award e-mailed to: research_admin@harvardpilgrim.org

            Dear Authorized Official:

            The National Institutes of Health hereby awards a grant in the amount of $99,998 (see “Award Calculation”
            in Section I and “Terms and Conditions” in Section III) to HARVARD PILGRIM HEALTH CARE in support of the
            above referenced project. This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject
            to the requirements of this statute and regulation and of other referenced, incorporated or attached terms
            and conditions.

            Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
            funds are drawn down or otherwise requested from the grant payment system.

            Each publication, press release, or other document about research supported by an NIH award must include
            an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
            was supported by the National Institute On Minority Health And Health Disparities of the National Institutes
            of Health under Award Number R01MD015256. The content is solely the responsibility of the authors and
            does not necessarily represent the official views of the National Institutes of Health.” Prior to issuing a
            press release concerning the outcome of this research, please notify the NIH awarding IC in advance to
            allow for coordination.

            Award recipients must promote objectivity in research by establishing standards that provide a reasonable
            expectation that the design, conduct and reporting of research funded under NIH awards will be free from
            bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
            revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
            through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
            Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
            website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
            information.

            If you have any questions about this award, please direct questions to the Federal Agency contacts.

            Sincerely yours,




            Priscilla Grant
            Grants Management Officer
            NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES

            Additional information follows




            Cumulative Award Calculations for this Budget Period (U.S. Dollars)

                                                                     Page 2 of 6
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 9/4/2024 12:34 AM



                                                                                                                       APHA App. 088
Case: 25-1611     Document: 00118310432                            Page: 92                       Date Filed: 07/08/2025      Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-19                               Filed 04/25/25   Page 85 of 97

           Salaries and Wages                                                                                              $44,753
           Fringe Benefits                                                                                                 $13,337
           Personnel Costs (Subtotal)                                                                                      $58,090
           Other                                                                                                            $2,150

           Federal Direct Costs                                                                                            $60,240
           Federal F&A Costs                                                                                               $39,758
           Approved Budget                                                                                                 $99,998
           Total Amount of Federal Funds Authorized (Federal Share)                                                        $99,998
           TOTAL FEDERAL AWARD AMOUNT                                                                                      $99,998

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                           $99,998


                 SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 5 ) (for this Document Number)
          AWARD NUMBER                                            TOTAL FEDERAL AWARD AMOUNT
          3R01MD015256-05S1                                                                $99,998
          5R01MD015256-05                                                                 $802,428
          TOTAL                                                                           $902,426


                           SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                  THIS AWARD                                       CUMULATIVE TOTALS
             5                                        $99,998                                               $902,426
             6                                              $0                                              $801,979
           Recommended future year total cost support, subject to the availability of funds and satisfactory progress
           of the project

           Fiscal Information:
           Payment System Identifier:         1042452600A1
           Document Number:                   RMD015256B
           PMS Account Type:                  P (Subaccount)
           Fiscal Year:                       2024

           IC       CAN                                                                 2024
           OD       8025139                                                             $49,998
           OD       8055775                                                             $50,000

           Recommended future year total cost support, subject to the availability of funds and satisfactory progress
           of the project

           NIH Administrative Data:
           PCC: CPS01PM / OC: 41023 / Released: 09/03/2024
           Award Processed: 09/04/2024 12:34:35 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 3R01MD015256-05S1

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 3R01MD015256-05S1

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                a. The grant program legislation and program regulation cited in this Notice of Award.
                b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                   those included in appropriations acts.
                c. 45 CFR Part 75.
                d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                   Statement, including addenda in effect as of the beginning date of the budget period.
                e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                   progress report when applicable.
                f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.
                                                           Page 3 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 9/4/2024 12:34 AM



                                                                                                                       APHA App. 089
Case: 25-1611       Document: 00118310432                            Page: 93                       Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-19                               Filed 04/25/25   Page 86 of 97


          (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
          references cited above.)

          Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
          definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
          awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
          should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
          some awards may have another classification for purposes of indirect costs. The auditor is not required to
          report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
          research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
          the rate(s) specified in the award document(s).


          An unobligated balance may be carried over into the next budget period without Grants Management Officer
          prior approval.

          This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

          This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
          (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
          consortium/subaward be issued under this award, a UEI requirement must be included. See
          http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
          requirement and other additional information.

          This award has been assigned the Federal Award Identification Number (FAIN) R01MD015256. Recipients
          must document the assigned FAIN on each consortium/subaward issued under this award.

          Based on the project period start date of this project, this award is likely subject to the Transparency Act
          subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
          may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
          applicability information.

          In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
          information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.



          This award is funded by the following list of institutes. Any papers published under the auspices of this
          award must cite the funding support of all institutes.
           Office Of The Director, National Institutes Of Health (OD)


          Recipients must administer the project in compliance with federal civil rights laws that prohibit
          discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
          conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
          basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
          pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
          persons with limited English proficiency and providing programs that are accessible to and usable by
          persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
          laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
          and https://www.hhs.gov/.

                •   Recipients of FFA must ensure that their programs are accessible to persons with limited English
                    proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                    meaningful access to programs or activities by limited English proficient individuals,
                    see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                    sheet-guidance/index.html and https://www.lep.gov.
                •   For information on an institution’s specific legal obligations for serving qualified individuals with
                    disabilities, including providing program access, reasonable modifications, and to provide effective
                    communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                •   HHS funded health and education programs must be administered in an environment free of sexual
                    harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                    For information about NIH's commitment to supporting a safe and respectful work environment,
                                                                    Page 4 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 9/4/2024 12:34 AM



                                                                                                                        APHA App. 090
Case: 25-1611       Document: 00118310432                          Page: 94                        Date Filed: 07/08/2025    Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-19                               Filed 04/25/25   Page 87 of 97

                    who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                    individuals supported on NIH-funded awards, please see
                    https://grants.nih.gov/grants/policy/harassment.htm.
                •   For guidance on administering programs in compliance with applicable federal religious
                    nondiscrimination laws and applicable federal conscience protection and associated anti-
                    discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                    https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


           Treatment of Program Income:
           Other (See Remarks)

           SECTION IV – MD SPECIFIC AWARD CONDITIONS – 3R01MD015256-05S1


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.

           RESTRICTION: This supplemental award provides $50,000 funding from the NIH Office of
           Research on Women's Health (ORWH) and $49,998 from the Sexual and Gender Minority
           Research Office (SGMRO): These funds are restricted for this purpose and may not be
           expended for any other purpose without the written prior approval of the National Institute on
           Minority Health and Health Disparities.

           REQUIREMENT: This award is subject to the conditions set forth in NOT-OD-22-032 and
           PA-20-272, Administrative Supplements to Existing NIH Grants and Cooperative
           Agreements (Parent Admin Supp Clinical Trial Optional), NIH Guide to Grants and Contracts,
           10/09/2020, which are hereby incorporated by reference as special terms and conditions of
           this award.

           Copies of this RFA may be accessed at the following internet
           address: http://www.nih.gov/grants/guide/index.html

           Copies may also be obtained from the Grants Management Contact indicated in the terms of
           award.

           REQUIREMENT: Use of humans and animals in any new activities must be requested prior
           to the start of the activity and must be approved in writing in advance by the NIMHD. See
           NOT-MD-08-002, “Guidance and Clarification on NCMHD Policy on Prior Approval for
           Subprojects and Pilot Projects Involving Human Subjects or Vertebrate Animals,” NIH Guide
           to Grants and Contracts, April 29, 2008, which is hereby incorporated by reference as
           special terms and conditions of this award. See also NOT-OD-15-129, “Prior NIH Approval
           of Human Subjects Research in Active Awards Initially Submitted without Definitive Plans for
           Human Subjects Involvement (Delayed Onset Awards): Updated Notice,” and NIH-OD-15-
           128, “Guidance on Changes That Involve Human Subjects in Active Awards and That Will
           Require Prior NIH Approval: Updated Notice.”

           No funds may be drawn down from the payment system and no obligations may be made
           against Federal funds for research involving human subjects at any site engaged in such
           research for any period not covered by both (1) the awardee’s OHRP-approved Assurance
                                                                    Page 5 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 9/4/2024 12:34 AM



                                                                                                                       APHA App. 091
Case: 25-1611     Document: 00118310432                            Page: 95                        Date Filed: 07/08/2025     Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-19                               Filed 04/25/25    Page 88 of 97

           and if performance sites are involved, each performance site’s OHRPapproved Assurance(s)
           and (2) appropriate IRB approvals consistent with all OHRPapproved Assurances.

           Copies of these Notices may be accessed at the following internet
           address: http://www.nih.gov/grants/guide/index.html

           Copies may also be obtained from the Grants Management Contact indicated in the terms of
           award.




           SPREADSHEET SUMMARY
           AWARD NUMBER: 3R01MD015256-05S1

           INSTITUTION: HARVARD PILGRIM HEALTH CARE

           Budget                          Year 5                                                          Year 6
           Salaries and Wages              $44,753
           Fringe Benefits                 $13,337
           Personnel Costs (Subtotal)      $58,090
           Other                           $2,150
           TOTAL FEDERAL DC                $60,240
           TOTAL FEDERAL F&A               $39,758
           TOTAL COST                      $99,998                                                         $0


           Facilities and Administrative   Year 5                                                          Year 6
           Costs
           F&A Cost Rate 1                 66%
           F&A Cost Base 1                 $60,240
           F&A Costs 1                     $39,758




                                                                    Page 6 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 9/4/2024 12:34 AM



                                                                                                                        APHA App. 092
Case: 25-1611   Document: 00118310432   Page: 96   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-19
                                  Document 38-19   Filed 04/25/25
                                                   Filed 04/25/25   Page 89
                                                                    Page 89 of
                                                                            of 97
                                                                               97




                          EXHIBIT
                          EXHIBIT J




                                                                       APHA App. 093
Case: 25-1611                Document: 00118310432                      Page: 97           Date Filed: 07/08/2025                    Entry ID: 6734280

 4/18/25, 3:32 PM    Case 1:25-cv-10787-BEM
                       Expired                               Document
                               NOT-OD-22-032: Notice of Special Interest (NOSI):38-19
                                                                                AdministrativeFiled  04/25/25
                                                                                               Supplements              Page
                                                                                                           for Research on Sexual 90  of 97Minority (SGM) P…
                                                                                                                                  and Gender



     This notice has expired. Check the NIH Guide for active opportunities
                                 and notices.
   Notice of Special Interest (NOSI): Administrative Supplements for Research on Sexual and Gender Minority (SGM)
   Populations (Admin Supp Clinical Trial Optional)
   Notice Number:
   NOT-OD-22-032

   Key Dates
   Release Date:




                                                                                       ED
   December 2, 2021

   First Available Due Date:
   January 31, 2022
   Expiration Date:
   February 01, 2024

   Related Announcements
                                                                       PIR
   NOT-MD-22-007 - Notice of National Institute on Minority Heal h and Heal Disparities (NIMHD) Participation in NOT-
   OD-22-032, NOSI: Administrative Supplements for Research on Sex al and Gender Minority Populations (Admin Supp
   Clinical Trial Optional)

   PA-20-272 Administrative Supplements to Existing NIH Gran and Cooperative Agreements (Parent Admin Supp Clinical
   Trial Optional)
                                                           EX
   Issued by
   Sexual and Gender Minority Research Office (SGMRO)

   National Human Genome Research Institute (NHGRI)

   National Institute on Aging (NIA)

   National Institute of Allergy and Infectious Diseases (NIAID)

   National Institute of Arthritis and Musculoskeletal and Skin Diseases (NIAMS)

   National Institute on Deafness and Other Communication Disorders (NIDCD)

   National Institute of Dental and Craniofacial Research (NIDCR)

   National Institute of Diabetes and Digestive and Kidney Diseases (NIDDK)

   National Institute on Drug Abuse (NIDA)

   National Institute of Mental Health (NIMH)

   National Institute of Neurological Disorders and Stroke (NINDS)

   National Institute of Nursing Research (NINR)

   Fogarty International Center (FIC)

   National Center for Complementary and Integrative Health (NCCIH)

 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-22-032.html                                                                                      1/5
                                                                                                                            APHA App. 094
Case: 25-1611                Document: 00118310432                      Page: 98           Date Filed: 07/08/2025                    Entry ID: 6734280

 4/18/25, 3:32 PM    Case 1:25-cv-10787-BEM
                       Expired                               Document
                               NOT-OD-22-032: Notice of Special Interest (NOSI):38-19
                                                                                AdministrativeFiled  04/25/25
                                                                                               Supplements              Page
                                                                                                           for Research on Sexual 91  of 97Minority (SGM) P…
                                                                                                                                  and Gender
   National Cancer Institute (NCI)

   National Institute on Alcohol Abuse and Alcoholism (NIAAA)

   All applications to this funding opportunity announcement should fall within the mission of the Institutes/Centers. The
   following NIH Offices may co-fund applications assigned to those Institutes/Centers.

   Office of AIDS Research (OAR)

   Division of Program Coordination, Planning and Strategic Initiatives, Office of Disease Prevention (ODP)

   Office of Research on Women's Health (ORWH)

   Purpose
   The mission of the NIH is to seek fundamental knowledge about the nature and behavior of living systems and the
   application of that knowledge to enhance health, lengthen life, and reduce illness and disability. The NIH is committed to
   supporting research that will increase scientific understanding of the health and well-being of various population and
   subpopulation groups and that will help to establish the effectiveness of evidence-based health interventions and services for
   individuals within these groups. NIH places high priority on research with populations that have distinct health risk profiles
   and who have also received insufficient attention from the scientific research enterprise. To this end, this Notice of Special
   Interest (NOSI) announces the availability of administrative supplements to provide funding for the expansion of existing
   research projects to incorporate sexual and gender minority (SGM) populations or SGM-relevant research questions. SGM
   populations include, but are not limited to, those populations described in NOT-OD-19-139. Basic, social, behavioral,
   clinical, translational, and health services research relevant to the missions of the sponsoring NIH Institutes or Centers (ICs)
   may be proposed in response to this solicitation. Potential applicants are encouraged to review the most recent annual
   Portfolio Analysis of NIH-funded SGM research to identify potential research gaps that may be relevant to this NOSI. More
   information about the SGM administrative supplements program and previously awarded research projects can be found on
   the SGMRO website.

   Background

   The collective knowledge base on SGM health has grown substantially since the release of the groundbreaking 2011
   Institute of Medicine (now the National Academy of Medicine) report on the health of lesbian, gay, bisexual, and
   transgender people. However, in their comprehensive 2020 report on the status and well-being of people who identify as
   SGM, the National Academies Committee on Population ultimately concluded that SGMs still face numerous disparities
   across multiple domains of well-being. In October 2016, the National Institute on Minority Health and Health Disparities, in
   collaboration with the Agency for Healthcare Research and Quality, announced that SGMs had been officially designated a
   health disparity population for NIH research purposes. This designation has facilitated the creation of tailored research
   projects, programs, activities, and funding opportunities to tackle the unique health-related issues encountered by SGM
   individuals. In addition, ascertainment of SGM status in ongoing and planned population studies has been enhanced.
   However, it is apparent that SGM-specific health disparities persist today, and there is still an urgent need for novel
   strategies to understand, measure, address, and prevent them.

   As of August 28, 2019, the NIH definition of "sexual and gender minorities" includes, but is not limited to, individuals who
   identify as lesbian, gay, bisexual, asexual, transgender, two-spirit, queer, and/or intersex. Individuals with same-sex or -
   gender attractions or behaviors and those with a difference in sex development are also included. These populations also
   encompass those who do not self-identify with one of these terms but whose sexual orientation, gender identity or
   expression, or reproductive development is characterized by non-binary constructs of sexual orientation, gender, and/or sex.
   Applicants to this administrative supplement may propose to study relevant SGM subpopulations not explicitly identified in
   this definition and/or adopt other classification frameworks and terminologies as appropriate.

   Specific Areas of Research Interest

   This NOSI calls for research that will enrich scientific understanding of how sexual orientation, gender identity, and/or
   being born with differences/disorders in sex development (DSDs) or intersex characteristics relate to health outcomes,
   health risks, health behaviors, perceptions and expectations about health, and access to health-related services or associated
   barriers.

   Appropriate topics or studies for these supplements may include, but are not limited to, those listed below:
 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-22-032.html                                                                                      2/5
                                                                                                                            APHA App. 095
Case: 25-1611                Document: 00118310432                      Page: 99           Date Filed: 07/08/2025                    Entry ID: 6734280

 4/18/25, 3:32 PM    Case 1:25-cv-10787-BEM
                       Expired                               Document
                               NOT-OD-22-032: Notice of Special Interest (NOSI):38-19
                                                                                AdministrativeFiled  04/25/25
                                                                                               Supplements              Page
                                                                                                           for Research on Sexual 92  of 97Minority (SGM) P…
                                                                                                                                  and Gender
            Addition of SGM participants to an ongoing study which either did not originally include them or has not enrolled
            enough SGM participants to make meaningful comparisons between groups; proposed studies must be sufficiently
            powered to allow for meaningful comparisons
            Expansion of an ongoing study focused on one SGM group to add another; proposed studies must be sufficiently
            powered to allow for meaningful comparisons
            Expansion of data collection (e.g., in surveys, questionnaires, etc.) to add items related to sexual attraction, sexual
            behavior, sexual identity, gender identity, gender expression, and/or non-binary sex when relevant and appropriate
            Secondary analyses of existing data to generate new information or hypotheses about SGM health
            Assessment of reliability and/or validity of measures relevant to sexual attraction, sexual behavior, sexual identity,
            gender identity, gender expression, and/or non-binary sex
            Methodological and strategic innovations to improve the recruitment and retention of SGM individuals in any
            research activity
            Expansion of prevention, screening, and wellness research tailored to SGM populations that aims to reduce health
            inequities
            Ethical, legal, or social science research on the implications of data collection and/or research findings on SGM
            populations

   Scope of Support

   Administrative supplements can be used to meet increased costs that are within the scope of the approved parent award, but
   that were unforeseen when the new or renewal application or grant progress report for non-competing continuation support
   was submitted. Applicants to this NOSI should propose research that, if successful, would contribute to a greater
   understanding of the health and well-being of SGM communities. Clinical trials cannot be proposed to be added to grants
   that do not include a clinical trial as that would constitute a change in scope.

   IC-Specific Considerations

   All applications submitted in response to this NOSI should fall within the mission of the IC of the awarded parent grant.
   Applicants are strongly encouraged to discuss their proposed supplement project with the IC Program Officer of the funded
   parent award prior to submission of a supplement application in order to ensure that the proposed activity aligns with the
   scientific priorities of the IC and is within the scope of the parent award. Scientific inquiries may also be addressed to the
   contacts listed in the Inquiries section below.

   Other Information

   Recently issued trans-NIH policy notices may affect your application submission. A full list of policy notices published by
   NIH is provided in the NIH Guide for Grants and Contracts. All awards are subject to the terms and conditions, cost
   principles, and other considerations described in the NIH Grants Policy Statement.

   Authority and Regulations

   Awards are made under the authorization of Sections 301 and 405 of the Public Health Service Act as amended (42 USC
   241 and 284) and under Federal Regulations 42 CFR Part 52 and 45 CFR Part 75.

   Please recognize that all SGM administrative supplement awards are made specifically for conducting the research proposed
   in each application. Progress reports specific to the SGM administrative supplement may be requested by SGMRO at any
   point. These progress report requests will be sent under separate cover from the Research Performance Progress Report.
   Unsatisfactory progress or reallocation of supplement funds to another purpose outside of the proposed research plan may
   lead to disqualification of participating programs from future consideration for this opportunity.
   Application and Submission Information

   Applications for this initiative must be submitted using the following opportunity or its subsequent reissued equivalent.

            PA-20-272 - Administrative Supplements to Existing NIH Grants and Cooperative Agreements (Parent Admin Supp
            Clinical Trial Optional)

   All instructions in the SF424 (R&R) Application Guide and PA-20-272 must be followed, with the following additions:

            Application Due Dates January 31, 2022 for FY 2022; January 31, 2023 for FY 2023; and January 31, 2024 for FY
            2024, by 5:00 PM local time of applicant organization.
            The expiration date is February 1, 2024.
 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-22-032.html                                                                                      3/5
                                                                                                                            APHA App. 096
Case: 25-1611               Document: 00118310432                      Page: 100            Date Filed: 07/08/2025                    Entry ID: 6734280

 4/18/25, 3:32 PM    Case 1:25-cv-10787-BEM
                       Expired                               Document
                               NOT-OD-22-032: Notice of Special Interest (NOSI):38-19
                                                                                AdministrativeFiled  04/25/25
                                                                                               Supplements              Page
                                                                                                           for Research on Sexual 93  of 97Minority (SGM) P…
                                                                                                                                  and Gender
            The project and budget periods must be within the currently approved project period for the existing parent award.
            For funding consideration, applicants must include NOT-OD-22-032 (without quotation marks) in the Agency
            Routing Identifier field (box 4B) of the SF424 R&R form. Applications without this information in box 4B will not be
            considered for this initiative.
            Requests may be for one year of support only.
            The project budget cannot exceed $100,000 in total costs.
            The Research Strategy section of the application is limited to 6 pages.
            The process for Streamlined Submissions using the eRA Commons cannot be used for this initiative.
            Applicants are strongly encouraged to notify the Program Officer at the IC supporting the parent award that a request
            has been submitted in response to this NOSI in order to facilitate efficient processing of the application.

   Applications that do not comply with these instructions or are deemed otherwise non-responsive to the terms of this NOSI,
   will not be accepted for review.

   Inquiries
   Please direct all inquiries to the Program Officer associated with the parent award and/or the designated contact at the ICO
   supporting the parent award listed below:

   Scientific/Research Contact(s)

   Brad Newsome, PhD
   Fogarty International Center (FIC)
   Telephone: 301-496-1653
   Email: brad.newsome@nih.gov

   Inna Belfer, MD, PhD
   National Center for Complementary and Integrative Health (NCCIH)
   Telephone: 301-435-1573
   Email: inna.belfer@nih.gov

   Whitney Barfield, PhD
   National Cancer Institute (NCI)
   Telephone: 240-276-6170
   Email: whitney.barfield@nih.gov

   Tina L Gatlin, PhD
   National Human Genome Research Institute (NHGRI)
   Telephone: 301-480-2280
   Email: gatlincl@mail.nih.gov

   Melissa Gerald, PhD
   National Institute on Aging (NIA)
   Telephone: 301-496-3136
   Email: melissa.gerald@nih.gov

   Keith Crawford, PhD
   National Institute of Allergy and Infectious Diseases (NIAID)
   Telephone: 240-669-2816
   Email: keith.crawford@nih.gov

   Heiyoung Park, PhD
   National Institute of Arthritis and Musculoskeletal and Skin Diseases (NIAMS)
   Telephone: 301-594-5032
   Email: parkh1@mail.nih.gov

   Richard A Jenkins, PhD
   National Institute on Drug Abuse (NIDA)
   Telephone: 301-443-6504
   Email: jenkinsri@mail.nih.gov
 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-22-032.html                                                                                      4/5
                                                                                                                            APHA App. 097
Case: 25-1611               Document: 00118310432                      Page: 101            Date Filed: 07/08/2025                    Entry ID: 6734280

 4/18/25, 3:32 PM    Case 1:25-cv-10787-BEM
                       Expired                               Document
                               NOT-OD-22-032: Notice of Special Interest (NOSI):38-19
                                                                                AdministrativeFiled  04/25/25
                                                                                               Supplements              Page
                                                                                                           for Research on Sexual 94  of 97Minority (SGM) P…
                                                                                                                                  and Gender
   Carol B Hubner, PhD
   National Institute on Drug Abuse (NIDA)
   Telephone: 301-827-5926
   Email: chubner@nida.nih.gov

   Janet Cyr, PhD
   National Institute on Deafness and Other Communication Disorders (NIDCD)
   Telephone: 301-402-3458
   Email: cyrj@nidcd.nih.gov

   Dena Fischer, DDS, MSD, MS
   National Institute of Dental & Craniofacial Research (NIDCR)
   Telephone: 301-594-4876
   Email: dena.fischer@nih.gov

   Vanessa A White, MPH
   National Institute of Diabetes and Digestive and Kidney Diseases (NIDDK)
   Telephone: 301-827-5505
   Email: vanessa.white@nih.gov

   Beshaun Davis, Ph.D.
   National Institute of Mental Health (NIMH)
   Telephone: 301-827-5098
   Email: beshaun.davis@nih.gov

   Erica Littlejohn, PhD
   National Institute of Neurological Disorders and Stroke (NINDS)
   Telephone: 301-435-2719
   Email: Erica.Littlejohn@nih.gov

   Shalanda A Bynum, PhD, MPH
   National Institute of Nursing Research (NINR)
   Email: shalanda.bynum@nih.gov

   Elizabeth L Neilson, PhD, MPH, MSN
   Office of Disease Prevention (ODP)
   Telephone: 301-827-5578
   Email: Elizabeth.Neilson@nih.gov

   Elizabeth Anne Barr, PhD
   Office of Research on Women's Health (ORWH)
   Telephone: 301-402-7895
   Email: elizabeth.barr@nih.gov

   Melissa Mera, MPH
   Office of AIDS Research (OAR)
   Telephone: 301-761-7689
   Email: melissa.mera@nih.gov

   Robert Freeman PhD
   National Institute on Alcohol Abuse and Alcoholism (NIAAA)
   Telephone: 301-443 8820
   Email: Robert.Freeman@nih.gov

   Weekly TOC for this Announcement
   NIH Funding Opportunities and Notices




 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-22-032.html                                                                                      5/5
                                                                                                                            APHA App. 098
Case: 25-1611   Document: 00118310432   Page: 102   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-19
                                  Document 38-19    Filed 04/25/25
                                                    Filed 04/25/25   Page 95
                                                                     Page 95 of
                                                                             of 97
                                                                                97




                        EXHIBIT
                        EXHIBIT K




                                                                        APHA App. 099
Case: 25-1611                 Document: 00118310432                                   Page: 103                  Date Filed: 07/08/2025                     Entry ID: 6734280

                        Case 1:25-cv-10787-BEM                                  Document 38-19                   Filed 04/25/25          Page 96 of 97




                                                                                                                                                           Fri, Mar 21, 2025 at 3:56 PM




     Hi Brittany,

     As you noted, the terminations continue. The supplement associated with the R01 has also been terminated.

     Cary

     Cary Williams, MEd, CRA (she/her)

     Director | Office of Sponsored Programs

     Harvard Pilgrim Health Care, Inc. | Harvard Pilgrim Health Care Institute, LLC

     617-867-4958 | cary_williams@hphci.harvard.edu

     Upcoming OOO: 3/27 – 4/4




     From: Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
     Sent: Friday, March 21, 2025 12:35 PM
     To: Research Admin <research_admin@hphci.harvard.edu>
     Subject: Grant Termination Notification




     WARNING: This email originated from outside of the organization.
     Do not click links or attachments unless you recognize the sender and know the content is safe.




     3/21/2025
     Cary Williams
     Harvard Pilgrim Health Care, Inc.
     research_admin@harvardpilgrim.org


     Dear Cary Williams:
     Effective with the date of this letter, funding for Project Number 3R01MD015256-05S1 is hereby terminated pursuant to the Fiscal Year 2024 National Institutes of Health
     (“NIH”) Grants Policy Statement,[1] and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.[2]
     The 2024 Policy Statement applies to your project because NIH approved your grant on 3/1/2024, and “obligations generally should be determined by reference to the law
     in effect when the grants were made.”[3]
     The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements and is incorporated by reference in all NIH grant and cooperative
     agreement awards.[4]” According to the Policy Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340.[5]” At the time your
     grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity, to the greatest extent authorized by law, if an
     award no longer effectuates the program goals or agency priorities.”
     This award no longer effectuates agency priorities. Research programs based on gender identity are often unscientific, have little identifiable return on investment, and do
     nothing to enhance the health of many Americans. Many such studies ignore, rather than seriously examine, biological realities. It is the policy of NIH not to prioritize
     these research programs.
     Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an opportunity to take appropriate corrective action before NIH
     makes a termination decision,”[6] no corrective action is possible here. The premise of this award is incompatible with agency priorities, and no modification of the project
     could align the project with agency priorities.
     Costs resulting from financial obligations incurred after termination are not allowable.[7] Nothing in this notice excuses either NIH or you from complying with the
     closeout obligations imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal Funding Accountability and Transparency Act or the
     Office of Management and Budget’s regulations to USAspending.gov.[8]
     Administrative Appeal
     You may object and provide information and documentation challenging this termination.[9] NIH has established a first-level grant appeal procedure that must be
     exhausted before you may file an appeal with the Departmental Appeals Board.[10]
     You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written notification of the determination is received, except that if you show
     good cause why an extension of time should be granted, Dr. Memoli may grant an extension of time.[11]
     The request for review must include a copy of the adverse determination, must identify the issue(s) in dispute, and must contain a full statement of your position with
     respect to such issue(s) and the pertinent facts and reasons in support of your position. In addition to the required written statement, you shall provide copies of any
     documents supporting your claim.[12]



                                                                                                                                                 APHA App. 100
Case: 25-1611                  Document: 00118310432                                   Page: 104     Date Filed: 07/08/2025    Entry ID: 6734280

                           Case 1:25-cv-10787-BEM                                   Document 38-19   Filed 04/25/25   Page 97 of 97

     Sincerely,




     Michelle G. Bulls, on behalf of Priscilla Grant, Chief Grants Management Officer, NIMHD
     Director, Office of Policy for Extramural Research Administration
     Office of Extramural Research




     [1] https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf [grants.nih.gov].

     [2] 2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373

     [3] Bennett v. New Jersey, 470 U.S. 632, 638 (1985).

     [4] NIH Grants Policy Statement at IIA-1.

     [5] Id. at IIA-155.

     [6] NIH Grants Policy Statement at IIA-156.

     [7] See 2 C.F.R. § 200.343 (2024).

     [8] 2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)

     [9] See 45 C.F.R. § 75.374.

     [10] See 42 C.F.R. Part 50, Subpart D

     [11] 11 Id. § 50.406(a)

     [12] 12 Id. § 50.406(b)




                                                                                                                         APHA App. 101
Case: 25-1611   Document: 00118310432   Page: 105    Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-20
                                  Document 38-20    Filed 04/25/25
                                                    Filed 04/25/25   Page 1
                                                                     Page 1 of
                                                                            of 60
                                                                               60




                       EXHIBIT
                       EXHIBIT 20




                                                                        APHA App. 102
Case: 25-1611      Document: 00118310432            Page: 106        Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM            Document 38-20          Filed 04/25/25       Page 2 of 60




                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS


       AMERICAN PUBLIC HEALTH
       ASSOCIATION, et al.,

                              Plaintiffs,
                                                             Case No. 1:25-cv-10787-BEM
                       v.

       NATIONAL INSTITUTES OF HEALTH, et
       al.,

                              Defendants.



                                  DECLARATION OF KATIE EDWARDS
                I, Katie Edwards, pursuant to 28 U.S.C. § 1746, declare as follows:

       1. I am a Professor of Social Work at the University of Michigan. My research focuses on
          preventing sexual and related forms of violence among minority communities by using
          evidence-based, affirming, and culturally-grounded approaches. My current work is focused
          on program development and evaluation with Indigenous youth and communities, as well as
          LGBTQ+ youth. In 2024, I was named by Stanford University as one of the top two percent
          researchers in the world, and 26th out of 12,726 researchers in the field of criminology. In
          my lab, we have some of the first studies ever to show we have reduced violence and alcohol
          use among LGBTQ+ youth as well as sexual violence among Indigenous youth.
       2. I am offering this declaration in my individual capacity and not on behalf of my employer.
       3. My interest in this area of work began during my undergraduate studies. Through my studies
          and volunteer work, I saw the damaging effects of sexual violence and other forms of
          violence, and I wanted to learn how to prevent violence from happening in the first place.
          While most of my work in graduate school focused on college students, early on in my career
          as an assistant professor, I realized that most of the scientific literature at the time did not
          address the particular needs of LGBTQ+ youth, a glaring gap especially given that this
          demographic experiences disproportionately higher rates of sexual and other forms of


                                                         1
                                                                                              APHA App. 103
Case: 25-1611    Document: 00118310432               Page: 107     Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM           Document 38-20         Filed 04/25/25     Page 3 of 60




          violence. My passion grew from wanting to work to help all youth who were experiencing
          these harms and especially youth experiencing high rates of violence about whom we as a
          field had done relatively less research.
       4. Before working at the University of Michigan, I was a Professor of Educational Psychology
          at the University of Nebraska-Lincoln. Before that, I was an Assistant and Associate
          Professor of Psychology at the University of New Hampshire.
       5. I received my B.S. in Psychology in 2005 from the University of Georgia. I completed my
          Ph.D. in Clinical Psychology at Ohio University in 2011, and I received a graduate certificate
          in Women and Gender Studies from Ohio University that same year.
       6. To date, I have published more than 220 peer-reviewed journal articles, which were made
          possible, in part, through obtaining more than $23 million in research funding over the course
          of my career.
       7. I have applied for and received 10 grants from the NIH over the course of my career. The
          application process for each grant was a lengthy and involved one, but that process—at least
          until recently—helped ensure that the most rigorous and impactful research is conducted. In
          my experience, preparing an application requires months, if not years, of work—from pilot
          studies, literature review or other background research, to input from community partners
          and fellow researchers, to honing methodological design—and often new studies will build
          off of the work and findings from previous studies.
       8. Since March 2025, NIH has terminated at least six grants that fund research projects for
          which I am the principal investigator or co-investigator. For each of these grants, NIH stated
          in a termination notice that the project “no longer effectuates agency priorities.” The total
          amount awarded originally across those six grants is approximately $11.9 million.
       9. One of those terminated grants is a project-based R01 grant that was awarded on July 22,
          2022. A true and correct copy of the notice of award (NOA) for that grant is attached hereto
          as Exhibit A. That grant—titled An Innovative, Prospective Model to Understand Risk and
          Protective Factors for Sexual Assault Experiences and Outcomes among Sexual and Gender
          Minority Men (Project Number 5R01MD016384)—originally had a total award value of over
          $3.8 million. See id.
       10. Sexual assault happens more often to sexual minority men than to heterosexual men, but the
          scientific community has a limited understanding of why that disparity exists—and of how to

                                                        2

                                                                                           APHA App. 104
Case: 25-1611    Document: 00118310432             Page: 108       Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM          Document 38-20         Filed 04/25/25      Page 4 of 60




          prevent sexual assault and support those who have experienced it among this community.
          The goal of this project was to use a rigorous methodology to focus on factors that predict
          sexual assault experiences among sexual minority men and trans-masculine people, as well
          as their recovery in the aftermath of those experiences. And more specifically, our goal was
          to use findings from this study to better understand how to reduce the risk of sexual violence
          experiences among sexual minority men and its negative outcomes, with the longer-term goal
          of developing programs and policies to address this public health crisis. Filling this gap in
          the literature and in public health is important because, among other reasons, an estimated
          9.3% of the population identifies as LGBTQ+ (and more when looking at young people
          specifically), and because sexual violence is quite costly on society, with the Centers for
          Disease Control and Prevention (CDC) estimating that the lifetime cost of rape as $122,461
          per survivor (a figure that includes medical care, lost productivity from work, and criminal
          justice costs). A true and correct copy of a screen capture of the CDC’s website providing
          that estimated cost, last accessed April 24, 2025, is attached hereto as Exhibit B.
       11. This project took the form of a survey administered over a two-year span. Each participant
          was supposed to take a baseline survey followed by a survey every six months (i.e., a survey
          at six, 12, 18, and 24 months after the baseline survey). The survey at each time point asked
          largely the same questions, which sought information from the participants about experience
          with, among other things, sexual assault, alcohol consumption, discrimination, and mental
          health. While the baseline survey asked for information about a participant’s entire past,
          each follow-up survey asked the participant for information that pertained to the six months
          since their prior survey. Each survey featured hundreds of questions and took participants on
          average 45 minutes to an hour to complete. Our hope was that analysis of the data collected
          across this two-year span and from 3,107 participants would ultimately provide guidance on
          interventions to prevent and respond to sexual violence among sexual minority men (many of
          whom were also racial/ethnic minorities) ultimately reducing health disparities and reducing
          high costs of sexual violence in the U.S.
       12. I aligned this project with NIMHD’s goals to advance the scientific understanding of health
          disparities and improve minority health.
       13. A lot of time and effort went into the application for this project. My colleagues and I spent
          months immersing ourselves in the scientific literature, reading previously published

                                                        3

                                                                                           APHA App. 105
Case: 25-1611    Document: 00118310432            Page: 109        Date Filed: 07/08/2025         Entry ID: 6734280

           Case 1:25-cv-10787-BEM           Document 38-20        Filed 04/25/25      Page 5 of 60




          empirical and theoretical literature and drafting literature reviews on the subject matter—and
          ultimately coming to appreciate how little research existed at the time that was focused on
          how sexual violence specifically affects sexually minority men (especially for those
          identified as people of color). After reading and summarizing existing literature directly and
          indirectly related to sexual assault experiences among sexual minority men, we turned
          towards proposing a new theoretical model to understand why sexual violence happens
          among this population—a process that also took several months. The goal of that model was
          to make sense of the limited data already available, and to hypothesize what factors could
          affect the rate at which sexual minority men experience sexual assault as well as factors
          impacting their recovery. We developed ways to test this model and, after receiving
          feedback from colleagues, we drafted and submitted an application for funding to the
          NIMHD.
       14. The application was referred to a study section group within NIH that consisted of a number
          of peer reviewers, including three peer reviewers specifically assigned to this application.
          That group provided feedback, but the NIMHD did not approve any award of funding, and
          we spent several months after that working on revising the application materials in light of
          and responding to that feedback. Those revisions included providing more information to
          support the proposed theoretical model, refining our methodology for collecting and
          analyzing data, and addressing a human subjects safety concern regarding data de-
          identification. We then resubmitted our application, which was again referred to a study
          section group of expert reviewers, three of whom were assigned to provide an in-depth and
          critical review of our grant. Following peer review that resulted in a fundable score, the
          NIMHD requested that we respond to a few remaining/minor matters, and we submitted a
          brief memo to address those remaining matters. Afterwards, our project was recommended
          for funding, and the notice of award was issued.
       15. Since approving funding for this project, NIH has renewed this grant three times. NIH
          officials never raised any concerns with this grant during those renewal reviews.
       16. There has been much progress in this study since NIH approved it. We have completed
          enrollment for the study, recruiting over 3,100 participants. Although the start date varies
          across participants, most participants are somewhere between their 18-month and 24-month



                                                       4

                                                                                           APHA App. 106
Case: 25-1611    Document: 00118310432               Page: 110        Date Filed: 07/08/2025           Entry ID: 6734280

            Case 1:25-cv-10787-BEM             Document 38-20         Filed 04/25/25      Page 6 of 60




          follow-up survey, with about 14% of individuals who have completed the entire span of the
          study. Data collection was set to wrap up in about a year.
       17. Staff who work on this project were funded, at least in part, by this grant. For example, this
          grant pays a portion of my salary. A project coordinator for this project is fully funded by
          this project, and a project manager, a postdoctoral student, and part-time research assistants
          are partially funded by this project as well.
       18. On March 11, 2025, an NIH official wrote me an email stating that “we’re still working on it,
          ironing out things on our end,” referring to a renewal and transfer of this grant.
       19. But on March 12, 2025, NIH issued a notice terminating this grant. A true and correct copy
          of this termination notice is attached hereto as Exhibit C. Prior to this notice, there was never
          any indication that this grant was in jeopardy.
       20. The termination notice does not include any individualized explanation for why the grant was
          cancelled and fails to discuss any of the data or analysis from our application, annual
          progress reports, or other related material. Instead, the termination notice includes the
          following language about its decision:

                        This award no longer effectuates agency priorities. Research
                        programs based on gender identity are often unscientific, have little
                        identifiable return on investment, and do nothing to enhance the
                        health of many Americans. Many such studies ignore, rather than
                        seriously examine, biological realities. It is the policy of NIH not to
                        prioritize these research programs. NIH is obligated to carefully
                        steward grant awards to ensure taxpayer dollars are used in ways
                        that benefit the American people and improve their quality of life.
                        Your project does not satisfy these criteria.
          Ex. C at 1.
       21. On March 20, 2025, NIH issued a revised NOA reflecting the termination of the grant and
          echoing the language of the termination notice. A true and correct copy of the revised NOA
          is attached hereto as Exhibit D.
       22. I do not understand what the notice or revised NOA means by the phrase “based on gender
          identity,” and I do not understand why NIH believes this project is “based on gender
          identity.” I also am uncertain why NIH believes this project does not effectuate agency
          priorities. I also do not know what the notice means by the term “biological realities.”



                                                          5

                                                                                                  APHA App. 107
Case: 25-1611    Document: 00118310432             Page: 111        Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM            Document 38-20         Filed 04/25/25      Page 7 of 60




       23. This termination will severely hinder and may well completely preclude our ability to draw
          conclusions and develop recommendations from this study. As noted, most of the
          participants have yet to complete the entire course of the study. Although we are still
          conducting surveys for a limited time thanks to alternative funding sources, those sources are
          limited, and they will not last long enough to allow us to collect a full set of surveys for
          most—let alone all—of the 3,107 participants in this study. If, as forecasted, most
          participants do not have the opportunity to complete the final survey (or surveys for some
          participants), this will reduce the amount of data we can analyze including consistency of
          administrations across participants (a methodological flaw) in addition to limiting the
          statistical power of the analyses we are able to run. Collectively, these methodological and
          statistical issues will prohibit our ability to draw conclusions from the data we have collected
          and restrict the possible recommendations that can be developed to benefit sexual minority
          men (including racial/ethnic sexual minority men) across the U.S. That reduced ability to
          draw statistical inferences means that this area of research—and the populations served by
          this area of research—will not be able to benefit nearly as much as they would have, had
          funding for this project not been terminated. And this all assumes we even have someone to
          analyze the data we have collected: without sufficient additional funding, which at this time
          I do not anticipate securing, we will not have money to pay for an individual with the
          pertinent statistical background and expertise to analyze data. The funds for the statistician
          and her team to conduct rigorous study analyses were all terminated. That task alone requires
          months of data cleaning and weeks of running and refining complex statistical models.
       24. Another grant that supports my research that the NIH terminated is a three-year project-based
          R34 grant originally awarded on October 12, 2023 by the National Institute on Alcohol
          Abuse and Alcoholism (NIAAA). A true and correct copy of the NOA for that grant is
          attached hereto as Exhibit E. The total amount originally approved for this grant—titled An
          Online Family-based Program to Prevent Alcohol Use and Dating and Sexual Violence
          among Sexual and Gender Minority Youth (Project Number R34AA030662)—was $653,281.
          See Ex. E.
       25. Based on work and findings by a prior NIH-funded project, my colleagues and I found that
          online intervention for LGBTQ+ youth reduced teen dating violence and alcohol use. From
          there, we thought it would be beneficial to better understand and develop programming that

                                                        6

                                                                                             APHA App. 108
Case: 25-1611     Document: 00118310432             Page: 112       Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-20         Filed 04/25/25      Page 8 of 60




          would help not only LGBTQ+ youth but also their caregivers, as research shows that having
          a supportive caregiver also benefits LGBTQ+ youth tremendously. More broadly, the project
          also aims to facilitate family bonding and communications in addition to caregiver support
          and affirmation.
       26. This project took the form of an online program with two groups: an experimental group and
          a control group. Participants in the experimental group would participate in a weekly online
          group intervention session for seven weeks, with separate programming for the participants
          who were sexual and gender minority youth (aged 15 to 18) and for their respective
          caregivers. Programming for caregivers focuses on increasing parental knowledge,
          acceptance, and support for their sexual and gender minority youth, as well as providing
          caregivers with evidence-based strategies focused on reducing risky behaviors among teens.
          Programming for sexual and gender minority youth focuses on reducing internalized stigma;
          enhancing social-emotional skills; increasing accurate perceptions of alcohol and dating
          violence norms; and increasing alcohol refusal skills. During the seven-week period that
          participants in the experimental group would take part in these sessions, individuals in the
          control group would receive periodic check ins but no similar programming. Before and
          after the seven-week period, we would conduct a survey for both the youth and their
          caregivers across both the experimental and control groups, to measure outcomes like
          frequency of dating violence and alcohol use and perceptions of trust or affirmation in the
          caregiving relationship.
       27. In line with our understanding of our ethical obligations to all participants, at the completion
          of the seven-week period, we then offered all participants in the control group the
          opportunity to participate in the same programming in which the experimental group
          participants took part. But because there would be no comparable control group for these
          individuals during this subsequent seven-week period, no data would (or could) be
          meaningfully used from this intervention during that period to inform our understanding of
          how it worked.
       28. My Co-Principal Investigators and I aligned this project with the goals of NIAAA to prevent
          alcohol abuse and related risk behaviors (such as dating violence) among diverse populations
          of youth.



                                                        7

                                                                                             APHA App. 109
Case: 25-1611     Document: 00118310432            Page: 113        Date Filed: 07/08/2025           Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-20         Filed 04/25/25     Page 9 of 60




       29. As with the R01 grant described above, my colleagues and I spent months reviewing
          literature to prepare this application. Also, over the course of several months, we had to
          think very carefully about what a program for caregivers would look like, how to integrate
          that component, and how to go about this integration safely given the particular vulnerability
          of sexual and gender minority youth. Once we submitted the application, the level of rigor in
          the review process for this grant was similar to that of the R01 grant described above: our
          application was submitted to a study group, we did not initially receive funding and instead
          received feedback from the group, we worked for months refining the application, and after
          we re-submitted our grant application (along with a follow-up brief memo on any remaining
          issues flagged by the reviewers), NIH approved our grant.
       30. NIH disbursed the total amount for this grant in its first disbursement. Still, we were
          required to submit annual progress reports. We have submitted one annual report, and the
          grant was renewed with no issues.
       31. Staff who work on this project were funded, at least in part, by this grant. For example, this
          grant pays a portion of my salary, the salary of another PI, and the salary of a co-investigator.
          A project coordinator for this project is fully funded by this project, a graduate student, and
          part-time research assistants/program facilitators are partially funded by this project as well.
       32. There had been a lot of progress on this study so far. We had designed the intervention
          program, conducted a pilot with one cohort of families, and started up the randomized control
          trial portion of the study. Our goal was to enroll around 80 families through the study, and
          we had already begun programming for the first cohort of participants—approximately 22
          families (half in the experimental group, half in the control group). The rest of the
          participants would have participated in future cohorts.
       33. But on March 21, 2025, NIH issued a notice stating that this grant was terminated. A true
          and correct copy of this termination notice is attached hereto as Exhibit F. Prior to this
          notice, there was never prior indication during the renewal process that this grant was in
          jeopardy.
       34. The termination notice does not include any individualized explanation for why the grant was
          cancelled, and fails to discuss any of the data or analysis from our application, the annual
          progress report, or other related material. Instead, the notice includes the following language
          about its decision:

                                                        8

                                                                                            APHA App. 110
Case: 25-1611        Document: 00118310432           Page: 114        Date Filed: 07/08/2025           Entry ID: 6734280

           Case 1:25-cv-10787-BEM             Document 38-20         Filed 04/25/25      Page 10 of 60




                        This award no longer effectuates agency priorities. Research
                        programs based on gender identity are often unscientific, have little
                        identifiable return on investment, and do nothing to enhance the
                        health of many Americans. Many such studies ignore, rather than
                        seriously examine, biological realities. It is the policy of NIH not to
                        prioritize these research programs.
       Ex. F at 1.

       35. On March 25, 2025, NIH issued a revised NOA reflecting the termination of the grant and
          echoing the language of the termination notice. A true and correct copy of the revised NOA
          is attached hereto as Exhibit G.
       36. As with the termination notice for the R01 grant described above, I do not understand what
          the notice or revised NOA means by the phrase “based on gender identity,” and I do not
          understand why NIH believes this project is “based on gender identity.” I also do not
          understand why NIH believes this project does not effectuate agency priorities. I also do not
          know what the notice means by the term “biological realities.”
       37. This termination will hinder our ability to draw conclusions and develop recommendations
          from this study. As discussed, at the time the grant was terminated, we were in the middle of
          program interventions for the first cohort of participants. But because of this termination, we
          lacked the funding to ensure that we could complete the entirety of this cohort consistent
          with our ethical obligations to our participants—that is, the full seven weeks for both the
          experimental group and the control group, followed by seven weeks of intervention for those
          in the control group. As such, to abide by our ethical obligations, we were forced to
          prematurely begin interventions for the control group midway through the initial seven-week
          period. To draw meaningful conclusions from this study, the control group should have
          received the intervention after their final surveys. But because the termination forced us to
          prematurely begin the intervention for the control group, we can no longer use any of the
          data from this cohort for our analyses—at least not as intended with a comparison group. We
          also will not have statistical power to conduct analyses given that our sample size will fall
          short of what was proposed/intended. And at this time, we do not anticipate being able to
          secure sufficient additional funding to allow us to resume this study for future cohorts.
       38. Since February 2025, NIH issued substantially similar termination notices or revised NOAs
          for four other grants that support my work, with the assertion that each “award no longer

                                                          9

                                                                                                  APHA App. 111
Case: 25-1611    Document: 00118310432             Page: 115        Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM           Document 38-20         Filed 04/25/25      Page 11 of 60




          effectuates agency priorities.” Those projects are: 5R21MD018509 (Development and Pilot
          Evaluation of an Online Mentoring Program to Prevent Adversities Among Trans and Other
          Gender Minority Youth); 5R01AA031213 (The Impact of Minority Stress on Alcohol-Related
          Sexual Assault Among Sexual Minority College Students: An Intersectional, Mixed-
          Methodological Study); 5R01MD017573 (Sexual Assault Recovery Among Sexual Minority
          Women: A Longitudinal, Multi-Level Study); and R15 AA030898 (Reconstruction of an
          SGM-specific Sexual Violence Peer Support Program [SSS+]).
       39. Every study is unique, and so the preparation of grant application materials will necessarily
          be unique, but the scale of the time, effort, labor, outreach, and scientific rigor was generally
          similar across all those grant applications. And yet, each of these termination notices failed
          to offer any individualized explanation of why the grant was cancelled and failed to discuss
          any of the data or analysis from our application, any annual progress report, or other related
          material. And because of the vague terms used across these termination notices, I am
          uncertain why the projects no longer effectuate agency priorities, how I can revise these
          projects to align with agency priorities, and how I can align future grant applications with
          these priorities.
       40. Because of these terminations, projects and studies will be negatively impacted. My co-
          investigators and I will have an impaired—and in some cases, foreclosed—ability to
          complete studies, analyze any data collected, draw meaningful conclusions from that data,
          and develop recommendations to address health disparities experienced by vulnerable
          subpopulations—including sexual and gender minority individuals, LGBTQ+ youth, and
          people of color.
       41. These terminations have and will continue to negatively impact our staff. For example,
          several staff have already been terminated, and more terminations are soon to happen
          because of a lack of funding resulting from the termination of these grants. These terminated
          grants funded part of my salary as well as the salary of other investigators on these grants.
          And much of our staff—from project coordinators and managers to graduate students to
          postdoctoral fellows to research assistants—were funded in large part through these grants.
          Absent additional funding, most if not all of those individuals will have severely reduced
          hours or will be completely terminated, and some are already terminated. For example, a
          postdoctoral fellow on these projects will now have their fellowship terminated in June. And

                                                       10

                                                                                            APHA App. 112
Case: 25-1611    Document: 00118310432             Page: 116       Date Filed: 07/08/2025             Entry ID: 6734280

           Case 1:25-cv-10787-BEM            Document 38-20       Filed 04/25/25      Page 12 of 60




          although my co-investigators and I are scrambling to secure replacement funding, that
          endeavor is taking away time from our current research, and I do not anticipate being able to
          secure nearly enough to secure the amount of funding (millions of dollars) that we would
          have had with those terminated grants.
       42. On a personal level, I have never been more stressed in my entire life than I am now because
          of the impacts of these terminations. That stress has taken an emotional and physical toll, as
          the harms that have already resulted and will result from these cuts—to our staff, to our study
          participants, to the populations served by this research—have weighed on me each day. I
          regularly spend 15 or more hours a day trying to address the fallout from these terminations,
          from working on plans to ethically wind down studies; supporting staff and students who are
          distraught over losing work they are deeply passionate about and who are likely losing their
          jobs; and submitting to date over 20 grants/letters requesting funding to donors and nonprofit
          organizations (with no funding having been obtained to date). But I don’t see how else to
          fund these programs besides through the now-terminated NIH grants.
       43. Prior to March 2025, NIH had never terminated a grant that supported my research.
       44. Appeals for three of the grants that support my research have been submitted. I anticipate
          that appeals for at least one of the other terminated grants will be submitted.
       45. I supported submitting an appeal for each of these grants in large part because I do not
          anticipate being able to find replacement funding for the projects that fund them. But I still
          have no idea why the grants that support my research were terminated, and I had no idea how
          to address any agency concerns or recharacterize or revise my project for the purposes of
          appeal.
       46. I also do not know whether the appeal has any chance of success, given the following
          language across the termination notices I received: “The premise of this award is
          incompatible with agency priorities, and no modification of the project could align the
          project with agency priorities.”




                                                       11

                                                                                            APHA App. 113
Case: 25-1611   Document: 00118310432              Page: 117       Date Filed: 07/08/2025       Entry ID: 6734280

         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM          Document 38-20
                                         Document 38-20          Filed 04/25/25
                                                                 Filed 04/25/25      Page 13
                                                                                     Page 13 of
                                                                                             of 60
                                                                                                60




           I 231:/@3 C<23@ penalty
              declare under >3</:BG =4 >3@8C@G B6/B
                                    of perjury that B63
                                                    the 4=@35=7<5
                                                        foregoing 7A
                                                                  is B@C3
                                                                     true /<2
                                                                          and 1=@@31B
                                                                              correct.




           F31CB32
           Executed B67A
                    this .......
                           2a    2/G
                                 day =4
                                     of >@7:
                                        April, 2025.




                                                     Ap /          ?     Fa      /, f (/ZAZ L s—
                                                   hatte
                                                  .........................................

                                                  !/B73
                                                  Katie 2E/@2A
                                                        Edwards




                                                     12
                                                                                          APHA App. 114
Case: 25-1611   Document: 00118310432   Page: 118   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-20
                                  Document 38-20    Filed 04/25/25
                                                    Filed 04/25/25   Page 14
                                                                     Page 14 of
                                                                             of 60
                                                                                60




                         EXHIBIT
                         EXHIBIT A




                                                                        APHA App. 115
Case: 25-1611          Document: 00118310432                        Page: 119                 Date Filed: 07/08/2025                          Entry ID: 6734280

                  Case 1:25-cv-10787-BEM                     Document 38-20                   Filed 04/25/25                Page 15 of 60


                       Department of Health and Human Services                                                                                Notice of Award
                       National Institutes of Health                                                                                        FAIN# R01MD016384
                       NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH                                                                         Federal Award Date
                                                                                                                                                        07-22-2022
                       DISPARITIES

   Recipient Information                              Federal Award Information
   1. Recipient Name
      BOARD OF REGENTS OF THE UNIVERSITY
                                                     11. Award Number
      OF NEBRASKA
                                                        1R01MD016384-01A1
      2200 VINE ST BOX 830861
                                                     12. Unique Federal Award Identification Number (FAIN)
     LINCOLN, 68503
                                                        R01MD016384
   2. Congressional District of Recipient
                                                     13. Statutory Authority
      01
                                                        42 USC 241 42 CFR 52
   3. Payment System Identifier (ID)
                                                     14. Federal Award Project Title
      1470049123A8
                                                        An Innovative, Prospective Model to Understand Risk and Protective Factors for
                                                        Sexual Assault Experiences and Outcomes Among Sexual Minority Men
   4. Employer Identification Number (EIN)
      470049123
                                                     15. Assistance Listing Number
                                                        93.307
   5. Data Universal Numbering System (DUNS)
      555456995
                                                     16. Assistance Listing Program Title
                                                        Minority Health and Health Disparities Research
   6. Recipient’s Unique Entity Identifier
      HTQ6K6NJFHA6
                                                     17. Award Action Type
                                                        New Competing
   7. Project Director or Principal Investigator
      Katie M Edwards, PHD
                                                     18. Is the Award R&D?
      Associate Professor
                                                        Yes
      katie.edwards@unl.edu
      603-422-3207
                                                                         Summary Federal Award Financial Information
   8. Authorized Official                              19. Budget Period Start Date 07-22-2022 – End Date 03-31-2023
      Craig Goodrich                                   20. Total Amount of Federal Funds Obligated by this Action                                          $801,820
                                                                 20 a. Direct Cost Amount                                                                  $526,925
                                                                 20 b. Indirect Cost Amount                                                                $274,895
                                                       21. Authorized Carryover
                                                       22. Offset
   Federal Agency Information                          23. Total Amount of Federal Funds Obligated this budget period                                      $801,820
   9. Awarding Agency Contact Information              24. Total Approved Cost Sharing or Matching, where applicable                                                $0
      Sy Shackleford                                   25. Total Federal and Non-Federal Approved this Budget Period                                       $801,820
                                                              ---------------------------------------------------------------------------------------------------------
      NATIONAL INSTITUTE ON MINORITY                   26. Project Period Start Date 07-22-2022 – End Date 03-31-2027
      HEALTH AND HEALTH DISPARITIES                    27. Total Amount of the Federal Award including Approved Cost                                       $801,820
      shacklefords@mail.nih.gov                            Sharing or Matching this Project Period
      301-402-1366
   10. Program Official Contact Information          28. Authorized Treatment of Program Income
      ARIELLE SAMANTHA Gillman                          Additional Costs
      Program Officer
      NATIONAL INSTITUTE ON MINORITY                 29. Grants Management Officer - Signature
      HEALTH AND HEALTH DISPARITIES                     Priscilla Grant
      arielle.gillman@nih.gov
      301-402-1366

                                                                        Page 1 of 7
                                             Version:11 - 7/14/2022 8:27 PM | Generated on: 7/22/2022 12:21 AM
                                                                                                                                  APHA App. 116
Case: 25-1611         Document: 00118310432                       Page: 120              Date Filed: 07/08/2025                Entry ID: 6734280

                   Case 1:25-cv-10787-BEM                   Document 38-20                Filed 04/25/25         Page 16 of 60

    30. Remarks
        Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or otherwise
        requested from the grant payment system.




                                                                       Page 2 of 7
                                             Version:11 - 7/14/2022 8:27 PM | Generated on: 7/22/2022 12:21 AM


                                                                                                                     APHA App. 117
Case: 25-1611      Document: 00118310432                       Page: 121              Date Filed: 07/08/2025           Entry ID: 6734280

                Case 1:25-cv-10787-BEM                   Document 38-20                Filed 04/25/25         Page 17 of 60


                                                                   Notice of Award
           RESEARCH
           Department of Health and Human Services
           National Institutes of Health

           NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES

                SECTION I – AWARD DATA – 1R01MD016384-01A1



             Principal Investigator(s):
             Katie M Edwards, PHD

             Award e-mailed to: unlosp@unl.edu

             Dear Authorized Official:

             The National Institutes of Health hereby awards a grant in the amount of $801,820 (see “Award
             Calculation” in Section I and “Terms and Conditions” in Section III) to UNIVERSITY OF NEBRASKA LINCOLN
             in support of the above referenced project. This award is pursuant to the authority of 42 USC 241 42 CFR
             52 and is subject to the requirements of this statute and regulation and of other referenced, incorporated
             or attached terms and conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must
             include an acknowledgment of NIH award support and a disclaimer such as “Research reported in this
             publication was supported by the National Institute On Minority Health And Health Disparities of the
             National Institutes of Health under Award Number R01MD016384. The content is solely the responsibility
             of the authors and does not necessarily represent the official views of the National Institutes of Health.”
             Prior to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC
             in advance to allow for coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a
             reasonable expectation that the design, conduct and reporting of research funded under NIH awards will
             be free from bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with
             the 2011 revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to
             the NIH through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,

             Priscilla Grant
             Grants Management Officer
             NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES

             Additional information follows



                                                                   Page 3 of 7
                                         Version: 11 - 7/14/2022 8:27 PM | Generated on: 7/22/2022 12:21 AM


                                                                                                                 APHA App. 118
Case: 25-1611    Document: 00118310432                     Page: 122              Date Filed: 07/08/2025               Entry ID: 6734280

            Case 1:25-cv-10787-BEM                 Document 38-20                Filed 04/25/25          Page 18 of 60




           Cumulative Award Calculations for this Budget Period (U.S. Dollars)
           Salaries and Wages                                                                                   $119,981
           Fringe Benefits                                                                                       $44,571
           Personnel Costs (Subtotal)                                                                           $164,552
           Consultant Services                                                                                    $7,500
           Materials & Supplies                                                                                   $3,500
           Travel                                                                                                 $1,585
           Other                                                                                                $268,170
           Subawards/Consortium/Contractual Costs                                                                $81,618


           Federal Direct Costs                                                                                 $526,925
           Federal F&A Costs                                                                                    $274,895
           Approved Budget                                                                                      $801,820
           Total Amount of Federal Funds Authorized (Federal Share)                                             $801,820
           TOTAL FEDERAL AWARD AMOUNT                                                                           $801,820

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                $801,820


                          SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                 THIS AWARD                                     CUMULATIVE TOTALS
             1                                     $801,820                                               $801,820
             2                                     $771,707                                               $771,707
             3                                     $767,135                                               $767,135
             4                                     $757,033                                               $757,033
             5                                     $753,439                                               $753,439
           Recommended future year total cost support, subject to the availability of funds and satisfactory progress
           of the project

           Fiscal Information:
           Payment System Identifier:          1470049123A8
           Document Number:                    RMD016384A
           PMS Account Type:                   P (Subaccount)
           Fiscal Year:                        2022

           IC      CAN              2022               2023                2024               2025          2026
           MD      8472687          $801,820           $771,707            $767,135           $757,033      $753,439

           Recommended future year total cost support, subject to the availability of funds and satisfactory progress
           of the project

           NIH Administrative Data:
           PCC: IBB03 / OC: 41021 / Released: Grant, Priscilla 07-15-2022
           Award Processed: 07/22/2022 12:21:32 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 1R01MD016384-01A1

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 1R01MD016384-01A1

                                                             Page 4 of 7
                                   Version: 11 - 7/14/2022 8:27 PM | Generated on: 7/22/2022 12:21 AM


                                                                                                             APHA App. 119
Case: 25-1611     Document: 00118310432                      Page: 123              Date Filed: 07/08/2025           Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-20                Filed 04/25/25         Page 19 of 60

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project
           and is subject to the terms and conditions incorporated either directly or by reference in the following:

                a. The grant program legislation and program regulation cited in this Notice of Award.
                b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                   those included in appropriations acts.
                c. 45 CFR Part 75.
                d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                   Statement, including addenda in effect as of the beginning date of the budget period.
                e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                   progress report when applicable.
                f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but
           non-research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other
           than the rate(s) specified in the award document(s).


           This institution is a signatory to the Federal Demonstration Partnership (FDP) Phase VII Agreement which
           requires active institutional participation in new or ongoing FDP demonstrations and pilots.

           An unobligated balance may be carried over into the next budget period without Grants Management
           Officer prior approval.

           This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity
           identifier (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN) R01MD016384. Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions
           that may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional
           award applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For
           more information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.




           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR
           Part 75, recipients that have currently active Federal grants, cooperative agreements, and procurement
           contracts with cumulative total value greater than $10,000,000 must report and maintain information in
                                                            Page 5 of 7
                                    Version: 11 - 7/14/2022 8:27 PM | Generated on: 7/22/2022 12:21 AM


                                                                                                              APHA App. 120
Case: 25-1611   Document: 00118310432                      Page: 124              Date Filed: 07/08/2025             Entry ID: 6734280

                 Case 1:25-cv-10787-BEM                   Document 38-20                Filed 04/25/25         Page 20 of 60

                 the System for Award Management (SAM) about civil, criminal, and administrative proceedings in
                 connection with the award or performance of a Federal award that reached final disposition within the
                 most recent five-year period. The recipient must also make semiannual disclosures regarding such
                 proceedings. Proceedings information will be made publicly available in the designated integrity and
                 performance system (currently the Federal Awardee Performance and Integrity Information System
                 (FAPIIS)). Full reporting requirements and procedures are found in Appendix XII to 45 CFR Part 75. This
                 term does not apply to NIH fellowships.
                 Treatment of Program Income:
                 Additional Costs

                 SECTION IV – MD SPECIFIC AWARD CONDITIONS – 1R01MD016384-01A1


                Clinical Trial Indicator: No
                This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
                for NIH definition of Clinical Trial.

                 REQUIREMENT: This award is subject to the conditions set forth in PA-20-185, Research Project
                 Grant (Parent R01 Clinical Trial Not Allowed), NIH Guide to Grants and Contracts, 05/05/2020,
                 which is hereby incorporated by reference as special terms and conditions of this award.

                 Copies of this RFA may be accessed at the following internet
                 address: http://www.nih.gov/grants/guide/index.html

                 Copies may also be obtained from the Grants Management Contact indicated in the terms of
                 award.


                 INFORMATION The Initial Review Group has made the following budget
                 recommendations: The committee noted the proposed resources to support the recruitment of
                 the planned sample size was inadequate.


                 INFORMATION: In order to redistribute awards more evenly throughout the year, budget periods
                 are being adjusted. This award is issued with an 8.3-month budget period and with 12 months of
                 support. Continuation awards will cycle each year on April 1st.


                 INFORMATION: Although the budget period start date for this award is July 22nd, this award
                 includes funds for 12 months of support. Future year budget periods will cycle on April
                 1st. Allowable pre-award costs may be charged to this award, in accordance with the conditions
                 outlined in the NIH Grants Policy Statement, and with institutional requirements for prior approval.
                 The NIH GPS can be found on the internet at
                 http://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.


                 INFORMATION: This award reflects the NIMHD’s acceptance of the certification that all key
                 personnel have completed education on the protection of human subjects, in accordance with
                 NIH policy, “Required Education in the Protection of Human Research Participants,” as
                 announced in the June 5, 2000 NIH Guide (revised August 25, 2000)
                 (http://grants.nih.gov/grants/guide/notice-files/NOT-OD-00-039.html).

                 Any individual involved in the design and conduct of the study that is not included in the
                 certification must satisfy this requirement prior to participating in the project. Failure to comply can
                 result in the suspension and/or termination of this award, withholding of support of the
                 continuation award, audit disallowances, and/or other appropriate action.



                                                                    Page 6 of 7
                                          Version: 11 - 7/14/2022 8:27 PM | Generated on: 7/22/2022 12:21 AM


                                                                                                               APHA App. 121
Case: 25-1611    Document: 00118310432                       Page: 125              Date Filed: 07/08/2025                 Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-20                Filed 04/25/25            Page 21 of 60


           SPREADSHEET SUMMARY
           AWARD NUMBER: 1R01MD016384-01A1

           INSTITUTION: UNIVERSITY OF NEBRASKA LINCOLN

           Budget                          Year 1            Year 2            Year 3            Year 4         Year 5
           Salaries and Wages              $119,981          $117,517          $115,053          $115,053       $90,053
           Fringe Benefits                 $44,571           $43,339           $42,107           $42,107        $32,107
           Personnel Costs (Subtotal)      $164,552          $160,856          $157,160          $157,160       $122,160
           Consultant Services             $7,500            $3,125            $3,125            $3,125         $7,500
           Materials & Supplies            $3,500            $1,000            $1,000            $1,000         $1,000
           Travel                          $1,585            $1,585            $1,585            $1,585         $1,585
           Other                           $268,170          $280,580          $281,336          $259,964       $288,278
           Subawards/Consortium/Con        $81,618           $76,395           $76,395           $99,526        $99,526
           tractual Costs
           TOTAL FEDERAL DC                $526,925          $523,541          $520,601          $522,360       $520,049
           TOTAL FEDERAL F&A               $274,895          $248,166          $246,534          $234,673       $233,390
           TOTAL COST                      $801,820          $771,707          $767,135          $757,033       $753,439


           Facilities and Administrative   Year 1            Year 2            Year 3            Year 4         Year 5
           Costs
           F&A Cost Rate 1                 55.5%             55.5%             55.5%             55.5%          55.5%
           F&A Cost Base 1                 $495,307          $447,146          $444,206          $422,834       $420,523
           F&A Costs 1                     $274,895          $248,166          $246,534          $234,673       $233,390




                                                              Page 7 of 7
                                    Version: 11 - 7/14/2022 8:27 PM | Generated on: 7/22/2022 12:21 AM


                                                                                                                 APHA App. 122
Case: 25-1611   Document: 00118310432   Page: 126   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-20
                                  Document 38-20    Filed 04/25/25
                                                    Filed 04/25/25   Page 22
                                                                     Page 22 of
                                                                             of 60
                                                                                60




                         EXHIBIT
                         EXHIBIT B




                                                                        APHA App. 123
                                            Case: 25-1611                 Document: 00118310432   Page: 127     Date Filed: 07/08/2025    Entry ID: 6734280


4/24/25, 1:13 AM                                                     Case 1:25-cv-10787-BEM
                                                                     Case 1:25-cv-10787-BEM   Dachisaa@ntvd8n2
                                                                                               Document 38-20OsemdAvedOAs2aaacpocPage 23 of
                                                                                                                 Filed 04/25/25 Page 23  of 60
                                                                                                                                            60




   Epc                Sexual Violence Prevention
   JANUARY 23, 2024




   About Sexual Violence
   rc



        KEY POINTS

        e    Sexual violence is a significant problem in the United States.

        e    Sexual violence has a profound impact on lifelong health, opportunity, and well-being.




   What is sexual violence?
   Sexual violence is sexual activity when consent is not obtained or freely given. It impacts every community and affects both sexes and people of
   all sexual orientations and ages. Anyone can experience or perpetrate sexual violence.

   The perpetrator of sexual violence is usually someone the survivor knows. This can include a friend, current or former intimate partner, coworker,
   neighbor, or family member. Sexual violence can occur in person, online, or through technology. This includes posting or sharing sexual pictures
   of someone without their consent, or non-consensual sexting.



            Did you know?
            Child sexual abuse is a form of sexual violence. Read more information about child sexual abuse.




                What is sexual violence?




   What        is sexual violence?




   Quick facts and stats
   Researchers know the numbers underestimate this problem because many cases are unreported. Survivors may be ashamed, embarrassed, or
   afraid to tell the police, friends, or family about the violence. Victims may also keep quiet because they have been threatened or do not think
   anyone will help them.

   Sexual violence is common:

   ® Over half of women and almost one in three men have experienced sexual violence involving physical contact during their lifetimes. (a)

   *    One in four women and about one in 26 men have experienced completed or attempted rape. [1]

   * About one in nine men were made to penetrate someone during his lifetime. [1]

   * One in three women and about one in nine men experienced sexual harassment in a public place.[1]

   Sexual violence starts early:

   ®    More than four in five female rape survivors reported that they were first raped before age 25 and almost half were first raped as a minor (i.e.,
        before age 18). (1)

   ®    Nearly eight in 10 male rape survivors reported they were made to penetrate someone before age 25 and about four in 10 were first made to
        penetrate as a minor. [1]



https://www.cde .gov/sexual-violence/about/index html#:~:text=Over half of women and,1                                                                                        1/3


                                                                                                                                                              APHA App. 124
                                           Case: 25-1611                 Document: 00118310432               Page: 128       Date Filed: 07/08/2025        Entry ID: 6734280


4/24/25, 1:13 AM                                                    Case 1:25-cv-10787-BEM
                                                                    Case 1:25-cv-10787-BEM                Dachisam@mtvt8n
                                                                                                        Document 38-20Osea Filed
                                                                                                                            vedOAsemdaacpocPage 24 of
                                                                                                                                 04/25/25 Page 24  of 60
                                                                                                                                                      60



   Some groups are affected more than others. Women                               and racial and ethnic minority groups experience a higher burden of sexual violence.
                                                                                                                                                                   [1] [2] [3]
   [4][5] For example, more than two in five non-Hispanic American Indian or Alaska Native and non-Hispanic multiracial women were raped in
   their lifetime. (1)

   Sexual violence is also costly. Recent estimates put the lifetime cost of rape at $122,461 per survivor, including medical care, lost productivity
   from work, and criminal justice costs.[6]




   Outcomes
   Some consequences are physical, like bruising and genital injuries, sexually transmitted infections, and pregnancy (for women). Some
   consequences are psychological, such as depression, anxiety, and suicidal thoughts.[7]

   The consequences may be chronic. Survivors may suffer from post-traumatic stress disorder and experience recurring reproductive,
   gastrointestinal, cardiovascular, and sexual health problems. [7]

   Sexual violence is also linked to negative health behaviors. Sexual violence survivors are more likely to smoke, abuse alcohol, use drugs, and
   engage in risky sexual activity.
                                  [8]

   The trauma from sexual violence may impact a survivor's employment. This refers to time off from work, diminished performance, job loss, or
   inability to work. These issues disrupt earning power and have a long-term effect on the economic well-being of survivors and their families.
   Coping and completing everyday tasks after victimization can be challenging. Survivors may have difficulty maintaining personal relationships,
   returning to work or school, and regaining a sense of normalcy. [7]

   Sexual violence is also connected to other forms of violence. For example, girls who have been sexually abused are more likely to experience
   additional sexual violence. They are also more likely to become victims of intimate partner violence in adulthood. Bullying perpetration in early
   middle school is linked to sexual harassment perpetration in high school.[9]




    Prevention
   Sexual violence can be prevented. Certain factors my increase or decrease the risk of perpetrating or experiencing sexual violence.

   Preventing sexual violence requires understanding and addressing the factors that put people at risk for or protect them from violence. We must
   also understand how historical trauma and structural inequalities impact health. [1]

   Changing social norms, teaching skills, empowering girls and women, and creating protective environments can help prevent and reduce sexual
   violence. We all have a role to play in prevention.



         Need help? Know someone who does?
         Rape, Abuse and Incest National Network's (RAINN) National Sexual Assault Hotline @

         Call 800.656.HOPE            (4673) to be connected with a trained staff member from a sexual assault service provider in your area.




     SOURCES



         CONTENT SOURCE:
         National Center for Injury Prevention and Control



   REFERENCES


    1.    Basile KC, Smith SG, Kresnow M, Khatiwada S, & Leemis RW. (2022). The National Intimate Partner and Sexual Violence Survey: 2016/2017
          Report on Sexual Violence. Atlanta, GA: National Center for Injury Prevention and Control, Centers for Disease Control and Prevention.

    2.    Basile KC, Breiding MJ, Smith SG. (2016). Disability and risk of recent sexual violence in the United States. American journal of public health,
          106(5):928-33

    3.    Thurston, A. M., Stockl, H.,            & Ranganathan, M. (2021). Natural hazards, disasters and violence against women and girls: A global mixed-
          methods systematic review. BMJ Global Health, 6(4), e€004377. https://www.doi.org/10.1136/bmjgh-2020-004377 @

    4.    National Sexual Violence Resource Center. (2021) Sexual Violence in Disasters. https://www.nsvrc.org/sites/default/files/2021-
          11/sexual_violence_in_disasters_final508_0.pdf                                 4

    5.    Deering, K. N., Amin, A., Shoveller, J., Nesbitt, A., Garcia-Moreno, C., Duff, P., ... & Shannon, K. (2014).                A systematic review of the correlates of
          violence against sex workers. American journal of public health, 104(5), e42-e54.

    6.    Peterson C, DeGue S, Florence C, Lokey C. (2017). Lifetime Economic Burden of Rape in the United States. American Journal of Preventive
          Medicine 52(6): 691-701.




https://www.cdc .gov/sexual-violence/about/index html#:~-text=Over half of women and,1


                                                                                                                                                                                 APHA App. 125
                                             Case: 25-1611                 Document: 00118310432     Page: 129          Date Filed: 07/08/2025              Entry ID: 6734280

4/24/25, 1:13 AM                                                   Case 1:25-cv-10787-BEM     Document       38-20| SexualFiled
                                                                                               About Sexual Violence              04/25/25
                                                                                                                           Violence Prevention | CDCPage 25 of 60




   7.   Basile KC and Smith SG. (2011). Sexual Violence Victimization of Women: Prevalence, Characteristics, and the Role of Public Health and
        Prevention. American Journal of Lifestyle Medicine (5): 407-417.

   8.   Basile KC, Clayton HB, Rostad WL, & Leemis RW. (2020). Sexual violence victimization of youth and health risk behaviors. American Journal
        of Preventive Medicine, 58(4), 570-579.
   9.   Espelage DL, Basile KC, Hamburger ME. (2012). Bullying perpetration and subsequent sexual violence perpetration among middle school
        students. Journal of Adolescent Health 50(1): 60-65.




https://www.cdc.gov/sexual-violence/about/index.html#:~:text=Over half of women and,1                                                                                                           3/3
                                                                                                                                                                                APHA App. 126
Case: 25-1611   Document: 00118310432   Page: 130   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-20
                                  Document 38-20    Filed 04/25/25
                                                    Filed 04/25/25   Page 26
                                                                     Page 26 of
                                                                             of 60
                                                                                60




                         EXHIBIT
                         EXHIBIT C




                                                                        APHA App. 127
Case: 25-1611       Document: 00118310432                  Page: 131    Date Filed: 07/08/2025         Entry ID: 6734280

          Case 1:25-cv-10787-BEM                 Document 38-20        Filed 04/25/25      Page 27 of 60




     March 12, 2025

     Craig Goodrich
     University of Nebraska Lincoln
     Email: cgoodrich3@unl.edu


     Dear Craig Goodrich:
     Funding for Project Number is 5 R01 MD016384-03 hereby terminated pursuant to the 2024 National
     Institutes of Health (“NIH”) Grants Policy Statement,1 and 2 C.F.R. § 200.340(a)(2). This letter constitutes
     a notice of termination.2
            The 2024 Policy Statement applies to your project because NIH approved your grant on
     August 22, 2024, and “obligations generally should be determined by reference to the law in effect
     when the grants were made.” 3
             The 2024 Policy Statement “includes the terms and conditions of NIH grants and
     cooperative agreements and is incorporated by reference in all NIH grant and cooperative
     agreement awards.” 4 According to the Policy Statement, “NIH may … terminate the grant in
     whole or in part as outlined in 2 CFR Part 200.340.” 5 At the time your grant was issued, 2 C.F.R.
     § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity,
     to the greatest extent authorized by law, if an award no longer effectuates the program goals or
     agency priorities.”
             This award no longer effectuates agency priorities. Research programs based on gender
     identity are often unscientific, have little identifiable return on investment, and do nothing to
     enhance the health of many Americans. Many such studies ignore, rather than seriously examine,
     biological realities. It is the policy of NIH not to prioritize these research programs. NIH is
     obligated to carefully steward grant awards to ensure taxpayer dollars are used in ways that benefit
     the American people and improve their quality of life. Your project does not satisfy these criteria.
             Although “NIH generally will suspend (rather than immediately terminate) a grant and
     allow the recipient an opportunity to take appropriate corrective action before NIH makes a
     termination decision,” 6 no corrective action is possible here. The premise of Project Number 5
     R01 MD 016384-03 is incompatible with agency priorities, and no modification of the project could
     align the project with agency priorities.


     1
       https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
     2
       2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
     3
       Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
     4
       2024 Policy Statement at IIA-1.
     5
       Id. at IIA-155.
     6
       2024 Policy Statement at IIA-156.
                                                                                                APHA App. 128
Case: 25-1611      Document: 00118310432              Page: 132    Date Filed: 07/08/2025        Entry ID: 6734280

          Case 1:25-cv-10787-BEM                Document 38-20    Filed 04/25/25     Page 28 of 60




             Costs resulting from financial obligations incurred after termination are not allowable. 7
     Nothing in this notice excuses either NIH or you from complying with the closeout obligations
     imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
     Funding Accountability and Transparency Act or the Office of Management and Budget’s
     regulations to USAspending.gov. 8
     Administrative Appeal
              You may object and provide information and documentation challenging this termination. 9
     NIH has established a first-level grant appeal procedure that must be exhausted before you may
     file an appeal with the Departmental Appeals Board. 10
             You must submit a request for such review to Dr. Matt Memoli no later than 30 days after
     the written notification of the determination is received, except that if you show good cause why
     an extension of time should be granted, Dr. Memoli may grant an extension of time. 11
             The request for review must include a copy of the adverse determination, must identify the
     issue(s) in dispute, and must contain a full statement of your position with respect to such issue(s)
     and the pertinent facts and reasons in support of your position. In addition to the required written
     statement, you shall provide copies of any documents supporting your claim. 12


     Sincerely,


     Michelle G. Bulls, on behalf Priscilla Grant Chief Grants Management Officer, NIMHD
     Director, Office of Policy for Extramural Administration
     Office of Extramural Research




     7
       See 2 C.F.R. § 200.343 (2024).
     8
       2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
     9
       See 45 C.F.R. § 75.374.
     10
        See 42 C.F.R. Part 50, Subpart D.
     11
        Id. § 50.406(a).
     12
        Id. § 50.406(b).
                                                                                          APHA App. 129
Case: 25-1611   Document: 00118310432     Page: 133      Date Filed: 07/08/2025   Entry ID: 6734280




            Case 1:25-cv-10787-BEM
            Case 1:25-cv-10787-BEM      Document 38-20
                                        Document 38-20     Filed 04/25/25
                                                           Filed 04/25/25   Page 29
                                                                            Page 29 of
                                                                                    of 60




                                                                            APHA App. 130
Case: 25-1611   Document: 00118310432   Page: 134   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-20
                                  Document 38-20    Filed 04/25/25
                                                    Filed 04/25/25   Page 30
                                                                     Page 30 of
                                                                             of 60
                                                                                60




                        EXHIBIT
                        EXHIBIT D




                                                                        APHA App. 131
Case: 25-1611          Document: 00118310432                          Page: 135                         Date Filed: 07/08/2025                           Entry ID: 6734280

                      Department
                    Case         of Health and Human Document
                         1:25-cv-10787-BEM           Services 38-20                                      Filed 04/25/25            Page 31 of 60Notice of Award
                        National Institutes of Health                                                                                                 FAIN# R01MD016384
                        NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH                                                                                Federal Award Date
                        DISPARITIES                                                                                                                            03/20/2025



    Recipient Information                           Federal Award Information
    1. Recipient Name
       BOARD OF REGENTS OF THE UNIVERSITY
       OF NEBRASKA                                  11. Award Number
       2200 VINE ST # 830861                           5R01MD016384-03
       LINCOLN, NE 68503
                                                    12. Unique Federal Award Identification Number (FAIN)
    2. Congressional District of Recipient             R01MD016384
       01
                                                    13. Statutory Authority
    3. Payment System Identifier (ID)                  42 USC 241 42 CFR 52
       1470049123A8
                                                    14. Federal Award Project Title
    4. Employer Identification Number (EIN)            An Innovative, Prospective Model to Understand Risk and Protective Factors for Sexual
       470049123                                       Assault Experiences and Outcomes Among Sexual Minority Men

    5. Data Universal Numbering System (DUNS)       15. Assistance Listing Number
       555456995                                       93.307

    6. Recipient’s Unique Entity Identifier         16. Assistance Listing Program Title
       HTQ6K6NJFHA6                                    Minority Health and Health Disparities Research

    7. Project Director or Principal Investigator   17. Award Action Type
       Katie M Edwards, PHD                            Non-Competing Continuation (REVISED)
       Associate Professor
       katie.edwards@unl.edu                        18. Is the Award R&D?
       6034223207                                      Yes

    8. Authorized Official                                                Summary Federal Award Financial Information
       Craig Goodrich                                19. Budget Period Start Date 04/01/2024 – End Date 12/31/2024
                                                     20. Total Amount of Federal Funds Obligated by this Action                                                                 $0
                                                              20 a. Direct Cost Amount                                                                                          $0
                                                              20 b. Indirect Cost Amount                                                                                        $0
                                                     21. Authorized Carryover
    Federal Agency Information                       22. Offset
    9. Awarding Agency Contact Information           23. Total Amount of Federal Funds Obligated this budget period                                                  $767,135
       Sy Shackleford                                24. Total Approved Cost Sharing or Matching, where applicable                                                              $0
                                                     25. Total Federal and Non-Federal Approved this Budget Period                                                   $767,135
       NATIONAL INSTITUTE ON MINORITY                                      ---------------------------------------------------------------------------------------------------------
       HEALTH AND HEALTH DISPARITIES                 26. Project Period Start Date 07/22/2022 – End Date 12/31/2024
       shacklefords@mail.nih.gov                     27. Total Amount of the Federal Award including Approved Cost                                                $2,340,662
       301-402-1366                                      Sharing or Matching this Project Period
    10. Program Official Contact Information
       ARIELLE SAMANTHA Gillman                      28. Authorized Treatment of Program Income
       Program Officer                                  Additional Costs
       NATIONAL INSTITUTE ON MINORITY
       HEALTH AND HEALTH DISPARITIES                 29. Grants Management Officer - Signature
       arielle.gillman@nih.gov                          Priscilla Grant
       301-402-1366
     30. Remarks
         Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or
         otherwise requested from the grant payment system.




                                                                           Page 1 of 7
                                                     Version:25 - 2/15/2024 9:51 AM | Generated on: 3/21/2025 12:06 AM




                                                                                                                                            APHA App. 132
Case: 25-1611      Document: 00118310432                        Page: 136                          Date Filed: 07/08/2025    Entry ID: 6734280

                Case 1:25-cv-10787-BEM                Document 38-20                               Filed 04/25/25   Page 32 of 60



                                                                       Notice of Award
           RESEARCH
           Department of Health and Human Services
           National Institutes of Health

           NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES

                SECTION I – AWARD DATA – 5R01MD016384-03 REVISED



             Principal Investigator(s):
             Katie M Edwards, PHD

             Award e-mailed to: unlospawards@unl.edu

             Dear Authorized Official:

             The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and “Terms
             and Conditions” in Section III) to UNIVERSITY OF NEBRASKA LINCOLN in support of the above referenced
             project. This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject to the
             requirements of this statute and regulation and of other referenced, incorporated or attached terms and
             conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must include
             an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
             was supported by the National Institute On Minority Health And Health Disparities of the National Institutes
             of Health under Award Number R01MD016384. The content is solely the responsibility of the authors and
             does not necessarily represent the official views of the National Institutes of Health.” Prior to issuing a
             press release concerning the outcome of this research, please notify the NIH awarding IC in advance to
             allow for coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a reasonable
             expectation that the design, conduct and reporting of research funded under NIH awards will be free from
             bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
             revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
             through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,




             Priscilla Grant
             Grants Management Officer
             NATIONAL INSTITUTE ON MINORITY HEALTH AND HEALTH DISPARITIES

             Additional information follows




             Cumulative Award Calculations for this Budget Period (U.S. Dollars)

                                                                      Page 2 of 7
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/21/2025 12:06 AM



                                                                                                                       APHA App. 133
Case: 25-1611     Document: 00118310432                           Page: 137                         Date Filed: 07/08/2025     Entry ID: 6734280

            Case 1:25-cv-10787-BEM                   Document 38-20                               Filed 04/25/25   Page 33 of 60

           Salaries and Wages                                                                                            $115,053
           Fringe Benefits                                                                                                $42,107
           Personnel Costs (Subtotal)                                                                                    $157,160
           Consultant Services                                                                                             $3,125
           Materials & Supplies                                                                                            $1,000
           Travel                                                                                                          $1,585
           Other                                                                                                         $281,336
           Subawards/Consortium/Contractual Costs                                                                         $76,395

           Federal Direct Costs                                                                                          $520,601
           Federal F&A Costs                                                                                             $246,534
           Approved Budget                                                                                               $767,135
           Total Amount of Federal Funds Authorized (Federal Share)                                                      $767,135
           TOTAL FEDERAL AWARD AMOUNT                                                                                    $767,135

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                               $0


                               SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                    THIS AWARD                             CUMULATIVE TOTALS
             3                                   $767,135                                                               $767,135

           Fiscal Information:
           Payment System Identifier:          1470049123A8
           Document Number:                    RMD016384A
           PMS Account Type:                   P (Subaccount)
           Fiscal Year:                        2024

           IC        CAN                                                                2024
           MD        8472687                                                            $767,135



           NIH Administrative Data:
           PCC: IBB03AG / OC: 41025 / Released: 03/20/2025
           Award Processed: 03/21/2025 12:06:15 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 5R01MD016384-03 REVISED

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 5R01MD016384-03 REVISED

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                 a. The grant program legislation and program regulation cited in this Notice of Award.
                 b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                    those included in appropriations acts.
                 c. 45 CFR Part 75.
                 d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                    Statement, including addenda in effect as of the beginning date of the budget period.
                 e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                    progress report when applicable.
                 f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
                                                                     Page 3 of 7
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/21/2025 12:06 AM



                                                                                                                       APHA App. 134
Case: 25-1611     Document: 00118310432                               Page: 138                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                      Document 38-20                               Filed 04/25/25    Page 34 of 60

           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
           research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
           the rate(s) specified in the award document(s).


           This institution is a signatory to the Federal Demonstration Partnership (FDP) Phase VII Agreement which
           requires active institutional participation in new or ongoing FDP demonstrations and pilots.

           An unobligated balance may be carried over into the next budget period without Grants Management Officer
           prior approval.

           This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
           (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN) R01MD016384. Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
           may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
           applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
           information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


           This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
           Statement Section 8.6 Closeout for complete closeout requirements at:
           http://grants.nih.gov/grants/policy/policy.htm#gps.

           A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
           Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
           Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
           additional information on this submission requirement. The final FFR must indicate the exact balance of
           unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
           between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
           awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
           expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
           expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

           A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
           conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
           568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
           Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
           G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
           U42, U45, UC6, UC7, UR2, X01, X02.

           Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
           (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
           renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
           well. Instructions for preparing an Interim or Final RPPR are at:
           https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
           the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
           reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
           lay person audience.

           NIH requires electronic submission of the final invention statement through the Closeout feature in the
           Commons.

                                                                       Page 4 of 7
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/21/2025 12:06 AM



                                                                                                                           APHA App. 135
Case: 25-1611       Document: 00118310432                            Page: 139                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-20                               Filed 04/25/25    Page 35 of 60

           NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
           then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
           electronically as noted above. If not already submitted, the Final Invention Statement is required and should
           be sent directly to the assigned Grants Management Specialist.


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
           and https://www.hhs.gov/.

                ·    Recipients of FFA must ensure that their programs are accessible to persons with limited English
                     proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                     meaningful access to programs or activities by limited English proficient individuals,
                     see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                     sheet-guidance/index.html and https://www.lep.gov.
                ·    For information on an institution’s specific legal obligations for serving qualified individuals with
                     disabilities, including providing program access, reasonable modifications, and to provide effective
                     communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                ·    HHS funded health and education programs must be administered in an environment free of sexual
                     harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                     For information about NIH's commitment to supporting a safe and respectful work environment,
                     who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                     individuals supported on NIH-funded awards, please see
                     https://grants.nih.gov/grants/policy/harassment.htm.
                ·    For guidance on administering programs in compliance with applicable federal religious
                     nondiscrimination laws and applicable federal conscience protection and associated anti-
                     discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                     https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


           Treatment of Program Income:
           Additional Costs

           SECTION IV – MD SPECIFIC AWARD CONDITIONS – 5R01MD016384-03 REVISED


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.

           INFORMATION: It is the policy of NIH not to prioritize research activities that focus on gender identity. This
           award no longer effectuates agency priorities. Research programs based on gender identity are often
           unscientific, have little identifiable return on investment, and do nothing to enhance the health of many
           Americans. Many such studies ignore, rather than seriously examine, biological realities. It is the policy of
           NIH not to prioritize these research programs. NIH is obligated to carefully steward grant awards to ensure
           taxpayer dollars are used in ways that benefit the American people and improve their quality of life. Your
           project does not satisfy these criteria. Therefore, this project is terminated. The University of Nebraska
           Lincoln may request funds to support patient safety and orderly closeout of the project. Funds used to

                                                                      Page 5 of 7
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/21/2025 12:06 AM



                                                                                                                          APHA App. 136
Case: 25-1611     Document: 00118310432                              Page: 140                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-20                               Filed 04/25/25    Page 36 of 60

           support any other research activities will be disallowed and recovered. Please be advised that your
           organization, as part of the orderly closeout process will need to submit the necessary closeout documents
           (i.e., Final Research Performance Progress Report, Final Invention Statement, and the Final Federal Financial
           Report (FFR), as applicable) within 120 days of the end of this grant.

           NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as implemented in NIH GPS
           Section 8.5.2. This revised award represents the final decision of the NIH. It shall be the final decision of the
           Department of Health and Human Services (HHS) unless within 30 days after receiving this decision you
           mail or email a written notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
           appeal justification, total amount in dispute, and any material or documentation that will support your
           position. Finally, the appeal must be signed by the institutional official authorized to sign award applications
           and must be dated no later than 30 days after the date of this notice.

           THE FOLLOWING TERMS FROM THE PREVIOUS NOTICE OF AWARD ISSUED ON 03/13/2025 ALSO APPLY
           TO THIS AWARD:

           INFORMATION: In accordance with the relinquishing statement dated December 11th, 2024, this revised
           award terminates support for this project on December 31st, 2024.

           It is the policy of NIH not to prioritize research activities that focus on gender identity. This project no longer
           effectuates agency priorities. Therefore, this project is terminated. The University of Nebraska Lincoln may
           request funds to support patient safety and orderly closeout of the project. Funds used to support any other
           research activities will be disallowed and recovered. Please be advised that your organization, as part of the
           orderly closeout process will need to submit the necessary closeout documents (i.e., Performance Progress
           Report, Final Invention Statement, and the Final Federal Financial Report (FFR), as applicable) within 120
           days of the end of this grant.

           NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as implemented in NIH GPS
           Section 8.5.2. This revised award represents the final decision of the NIH. It shall be the final decision of the
           Department of Health and Human Services (HHS) unless within 30 days after receiving this decision you
           mail or email a written notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
           appeal justification, total amount in dispute, and any material or documentation that will support your
           position. Finally, the appeal must be signed by the institutional official authorized to sign award applications
           and must be dated no later than 30 days after the date of this notice.

           THE FOLLOWING TERMS FROM THE PREVIOUS NOTICE OF AWARD ISSUED ON 06/21/2024 ALSO APPLY
           TO THIS AWARD:

           REQUIREMENT: This award is subject to the conditions set forth in PA-20-185, Research Project Grant
           (Parent R01 Clinical Trial Not Allowed), NIH Guide to Grants and Contracts, 05/05/2020, which is hereby
           incorporated by reference as special terms and conditions of this award.

           Copies of this RFA may be accessed at the following internet
           address: https://grants.nih.gov/grants/guide/pa-files/PA-20-185.html

           Copies may also be obtained from the Grants Management Contact indicated in the terms of award.


           INFORMATION: This award reflects the NIMHD’s acceptance of the certification that all key personnel have
           completed education on the protection of human subjects, in accordance with NIH policy, “Required
           Education in the Protection of Human Research Participants,” as announced in the June 5, 2000 NIH Guide
           (revised August 25, 2000) (http://grants.nih.gov/grants/guide/notice-files/NOT-OD-00-039.html).

           Any individual involved in the design and conduct of the study that is not included in the certification must
           satisfy this requirement prior to participating in the project. Failure to comply can result in the suspension
           and/or termination of this award, withholding of support of the continuation award, audit disallowances,
           and/or other appropriate action.




           SPREADSHEET SUMMARY
           AWARD NUMBER: 5R01MD016384-03 REVISED

           INSTITUTION: UNIVERSITY OF NEBRASKA LINCOLN
                                                                      Page 6 of 7
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/21/2025 12:06 AM



                                                                                                                          APHA App. 137
Case: 25-1611     Document: 00118310432                                Page: 141                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                       Document 38-20                               Filed 04/25/25    Page 37 of 60


           Budget                                                         Year 3
           Salaries and Wages                                             $115,053
           Fringe Benefits                                                $42,107
           Personnel Costs (Subtotal)                                     $157,160
           Consultant Services                                            $3,125
           Materials & Supplies                                           $1,000
           Travel                                                         $1,585
           Other                                                          $281,336
           Subawards/Consortium/Contractual Costs                         $76,395
           TOTAL FEDERAL DC                                               $520,601
           TOTAL FEDERAL F&A                                              $246,534
           TOTAL COST                                                     $767,135


           Facilities and Administrative Costs                            Year 3
           F&A Cost Rate 1                                                55.5%
           F&A Cost Base 1                                                $444,206
           F&A Costs 1                                                    $246,534




                                                                        Page 7 of 7
                                                 Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/21/2025 12:06 AM



                                                                                                                            APHA App. 138
Case: 25-1611   Document: 00118310432   Page: 142   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-20
                                  Document 38-20    Filed 04/25/25
                                                    Filed 04/25/25   Page 38
                                                                     Page 38 of
                                                                             of 60
                                                                                60




                         EXHIBIT
                         EXHIBIT E




                                                                        APHA App. 139
Case: 25-1611          Document: 00118310432                         Page: 143                 Date Filed: 07/08/2025                           Entry ID: 6734280

                     Department
                   Case          of Health and Human
                        1:25-cv-10787-BEM            Services
                                               Document  38-20                                 Filed 04/25/25                           60 of Award
                                                                                                                             Page 39 ofNotice
                        National Institutes of Health                                                                                         FAIN# R34AA030662
                        NATIONAL INSTITUTE ON ALCOHOL ABUSE AND ALCOHOLISM                                                                       Federal Award Date
                                                                                                                                                         10/12/2023



    Recipient Information                               Federal Award Information
    1. Recipient Name
       THE REGENTS OF THE UNIVERSITY OF
                                                       11. Award Number
       COLORADO
                                                          1R34AA030662-01A1
       1420 AUSTIN BLUFFS PKWY
       COLORADO SPRINGS, CO 80918
                                                       12. Unique Federal Award Identification Number (FAIN)
                                                          R34AA030662
    2. Congressional District of Recipient
       05
                                                       13. Statutory Authority
                                                          42 USC 241 42 CFR 52
    3. Payment System Identifier (ID)
       1846000555E7
                                                       14. Federal Award Project Title
                                                          An Online Family-based Program to Prevent Alcohol Use and Dating and Sexual
    4. Employer Identification Number (EIN)
                                                          Violence among Sexual and Gender Minority Youth
       846000555
                                                       15. Assistance Listing Number
    5. Data Universal Numbering System (DUNS)
                                                          93.273
       186192829
                                                       16. Assistance Listing Program Title
    6. Recipient’s Unique Entity Identifier
                                                          Alcohol Research Programs
       RH87YDXC1AY5
                                                       17. Award Action Type
    7. Project Director or Principal Investigator
                                                          New Competing (REVISED)
       Heather Littleton, PHD (Contact)
                                                       18. Is the Award R&D?
      hlittlet@uccs.edu
                                                          Yes
      252-916-2976

    8. Authorized Official                                                Summary Federal Award Financial Information
       Gwendolyn A. Logan Gennaro                       19. Budget Period Start Date 09/01/2023 – End Date 08/31/2026
                                                        20. Total Amount of Federal Funds Obligated by this Action                                                   $0
                                                                  20 a. Direct Cost Amount                                                                           $0
                                                                  20 b. Indirect Cost Amount                                                                         $0
                                                        21. Authorized Carryover
    Federal Agency Information                          22. Offset
    9. Awarding Agency Contact Information              23. Total Amount of Federal Funds Obligated this budget period                                      $653,281
       Donna Stringfield                                24. Total Approved Cost Sharing or Matching, where applicable                                                $0
       Extramural Support Assistant                     25. Total Federal and Non-Federal Approved this Budget Period                                       $653,281
       NATIONAL INSTITUTE ON ALCOHOL ABUSE                     ---------------------------------------------------------------------------------------------------------
       AND ALCOHOLISM                                   26. Project Period Start Date 09/01/2023 – End Date 08/31/2026
       donna.stringfield@nih.gov                        27. Total Amount of the Federal Award including Approved Cost                                       $653,281
       301-443-3851                                         Sharing or Matching this Project Period
    10. Program Official Contact Information
       TATIANA NIKOLAYEVNA Balachova         28. Authorized Treatment of Program Income
                                                Additional Costs
       NATIONAL INSTITUTE ON ALCOHOL ABUSE
       AND ALCOHOLISM                        29. Grants Management Officer - Signature
       tatiana.balachova@nih.gov                Lauren Early
       301-443-5726
    30. Remarks
        Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or otherwise
        requested from the grant payment system.


                                                                         Page 1 of 9
                                              Version:13 - 8/3/2022 12:59 PM | Generated on: 10/12/2023 12:03 AM



                                                                                                                                    APHA App. 140
Case: 25-1611      Document: 00118310432                    Page: 144              Date Filed: 07/08/2025           Entry ID: 6734280

                Case 1:25-cv-10787-BEM               Document 38-20                Filed 04/25/25          Page 40 of 60


                                                                Notice of Award
           CLINICAL TRIAL PLANNING GRANT
           Department of Health and Human Services
           National Institutes of Health

           NATIONAL INSTITUTE ON ALCOHOL ABUSE AND ALCOHOLISM

                SECTION I – AWARD DATA – 1R34AA030662-01A1 REVISED



             Principal Investigator(s):
             Katie M Edwards, PHD
             Heather Littleton (contact), PHD

             Award e-mailed to: osp@uccs.edu

             Dear Authorized Official:

             The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and
             “Terms and Conditions” in Section III) to University of Colorado Colorado Springs in support of the above
             referenced project. This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject to the
             requirements of this statute and regulation and of other referenced, incorporated or attached terms and
             conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must
             include an acknowledgment of NIH award support and a disclaimer such as “Research reported in this
             publication was supported by the National Institute On Alcohol Abuse And Alcoholism of the National
             Institutes of Health under Award Number R34AA030662. The content is solely the responsibility of the
             authors and does not necessarily represent the official views of the National Institutes of Health.” Prior
             to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC in
             advance to allow for coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a
             reasonable expectation that the design, conduct and reporting of research funded under NIH awards will
             be free from bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with
             the 2011 revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to
             the NIH through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,

             Lauren Early
             Grants Management Officer
             NATIONAL INSTITUTE ON ALCOHOL ABUSE AND ALCOHOLISM

             Additional information follows


                                                                Page 2 of 9
                                     Version: 13 - 8/3/2022 12:59 PM | Generated on: 10/12/2023 12:03 AM


                                                                                                              APHA App. 141
Case: 25-1611     Document: 00118310432                      Page: 145              Date Filed: 07/08/2025            Entry ID: 6734280

            Case 1:25-cv-10787-BEM                  Document 38-20                Filed 04/25/25          Page 41 of 60




           Cumulative Award Calculations for this Budget Period (U.S. Dollars)
           Salaries and Wages                                                                                   $182,211
           Fringe Benefits                                                                                       $61,770
           Personnel Costs (Subtotal)                                                                           $243,981
           Consultant Services                                                                                   $12,181
           Travel                                                                                                 $3,852
           Other                                                                                                 $77,005
           Subawards/Consortium/Contractual Costs                                                               $149,733


           Federal Direct Costs                                                                                 $486,752
           Federal F&A Costs                                                                                    $166,529
           Approved Budget                                                                                      $653,281
           Total Amount of Federal Funds Authorized (Federal Share)                                             $653,281
           TOTAL FEDERAL AWARD AMOUNT                                                                           $653,281

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                      $0


                               SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                    THIS AWARD                              CUMULATIVE TOTALS
             1                                   $653,281                                                      $653,281

           Fiscal Information:
           Payment System Identifier:          1846000555E7
           Document Number:                    RAA030662A
           PMS Account Type:                   P (Subaccount)
           Fiscal Year:                        2023

           IC        CAN                                                     2023
           AA        8484370                                                 $653,281



           NIH Administrative Data:
           PCC: AP TD / OC: 41021 / Released: Early, Lauren 10/11/2023
           Award Processed: 10/12/2023 12:03:16 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 1R34AA030662-01A1 REVISED

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 1R34AA030662-01A1 REVISED

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project
           and is subject to the terms and conditions incorporated either directly or by reference in the following:

                 a. The grant program legislation and program regulation cited in this Notice of Award.
                 b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                    those included in appropriations acts.
                 c. 45 CFR Part 75.
                                                               Page 3 of 9
                                    Version: 13 - 8/3/2022 12:59 PM | Generated on: 10/12/2023 12:03 AM


                                                                                                               APHA App. 142
Case: 25-1611        Document: 00118310432                    Page: 146              Date Filed: 07/08/2025            Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-20                Filed 04/25/25          Page 42 of 60

                d.   National Policy Requirements and all other requirements described in the NIH Grants Policy
                     Statement, including addenda in effect as of the beginning date of the budget period.
                e.   Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                     progress report when applicable.
                f.   This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but
           non-research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other
           than the rate(s) specified in the award document(s).


           An unobligated balance may be carried over into the next budget period without Grants Management
           Officer prior approval.

           MULTI-YEAR FUNDED AWARD: This is a multi-year funded award. A progress report is due annually on
           or before the anniversary of the budget/project period start date of the award, in accord with the
           instructions posted at: http://grants.nih.gov/grants/policy/myf.htm.

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity
           identifier (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN) R34AA030662. Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions
           that may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional
           award applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For
           more information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.

           This award provides support for one or more clinical trials. By law (Title VIII, Section 801 of Public Law
           110-85), the “responsible party” must register “applicable clinical trials” on the ClinicalTrials.gov Protocol
           Registration System Information Website. NIH encourages registration of all trials whether required under
           the law or not. For more information, see http://grants.nih.gov/ClinicalTrials_fdaaa/
            This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
           Statement Section 8.6 Closeout for complete closeout requirements at:
           http://grants.nih.gov/grants/policy/policy.htm#gps.

           A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the eRA Commons
           (Commons) within 120 days of the period of performance end date; see the NIH Grants Policy Statement
           Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for additional
           information on this submission requirement. The final FFR must indicate the exact balance of unobligated
           funds and may not reflect any unliquidated obligations. There must be no discrepancies between the final
           FFR expenditure data and the Payment Management System's (PMS) quarterly cash transaction data. A
                                                            Page 4 of 9
                                    Version: 13 - 8/3/2022 12:59 PM | Generated on: 10/12/2023 12:03 AM


                                                                                                               APHA App. 143
Case: 25-1611     Document: 00118310432                       Page: 147              Date Filed: 07/08/2025            Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-20                Filed 04/25/25          Page 43 of 60

           final quarterly federal cash transaction report is not required for awards in PMS B subaccounts (i.e.,
           awards to foreign entities and to Federal agencies). NIH will close the awards using the last recorded cash
           drawdown level in PMS for awards that do not require a final FFR on expenditures or quarterly federal
           cash transaction reporting. It is important to note that for financial closeout, if a grantee fails to submit a
           required final expenditure FFR, NIH will close the grant using the last recorded cash drawdown level. If the
           grantee submits a final expenditure FFR but does not reconcile any discrepancies between expenditures
           reported on the final expenditure FFR and the last cash report to PMS, NIH will close the award at the
           lower amount. This could be considered a debt or result in disallowed costs.

           A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
           conference or cancer education grants) must be submitted within 120 days of the expiration date. The
           HHS 568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not
           apply to Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71,
           DP7, G07, G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15,
           U13, U14, U41, U42, U45, UC6, UC7, UR2, X01, X02.

           Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
           (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a
           competitive renewal application is submitted prior to that date, then an Interim RPPR must be submitted
           by that date as well. Instructions for preparing an Interim or Final RPPR are at:
           https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth
           in the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that
           data reported within Section I of the Interim and Final RPPR forms will be made public and should be
           written for a lay person audience.

           NIH strongly encourages electronic submission of the final invention statement through the Closeout
           feature in the Commons, but will accept an email or hard copy submission as indicated below.

           Email: The final invention statement may be e-mailed as PDF attachments to:
           NIHCloseoutCenter@mail.nih.gov.

           Hard copy: Paper submissions of the final invention statement may be faxed to the NIH Division of Central
           Grants Processing, Grants Closeout Center, at 301-480-2304, or mailed to:

           National Institutes of Health
           Office of Extramural Research
           Division of Central Grants Processing
           Grants Closeout Center
           6705 Rockledge Drive
           Suite 5016, MSC 7986
           Bethesda, MD 20892-7986 (for regular or U.S. Postal Service Express mail)
           Bethesda, MD 20817 (for other courier/express deliveries only)

           NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another
           institution, then a Final RPPR is not required. However, a final expenditure FFR is required and should be
           submitted electronically as noted above. If not already submitted, the Final Invention Statement is
           required and should be sent directly to the assigned Grants Management Specialist.


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-
                                                             Page 5 of 9
                                    Version: 13 - 8/3/2022 12:59 PM | Generated on: 10/12/2023 12:03 AM


                                                                                                               APHA App. 144
Case: 25-1611       Document: 00118310432                      Page: 148              Date Filed: 07/08/2025           Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-20                Filed 04/25/25          Page 44 of 60

           obligations/index.html and https://www.hhs.gov/.

                •    Recipients of FFA must ensure that their programs are accessible to persons with limited English
                     proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                     meaningful access to programs or activities by limited English proficient individuals,
                     see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-
                     proficiency/fact-sheet-guidance/index.html and https://www.lep.gov.
                •    For information on an institution’s specific legal obligations for serving qualified individuals with
                     disabilities, including providing program access, reasonable modifications, and to provide
                     effective communication, see
                     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                •    HHS funded health and education programs must be administered in an environment free of
                     sexual harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-
                     discrimination/index.html. For information about NIH's commitment to supporting a safe and
                     respectful work environment, who to contact with questions or concerns, and what NIH's
                     expectations are for institutions and the individuals supported on NIH-funded awards, please see
                     https://grants.nih.gov/grants/policy/harassment.htm.
                •    For guidance on administering programs in compliance with applicable federal religious
                     nondiscrimination laws and applicable federal conscience protection and associated anti-
                     discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html
                     and https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR
           Part 75, recipients that have currently active Federal grants, cooperative agreements, and procurement
           contracts with cumulative total value greater than $10,000,000 must report and maintain information in
           the System for Award Management (SAM) about civil, criminal, and administrative proceedings in
           connection with the award or performance of a Federal award that reached final disposition within the
           most recent five-year period. The recipient must also make semiannual disclosures regarding such
           proceedings. Proceedings information will be made publicly available in the designated integrity and
           performance system (currently the Federal Awardee Performance and Integrity Information System
           (FAPIIS)). Full reporting requirements and procedures are found in Appendix XII to 45 CFR Part 75. This
           term does not apply to NIH fellowships.
           Treatment of Program Income:
           Additional Costs

           SECTION IV – AA SPECIFIC AWARD CONDITIONS – 1R34AA030662-01A1 REVISED


          Clinical Trial Indicator: Yes
          This award supports one or more NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.


           REVISION:

           Revised to 1) correct budget and project period end dates to 08/31/2026 and 2) add the
           following Multi-year funded term:

           CHANGE TO A MULTI-YEAR FUNDED AWARD: Although the application upon which this
           grant is awarded was submitted as a three-year grant request, in order to meet NIAAA program
           priorities and objectives in Fiscal Year 2023, this grant has been converted to a multi-year
           funded award, with all years of funding provided in the current fiscal year. Special monitoring
           requirements specific to multi-year funded awards, including the progress report due on or
           before the anniversary of the budget/project period start date of the award, are detailed in
           Section III in this Notice of Award.
                                                                Page 6 of 9
                                     Version: 13 - 8/3/2022 12:59 PM | Generated on: 10/12/2023 12:03 AM


                                                                                                                APHA App. 145
Case: 25-1611     Document: 00118310432                       Page: 149              Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-20                Filed 04/25/25          Page 45 of 60


           ***********************************************************************************

           Based on a review of your application and the need to effect NIAAA budgetary and programmatic
           goals, your requested direct cost funding has been adjusted.

           SALARY LIMITATION:� None of the funds in this award shall be used to pay the salary of an
           individual at a rate in excess of the applicable salary cap. Therefore, this award and/or future
           years are adjusted accordingly, if applicable. Current salary cap levels can be found at
           https://grants.nih.gov/grants/policy/salcap_summary.htm.

           PRIOR APPROVALS: In keeping with NIH Guide Notice NOT-OD-06-054
           (http://grants.nih.gov/grants/guide/notice-files/NOT-OD-06-054.html), as this grant has multiple
           Principal Investigators (PIs), although the signatures of the PIs are not required on prior approval
           requests submitted to the agency, the grant recipient institution must secure and retain the
           signatures of all PIs following their own internal processes.

           CONSORTIA: This award includes funds awarded for consortium activity with University of
           Nebraska-Lincoln.� Consortia are to be established and administered as described in the NIH
           Grants Policy Statement (see http://grants.nih.gov/grants/policy/policy.htm#gps).

           HUMAN SUBJECTS--VULNERABLE POPULATIONS: The research supported by this award
           involves a population of human subjects identified as “vulnerable”.� Investigators who conduct
           research involving vulnerable populations, including pregnant women, human fetuses and
           neonates, prisoners, or children must follow the provisions of the regulations in Subparts B, C,
           and D of 45 CFR Part 46, respectively, which describe the additional protections required for
           these populations (https://grants.nih.gov/policy/humansubjects/policies-and-
           regulations/vulnerable-populations.htm).

           INFORMATION:� In accordance with the NIH Policy on the Use of a Single Institutional Review
           Board of Record for Multi-Site Research, it is expected that all sites participating in multi-site
           studies involving non-exempt human subjects research funded by the National Institutes of Health
           (NIH) will use a Single Institutional Review Board (sIRB) to conduct the ethical review required by
           the Department of Health and Human Services regulations for the Protection of Human
           Subjects.�This policy applies to the domestic sites of NIH-funded multi-site studies where each
           site will conduct the same protocol involving non-exempt human subjects research.� This grant is
           expected to develop and participate in a collaborative, central, or shared IRB that will streamline
           IRB approval while maintaining appropriate human subjects protections. This award reflects the
           National Institute on Alcohol Abuse and Alcoholism’s (NIAAA’s) acceptance of the sIRB plan
           submitted in the competing application. (See NIH Guide to Grants and Contracts NOT-OD-16-
           094, https://grants.nih.gov/grants/guide/notice-files/NOT-OD-16-094.html.)

           Participating sites are expected to rely on the sIRB to satisfy the regulatory requirements relevant
           to the ethical review. Although IRB ethical review at a participating site would be counter to the
           intent and goal of this policy, the policy does not prohibit any participating site from duplicating the
           sIRB. However, NIH funds may not be used to pay for the cost of the duplicate review.

           INFORMATION:� As a reminder, it is the responsibility of the grant recipient to ensure that
           authorization agreements (also called reliance agreements) are in place and copies of
           authorization agreements and other necessary documentation are maintained by the awardee in
           order to document compliance with this policy, as needed.�

           DATA AND SAFETY MONITORING:� This grant has been identified as requiring a Data and
           Safety Monitoring Plan (DSMP) in accordance with the NIAAA Data and Safety Monitoring
           Guidelines at http://www.niaaa.nih.gov/research/guidelines-and-resources/data-and-safety-
           monitoring-guidelines. The NIAAA Program Official named below has approved the DSMP as
           submitted by the grant recipient.� Any changes in the DSMP must be reviewed and approved by
           the NIAAA Program Official.



                                                               Page 7 of 9
                                    Version: 13 - 8/3/2022 12:59 PM | Generated on: 10/12/2023 12:03 AM


                                                                                                               APHA App. 146
Case: 25-1611    Document: 00118310432                      Page: 150              Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                 Document 38-20                Filed 04/25/25          Page 46 of 60

           DISSEMINATION PLAN:� The clinical trial(s) supported by this award is subject to the
           plan�submitted to NIH 11/14/2022 and the NIH policy on Dissemination of NIH-Funded Clinical
           Trial Information (see NOT-OD-16-149). The�policy states that the clinical trial(s) funded by�a
           NIH�award will be registered in ClinicalTrials.gov not later than 21 calendar days after enrollment
           of the first participant and primary summary results reported in ClinicalTrials.gov, not later than
           one year after the completion date. The reporting of summary results is required by this term of
           award even if the primary completion date occurs after the period of performance.�
           ��
           This award is subject to additional certification requirements with each submission of the Annual,
           Interim, and Final Research Performance Progress Report (RPPR).� The recipient must agree to
           the following annual certification when submitting each RPPR. By submitting the RPPR, the AOR
           signifies compliance, as follows:�
           ��
           In submitting this RPPR, the AOR (or PD/PI with delegated authority), certifies to the best of
           his/her knowledge that, for all clinical trials funded under this NIH award, the recipient and all
           investigators conducting NIH-funded clinical trials are in compliance with the recipient’s plan
           addressing compliance with the NIH Policy on Dissemination of NIH-Funded Clinical Trial
           Information. Any clinical trial funded in whole or in part under this award has been registered in
           ClinicalTrials.gov or will be registered not later than 21 calendar days after enrollment of the first
           participant. Summary results have been submitted to ClinicalTrials.gov or will be submitted not
           later than one year after the completion date, even if the completion date occurs after the period
           of performance

           A bi-annual report including the elements listed below should be submitted electronically to the
           NIAAA Program Official (PO) and the NIAAA Grants Management Specialist listed below every 6
           months from the date of grant award. If the reporting due date falls within 60 days of the annual
           RPPR, please use the RPPR to submit the below reporting elements already included in the
           RPPR and submit all other elements (*) via email from the Institutional AOR to the NIAAA Grants
           Management Specialist and Program Officer named below.

           The following elements should be included in all annual and interim reports:
           • Updated “actual” and “target” inclusion table
           • Cumulative listing (no PHI)*

                 • adverse events

                 • serious adverse events
                 • protocol deviations since last reporting period

           • DSMB meeting updates/minutes (if applicable)*
           • Target milestone updates (if applicable)*
           • Issues that could impact the study/completion of the grant*
           • Proposed resolution of issues*
           • Proposed work during next reporting period

           The following target milestones have been established and approved by the PO. Any revisions to
           approved milestones require PO concurrence and approval. Recruitment is anticipated to begin
           01/2025 and complete in nine months..

           Enrollment Milestones (n=100):
           25% (25) = 03/2025
           50% (50) = 05/2025
           75% (75) = 07/2025
           100% (100) = 10/2025
           Data lock: 05/2026

           NIAAA DATA ARCHIVE (NIAAADA) DATA SHARING PLAN: This award is subject to the data
           sharing guidance outlined in NOT-AA-22-011 (https://grants.nih.gov/grants/guide/notice-
           files/NOT-AA-22-011.html). The Recipient agrees to adhere to the NIAAADA Data Sharing Plan
           (DSP) as approved by the NIAAA Program Official assigned to this award. Dissemination of study

                                                             Page 8 of 9
                                  Version: 13 - 8/3/2022 12:59 PM | Generated on: 10/12/2023 12:03 AM


                                                                                                             APHA App. 147
Case: 25-1611     Document: 00118310432                      Page: 151              Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                  Document 38-20                Filed 04/25/25          Page 47 of 60

           data will be in accord with the Recipient’s approved DSP. Please note that a statement of
           progress on the DSP must be included in the Research Performance Progress Report (RPPR)
           under section C.5 “Other Products and Resource Sharing” at
           https://grants.nih.gov/grants/rppr/index.htm.
            �
           Failure to adhere to the DSP as mutually agreed upon by the Recipient and the NIAAA may result
           in Enforcement Actions as described in the NIH Grants Policy Statement at
           https://grants.nih.gov/policy/nihgps/index.htm.

           Complete NIAAADA Data Sharing Terms and Conditions can be found
           at�https://nda.nih.gov/niaaa/data-sharing-expectations.html.




           SPREADSHEET SUMMARY
           AWARD NUMBER: 1R34AA030662-01A1 REVISED

           INSTITUTION: University of Colorado Colorado Springs

           Budget                                              Year 1
           Salaries and Wages                                  $182,211
           Fringe Benefits                                     $61,770
           Personnel Costs (Subtotal)                          $243,981
           Consultant Services                                 $12,181
           Travel                                              $3,852
           Other                                               $77,005
           Subawards/Consortium/Contractual Costs              $149,733
           TOTAL FEDERAL DC                                    $486,752
           TOTAL FEDERAL F&A                                   $166,529
           TOTAL COST                                          $653,281


           Facilities and Administrative Costs                 Year 1
           F&A Cost Rate 1                                     46%
           F&A Cost Base 1                                     $362,019
           F&A Costs 1                                         $166,529




                                                              Page 9 of 9
                                   Version: 13 - 8/3/2022 12:59 PM | Generated on: 10/12/2023 12:03 AM


                                                                                                              APHA App. 148
Case: 25-1611   Document: 00118310432   Page: 152   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-20
                                  Document 38-20    Filed 04/25/25
                                                    Filed 04/25/25   Page 48
                                                                     Page 48 of
                                                                             of 60
                                                                                60




                         EXHIBIT
                         EXHIBIT F




                                                                        APHA App. 149
Case: 25-1611      Document: 00118310432                     Page: 153      Date Filed: 07/08/2025        Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM                   Document 38-20
                                                          Document 38-20    Filed 04/25/25
                                                                            Filed 04/25/25   Page 49
                                                                                             Page 49 of
                                                                                                     of 60
                                                                                                        60


          |




                You don't often get email from michelle. bulls@nih.gov. Learn why this is important




           f            Z            i                    National Institutes of Health
           Ne                                             Office of Extramural Research




           3/21/2025
           Michael Sanderson

           University Of Colorado

           msander3@uccs.edu




           Dear Michael Sanderson:

           Effective with the date of this letter, funding for Project Number        1R34AA030662-01A11   is
           hereby terminated pursuant to the Fiscal Year 2023 National Institutes of Health (“NIH”)
           Grants Policy Statement,"! and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of
           termination.2!

           The 2023 Policy Statement applies to your project because NIH approved your grant on
           9/1/2023, and “obligations generally should be determined by reference to the law in effect
           when the grants were made.”®!

           The 2023 Policy Statement “includes the terms and conditions of NIH grants and
           cooperative agreements and is incorporated by reference in all NIH grant and cooperative
           agreement awards."!” According to the Policy Statement, “NIH may ... terminate the grant
           in whole or in part as outlined in 2 CFR Part 200.340.” At the time your grant was issued, 2
           C.F.R. 8 200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-




           (1 https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
           [212 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
           [3] Bennettv. New Jersey, 470 U.S. 632, 638 (1985).
           4] NIH Grants Policy Statement at IIA-1.
           (5) Jd. at HA-155.




                                                                                                 APHA App. 150
Case: 25-1611        Document: 00118310432                Page: 154   Date Filed: 07/08/2025   Entry ID: 6734280

             Case 1:25-cv-10787-BEM                  Document 38-20   Filed 04/25/25   Page 50 of 60




       through entity, to the greatest extent authorized by law, if an award no longer effectuates
       the program goals or agency priorities.”

       This award no longer effectuates agency priorities. Research programs based on gender
       identity are often unscientific, have little identifiable return on investment, and do nothing
       to enhance the health of many Americans. Many such studies ignore, rather than seriously
       examine, biological realities. It is the policy of NIH not to prioritize these research
       programs.

       Although “NIH generally will suspend (rather than immediately terminate) a grant and allow
       the recipient an opportunity to take appropriate corrective action before NIH makes a
       termination decision,”[6] no corrective action is possible here. The premise of this award is
       incompatible with agency priorities, and no modification of the project could align the
       project with agency priorities.

       Costs resulting from financial obligations incurred after termination are not allowable.[7]
       Nothing in this notice excuses either NIH or you from complying with the closeout
       obligations imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required
       by the Federal Funding Accountability and Transparency Act or the Office of Management
       and Budget’s regulations to USAspending.gov.[8]

       Administrative Appeal

       You may object and provide information and documentation challenging this termination.[9]
       NIH has established a first-level grant appeal procedure that must be exhausted before you
       may file an appeal with the Departmental Appeals Board.[10]

       You must submit a request for such review to Dr. Matt Memoli no later than 30 days after
       the written notification of the determination is received, except that if you show good cause
       why an extension of time should be granted, Dr. Memoli may grant an extension of time.[11]

       The request for review must include a copy of the adverse determination, must identify the
       issue(s) in dispute, and must contain a full statement of your position with respect to such
       issue(s) and the pertinent facts and reasons in support of your position. In addition to the




       [6]
           NIH Grants Policy Statement at IIA-156.
       [7]
           See 2 C.F.R. § 200.343 (2024).
       [8]
           2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
       [9]
           See 45 C.F.R. § 75.374.
       [10]
            See 42 C.F.R. Part 50, Subpart D
       [11]
            11 Id. § 50.406(a)
                                                                                         APHA App. 151
Case: 25-1611        Document: 00118310432    Page: 155      Date Filed: 07/08/2025   Entry ID: 6734280

                Case 1:25-cv-10787-BEM    Document 38-20       Filed 04/25/25   Page 51 of 60




        required written statement, you shall provide copies of any documents supporting your
        claim.[12]



        Sincerely,




        Michelle G. Bulls, on behalf of Judy Fox, Chief Grants Management Officer, NIAAA

        Director, Office of Policy for Extramural Research Administration

        Office of Extramural Research




        [12]
               12 Id. § 50.406(b)



                                                                                APHA App. 152
Case: 25-1611   Document: 00118310432   Page: 156   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-20
                                  Document 38-20    Filed 04/25/25
                                                    Filed 04/25/25   Page 52
                                                                     Page 52 of
                                                                             of 60
                                                                                60




                        EXHIBIT
                        EXHIBIT G




                                                                        APHA App. 153
Case: 25-1611          Document: 00118310432                          Page: 157                         Date Filed: 07/08/2025                           Entry ID: 6734280

                      Department
                    Case         of Health and Human Document
                         1:25-cv-10787-BEM           Services 38-20                                      Filed 04/25/25            Page 53 of 60Notice of Award
                        National Institutes of Health                                                                                                 FAIN# R34AA030662
                        NATIONAL INSTITUTE ON ALCOHOL ABUSE AND ALCOHOLISM                                                                             Federal Award Date
                                                                                                                                                              03/25/2025



    Recipient Information                           Federal Award Information
    1. Recipient Name
       THE REGENTS OF THE UNIVERSITY OF
       COLORADO                                     11. Award Number
       1420 AUSTIN BLUFFS PKWY                         1R34AA030662-01A1
       COLORADO SPRINGS, CO 80918
                                                    12. Unique Federal Award Identification Number (FAIN)
    2. Congressional District of Recipient             R34AA030662
       05
                                                    13. Statutory Authority
    3. Payment System Identifier (ID)                  42 USC 241 42 CFR 52
       1846000555E7
                                                    14. Federal Award Project Title
    4. Employer Identification Number (EIN)            An Online Family-based Program to Prevent Alcohol Use and Dating and Sexual
       846000555                                       Violence among Sexual and Gender Minority Youth

    5. Data Universal Numbering System (DUNS)       15. Assistance Listing Number
       186192829                                       93.273

    6. Recipient’s Unique Entity Identifier         16. Assistance Listing Program Title
       RH87YDXC1AY5                                    Alcohol Research Programs

    7. Project Director or Principal Investigator   17. Award Action Type
       Heather Littleton, PHD (Contact)                New Competing (REVISED)

       hlittlet@uccs.edu                            18. Is the Award R&D?
       252-916-2976                                    Yes

    8. Authorized Official                                                Summary Federal Award Financial Information
       Michael Sanderson                             19. Budget Period Start Date 09/01/2023 – End Date 03/21/2025
       msander3@uccs.edu                             20. Total Amount of Federal Funds Obligated by this Action                                                                 $0
       719-255-3034                                           20 a. Direct Cost Amount                                                                                          $0
                                                              20 b. Indirect Cost Amount                                                                                        $0
                                                     21. Authorized Carryover
    Federal Agency Information                       22. Offset
    9. Awarding Agency Contact Information           23. Total Amount of Federal Funds Obligated this budget period                                                  $653,281
       Donna Stringfield                             24. Total Approved Cost Sharing or Matching, where applicable                                                              $0
                                                     25. Total Federal and Non-Federal Approved this Budget Period                                                   $653,281
      NATIONAL INSTITUTE ON ALCOHOL                                        ---------------------------------------------------------------------------------------------------------
      ABUSE AND ALCOHOLISM                           26. Project Period Start Date 09/01/2023 – End Date 03/21/2025
      donna.stringfield@nih.gov                      27. Total Amount of the Federal Award including Approved Cost                                                   $653,281
      (301) 443-3851                                     Sharing or Matching this Project Period
    10. Program Official Contact Information
      Tatiana Nikolayevna Balachova                 28. Authorized Treatment of Program Income
                                                       Additional Costs
      NATIONAL INSTITUTE ON ALCOHOL
      ABUSE AND ALCOHOLISM                          29. Grants Management Officer - Signature
      tatiana.balachova@nih.gov                        Judy Fox
      301-443-5726
    30. Remarks
        Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or
        otherwise requested from the grant payment system.




                                                                           Page 1 of 8
                                                     Version:25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:05 AM




                                                                                                                                            APHA App. 154
Case: 25-1611      Document: 00118310432                         Page: 158                          Date Filed: 07/08/2025    Entry ID: 6734280

                Case 1:25-cv-10787-BEM                 Document 38-20                               Filed 04/25/25   Page 54 of 60



                                                                        Notice of Award
           CLINICAL TRIAL PLANNING GRANT
           Department of Health and Human Services
           National Institutes of Health

           NATIONAL INSTITUTE ON ALCOHOL ABUSE AND ALCOHOLISM

                SECTION I – AWARD DATA – 1R34AA030662-01A1 REVISED



             Principal Investigator(s):
             Katie M Edwards, PHD
             Heather Littleton (contact), PHD

             Award e-mailed to: osp@uccs.edu

             Dear Authorized Official:

             The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and “Terms
             and Conditions” in Section III) to University of Colorado Colorado Springs in support of the above referenced
             project. This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject to the requirements
             of this statute and regulation and of other referenced, incorporated or attached terms and conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must include
             an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
             was supported by the National Institute On Alcohol Abuse And Alcoholism of the National Institutes of
             Health under Award Number R34AA030662. The content is solely the responsibility of the authors and does
             not necessarily represent the official views of the National Institutes of Health.” Prior to issuing a press
             release concerning the outcome of this research, please notify the NIH awarding IC in advance to allow for
             coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a reasonable
             expectation that the design, conduct and reporting of research funded under NIH awards will be free from
             bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
             revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
             through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,




             Judy Fox
             Grants Management Officer
             NATIONAL INSTITUTE ON ALCOHOL ABUSE AND ALCOHOLISM

             Additional information follows




             Cumulative Award Calculations for this Budget Period (U.S. Dollars)

                                                                       Page 2 of 8
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:05 AM



                                                                                                                        APHA App. 155
Case: 25-1611     Document: 00118310432                           Page: 159                         Date Filed: 07/08/2025     Entry ID: 6734280

            Case 1:25-cv-10787-BEM                   Document 38-20                               Filed 04/25/25   Page 55 of 60

           Salaries and Wages                                                                                            $182,211
           Fringe Benefits                                                                                                $61,770
           Personnel Costs (Subtotal)                                                                                    $243,981
           Consultant Services                                                                                            $12,181
           Travel                                                                                                          $3,852
           Other                                                                                                          $77,005
           Subawards/Consortium/Contractual Costs                                                                        $149,733

           Federal Direct Costs                                                                                          $486,752
           Federal F&A Costs                                                                                             $166,529
           Approved Budget                                                                                               $653,281
           Total Amount of Federal Funds Authorized (Federal Share)                                                      $653,281
           TOTAL FEDERAL AWARD AMOUNT                                                                                    $653,281

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                               $0


                               SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                    THIS AWARD                             CUMULATIVE TOTALS
             1                                   $653,281                                                               $653,281

           Fiscal Information:
           Payment System Identifier:          1846000555E7
           Document Number:                    RAA030662A
           PMS Account Type:                   P (Subaccount)
           Fiscal Year:                        2023

           IC        CAN                                                                2023
           AA        8484370                                                            $653,281



           NIH Administrative Data:
           PCC: AP TD / OC: 41021 / Released: 03/25/2025
           Award Processed: 03/26/2025 12:05:56 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 1R34AA030662-01A1 REVISED

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 1R34AA030662-01A1 REVISED

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                 a. The grant program legislation and program regulation cited in this Notice of Award.
                 b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                    those included in appropriations acts.
                 c. 45 CFR Part 75.
                 d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                    Statement, including addenda in effect as of the beginning date of the budget period.
                 e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                    progress report when applicable.
                 f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
                                                                     Page 3 of 8
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:05 AM



                                                                                                                       APHA App. 156
Case: 25-1611     Document: 00118310432                               Page: 160                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                      Document 38-20                               Filed 04/25/25    Page 56 of 60

           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
           research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
           the rate(s) specified in the award document(s).


           An unobligated balance may be carried over into the next budget period without Grants Management Officer
           prior approval.

           MULTI-YEAR FUNDED AWARD: This is a multi-year funded award. A progress report is due annually on or
           before the anniversary of the budget/project period start date of the award, in accord with the instructions
           posted at: http://grants.nih.gov/grants/policy/myf.htm.

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
           (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN) R34AA030662. Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
           may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
           applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
           information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.

           This award provides support for one or more clinical trials. By law (Title VIII, Section 801 of Public Law 110-
           85), the “responsible party” must register “applicable clinical trials” on the ClinicalTrials.gov Protocol
           Registration System Information Website. NIH encourages registration of all trials whether required under
           the law or not. For more information, see http://grants.nih.gov/ClinicalTrials_fdaaa/
            This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
           Statement Section 8.6 Closeout for complete closeout requirements at:
           http://grants.nih.gov/grants/policy/policy.htm#gps.

           A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
           Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
           Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
           additional information on this submission requirement. The final FFR must indicate the exact balance of
           unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
           between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
           awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
           expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
           expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

           A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
           conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
           568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
           Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
           G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
           U42, U45, UC6, UC7, UR2, X01, X02.

           Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
           (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
           renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
           well. Instructions for preparing an Interim or Final RPPR are at:
           https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
           the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
           reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
           lay person audience.

           NIH requires electronic submission of the final invention statement through the Closeout feature in the
           Commons.
                                                                       Page 4 of 8
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:05 AM



                                                                                                                           APHA App. 157
Case: 25-1611       Document: 00118310432                         Page: 161                         Date Filed: 07/08/2025    Entry ID: 6734280

            Case 1:25-cv-10787-BEM                     Document 38-20                               Filed 04/25/25   Page 57 of 60


            NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
            then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
            electronically as noted above. If not already submitted, the Final Invention Statement is required and should
            be sent directly to the assigned Grants Management Specialist.


            Recipients must administer the project in compliance with federal civil rights laws that prohibit
            discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
            conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
            basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
            pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
            persons with limited English proficiency and providing programs that are accessible to and usable by
            persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
            laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
            and https://www.hhs.gov/.

                ·    Recipients of FFA must ensure that their programs are accessible to persons with limited English
                     proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                     meaningful access to programs or activities by limited English proficient individuals,
                     see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                     sheet-guidance/index.html and https://www.lep.gov.
                ·    For information on an institution’s specific legal obligations for serving qualified individuals with
                     disabilities, including providing program access, reasonable modifications, and to provide effective
                     communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                ·    HHS funded health and education programs must be administered in an environment free of sexual
                     harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                     For information about NIH's commitment to supporting a safe and respectful work environment,
                     who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                     individuals supported on NIH-funded awards, please see
                     https://grants.nih.gov/grants/policy/harassment.htm.
                ·    For guidance on administering programs in compliance with applicable federal religious
                     nondiscrimination laws and applicable federal conscience protection and associated anti-
                     discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                     https://www.hhs.gov/conscience/religious-freedom/index.html.

            In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
            75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
            with cumulative total value greater than $10,000,000 must report and maintain information in the System for
            Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
            award or performance of a Federal award that reached final disposition within the most recent five-year
            period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
            information will be made publicly available in the designated integrity and performance system (currently
            the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
            and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


            Treatment of Program Income:
            Additional Costs

            SECTION IV – AA SPECIFIC AWARD CONDITIONS – 1R34AA030662-01A1 REVISED


           Clinical Trial Indicator: Yes
           This award supports one or more NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
           for NIH definition of Clinical Trial.



            REVISION: It is the policy of NIH not to prioritize gender identity. Research programs based on
            gender identity are often unscientific, have little identifiable return on investment, and do
            nothing to enhance the health of many Americans. Many such studies ignore, rather
            than seriously examine, biological realities. Therefore, this project is terminated. The University of
            Colorado may request funds to support patient safety and orderly closeout of the project. Funds used to
                                                           Page 5 of 8
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:05 AM

                                                                                                                        APHA App. 158
Case: 25-1611     Document: 00118310432                              Page: 162                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-20                               Filed 04/25/25    Page 58 of 60

           support any other research activities will be disallowed and recovered. Please be advised that your
           organization, as part of the orderly closeout process will need to submit the necessary closeout documents
           (i.e., Final Research Performance Progress Report, Final Invention Statement, and the Final Federal
           Financial Report (FFR), as applicable) within 120 days of the end of this grant.

           NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as implemented in NIH GPS
           Section 8.5.2. This revised award represents the final decision of the NIH. It shall be the final decision of the
           Department of Health and Human Services (HHS) unless within 30 days after receiving this decision you
           mail or email a written notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
           appeal justification, total amount in dispute, and any material or documentation that will support your
           position. Finally, the appeal must be signed by the institutional official authorized to sign award applications
           and must be dated no later than 30 days after the date of this notice.

           ****************************************************

           REVISION:

           Revised to 1) correct budget and project period end dates to 08/31/2026 and 2) add the
           following Multi-year funded term:

           CHANGE TO A MULTI-YEAR FUNDED AWARD: Although the application upon which this
           grant is awarded was submitted as a three-year grant request, in order to meet NIAAA
           program priorities and objectives in Fiscal Year 2023, this grant has been converted to a
           multi-year funded award, with all years of funding provided in the current fiscal year.
           Special monitoring requirements specific to multi-year funded awards, including the
           progress report due on or before the anniversary of the budget/project period start date
           of the award, are detailed in Section III in this Notice of Award.
           ***********************************************************************************

           Based on a review of your application and the need to effect NIAAA budgetary and programmatic goals, your
           requested direct cost funding has been adjusted.

           SALARY LIMITATION:� None of the funds in this award shall be used to pay the salary of an individual at a
           rate in excess of the applicable salary cap. Therefore, this award and/or future years are adjusted
           accordingly, if applicable. Current salary cap levels can be found at
           https://grants.nih.gov/grants/policy/salcap_summary.htm.

           PRIOR APPROVALS: In keeping with NIH Guide Notice NOT-OD-06-054
           (http://grants.nih.gov/grants/guide/notice-files/NOT-OD-06-054.html), as this grant has multiple Principal
           Investigators (PIs), although the signatures of the PIs are not required on prior approval requests submitted
           to the agency, the grant recipient institution must secure and retain the signatures of all PIs following their
           own internal processes.

           CONSORTIA: This award includes funds awarded for consortium activity with University of Nebraska-
           Lincoln.� Consortia are to be established and administered as described in the NIH Grants Policy Statement
           (see http://grants.nih.gov/grants/policy/policy.htm#gps).

           HUMAN SUBJECTS--VULNERABLE POPULATIONS: The research supported by this award involves a
           population of human subjects identified as “vulnerable”.� Investigators who conduct research involving
           vulnerable populations, including pregnant women, human fetuses and neonates, prisoners, or children must
           follow the provisions of the regulations in Subparts B, C, and D of 45 CFR Part 46, respectively, which
           describe the additional protections required for these populations
           (https://grants.nih.gov/policy/humansubjects/policies-and-regulations/vulnerable-populations.htm).

           INFORMATION:�In accordance with the NIH Policy on the Use of a Single Institutional Review Board of
           Record for Multi-Site Research, it is expected that all sites participating in multi-site studies involving non-
           exempt human subjects research funded by the National Institutes of Health (NIH) will use a Single
           Institutional Review Board (sIRB) to conduct the ethical review required by the Department of Health and
           Human Services regulations for the Protection of Human Subjects.�This policy applies to the domestic sites
           of NIH-funded multi-site studies where each site will conduct the same protocol involving non-exempt
           human subjects research.� This grant is expected to develop and participate in a collaborative, central, or
           shared IRB that will streamline IRB approval while maintaining appropriate human subjects protections. This
           award reflects the National Institute on Alcohol Abuse and Alcoholism’s (NIAAA’s) acceptance of the sIRB
                                                             Page 6 of 8
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:05 AM



                                                                                                                          APHA App. 159
Case: 25-1611     Document: 00118310432                              Page: 163                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-20                               Filed 04/25/25    Page 59 of 60

           plan submitted in the competing application. (See NIH Guide to Grants and Contracts NOT-OD-16-094,
           https://grants.nih.gov/grants/guide/notice-files/NOT-OD-16-094.html.)

           Participating sites are expected to rely on the sIRB to satisfy the regulatory requirements relevant to the
           ethical review. Although IRB ethical review at a participating site would be counter to the intent and goal of
           this policy, the policy does not prohibit any participating site from duplicating the sIRB. However, NIH funds
           may not be used to pay for the cost of the duplicate review.

           INFORMATION:� As a reminder, it is the responsibility of the grant recipient to ensure that authorization
           agreements (also called reliance agreements) are in place and copies of authorization agreements and
           other necessary documentation are maintained by the awardee in order to document compliance with this
           policy, as needed.�

           DATA AND SAFETY MONITORING:� This grant has been identified as requiring a Data and Safety Monitoring
           Plan (DSMP) in accordance with the NIAAA Data and Safety Monitoring Guidelines at
           http://www.niaaa.nih.gov/research/guidelines-and-resources/data-and-safety-monitoring-guidelines. The
           NIAAA Program Official named below has approved the DSMP as submitted by the grant recipient.� Any
           changes in the DSMP must be reviewed and approved by the NIAAA Program Official.

           DISSEMINATION PLAN:� The clinical trial(s) supported by this award is subject to the plan�submitted to NIH
           11/14/2022 and the NIH policy on Dissemination of NIH-Funded Clinical Trial Information (see NOT-OD-16-
           149). The�policy states that the clinical trial(s) funded by�a NIH�award will be registered in ClinicalTrials.gov
           not later than 21 calendar days after enrollment of the first participant and primary summary results
           reported in ClinicalTrials.gov, not later than one year after the completion date. The reporting of summary
           results is required by this term of award even if the primary completion date occurs after the period of
           performance.�
           ��
           This award is subject to additional certification requirements with each submission of the Annual, Interim,
           and Final Research Performance Progress Report (RPPR).� The recipient must agree to the following annual
           certification when submitting each RPPR. By submitting the RPPR, the AOR signifies compliance, as
           follows:�
           ��
           In submitting this RPPR, the AOR (or PD/PI with delegated authority), certifies to the best of his/her
           knowledge that, for all clinical trials funded under this NIH award, the recipient and all investigators
           conducting NIH-funded clinical trials are in compliance with the recipient’s plan addressing compliance with
           the NIH Policy on Dissemination of NIH-Funded Clinical Trial Information. Any clinical trial funded in whole
           or in part under this award has been registered in ClinicalTrials.gov or will be registered not later than 21
           calendar days after enrollment of the first participant. Summary results have been submitted to
           ClinicalTrials.gov or will be submitted not later than one year after the completion date, even if the
           completion date occurs after the period of performance

           A bi-annual report including the elements listed below should be submitted electronically to the
           NIAAA Program Official (PO) and the NIAAA Grants Management Specialist listed below every 6 months
           from the date of grant award. If the reporting due date falls within 60 days of the annual RPPR, please use
           the RPPR to submit the below reporting elements already included in the RPPR and submit all other
           elements (*) via email from the Institutional AOR to the NIAAA Grants Management Specialist and Program
           Officer named below.

           The following elements should be included in all annual and interim reports:
           • Updated “actual” and “target” inclusion table
           • Cumulative listing (no PHI)*

                  · adverse events
                  · serious adverse events
                  · protocol deviations since last reporting period

           • DSMB meeting updates/minutes (if applicable)*
           • Target milestone updates (if applicable)*
           • Issues that could impact the study/completion of the grant*
           • Proposed resolution of issues*
           • Proposed work during next reporting period

           The following target milestones have been established and approved by the PO. Any revisions to approved
           milestones require PO concurrence and approval. Recruitment is anticipated to begin 01/2025 and complete
           in nine months..
                                                                      Page 7 of 8
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:05 AM



                                                                                                                          APHA App. 160
Case: 25-1611     Document: 00118310432                                Page: 164                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                       Document 38-20                               Filed 04/25/25    Page 60 of 60


           Enrollment Milestones (n=100):
           25% (25) = 03/2025
           50% (50) = 05/2025
           75% (75) = 07/2025
           100% (100) = 10/2025
           Data lock: 05/2026

           NIAAA DATA ARCHIVE (NIAAADA) DATA SHARING PLAN: This award is subject to the data sharing
           guidance outlined in NOT-AA-22-011 (https://grants.nih.gov/grants/guide/notice-files/NOT-AA-22-
           011.html). The Recipient agrees to adhere to the NIAAADA Data Sharing Plan (DSP) as approved by the
           NIAAA Program Official assigned to this award. Dissemination of study data will be in accord with the
           Recipient’s approved DSP. Please note that a statement of progress on the DSP must be included in the
           Research Performance Progress Report (RPPR) under section C.5 “Other Products and Resource Sharing” at
           https://grants.nih.gov/grants/rppr/index.htm.
           �
           Failure to adhere to the DSP as mutually agreed upon by the Recipient and the NIAAA may result in
           Enforcement Actions as described in the NIH Grants Policy Statement at
           https://grants.nih.gov/policy/nihgps/index.htm.

           Complete NIAAADA Data Sharing Terms and Conditions can be found at�https://nda.nih.gov/niaaa/data-
           sharing-expectations.html.




           SPREADSHEET SUMMARY
           AWARD NUMBER: 1R34AA030662-01A1 REVISED

           INSTITUTION: University of Colorado Colorado Springs

           Budget                                                         Year 1
           Salaries and Wages                                             $182,211
           Fringe Benefits                                                $61,770
           Personnel Costs (Subtotal)                                     $243,981
           Consultant Services                                            $12,181
           Travel                                                         $3,852
           Other                                                          $77,005
           Subawards/Consortium/Contractual Costs                         $149,733
           TOTAL FEDERAL DC                                               $486,752
           TOTAL FEDERAL F&A                                              $166,529
           TOTAL COST                                                     $653,281


           Facilities and Administrative Costs                            Year 1
           F&A Cost Rate 1                                                46%
           F&A Cost Base 1                                                $362,019
           F&A Costs 1                                                    $166,529




                                                                        Page 8 of 8
                                                 Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:05 AM



                                                                                                                            APHA App. 161
Case: 25-1611   Document: 00118310432   Page: 165    Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-21
                                  Document 38-21    Filed 04/25/25
                                                    Filed 04/25/25   Page 1
                                                                     Page 1 of
                                                                            of 65
                                                                               65




                       EXHIBIT
                       EXHIBIT 21
                               21




                                                                        APHA App. 162
Case: 25-1611     Document: 00118310432             Page: 166       Date Filed: 07/08/2025         Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-21         Filed 04/25/25      Page 2 of 65



                                    UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MASSACHUSETTS


    AMERICAN PUBLIC HEALTH ASSOCIATION,
    et al.,

                           Plaintiffs,
                                                        Case No. 1:25-cv-10787-BEM
                   v.

    NATIONAL INSTITUTES OF HEALTH, et al.,

                           Defendants.


                                    DECLARATION OF NICOLE MAPHIS

           I, Nicole Maphis, pursuant to 28 U.S.C. § 1746, declare as follows:

       1. I am a Postdoctoral Research Fellow at the University of New Mexico (UNM) and have been
    since June 2021. I have devoted my research career to understanding Alzheimer’s disease and dementia
    due to my grandmother’s diagnosis and slow submission to this awful disease. I have also pursued
    postdoctoral training in a lab focused on alcohol exposure to learn how consumption of excessive rates
    of alcohol could exacerbate the pathogenesis behind Alzheimer’s disease. In the lab I mentor students,
    devise research projects, draft proposals and write manuscripts for publication. I have seven first author
    publications that explore tauopathy (which is the development of abnormal accumulations of a protein
    inside neurons, known as tau, seen within the brain of patients diagnosed with Alzheimer’s disease and
    other types of dementia) and neuroinflammation [when the brain’s immune system, e.g. microglia (a
    brain-resident immune cell) overreacts to brain pathology like amyloid beta plaques and tau tangles
    found in the brains of patients with Alzheimer’s disease], and development of a potential
    immunotherapy to target tauopathy. In my postdoctoral work, I examine alcohol and its mechanistic
    impact on tauopathy as a risk factor for development or exacerbation of Alzheimer’s disease.
       2. I am the first person in my family to attend and graduate from college. I am from a low-income
    family and fit the criteria for a disadvantaged background as defined in Section C.7.(b) of the National
    Institutes of Health (NIH)’s Notice of Interest in Diversity because I grew up in a “Center for Medicare
    and Medicaid Services-designated Low-Income and Health Professional Shortage Areas.” A true and
    correct copy of NIH’s Notice of Interest in Diversity is attached as Exhibit A. Given these
    circumstances, I graduated from college with significant student loan debt. Following college, I worked
    as a technician/lab manager in two different research labs studying Alzheimer’s disease for nearly 9
                                                         1
                                                                                           APHA App. 163
Case: 25-1611     Document: 00118310432            Page: 167        Date Filed: 07/08/2025         Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-21        Filed 04/25/25      Page 3 of 65




    years before going to graduate school. During graduate school I focused my training on tauopathy and
    neuroinflammation and I developed and tested a patented immunotherapy.
       3. I am offering this Declaration in my individual capacity and not on behalf of my employer.
       4. From September 1, 2021–August 30, 2024, I was trained as a postdoctoral fellow within
    Institutional Research and Career Development Award (IRACDA) program at UNM, known there as
    Academic Science and Educational Research Training (ASERT). This distinguished national award
    provides salary and a small stipend to support education training and scientific research to educate and
    train the next generation of science educators, mentors, and scientific researchers. The unique aspects of
    this IRACDA program include that trainees are educated in a cohort-based model where four postdocs
    are hired together, take coursework on education pedagogy and other topics, like bioinformatics,
    leadership training, and attend monthly team-taught meetings. For example, I presented a lecture to the
    entire IRACDA group on choosing the right NIH awards based on one’s goals. I also explained to my
    entire IRACDA group what a K99/R00 was and why I chose to apply for the MOSAIC K99/R00 award.
    IRACDA shaped my early career goals because of the detailed training and hands-on experience I
    gained at the partner institutions we worked with including Central New Mexico Community College
    (CNM), a nontraditional, Hispanic-serving community college, where I taught neuroscience lectures
    during the Anatomy and Physiology course. Other partner institutions where my cohort-mates taught
    included a 4-year undergraduate Hispanic-serving institution, New Mexico State University, and a 2-
    year indigenous college called Southwestern Indian Polytechnic Institute. Our IRACDA program
    focused on partnerships with majority minority-serving institutes (MSI) to broaden our experiences as
    well as enrich the lives and education of those students we taught. This IRACDA program helped train
    me to be a better educator and mentor, and to be more engaged with how education can be reframed to
    encompass and embrace cultural perspectives and “nontraditional” experiences.
       5. I submitted my first MOSAIC K99/R00 to the PAR-21-271 for the deadline of February 12,
    2024. I chose the MOSAIC (i.e. diversity mechanism) because I fit the criteria of a diverse candidate,
    being a woman, the first in my family to graduate college, and from a low socioeconomic family, but
    more so I wanted to apply to this program because I really excel in cohort-based models of career
    development, since I was trained in IRACDA (September 1, 2021–August 30, 2024). I also meet the
    qualifications of a MOSAIC candidate since I devote substantial time and efforts to DEI/STEM-related
    outreach including:
                a. Teaching a neuroscience workshop at a summer camp for 7th grade girls



                                                        2

                                                                                            APHA App. 164
Case: 25-1611     Document: 00118310432              Page: 168      Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM            Document 38-21        Filed 04/25/25      Page 4 of 65




                b. Helping to organize/host an outreach event called the New Mexico Brain Bee (a high
                   school outreach event geared at getting high school students interested in neurosciences
                   careers) for the last 10+ years
                c. Helping teach numerous STEM outreach events geared at middle school populations
                   including GoGirl Empowerment Seminar (Albuquerque, NM) and the Empowering
                   Young Minds conference (Española, NM).
       6. Excessive alcohol exposure throughout the lifespan can impact the risk of developing
    Alzheimer’s disease and worsen the changes that occur in the brain of a person with Alzheimer’s disease
    throughout the course of their disease. Recent human clinical studies point to excessive neural firing and
    the appearance of tau pathology as potential risk factors mediated by alcohol exposure, yet studies
    conducted in rodent models have yet to fully explain what is happening within the brain. Previous work
    from my lab has tested excessive alcohol use in a rodent tau model and found that those that consumed
    the highest level of alcohol had increased spread of tau, increased neuroinflammation, and increased
    issues walking, we also saw some mice exhibit a seizure phenotype. My proposal would have provided
    me with comprehensive training so that I could learn how to measure and describe how this excessive
    neural firing could potentially lead to the appearance and the spread of this harmful tau pathology.
    Nearly 7 million people are living with Alzheimer’s disease, but only a small fraction (<5%) can be
    traced back to familial mutations that definitively cause the disease, which means that 95% of those with
    Alzheimer’s disease, develop the disease sporadically. I, and many others, postulate that perhaps
    exposure to alcohol throughout various critical time periods of life (e.g. adolescence, early adulthood,
    middle age or advanced age) could prime the brain to develop Alzheimer’s disease through either
    increasing neural activity (which is not always visible), and/or priming the brain to be more pro-
    inflammatory, both processes which could contribute to the appearance and the spread of tau pathology.
    If we understand the ways in which alcohol is doing this, then perhaps we can limit the impacts, or at
    least know that we need to prevent downstream consequences, like Alzheimer’s disease.
       7. In June 2024 I found out my initial MOSAIC K99/R00 application was ND (Not Discussed) by
    the assigned study group when they convened. ND is a common outcome for first-time applicants, as the
    process to get these awards is very difficult and time consuming. In fact, most individuals who go on to
    receive a K99/R00 end up having to revise and re-apply with their application. In fact, my primary
    research mentor and other co-mentors on my mentoring team received K99/R00 on their second
    submission. I then revised the initial application based on the feedback, provided in a document called a
    summary statement, by the three anonymous reviewers who are part of the -AA4 NIAAA study section.


                                                         3

                                                                                            APHA App. 165
Case: 25-1611     Document: 00118310432            Page: 169       Date Filed: 07/08/2025         Entry ID: 6734280

              Case 1:25-cv-10787-BEM         Document 38-21       Filed 04/25/25      Page 5 of 65




    I further revised my MOSAIC K99/R00 proposal based on the new PAR-24-225 and submitted it in time
    for November 12, 2024, deadline. A true and correct copy of PAR-24-225 is attached as Exhibit B.
       8. I worked on this proposal approximately 8 hours/day, 3 ½ days/week over approximately 70
    weeks from drafting the initial MOSAIC application draft (July 2023) and submission (February 2024),
    plus the process of the revision and editing and revising for the second submission (November 2024).
    This includes meeting with program officers to discuss the application and the revised application and
    meeting with mentors, reference writers, and my mentoring team to discuss the actual proposal, career
    development and training plan, as well as editing and updating other relevant documents like budget,
    biosketches, career development training plan, etc.
       9. NIH has never provided me with any reason to expect that my MOSAIC grant application was in
    jeopardy. However, I had seen online that the program announcement to which I applied (PAR-24-225)
    was archived/closed two years ahead of its scheduled end date and that the MOSAIC program website
    was taken down, which were both disconcerting and led me to reach out NIH ahead of my scientific
    review.
       10. On March 4, 2025, a Scientific Review Officer (SRO) at NIH emailed me to say: “Your
    application has been moved out of the AA-4 meeting while NIH undertakes a review of its research
    priorities under NIH’s statutory and regulatory authorities. You should have received an automated
    message from eRA Commons about this. When or if the status of your application changes, you will
    receive additional notifications from eRA Commons.” A true and correct copy of this email exchange,
    dated March 4, 2025, is attached as Exhibit C. I also discussed this by telephone with the same SRO
    approximately around the same time. During that conversation I asked, “Will my grant be reviewed?”
    The SRO replied: “Unfortunately not.”
       11. On March 14, 2025, a member of the study group assigned to evaluate my pending MOSAIC
    proposal, Dr. Patrick Mulholland, reached out to me on Bluesky (a social media platform) and said
    “these types of grants were removed from the discussion list for AA-4 on the morning of review. It’s
    unclear to me if the SRO/PO will provide the written critique. My guess is that you won’t receive
    anything until an official review. Hope that happens for you and the others very soon.” A true and
    correct copy of Dr. Mulholland’s message to me, dated March 14, 2025, is attached as Exhibit D. A true
    and correct copy of the Meeting Roster for the March 4, 2025, study section, showing Dr. Mulholland as
    Chairperson, is attached as Exhibit E.
       12. On March 17, 2025, I followed up by email with my SRO and learned that “all review related
    data was deleted from the system when they moved the application out of the meeting.” A true and


                                                          4

                                                                                          APHA App. 166
Case: 25-1611      Document: 00118310432             Page: 170        Date Filed: 07/08/2025          Entry ID: 6734280

             Case 1:25-cv-10787-BEM            Document 38-21        Filed 04/25/25      Page 6 of 65




    correct copy of this email exchanged, dated March 17, 2025, is attached as Exhibit F. I understand this
    to mean that I will not receive any feedback from the three reviewers who read and reviewed my
    pending application.
       13. On March 25, 2025, I had a follow-up meeting with my PO who told me that I will not receive
    feedback, including comments on my application or the formal summary statement since it was not
    discussed at this study section meeting.
       14. On March 21, 2025, I received a phone call from a member of the study section (-AA4) who
    confirmed that my grant was set to be discussed the morning of the discussion session. She went on to
    say that it was highly regarded and likely would have received funding had it not been for NIH’s
    changes. She said “everyone was upset” that it was removed.
       15. My MOSAIC K99/R00 does not differ from the parent award except for two documents:
                a. The first is a “Statement on Activities to promote broad participation in biomedical
                   research workforce” informally called a ‘diversity statement.’ This was previously
                   known as the diversity statement on the original application, as shown by an earlier
                   program announcement: PAR-21-271;
                b. The second document the MOSAIC application requires that the parent track does not is a
                   statement written and signed by the chair of my department to certify that I am a
                   MOSAIC-eligible candidate and that I am dedicated to a career that champions and
                   fosters DEI.
       16. The delay in processing my application means I have run out of time to re-apply for this
    application. As described on page 6 of 25 in the announcement for this funding opportunity, the
    K99/R00 window is up to four years past the first day of your postdoc, which for me was June 1, 2021.
    A true and correct copy of PA 24-194 is attached as Exhibit G.
       17. I sought and was granted an extension to apply to the parent K99/ROO for the June 12, 2025,
    deadline. However, the timeline for reviewing that application means that, even if I apply and secure
    funding, the funding will arrive too late for me to benefit from it. If I apply for the June 12 deadline, the
    proposal would not be reviewed until November 2025 and, if funded, the funding would not begin until
    March or April 2026. My fellowship, however, ends on September 30, 2025. A true and correct copy of
    an NIH webpage (last visited on April 16, 2025) showing standard due dates is attached as Exhibit H.
       18. Because of NIH’s refusal to consider my application, I have lost out on two years (the K99 phase
    of the award) where I would have received cutting-edge training on my four specific and unique training



                                                          5

                                                                                              APHA App. 167
Case: 25-1611     Document: 00118310432              Page: 171        Date Filed: 07/08/2025         Entry ID: 6734280

            Case 1:25-cv-10787-BEM             Document 38-21        Filed 04/25/25     Page 7 of 65




    goals that were detailed in the Career Development Plan included in my MOSAIC K99/R00 application.
    Those four goals, which rely on researchers from my mentoring team and my consultant to provide, are:
                a. Intracranial implantation of custom-built Microwire electrode Arrays (MWA): Which
                   would have allowed me to learn how to perform surgery on rodents to implant wires
                   within the brain to record the electrical activity from within key regions of the brains
                   altered by either alcohol and/or tauopathy. Not only would this training goal have helped
                   to accomplish this research proposed, but learning this skill would have provided me with
                   a very unique skill set to help secure a future faculty job.
                b. Mathematical modeling/coding to measure brain activity: I would have been able to learn
                   how to code the data and evaluate how the electrical activity within the brain is altered
                   through this research training goal. This training would have built upon my limited
                   knowledge base, helped accomplish the research proposed and ultimately help me secure
                   a future faculty job with this skillset.
                c. Learn how to infuse chemicals to alter brain activity: I would have learned how to
                   implant specialized chemical compounds that can alter brain activity (excite/silence
                   populations of neurons) to study how increasing or reducing electrical activity would
                   have impacted brain activity within the brain. These skills would have helped to
                   accomplish the goals of the research proposed as well as make me an attractive candidate
                   for a future faculty job.
                d. Perform experiments to induce alcohol dependence using alcohol using vapor chambers:
                   This research goal would show me how to induce alcohol dependence within our models
                   to understand how alcohol dependence and withdrawal can impact electrical activity,
                   central to the research proposed. This goal would have helped facilitate the work
                   proposed and increased my ability to get a faculty job.
       19. I have also invested several months’ assembling this MOSAIC application when I could have
    instead been focused on writing publications or drafting other proposals for consideration.
       20. My institution (UNM) has lost out on the opportunity to train me for the next two years, and may
    not have the money to support my salary. UNM has also lost out on the indirect costs from the training
    portion (K99) of this grant, which is a percentage of the K99 award that is added to the overall award.
    The K99 portion was estimated to be $250,000 or $125,000/year for 2 years.
       21. The T32 training program by which I am currently funded could potentially end on June 30,
    2025. However, I have been assured through the mentor of the program that I will be eligible to be


                                                              6

                                                                                             APHA App. 168
Case: 25-1611      Document: 00118310432             Page: 172        Date Filed: 07/08/2025         Entry ID: 6734280

             Case 1:25-cv-10787-BEM            Document 38-21        Filed 04/25/25      Page 8 of 65




     carried forward until September 30, 2025. Still, I am constantly worried that this could fall through
     leaving me jobless by the end of June.
        22. I have also lost out on the ability to receive the second phase of this award (the R00 phase),
     which is not only prestigious but would have provided me with approximately $750,000 ($250,000/yr
     for three years) towards launching my own independent research program at a future institution. I have
     potentially lost out on the opportunity to pursue this career path. More fundamentally, this also means I
     have potentially lost out on the ability to pursue a career path as a faculty member at a research intensive
     graduate or medical school, limiting my career trajectory. Finally, this also impacts my mentor, as
     having a postdoctoral fellow receive this award would have been beneficial to his career trajectory, too.
        23. I have not been able to conduct any pilot projects related to this project nor lay any additional
     foundational work elucidating these mechanisms leaving this research undone and my progress towards
     research independence lacking.
        24. The research that is now being shelved would have helped the public gain a more integral
     understanding of how alcohol use and alcohol use disorder could contribute to the development of
     Alzheimer’s disease or the progression of this devastating disease, finding potential mechanisms and
     maybe even targetable pathways to reduce injuries induced by excessive alcohol consumption.


            I declare under penalty of perjury that the foregoing is true and correct.
            Executed this 20th day of April, 2025.




                                                           _____________
                                                           Nicole M. Maphis




                                                          7

                                                                                              APHA App. 169
Case: 25-1611   Document: 00118310432   Page: 173   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-21
                                  Document 38-21    Filed 04/25/25
                                                    Filed 04/25/25   Page 9
                                                                     Page 9 of
                                                                            of 65
                                                                               65




                        EXHIBIT
                        EXHIBIT A




                                                                        APHA App. 170
Case: 25-1611              Document: 00118310432                           Page: 174              Date Filed: 07/08/2025           Entry ID: 6734280

 4/14/25, 9:56 AM    Case 1:25-cv-10787-BEM                        Document    38-21
                                                                     NOT-OD-20-031: Notice of Filed    04/25/25
                                                                                              NIH's Interest in Diversity Page 10 of 65

   The Wayback Machine - https://web.archive.org/web/20250109093953/https://grants.nih.gov/grants/guide/noti…
   Notice of NIH's Interest in Diversity

   Notice Number: NOT-OD-20-031

   Key Dates
   Release Date: November 22, 2019

   Related Announcements

   NOT-AG-24-003 - Solicitation of Nominations for the 2023 National Human Genome Research Institutes Bettie
   J. Graham Leadership Award for Enhancing Diversity, Equity, Inclusion, and Accessibility in the Genomics
   Workforce.

   RFA-RM-22-001 - Limited Competition: Transformative Research to Address Health Disparities and Advance
   Health Equity at Minority Serving Institutions (U01 Clinical Trial Optional)

   NOT-OD-21-055 - Notice of Changes in the Review Criteria for Applications Submitted for NIH Support for
   Scientific Conferences (R13 and U13)
   NOT-OD-18-210 Rescinded
   NOT-MH-20-051
   NOT-OD-21-053 - Updated Guidelines for Enhancing Diversity and Creating Safe Environments in Conferences
   Supported by NIH Grants and Cooperative Agreements.
   NOT-OD-22-019 - Reminder: Notice of NIH's Encouragement of Applications Supporting Individuals from
   Underrepresented Ethnic and Racial Groups as well as Individuals with Disabilities

   NOT-HG-22-014 - Solicitation of Nominations for the 2022 National Human Genome Research Institute’s
   Outstanding Award for Enhancing Diversity, Equity, Inclusion, and Accessibility in the Genomics Workforce

   NOT-OD-22-180 - Notice of Special Interest: Administrative Supplement to Building Interdisciplinary Research
   Careers in Women’s Health (BIRCWH)

   NOT-OD-24-051 -The BIO-Entrepreneurship Capstone

   Issued by
   National Institutes of Health (NIH)

   Purpose

   NIH’s mission is to seek fundamental knowledge about the nature and behavior of living systems and to apply
   that knowledge to enhance health, lengthen life, and reduce illness and disability. To achieve this mission, NIH
   substantially invests in research to improve public health; it also devotes substantial resources to identify,
   develop, support and maintain the quality of its scientific resources, including human capital.

   This diversity statement was informed by a literature review, the reports and deliberations of several internal
   NIH committees, as well as input from Institute and Center officials, program staff and external stakeholders.

   Implementation Timeline
   This notice is effective upon its release date and supersedes the prior Notice of Interest in Diversity (NOT-OD-
   18-210), and the current diversity language in existing funding opportunity announcements (FOAs).

   Diversity Statement
   Every facet of the United States scientific research enterprise from basic laboratory research to clinical and
   translational research to policy formation requires superior intellect, creativity and a wide range of skill sets and

 https://web.archive.org/web/20250109093953/https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html                               1/3
                                                                                                                          APHA App. 171
Case: 25-1611              Document: 00118310432                           Page: 175              Date Filed: 07/08/2025   Entry ID: 6734280

               Case 1:25-cv-10787-BEM Document
 4/14/25, 9:56 AM                                            38-21
                                                   NOT-OD-20-031: Notice of Filed    04/25/25
                                                                            NIH's Interest in Diversity Page 11 of 65
   viewpoints. NIH’s ability to help ensure that the nation remains a global leader in scientific discovery and
   innovation is dependent upon a pool of highly talented scientists from diverse backgrounds who will help to
   further NIH's mission.

   Research shows that diverse teams working together and capitalizing on innovative ideas and distinct
   perspectives outperform homogenous teams. Scientists and trainees from diverse backgrounds and life
   experiences bring different perspectives, creativity, and individual enterprise to address complex scientific
   problems. There are many benefits that flow from a diverse NIH-supported scientific workforce, including:
   fostering scientific innovation, enhancing global competitiveness, contributing to robust learning environments,
   improving the quality of the research, advancing the likelihood that underserved or health disparity populations
   participate in, and benefit from health research, and enhancing public trust.

   Underrepresented Populations in the U.S. Biomedical, Clinical, Behavioral and Social Sciences Research
   Enterprise
   In spite of tremendous advancements in scientific research, information, educational and research opportunities
   are not equally available to all. NIH encourages institutions to diversify their student and faculty populations to
   enhance the participation of individuals from groups that are underrepresented in the biomedical, clinical,
   behavioral and social sciences, such as:

        A. Individuals from racial and ethnic groups that have been shown by the National Science Foundation to be
           underrepresented in health-related sciences on a national basis (see data at
           http://www.nsf.gov/statistics/showpub.cfm?TopID=2&SubID;=27) and the report Women, Minorities, and
           Persons with Disabilities in Science and Engineering). The following racial and ethnic groups have been
           shown to be underrepresented in biomedical research: Blacks or African Americans, Hispanics or Latinos,
           American Indians or Alaska Natives, Native Hawaiians and other Pacific Islanders. In addition, it is
           recognized that underrepresentation can vary from setting to setting; individuals from racial or ethnic
           groups that can be demonstrated convincingly to be underrepresented by the grantee institution should be
           encouraged to participate in NIH programs to enhance diversity. For more information on racial and ethnic
           categories and definitions, see the OMB Revisions to the Standards for Classification of Federal Data on
           Race and Ethnicity (https://www.govinfo.gov/content/pkg/FR-1997-10-30/html/97-28653.htm).

        B. Individuals with disabilities, who are defined as those with a physical or mental impairment that
           substantially limits one or more major life activities, as described in the Americans with Disabilities Act of
           1990, as amended. See NSF data at, https://www.nsf.gov/statistics/2017/nsf17310/static/data/tab7-5.pdf.

        C. Individuals from disadvantaged backgrounds, defined as those who meet two or more of the following
           criteria:
               1. Were or currently are homeless, as defined by the McKinney-Vento Homeless Assistance Act
                  (Definition: https://nche.ed.gov/mckinney-vento/);
               2. Were or currently are in the foster care system, as defined by the Administration for Children and
                  Families (Definition: https://www.acf.hhs.gov/cb/focus-areas/foster-care);
               3. Were eligible for the Federal Free and Reduced Lunch Program for two or more years (Definition:
                  https://www.fns.usda.gov/school-meals/income-eligibility-guidelines);
               4. Have/had no parents or legal guardians who completed a bachelor’s degree (see
                  https://nces.ed.gov/pubs2018/2018009.pdf);
               5. Were or currently are eligible for Federal Pell grants (Definition:
                  https://www2.ed.gov/programs/fpg/eligibility.html);
               6. Received support from the Special Supplemental Nutrition Program for Women, Infants and
                  Children (WIC) as a parent or child (Definition: https://www.fns.usda.gov/wic/wic-eligibility-
                  requirements).
               7. Grew up in one of the following areas: a) a U.S. rural area, as designated by the Health Resources
                  and Services Administration (HRSA) Rural Health Grants Eligibility Analyzer
                  (https://data.hrsa.gov/tools/rural-health), or b) a Centers for Medicare and Medicaid Services-
                  designated Low-Income and Health Professional Shortage Areas (qualifying zipcodes are included
 https://web.archive.org/web/20250109093953/https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html                       2/3
                                                                                                                     APHA App. 172
Case: 25-1611              Document: 00118310432                           Page: 176              Date Filed: 07/08/2025   Entry ID: 6734280

 4/14/25, 9:56 AM    Case 1:25-cv-10787-BEM Document                38-21
                                                         NOT-OD-20-031: Notice of Filed    04/25/25
                                                                                  NIH's Interest in Diversity Page 12 of 65
                     in the file). Only one of the two possibilities in #7 can be used as a criterion for the disadvantaged
                     background definition.


                  Students from low socioeconomic (SES) status backgrounds have been shown to obtain bachelor’s
                  and advanced degrees at significantly lower rates than students from middle and high SES groups
                  (see https://nces.ed.gov/programs/coe/indicator tva.asp), and are subsequently less likely to be
                  represented in biomedical research. For background see Department of Education data at,
                  https://nces.ed.gov/; https://nces.ed.gov/programs/coe/indicator tva.asp;
                  https://www2.ed.gov/rschstat/research/pubs/advancing-diversity-inclusion.pdf.
        D. Literature shows that women from the above backgrounds (categories A, B, and C) face particular
           challenges at the graduate level and beyond in scientific fields. (See, e.g., From the NIH: A Systems
           Approach to Increasing the Diversity of Biomedical Research Workforce
           https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5008902/ ).

   Women have been shown to be underrepresented in doctorate-granting research institutions at senior faculty
   levels in most biomedical-relevant disciplines, and may also be underrepresented at other faculty levels in some
   scientific disciplines (See data from the National Science Foundation National Center for Science and
   Engineering Statistics: Women, Minorities, and Persons with Disabilities in Science and Engineering, special
   report available at https://www.nsf.gov/statistics/2017/nsf17310/, especially Table 9-23, describing science,
   engineering, and health doctorate holders employed in universities and 4-year colleges, by broad occupation, sex,
   years since doctorate, and faculty rank).

   Upon review of NSF data, and scientific discipline or field related data, NIH encourages institutions to consider
   women for faculty-level, diversity-targeted programs to address faculty recruitment, appointment, retention or
   advancement.

   Inquiries

   Please direct all inquiries to:

   Division of Biomedical Research Workforce
   Office of Extramural Research
   Website: https://researchtraining.nih.gov
   Email: NIHTrain@mail.nih.gov

   Weekly TOC for this Announcement
   NIH Funding Opportunities and Notices




 https://web.archive.org/web/20250109093953/https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html                       3/3
                                                                                                                     APHA App. 173
Case: 25-1611   Document: 00118310432   Page: 177   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-21
                                  Document 38-21    Filed 04/25/25
                                                    Filed 04/25/25   Page 13
                                                                     Page 13 of
                                                                             of 65
                                                                                65




                         EXHIBIT
                         EXHIBIT B




                                                                        APHA App. 174
Case: 25-1611            Document: 00118310432                       Page: 178             Date Filed: 07/08/2025      Entry ID: 6734280

   4/16/25, 1:53PM    Case 1:25-cv-10787-BEM
                      Case 1:25-cv-10787-BEM                    Documenr&s@redits
                                                               Document   38-21 petiie
                                                                                  Filedddd 26/25
                                                                                        04/25/25             Page 14
                                                                                                             Page 14 of
                                                                                                                     of 65
                                                                                                                        65
       =    An a                   of the United States government   Here's how you know

            —
       ~~             GRANTS.GOV™
       VIEW GRANT OPPORTUNITY
       PAR-24-225
       Maximizing Opportunities for Scientific and Academic Independent

       Careers (MOSAIC) Postdoctoral Career Transition Award to Promote

       Diversity (K99/ROO Independent Clinical Trial Not Allowed)

       Department of Health and Human Services

       National Institutes of Health




       General Information

                  Document              Grants Notice                                                       Version:   Synopsis 5
                         Type:
                                                                                                       Posted Date:    Jul 23,
                      Funding           PAR-24-225                                                                     2024
                Opportunity                                                                     Last Updated Date:     Feb 21,
                     Number:                                                                                           2025
                      Funding           Maximizing Opportunities
                                                                                           Original Closing Date for   Sep 07,
                Opportunity             for Scientific and Academic
                                                                                                      Applications:    2027
                          Title:        Independent Careers
                                                                                           Current Closing Date for    Feb 21,
                                        (MOSAIC) Postdoctoral
                                                                                                      Applications:    2025
                                        Career Transition Award to
                                        Promote Diversity                                             Archive Date:    Feb 22,
                                        (K99/ROO Independent                                                           2025
                                        Clinical Trial Not Allowed)                    Estimated Total Program
                Opportunity             Discretionary                                                      Funding:
                     Category:                                                                       Award Ceiling:
                Opportunity                                                                            Award Floor:
                     Category
              Explanation:


   https://www.grants.gov/search-results-detail/355586                                                                              1/6


                                                                                                                  APHA App. 175
Case: 25-1611             Document: 00118310432               Page: 179        Date Filed: 07/08/2025        Entry ID: 6734280

  4/16/25, 1:53 PM   Case 1:25-cv-10787-BEM             Document 38-21
                                                              Search          Filed
                                                                     Results Detail     04/25/25
                                                                                    | Grants.gov   Page 15 of 65
                  Funding            Grant
               Instrument
                        Type:
               Category of           Education
                     Funding         Environment
                     Activity:       Food and Nutrition
                                     Health
                                     Income Security and Social
                                     Services

                Category
             Explanation:

                 Expected
                Number of
                  Awards:

                Assistance           93.113 -- Environmental
                  Listings:          Health
                                     93.121 -- Oral Diseases and
                                     Disorders Research
                                     93.172 -- Human Genome
                                     Research
                                     93.173 -- Research Related
                                     to Deafness and
                                     Communication Disorders
                                     93.213 -- Research and
                                     Training in
                                     Complementary and
                                     Integrative Health
                                     93.233 -- National Center
                                     on Sleep Disorders
                                     Research
                                     93.242 -- Mental Health
                                     Research Grants
                                     93.273 -- Alcohol Research
                                     Programs
                                     93.279 -- Drug Abuse and
                                     Addiction Research
                                     Programs
  https://www.grants.gov/search-results-detail/355586                                                                   2/6
                                                                                                       APHA App. 176
Case: 25-1611             Document: 00118310432                Page: 180       Date Filed: 07/08/2025        Entry ID: 6734280

  4/16/25, 1:53 PM   Case 1:25-cv-10787-BEM             Document 38-21
                                                              Search          Filed
                                                                     Results Detail     04/25/25
                                                                                    | Grants.gov   Page 16 of 65
                                     93.286 -- Discovery and
                                     Applied Research for
                                     Technological Innovations
                                     to Improve Human Health
                                     93.307 -- Minority Health
                                     and Health Disparities
                                     Research
                                     93.313 -- NIH Office of
                                     Research on Women's
                                     Health
                                     93.361 -- Nursing Research
                                     93.837 -- Cardiovascular
                                     Diseases Research
                                     93.838 -- Lung Diseases
                                     Research
                                     93.839 -- Blood Diseases
                                     and Resources Research
                                     93.840 -- Translation and
                                     Implementation Science
                                     Research for Heart, Lung,
                                     Blood Diseases, and Sleep
                                     Disorders
                                     93.846 -- Arthritis,
                                     Musculoskeletal and Skin
                                     Diseases Research
                                     93.847 -- Diabetes,
                                     Digestive, and Kidney
                                     Diseases Extramural
                                     Research
                                     93.853 -- Extramural
                                     Research Programs in the
                                     Neurosciences and
                                     Neurological Disorders
                                     93.855 -- Allergy and
                                     Infectious Diseases
                                     Research
                                     93.859 -- Biomedical
                                     Research and Research

  https://www.grants.gov/search-results-detail/355586                                                                   3/6
                                                                                                       APHA App. 177
Case: 25-1611             Document: 00118310432              Page: 181         Date Filed: 07/08/2025        Entry ID: 6734280

  4/16/25, 1:53 PM   Case 1:25-cv-10787-BEM             Document 38-21
                                                              Search          Filed
                                                                     Results Detail     04/25/25
                                                                                    | Grants.gov   Page 17 of 65
                                     Training
                                     93.865 -- Child Health and
                                     Human Development
                                     Extramural Research
                                     93.866 -- Aging Research
                                     93.867 -- Vision Research
                                     93.879 -- Medical Library
                                     Assistance
         Cost Sharing or             No
               Matching
           Requirement:




      Eligibility
                   Eligible           Native American tribal governments (Federally recognized)
                Applicants:           Independent school districts
                                      City or township governments
                                      State governments
                                      County governments
                                      Small businesses
                                      Public and State controlled institutions of higher education
                                      Public housing authorities/Indian housing authorities
                                      Nonprofits having a 501(c)(3) status with the IRS, other than institutions of
                                      higher education
                                      For profit organizations other than small businesses
                                      Private institutions of higher education
                                      Nonprofits that do not have a 501(c)(3) status with the IRS, other than
                                      institutions of higher education
                                      Special district governments
                                      Native American tribal organizations (other than Federally recognized tribal
                                      governments)
                                      Others (see text field entitled "Additional Information on Eligibility" for
                                      clarification)

               Additional             Other Eligible Applicants include the following: Alaska Native and Native
          Information on              Hawaiian Serving Institutions; Asian American Native American Pacific
                 Eligibility:         Islander Serving Institutions (AANAPISISs); Eligible Agencies of the Federal
  https://www.grants.gov/search-results-detail/355586                                                                   4/6
                                                                                                       APHA App. 178
Case: 25-1611             Document: 00118310432              Page: 182         Date Filed: 07/08/2025        Entry ID: 6734280

  4/16/25, 1:53 PM   Case 1:25-cv-10787-BEM             Document 38-21
                                                              Search          Filed
                                                                     Results Detail     04/25/25
                                                                                    | Grants.gov   Page 18 of 65
                                      Government; Faith-based or Community-based Organizations; Hispanic-
                                      serving Institutions; Historically Black Colleges and Universities (HBCUs);
                                      Indian/Native American Tribal Governments (Other than Federally
                                      Recognized); Non-domestic (non-U.S.) Entities (Foreign Organizations);
                                      Regional Organizations; Tribally Controlled Colleges and Universities (TCCUs)
                                      ; U.S. Territory or Possession; Non-domestic (non-U.S.) Entities (Foreign
                                      Organizations) are not eligible to apply.Non-domestic (non-U.S.)
                                      components of U.S. Organizations are not eligible to apply.Foreign
                                      components, as defined in the NIH Grants Policy Statement, are allowed.




      Additional Information
           Agency Name:               National Institutes of Health
              Description:            The purpose of the MOSAIC Postdoctoral Career Transition Award to Promote
                                      Diversity (K99/R00) program is to support a cohort of early career,
                                      independent investigators from diverse backgrounds conducting research in
                                      NIH mission areas. The long-term goal of this program is to enhance diversity
                                      in the basic biomedical sciences research workforce. The MOSAIC K99/R00
                                      program is designed to facilitate a timely transition of outstanding
                                      postdoctoral researchers from diverse backgrounds (e.g., see NIHs Interest in
                                      Diversity) from their mentored, postdoctoral research positions to
                                      independent, tenure-track or equivalent faculty positions at research-
                                      intensive institutions. The MOSAIC K99/R00 program will provide
                                      independent NIH research support during this transition to help awardees
                                      launch competitive, independent research careers. Additionally, MOSAIC
                                      K99/R00 scholars will be part of organized scientific cohorts that will be
                                      expected to participate in mentoring, networking, and professional
                                      development activities coordinated by MOSAIC Institutionally-Focused
                                      Research Education Award to Promote Diversity (UE5) grantees.
                      Link to         https://grants.nih.gov/grants/guide/pa-files/PAR-24-225.html
               Additional
             Information:
                     Grantor          If you have difficulty accessing the full announcement electronically, please
                  Contact             contact:
             Information:             NIH Grants Information
                                      grantsinfo@nih.gov
  https://www.grants.gov/search-results-detail/355586                                                                   5/6
                                                                                                       APHA App. 179
Case: 25-1611            Document: 00118310432                     Page: 183     Date Filed: 07/08/2025      Entry ID: 6734280

   4/16/25, 1:53PM    Case 1:25-cv-10787-BEM
                      Case 1:25-cv-10787-BEM                    Docume&@®reshits
                                                               Document   38-21 pbtiada@dd2a/25
                                                                                 Filed 04/25/25   Page 19
                                                                                                  Page 19 of
                                                                                                          of 65
                                                                                                             65


                                        See Section Vil. Agency Contacts within the full opportunity announcement
                                        for allother inquires.




       Return to top



       Connect with Us                         Health & Human              Community                Additional Help
                                               Services
       Blog                                                                USA.gov                  Chat now with Grant
                                               HHS.gov
       Twitter                                                             WhiteHouse.gov           Frequently Asked
                                               EEOC / No Fear Act                                   Questions
       YouTube                                                             USAspending.gov
                                               Accessibility
       Alerts                                                              SBA.gov
                                               Privacy
       RSS                                                                 SAM. gov
                                               Vulnerability
       XML Extract                             Disclosure Policy           Report Fraud

       Get Adobe Reader                        Disclaimers

                                               Site Map




             _ 7                                                                                  Yo




   https://www.grants.gov/search-results-detail/355586                                                                    6/6


                                                                                                      APHA App. 180
Case: 25-1611   Document: 00118310432   Page: 184   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-21
                                  Document 38-21    Filed 04/25/25
                                                    Filed 04/25/25   Page 20
                                                                     Page 20 of
                                                                             of 65
                                                                                65




                         EXHIBIT
                         EXHIBIT C




                                                                        APHA App. 181
Case: 25-1611            Document: 00118310432                   Page: 185        Date Filed: 07/08/2025                        Entry ID: 6734280

   4/16/25, 1:45PM     Case 1:25-cv-10787-BEM
                       Case 1:25-cv-10787-BEM                 Documema®Suzcle
                                                             Document   38-21 m Matlied O4ti6sb/25
                                                                                 Filed 04/25/25            Page 21
                                                                                                           Page 21 of
                                                                                                                   of 65
                                                                                                                      65


           lo        Outlook


           RE: Study section Meeting Today?

           From Buzas, Beata (NIH/NIAAA) [E] <bbuzas@mail.nih.gov>
           Date Tue 3/4/2025 5:19 PM
           To        Nicole M Maphis <NMaphis@salud.unm.edu>
           Ce   — Cui, Changhai (NIH/NIAAA) [E] <changhai.cui@nih.gov>; Srinivas,    R V (NIH/NIAAA) [E] <srinivar@drg.nih.gov>




          Your application has been moved out of the AA-4 meeting while NIH undertakes a review of its research
          priorities under NIH’s statutory and regulatory authorities. You should have received an automated
          message from eRA Commons about this. When or if the status of your application changes, you will
          receive additional notifications from eRA Commons.




          From: Nicole M Maphis <NMaphis@salud.unm.edu>
          Sent: Tuesday, March 4, 2025 6:29 PM
          To: Cui, Changhai (NIH/NIAAA) [E] <changhai.cui@nih.gov>
          Cc: Buzas, Beata (NIH/NIAAA) [E] <bbuzas@mail.nih.gov>
          Subject: [EXTERNAL] Re: Study section Meeting Today?

          Dr. Cui,
          Thank you so much for the reply. Approximately 45 minutes after | emailed you, | got an automated email
          from era-notify@mail.nih.gov noting that "there has been a change in the assignment of your grant
          application." It appears as if it has been assigned to a different scientific review group: ZAA1-SRC (99),
          which | believe is an NIAAA special emphasis panel. The study section has also been tentatively
          scheduled for 2025/05. I'm not sure if that falls under the purview of Dr. Beata Buzas.
          | guess I'll keep checking as May approaches to see if/when a date will be chosen. | am most concerned
          because | lose eligibility to try for another K99/ROO since June 1, 20271 is the date | started my postdoc.
          Having this grant review so late may mean | lose my fellowship funding before | hear back about this
          award.
          There are just a lot of unknowns right now.
          Thank you both for all the work you do and continue to do.
          Sincerely,
          Nikki



           Nikki Maphis, PhD (she/her/hers)


           UNM T32 Postdoctoral Scholar (CASAA)

           IRACDA/ASERT Postdoctoral Research Fellow


           National Postdoctoral Association IMPACT Fellow


           Linsenbardt Lab

   https://outlook.office.com/mail/id/AAKALGAAAAAAHY
                             QDEapmEc2byACqAC %2FEW 0A                                   1j%2Boxtvy1UmcdpRVjtX%2BsgAEEF8PfwAA              1/2


                                                                                                                   APHA App. 182
Case: 25-1611           Document: 00118310432                  Page: 186           Date Filed: 07/08/2025                 Entry ID: 6734280

   4/16/25, 1:45PM     Case 1:25-cv-10787-BEM
                       Case 1:25-cv-10787-BEM            Documema®dvizdle
                                                         Document  38-21 m Mafied Odtbdb/25
                                                                            Filed 04/25/25                Page 22
                                                                                                          Page 22 of
                                                                                                                  of 65
                                                                                                                     65
           Department of Neurosciences


           University of New Mexico


          Albuquerque, NM 87131


           Connect with me @LinkediIn


           Check out my publications here!


          From: Cui, Changhai (NIH/NIAAA) [E] <changhai.cui@nih.gov>
          Sent: Tuesday, March 4, 2025 2:41 PM
          To: Nicole M Maphis <NMaphis@salud.unm.edu>
           Cc: Buzas, Beata (NIH/NIAAA) [E] <bbuzas@mail.nih.gov>
           Subject: RE: Study section Meeting Today?




           Hi Nikki,

          Dr. Beata Buza (copied) is the SRO of AA4. Please follow up with her on your questions, and she will let
          you know the updated policy on the review.

           Best,


           Changhai


           From: Nicole M Maphis <NMaphis@salud.unm.edu>
          Sent: Tuesday, March 4, 2025 10:45 AM
          To: Cui, Changhai (NIH/NIAAA) [E] <changhai.cui@nih.gov>
          Subject: [EXTERNAL] Study section Meeting Today?

          Good afternoon,
                    | just wanted to reach out to see if the study section was meeting to review my grant today (3/4/25, 9
          am). | assume it is not, but there have been no updates on era commons and | have checked every single day.
                    If the study section has been cancelled, do you have a possible date that it will reconvene? I’m very
          concerned that this delay could mean | will be out of a job before funding could start. | am currently funded
          through a T32 (CASAA at UNM) until June 30. Originally there would have been a no cost extension so | could be
          funded through the end of September, but that may no longer be possible.
          | appreciate the fact that you may not have any updates.
          | sincerely thank you in advance for your time.
          Sincerely,
           Nikki
           CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you
           recognize the sender and are confident the content is safe.


           CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you
           recognize the sender and are confident the content is safe.




   https://outlook.office.com/mail/id/AAKALgAAAAAAHY QDEapmEc2byACqAC%2FEWg0A1j%2Boxtvy1 UmcdpRVjtX%2BsgAEEF8PiwAA                   2/2


                                                                                                                 APHA App. 183
Case: 25-1611   Document: 00118310432   Page: 187   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-21
                                  Document 38-21    Filed 04/25/25
                                                    Filed 04/25/25   Page 23
                                                                     Page 23 of
                                                                             of 65
                                                                                65




                        EXHIBIT
                        EXHIBIT D




                                                                        APHA App. 184
Case: 25-1611    Document: 00118310432            Page: 188       Date Filed: 07/08/2025           Entry ID: 6734280

                Case 1:25-cv-10787-BEM         Document 38-21     Filed 04/25/25     Page 24 of 65


                        <—     Post                                                      °d


                       ie        Patrick Mulholland (He/Him)
                        i=       @mulhollandlab.bsky.social

                       These types of grants were removed
                       from the discussion list for AA-4 on the
                       nate)aaliale Me) ima=\VA(-\"Am Lome aed (=t-] encom aal=)
                       if the SRO/PO will provide the written
                       critique. My guess is that you won't
                       ig=Xor-yhVi-Wr-Vahvasaliale Melaliim- lame asledt-] Ma-\VA(-\V2
                       im (o) kom Nat-lam ar-]©) eX-Jalomre)mnyolem-lalemual=
                       others very soon
                        March 13, 2025 at 11:22 PM

                                           J




                         =       Nikki Maphis, PhD @neuronikki.bsky.s...1mo
                                 | sincerely hope so, too. | was really proud
                                 of all of the work I've done to revise this
                                 application. For it to have just been a waste
                                 of time for everyone is quite depressing.
                                 My SRO made it seem like | would
                                 not receive any feedback since it was
                                 removed.
                                 a)


                          —      Nikki Maphis, PhD @neuronikki.bsky.s.. Imo
                                 Thank you for your response.
                                 CJ




                       AN     write your reply



                             (eo                 ee Se
                                                                                              APHA App. 185
Case: 25-1611   Document: 00118310432   Page: 189   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-21
                                  Document 38-21    Filed 04/25/25
                                                    Filed 04/25/25   Page 25
                                                                     Page 25 of
                                                                             of 65
                                                                                65




                         EXHIBIT
                         EXHIBIT E




                                                                        APHA App. 186
Case: 25-1611        Document: 00118310432                  Page: 190          Date Filed: 07/08/2025               Entry ID: 6734280

              Case 1:25-cv-10787-BEM            Document
                                                  MEETING38-21
                                                            ROSTER Filed 04/25/25       Page 26 of 65
                                       Neuroscience and Behavior Study Section
                       National Institute on Alcohol Abuse and Alcoholism Initial Review Group
                           NATIONAL INSTITUTE ON ALCOHOL ABUSE AND ALCOHOLISM
                                                         AA-4
                                                      03/04/2025

    Notice of NIH Policy to All Applicants: Meeting rosters are provided for information purposes only. Applicant
    investigators and institutional officials must not communicate directly with study section members about an
    application before or after the review. Failure to observe this policy will create a serious breach of integrity in the
    peer review process, and may lead to actions outlined in NOT-OD-22-044, including removal of the application
    from immediate review.

    CHAIRPERSON(S)                                                           COSGROVE, KELLY P., PHD
    MULHOLLAND, PATRICK J., PHD                                              PROFESSOR
    PROFESSOR                                                                DEPARTMENT OF PSYCHIATRY
    DEPARTMENTS OF NEUROSCIENCE AND PSYCHIATRY AND                           YALE UNIVERSITY SCHOOL OF MEDICINE
    BEHAVIORAL SCIENCES                                                      NEW HAVEN, CT 06510
    MEDICAL UNIVERSITY OF SOUTH CAROLINA
    CHARLESTON, SC 29425                                                     DEAK, TERRENCE, PHD *
                                                                             PROFESSOR
    MEMBERS                                                                  DEPARTMENT OF PSYCHOLOGY
    ANOKHIN, ANDREY P., PHD                                                  BINGHAMTON UNIVERSITY, SUNY
    PROFESSOR                                                                BINGHAMTON, NY 13902
    DEPARTMENT OF PSYCHIATRY
    WASHINGTON UNIVERSITY SCHOOL OF MEDICINE                                 GREMEL, CHRISTINA M., PHD
    ST. LOUIS, MO 63110                                                      PROFESSOR
                                                                             DEPARTMENT OF PSYCHOLOGY
    BARSON, JESSICA R., PHD                                                  UNIVERSITY OF CALIFORNIA, SAN DIEGO
    ASSOCIATE PROFESSOR                                                      LA JOLLA, CA 92093
    DEPARTMENT OF NEUROBIOLOGY AND ANATOMY
    DREXEL UNIVERSITY COLLEGE OF MEDICINE                                    GUIZZETTI, MARINA, PHD
    PHILADELPHIA, PA 19129                                                   PROFESSOR DEPARTMENT OF BEHAVIORAL
                                                                             NEUROSCIENCE
    BESHEER, JOYCE, PHD                                                      OREGON HEALTH AND SCIENCE UNIVERSITY
    PROFESSOR                                                                RESEARCH BIOLOGIST
    DEPARTMENT OF PSYCHIATRY                                                 PORTLAND VA MEDICAL CENTER
    BOWLES CENTER FOR ALCOHOL STUDIES                                        PORTLAND, OR 97239-3098
    UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL
    CHAPEL HILL, NC 27599-7178                                               KIMBROUGH, ADAM J, BS, PHD *
                                                                             ASSISTANT PROFESSOR
    CHEN, SHAO-YU, PHD                                                       DEPARTMENT OF BASIC MEDICAL SCIENCES
    PROFESSOR AND DISTINGUISHED UNIVERSITY SCHOLAR                           PURDUE UNIVERSITY
    DEPARTMENT OF PHARMACOLOGY AND TOXICOLOGY                                WEST LAFAYETTE, IN 47907
    UNIVERSITY OF LOUISVILLE SCHOOL OF MEDICINE
    LOUISVILLE, KY 40202                                                     LAPISH, CHRISTOPHER COURT, PHD
                                                                             ASSOCIATE PROFESSOR
    CLARK, SHAUNNA L, PHD *                                                  DEPARTMENT OF PSYCHOLOGY
    ASSOCIATE PROFESSOR                                                      INDIANA UNIVERSITY-PURDUE UNIVERSITY INDIANAPOLIS
    DEPARTMENT OF PSYCHIATRY AND BEHAVIORAL                                  INDIANAPOLIS, IN 46202
    SCIENCES
    COLLEGE OF MEDICINE                                                      MEDINA, ALEXANDRE E., PHD
    TEXAS A&M UNIVERSITY                                                     ASSOCIATE PROFESSOR
    BRYAN, TX 77807                                                          DEPARTMENT OF PEDIATRICS
                                                                             UNIVERSITY OF MARYLAND SCHOOL OF MEDICINE
    CLARK, URAINA S., PHD                                                    BALTIMORE, MD 21210
    ASSOCIATE PROFESSOR
    DEPARTMENT OF NEUROLOGY                                                  MOORMAN, DAVID E., PHD
    ICAHN SCHOOL OF MEDICINE AT MOUNT SINAI                                  ASSOCIATE PROFESSOR
    NEW YORK, NY 10029                                                       DEPARTMENT OF PSYCHOLOGICAL AND BRAIN SCIENCES
                                                                             UNIVERSITY OF MASSACHUSETTS AMHERST
    CONTET, CANDICE, PHD                                                     AMHERST, MA 01003
    ASSOCIATE PROFESSOR
    DEPARTMENT OF MOLECULAR MEDICINE
    THE SCRIPPS RESEARCH INSTITUTE
    LA JOLLA, CA 92037




                                                                                                                Page:    1
    CM6065J
                                                                                                                  02/25/25
                                                                                                           APHA App. 187
Case: 25-1611         Document: 00118310432                        Page: 191   Date Filed: 07/08/2025             Entry ID: 6734280

                  Case 1:25-cv-10787-BEM              Document
                                                        MEETING38-21
                                                                  ROSTER Filed 04/25/25       Page 27 of 65
                                             Neuroscience and Behavior Study Section
                             National Institute on Alcohol Abuse and Alcoholism Initial Review Group
                                 NATIONAL INSTITUTE ON ALCOHOL ABUSE AND ALCOHOLISM
                                                               AA-4
                                                            03/04/2025

       Notice of NIH Policy to All Applicants: Meeting rosters are provided for information purposes only. Applicant
       investigators and institutional officials must not communicate directly with study section members about an
       application before or after the review. Failure to observe this policy will create a serious breach of integrity in the
       peer review process, and may lead to actions outlined in NOT-OD-22-044, including removal of the application
       from immediate review.

       OZBURN, ANGELA RENEE, PHD
       ASSOCIATE PROFESSOR
       DEPARTMENT OF BEHAVIORAL NEUROSCIENCE
       OREGON HEALTH AND SCIENCE UNIVERSITY
       RESEARCH BIOLOGIST
       VA PORTLAND HEALTHCARE SYSTEM
       PORTLAND, OR 97239

       PONOMAREV, IGOR, PHD
       ASSOCIATE PROFESSOR
       DEPARTMENT OF PHARMACOLOGY AND NEUROSCIENCE
       TEXAS TECH UNIVERSITY HEALTH SCIENCES CENTER
       LUBBOCK, TX 79430

       SCHANK, JESSE R., PHD
       ASSOCIATE PROFESSOR
       DEPARTMENT OF PHYSIOLOGY AND PHARMACOLOGY
       UNIVERSITY OF GEORGIA
       ATHENS, GA 30602


       SCIENTIFIC REVIEW OFFICER
       BUZAS, BEATA, PHD
       SCIENTIFIC REVIEW OFFICER
       EXTRAMURAL PROJECT REVIEW BRANCH
       OFFICE OF EXTRAMURAL ACTIVITIES
       NATIONAL INSTITUTE ON ALCOHOL ABUSE AND
       ALCOHOLISM
       NATIONAL INSTITUTES OF HEALTH
       BETHESDA, MD 20892


       EXTRAMURAL SUPPORT ASSISTANT
       LYLES, DEIRDRE
       EXTRAMURAL SUPPORT ASSISTANCE
       NATIONAL INSTITUTES OF HEALTH
       NATIONAL INSTITUTE OF ALCOHOL ABUSE AND
       ALCOHOLISM
       OFFICE OF EXTRAMURAL ACTIVITIES
       EXTRAMURAL PROJECT REVIEW BRANCH
       BETHESDA, MD 20892-9304

       * Temporary Member. For grant applications, temporary members
       may participate in the entire meeting or may review only selected
       applications as needed.
       Consultants are required to absent themselves from the room
       during the review of any application if their presence would
       constitute or appear to constitute a conflict of interest.




                                                                                                                   Page:    2
       CM6065J
                                                                                                                     02/25/25
                                                                                                          APHA App. 188
Case: 25-1611   Document: 00118310432   Page: 192   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-21
                                  Document 38-21    Filed 04/25/25
                                                    Filed 04/25/25   Page 28
                                                                     Page 28 of
                                                                             of 65
                                                                                65




                         EXHIBIT
                         EXHIBIT F




                                                                        APHA App. 189
Case: 25-1611                                    Document: 00118310432          Page: 193       Date Filed: 07/08/2025   Entry ID: 6734280

   4/14/25,4:06PM                               Case 1:25-cv-10787-BEM
                                                Case 1:25-cv-10787-BEM      Documemia®8acke
                                                                           Document 38-21 mM Malleadddie5/25
                                                                                              Filed 04/25/25   Page 29
                                                                                                               Page 29 of
                                                                                                                       of 65
                                                                                                                          65


                      lo MI Outlook


                      RE: Comments for KAA032041A

                       From Buzas, Beata (NIH/NIAAA)              [E] <bbuzas@mail.nih.gov>
                       Date              Mon 3/17/2025 3:56 PM
                       To                Nicole M Maphis <NMaphis@salud.unm.edu>
                       Cc                Cui, Changhai (NIH/NIAAA) [E] <changhai.cui@nih.gov>




                      Hi Nikki, | am sorry, all review related data was deleted from the system when they moved the
                      application out of the meeting. Best: Beata

                      From: Nicole M Maphis <NMaphis@salud.unm.edu>
                      Sent: Monday, March 17, 2025 5:34 PM
                     To: Buzas, Beata (NIH/NIAAA) [E] <bbuzas@mail.nih.gov>
                     Subject: [EXTERNAL] Re: Comments for KAA032041A

                     Dr. Buzas,
                     Thank you for your quick reply. Wow, that is even more upsetting. So, | will receive no input on my
                     application, even though | spent 6 months revising it, and 3 peer reviewers spent 3-4 weeks
                     reading/reviewing the application?
                     Thank you for the clarification.
                     | sincerely appreciate your work and your effort on this.
                      Sincerely,
                      Nikki



                      Nikki Maphis, PhD (she/her/hers)

                      UNM T32 Postdoctoral Scholar (CASAA)

                      IRACDA/ASERT Postdoctoral Research Fellow

                      National Postdoctoral Association IMPACT Fellow


                      Linsenbardt Lab

                      Department of Neurosciences


                      University of New Mexico

                     Albuquerque, NM 87131

                      Connect with me @LinkedIn

                      Check out my publications here!




   https://outlook.office.com/mail/id/AAKALgA                AAAAAHY QDEapmEc2byACqAC%2FEW
                                                                             20A 1j%2BoXtvy1UmedpRVjtX %2BsgAEGot4jAAA              1/5

                                                                                                                   APHA App. 190
Case: 25-1611          Document: 00118310432                Page: 194         Date Filed: 07/08/2025             Entry ID: 6734280

 4/14/25, 4:06 PM   Case 1:25-cv-10787-BEM             Document
                                                             Mail38-21        Filed- Outlook
                                                                  - Nicole M Maphis   04/25/25     Page 30 of 65
         From: Buzas, Beata (NIH/NIAAA) [E] <bbuzas@mail.nih.gov>
         Sent: Monday, March 17, 2025 9:28 AM
         To: Nicole M Maphis <NMaphis@salud.unm.edu>
         Subject: RE: Comments for KAA032041A

                           [[-- External - this message has been sent from outside the University --]]

         Hi Nikki, Since the application was removed from the meeting, there is no way that I can release
         SS, since there are no critiques anymore. All data was deleted when they moved the application
         from the meeting. Beata

         From: Nicole M Maphis <NMaphis@salud.unm.edu>
         Sent: Monday, March 17, 2025 11:05 AM
         To: Buzas, Beata (NIH/NIAAA) [E] <bbuzas@mail.nih.gov>
         Cc: Cui, Changhai (NIH/NIAAA) [E] <changhai.cui@nih.gov>
         Subject: [EXTERNAL] Re: Comments for KAA032041A

         Dr. Buzas,
         I know that my application was pulled, but I was wondering if I would receive a summary statement, at
         the very least, since 3 reviewers likely read my grant. Isn't that how peer review works? Since I will be
         responding to the June 12, 2025 with a new application under the parent award I want to give my
         application the best chance of succeeding.
         Thank you in advance for any clarity you can provide on this matter.
         As always, please give me a call at 440.465.9150 if you prefer to discuss this matter on the phone.

         Best,
         Nikki

         --

         Nikki Maphis, PhD (she/her/hers)

         UNM T32 Postdoctoral Scholar (CASAA)

         IRACDA/ASERT Postdoctoral Research Fellow

         National Postdoctoral Association IMPACT Fellow

         Linsenbardt Lab

         Department of Neurosciences

         University of New Mexico

         Albuquerque, NM 87131

         Connect with me @LinkedIn

         Check out my publications here!


         From: Cui, Changhai (NIH/NIAAA) [E] <changhai.cui@nih.gov>
         Sent: Saturday, March 15, 2025 2:15 PM
         To: Nicole M Maphis <NMaphis@salud.unm.edu>
         Subject: RE: Comments for KAA032041A

 https://outlook.office.com/mail/id/AAkALgAAAAAAHYQDEapmEc2byACqAC%2FEWg0A1j%2BoXtvy1UmcdpRVjtX%2BsgAEGot4jAAA              2/5
                                                                                                         APHA App. 191
Case: 25-1611           Document: 00118310432              Page: 195          Date Filed: 07/08/2025             Entry ID: 6734280

 4/14/25, 4:06 PM   Case 1:25-cv-10787-BEM Document         Mail38-21        Filed- Outlook
                                                                 - Nicole M Maphis   04/25/25 Page 31 of 65
                         [[-- External - this message has been sent from outside the University --]]

         Hi Nikki,

         Beata Buzas is the SRO who managed the study section review meeting to which your K99/R00 was
         assigned. So she will know the answers to your questions. You can reach out to her directly. My
         understanding is that there will not be a summary statement, but please ask Beata Buzas
         (bbuzas@mail.nih.gov) to confirm.

         I am glad you have ample time to submit a regular K99/R00 application to Jun 12, 2025 due date.

         With all best wishes!

         Changhai




         From: Nicole M Maphis <NMaphis@salud.unm.edu>
         Sent: Friday, March 14, 2025 6:12 PM
         To: Cui, Changhai (NIH/NIAAA) [E] <changhai.cui@nih.gov>
         Subject: [EXTERNAL] Re: Comments for KAA032041A

         Dr. Cui,
         Apologies if I wasn't clear. I am just wondering if I am going to receive any feedback from my
         application. For example, whether or not it was discussed and/or scored, 3 independent
         reviewers read my application and theoretically would have comments/feedback. I guess I
         wonder if there is a summary statement that I will receive, or if I get no peer review on this
         application because it was removed from consideration.
         Please let me know if had any other questions.
         Sincerely,
         Nikki


         --

         Nikki Maphis, PhD (she/her/hers)

         UNM T32 Postdoctoral Scholar (CASAA)

         IRACDA/ASERT Postdoctoral Research Fellow

         National Postdoctoral Association IMPACT Fellow

         Linsenbardt Lab

         Department of Neurosciences

         University of New Mexico

         Albuquerque, NM 87131

         Connect with me @LinkedIn

         Check out my publications here!


 https://outlook.office.com/mail/id/AAkALgAAAAAAHYQDEapmEc2byACqAC%2FEWg0A1j%2BoXtvy1UmcdpRVjtX%2BsgAEGot4jAAA              3/5
                                                                                                         APHA App. 192
Case: 25-1611          Document: 00118310432                   Page: 196      Date Filed: 07/08/2025            Entry ID: 6734280

   4/14/25,406PM      Case 1:25-cv-10787-BEM
                      Case 1:25-cv-10787-BEM                Documelmai®Sacide
                                                           Document 38-21 mM Malieaddidc25/25
                                                                              Filed 04/25/25      Page 32
                                                                                                  Page 32 of
                                                                                                          of 65
                                                                                                             65
          From: Cui, Changhai (NIH/NIAAA) [E] <changhai.cui@nih.gov>
          Sent: Friday, March 14, 2025 3:31 PM
          To: Nicole M Maphis <NMaphis@salud.unm.edu>
          Subject: RE: Comments for KAA032041A




          Hi Nikki,

          What do you mean “the comments attached” to your application? Can you attach it to the email if it is
          appropriate?

          Best,

          Changhai

          From: Nicole      M Maphis    <NMaphis @salud.unm.edu>
          Sent: Friday, March 14, 2025 5:01 PM
          To: Cui, Changhai (NIH/NIAAA) [E] <changhai.cui@nih.gov>
          Subject: [EXTERNAL] Comments for KAA032041A

          Good afternoon Dr. Cui,
          | am writing in the hopes that you can provide me with the comments attached to my application
          (Application ID: KAA032041A). It is unclear to me whether or not my grant will be discussed at any future
          scientific review meetings. These comments will inform a future submission to the parent award PAR,
          planned for June 12, 2025, since Dr. Marmilliot has granted me an extension to my eligibility.
          Happy to meet with you virtually or if you would like to call, please do so: 440.465.9150.
          Thank you so much for your time and attention to this matter.
          Nikki



          Nikki Maphis, PhD (she/her/hers)

          UNM T32 Postdoctoral Scholar (CASAA)


          IRACDA/ASERT      Postdoctoral Research Fellow


          National Postdoctoral Association IMPACT Fellow


          Linsenbardt Lab

          Department of Neurosciences


          University of New Mexico

          Albuquerque, NM 87131

          Connect with me @LinkediIn

          Check out my publications here!

           CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless
           you recognize the sender and are confident the content is safe.


   https://outlook.office.com/mail/id/AAkKALgA
                 AAAAAHY QDEapmEc2byACqAC%2FEW 20A 1j%2BoXtvy1UmedpRVjtX %2BsgAEGot4jAAA

                                                                                                        APHA App. 193
Case: 25-1611         Document: 00118310432                     Page: 197           Date Filed: 07/08/2025               Entry ID: 6734280

   4/14/25,406PM    Case 1:25-cv-10787-BEM
                    Case 1:25-cv-10787-BEM                 Documelmai®Sacide
                                                          Document 38-21 mM Malieaddidc25/25
                                                                             Filed 04/25/25                 Page 33
                                                                                                            Page 33 of
                                                                                                                    of 65
                                                                                                                       65
           CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless
           you recognize the sender and are confident the content is safe.


           CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless
           you recognize the sender and are confident the content is safe.


           CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless
           you recognize the sender and are confident the content is safe.




   https://outlook.office.com/mail/id/AAkKALgA AAAAAHY QDEapmEc2byACqAC%2FEW 20A 1j%2BoXtvy1UmedpRVjtX %2BsgAEGot4jAAA              5/5

                                                                                                                  APHA App. 194
Case: 25-1611   Document: 00118310432   Page: 198   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-21
                                  Document 38-21    Filed 04/25/25
                                                    Filed 04/25/25   Page 34
                                                                     Page 34 of
                                                                             of 65
                                                                                65




                        EXHIBIT
                        EXHIBIT G




                                                                        APHA App. 195
Case: 25-1611              Document: 00118310432                  Page: 199          Date Filed: 07/08/2025                Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 35
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)


                                                      March 31, 2025
    This funding opportunity was updated to align with agency priorities. Carefully reread the full funding opportunity and
                           make any needed adjustments to your application prior to submission.


      Department of Health and Human Services

      Part 1. Overview Information
      Participating Organization(s)
      National Institutes of Health (NIH (http://www.nih.gov))




      Components of Participating Organizations




  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                          1/25
                                                                                                                  APHA App. 196
Case: 25-1611              Document: 00118310432                     Page: 200           Date Filed: 07/08/2025                  Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 36
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)

      NATIONAL INSTITUTES OF HEALTH (NIH (https://www.nih.gov/))

      National Eye Institute (NEI (https://www.nei.nih.gov/))

      National Heart, Lung, and Blood Institute (NHLBI (https://www.nhlbi.nih.gov/))

      National Human Genome Research Institute (NHGRI (https://www.genome.gov/))

      National Institute on Aging (NIA (https://www.nia.nih.gov/))

      National Institute on Alcohol Abuse and Alcoholism (NIAAA (https://www.niaaa.nih.gov/))

      National Institute of Allergy and Infectious Diseases (NIAID (https://www.niaid.nih.gov/))

      National Institute of Arthritis and Musculoskeletal and Skin Diseases (NIAMS (https://www.niams.nih.gov/))

      National Institute of Biomedical Imaging and Bioengineering (NIBIB (https://www.nibib.nih.gov/))

      Eunice Kennedy Shriver National Institute of Child Health and Human Development (NICHD (https://www.nichd.nih.gov/))

      National Institute on Deafness and Other Communication Disorders (NIDCD (https://www.nidcd.nih.gov/))

      National Institute of Dental and Craniofacial Research (NIDCR (https://www.nidcr.nih.gov/))

      National Institute of Diabetes and Digestive and Kidney Diseases (NIDDK (https://www.niddk.nih.gov/))

      National Institute on Drug Abuse (NIDA (https://www.drugabuse.gov/))

      National Institute of Environmental Health Sciences (NIEHS (https://www.niehs.nih.gov/))

      National Institute of General Medical Sciences (NIGMS (https://www.nigms.nih.gov/))

      National Institute of Mental Health (NIMH (https://www.nimh.nih.gov/index.shtml))

      National Institute of Neurological Disorders and Stroke (NINDS (https://www.ninds.nih.gov/))

      National Institute of Nursing Research (NINR (https://www.ninr.nih.gov/))

      National Institute on Minority Health and Health Disparities (NIMHD (https://www.nimhd.nih.gov/))

      National Library of Medicine (NLM (https://www.nlm.nih.gov/))

      National Center for Complementary and Integrative Health (NCCIH (https://nccih.nih.gov/))

      All applications to this funding opportunity announcement should fall within the mission of the Institutes/Centers. The following NIH Offices
      may co-fund applications assigned to those Institutes/Centers.

      Office of Research on Women's Health (ORWH (https://orwh.od.nih.gov/))

      Office of Data Science Strategy (ODSS (https://datascience.nih.gov/about/odss))



      Special Note: Not all NIH Institutes and Centers participate in Parent Announcements. Candidatesshould carefully note which ICs
      participate in this announcement and view their respective areas of research interest and requirements at the Table of IC-Specific
      Information, Requirements and Staff Contacts (https://grants.nih.gov/grants/guide/contacts/IC-specific-information-PA-24-194.html)
      website. ICs that do not participate in this announcement will not consider applications for funding. Consultation with NIH staff before
      submitting an application is strongly encouraged.



      Funding Opportunity Title

      NIH Pathway to Independence Award (Parent K99/R00 – Independent Clinical Trial Not
      Allowed)

      Activity Code
      K99 (//grants.nih.gov/grants/funding/ac_search_results.htm?text_curr=k99&Search.x=0&Search.y=0&Search_Type=Activity)/R00
      (//grants.nih.gov/grants/funding/ac_search_results.htm?text_curr=r00&Search.x=0&Search.y=0&Search_Type=Activity) Career Transition
      Award/Research Transition Award



  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                     2/25
                                                                                                                       APHA App. 197
Case: 25-1611              Document: 00118310432                    Page: 201            Date Filed: 07/08/2025                 Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 37
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      Announcement Type
      Reissue of PA-20-188 (https://grants.nih.gov/grants/guide/pa-files/PA-20-188.html)


      Related Notices
              See Notices of Special Interest (https://grants.nih.gov/grants/guide/NOSIs_targetingList.cfm?GuideDocID=40824) associated with
              this funding opportunity

              March 31, 2025 - This funding opportunity was updated to align with agency priorities. Carefully reread the full funding opportunity
              and make any needed adjustments to your application prior to submission.
              January 15, 2025 - Notice of the Discontinuation of NCI's Participation in PA-24-193, PA-24-194 & PA-24-195 NIH Pathway to
              Independence Award (Parent K99/R00). See Notice NOT-CA-25-021 (//grants.nih.gov/grants/guide/notice-files/NOT-CA-25-
              021.html).
              April 04, 2024 - Overview of Grant Application and Review Changes for Due Dates on or after January 25, 2025. See Notice NOT-
              OD-24-084 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-24-084.html)
              September 25, 2024 - Notice of a Virtual Question and Answer "Informational Session" with NICHD Staff for the K99/R00 Pathway
              to Independence Award. See Notice NOT-HD-24-037 (https://grants.nih.gov/grants/guide/notice-files/NOT-HD-24-037.html).
              June 4, 2024 - Guidance Regarding Reduction of Effort for NIMHD Individual Mentored K Awards. See Notice NOT-MD-24-017
              (//grants.nih.gov/grants/guide/notice-files/NOT-MD-24-017.html)
              May 30, 2024 - Notice to Alert the Public of NIDA's Career Development Award Salary Limits. See Notice NOT-DA-24-032
              (//grants.nih.gov/grants/guide/notice-files/NOT-DA-24-032.html)
              May 7, 2024 - Notice of Information: NIAID to Increase K99, K25, and K01 Salary and Research Support and R00 Years of
              Support. See Notice NOT-AI-24-038 (//grants.nih.gov/grants/guide/notice-files/NOT-AI-24-038.html)
              August 31, 2022- Implementation Changes for Genomic Data Sharing Plans Included with Applications Due on or after January 25,
              2023. See Notice NOT-OD-22-198 (https://grants.nih.gov/grants/guide/notice-files/not-od-22-198.html).
              August 5, 2022- Implementation Details for the NIH Data Management and Sharing Policy. See Notice NOT-OD-22-189
              (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-22-189.html).



      Funding Opportunity Number (FON)

      PA-24-194

      Companion Funding Opportunity
      PA-24-193 (https://grants.nih.gov/grants/guide/pa-files/PA-24-193.html) , K99
      (https://grants.nih.gov/grants/funding/ac_search_results.htm?text_curr=K99&&Search.x=0&&Search.y=0&&Search_Type=Activity)/ R00
      (https://grants.nih.gov/grants/funding/ac_search_results.htm?text_curr=R00&&Search.x=0&&Search.y=0&&Search_Type=Activity) Career
      Transition Award/Research Transition Award
      PA-24-195 (https://grants.nih.gov/grants/guide/pa-files/PA-24-195.html) , K99
      (https://grants.nih.gov/grants/funding/ac_search_results.htm?text_curr=K99&&Search.x=0&&Search.y=0&&Search_Type=Activity)/ R00
      (https://grants.nih.gov/grants/funding/ac_search_results.htm?text_curr=R00&&Search.x=0&&Search.y=0&&Search_Type=Activity) Career
      Transition Award/Research Transition Award


      Number of Applications
      See Section III. 3. Additional Information on Eligibility.



      Assistance Listing Number(s)
      93.855, 93.213, 93.242, 93.865, 93.846, 93.286, 93.859, 93.866, 93.121, 93.879, 93.172, 93.173, 93.847, 93.867, 93.313, 93.113,
      93.279, 93.361, 93.398, 93.307, 93.853, 93.310, 93.837, 93.233, 93.838, 93.839, 93.840, 93.273


      Funding Opportunity Purpose




  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                        3/25
                                                                                                                       APHA App. 198
Case: 25-1611              Document: 00118310432                       Page: 202            Date Filed: 07/08/2025                     Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 38
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)

      The purpose of the NIH Pathway to Independence Award (K99/R00) program is to facilitate a timely transition of outstanding postdoctoral
      researchers with a research and/or clinical doctorate degree from mentored, postdoctoral research positions to independent, tenure-track
      or equivalent faculty positions. The program will provide independent NIH research support during this transition in order to help awardees
      to launch competitive, independent research careers.



      This Notice of Funding Opportunity (NOFO) is designed specifically for candidates proposing research that does not involve leading an
      independent clinical trial, a clinical trial feasibility study, or an ancillary clinical trial. Under this NOFO candidates are permitted to propose
      a research experience in a clinical trial led by a mentor or co-mentor. Those proposing a clinical trial or an ancillary clinical trial as lead
      investigator, should apply to the companion NOFO (PA-24-193 (https://grants.nih.gov/grants/guide/pa-files/PA-24-193.html)).




      Key Dates
      Posted Date
      April 24, 2024


      Open Date (Earliest Submission Date)
      May 10, 2024


      Letter of Intent Due Date(s)
      Not Applicable


      The following table includes NIH standard due dates (https://grants.nih.gov/grants/how-to-apply-application-guide/due-dates-and-
      submission-policies/due-dates.htm) marked with an asterisk.

                                       Application Due Dates                                                 Review and Award Cycles

                           Renewal /
                        Resubmission                          AIDS -                                   Scientific        Advisory
                        / Revision (as          New/Renewal/Resubmission/Revision,                       Merit           Council           Earliest
           New             allowed)                         as allowed                                  Review            Review          Start Date

       June 12,         July 12, 2024 *         September 07, 2024 *                                 November           January 2025      April 2025
       2024 *                                                                                        2024

       October 12,      November 12,            January 07, 2025 *                                   March 2025         May 2025          July 2025
       2024 *           2024 *

       February         March 12, 2025 *        May 07, 2025 *                                       July 2025          October 2025      December
       12, 2025 *                                                                                                                         2025

       June 12,         July 12, 2025 *         September 07, 2025 *                                 November           January 2026      April 2026
       2025 *                                                                                        2025

       October 12,      November 12,            January 07, 2026 *                                   March 2026         May 2026          July 2026
       2025 *           2025 *

       February         March 12, 2026 *        May 07, 2026 *                                       July 2026          October 2026      December
       12, 2026 *                                                                                                                         2026

       June 12,         July 12, 2026 *         September 07, 2026 *                                 November           January 2027      April 2027
       2026 *                                                                                        2026


  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                               4/25
                                                                                                                            APHA App. 199
Case: 25-1611              Document: 00118310432                     Page: 203           Date Filed: 07/08/2025                   Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 39
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)

                                       Application Due Dates                                            Review and Award Cycles

                           Renewal /
                        Resubmission                          AIDS -                              Scientific        Advisory
                        / Revision (as          New/Renewal/Resubmission/Revision,                  Merit           Council          Earliest
           New             allowed)                         as allowed                             Review            Review         Start Date

       October 12,      November 12,            January 07, 2027 *                               March 2027        May 2027         July 2027
       2026 *           2026 *

       February         March 12, 2027 *        May 07, 2027 *                                   July 2027         October 2027     December
       12, 2027 *                                                                                                                   2027

      All applications are due by 5:00 PM local time of applicant organization.

      Candidates are encouraged to apply early to allow adequate time to make any corrections to errors found in the application during the
      submission process by the due date.




      Expiration Date
      May 08, 2027


      Due Dates for E.O. 12372
      Not Applicable


      Required Application Instructions
      It is critical that applicants follow the instructions in the Career Development (K) Instructions in the How to Apply - Application Guide
      (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) except where instructed to do otherwise (in this NOFO or in a Notice from
      the NIH Guide for Grants and Contracts (//grants.nih.gov/grants/guide/url_redirect.php?id=11164)). Conformance to all requirements (both
      in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) and the NOFO) is required and
      strictly enforced. Applicants must read and follow all application instructions in the How to Apply - Application Guide
      (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) as well as any program-specific instructions noted in Section IV. When the
      program-specific instructions deviate from those in the How to Apply - Application Guide
      (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400), follow the program-specific instructions. Applications that do not comply
      with these instructions may be delayed or not accepted for review.

      There are several options available to submit your application through Grants.gov to NIH and Department of Health and Human Services
      partners. You must use one of these submission options to access the application forms for this opportunity.

          1. Use the NIH ASSIST system to prepare, submit and track your application online.

                Apply Online Using ASSIST

          2. Use an institutional system-to-system (S2S) solution to prepare and submit your application to Grants.gov and eRA Commons
             (https://public.era.nih.gov/commons/) to track your application. Check with your institutional officials regarding availability.

          3. Use Grants.gov (https://grants.gov/search-grants?oppStatuses=closed|archived|posted|forecasted&fon=PA-24-194) Workspace to
             prepare and submit your application and eRA Commons (http://public.era.nih.gov/commons/) to track your application.




             Table of Contents
             Part 1. Overview Information
                 Key Dates
             Part 2. Full Text of Announcement
                 Section I. Funding Opportunity Description
  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                    5/25
                                                                                                                       APHA App. 200
Case: 25-1611              Document: 00118310432                       Page: 204             Date Filed: 07/08/2025                     Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 40
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
                  Section II. Award Information
                  Other Award Budget Information
                  Section III. Eligibility Information
                  Section IV. Application and Submission Information
                  Section V. Application Review Information
                  Section VI. Award Administration Information
                  Section VII. Agency Contacts
                  Section VIII. Other Information




      Part 2. Full Text of Announcement
      Section I. Funding Opportunity Description
      The overall goal of the NIH Research Career Development program is to help ensure that a pool of highly trained scientists is available in
      appropriate scientific disciplines to address the Nation's biomedical, behavioral, and clinical research needs. NIH Institutes and Centers
      (ICs) support a variety of mentored and non-mentored career development award programs designed to foster the transition of new
      investigators to research independence and to support established investigators in achieving specific objectives. Candidates should review
      the different career development (K) award programs to determine the best program to support their goals. More information about Career
      programs may be found at the NIH Research Training and Career Development (https://grants.nih.gov/grants/guide/url_redirect.php?
      id=41159) website.

      The purpose of the NIH Pathway to Independence Award (K99/R00) is to help postdoctoral researchers complete needed, mentored
      training and transition in a timely manner to independent, tenure-track or equivalent faculty positions. The K99/R00 award is intended to
      foster the development of an independent research program that will be competitive for subsequent independent funding and that will help
      advance the mission of the NIH. Candidates must have no more than 4 years of postdoctoral research experience at the time of the initial
      or the subsequent resubmission or revision application. The K99/R00 award is intended for individuals who require at least 12 months of
      mentored research and career development (K99 phase) before transitioning to the R00 award phase of the program. Consequently, the
      strongest candidates will require, and will propose, a well-conceived plan for 1–2 years of substantive mentored research and career
      development that will help them become competitive candidates for tenure-track faculty positions and prepare them to launch robust,
      independent research programs. An individual who cannot provide a compelling rationale for at least one year of additional mentored
      research experience and career development at the time of award is not a strong candidate for this award.

      Individuals must be in mentored, postdoctoral training positions to be eligible to apply to the K99/R00 program. If a candidate achieves
      independence (any faculty or non-mentored research position) before a K99 award is made, neither the K99, nor the R00 award, will be
      made.

      The K99/R00 award will provide up to 5 years of support in two phases. The initial (K99) phase will provide support for up to 2 years of
      mentored postdoctoral research training and career development. The second (R00) phase will provide up to 3 years of independent
      research support, which is contingent on satisfactory progress during the K99 phase and an approved, independent, tenure-track (or
      equivalent) faculty position. The two award phases are intended to be continuous in time. Therefore, although exceptions may be possible
      in limited circumstances, R00 awards will generally only be made to those K99 PDs/PIs who accept independent, tenure-track (or
      equivalent) faculty positions by the end of the K99 award period.

      Additional Information for Clinician-Scientists: For the purposes of this program, physician-scientists include individuals with an MD, DO,
      DDS/DMD, DVM/VMD, or nurses with research doctoral degrees who devote the majority of their time to biomedical research. The
      K99/R00 is intended for those physician-scientists who already have substantial research training and are dedicated to initiating a strong,
      research-intensive career as physician-scientists. The K99/R00 program is designed to facilitate a timely transition of outstanding
      physician-scientists from mentored, research positions to independent, tenure-track or equivalent faculty positions, and to provide
      independent NIH research support during the transition. Individuals who need a longer period of mentored career development before they
      are prepared to begin the transition to research independence should consider the K08 or K23 program (see: K Kiosk
      (https://researchtraining.nih.gov/programs/career-development)).

      Note: This Notice of Funding Opportunity (NOFO) is designed specifically for proposing research that does not involve leading an
      independent clinical trial, a clinical trial feasibility study, or an ancillary clinical trial. Under this NOFO, candidates are permitted to propose
      a research experience in a clinical trial led by a mentor or co-mentor. Those proposing a clinical trial or an ancillary clinical trial as lead
      investigator, should apply to the companion NOFO (PA-24-193 (https://grants.nih.gov/grants/guide/pa-files/PA-24-193.html)).

      Special Note: Because of the differences in individual Institute and Center (IC) program requirements for this NOFO, prospective
      candidates are strongly encouraged to consult the Table of IC-Specific Information, Requirements and Staff Contacts

  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                                6/25
                                                                                                                              APHA App. 201
Case: 25-1611              Document: 00118310432                     Page: 205            Date Filed: 07/08/2025                   Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 41
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      (https://grants.nih.gov/grants/guide/contacts/IC-specific-information-PA-24-194.html), to make sure that their application is appropriate for
      the requirements of one of the participating NIH ICs.
      See Section VIII. Other Information for award authorities and regulations.


      Section II. Award Information
      Funding Instrument
      Grant: A financial assistance mechanism providing money, property, or both to an eligible entity to carry out an approved project or activity.



      Application Types Allowed
      New
      Resubmission
      Revision


      The OER Glossary (//grants.nih.gov/grants/guide/url_redirect.php?id=11116) and the How to Apply - Application Guide
      (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) provides details on these application types.



      Clinical Trial?
      Not Allowed: Only accepting applications that do not propose clinical trials.

      Note: Candidates may propose to gain experience in a clinical trial led by a mentor/co-mentor as part of their research career
      development.



      Need help determining whether you are doing a clinical trial? (https://grants.nih.gov/grants/guide/url_redirect.php?id=82370)


      Funds Available and Anticipated Number of Awards
      The number of awards is contingent upon NIH appropriations and the submission of a sufficient number of meritorious applications.



      Award Budget
      Award budgets are composed of salary and other program-related expenses, as described below.


      Award Project Period
      The total project period may not exceed 5 years.



      Other Award Budget Information
      Salary
      Salary and research costs may be requested to the level provided by the awarding Institute or Center. Candidates should consult the
      following table for IC-specific, programmatic and budgetary information (see the Table of IC-Specific Information, Requirements and Staff
      Contacts (https://grants.nih.gov/grants/guide/contacts/IC-specific-information-PA-24-194.html)). Further guidance on budgeting for career
      development salaries is provided in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400).

      Intramural Program: Mentored award recipients in the NIH intramural program will be supported by intramural funds provided by the NIH
      Institute/Center intramural laboratory in which they are conducting their research. Budget details for the mentored phase will be
      negotiated with the sponsoring intramural laboratory. Salary will be consistent with that offered scientists in similar, intramural NIH
      positions.

      Extramural Program: Mentored award recipients at an extramural sponsoring institution/organization will be supported by NIH extramural
      funds. The requested salary must be consistent both with the established salary structure at the institution and with salaries actually
      provided by the institution from its own funds to other staff members with equivalent qualifications, rank, and responsibilities in the
      department concerned. Further guidance on budgeting for career development salaries is provided in the SF424 (R&R) Application Guide.



  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                          7/25
                                                                                                                          APHA App. 202
Case: 25-1611              Document: 00118310432                     Page: 206              Date Filed: 07/08/2025                  Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 42
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      In addition, the candidate may derive additional compensation for effort associated with other Federal sources or awards provided the
      total salary derived from all Federal sources does not exceed the maximum legislated salary rate (see
      https://grants.nih.gov/grants/policy/salcap_summary.htm, (https://grants.nih.gov/grants/policy/salcap_summary.htm)) and the total percent
      effort does not exceed 100%. See also NOT-OD-17-094 (https://grants.nih.gov/grants/guide/notice-files/not-od-17-094.html).

      Independent Phase (R00)

      The total cost for the independent phase (R00) may not exceed $249,000 per year. This amount includes salary, fringe benefits, research
      costs, and applicable indirect costs. Indirect costs will be reimbursed at the extramural sponsoring institution' s indirect cost rate. Indirect
      costs requested by consortium participants are included in the total cost limitation.



      Other Program-Related Expenses
      Participating NIH Institutes and Centers will provide research development support for the award recipient (see Table of IC-Specific
      Information, Requirements and Staff Contacts (https://grants.nih.gov/grants/guide/contacts/IC-specific-information-PA-24-194.html)).
      These funds may be used for the following expenses (a) tuition and fees related to career development; (b) research-related expenses,
      such as supplies, equipment and technical personnel; (c) travel to research meetings or training; and (d) statistical services including
      personnel and computer time. .

      Salary for mentors, secretarial and administrative assistants, etc. is not allowed.



      Indirect Costs
      For the extramural K99 phase, Indirect Costs (also known as Facilities & Administrative [F&A] Costs) are reimbursed at 8% of modified
      total direct costs. For the R00 phase, indirect costs will be reimbursed at the extramural sponsoring institution’s indirect cost rate.

      NIH grants policies as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120) will apply to the
      applications submitted and awards made from this NOFO.


      Section III. Eligibility Information
      1. Eligible Applicants

      Eligible Organizations
      Higher Education Institutions

              Public/State Controlled Institutions of Higher Education
              Private Institutions of Higher Education

      Nonprofits Other Than Institutions of Higher Education

              Nonprofits with 501(c)(3) IRS Status (Other than Institutions of Higher Education)
              Nonprofits without 501(c)(3) IRS Status (Other than Institutions of Higher Education)

      For-Profit Organizations

              Small Businesses
              For-Profit Organizations (Other than Small Businesses)

      Local Governments

              State Governments
              County Governments
              City or Township Governments
              Special District Governments
              Indian/Native American Tribal Governments (Federally Recognized)
              Indian/Native American Tribal Governments (Other than Federally Recognized)

      Federal Governments

              Eligible Agencies of the Federal Government
              U.S. Territory or Possession

      Other


  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                            8/25
                                                                                                                          APHA App. 203
Case: 25-1611              Document: 00118310432                       Page: 207             Date Filed: 07/08/2025                    Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 43
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
            Independent School Districts
            Public Housing Authorities/Indian Housing Authorities
            Native American Tribal Organizations (other than Federally recognized tribal governments)
            Faith-based or Community-based Organizations
            Regional Organizations
      The sponsoring institution may be private (profit or nonprofit) or public, including the NIH Intramural Programs and other Federal laboratories.

      The applicant institution will be the mentored phase (K99) institution. All institution/organization types listed above are eligible for both the
      mentored (K99) and independent (R00) phase, with the following exceptions: (1) Eligible agencies of the Federal government, such as the
      NIH intramural program, are eligible only for the mentored phase; and (2) Eligibility of organizations, other than institutions of higher
      education, for the R00 phase depends on the nature of the appointment, and the ability of the PD/PI to conduct independent research and
      apply for NIH research (R01 or R01-equivalent) grants.

      Foreign Organizations
      Non-domestic (non-U.S.) Entities (Foreign Organizations) are not eligible to apply.

      Non-domestic (non-U.S.) components of U.S. Organizations are not eligible to apply.

      Foreign components, as defined in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11118), are allowed.

      Required Registrations
      Applicant Organizations

      Applicant organizations must complete and maintain the following registrations as described in the How to Apply - Application Guide
      (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) to be eligible to apply for or receive an award. All registrations must be
      completed prior to the application being submitted. Registration can take 6 weeks or more, so applicants should begin the registration
      process as soon as possible. Failure to complete registrations in advance of a due date is not a valid reason for a late submission, please
      reference NIH Grants Policy Statement 2.3.9.2 Electronically Submitted Applications (//grants.nih.gov/grants/guide/url_redirect.php?
      id=82423) for additional information.

             System for Award Management (SAM) – (https://grants.nih.gov/grants/guide/url_redirect.php?id=82390) Applicants must complete and
             maintain an active registration, which requires renewal at least annually. The renewal process may require as much time as the
             initial registration. SAM registration includes the assignment of a Commercial and Government Entity (CAGE) Code for domestic
             organizations which have not already been assigned a CAGE Code.
                      NATO Commercial and Government Entity (NCAGE) Code (//grants.nih.gov/grants/guide/url_redirect.php?id=11176) – Foreign
                      organizations must obtain an NCAGE code (in lieu of a CAGE code) in order to register in SAM.
                      Unique Entity Identifier (UEI) - A UEI is issued as part of the SAM.gov registration process. The same UEI must be used for all
                      registrations, as well as on the grant application.
             eRA Commons (https://grants.nih.gov/grants/guide/url_redirect.php?id=11123) - Once the unique organization identifier is established,
             organizations can register with eRA Commons in tandem with completing their Grants.gov registration; all registrations must be in
             place by time of submission. eRA Commons requires organizations to identify at least one Signing Official (SO) and at least one
             Program Director/Principal Investigator (PD/PI) account in order to submit an application.
             Grants.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=82300) – Applicants must have an active SAM registration in order to
             complete the Grants.gov registration.

      Program Directors/Principal Investigators (PD(s)/PI(s))

      All PD(s)/PI(s) must have an eRA Commons account. PD(s)/PI(s) should work with their organizational officials to either create a new
      account or to affiliate their existing account with the applicant organization in eRA Commons. If the PD/PI is also the organizational Signing
      Official, they must have two distinct eRA Commons accounts, one for each role. Obtaining an eRA Commons account can take up to 2
      weeks.

      All PD(s)/PI(s) must be registered with ORCID (https://orcid.org/). The personal profile associated with the PD(s)/PI(s) eRA Commons
      account must be linked to a valid ORCID ID. For more information on linking an ORCID ID to an eRA Commons personal profile see the
      ORCID topic in our eRA Commons online help (https://era.nih.gov/erahelp/Commons/default.htm#orcid.htm%3FTocPath%3D_____29).

      Eligible Individuals (Program Director/Principal Investigator)
      Candidates for the K99/R00 are strongly encouraged to obtain confirmation of their eligibility from the relevant IC before they begin to
      prepare their applications. It is incumbent upon the candidate to provide evidence that they meet all of the eligibility criteria outlined below.

      Any candidate with the skills, knowledge, and resources necessary to carry out the proposed research as the Program Director/Principal
      Investigator (PD/PI) is invited to work with their mentor and organization to develop an application for support. Multiple PDs/PIs are not
      allowed.



  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                             9/25
                                                                                                                             APHA App. 204
Case: 25-1611              Document: 00118310432                        Page: 208             Date Filed: 07/08/2025                     Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 44
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      K99/R00 applicants must have no more than 4 years of postdoctoral research experience as of the relevant application due date
      regardless of whether it is a new or resubmission application. Individuals must be in mentored, postdoctoral training positions to be eligible
      to apply to the K99/R00 program. If the candidate achieves independence (i.e., any faculty or non-mentored research position) before a
      K99 award is made, neither the K99 award, nor the R00 award, will be issued.

      Consistent with the NIH Extension Policy for Early Stage Investigator Status (ESI) (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-
      18-235.html), NIH will approve an extension of one year for childbirth within the 4 year K99 eligibility window. Applicants who will be PD/PIs
      on a K99 application must provide the child’s date of birth in the extension request justification submitted to IC program officials and/or
      scientific/research contacts listed in the NOFO at least 12 weeks before submitting an application.

      In addition, parental, medical, military, or other well-justified leave for personal or family situations of generally less than 12 months
      duration is typically not included in the 4-year eligibility limit, nor is clinical training with no research involvement (e.g., full-time residency
      training). Only time dedicated to research activities counts toward the 4-year limit. Part-time postdoctoral research training, related to
      personal or family situations or occurring during a research residency or fellowship, will be pro-rated accordingly.

      Additional clarifications are provided under Frequently Asked Questions (https://grants.nih.gov/grants/new_investigators/QsandAs.htm).
      Potential candidates are encouraged to discuss their individual situation with a NIH Institute or Center Scientific Program Contact
      (https://grants.nih.gov/grants/guide/contacts/IC-specific-information-PA-24-194.html) before applying.

      There is no citizenship requirement for K99 candidates. A candidate may be a citizen or a non-citizen national of the United States, have
      been lawfully admitted for permanent residence (i.e., possess a currently valid Permanent Resident Card USCIS Form I-551, or other legal
      verification of such status), or be a non-U.S. citizen.

      For applications submitted on behalf of non-U.S. citizens with temporary U.S. visas, visa status during each phase of the K99/R00 award
      must allow the PD/PI to conduct the proposed research at the applicant institution. For the K99 phase of the award, the applicant institution
      is responsible for determining and documenting, in the K99 application, that the candidate’s visa will allow them to remain in the U.S. long
      enough to complete the K99 phase of the award. For the R00 phase of the award, the U.S. institution at which the R00 phase of the award
      will be conducted is responsible for determining and documenting, in the R00 application, that the PD/PI’s visa will allow the PD/PI to
      remain in the U.S. for the duration of the R00 award.

      Candidates for the K99/R00 award must have a clinical or research doctorate (including PhD, MD, DO, DC, ND, DDS, DMD, DVM, ScD,
      DNS, PharmD or equivalent doctoral degrees). Clinicians (including those with MD, DDS, DVM and other licensed health professionals) in
      a clinical faculty position that denotes independence in clinical responsibilities but not in research may also be eligible for the K99/R00
      award.

      Individuals are NOT eligible if they:

             Have currently or previously held an independent research faculty or tenure-track faculty position, or its equivalent, in academia,
             industry or elsewhere; or
             Have more than 4 years of related postdoctoral research training at the time of initial application or resubmission; or
             Have been an independent PD/PI on NIH research grants (e.g. R01, R03, R21), NIH career development awards (e.g., K01, K07,
             K08, K23, K25), or other peer-reviewed NIH or non-NIH research grants over $100,000 direct costs per year, or Project Leaders on
             sub-projects of program project (P01) or center (P50) grants or the equivalent.


      Ph.D. (or equivalent research doctorate degree) candidates in positions other than postdoctoral fellow positions: It is recognized
      that some institutions appoint postdoctoral fellows in positions with other titles although they are still in non-independent, mentored training
      positions. Candidates in such positions are encouraged to obtain confirmation of their eligibility from the relevant IC before they begin to
      prepare their applications. It is incumbent upon the candidate to provide evidence that their position complies with the intent of this
      eligibility requirement. If a potential candidate is in a position that is not clearly identifiable as a postdoctoral training position, the
      candidate should provide the relevant NIH Institute or Center an official statement of the institution’s policy (e.g. published position
      description in an official institutional document) which documents the position as a mentored, postdoctoral training position.

      Clinicians (including those with M.D., D.D.S, D.V.M. and other licensed professionals) in positions not designated as postdoctoral
      positions: Following clinical training or fellowship training periods, clinicians often obtain a clinical faculty position that denotes
      independence in clinical responsibilities but not in research. A clinical faculty member who does not hold an independent research faculty
      position may be eligible for the K99/R00 award, and should contact a Program Director at the relevant NIH Institute for guidance. Clinicians
      in such positions are encouraged to obtain confirmation of their eligibility before they begin to prepare their applications. Such individuals
      may also wish to consider other career awards (see K Kiosk (//grants.nih.gov/training/careerdevelopmentawards.htm)) available for junior
      faculty development.

      The following is provided as an aid to distinguish independent from non-independent positions. However, it is not sufficient

  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                                10/25
                                                                                                                               APHA App. 205
Case: 25-1611              Document: 00118310432                      Page: 209             Date Filed: 07/08/2025                   Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 45
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      merely to cite one or more of the following items to document eligibility.

      Evidence for non-independence may include:

             The candidate’s research is entirely funded by another investigator’s grants.
             The candidate’s research is conducted entirely in another investigator’s assigned space.
             According to institutional policy, the candidate cannot hire postdoctoral fellows or technical staff or be the responsible supervisor of
             graduate students.
             According to institutional policy, the candidate is not allowed to submit an application as the PD/PI of an NIH research grant
             application (e.g., R01).
             The candidate lacks other rights and privileges of faculty, such as attendance at faculty meetings.


      Conversely, evidence for independence, and therefore lack of eligibility, includes:

             The candidate has a full-time faculty position.
             The candidate received a start-up package for support of their independent research.
             The candidate has research space dedicated to their own research.
             The candidate may attend faculty meetings, be the responsible supervisor for graduate students, and/or hire technical support or
             postdoctoral fellows.
             The candidate is eligible to apply for independent research funding as the PD/PI of an NIH research grant.
      2. Cost Sharing
      This NOFO does not require cost sharing as defined in the NIH Grants Policy Statement Section 1.2 Definitions of Terms
      (//grants.nih.gov/grants/guide/url_redirect.php?id=11126).

      3. Additional Information on Eligibility

      Number of Applications
      Applicant organizations may submit more than one application, provided that each application is scientifically distinct, and each is from a
      different candidate.

      NIH will not accept duplicate or highly overlapping applications under review at the same time per NIH Grants Policy Statement Section
      2.3.7.4 Submission of Resubmission Application (//grants.nih.gov/grants/guide/url_redirect.php?id=82415). An individual may not have two or
      more competing NIH career development applications pending review concurrently. In addition, NIH will not accept:

             A new (A0) application that is submitted before issuance of the summary statement from the review of an overlapping new (A0) or
             resubmission (A1) application.
             A resubmission (A1) application that is submitted before issuance of the summary statement from the review of the previous new (A0)
             application.
             An application that has substantial overlap with another application pending appeal of initial peer review. (See NIH Grants Policy
             Statement 2.3.9.4 Similar, Essentially Identical, or Identical Applications (//grants.nih.gov/grants/guide/url_redirect.php?id=82423)).

      Level of Effort
      K99 Phase. At the time of award, the candidate must have a full-time appointment at the academic institution. Candidates are required to
      commit a minimum of 75% of full-time professional effort (i.e., a minimum of 9 person-months) to their program of career development.
      Candidates may engage in other duties as part of the remaining 25% of their full-time professional effort not covered by this award, as long
      as such duties do not interfere with or detract from the proposed career development program. Physician-scientists in surgical specialties
      may request a minimum of 50% of full-time professional effort.

      Candidates who have VA appointments may not consider part of the VA effort toward satisfying the full time requirement at the applicant
      institution. Candidates with VA appointments should contact the staff person in the relevant Institute or Center prior to preparing an
      application to discuss their eligibility.

      After the receipt of the award, adjustments to the required level of effort may be made in certain circumstances. See NOT-OD-18-156
      (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-18-156.html) and NIH Grants Policy Statement
      (https://grants.nih.gov/grants/policy/nihgps/html5/section_12/12.3.6_level_of_effort.htm), Section 12.3.6.4 Temporary Adjustments to the
      Percent Effort Requirement for more details

      R00 Phase. Although candidates are required to devote no less than 75% (no less than 50% effort for surgical specialties) of their full-time,
      12-month professional effort to research (i.e., full-time for 9 person-months), the required 9 person-months of research effort need not be
      devoted exclusively to the R00-supported research.

      Mentor(s)

  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                           11/25
                                                                                                                           APHA App. 206
Case: 25-1611              Document: 00118310432                     Page: 210            Date Filed: 07/08/2025                   Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 46
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)


      Before submitting the application, the candidate must identify a mentor who will supervise the proposed career development and research
      experience. The mentor should be an active investigator in the area of the proposed research and be committed both to the career
      development of the candidate and to the direct supervision of the candidate’s research. The mentor must document the availability of
      sufficient research support and facilities. Candidates are encouraged to identify more than one mentor, i.e., a mentoring team (advisory
      committee), if this is deemed advantageous for providing expert advice in all aspects of the research career development program. In such
      cases, one individual must be identified as the primary mentor who will coordinate the candidate’s research. Candidates holding a clinical
      doctorate should include at least one individual with a clinical doctorate on the mentoring team. Candidates also are encouraged to
      propose a mentoring team that will provide additional guidance typically towards professional aspects of the candidate’s career
      development.The candidate must work with the mentor(s) in preparing the application. The mentor, or a member of the mentoring team,
      should have a successful track record of mentoring individuals at the candidate’s career stage.

      The mentor(s) or mentoring team must demonstrate appropriate expertise, experience, and ability to guide the candidate..If the primary
      mentor has limited training experience, a co-mentor with a strong, successful track record as a mentor should also be included.
      Institutional Environment
      The applicant institution must have a strong, well-established record of research and career development activities and faculty qualified to
      serve as mentors in biomedical, behavioral, or clinical research.


      Section IV. Application and Submission Information
      1. Requesting an Application Package
      Buttons to access the online ASSIST system or to download application forms are available in Part 1 of this NOFO. See your administrative
      office for instructions if you plan to use an institutional system-to-system solution.

      2. Content and Form of Application Submission
      It is critical that applicants follow the instructions in the Career Development (K) Instructions in the How to Apply - Application Guide
      (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) except where instructed in this notice of funding opportunity to do otherwise.
      Conformance to the requirements in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) is
      required and strictly enforced. Applications that are out of compliance with these instructions may be delayed or not accepted for review.

      For information on Application Submission and Receipt, visit Frequently Asked Questions – Application Guide, Electronic Submission of Grant
      Applications (//grants.nih.gov/grants/guide/url_redirect.php?id=41137).

      Page Limitations
      All page limitations described in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) and the
      Table of Page Limits (https://grants.nih.gov/grants/guide/url_redirect.php?id=61134) must be followed.

      Instructions for Application Submission
      The following section supplements the instructions found in the How to Apply - Application Guide
      (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) and should be used for preparing an application to this NOFO.

      SF424(R&R) Cover
      All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed.

      SF424(R&R) Project/Performance Site Locations
      All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed.

      Other Project Information
      All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed.

      SF424(R&R) Senior/Key Person Profile Expanded
      All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed.

      R&R Budget
      All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed.

      The following additional instructions apply to this NOFO:


  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                          12/25
                                                                                                                          APHA App. 207
Case: 25-1611              Document: 00118310432                     Page: 211            Date Filed: 07/08/2025                   Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 47
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      Provide itemized budget information for each budget period covered under the K99 phase.

      Itemized budget information is not required for the R00 phase; a total requested amount for each budget period is acceptable. However,
      some basic information must be completed in order for NIH to successfully process the budget form. For each budget period of the R00
      phase:

                  Select the appropriate Budget Type
                  Provide the Budget Period Start Date and End Date
                  In Section A: Senior/Key Persons provide an entry for the PD/PI, including the appropriate level of effort, $0 for Requested
                  Salary and $0 for Fringe Benefits
                  In Section F: Other Direct Costs add a line item titled R00 Independent Phase and provide the total request for that period (up to
                  $249,000).

      At the time of transition to the R00 phase, the R00 applicant institution will submit a detailed budget for each budget period of the R00
      project period that reflects the direct and indirect costs at the R00 applicant institution.
      PHS 398 Cover Page Supplement
      All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed.

      PHS 398 Career Development Award Supplemental Form
      The PHS 398 Career Development Award Supplemental Form is comprised of the following sections:

          Candidate
          Research Plan
          Other Candidate Information
          Mentor, Co-Mentor, Consultant, Collaborators
          Environment & Institutional Commitment to the Candidate
          Other Research Plan Sections
          Appendix

      All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed.

      Candidate Section
          All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed,
          with the following additional instructions:

          Candidate Information and Goals for Career Development

          Candidate’s Background

             Describe the candidate’s commitment to a career in a biomedical, behavioral, or clinical research field relevant to the mission of one
             of the participating NIH ICs.
             Describe the candidate’s potential to develop into a successful, independent investigator.

          Career Goals and Objectives​

             Describe the candidate’s current and long-term research and career objectives.
             Present a scientific history that: (1) shows a logical progression from the candidate’s prior research and career development
             experiences to the training and research experiences proposed for the mentored phase of the award (K99) and subsequently to the
             independent phase of the award (R00); and (2) justifies the need for further mentored career development to become an
             independent research investigator.
             If currently supported by an institutional training grant or individual fellowship award (such as provided through the Ruth L.
             Kirschstein NRSA program), describe the candidate’s current research training or fellowship program.

             Describe how the candidate plans to separate scientifically from his/her mentor and advance to research independence.

          Candidate’s Plan for Career Development/Training Activities During Award Period

             A systematic plan should be presented for obtaining the biomedical, behavioral, or clinical science background, research
             experience, and career development activities necessary to launch an independent research career. Describe current activities and
             how they relate to the candidate’s career development plans and career goals. Describe proposed activities, e.g., those that will
             lead to new and/or enhanced research skills and knowledge, as well as related skills such as grant-writing, communication,
             leadership, and laboratory management. The career development plan must be specifically tailored to meet the needs of the
             candidate and the goal of achieving independence as a researcher.


  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                      13/25
                                                                                                                         APHA App. 208
Case: 25-1611              Document: 00118310432                          Page: 212              Date Filed: 07/08/2025                      Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 48
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
             Describe how the skills and knowledge obtained during the mentored phase will enhance research productivity and facilitate the
             development of new approaches and directions for investigation. Describe how the career development plan will promote the
             candidate’s success and transition to scientific independence. Candidates must justify the need for the award, particularly the
             mentored (K99) phase, and must provide a convincing case that the proposed period of support (1-2 years as a mentored candidate
             followed by up to 3 years as an independent scientist) will substantially enhance their career and/or will allow the pursuit of a novel
             or promising approach to a particular research problem. Candidates should make clear why additional mentored research and
             career development are critical before transitioning to research independence and pursuit of the proposed independent phase
             research.
             The candidate must describe a plan, including a timeline with milestones, for evaluation of their progress during the mentored phase
             and for the transition to the independent phase.
          Research Plan Section
          All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed,
          with the following additional instructions:

          Research Strategy

             The research plan must span both phases of the K99/R00 award. The candidate should clearly indicate the research planned for
             each phase. This narrative should describe what the candidate will accomplish during the mentored phase research that will enable
             them to launch an independent research program (i.e., what does the candidate still need to accomplish during the mentored phase
             in order to compete successfully once independence is achieved).
             The research plan should state the significance, innovation and approach of the proposed research during the K99 and R00 phases
             of the award. The research plan should provide a detailed rationale, experimental approach, and expected/alternative outcomes for
             the proposed studies. Although it is anticipated that candidates will be best able to describe their current and past research, the
             research plan for the R00 phase of the award should be described in sufficient detail for reviewers to evaluate the merit of this
             component of the application.
             Describe the relationship between the mentor’s research and the candidate’s proposed research. Describe how the candidate will
             gain independence from their mentor(s) and separate their scientific research program from that of the mentor(s).

             If the candidate is proposing to gain experience in a clinical trial, ancillary clinical trial or a clinical trial feasibility study as part of his
             or her research career development, describe the relationship of the proposed research project to the clinical trial.

          Training in the Responsible Conduct of Research

             All applications must include a plan to fulfill NIH requirements for instruction in the Responsible Conduct of Research (RCR). See
             How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) for instructions.

      Mentor, Co-Mentor, Consultant, Collaborators Section
          All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be
          followed, with the following additional instructions:

          Plans and Statements of Mentor and Co-mentor(s)

             The application must include a statement from the primary mentor that provides: 1) information on their research qualifications and
             previous experience as a research supervisor; 2) a plan describing the nature of the supervision and mentoring that will occur during
             the proposed K99 award period, including how the candidate’s scientific and professional independence will be promoted; 3) a
             description of the elements of the planned research training and career development, including any formal course-work; 4) a plan for
             transitioning the candidate from the mentored phase to the independent phase of the award and a description of how the mentor will
             help the candidate achieve scientific independence from their mentor(s); 5) a statement identifying the components of the proposed
             research that the K99 applicant can take when they transition to research independence and that can be part of their independent
             (R00) phase award; and 6) when appropriate, a statement affirming any resources and reagents that can be taken by the applicant
             to the independent phase of the award.
             The mentor should have sufficient independent research support to cover the costs of the proposed K99 research project in excess
             of the allowable costs of this award, and should state that needed costs will be covered. If funds are needed beyond what will be
             provided by the mentor, the source of additional funds should be identified and documented in a letter signed by the responsible
             individual.
             Similar information must be provided by all co-mentors. If more than one mentor is proposed, the respective areas of expertise, the
             responsibility of each, and the nature of the involvement with the candidate should be explicitly described. Co-mentors should
             describe clearly how they will coordinate with the primary mentor and the candidate to provide an integrated mentoring effort.
             The primary mentor must agree to write and provide annual evaluations of the candidate’s progress for the initial mentored phase as
             required in the annual progress report.



  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                                      14/25
                                                                                                                                   APHA App. 209
Case: 25-1611              Document: 00118310432                     Page: 213            Date Filed: 07/08/2025                   Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 49
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
             The mentor must agree to assist the candidate in transitioning to an independent research position by guiding the candidate during
             the job search and negotiation process and by commenting on the R00 phase application.
             If the candidate is proposing to gain experience in a clinical trial as part of their research career development, the mentor, co-
             mentor, or a member of the mentoring team must include a statement to document leadership of the clinical trial, and appropriate
             expertise to guide the applicant in any proposed clinical trials research experience.

          Letters of Support from Collaborators, Contributors and Consultants

             Signed statements must be provided by all collaborators and/or consultants confirming their participation in the project and
             describing their specific roles. Unless also listed as senior/key personnel, collaborators and consultants do not need to provide their
             biographical sketches. However, information should be provided clearly documenting the appropriate expertise in the proposed
             areas of consulting/collaboration.
             Advisory committee members (if applicable): Signed statements must be provided by each member of the proposed advisory
             committee. These statements should confirm their participation, describe their specific roles, and document the expertise they will
             contribute. Unless also listed as senior/key personnel, these individuals do not need to provide their biographical sketches.

      Environmental and Institutional Commitment to the Candidate
          All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed,
          with the following additional instructions:

          Description of Institutional Environment

             The sponsoring institution must document a strong, well-established research and career development program related to the
             candidate's area of interest, including a high-quality research environment with key faculty members and other investigators capable
             of productive collaboration with the candidate.
             Describe how the institutional research environment is particularly suited for the development of the candidate's research career and
             the pursuit of the proposed research plan.

          Institutional Commitment to the Candidate’s Research Career Development

             The sponsoring institution must provide a statement of commitment to the candidate's development into a productive, independent
             investigator, i.e. conducting the proposed mentored research and career development during the K99 phase and competing for, and
             transitioning to, a tenure-track assistant professor position at an academic institution. While the K99 phase sponsoring institution is
             not responsible for sponsoring the applicant during the R00 phase, it should be supportive of the candidate prior to initiation of the
             R00 phase.
             Provide assurance that the candidate will be able to devote a minimum of 9 person-months (75% of full-time professional effort) to
             the development of their research program. The remaining effort should be devoted to activities related to the development of the
             candidate’s career as an independent scientist.
             Provide assurance that the research facilities, resources, and training opportunities, including faculty capable of productive
             collaboration with the candidate, will be available for the candidate’s planned career development and research programs during the
             K99 award period.
             Provide assurance that appropriate time and support for any proposed mentor(s) and/or other staff consistent with the career
             development plan will be available during the K99 award period.
             For individuals in postdoctoral positions with other titles although still in non-independent, mentored training positions, provide
             evidence of eligibility for the K99/R00 program.
             If the candidate is not a U.S. Citizen or permanent resident, the sponsoring institution must include information about the
             candidate’s visa status, an assurance that the candidate’s visa provides sufficient time to complete the K99 phase of the award at a
             U.S. institution, and assurance that there are no known obstacles (e.g. home country requirement) to the candidate obtaining a visa
             at the time of the R00 transition.

      Other Plan(s):

      Note: Effective for due dates on or after January 25, 2023, the Data Management and Sharing Plan will be attached in the Other Plan(s)
      attachment in FORMS-H application forms packages.

      All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed, with
      the following additional instructions:

             All applicants planning research (funded or conducted in whole or in part by NIH) that results in the generation of scientific data are
             required to comply with the instructions for the Data Management and Sharing Plan. All applications, regardless of the amount of
             direct costs requested for any one year, must address a Data Management and Sharing Plan.

          Appendix:


  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                       15/25
                                                                                                                         APHA App. 210
Case: 25-1611              Document: 00118310432                     Page: 214            Date Filed: 07/08/2025                   Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 50
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
          Limited items are allowed in the Appendix. Follow all instructions for the Appendix as described in the How to Apply - Application Guide
          (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400); any instructions provided here are in addition to the How to Apply -
          Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) instructions.
      PHS Human Subjects and Clinical Trials Information
      When involving NIH-defined human subjects research, clinical research, and/or clinical trials (and when applicable, clinical trials research
      experience) follow all instructions for the PHS Human Subjects and Clinical Trials Information form in the How to Apply - Application Guide
      (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400), with the following additional instructions:

      If you answered “Yes” to the question “Are Human Subjects Involved?” on the R&R Other Project Information form, you must include at least
      one human subjects study record using the Study Record: PHS Human Subjects and Clinical Trials Information form or Delayed Onset
      Study record.

      Study Record: PHS Human Subjects and Clinical Trials Information

      All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed.

             For NOFOs that do not allow independent clinical trials, do not complete Section 4 – Protocol Synopsis information or Section 5 - Other
             Clinical Trial-related Attachments.

      Delayed Onset Study

      Note: Delayed onset (https://grants.nih.gov/grants/glossary.htm#DelayedOnsetStudy) does NOT apply to a study that can be described but
      will not start immediately (i.e., delayed start).

      All instructions in the SF424 (R&R) Application Guide must be followed.

      PHS Assignment Request Form
      All instructions in the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400) must be followed.

      Reference Letters
      Candidates must carefully follow the How to Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400),
      including the time period for when reference letters will be accepted. Applications lacking the appropriate required reference letters
      will not be reviewed. This is a separate process from submitting an application electronically. Reference letters are submitted directly
      through the eRA Commons Submit Referee Information link and not through Grants.gov.

      3. Unique Entity Identifier and System for Award Management (SAM)
      See Part 2. Section III.1 for information regarding the requirement for obtaining a unique entity identifier and for completing and maintaining
      active registrations in System for Award Management (SAM), NATO Commercial and Government Entity (NCAGE) Code (if applicable), eRA
      Commons, and Grants.gov

      4. Submission Dates and Times
      Part I. contains information about Key Dates and Times. Applicants are encouraged to submit applications before the due date to ensure they
      have time to make any application corrections that might be necessary for successful submission. When a submission date falls on a
      weekend or Federal holiday (https://grants.nih.gov/grants/guide/url_redirect.php?id=82380), the application deadline is automatically
      extended to the next business day.

      Organizations must submit applications to Grants.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=11128) (the online portal to find and
      apply for grants across all Federal agencies) using ASSIST or other electronic submission systems. Applicants must then complete the
      submission process by tracking the status of the application in the eRA Commons (//grants.nih.gov/grants/guide/url_redirect.php?id=11123),
      NIH’s electronic system for grants administration. NIH and Grants.gov systems check the application against many of the application
      instructions upon submission. Errors must be corrected and a changed/corrected application must be submitted to Grants.gov on or before
      the application due date and time. If a Changed/Corrected application is submitted after the deadline, the application will be considered late.
      Applications that miss the due date and time are subjected to the NIH Grants Policy Statement Section 2.3.9.2 Electronically Submitted
      Applications (//grants.nih.gov/grants/guide/url_redirect.php?id=82423).

      Applicants are responsible for viewing their application before the due date in the eRA Commons to ensure accurate and
      successful submission.

      Information on the submission process and a definition of on-time submission are provided in the How to Apply - Application Guide
      (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400).

      5. Intergovernmental Review (E.O. 12372)


  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                        16/25
                                                                                                                          APHA App. 211
Case: 25-1611              Document: 00118310432                       Page: 215             Date Filed: 07/08/2025                    Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 51
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      This initiative is not subject to (//grants.nih.gov/grants/guide/url_redirect.php?id=11142)intergovernmental review.
      (https://grants.nih.gov/grants/policy/nihgps/html5/section_10/10.10.1_executive_orders.htm)
      6. Funding Restrictions
      All NIH awards are subject to the terms and conditions, cost principles, and other considerations described in the NIH Grants Policy
      Statement Section 7.9.1 Selected Items of Cost (//grants.nih.gov/grants/guide/url_redirect.php?id=11143).

      Pre-award costs are allowable only as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?
      id=11143).

      7. Other Submission Requirements and Information
      Applications must be submitted electronically following the instructions described in the How to Apply - Application Guide
      (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400). Paper applications will not be accepted.

      Applicants must complete all required registrations before the application due date. Section III. Eligibility Information contains
      information about registration.

      For assistance with your electronic application or for more information on the electronic submission process, visit How to Apply -
      Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400). If you encounter a system issue beyond your control that
      threatens your ability to complete the submission process on-time, you must follow the Dealing with System Issues
      (https://grants.nih.gov/grants/how-to-apply-application-guide/due-dates-and-submission-policies/dealing-with-system-issues.htm)
      guidance. For assistance with application submission, contact the Application Submission Contacts in Section VII.

      Important reminders:

      All PD(s)/PI(s) must include their eRA Commons ID in the Credential field of the Senior/Key Person Profile form. Failure to register in the
      Commons and to include a valid PD/PI Commons ID in the credential field will prevent the successful submission of an electronic
      application to NIH. See Section III of this NOFO for information on registration requirements.

      The applicant organization must ensure that the unique entity identifier provided on the application is the same identifier used in the
      organization’s profile in the eRA Commons and for the System for Award Management. Additional information may be found in the How to
      Apply - Application Guide (https://grants.nih.gov/grants/guide/url_redirect.php?id=82400).

      See more tips (//grants.nih.gov/grants/guide/url_redirect.php?id=11146) for avoiding common errors.

      Upon receipt, applications will be evaluated for completeness and compliance with application instructions by the Center for Scientific
      Review, NIH. Applications that are incomplete or non-compliant will not be reviewed.

      Post Submission Materials
      Applicants are required to follow the instructions for post-submission materials, as described in the policy
      (//grants.nih.gov/grants/guide/url_redirect.php?id=82299).

      Any instructions provided here are in addition to the instructions in the policy.


      Section V. Application Review Information
      1. Criteria
      Only the review criteria described below will be considered in the review process. Applications submitted to the NIH in support of the NIH
      mission (//grants.nih.gov/grants/guide/url_redirect.php?id=11149) are evaluated for scientific and technical merit through the NIH peer review
      system.

      For this particular announcement, note the following: Reviewers should evaluate the candidate's potential for obtaining a tenure-track
      or equivalent faculty position and developing an independent research program that will make important contributions to the field.
      Reviewers should consider in their evaluation the likely value of the proposed K99 phase research and career development in facilitating
      transition to research independence, and the feasibility of the proposed research project as a vehicle for developing a successful,
      independent research program after transition to the R00 award phase.

      Overall Impact
      Reviewers should provide their assessment of the likelihood that the proposed career development and research plan will enhance the
      candidate’s potential for a productive, independent scientific research career in a health-related field, taking into consideration the criteria
      below in determining the overall impact score.

      Scored Review Criteria

  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                            17/25
                                                                                                                             APHA App. 212
Case: 25-1611              Document: 00118310432                      Page: 216             Date Filed: 07/08/2025                Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 52
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      Reviewers will consider each of the review criteria below in the determination of scientific merit, and give a separate score for each. An
      application does not need to be strong in all categories to be judged likely to have major scientific impact.

       Candidate
             Based on the candidate’s prior research and training experience, track record, referee’s evaluations, and the quality and originality
             of prior research and the current application, what is the candidate’s potential to become a highly successful, independent
             investigator who will contribute significantly to their chosen field of biomedical, behavioral, or clinical related research?
             Considering the years of postdoctoral research experience to date, what is the candidate’s record of research productivity, including
             the quality of peer-reviewed scientific publications?
             What is the quality of the candidate's pre- and postdoctoral research training, with respect to development of appropriate scientific
             and technical expertise?
             Given the candidate’s prior training, proposed career development plan, and the referees’ evaluations, is it reasonable to expect that
             the candidate will be able to achieve an independent, tenure-track or equivalent faculty position within the time period requested for
             the K99 phase of this award?

          Career Development Plan/Career Goals and Objectives
             Are the content and duration of the proposed components of the career development plan appropriate and well-justified for the
             candidate’s current stage of scientific and professional development and proposed research career goals?
             To what extent does the proposed career development plan enhance or augment the applicant’s research training and skills
             acquisition to date?
             Is the proposed career development plan likely to contribute substantially to the scientific and professional development of the
             candidate, and facilitate their successful transition to independence?
             To what extent are the plans for evaluating the K99 recipient’s progress adequate and appropriate for guiding the candidate towards
             a successful transition to the independent phase of the award?
             Is the timeline planned for transition to the independent phase of the award appropriate for the candidate’s current stage of scientific
             and professional development, anticipated productivity, and the career development proposed for the K99 phase of the award?
             If proposed, will the clinical trial experience contribute to the applicant’s research career development?

          Research Plan
             Is the proposed K99 phase research significant and scientifically sound?
             Is the prior research that serves as the key support for the proposed project rigorous?
             Has the candidate included plans to address weaknesses in the rigor of prior research that serves as the key support for the
             proposed project?
             Has the candidate presented strategies to ensure a robust and unbiased approach, as appropriate for the work proposed?
             Has the candidate presented adequate plans to address relevant biological variables, such as sex, for studies in vertebrate animals
             or human subjects?
             Are the scientific and technical merits of the K99 research appropriate for developing the research skills described in the career
             development plan, and appropriate for developing a highly successful R00 research program?
             Is the proposed R00 phase research significant, scientifically sound, and a logical extension of the K99 phase research? Is there
             evidence of long-term viability of the proposed R00 phase research plan?
             Does the R00 phase project address an innovative hypothesis or challenge existing paradigms? Does the project develop or employ
             novel concepts, approaches, methodologies, tools, or technologies?
             To what extent is the proposed R00 phase research likely to foster the career of the candidate as a successful, independent
             investigator in biomedical, behavioral, or clinical research?

             If proposed, will the clinical trial experience contribute to the research project?

          Mentor(s), Co-Mentor(s), Consultant(s), Collaborator(s)
             To what extent does the mentor(s) have a strong track record in training future independent researchers?
             To what extent are the mentor’s research qualifications and experience, scientific stature, and mentoring track record appropriate for
             the applicant’s career development needs?
             Is the supervision proposed for the mentored phase of support adequate, and is the commitment of the mentor(s) to the applicant’s
             career development appropriate and sufficient?
             Does the mentor provide an appropriate plan that addresses the candidate’s training needs, and that is likely to foster the
             candidate’s continued development and transition to independence?
             Does the mentor describe an acceptable plan for clear separation of the candidate’s research and research career from the
             mentor’s research, including identifying the components of the research plan that the K99 candidate may take to an independent
             research position?


  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                      18/25
                                                                                                                         APHA App. 213
Case: 25-1611              Document: 00118310432                       Page: 217             Date Filed: 07/08/2025                     Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 53
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
             Are the consultants /collaborators research and/or mentoring qualifications appropriate for their roles in the proposed K99 phase of
             the award? Do they provide letters of support that affirm their commitment? If applicable, are the Advisory Committee members
             qualifications appropriate for their roles in the proposed K99 phase of the award?
             If the candidate is proposing to gain experience in a clinical trial as part of their research career development, is there evidence of
             the appropriate expertise, experience, and ability on the part of the mentor(s) to guide the candidateduring participation in the
             clinical trial?

          Environment & Institutional Commitment to the Candidate
             To what extent does the institution provide a high quality environment appropriate for the candidate’s development during the K99
             phase of the award?
             To what extent are the research facilities and educational opportunities, including collaborating faculty, adequate and appropriate for
             the candidate’s research and career development goals during the K99 phase of the award? Is adequate evidence provided that the
             K99 sponsoring institution is strongly committed to fostering the candidate’s development and preparation for transition to
             independence?
             Is there adequate assurance that the required minimum of 9 person months (75% of the candidate’s full-time professional effort) will
             be devoted directly to the research training, career development, and research activities proposed for the K99 phase of the award?

      Additional Review Criteria
      As applicable for the project proposed, reviewers will evaluate the following additional items while determining scientific and technical
      merit, and in providing an overall impact score, but will not give separate scores for these items.
          Protections for Human Subjects
          For research that involves human subjects but does not involve one of the categories of research that are exempt under 45 CFR Part 46,
          the committee will evaluate the justification for involvement of human subjects and the proposed protections from research risk relating to
          their participation according to the following five review criteria: 1) risk to subjects, 2) adequacy of protection against risks, 3) potential
          benefits to the subjects and others, 4) importance of the knowledge to be gained, and 5) data and safety monitoring for clinical trials.

          For research that involves human subjects and meets the criteria for one or more of the categories of research that are exempt under 45
          CFR Part 46, the committee will evaluate: 1) the justification for the exemption, 2) human subjects involvement and characteristics, and
          3) sources of materials. For additional information on review of the Human Subjects section, please refer to the Guidelines for the Review
          of Human Subjects (//grants.nih.gov/grants/guide/url_redirect.php?id=11175).

          Inclusion of Women, Racial and Ethnic Minorities, and Individuals Across the Lifespan
          When the proposed project involves human subjects and/or NIH-defined clinical research, the committee will evaluate the proposed plans
          for the inclusion (or exclusion) of individuals on the basis of sex, race, and ethnicity, as well as the inclusion (or exclusion) of individuals
          of all ages (including children and older adults) to determine if it is justified in terms of the scientific goals and research strategy proposed.
          For additional information on review of the Inclusion section, please refer to the Guidelines for the Review of Inclusion in Clinical
          Research (//grants.nih.gov/grants/guide/url_redirect.php?id=11174).

          Vertebrate Animals
          The committee will evaluate the involvement of live vertebrate animals as part of the scientific assessment according to the following
          three points: (1) a complete description of all proposed procedures including the species, strains, ages, sex, and total numbers of animals
          to be used; (2) justifications that the species is appropriate for the proposed research and why the research goals cannot be
          accomplished using an alternative non-animal model; and (3) interventions including analgesia, anesthesia, sedation, palliative care, and
          humane endpoints that will be used to limit any unavoidable discomfort, distress, pain and injury in the conduct of scientifically valuable
          research. Methods of euthanasia and justification for selected methods, if NOT consistent with the AVMA Guidelines for the Euthanasia of
          Animals, is also required but is found in a separate section of the application. For additional information on review of the Vertebrate
          Animals Section, please refer to the Worksheet for Review of the Vertebrate Animals Section.
          (//grants.nih.gov/grants/guide/url_redirect.php?id=11150)

          Biohazards
          Reviewers will assess whether materials or procedures proposed are potentially hazardous to research personnel and/or the
          environment, and if needed, determine whether adequate protection is proposed.

          Resubmissions
          For Resubmissions, the committee will evaluate the application as now presented, taking into consideration the responses to comments
          from the previous scientific review group and changes made to the project.

          Revisions

  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                             19/25
                                                                                                                              APHA App. 214
Case: 25-1611              Document: 00118310432                     Page: 218             Date Filed: 07/08/2025                  Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 54
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
          For Revisions, the committee will consider the appropriateness of the proposed expansion of the scope of the project. If the Revision
          application relates to a specific line of investigation presented in the original application that was not recommended for approval by the
          committee, then the committee will consider whether the responses to comments from the previous scientific review group are adequate
          and whether substantial changes are clearly evident.

      Additional Review Considerations
      As applicable for the project proposed, reviewers will consider each of the following items, but will not give scores for these items, and
      should not consider them in providing an overall impact score.

          Resource Sharing Plans
          Reviewers will comment on whether the Resource Sharing Plan(s) (i.e., Sharing Model Organisms (https://sharing.nih.gov/other-sharing-
          policies/model-organism-sharing-policy#policy-overview)) or the rationale for not sharing the resources, is reasonable.

          Training in the Responsible Conduct of Research
          All applications for support under this NOFO must include a plan to fulfill NIH requirements for instruction in the Responsible Conduct
          of Research (RCR). Taking into account the level of experience of the candidate, including any prior instruction or participation in RCR
          as appropriate for the candidate’s career stage, the reviewers will evaluate the adequacy of the proposed RCR training in relation to
          the following five required components: 1) Format - the required format of instruction, i.e., face-to-face lectures, coursework, and/or
          real-time discussion groups (a plan with only on-line instruction is not acceptable); 2) Subject Matter - the breadth of subject matter,
          e.g., conflict of interest, authorship, data management, human subjects and animal use, laboratory safety, research misconduct,
          research ethics; 3) Faculty Participation - the role of the mentor(s) and other faculty involvement in the fellow’s instruction; 4) Duration
          of Instruction - the number of contact hours of instruction (at least eight contact hours are required); and 5) Frequency of Instruction –
          instruction must occur during each career stage and at least once every four years. Plans and past record will be rated as
          ACCEPTABLE or UNACCEPTABLE, and the summary statement will provide the consensus of the review committee. See also: NOT-
          OD-10-019 (http://grants1.nih.gov/grants/guide/notice-files/NOT-OD-10-019.html).

          Select Agent Research
          Reviewers will assess the information provided in this section of the application, including 1) the Select Agent(s) to be used in the
          proposed research, 2) the registration status of all entities where Select Agent(s) will be used, 3) the procedures that will be used to
          monitor possession use and transfer of Select Agent(s), and 4) plans for appropriate biosafety, biocontainment, and security of the Select
          Agent(s).

          Authentication of Key Biological and/or Chemical Resources
          For projects involving key biological and/or chemical resources, reviewers will comment on the brief plans proposed for identifying and
          ensuring the validity of those resources.

          Budget and Period of Support
          Reviewers will consider whether the budget and the requested period of support are fully justified and reasonable in relation to the
          proposed research.

      2. Review and Selection Process
      Applications will be evaluated for scientific and technical merit by (an) appropriate Scientific Review Group(s), in accordance with NIH peer
      review policies and practices (//grants.nih.gov/grants/guide/url_redirect.php?id=11154), using the stated review criteria. Assignment to a
      Scientific Review Group will be shown in the eRA Commons.

      As part of the scientific peer review, all applications:

             May undergo a selection process in which only those applications deemed to have the highest scientific and technical merit
             (generally the top half of applications under review) will be discussed and assigned an overall impact score.
             Will receive a written critique.

      Applications will be assigned on the basis of established PHS referral guidelines to the appropriate NIH Institute or Center. Applications will
      compete for available funds with all other recommended applications. Following initial peer review, recommended applications will receive
      a second level of review by the appropriate national Advisory Council or Board.

      The following will be considered in making funding decisions:
            Scientific and technical merit of the proposed project as determined by scientific peer review.
            Availability of funds.
            Relevance of the proposed project to program priorities


  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                         20/25
                                                                                                                          APHA App. 215
Case: 25-1611              Document: 00118310432                      Page: 219             Date Filed: 07/08/2025                   Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 55
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)

      3. Anticipated Announcement and Award Dates
      After the peer review of the application is completed, the PD/PI will be able to access his or her Summary Statement (written critique) via the
      eRA Commons (//grants.nih.gov/grants/guide/url_redirect.php?id=11123). Refer to Part 1 for dates for peer review, advisory council review,
      and earliest start date.

      Information regarding the disposition of applications is available in the NIH Grants Policy Statement Section 2.4.4 Disposition of Applications
      (//grants.nih.gov/grants/guide/url_redirect.php?id=82416).


      Section VI. Award Administration Information
      1. Award Notices
      If the application is under consideration for funding, NIH will request "just-in-time" information from the applicant as described in the NIH
      Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=82418). This request is not a Notice of Award nor should it be
      construed to be an indicator of possible funding.

      A formal notification in the form of a Notice of Award (NoA) will be provided to the applicant organization for successful applications. The NoA
      signed by the grants management officer is the authorizing document and will be sent via email to the recipient’s business official.

      Recipients must comply with any funding restrictions described in Section IV.6. Funding Restrictions. Selection of an application for award is
      not an authorization to begin performance. Any costs incurred before receipt of the NoA are at the recipient's risk. These costs may be
      reimbursed only to the extent considered allowable pre-award costs.

      Any application awarded in response to this NOFO will be subject to terms and conditions found on the Award Conditions and Information for
      NIH Grants (https://grants.nih.gov/grants/policy/nihgps/HTML5/part_ii_subpart_b.htm) website. This includes any recent legislation and policy
      applicable to awards that is highlighted on this website.

      There will not be a formal Notice of Award (NoA) associated with the K99 phase of the award conducted in the NIH intramural program.
      The awarding Institute will transmit to the successful candidate an approval letter which will include the terms and conditions of the NIH
      intramural K99 award, as well as expectations for the transition to the R00 phase of the award.

      2. Administrative and National Policy Requirements
      All NIH grant and cooperative agreement awards include the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?
      id=11120) as part of the NoA. For these terms of award, see the NIH Grants Policy Statement Part II: Terms and Conditions of NIH Grant
      Awards, Subpart A: General (//grants.nih.gov/grants/guide/url_redirect.php?id=11157) and Part II: Terms and Conditions of NIH Grant Awards,
      Subpart B: Terms and Conditions for Specific Types of Grants, Recipients, and Activities (//grants.nih.gov/grants/guide/url_redirect.php?
      id=11159), including of note, but not limited to:

             Federal-wide Standard Terms and Conditions for Research Grants
             (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_3/3.1_federalwide_standard_terms_and_conditions_for_research_grants.htm)
             Prohibition on Certain Telecommunications and Video Surveillance Services or Equipment
             (//grants.nih.gov/grants/guide/url_redirect.php?id=82417)
             Acknowledgment of Federal Funding
             (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_4/4.2.1_acknowledgement_of_federal_funding.htm)

      If a recipient is successful and receives a Notice of Award, in accepting the award, the recipient agrees that any activities under the award are
      subject to all provisions currently in effect or implemented during the period of the award, other Department regulations and policies in effect
      at the time of the award, and applicable statutory provisions.

      If a recipient receives an award, the recipient must follow all applicable nondiscrimination laws. The recipient agrees to this when registering
      in SAM.gov. The recipient must also submit an Assurance of Compliance (HHS-690 (https://www.hhs.gov/sites/default/files/form-hhs690.pdf)).
      To learn more, see Laws and Regulations Enforced by the HHS Office for Civil Rights website (https://www.hhs.gov/civil-rights/for-
      providers/laws-regulations-guidance/laws/index.html).

      HHS recognizes that NIH research projects are often limited in scope for many reasons that are nondiscriminatory, such as the principal
      investigator’s scientific interest, funding limitations, recruitment requirements, and other considerations. Thus, criteria in research protocols
      that target or exclude certain populations are warranted where nondiscriminatory justifications establish that such criteria are appropriate with
      respect to the health or safety of the subjects, the scientific study design, or the purpose of the research. For additional guidance regarding
      how the provisions apply to NIH grant programs, please contact the Scientific/Research Contact that is identified in Section VII under Agency
      Contacts of this NOFO.

      In accordance with the statutory provisions contained in Section 872 of the Duncan Hunter National Defense Authorization Act of Fiscal Year
      2009 (Public Law 110-417), NIH awards will be subject to System for Award Management (SAM.gov) requirements. SAM.gov requires
      Federal agencies to review and consider information about an applicant in the designated integrity and performance system (currently
  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                          21/25
                                                                                                                           APHA App. 216
Case: 25-1611              Document: 00118310432                      Page: 220             Date Filed: 07/08/2025                   Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 56
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      SAM.gov) prior to making an award. An applicant can review and comment on any information in the responsibility/qualification records
      available in SAM.gov. NIH will consider any comments by the applicant, in addition to the information available in the
      responsibility/qualification records in SAM.gov, in making a judgement about the applicant’s integrity, business ethics, and record of
      performance under Federal awards when completing the review of risk posed by applicants as described in 2 CFR Part 200.206 “Federal
      awarding agency review of risk posed by applicants.” This provision will apply to all NIH grants and cooperative agreements except
      fellowships.
      Transition to the Independent Phase
      Transition from the mentored phase to the independent phase is intended to be continuous in time and, except in unusual, extenuating
      circumstances, the awarding NIH Institute/Center will not extend the K99 phase beyond the 2-year limit. ICs may, at their discretion, make
      exceptions to this time limitation when individuals have been invited for faculty job interviews but final decisions have not yet been made by
      the potential R00 institution or, rarely, because of unusual, extenuating circumstances. To activate the independent phase of the grant,
      individuals must have been offered and accepted a tenure-track, full-time assistant professor position (or equivalent) by the end of the K99
      project period.

      An eligible R00 institution will have appropriate infrastructure to support the proposed research program and a history of external research
      funding. K99 recipients are free to apply for independent phase positions within the NIH intramural research program (IRP). However, should
      the individual accept such a position in the IRP, the independent phase of the award will not be activated. This is because NIH intramural
      scientists are supported directly by NIH intramural funds and are not eligible for NIH extramural grant awards. Eligibility of for-profit
      organizations for the R00 phase depends on the nature of the appointment, and the ability of the PD/PI to conduct independent research and
      apply for NIH R01 or R01-equivalent research grants. PIs are encouraged to discuss job offers at for-profit organizations with NIH Program
      staff well in advance of accepting such an offer.

      To avoid potential problems in activating the independent phase, recipients are strongly encouraged to contact their NIH program official as
      soon as plans to apply for and, assume an independent position develop, and not later than 6 months prior to the termination of the K99
      phase of the award.

      At that time, individuals should discuss plans for transition to, and application for, the R00 phase with their NIH program official. The
      application for the R00 phase of the award should be submitted no later than 2 months prior to the proposed activation date of the R00 award
      by the R00 phase recipient organization.

      The independent phase institution will submit an application on behalf of the candidate for the R00 award using the PHS 398 Application
      (//grants.nih.gov/grants/guide/url_redirect.php?id=22000). The R00 application must include:

             A new face page signed by the R00 phase institutional representative;
             A new project description page (the project summary or abstract should be updated to reflect current plans for the R00 phase);
             Detailed budget pages for a non-modular budget;
             Biographical sketches for the PD/PI and any other Key Personnel;
             A new Resources page;
             A brief description of progress made during the K99 phase that will serve as the Final Progress Report for the K99 phase;
             An updated research plan (the specific aims should be updated to reflect current plans for the R00 phase and the updated research
             plan should be briefly described in less than 5 pages);
             Updated Protections for Human Subjects and Inclusion of Women, Minorities and Individuals across the Lifespan (as appropriate);
             Authentication of Key Biological and/or Chemical Resources (as appropriate);
             Updated Vertebrate Animals (as appropriate);
             Updated Biohazards (as appropriate); and
             A new checklist.

      These materials should be sent directly to the awarding Institute or Center (IC). The original application plus one copy (preferably in PDF
      format) are to be mailed (or e-mailed) to the Financial or Grants Management contact person of the awarding NIH Institute or Center listed in
      the Notice of Award. The R00 application will be evaluated by extramural Program staff of the awarding component for completeness and
      appropriateness to the program.

      Two additional documents are included with the R00 application. A letter from the R00 Department or Division Chairman must be submitted
      that describes the R00 institution’s commitment to the candidate and plans for their career development (see below). If not already provided,
      the final evaluation statement by the K99 phase mentor, must be provided.

      In addition to space, facilities, resources, and other support needed to conduct the proposed research, the sponsoring institution must provide
      protected research time (minimum of 9 person-months or 75% of the candidate’s full time professional effort) at least for the duration of the
      R00 award. The start-up package and other institutional support must be described in detail and must be comparable to that given to other
      faculty recently hired into tenure-track or equivalent faculty positions. Institutions must provide a startup and salary package equivalent to that
      provided to a newly hired faculty member who does not have a grant; R00 funds may not be used to offset the typical startup package or to
      offset the usual institutional commitment to provide salary for tenure-track (or equivalent) assistant professors who are hired without grant
      support. The R00 sponsoring institution must describe the candidate’s academic appointment, bearing in mind that it must be tenure-track
  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                          22/25
                                                                                                                            APHA App. 217
Case: 25-1611              Document: 00118310432                      Page: 221            Date Filed: 07/08/2025                   Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 57
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      assistant professor (or equivalent), and confirm that the appointment is not contingent on the transfer of the award to the institution. The R00
      phase institution must describe how the recipient’s ability to apply for and secure independent research grant (R01) support will be fostered
      and supported during the R00 phase of the award.

      The R00 award requires that a minimum of 9 person months (75% of the candidate’s full time professional effort) be devoted to research
      activities. Consequently, teaching, clinical duties and other non-research activities should be minimal during the R00 award period. NIH staff
      may review start-up packages and other commitments between the institution and candidate prior to activating the independent phase of the
      award. It is suggested that the applicant and/or the hiring institution discuss the institutional commitment with the relevant NIH institute
      Program Official prior to finalizing the offer. NIH will not activate the independent phase if the institutional commitment is deemed
      inadequate. Recipients who are approved to transition will receive a Notice of Award reflecting the new R00 grant mechanism, the dollar
      amount, and the new recipient organization (if applicable).

      The K99/R00 award is intended to facilitate successful transition to independence. Consequently, a requirement for activation of the R00
      phase is successful completion of this transition. K99 recipients are encouraged (but not required) to apply for independent positions at
      departments and institutions different from where they conducted their mentored research. It is important for all recipients, but especially so
      for those who intend to stay at the mentored phase institution for the independent phase, to provide a plan by which they will separate from
      their mentor and advance to independence. Recipients are also encouraged to include a plan and timeline for submitting an independent
      research grant application in a research area relevant to the mission of an NIH awarding component.

      Candidates who are not approved to transition will receive written notification from the awarding component communicating the rationale for
      the disapproval. This notification typically will be sent within 60 days of receipt of the R00 application.

      Although the financial plans of the NIH Institute or Center provide support for this program, awards pursuant to this funding opportunity are
      contingent upon the availability of funds.

      Termination of the K99 award phase
      If transition from the K99 phase at an extramural institution to the R00 phase occurs at the originally scheduled end date of the K99 award,
      then no specific steps to terminate the K99 award are necessary. If the transition at an extramural institution occurs prior to the scheduled end
      date, then a revised Notice of Award will be issued to terminate the K99 phase award. Carry-over of unspent funds from a partially completed
      year in the K99 phase into the R00 phase may be permitted.
      3. Data Management and Sharing
      Consistent with the 2023 NIH Policy for Data Management and Sharing, when data management and sharing is applicable to the award,
      recipients will be required to adhere to the Data Management and Sharing requirements as outlined in the NIH Grants Policy Statement
      (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_8/8.2.3_sharing_research_resources.htm#Data). Upon the approval of a Data
      Management and Sharing Plan, it is required for recipients to implement the plan as described.

      4. Reporting
      When multiple years are involved, recipients will be required to submit the Research Performance Progress Report (RPPR)
      (//grants.nih.gov/grants/rppr/index.htm) annually and financial statements as required in the NIH Grants Policy Statement
      (//grants.nih.gov/grants/guide/url_redirect.php?id=82419). The Supplemental Instructions for Individual Career Development (K) RPPRs must
      be followed. For mentored awards, the Mentor’s Report must include an annual evaluation statement of the candidate’s progress.

      A final RPPR, invention statement, and the expenditure data portion of the Federal Financial Report are required for closeout of an award, as
      described in the NIH Grants Policy Statement (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_8/8.6_closeout.htm). NIH NOFOs
      outline intended research goals and objectives. Post award, NIH will review and measure performance based on the details and outcomes
      that are shared within the RPPR, as described at 2 CFR 200.301.

      The Federal Funding Accountability and Transparency Act of 2006 as amended (FFATA), includes a requirement for recipients of Federal
      grants to report information about first-tier subawards and executive compensation under Federal assistance awards issued in FY2011 or
      later. All recipients of applicable NIH grants and cooperative agreements are required to report to the Federal Subaward Reporting System
      (FSRS) available at www.fsrs.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=11170) on all subawards over the threshold. See the NIH
      Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=82420) for additional information on this reporting requirement.

      In accordance with the regulatory requirements provided at 2 CFR Part 200.113 and Appendix XII to 2 CFR Part 200, recipients that have
      currently active Federal grants, cooperative agreements, and procurement contracts from all Federal awarding agencies with a cumulative
      total value greater than $10,000,000 for any period of time during the period of performance of a Federal award, must report and maintain the
      currency of information reported in the System for Award Management (SAM) about civil, criminal, and administrative proceedings in
      connection with the award or performance of a Federal award that reached final disposition within the most recent five-year period. The
      recipient must also make semiannual disclosures regarding such proceedings. Proceedings information will be made publicly available in the
      designated integrity and performance system (Responsibility/Qualification in SAM.gov, formerly FAPIIS). This is a statutory requirement
      under section 872 of Public Law 110-417, as amended (41 U.S.C. 2313). As required by section 3010 of Public Law 111-212, all information
      posted in the designated integrity and performance system on or after April 15, 2011, except past performance reviews required for Federal
  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                           23/25
                                                                                                                           APHA App. 218
Case: 25-1611              Document: 00118310432                    Page: 222            Date Filed: 07/08/2025                  Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 58
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)
      procurement contracts, will be publicly available. Full reporting requirements and procedures are found in Appendix XII to 2 CFR Part 200 –
      Award Term and Condition for Recipient Integrity and Performance Matters.
      5. Evaluation
      In carrying out its stewardship of human resource-related programs, NIH may request information essential to an assessment of the
      effectiveness of this program from databases and from participants themselves. Participants may be contacted after the completion of this
      award for periodic updates on various aspects of their employment history, publications, support from research grants or contracts, honors
      and awards, professional activities, and other information helpful in evaluating the impact of the program.


      Section VII. Agency Contacts
      We encourage inquiries concerning this funding opportunity and welcome the opportunity to answer questions from potential applicants.

      Because of the difference in individual Institute and Center (IC) program requirements for this NOFO, prospective
      applications MUST consult the Table of IC-Specific Information, Requirements, and Staff Contacts
      (https://grants.nih.gov/grants/guide/contacts/IC-specific-information-PA-24-194.html), to make sure that their application is responsive to
      the requirements of one of the participating NIH ICs. Prior consultation with NIH staff is strongly encouraged.

      Application Submission Contacts
      eRA Service Desk (Questions regarding ASSIST, eRA Commons, application errors and warnings, documenting system problems that
      threaten on-time submission, and post-submission issues)

      Finding Help Online: https://www.era.nih.gov/need-help (https://www.era.nih.gov/need-help) (preferred method of contact)
      Telephone: 301-402-7469 or 866-504-9552 (Toll Free)

      General Grants Information (Questions regarding application processes and NIH grant resources)
      Email: GrantsInfo@nih.gov (mailto:GrantsInfo@nih.gov) (preferred method of contact)
      Telephone: 301-637-3015

      Grants.gov Customer Support (Questions regarding Grants.gov registration and Workspace)
      Contact Center Telephone: 800-518-4726
      Email: support@grants.gov (mailto:support@grants.gov)

      Scientific/Research Contact(s)
      See Table of IC-Specific Information, Requirements and Staff Contacts (https://grants.nih.gov/grants/guide/contacts/IC-specific-
      information-PA-24-194.html).

      Peer Review Contact(s)
      Examine your eRA Commons account for review assignment and contact information (information appears two weeks after the submission
      due date).

      Financial/Grants Management Contact(s)
      See Table of IC-Specific Information, Requirements and Staff Contacts (https://grants.nih.gov/grants/guide/contacts/IC-specific-
      information-PA-24-194.html).


      Section VIII. Other Information
      Recently issued trans-NIH policy notices (//grants.nih.gov/grants/guide/url_redirect.php?id=11163) may affect your application submission. A
      full list of policy notices published by NIH is provided in the NIH Guide for Grants and Contracts
      (//grants.nih.gov/grants/guide/url_redirect.php?id=11164). All awards are subject to the terms and conditions, cost principles, and other
      considerations described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120).

      Please note that the NIH Loan Repayment Programs (LRPs) are a set of programs to attract and retain promising early-stage investigators in
      research careers by helping them to repay their student loans. Recipients of career development awards are encouraged to consider applying
      for an extramural LRP award.

      Authority and Regulations
      Awards are made under the authorization of Sections 301 and 405 of the Public Health Service Act as amended (42 USC 241 and 284)
      and under Federal Regulations 42 CFR Part 52 and 2 CFR Part 75.



      Weekly TOC for this Announcement (/grants/guide/WeeklyIndex.cfm?04-26-24)
      NIH Funding Opportunities and Notices (/grants/guide/index.html)

  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                                       24/25
                                                                                                                        APHA App. 219
Case: 25-1611              Document: 00118310432                          Page: 223           Date Filed: 07/08/2025       Entry ID: 6734280

  4/16/25, 1:00 PM   Case 1:25-cv-10787-BEM           Document
                                 PA-24-194: NIH Pathway              38-21
                                                        to Independence          Filed
                                                                        Award (Parent    04/25/25
                                                                                      K99/R00 IndependentPage
                                                                                                          Clinical 59
                                                                                                                   Trial of
                                                                                                                         Not65
                                                                                                                            Allowed)


                                                                       (/grants/oer.htm)


                                                   Department of Health
                          (https://www.hhs.gov/)
                                                   and Human Services (HHS)

                                                                                  (https://www.usa.gov/)


                                                                NIH... Turning Discovery Into Health®




  https://grants.nih.gov/grants/guide/pa-files/PA-24-194.html                                                                          25/25
                                                                                                                  APHA App. 220
Case: 25-1611   Document: 00118310432   Page: 224   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-21
                                  Document 38-21    Filed 04/25/25
                                                    Filed 04/25/25   Page 60
                                                                     Page 60 of
                                                                             of 65
                                                                                65




                        EXHIBIT
                        EXHIBIT H
                                A




                                                                        APHA App. 221
Case: 25-1611                Document: 00118310432                      Page: 225        Date Filed: 07/08/2025   Entry ID: 6734280

   4/16/25, 1:52PM          Case 1:25-cv-10787-BEM
                            Case 1:25-cv-10787-BEM              Docunsentadiii2Datesi
                                                                 Document 38-21 Filed tecOvvahngs
                                                                                          04/25/25      Page 61
                                                                                                        Page 61 of
                                                                                                                of 65
                                                                                                                   65



       Standard                                  Due Dates
      The Key Dates section of many funding opportunities indicate standard dates apply. Use the
      table below and theactivity
                               code (e.g., RO1) specified in the title of the opportunity to
      determine application cycles and their relationship to due dates, review and council dates, and
      earliest possible start dates. Renewal/resubmission/revision and AIDS-related applications
      may have different due dates than new applications. Read the table carefully.



                   On this page:

                        e   General    Information

                        e Application Due Dates
                        e    Review and Award Cycles




       General                        Information
         e Grant applications and associated documents (e.g., reference letters) are due by 5:00 PM
                 local time of applicant organization on the specified due date.
         ¢ Questions related to a specific opportunity should be directed to the IC contact listed in
           Section Vil of the funding opportunity.
         e       RO1, R21 and R34 applications with a PD/PI appointed to an NIH Peer Review advisory
                 group may be eligible for an alternate submission schedule.                      Se@ontinuous Submission
                 for details and review assignment cutoff dates.


        Related                Resources
             e Submission Policies due dates on holidays/weekends, dealing with system issues, and
                  more.
             e How to Apply - Application
                                      Guide
             e    eRA       Service   Desk




      Application Due Dates
      Check your funding opportunity for opportunity-specific due dates. Not all                             * Back to Top
      programs use standard due dates.
   https://grants.nih.gov/grants-process/submit/submission-policies/standard-due-dates                                       1/5


                                                                                                            APHA App. 222
Case: 25-1611                   Document: 00118310432                               Page: 226                     Date Filed: 07/08/2025                    Entry ID: 6734280

   4/16/25, 1:52PM        Case 1:25-cv-10787-BEM
                          Case 1:25-cv-10787-BEM                         Docunsentag@x2Datesh
                                                                          Document 38-21 Filedtteatddatit25
                                                                                                  04/25/25                                 Page 62
                                                                                                                                           Page 62 of
                                                                                                                                                   of 65
                                                                                                                                                      65

         Activity Codes                                      Program Description                                                    Cycle |      Cycle Il      Cycle Ill
                                                                                                                                   Due Date     Due Date      Due Date




                                                             Program Project Grants and Center Grants
          P Series
                                                             NOTE: Applicants should check with the relevant Institute or Center                              September
         All - new, renewal, resubmission, revisions
                                                             (IC), since some do not accept P series applications for all three    January
                                                                                                                                         25      May 25
                                                             receipt/review/award cycles.




         R18, U18                                            Research Demonstration
                                                                                                                                                              September
         R25                                                 Education Projects                                                    January
                                                                                                                                         25      May 25
                                                                                                                                                                  25
         All-new, r        Lr




                                                             Institutional National Research
                                                               Service Awards
         T Series
                                                             Other Training Grants

          D Series                                                                                                                                            September
                                                             NOTE: Applicants should check with the relevant Institute or Center   January
                                                                                                                                         25      May 25
         All - new, renewal, resubmission, revision
                                                             (IC), since some do not accept T series applications for all three
                                                             receipt/review/award cycles.




         C06/UC6
         All-new, r        Lr                                                                                                                                 September
                                                             Construction Grants                                                   January
                                                                                                                                         25      May 25
                                                                                                                                                                  25




         G07, G08, G11, G12, G13, G20, R24, S06, $11, $21,
         $22, SC1, SC2, SC3, UG1, U10, U19, U24, U2C, U41,
         U42, U45, U54, US56                                                                                                                                  September
                                                             Other Activity Codes                                                  January
                                                                                                                                         25      May 25
         All - new, renewal, resubmission, revision




         RO1                                                 Research Grants
                                                                                                                                   February 5    June5        October 5
         new




         U01                                                 Research Grants - Cooperative Agreements
                                                                                                                                   February 5    jJune5       October 5
         new




         K series
                                                             R      ch Career Devel     iP    t                                                 June12        October12
         new




         RO3, R21, R33, R21/R33, R34, R36, U34, UH2, UH3,
                                                             Other Research Grants and Cooperative Agreements
         UH2/UH3                                                                                                                                June 16       October16
         new




                                                                                                                                   February
                                                             Academic Research Enhancement Award (AREA)                                         June 25       October 25
                                                                                                                                      25



                                                                                                                                                              November
         renewal, resubmission, revision
                                                             Research Grants                                                        March5        Julys           m




   https://grants.nih.gov/grants-process/submit/submission-policies/standard-due-dates                                                                                     2/5


                                                                                                                                                APHA App. 223
Case: 25-1611                   Document: 00118310432                                         Page: 227                   Date Filed: 07/08/2025                            Entry ID: 6734280

   4/16/25, 1:52PM        Case 1:25-cv-10787-BEM
                          Case 1:25-cv-10787-BEM                                       Docunsentadii2
                                                                                     Document 38-21Dates Filed
                                                                                                          tedO4vabigs
                                                                                                               04/25/25                                   Page 63
                                                                                                                                                          Page 63 of
                                                                                                                                                                  of 65
                                                                                                                                                                     65

         Activity Codes                                                 Program Description                                                     Cycle |         Cycle Il       Cycle Ill
                                                                                                                                               Due Date        Due Date       Due Date




         U01                                                            Research Grants - Cooperative Agreements                                                              November
                                                                                                                                                March5           July 5
         renewal, resubmission, revision                                                                                                                                          5




         K series                                                                                                                                                             November
         Peete reetatneaterecicrt                                       Research Career Development                                             March 12        July 12           2




         RO3, R21, R33, R21/R33, R34, R36, U34, UH2, UH3,
         UH2/UH3                                                                                                                                                              November
         renewal, resubmission, revision                               Other Research Grants and Cooperative Agreements                         March 16        July 16           16




         F Series Fellowships                                          Individual National Research Service Awards (Standard)                                                 December
                                                                                                                                                 April8        August 8
         new, renewal, resubmission                                                                                                                                               8




         R13, U13                                                                                                                                               August        December
         All-new, 1        |,    resubmission, revisi                  Conference Grants and Conference Cooperative Agreements                  April 12           12             12




         SALE       E ani ee                                           Small Business Technology Transfer (STTR}
                                                                       Small Business Innovation Research (SBI R¥
          R43, R44, U43, U44,
                                                                                                                                               September
         All - new, renewal, resubmission, revision, AIDS and          Commercialization Readiness Pilot (CRP) Program*                             5         January 5        April 5
         AIDS-related


         $B1, UB1




      AIDS and AIDS-Related Application Due Dates
         Activity Codes                                 Program Description                                                                      Cycle |        Cycle Il       Cycle Ill
                                                                                                                                               Due Date        Due Date        Due Date




                                                        AIDS and AIDS-Related Applications


                                                        *Effective. Sept 5, 2015 - N/A for SBIR/STTR Applications using Standard Due Dates

         All Activity Codes Cited Above                                                                                                          May7         September 7      January 7
         new, renewal, resubmission, revision           NOTE: See Key Dates section of funding opportunity to determine if AIDS dates apply.




       Review and Award Cycles


   https://grants.nih.gov/grants-process/submit/submission-policies/standard-due-dates                                                                                                     3/5


                                                                                                                                                              APHA App. 224
Case: 25-1611                 Document: 00118310432                                    Page: 228                      Date Filed: 07/08/2025                                Entry ID: 6734280

   4/16/25, 1:52PM        Case 1:25-cv-10787-BEM
                          Case 1:25-cv-10787-BEM                              Docunsentag@x2Datesh
                                                                               Document 38-21 Filedtteatddatit25
                                                                                                       04/25/25                                        Page 64
                                                                                                                                                       Page 64 of
                                                                                                                                                               of 65
                                                                                                                                                                  65

                                                                                                        Cycle Il                                    Cycle Ill




         Application Due Dates                          January 25 - May 7                              May 25 - September 7                        September
                                                                                                                                                            25 - January 7



         Scientific Merit Review                        June - July                                     October - November                          February - March



         Advisory Council Round                         August or October*                              January                                     May



         Earliest Project Start Date                    September or December*                          April                                       July




         *SBIR/STTR, CRP Only                                                                           Cycle Il                                    Cycle Ill




         Application Due Dates                          September 5                                     January 5                                   April 5




         Scientific Merit Review                        October - November                              February - March                            June-July



         Advisory Council Round                         January                                         May                                         August


         Earliest Project Start Date                    April                                           July                                        September or December*




         NOTES:


         The actual date of the Advisory Council may occur in the month before or after the month listed. For example, some ICs may actually hold the January Advisory Council meeting in
         February or the October Advisory Council meeting in September.

         Awarding components may not always     be able to honor the requested start date ofan application.     Before incurring any pre-award obligations or expenditures applicants should be
         aware of NIH policy governing pre-award costs prior to receiving a Notice of Award, See the Ni€rants
                                                                                                        Policy Statement

         * Advisory Council Round for Cycle | applications (Cycle Ill for SBIR/STTR) may be August or October, and their earliest project start date may be September or December respectively,




                                                                                                                        This page last updated on: August 23, 2024
                                                                                                                        For technical issuesE-mail
                                                                                                                                            OER Webmaster




         Help, FAQs, And More

        Nexus Blog’
         eRAG
         Glossary
   https://grants.nih.gov/grants-process/submit/submission-policies/standard-due-dates                                                                                                            4/5


                                                                                                                                                                APHA App. 225
Case: 25-1611             Document: 00118310432                        Page: 229        Date Filed: 07/08/2025        Entry ID: 6734280

  4/16/25, 1:52 PM   Case 1:25-cv-10787-BEM                     Document   38-21
                                                                     Standard Due DatesFiled
                                                                                       | Grants04/25/25
                                                                                                & Funding   Page 65 of 65
        FAQs
        Help




  https://grants.nih.gov/grants-process/submit/submission-policies/standard-due-dates                                            5/5
                                                                                                                APHA App. 226
Case: 25-1611   Document: 00118310432   Page: 230    Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-22
                                  Document 38-22    Filed 04/25/25
                                                    Filed 04/25/25   Page 1
                                                                     Page 1 of
                                                                            of 82
                                                                               82




                       EXHIBIT
                       EXHIBIT 22




                                                                        APHA App. 227
Case: 25-1611         Document: 00118310432                  Page: 231     Date Filed: 07/08/2025           Entry ID: 6734280

                     Case 1:25-cv-10787-BEM
                     Case 1:25-cv-10787-BEM            Document 38-22
                                                       Document 38-22       Filed 04/25/25
                                                                            Filed 04/25/25      Page 2
                                                                                                Page 2 of
                                                                                                       of 82
                                                                                                          82




                                          UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MASSACHUSETTS



           AMERICAN PUBLIC HEALTH
           ASSOCIATION: IBIS REPRODUCTIVE
           HEALTH; INTERNATIONAL UNION,
           UNITED AUTOMOBILE, AEROSPACE.
           AND AGRICULTURAL IMPLEMENT
           WORKERS (UAW); BRITTANY
           CHARLTON; KATIE EDWARDS: PETER
           LURIE: and NICOLE MAPHIS                                 Case No. 1:25-cv-10787

                                       Plaintiffs,

                               Vv.


           NATIONAL INSTITUTES OF HEALTH:
           JAY BHATTACHARYA,               in his official
           capacity as Director of the National Institutes
           of Health; UNITED STATES DEPARTMENT
           OF HEALTH AND HUMAN SERVICES: and
           ROBERT F. KENNEDY, JR., in his official
           capacity as Secretary of the United States
           Department of Health and Human Services,

                                       Defendants.




                                     DECLARATION             OF PETER LURIE, MD, MPH

                      I, Peter Lurie. MD, MPH. pursuant to 28 U.S.C. § 1746, depose and say as follows:

                1.     Lam the Executive Director and President of the Center for Science in the Public Interest,

          a 501(c)(3) nonprofit organization based in Washington, D.C. that advocates for improving

          public health through science-based policies and promoting scientific integrity.

                2. | am offering this Declaration in my individual capacity and not on behalf of my

          employer.




                                                                                                     APHA App. 228
Case: 25-1611     Document: 00118310432               Page: 232        Date Filed: 07/08/2025           Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM           Document 38-22
                                                 Document 38-22         Filed 04/25/25
                                                                        Filed 04/25/25      Page 3
                                                                                            Page 3 of
                                                                                                   of 82
                                                                                                      82




                3. | obtained a Bachelor of Arts Degree in Chemistry from Cornell University in 1982. In

           1987, | obtained my Doctor of Medicine degree from the Albert Einstein College of Medicine,

           and I completed residencies in Family Medicine in 1990 and Preventive Medicine in 1992. I was

           an Assistant Professor of Epidemiology and Biostatistics and of Family and Community

           Medicine at the University of California, San Francisco from 1993-1998 and a Visiting Assistant

           Research Scientist at the University of Michigan Institute for Social Research from 1997-1999. |

           hold an adjunct faculty position at the Johns Hopkins School of Public Health and previously did

           so at the George Washington University School of Public Health and Health Sciences.

                4. | have conducted research on HIV infection since the late 1980s. My main areas of interest

           are needle exchange programs, HIV vaccine trials, clinical trial ethics, HIV testing. the impact of

           foreign aid on the HIV epidemic, the epidemiology of HIV infection in developing countries, and

           post-exposure prophylaxis.

                5. In the mid-1990s, | was the recipient of a grant from the National Institute of Drug Abuse

           to study the efficacy of needle exchange programs to prevent HIV infection. In 1998, I submitted

           a grant to the National Institute on Drug Abuse on the same topic, but it was not funded.

                6. From 2014-2017, I was an Associate     Commissioner at the U.S. Food and Drug

           Administration where | worked on a range of regulatory and analytical issues across the agency,

           including HIV pre-exposure prophylaxis and a potential switch to over-the-counter status for the

           opioid-reversal drug naloxone.

                7. | was an advisor/consultant on an NIH-funded R21 grant titled “Over-the-Counter PrEP:

           Acceptability, Feasibility, and Potential Impact of Access without a Prescription (OFFSCRIPT),”

           which aimed to “evaluate the acceptability, feasibility, and potential impact of over-the-counter

           PrEP,” or pre-exposure prophylaxis to reduce the risk of HIV transmission. The grant began on




                                                                                                APHA App. 229
Case: 25-1611     Document: 00118310432              Page: 233         Date Filed: 07/08/2025            Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM           Document 38-22
                                                 Document 38-22         Filed 04/25/25
                                                                        Filed 04/25/25      Page 4
                                                                                            Page 4 of
                                                                                                   of 82
                                                                                                      82




           July 1, 2024, and was a 2-year grant for $489,120. Of this, $277,552 was paid before it was

           terminated.

                8. The Principal Investigators for this grant were Julia Marcus and Douglas Krakower, both

           of whom are Associate Professors at Harvard Medical School. Due to my decades of experience

           in HIV research and drug regulation, | was contacted by the Principal Investigators and asked to

           be an advisor/consultant on the grant and agreed to do so. In this role, | received and was to

           continue receiving a small amount of compensation under the grant for my services. |

           participated in some meetings about the grant.

                9. The OFFSCRIPT grant was originally awarded based on an application responsive to a

           posting by the National Institute of Mental Health’s Division of AIDS Research, which called

           specifically for projects that “advance innovative research to optimize HIV prevention and care.”

                10. The NIH-Wide Strategic Plan for Fiscal Years 2021-2025 lists thirty-five Bold

           Predictions, one of which is “NIH-wide research will lead to new implementation strategies for

           pre-exposure prophylaxis that will significantly reduce the number of new HIV infections and to

           new longacting therapies to improve viral load suppression among people with HIV to levels that

           prevent transmission.” See Ex. A, NIH-Wide Strategic Plan for Fiscal Years 2021-2025, at 35,

           Bold Prediction no. 15.

                11. The OFFSCRIPT grant scored in the top 3% of applications during the NIH review

           process and was funded in part by Innovation Funds from the NIH Office of the Director.

                12. However, on March 21, 2025, the grantee institution received a notice from NIH stating

          that the OFFSCRIPT grant had been terminated. That letter asserted that the award “no longer

          effectuate[d] agency priorities” and stated that the basis for termination was that the grant was

          “based on gender identity.” At no time before receiving this termination letter did I or the




                                                                                                 APHA App. 230
Case: 25-1611     Document: 00118310432                 Page: 234         Date Filed: 07/08/2025          Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM             Document 38-22
                                                   Document 38-22          Filed 04/25/25
                                                                           Filed 04/25/25       Page 5
                                                                                                Page 5 of
                                                                                                       of 82
                                                                                                          82




           Principal Investigators receive any notice that this grant was being considered for termination. In

           addition, no guidance was provided about how to close out the study and how to manage study

           participants who had already agreed to participate.

                13. Despite the assertions in the termination letter, in actuality, the OFFSCRIPT grant was

           not “based on gender identity.” but rather focused on the efficacy of increasing access to

           preventative HIV drugs for all patients. Though the grant plan included an assessment of

           “diverse cohorts of cisgender MSM      [men who have sex with men], transgender women, and

           cisgender women on interest in use of OTC PrEP,” such an assessment is a necessary tool to

           evaluate the potential impact of expanding access to PrEP on the population groups most likely

           to benefit from it. It was not the grant’s primary purpose. To my knowledge, this is the first grant

           to ever look at OTC PrEP.

                14. I found the termination letter vague. I do not know exactly what makes a research project

           to be “based on gender identity,” or which NIH priorities this award “no longer effectuates.”

           Similarly, due to the vagueness of the termination letter, | do not know what public health topics

           might be funded by NIH in the future. Even though | understand that an administrative appeal

           will be filed concerning this termination. this is likely to be a futile exercise.

                15. There were three main study aims, described in this paragraph, and we were mid-way in

          making progress on these study aims. First, we were in the midst of collaborating with others

          who had appropriate cohorts to assess subjects” interest in PrEP. Second, we had begun

          conducting interviews with key stakeholders on attitudes toward PrEP and were starting to

          analyze those transcripts. Third, we had built a mathematical model to estimate the impact of

          OTC PrEP on new HIV infections and relevant safety outcomes. As a result of the termination of

          this grant, work on all three of the study aims was largely stopped.




                                                                                                   APHA App. 231
Case: 25-1611     Document: 00118310432               Page: 235          Date Filed: 07/08/2025             Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM            Document 38-22
                                                  Document 38-22         Filed 04/25/25
                                                                         Filed 04/25/25         Page 6
                                                                                                Page 6 of
                                                                                                       of 82
                                                                                                          82




                16. In addition, before the termination, we presented preliminary research at a national

           conference and were preparing a manuscript describing our findings.

                17. As a result of the termination of the OFFSCRIPT     grant, the research into PrEP access

           being conducted under the grant has been largely discontinued. resulting in harms to public

           health in the form of reduced knowledge about how to effectively reduce the spread of HIV. This

           is a loss to the American public because PrEP is highly effective but greatly underutilized, a gap

           this research might have bridged.

                18. ] will no longer benefit from either financial disbursements under the grant, nor will I be

           able to conduct the work I set out to complete in assisting in the evaluation of potential HIV

           prevention measures, a topic of great personal and professional interest to me given my decades

           of research on HIV and AIDS prevention.

                   I declare under penalty of perjury that the foregoing is true and correct.

                   Executed this (Tay of April, 2025.


                                                                                    / ses i 33
                                                                                  Peter Lurie- MD, MPH




                                                                                                   APHA App. 232
Case: 25-1611   Document: 00118310432   Page: 236   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-22
                                  Document 38-22    Filed 04/25/25
                                                    Filed 04/25/25   Page 7
                                                                     Page 7 of
                                                                            of 82
                                                                               82




                        EXHIBIT
                        EXHIBIT A




                                                                        APHA App. 233
Case: 25-1611    Document: 00118310432      Page: 237     Date Filed: 07/08/2025     Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-22   Filed 04/25/25   Page 8 of 82




         NIF-VWIDE
         STRATEGIC                                                 PLAN




                       Fiscal Years
                       AWA bea’AV)20)




                                                                              APHA App. 234
Case: 25-1611      Document: 00118310432                               Page: 238         Date Filed: 07/08/2025      Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM                       Document 38-22
                                                              Document 38-22              Filed 04/25/25
                                                                                          Filed 04/25/25   Page 9
                                                                                                           Page 9 of
                                                                                                                  of 82
                                                                                                                     82




           Photo page ii: Cell-to-Cell Communication.
           Credit: NCATS, NIH.

           Photo page vi: Enzyme Repairing DNA.
           Credit: Tom Ellenberger, Washington University School of Medicine in St. Louis, and
           Dave Gohara, Saint Louis University School of Medicine.

           Photo page 41: Neurons.
           Credit: Leterrier, NeuroCyto Lab, INP, Marseille, France.




                                                                                                              APHA App. 235
Case: 25-1611    Document: 00118310432                   Page: 239          Date Filed: 07/08/2025               Entry ID: 6734280

                   Case 1:25-cv-10787-BEM               Document 38-22           Filed 04/25/25        Page 10 of 82




           Director’s Message
                                        To the American People,

                                        As our nation’s biomedical research agency, the National Institutes of Health (NIH)
                                        has been the driving force behind many of the recent innovations in science and
                                        technology that are improving the health of all humankind. The coming years
                                        are certain to offer many exciting new opportunities for scientific exploration—
                                        and to pose some serious new challenges for human health. To rise to those
                                        opportunities and challenges, it is imperative that NIH, along with all sectors of
                                        society, work together in unprecedented ways with unprecedented speed.

           Indeed, science is moving faster than ever before. To fuel this engine of discovery, NIH must continue to
           support the highest caliber research throughout the country and the world, while at the same time take
           vigorous steps to uphold the ethical conduct of science. NIH will further enhance the science of tomorrow
           by continuing its efforts to build a next generation of researchers that better reflects the rich, creative
           diversity of our great nation. The increasingly complex scientific questions that our society will face in the
           future will require not only diversity of scientific disciplines, but also diversity of thought, experience, and
           demographics.

           As a publicly funded agency, NIH has a responsibility to be a good steward of the funds entrusted
           to us by the U.S. taxpayers. NIH will do this by investing efficiently and effectively in a wide range of
           basic, translational, clinical, and applied research, while at the same time supporting the workforce and
           infrastructure required for a sustainable research enterprise. As outlined in this Strategic Plan, this approach
           will enable NIH to build a solid foundation of fundamental knowledge about living systems that will serve to
           accelerate research aimed at addressing our most pressing health needs.

           NIH’s mission is to turn discovery into health. We thank you for your strong and steadfast support of this
           crucial mission, and we look forward to your continued support as we strive to use the power of science to
           create a healthier and more productive life for all.

           With sincere appreciation,




           Francis S. Collins
           Director, National Institutes of Health




                                                                          NIH-Wide Strategic Plan for Fiscal Years 2021–2025   i

                                                                                                        APHA App. 236
Case: 25-1611    Document: 00118310432      Page: 240     Date Filed: 07/08/2025     Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-22   Filed 04/25/25
                                                          Filed 04/25/25   Page 11 of 82
                                                                           Page




                                                                               APHA App. 237
Case: 25-1611         Document: 00118310432                         Page: 241             Date Filed: 07/08/2025                     Entry ID: 6734280

                  Case 1:25-cv-10787-BEM                    Document 38-22                Filed 04/25/25            Page 12 of 82


                                                        Table of Contents
      Director’s Message.............................................................................................. i

      NIH-Wide Strategic Plan Framework ................................................................ vii

      Overview of NIH....................................................................................................1
          Mission and Goals ............................................................................................................ 1
          Organization ..................................................................................................................... 1
      		Supporting Researchers and Universities Through the Extramural
        Research Program....................................................................................................... 1
      		Research in Action in the NIH Intramural Research Program................................... 2
      		Pioneering Clinical Research at the NIH Clinical Center ............................................ 2

      NIH’s Strategy.......................................................................................................3
      Objective 1: Advancing Biomedical and Behavioral Sciences............................................. 3
          Driving Foundational Science.......................................................................................... 3
      		Building Data Resources to Enable Research Progress ............................................ 4
      		Inventing Tools and Technologies to Catalyze Discovery........................................... 6
      		Understanding Biological, Behavioral, and Social Determinants of
        Population Health......................................................................................................... 7
          Preventing Disease and Promoting Health...................................................................... 8
      		Developing New and Improved Vaccines ................................................................... 8
      		Addressing Risk and Burden of Disease .................................................................... 9
      		Harnessing Technology to Inform Decision-Making ................................................ 10
      		Designing Research for Everyone ............................................................................ 11
          Developing and Optimizing Treatments, Interventions, and Cures .............................. 11
      		Giving the Right Treatment to the Right Patient at the Right Time ......................... 12
      		Catalyzing Cell Engineering, Bioengineering, and Regenerative Medicine ............ 13
      		Meeting Emerging Public Health Needs................................................................... 14
      		Partnering to Advance Treatments and Cures......................................................... 15

      Objective 2: Developing, Maintaining, and Renewing Scientific Research Capacity........ 16
          Enhancing the Biomedical and Behavioral Research Workforce ................................. 16
          Supporting Research Resources and Infrastructure.................................................... 18



                                                                                 NIH-Wide Strategic Plan for Fiscal Years 2021–2025              iii

                                                                                                                           APHA App. 238
Case: 25-1611        Document: 00118310432                      Page: 242             Date Filed: 07/08/2025                  Entry ID: 6734280

                Case 1:25-cv-10787-BEM                   Document 38-22             Filed 04/25/25           Page 13 of 82


           Objective 3: Exemplifying and Promoting the Highest Level of Scientific Integrity,
           Public Accountability, and Social Responsibility in the Conduct of Science..................... 20
                Fostering a Culture of Good Scientific Stewardship..................................................... 21
           		Setting Priorities......................................................................................................... 21
           		Monitoring Expenditures and Scientific Progress ................................................... 21
           		Making Evidence-Informed Decisions....................................................................... 22
           		Assessing Programs, Processes, Outcomes, and Impact....................................... 22
           		Communicating Results ............................................................................................ 23
                Leveraging Partnerships................................................................................................ 24
           		Federal Partnerships ................................................................................................. 24
           		Public-Private Partnerships ...................................................................................... 25
           		International Partnerships ......................................................................................... 26
           		Public Engagement ................................................................................................... 26
                Ensuring Accountability and Confidence in Biomedical and Behavioral Sciences ..... 27
           		Enhancing Reproducibility Through Rigorous and Transparent Research ............. 27
           		Improving Stewardship of Clinical Trials................................................................... 27
           		Assuring Ethical and Equitable Conduct of Research Through Inclusion .............. 27
           		Maintaining Transparency Through Data Access and Sharing ............................... 28
           		Fostering a Safe and Harassment-Free Work Environment .................................... 28
           		Managing Risks to the Research Enterprise ............................................................ 29
           		Reducing Administrative Costs and Work Throughout the Grants Process........... 30
                Optimizing Operations .................................................................................................... 30
           Crosscutting Themes ........................................................................................................... 32
                Improving Minority Health and Reducing Health Disparities........................................ 32
                Enhancing Women’s Health............................................................................................ 33
                Addressing Public Health Challenges Across the Lifespan .......................................... 33
                Promoting Collaborative Science .................................................................................. 34
                Leveraging Data Science for Biomedical Discovery..................................................... 34

           Bold Predictions.................................................................................................35
           References..........................................................................................................37




      iv     NIH-Wide Strategic Plan for Fiscal Years 2021–2025



                                                                                                                     APHA App. 239
Case: 25-1611      Document: 00118310432                Page: 243         Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM             Document 38-22          Filed 04/25/25        Page 14 of 82


      Appendix I: NIH Statutory Authority..................................................................42

      Appendix II: NIH Organizational Chart...............................................................43

      Appendix III: Strategic Planning Process..........................................................44

      Appendix IV: NIH Common Fund Strategic Plan Report ...................................46

      Appendix V: Acronyms.......................................................................................61

      Acknowledgments..............................................................................................64




                                                                    NIH-Wide Strategic Plan for Fiscal Years 2021–2025   v

                                                                                                      APHA App. 240
Case: 25-1611    Document: 00118310432      Page: 244     Date Filed: 07/08/2025     Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-22   Filed 04/25/25   Page 15 of 82




                                                                               APHA App. 241
Case: 25-1611         Document: 00118310432                         Page: 245                Date Filed: 07/08/2025                          Entry ID: 6734280

                   Case 1:25-cv-10787-BEM
                   Case 1:25-cv-10787-BEM                     Document 38-22
                                                              Document 38-22                 Filed 04/25/25
                                                                                             Filed 04/25/25              Page 16
                                                                                                                         Page 16 of
                                                                                                                                 of 82
                                                                                                                                    82




                                     NIH-Wide Strategic Plan Framework
                                        (                     OVERVIEW OF NIH
                                        L




                                                                                                                   a
                                                                      MISSION:
         To seek fundamental knowledge about the nature and behavior of living systems and the application
               of that knowledge to enhance health, lengthen life, and reduce illness and disability

                          i | f                ORGANIZATION: 27 Institutes and Centers and the Office of the Director
                                                e Extramural program: supporting research across the U.S. and beyond
                        eS                      ee Intramural program: supporting research on NIH campuses


                                        {                      NIH’S STRATEGY                                      |
                                                                   OBJECTIVES


                                 ~



                       S=                                        Mm" yl Mf
                   Research Areas                              Research Capacity                              Research Conduct
                  Foundational Science                                Workforce                                        Stewardship
                 Disease Prevention and                      Infrastructure and Resources                              Partnerships
                     Health Promotion                                                                      Accountability and Confidence
                Treatments, Interventions,
                        and Cures                                                                          Management and Operations




           ,       rn)                  a


           an  Minority Health                                        Public Health                           :
                                                                                                                                  01010010
                                                                                                                                  O10100—1




                 and Health                 Women’s Health         Challenges Across                Raleboralive               Data Science
                  Disparities                                         the Lifespan




                                                                    National Institutes of Health




                                                                                    NIH-Wide Strategic Plan for Fiscal Years 2021-2025 | VII


                                                                                                                               APHA App. 242
Case: 25-1611    Document: 00118310432      Page: 246     Date Filed: 07/08/2025           Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-22   Filed 04/25/25   Page 17 of 82




                                                                            Figure 1. NIH Main Campus
                                                                            Credit: NIH.
                                                                            The James H. Shannon Building
                                                                            (Building One) at the NIH main
                                                                            campus in Bethesda, MD.




                                                                                APHA App. 243
Case: 25-1611           Document: 00118310432                           Page: 247               Date Filed: 07/08/2025                          Entry ID: 6734280

                    Case 1:25-cv-10787-BEM
                    Case 1:25-cv-10787-BEM                       Document 38-22
                                                                 Document 38-22                 Filed 04/25/25
                                                                                                Filed 04/25/25             Page 18
                                                                                                                           Page 18 of
                                                                                                                                   of 82
                                                                                                                                      82




       Overview of NIH
                                                                                 planning, managing, and coordinating the programs
       Mission and Goals
                                                                                 and activities of all of NIH.
       At the National Institutes of Health (NIH), “Turning
       Discovery into Health” is what its tens of thousands                      NIH receives its annual funding, or appropriation,
       of employees—and the hundreds of thousands of                             from the U.S. Congress. More than 80 percent of this
       scientists it supports—strive to accomplish every                         funding is passed on to researchers and research
       day. As the foremost agency for funding biomedical                        institutions around the country—the extramural
       research? in the U.S., NIH’s mission is to seek funda-
                                                                                 research community —through a rigorous, competitive
       mental knowledge about the nature and behavior of                         process, while about 11 percent of NIH’s budget sup-
       living systems and to use that knowledge to enhance                       ports intramural projects conducted by scientists in
       health, lengthen life, and reduce illness and disability                  its own laboratories, which are subject to an equally
       (Figure 1).' To achieve this mission, NIH works to                        rigorous review.®
       support innovative research ultimately aimed at
                                                                                 Supporting Researchers and Universities
       protecting and improving human health; train the
                                                                                 Through the Extramural Research Program
       biomedical research workforce and develop scientific
       infrastructure; contribute to the nation’s economic                       Every year, NIH receives more than 54,000 research
       growth by expanding the biomedical knowledge                              project grant applications* and funds almost 50,000
       base; and promote integrity, public accountability,                       new and continuing grants. These grants support
       and societal responsibility in scientific research. As an                 more than 300,000 researchers at all career stages,
       operating division of the U.S. Department of Health                       including more than 43,000 principal investigators at
       and Human Services (HHS), NIH is responsible for                          approximately 2,500 universities, medical schools,
       carrying out the Department’s goal of advancing                           and other research institutions in every state of
       scientific knowledge and innovation. NIH catalyzes                        the U.S. and around the world. This enterprise is
       life-saving research breakthroughs by providing criti-                    managed by NIH staff who facilitate and administer
       cal funding to eligible research institutions throughout                  scientific programs, consult with scientific experts to
       the nation and the world, and through the research                        inform priority setting, and act as agency experts for
       conducted in NIH laboratories.                                            specific scientific areas.
       While NIH’s primary mission is the conduct of                             NIH’s funding decisions are made through a highly
       research, the agency is also a trusted resource for                       competitive, rigorous dual-level peer review process
       accurate and timely biomedical information. NIH’s                         that emphasizes fairness and accountability and
       biomedical information platforms are among the most                       prioritizes support of the best scientific ideas.° NIH
       visited websites in the federal government, giving                        relies on the expertise of more than 25,000 external
       researchers, health care professionals, and the public                    reviewers annually to assess the scientific merit of
       highquality information and data necessary to make                        incoming grant applications in the first stage of peer
       informed decisions.                                                       review, which is followed by a second-level review for
                                                                                 mission relevance by members of national advisory
       Organization                                                              councils for ICs and the OD.° Final funding decisions
                                                                                 are made by IC Directors, taking into consideration
       NIH is made up of 27 Institutes and Centers (ICs),
                                                                                 their IC’s research program priorities in the context of
       and the NIH Office of the Director (OD).2 Each IC has
                                                                                 the existing funding portfolio.
       its own mission and research priorities focused on
       specific diseases, body systems, life stages, or fields                   A variety of funding mechanisms —including grants,
       of science. The NIH OD sets policy and provides                           cooperative agreements, research contracts, prize
       guidance, in addition to serving as a resource for                        competitions, and other less frequently used


       *For the purposes of this Strategic Plan, the term biomedical is used broadly to include biological, behavioral, and social scientific
        perspectives.


                                                                                       NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                                  APHA App. 244
Case: 25-1611      Document: 00118310432                   Page: 248          Date Filed: 07/08/2025               Entry ID: 6734280

              Case 1:25-cv-10787-BEM                Document 38-22           Filed 04/25/25        Page 19 of 82


          mechanisms—are used to support NIH’s broad scien-            Research Program include an estimated 1,200
          tific portfolio,7 allowing maximum flexibility to fund the   principal investigators, 1,800 staff clinicians and
          rapidly advancing needs of the biomedical research           staff scientists, and 5,000 trainees. Many important
          community. These mechanisms are used to support              medical breakthroughs take place in the intramural
          a wide range of efforts—from individual research             research laboratories.
          projects, to international consortia and networks, to
          training opportunities—each of which may be tailored         Pioneering Clinical Research at the NIH
          to meet specific goals. For example, to create innova-       Clinical Center
          tive technologies that advance its mission and move          The NIH Intramural Research Program includes the
          them toward uptake in the market, NIH supports               NIH Clinical Center,9 the world’s largest hospital
          the Small Business Innovation Research and Small             devoted exclusively to clinical research. The NIH
          Business Technology Transfer programs.                       Clinical Center is designed to rapidly transition
                                                                       scientific observations and laboratory discoveries
          Research in Action in the NIH Intramural
                                                                       into clinical studies and bedside cures by bringing
          Research Program                                             together talented investigators and specialized
          The NIH Intramural Research Program conducts                 infrastructure, including unique patient cohorts, state-
          NIH’s in-house research and is the largest institution       of-the-art equipment, and specialized services. Since
          committed to biomedical and behavioral research,             its opening in 1953, more than half a million patients
          research training, and career development in the             have been active partners with NIH in medical
          world.8 The mission of the Intramural Research               discovery. This partnership has resulted in a long list
          Program is to conduct distinctive, high-impact               of medical milestones, including the development of
          laboratory, clinical, and population-based research;         chemotherapy for cancer; the development of some
          facilitate new approaches to improve health through          of the earliest artificial heart valves; the demonstration
          prevention, diagnosis, and treatment; respond to             that lithium treats depression; and the first treatment
          public health emergencies; and train the next genera-        of HIV/AIDS with azidothymidine.10
          tion of biomedical researchers. The program supports
                                                                       About 1,600 clinical research studies are in progress
          approximately 8,000 basic, translational, and clinical
                                                                       at the NIH Clinical Center. Approximately half are
          researchers at NIH research facilities located across
                                                                       studies of the natural history of disease, while most
          the U.S., including the main NIH campus in Bethesda,
                                                                       of the other studies are clinical trials, often the
          Maryland; Research Triangle Park in North Carolina;
                                                                       first tests of new drugs and therapies in people.
          Johns Hopkins Bayview Medical Center in Baltimore,
                                                                       Participants come from all 50 U.S. states and around
          Maryland; Frederick National Laboratory for Cancer
                                                                       the world. With its unique ability to assemble cohorts
          Research in Frederick, Maryland; Rocky Mountain
                                                                       of participants with rare diseases, the NIH Clinical
          Laboratories in Hamilton, Montana; the Perinatology
                                                                       Center plays an important role in fostering new
          Research Branch in Detroit, Michigan; and the
                                                                       multidisciplinary collaborations that study and find
          Phoenix Epidemiology and Clinical Research Branch
                                                                       treatments for rare diseases, often revealing insights
          in Phoenix, Arizona. Scientists in the Intramural
                                                                       into common diseases, as well.




      2     NIH-Wide Strategic Plan for Fiscal Years 2021–2025



                                                                                                           APHA App. 245
Case: 25-1611        Document: 00118310432                       Page: 249              Date Filed: 07/08/2025                     Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                   Document 38-22
                                                           Document 38-22               Filed 04/25/25
                                                                                        Filed 04/25/25                   Page 20
                                                                                                                         Page 20 of
                                                                                                                                 of 82
                                                                                                                                    82




   Q NiH’s Strategy
       To carry out its mission and optimize return on public investment, NIH has designed a strategic Framework
       that includes three key Objectives that align with the agency’s goals. These three Objectives outline NIH’s
       priorities in (1) biomedical and behavioral research areas, (2) research capacity, and (3) research conduct.
       Across all of these priorities, NIH emphasizes several Crosscutting Themes—approaches that are common
       to all Objectives of the Strategic Plan—including improving minority health and reducing health disparities;
       enhancing women’s health; addressing public health challenges across the lifespan; promoting collaborative
       science; and leveraging data science for biomedical discovery. Examples of these important crosscutting
       topics are located throughout the three Objectives.




       OBJECTIVE                                      Advancing Biomedical and Behavioral Sciences


       The NIH portfolio is designed with the breadth and               diagnostics, treatments, and cures across the entire
       flexibility to address current public health needs,              spectrum of health, diseases, and conditions, includ-
       emerging areas of scientific opportunity, and public             ing those that are emerging, rare, or have yet to be
       health emergencies, such as the coronavirus disease              discovered.
       2019 (COVID-19) pandemic (Figure 2). Over the next
                                                                        Foundational science includes basic biological,
       5 years, NIH will drive cutting-edge biomedical and
                                                                        behavioral, and social research that generates the
       behavioral sciences forward on three interrelated
                                                                        knowledge of how living systems work at the molecu-
       fronts—foundational science, disease prevention and
                                                                        lar, cellular, organismal, behavioral, and social levels."
       health promotion, and treatments, interventions, and
                                                                        Basic research can be experimental or observational
       cures.
                                                                        and may involve manipulating molecules in test
                                                                        tubes and cells in culture dishes, studying animal
       Driving Foundational Science                                     models of disease (Figure 3), or conducting studies
       NIH supports a broad range of foundational scientific            to understand human health and disease processes.
       research to provide the building blocks for future               Basic research also includes epidemiological studies



         Figure 2. COVID-19 Research
         Coronavirus disease 2019 (COVID-19) is an emergent
         human disease caused by a naturally arising novel corona-
         virus, the severe acute respiratory syndrome coronavirus 2
         (SARS-CoV-2). This scanning electron microscope image
         shows SARS-CoV-2 (round gold objects) emerging from
         the surface of cells cultured in the laboratory. NIH sup-
         ports research to understand SARS-CoV-2 and mitigate
         the threat of COVID-19 for the health of all people by
         building on existing and accelerating the development of
         new research initiatives focused on five research priorities
         detailed in the NIH-Wide Strategic Plan for COVID-19
         Research. NIH is improving basic understanding of
         SARS-CoV-2 and COVID-19 and developing the necessary
         tools and approaches to better diagnose, prevent, and
         treat this devastating disease. Pandemics recur, and NIH
         is also considering how to enhance preparedness for the        Credit: Rocky Mountain Laboratory, NIAID, NIH.
         next one.




                                                                               NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                             APHA App. 246
Case: 25-1611       Document: 00118310432                             Page: 250       Date Filed: 07/08/2025              Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM                        Document 38-22
                                                               Document 38-22         Filed 04/25/25
                                                                                      Filed 04/25/25        Page 21
                                                                                                            Page 21 of
                                                                                                                    of 82
                                                                                                                       82


           to examine disease burden, distribution, and potential               viral infection, to develop a molecular tool for editing
           risk and protective factors in specific populations, as              genes with exquisite precision. This technology
           well as natural history studies that follow individuals              has revolutionized the ability to study genes and
           over time to observe early stages and progression                    holds great promise for treating numerous genetic
           of a disease. NIH-supported research serves as the                   disorders. By investing in foundational science, NIH is
           world’s leading source of foundational knowledge of                  laying the groundwork for important future advances
           relevance to both the public and private sectors of                  that will improve the nation’s health.
           biomedicine.'?
                                                                                Building Data Resources to Enable
                                                                                Research Progress
           Figure 3. Animal Research Models
                                                                                NIH supports the creation of foundational data
           Both people and animals have unique and important
           roles as research subjects. Many medical advances that               resources that enable basic research and improve
           enhance the lives of both humans and animals originate               understanding of the biological and environmental
           from animal studies. NIH supports research using a wide              factors that contribute to human health and disease.
           variety of animal models, from the familiar fruit flies,
           rodents, and nonhuman primates to more unexpected
                                                                                NIH achieves this effort by funding investigators who
           animal models, such as fish, frogs, and yeast. The                   are studying and cataloging molecules that are the
           types of animals used in research are chosen for their               basic building blocks of life—such as DNA, RNA, and
           similarity to humans in anatomy, physiology, or genetics.            proteins—as well as researchers who are establishing
           For example, zebrafish (pictured) are frequently used in
           research because of their small size, rapid breeding, and            and collecting data from large cohorts of research
           transparent bodies. Approximately 70 percent of human                participants. The resulting datasets have the potential
           genes are also found in the zebrafish, and zebrafish and             to catalyze whole fields of research, as well as lead
           humans share many critical developmental pathways. Not
                                                                                to the development of new diagnostic tools and
           only can we learn how to prevent, treat, and cure human
           diseases by studying animals, but often the treatments               therapies.
           developed can also be used to improve the health of
           animals. In addition, NIH is acting to reduce the number
                                                                                The 21st century opened with a crowning achieve-
           of animals needed for research by using other approach-              ment of basic science, sequencing the human
           es, such as tissue chips.                                            genome—the complete collection of genetic informa-
                                                                                tion within an individual. This achievement became
                                                                                the foundation for the branch of science that studies
                                                                                genomes across individuals to find patterns in health
                                                                                and disease and to uncover mechanisms to under-
                                                                                stand how genes interact with one another and with a
                                                                                person’s environment. The immense amount of data
                                                                                produced by genomic studies is helping researchers
           Credit: Grimes DT, Boswell CW, Morante NF, Henkelman RM. Used with
           the permission of Rebecca D. Burdine, Ph.D.
                                                                                understand how the complex interactions among
                                                                                different regions of the genome influence human
                                                                                development, aging, and health. One major genomic
           Much of the research process is carefully planned                    data resource is the ENCyclopedia of DNA Elements
           and conducted, but serendipitous discoveries can                     (ENCODE), which is aimed at identifying the function
           also drive progress. Because science explores the                    of all parts of the human and mouse genomes and
           unknown, it is not always possible to predict where                  has already been cited by thousands of research
           research will lead. This concept is especially true for              publications.** The Clinical Genome (ClinGen)
           basic research, which integrates biology, behavior,                  Resource catalogues the physical, clinical, and
           environment, medicine, physics, chemistry, engineer-                 genetic characteristics of individuals to better under-
           ing, and data science to pioneer novel technologies                  stand how small changes, or variants, in a person’s
           capable of exploring the individual components of                    genome are related to their health.'* NIH will continue
           life. Investments in basic science result in unexpected              to support the expansion of these databases and
           breakthroughs and new fields of inquiry that could not               improvement of the tools researchers use to generate
           have been envisioned when the original experiments                   and analyze genomic data through the development
           were designed. For example, scientists leveraged                     of new DNA-sequencing technologies and computa-
           the discovery of the CRISPR system, a component                      tional methods. NIH will also support new efforts to
           of the bacterial immune system that responds to                      ensure the inclusion of genomes of individuals from


              NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                  APHA App. 247
Case: 25-1611         Document: 00118310432                         Page: 251             Date Filed: 07/08/2025                          Entry ID: 6734280

                   Case 1:25-cv-10787-BEM
                   Case 1:25-cv-10787-BEM                    Document 38-22
                                                             Document 38-22                Filed 04/25/25
                                                                                           Filed 04/25/25               Page 22
                                                                                                                        Page 22 of
                                                                                                                                of 82
                                                                                                                                   82




                                                                                                                                                               Uf “yy
                                                                                                                                                        MiBe) Ny,
       groups that have been historically underrepresented                 affect brain development and a variety of health-
       in genomics research.*>                                             related outcomes. Data collection is ongoing, and
                                                                           researchers from within and outside the ABCD study
       Harnessing the power of DNA-sequencing tech-
                                                                           are using the data generated to conduct research on
       nologies, NIH-funded scientists have also created
                                                                           such topics as the link between screen time and brain
       fundamental datasets important to microbiome
                                                                           structure,” effects of prenatal exposure to cannabis
       research, or the study of the microbes— including
                                                                           use,”* and the relationship between sleep and brain
       bacteria, viruses, and fungi—that live on and in the
                                                                           structure and function.”
       human body. The average healthy adult is host to
       trillions of microbes that live in the gut, in the mouth,
       or on the skin, for example. The composition of the                   Figure 4. Human Microbiome Project
       microbiome influences human health and response to                    The Human Microbiome Project, which was launched by
       treatment, contributes to early development, affects                  NIH in 2007, provided the first glimpse of the microbial
       the immune system, and plays a role in metabolism.                    diversity of healthy humans and is exploring the possible
                                                                             relationships between particular human diseases and the
       The NIH Common Fund’s’ Human Microbiome                               microbiome.
       Project (HMP), conducted from 2007 to 2016, was
       the first large-scale effort to map and identify the
       thousands of species of microbes in the human
       microbiome (Figure 4).'° HMP generated a compre-
       hensive profile of the microbiome from multiple body
       sites from more than 300 healthy people and created
       computational tools and resources to enable more
       research. HMP also collected microbiome and human
       data from three longterm cohort studies centered on
       pregnancy and preterm birth, inflammatory bowel
       disease, and type 2 diabetes.

       Ongoing studies supported by NIH are investigating
       how the microbiome of pregnant women may affect
       the risk of preterm birth;’” exploring the possibility of
       using complementary foods—foods given in addition
       to those regularly consumed in the diet—to boost the                                                        dt   ea ae   eeeA!
       gut microbiome and treat childhood malnutrition;'®                    Credits: Composite image, Jonathan Bailey, NHGRI, NIH. Individual
       understanding how beneficial microbes in the mouth                    images (Clockwise from top left), Streptococcus, Tom Schmidt; microbial
                                                                             biofilm of mixed species, from human boay, A. Earl, Broad Institute/
       protect against periodontal disease or other oral                     Massachusetts Institute of Technology; Bacillus, Tom Schmidt; Malassezia
                                                                             lopophilis, J.H. Carr, CDC.
       infections;"® and uncovering how the microbiome
       influences cancer development and response to
       therapy.2° One particularly promising area of research
                                                                           Many NIH-funded projects span multiple areas of
       is exploring the role of the microbiome in the onset
                                                                           research and include both basic and applied science.
       of chronic conditions involving immune system
                                                                           The ambitious Brain Research through Advancing
       dysfunction, such as cardiovascular disease and
                                                                           Innovative Neurotechnologies® (BRAIN) Initiative aims
       inflammatory diseases of the gut.?!
                                                                           to answer fundamental questions about how brain
       Studies that generate large datasets from diverse                   circuits work; how they become impaired in neuro-
       participants provide vital fundamental research                     logical, psychiatric, and substance use disorders;
       resources. The Adolescent Brain Cognitive                           and how to improve the function of these circuits to
       Development (ABCD)” study is the largest long-term                  treat brain disorders (Figure 5).2° Components of the
       study of brain development and child health in the                  BRAIN Initiative® include studies to record, image,
       U.S. This study has recruited more than 11,000                      and manipulate brain circuits with the aim of develop-
       children 9 to 10 years of age, who will be followed                 ing treatments for brain disorders; development
       into adulthood to explore how childhood experiences                 and dissemination of informatics tools to allow

       > For more information on the NIH Common   Fund, see Appendix IV.



                                                                                NIH-Wide Strategic Plan for Fiscal Years 2021-2025                      D

                                                                                                                                APHA App. 248
Case: 25-1611         Document: 00118310432                               Page: 252        Date Filed: 07/08/2025                Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                               Document 38-22
                                                                       Document 38-22      Filed 04/25/25
                                                                                           Filed 04/25/25         Page 23
                                                                                                                  Page 23 of
                                                                                                                          of 82
                                                                                                                             82


            widespread sharing and interpretation of research                        has transformed science, allowing researchers to
            data; and efforts to discover and catalogue the                          “see” individual molecules interacting, measure brain
            multitude of types of brain cells.                                       function, study internal tissues, visualize cell function-
                                                                                     ing in 3-D in real time, and locate specific molecules
            The complexity of the nearly 170 billion cells in a
                                                                                     in the body using chemical tags.
            human brain presents a formidable challenge to
            understanding how different cell types work in brain                     Certain NIH programs are initiated specifically to spur
            circuits, their role in disease, and how they might                      the development of new tools and technologies for
            be targeted directly by new therapies. Advances in                       research use. The NIH Common Fund’s Single Cell
            engineering and highthroughput methods to classify                       Analysis Program (SCAP) focused on developing
            individual cell types have enabled new opportunities                     tools to explore the behavior of single cells, including
            to tackle this challenge. The BRAIN Initiative® Cell                     new ways to track cells in living multicellular organ-
            Census Network is developing a comprehensive                             isms, new imaging techniques and technologies, and
            mouse brain cell atlas and applying cell type identi-                    sequencing of the genome and transcriptome—the
            fication methods to studies of human brain tissue.?”                     collection of all gene readouts present in a cell.?8
                                                                                     Resources developed through SCAP have paved the
                                                                                     way for research that may lead to breakthroughs in
            Figure 5. BRAIN® Initiative
                                                                                     understanding the human body at the level of individ-
            First-place photo winner from the Brain Research through
                                                                                     ual cells, rather than groups or populations of cells.
            Advancing Innovative Neurotechnologies® (BRAIN)
            Initiative’s 2019 “Show Us Your Brains” photo and video                  Such resources include the NIH Common Fund’s
            contest for BRAIN investigators. “Light Me Up!” is a light-              Human BioMolecular Atlas Program (HUBMAP), a col-
            based rendering of deep brain stimulation’s electrical                   laborative effort to develop a global open platform to
            excitation of neuronal fiber pathways to treat patients
                                                                                     map the approximately 37 trillion cells in the human
            who have traumatic brain injury.
                                                                                     body to understand how the relationships between
                                                                                     cells can affect a person’s health.?°
                                                                                     New technologies are yielding data in quantities
                                                                                     and at a level of complexity that requires increased
                                                                                     capacity for storage, management, and analysis.
                                                                                     Artificial Intelligence (Al) is being used on big datasets
                                                                                     to augment human ability to detect patterns and
                                                                                     predict outcomes, thus offering significant promise to
                                                                                     advance research. NIH will build a large and diverse
                                                                                     set of programs to foster machine learning (a subset
                                                                                     of Al), support the generation and management of
                                                                                     large-scale datasets, convene multidisciplinary teams
            Credit: Andrew Janson, Graduate Student Research Assistant, Scientific   of researchers, and develop a set of ethical principles
            Computing and Imaging Institute, The University of Utah.                 for NIH-funded researchers to follow when using Al
                                                                                     (Figure 6).°° Advances in data science facilitate data
                                                                                     processing and sharing, but concomitantly raise
            Scientists have begun to use these methods to deter-
                                                                                     concerns regarding privacy, security, ethics, and
            mine precisely which human brain cells are affected in
                                                                                     bias. NIH is proactively engaging data and computer
            a range of conditions, including Alzheimer’s disease
                                                                                     scientists, engineers, clinicians, research participants,
            and related dementias, autism spectrum disorder, and
                                                                                     ethicists, and the public in its plans to address future
            Zika virus infection.
                                                                                     challenges and opportunities.
            Inventing Tools and Technologies to                                      Studies are beginning to demonstrate the potential Al
            Catalyze Discovery                                                       has for revolutionizing medical practice. For example,
            Fundamental research includes the creation of
                                                                                     NIH researchers developed a novel data-driven
                                                                                     approach for automated diagnosis and prognosis of
            advanced biomedical research tools and technologies
                                                                                     Age-related Macular Degeneration (AMD), highlighting
            for scientists to answer questions about biology and
                                                                                     the potential of these systems to assist early disease
            human health. For example, imaging technology
                                                                                     detection and enhance clinical decision-making


        6      NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                        APHA App. 249
Case: 25-1611        Document: 00118310432                           Page: 253          Date Filed: 07/08/2025              Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                    Document 38-22
                                                            Document 38-22              Filed 04/25/25
                                                                                        Filed 04/25/25      Page 24
                                                                                                            Page 24 of
                                                                                                                    of 82
                                                                                                                       82




                                                                                                                                     t/a
                                                                                                                                    My
         Figure 6. ELSI Research at NIH                                  to identify the changes that occur within and between
         The term ELSI refers to the consideration of Ethical,           populations. This knowledge can be used to increase
         Legal, and Social Implications of research, particularly        understanding of minority health and decrease health
         in emerging biomedical fields; ELSI has its roots in the
                                                                         disparities.
         genomics community, but has expanded to include
         other areas of NIH research. ELSI complements scien-            Social and behavioral research is crucial to under-
         tific research by identifying, analyzing, and addressing
                                                                         standing the health and developmental effects of
         the ethical, legal, and social implications of research
         as it is being conducted. NIH supports ELSI research            using digital technology and electronic media that
         to facilitate the responsible integration of science into       have become integral parts of daily life. Findings from
         society. Today ELSI initiatives are underway across NIH         the ABCD study and the NIH Intramural Research
         in several areas of biomedical and behavioral research,
         such as neuroscience, epidemiology, environmental               Program have demonstrated that a significant pro-
         health, new and emerging technology development                 portion of children across a wide age range exceed
         and use, precision and personalized medicine, clin-             the daily limits on screen time recommended by the
         ical research and care, and special and vulnerable
                                                                         American Academy of Pediatrics. In light of the
         population research. Key to NIH’s approach to ELSI is
         collaboration with its multiple stakeholders.                   COVID-19 pandemic, screen time has dramatically
                                                                         increased for children of all ages, the effects of which
                                                                         will need to be investigated. To assess how technol-
       processes.*'*? The U.S. Food and Drug Administration              ogy and media use affect early childhood health and
       (FDA) also approved the first automated medical                   development—as well as the nature of social inter-
       device to use Al to detect diabetic retinopathy.** NIH            actions among families, peers, and society—NIH will
       will continue to explore and expand further uses of Al.           support an initiative to study the impact of technology
                                                                         and media exposure on early childhood development
       Understanding Biological, Behavioral, and                         and health outcomes. This effort will support coor-
       Social Determinants of Population Health                          dinated research projects using existing and newly
       Building the foundation for science includes con-                 collected data, as well as determining measures for
       structing an overall picture of how physiological,                exposure, usage, development, and health outcomes,
       behavioral, and social factors alone and in combi-                including neuroimaging, language development,
       nation may determine human health. Conditions in                  physical activity, and hormone levels.
       which an individual is born, lives, learns, works, and            Integrating different types of research to address
       ages combined with the behaviors that they engage                 health needs for specific populations can improve
       in can affect a wide range of health outcomes.“                   the health of these populations and also provide
       Understanding how these factors interact with an                  insights into common conditions. For example, Down
       individual’s biological make-up is a vital area of                syndrome is the most common genetic disease of
       research. The epigenome consists of chemical com-                 mild to moderate intellectual disability, occurring in
       pounds and proteins that can attach to DNA and turn               1 out of every 700 babies born in the U.S. In 2018,
       genes on and off. These changes in gene expression                NIH launched the INvestigation of Co-occurring
       can occur in response to social experiences (both                 conditions across the Lifespan to Understand Down
       positive and negative) and environmental exposures                syndromE (INCLUDE) project, which studies con-
       and may be passed from one generation to the                      ditions that affect the general population and often
       next. NIH supports research on social epigenomics,                co-occur (i.e., are comorbid) with Down syndrome,
       the study of how social experiences throughout a                  such as Alzheimer’s disease and related dementias,
       person’s lifetime can affect biology and health status            autism, cataracts, celiac disease, cardiovascular
       through changes to the epigenome. Similarly, NIH                  disease, and diabetes (Figure 7). The program
       supports research on environmental epigenomics,                   focuses on targeted, high-risk/high-reward basic
       which looks at how an individual’s exposure to                    science studies on the causes of Down syndrome
       factors in the physical environment—such as air,                  comorbidities, cohort studies of individuals with
       water, and soil—may also impact gene expression.                  Down syndrome, and inclusion of individuals with
       Studies designed to elucidate how social experiences              Down syndrome in new and existing clinical trials.
       and environmental exposures—such as those experi-
       enced through structural racism and lower economic                Understanding the fundamental processes underlying
       status—affect the individual epigenome among racial               human health is a key step in determining how to
       and ethnic groups can provide a unique opportunity                promote and restore health and identify, prevent,

                                                                                                                                    7
                                                                               NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                   APHA App. 250
Case: 25-1611      Document: 00118310432                       Page: 254              Date Filed: 07/08/2025               Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM                 Document 38-22
                                                        Document 38-22                Filed 04/25/25
                                                                                      Filed 04/25/25        Page 25
                                                                                                            Page 25 of
                                                                                                                    of 82
                                                                                                                       82


            and treat disease. Over                                                                            enhance the immune
                                             Figure 7. INCLUDE Project
            the next 5 years, NIH                                                                              response) affect the
            will continue to invest in       The INCLUDE (INvestigation of Co-occurring conditions             potency, durability, and
                                             across the Lifespan to Understand Down syndromE)
            fundamental research             project is an NIH-wide research initiative involving 18           other aspects of vac-
            projects that provide            Institutes and Centers that aims to understand critical           cine-induced
            new insights into basic          health and quality-of-life needs for individuals with             immunity.°”
            biological, behavioral,          Down syndrome. Down syndrome is the most common
                                             genetic cause of mild to moderate intellectual disability         An important remaining
            and social processes             and occurs in one out of every 700 babies born in                 need is the rapid
            across the spectrum—             the U.S.
                                                                                                               development of new
            from molecules to cells to
                                                                                                               vaccines to mitigate
            humans to communities.
                                                                                                               emerging infectious
            These investments will
                                                                                                               disease outbreaks, such
            undoubtedly lay the
                                                                                                               as COVID-19, Ebola
            groundwork for unimag-
                                                                                                               virus disease (EVD), and
            inable breakthroughs
                                                                                                               influenza (flu). NIH, in
            that will lead NIH one
                                                                                                               collaboration with its
            step closer to improving
                                                                                                               industry partner, devel-
            human health.
                                                                                                               oped an experimental
                                                                                                               vaccine for COVID-19
            Preventing                                                                                         in just weeks using
            Disease and                      Credit: The INCLUDE Project, NIH.
                                                                                                               the genetic sequence
                                                                                                               of SARS-CoV-2 (i.e.,
            Promoting                                                                                          the virus that causes
            Health                                                               COVID-19).** As of late 2020, the vaccine co-devel-
                                                                                 oped by scientists at NIH and Moderna was granted
            Disease prevention and health promotion are core
                                                                                 an Emergency Use Authorization by the FDA, after
            components of NIH’s research mission to improve
                                                                                 rigorously testing its safety and ability to protect
            the health of all Americans. NIH research strengthens
            the evidence base on which national public health                    against infection. Other vaccines are still being
                                                                                 tested.*° Recent outbreaks of the Ebola virus spurred
            objectives and related disease prevention and health
                                                                                 the development of multiple vaccine candidates
            promotion strategies are built. Prevention research
                                                                                 for EVD, including the rVSV-ZEBOV vaccine, which
            targets biological, social, and environmental factors,
                                                                                 through significant federal government support was
            individual behaviors, and health services and informs
            health-related guidelines, policies, and regulations.                brought to market by the private sector, licensed
                                                                                 in 2019, and is now widely available.*° Preliminary
            NIH supports a broad portfolio of research that
                                                                                 data from an outbreak in the Democratic Republic
            examines the best way to bring effective disease
                                                                                 of the Congo (DRC) has shown that this vaccine is
            prevention and health promotion strategies into
                                                                                 highly effective in preventing disease and death.* In
            communities.
                                                                                 the U.S., seasonal influenza causes 12,000-61,000
            Developing New and Improved Vaccines                                 deaths annually, and emerging influenza strains
                                                                                 pose a pandemic risk. A key focus of the NIH
            Vaccines provide a safe, cost-effective, and efficient
                                                                                 influenza research program is developing a universal
            means of preventing illness, disability, and death from
                                                                                 vaccine* that provides robust, long-lasting protection
            infectious diseases. NIH supports a comprehensive
                                                                                 against multiple subtypes of influenza (Figure 8),
            spectrum of immunology and infectious disease                        eliminating the need for a seasonal flu vaccine each
            research focused on developing improved or novel
                                                                                 year and providing protection against newly emerging
            vaccines. This includes study of pathogen-host
                                                                                 strains with pandemic potential. Several flu vaccine
            interactions and technological advancements in
                                                                                 clinical trials are being conducted, including an NIH-
            vaccine development that have led to innovative and
                                                                                 sponsored trial of a universal vaccine candidate that
            exciting vaccine research strategies. For example,
                                                                                 uses a nanoparticle technology to display portions of
            NIH-supported researchers are working to identify                    the influenza virus that are the same or very similar
            new platforms to deliver vaccine components and
                                                                                 among different influenza strains.”
            explore how adjuvants (i.e., vaccine components that

        8     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                  APHA App. 251
Case: 25-1611                Document: 00118310432              Page: 255       Date Filed: 07/08/2025               Entry ID: 6734280

                       Case 1:25-cv-10787-BEM
                       Case 1:25-cv-10787-BEM            Document 38-22
                                                         Document 38-22         Filed 04/25/25
                                                                                Filed 04/25/25        Page 26
                                                                                                      Page 26 of
                                                                                                              of 82
                                                                                                                 82


                                                                    One example of NIH’s investments in risk identifi-
       Figure 8. Universal Flu Vaccine
                                                                    cation is in suicide prevention (Figure 9). Suicide
       A healthy volunteer receives an experimental universal       remains one of the top 10 leading causes of death
       influenza vaccine known as H1ssF_3928 as part of
       a Phase 1 clinical trial at the NIH Clinical Center in       in the U.S., claiming the lives of more than 48,000
       Bethesda, Maryland. Scientists at the Vaccine Research       people each year.* Although it impacts all ages
       Center developed the vaccine.                                and in all parts of the country, some specific groups
                                                                    are disproportionately affected, such as sexual
                                                                    and gender minority (SGM) populations (especially
                                                                    transgender and gender non-conforming youth)
                                                                    and American Indian or Alaska Native populations
                                                                    (who have the highest suicide rates of any racial or
                                                                    ethnic group in the U.S.*°). NIH-supported suicide
                                                                    prevention research illustrates how improvements in
                                                                    care can save lives. Universal screening for suicide
                                                                    risk in emergency departments has been shown
                                                                    to be effective and feasible.*” Building on these
                                                                    findings, NIH-supported researchers are testing brief
                                                                    interventions and follow-up care to prevent recurring
       Credit: NIAID, NIH.                                          self-harm and related comorbidities, such as sub-
                                                                    stance use disorder.
       In addition to furthering the development of vaccines        NIH-supported studies have demonstrated how long-
       against specific pathogens, NIH supports the devel-          term, multigenerational studies of chronic diseases
       opment of technologies that enable scientists to             can give rise to innovative prevention and intervention
       apply a standardized manufacturing process to devel-         strategies. For example, the Framingham Heart
       op candidate vaccines against various pathogens and          Study,* launched in 1948, continues to inform tobac-
       create a collective database with information on their       co cessation, nutrition, physical activity, and blood
       safety. This streamlined approach can shorten the            pressure control strategies that are used all over the
       preclinical development period from years to months          world to reduce the risk of chronic disease. High
       and is important for rapid response to emerging              blood pressure, or hypertension, is common over
       infectious disease threats.                                  the age of 50 years and is a leading risk factor for
                                                                    cardiovascular diseases like heart disease and stroke.
      Addressing Risk and Burden of Disease
                                                                    It may also increase the risk of dementia later in life.
       NIH is committed to supporting research to reduce            Data from several NIH-funded observational studies
       the impact of disease by identifying and improving           suggested that cardiovascular disease risk increases
       understanding of risk factors (e.g., inadequate              when systolic blood pressure rises beyond a certain
       nutrition, low physical activity, built environment,         level. NIH’s Systolic Blood Pressure Intervention Trial
       tobacco use, alcohol or drug misuse) and protective          (SPRINT)* assessed whether aggressively lowering
       factors (e.g., weight management, regular exercise,          blood pressure can prevent these conditions. SPRINT
       daily tooth brushing and flossing) alone and in              found that maintaining systolic blood pressure at less
       combination with genetic factors. An important goal          than 120 mm Hg reduced the combined risk of heart
       of prevention is to alter the balance between risk and       attack, heart failure, and stroke by 25 percent and
       protective factors so that protective factors outweigh       reduced the risk of death by 27 percent compared
       risk factors. Screening, health promotion, counsel-          to the standard blood pressure target at the time
       ing, behavioral change, stress management, and               (140 mm Hg).*° These findings helped change the
       preventive medications are all potential strategies for      national guidelines for treating hypertension, which
       reducing individual risk. NIH investments have helped        now use 120 mm Hg as the standard blood pressure
       lead to advances in screening for cardiovascular             target.*' If successfully adopted into clinical practice
       disease, lung cancer, abnormal blood glucose, type 2         across the U.S., these guidelines are expected to
       diabetes, oral cancer, and intimate partner violence,        prevent about 107,500 deaths per year among people
       as well as interventions to address obesity and              at high risk for fatal cardiovascular disease.
       tobacco use in children and adolescents.


                                                                         NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                            APHA App. 252
Case: 25-1611          Document: 00118310432                      Page: 256            Date Filed: 07/08/2025                          Entry ID: 6734280

                    Case 1:25-cv-10787-BEM
                    Case 1:25-cv-10787-BEM                  Document 38-22
                                                            Document 38-22             Filed 04/25/25
                                                                                       Filed 04/25/25                Page 27
                                                                                                                     Page 27 of
                                                                                                                             of 82
                                                                                                                                82
     RAN
           aN
           Y




                     Figure 9. Suicide Prevention
                     “Five action steps for helping someone in emotional pain”: Infographic.


                                     S Action Steps for Helping
                                     \D/Someone |in Emotional Pain


                                          | KEEP THEM |                                    HELP THEM
                                               SAFE                                         CONNECT
                      “pre you thinking | Reduce access to          Listen carefully       Save the National
                                     Ui       rie                 and acknowledge       (BS Uréfela ac 7-ian ated)
                                                                     their feelings.         Lifeline number
                                                                                            1-800-273-8255.
                                          For more information on suicide prevention:                            <"
                                                                                                                 wa   ea,
                                                                                                                    <=:
                                              www.nimh.nih.gov/suicideprevention
                     Credit: NIMH, NIH.




                Harnessing Technology to Inform                                 of stretchable microelectronics that uses ultrasound
                Decision-Making                                                 to measure blood pressure continuously, whether the
                                                                                wearer is resting or active. Such devices may help
                NIH supports the development of new or improved                 identify people at risk of stroke and heart disease by
                interventions and technologies along with repur-
                posing existing technologies to monitor and reduce
                disease risk, enhance protective factors, and restore               Figure 10. Nanorobots for Dental Health
                health (Figure 10). Coupled with advances in data                   NIH supported a collaboration among biomedical
                science that enhance analytical capacity and speed,                 researchers and engineers to build microscopic
                                                                                    nanorobots to target, destroy, and remove dental
                these technologies and tools will help aid decision-
                                                                                    plaque, a harmful community of bacteria that grow on
                making by patients and providers and improve                        teeth. The nanorobots, which contain an antibacterial
                disease prevention and health promotion strategies                  compound, are controlled using tiny magnets to
                at the individual, family, community, and population                perform micro-scale precision cleaning, including
                                                                                    hard-to-reach spaces. This technology could be used
                health levels.                                                      to prevent dental caries and periodontal disease, in
                                                                                    addition to cleaning other surfaces susceptible to
                Most information used to make decisions in current
                                                                                    biofilms, such as metal implants and catheters or
                medical practice is collected at a specific moment                  hospital equipment.
                in time and in a Clinical setting, such as taking blood
                pressure, providing a limited view of an individual’s
                health and disease risk. Heart rate and motion
                sensors in smart watches and other wearable devices
                are examples of consumer technologies that can
                provide continuous feedback to help people improve
                their health. These devices detect underlying signs
                of illness and response to interventions, including
                medications and lifestyle changes, faster than con-
                ventional methods that often require weeks or months
                to provide actionable feedback. NIH-supported                       Credit: Geelsu Hwang and Edward Steager, University of Pennsylvania.
                researchers have developed a wearable sensor made



       10         NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                            APHA App. 253
Case: 25-1611        Document: 00118310432                           Page: 257               Date Filed: 07/08/2025                Entry ID: 6734280

                    Case 1:25-cv-10787-BEM
                    Case 1:25-cv-10787-BEM                  Document 38-22
                                                            Document 38-22                   Filed 04/25/25
                                                                                             Filed 04/25/25        Page 28
                                                                                                                   Page 28 of
                                                                                                                           of 82
                                                                                                                              82


       providing patients and physicians with more frequent                 among Alaska Natives, and understanding determi-
       and accessible information on blood pressure, includ-                nants of motor vehicle injuries and deaths among the
       ing fluctuations that occur during the wide variety of               Northwest Tribes.®>
       acnibes that peopio engage mn every days                             Sex and gender also influence health and disease.
       Designing Research for Everyone                                      Sex refers to biological differences between females
                                                                            and males, including chromosomes, sex organs,
       NIH prioritizes research that addresses the needs of                 and endogenous hormonal profiles. Gender refers to
       underserved populations to address the factors that                  socially constructed and enacted roles and behaviors,
       contribute to health disparities. NIH-wide efforts will         = which occur in a historical and cultural context and
       continue to focus on developing and testing interven-                vary across societies and over time.** Considering
       tions to reduce health disparities, identifying key gaps _ the effects of sex and gender in study design, data
       in prevention science related to health disparities,                 collection and analysis, and dissemination of findings
       and promoting targeted research on appropriately                     will help to inform the development of prevention

       ventive services in diverse settings and contexts. For
       example, the NIH Al/ of Us Research Program*™ has                                     H                  7m
       been designed to reflect the diversity of the U.S., with             Developing             and    Optimizing
       a special focus on including participants from groups                Treatments,             Interventions,
       that have been underrepresented in health research                   and        Cures

       iEuune 14)                                                           Building on the solid foundation of fundamental dis-
       The Collaborative Minority Health and Health                         coveries in biology, health and disease, and behavior,
       Disparities Research with Tribal Epidemiology                        as well as innovations in data science and emerging
       Centers initiative supports research on topics related               technologies, NIH-supported scientists continue to
       to minority health and health disparities in American                develop new and improved treatments and cures,
       Indian or Alaska Native populations, with emphasis                   including for diseases that were considered intracta-
       on areas where there are significant gaps indataand             _ bie even a decade ago.
       knowledge. Current research projects include exam-
       ining the impact of the Navajo Nation Tax on Junk                    The path to a new treatment often begins not in the
       Food on health outcomes, identifying the incidence                   clinic or community but in the laboratory, where basic
       and prevalence of arthritis and autoimmune disease                   researchers refine our understanding of disease and
                                                                            identify aspects of disease causation or progression


         Figure 11. All of Us Research Program
         The NIH All of Us Research Program is a historic effort
         to collect and study data from 1 million or more people
         living in the U.S. The program’s goal is better health
         for all of us, and its aim is to gather data on genetics,
         lifestyle, and environmental exposures. The All of Us
         Research Program is unique because it is disease
         agnostic, meaning that it will not focus on one disease,
         risk factor, or group of people, instead enabling
         researchers to evaluate multiple risk factors that are
         associated with outcomes across different diseases.
         This unprecedented scientific resource will enable
         research on numerous diseases and conditions across
         populations and the lifespan, with a special focus on
         outreach to groups that have been underrepresented
         in health research, to reflect the diversity of the U.S.
         The All of Us Research Program has already begun to                yN | a 8
         make an early, non-finalized version of its Researcher             Resenngy uonat
         Workbench available, an important milestone toward
         creating a publicly accessible platform to increase           Credit: NIH.
         research on understudied areas, including wellness and
         resilience.




                                                                                      NIH-Wide Strategic Plan for Fiscal Years 2021-2025   | |



                                                                                                                          APHA App. 254
Case: 25-1611          Document: 00118310432                   Page: 258         Date Filed: 07/08/2025              Entry ID: 6734280

                    Case 1:25-cv-10787-BEM
                    Case 1:25-cv-10787-BEM                Document 38-22
                                                          Document 38-22          Filed 04/25/25
                                                                                  Filed 04/25/25      Page 29
                                                                                                      Page 29 of
                                                                                                              of 82
                                                                                                                 82
      ‘\


           er


                that could be targeted therapeutically. Investigators      Giving the Right Treatment to the Right
                use this information to design candidate treatment         Patient at the Right Time
                approaches using cell or tissue samples, animal
                models, or computer simulations. If the candidate          Advances in molecular medicine have allowed health
                approaches appear to be safe and effective in this         professionals to move toward a precision medicine
                preclinical setting, they are moved into human trials,     approach for targeted treatment and prevention that
                                                                           considers an individual’s genes, environment, and
                where they are tested for safety and efficacy. Finally,
                new and improved methods to promote the adoption           lifestyle. In contrast to a one-size-fits-all approach,
                of effective and proven interventions are identified       in which disease treatment and prevention strategies
                and refined through implementation research. This          are developed for the average person, precision
                process is rarely straightforward. In fact, sometimes      medicine will allow doctors and researchers to predict
                the process even circles back on itself in a “virtuous     more accurately which treatment and prevention
                cycle,” with applied research informing new ideas in       strategies will work best in an individual. Unlike
                basic research.                                            research studies that focus on one disease, risk
                                                                           factor, or group of people, the Al/ of Us Research
                To illustrate, NIH-supported basic science was a           Program is building an unprecedented scientific
                springboard for the development of a ground-breaking       resource that will enable research on numerous
                new cystic fibrosis treatment. Cystic fibrosis is an       diseases and conditions across populations and the
                inherited disorder that causes mucus to accumulate         lifespan.
                in the airways and digestive tract. The identification
                of the CFTR gene, which is mutated in affected             Patients with certain types of cancer are already
                individuals, along with additional discoveries over        benefiting from precision medicine approaches. For
                several decades, has enabled a variety of progressively    example, an NIH-supported clinical trial showed that
                more effective drug therapies for the disease. Recent      a molecular test for the expression of 21 genes asso-
                                                                           ciated with breast cancer recurrence could determine
                NIH-supported clinical trials demonstrated that a
                novel triple-drug therapy could compensate for the         whether patients with the most common type of
                effects of a CFTR mutation that occurs in 90 percent       breast cancer would benefit from chemotherapy in
                of affected individuals.*” Now, instead of being a fatal   addition to surgery.**®° The researchers found that
                disease, there is promise that cystic fibrosis in many     most of these women can safely avoid chemotherapy
                individuals could soon be a chronic condition that can     and its toxic side effects.
                be managed over a long lifetime.                           The promise of precision medicine is exemplified by
                                                                           the development, built on decades of research, of
                NIH supports randomized controlled clinical
                trials—studies conducted under “ideal” research            new therapies that harness patients’ own immune
                conditions in which participants are randomly placed       systems to attack their cancer. Among them are
                into one of two or more groups that receive different      chimeric antigen receptor (CAR) T-cell therapies
                interventions or a placebo (i.e., a treatment with         that are made by genetically engineering a patient’s
                no therapeutic effect). Outcomes from each group           own immune cells so they will bind to specific
                are then analyzed and compared. Such studies               proteins on cancer cells and kill them. Approved
                are considered the gold standard by which clinical         by the FDA in 2017, these biologic products have
                researchers determine the safety and effectiveness         resulted in remarkable benefits to children and adults
                of interventions. NIH also supports pragmatic trials,      with certain types of leukemia and lymphoma.
                which are designed to evaluate interventions in            Unfortunately, some patients initially respond to these
                real-world settings and situations. To support and         treatments but then relapse, some patients’ cancers
                                                                           do not respond at all, and the treatments can cause
                facilitate pragmatic trials, NIH established a Health
                Care Systems Research Collaboratory under the              serious side effects. Scientists are working to under-
                NIH Common Fund to engage with health care                 stand the mechanisms underlying these challenges
                delivery organizations as key research partners. The       and to develop additional approaches for patients.
                Collaboratory disseminates best research practices,        Hundreds of clinical trials for new CAR T-cell thera-
                provides education and coordination, and supports          pies are ongoing, signaling the continued promise of
                pilot projects involving a variety of diseases and         this innovative new treatment for patients with cancer
                conditions in community settings.                          and HIV/AIDS.



           12     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                            APHA App. 255
Case: 25-1611        Document: 00118310432                                     Page: 259          Date Filed: 07/08/2025                Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                            Document 38-22
                                                                    Document 38-22                Filed 04/25/25
                                                                                                  Filed 04/25/25         Page 30
                                                                                                                         Page 30 of
                                                                                                                                 of 82
                                                                                                                                    82


       Another area of NIH-supported research on per-                                 converts brain signals into audible speech—a poten-
       sonalized approaches to medical treatment has                                  tially life-altering breakthrough for individuals who
       been to develop artificial pancreas technologies to                            are unable to speak due to a stroke, injury, or other
       automatically link individualized glucose monitoring                           neurological condition. Next, researchers will design
       and insulin delivery to improve the health and quality                         a Clinical trial involving paralyzed, speech-impaired
       of life of people with type 1 diabetes (Figure 12). In                         participants to determine how to best gather brain
       the 1.6 million Americans estimated to have type 1                             signal data, which can then be used to refine the
       diabetes, the immune                                                                                        previously trained com-
       system destroys the                                                                                         puter algorithm.
       pancreatic insulin-             Figure 12. Artificial Pancreas
                                                                                                                   Biotechnology is bringing
       producing cells, leaving        The Control-!Q artificial pancreas system was derived
                                                                                                                   us closer to a cure for
       the body unable to              from research done at the Center for Diabetes
                                       Technology at the University of Virginia.                                   AMD, a leading cause of
       absorb or use glucose.
                                                                                                                   visual impairment among
       Significant progress
                                                                                                                   older Americans. By 2050,
       toward artificial pancre-
                                           Han                6:26 AM                                              the estimated number
       as technologies— which                                 July 29, 20147
                                                                                                                  of people with AMD is
       consist of a continuous
                                                                                                                  expected to more than
       glucose monitor, an
                                                                                                                  double from 2 million to
       insulin pump, and a
                                                                                                                  5 million. The discovery
       computer algorithm
                                           INSULIN   ON   BOARD      41.2u                                        of induced pluripotent
       that, in some cases,
                                            4) options                   @     BOLI                               stem cells (iPSCs)—adult
       can be run from the
                                                                                                                  cells that have been
       user’s smartphone—
                                                                                                                  genetically reprogrammed
       has been made through
                                                                                                                  to a developmental stage
       extensive collaboration
                                                                                                                  such that they can be
       among NIH ICs,
                                                                                                                  turned into any cell type in
       other federal agencies,
                                                                                      the body—opened the door for transformative regen-
       private funders, academic investigators, and industry.
                                                                                      erative medicine therapies. Researchers at NIH were
       In 2016, the FDA approved the first commercial
                                                                                      able to derive iPSCs from participants with advanced
       hybrid artificial pancreas device” and in 2019, the
                                                                                      AMD and convert them into healthy retinal tissue. The
       FDA approved the first interoperable system® that
                                                                                      newly developed tissue replaced damaged tissue and
       could give patients the ability to choose the individual
                                                                                      prevented blindness in animal models.®’ NIH received
       components that work best for them. Studies have
                                                                                      FDA approval to begin the first-ever clinical trial using
       shown that these technologies result in better con-
                                                                                      replacement tissue derived from iPSCs in humans.
       trol of blood glucose levels compared to standard
       treatment, potentially lowering the risk of diabetic                           Therapeutic development for many human diseases
       complications.® NIH continues to support research to                           and conditions could become faster and more
       develop next-generation and novel devices that are                             accurate due to the expanding use of tissue chips,
       smaller, easier to use, and available to all.                                  or “organs-on-chips.” These devices consist of
                                                                                      3-D platforms that support living human tissues or
       Catalyzing Cell Engineering,                                                   cells to model the structure and function of human
       Bioengineering, and Regenerative                                               organs, such as the lung, liver, and heart. Working
       Medicine                                                                       closely with the pharmaceutical industry and FDA, the
                                                                                      Tissue Chip for Drug Screening program® supports
       NIH is at the forefront of remarkable technological
                                                                                      research using tissue chips to test new drugs and
       advances, such as innovations in cell engineering,
                                                                                      predict whether they will be safe and effective in
       bioengineering, and regenerative medicine. These
                                                                                      humans. In collaboration with the International Space
       advances are not only accelerating research but
                                                                                      Station National Laboratory (ISS-NL) and the National
       also creating the possibility of new treatments that
                                                                                      Aeronautics and Space Administration (NASA), NIH
       previous generations of clinicians could only imagine.
                                                                                      is funding nine tissue chip projects in which different
       For example, scientists supported by the NIH BRAIN
                                                                                      types of tissues are being sent to the ISS-NL to
       Initiative® have pioneered a new technology that
                                                                                      determine how human tissues behave in space when


                                                                                           NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                               APHA App. 256
Case: 25-1611      Document: 00118310432                    Page: 260         Date Filed: 07/08/2025                  Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM                Document 38-22
                                                      Document 38-22           Filed 04/25/25
                                                                               Filed 04/25/25         Page 31
                                                                                                      Page 31 of
                                                                                                              of 82
                                                                                                                 82


            exposed to reduced gravity,”° which models aging
                                                                           Figure 13. Tissue Chips in Space
            in an accelerated manner (Figure 13). Researchers
                                                                           An astronaut in a National Aeronautics and Space
            are also developing interconnected tissue chips that
                                                                           Administration spacesuit is shown with a kidney tissue
            could model the entire human body’s response to                chip in hand. When traveling in space, astronauts expe-
            candidate therapeutics and are being deployed to               rience physiological changes normally associated with
            address emerging health challenges, such as the                aging, such as bone loss, muscle deterioration, and
                                                                           altered immune systems. When the astronauts return to
            opioid crisis and COVID-19 pandemic. In addition,
                                                                           Earth, the changes often reverse. To better understand
            current efforts are focused on the use of tissue chips         the relevance of the astronauts’ experience to human
            to inform the implementation of clinical trials.               health—both on the ground and in space—NIH part-
                                                                           nered with the International Space Station U.S. National
            Meeting Emerging Public Health Needs                           Laboratory to send tissue chips, a research technology
                                                                           that reflects the human body, into space.
            A critical focus of the NIH mission is readiness to
            address new and emerging public health needs
            rapidly, comprehensively, and efficiently. From the
            emergence of HIV/AIDS in the 1980s to the more
            recent outbreaks of infectious diseases—such as
            Zika virus disease, EVD, and COVID-19—to con-
            ducting research during an unfolding disaster like
            the Deepwater Horizon oil spill, NIH has been at the
            forefront of the global research response. NIH’s role in
            combatting emerging threats involves identifying and
            understanding the responsible pathogens and their
            effects on the body, treating affected patients in the
            NIH Clinical Center as part of research studies, and           Credit: NASA.
            conducting and supporting clinical trials throughout
            the nation and around the world.
                                                                        research conducted in a region of civil unrest during
            The NIH Clinical Center is specially equipped with          an ongoing outbreak, the U.S. and its partners have
            high-level respiratory isolation capabilities to handle     provided the world with two new effective treatments
            patients with highly infectious diseases. In addition,      for an emerging disease. Additionally, this experience
            the staff includes infectious disease and critical
                                                                        demonstrated the efficacy of promising therapeutics
            care specialists who have received training in strict       to treat EVD and serves as a potential guide for
            infection control practices to prevent the spread of        conducting future clinical trials in outbreak settings.
            potentially transmissible agents. The Special Clinical
            Studies Unit is used for cutting-edge investigational       NIH’s role in safeguarding the public health extends
            clinical studies and treatments, ranging from EVD to        beyond infectious disease. For example, at this
            universal influenza vaccine studies to treating patients    writing, opioid misuse and addiction continues to be
            affected by the COVID-19 pandemic.”                         a rapidly evolving U.S. public health crisis. Although
                                                                        more than 50 million Americans suffer from chronic
            NIH can also swiftly mobilize its flexible infrastructure   pain, safe non-opioid options for pain manage-
            and collaborative research partnerships to help             ment are unavailable.”* In 2018, more than 46,000
            advance new and promising treatments, even in areas
                                                                        Americans died of opioid overdose, making it one
            of armed conflict and tenuous security. NIH and the         of the most common causes of non-disease-related
            Institute of Biomedical Research in the DRC conduct-
                                                                        deaths for adolescents and young adults.”* More
            ed the Pamoja Tulinde Maisha (PALM) clinical trial,         than 2 million Americans live with an opioid use
            meaning “Together Save Lives,” in Kiswahili. The pre-       disorder. To address this national crisis, NIH launched
            liminary results were so compelling that the trial was      the Helping to End Addiction Long-term™ (HEAL)
            halted, and the results were promptly made public to        Initiative,” an aggressive, NIH-wide effort to provide
            help save lives and stem the latest EVD outbreak.”          scientific solutions and offer new hope for individuals,
            All EVD patients in the DRC treatment centers are
                                                                        families, and communities affected by this devastat-
            now treated with one of two treatment options based         ing crisis (Figure 14).
            on the PALM trial results. Through this collaborative



       14     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                             APHA App. 257
Case: 25-1611       Document: 00118310432                      Page: 261           Date Filed: 07/08/2025                    Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                Document 38-22
                                                        Document 38-22             Filed 04/25/25
                                                                                   Filed 04/25/25         Page 32
                                                                                                          Page 32 of
                                                                                                                  of 82
                                                                                                                     82




                                                                                                                                          ayUleyp
                                                                                                                                       Wiesy.
         Figure 14. HEAL Initiative™”
         The NIH Helping to End Addiction Long-term™ Initiative,
         or NIH HEAL Initiative™, launched in April 2018, is an
         aggressive NIH-wide effort to provide scientific solutions
         to the national opioid overdose crisis, including improved
         treatment strategies for both pain and opioid use disorder.
         Notably, a series of highly focused studies has been
         launched to accelerate the development of new medica-
         tions to treat all aspects of opioid use disorder, from new
         formulations of existing drugs to creating new therapies
         aimed at novel targets to novel devices for the treatment of
         substance use disorder and pain. Working across scientific       NIH - Helping to End Addiction Long-term
         disciplines and care settings, the NIH HEAL Initiative seeks
         to match the seriousness of the crisis and offers new hope     Credit: NIH.
         for individuals, families, and communities affected by this
         devastating crisis. In partnership with the Substance Abuse and Mental Health Services Administration (SAMHSA), in
         2019 NIH launched the HEALing Communities Study to investigate how tools for preventing and treating opioid misuse
         and opioid use disorder are most effective at the local level.



       Partnering to Advance Treatments                              and are associated with substantial toxicity in some
       and Cures                                                     individuals.”* A better understanding of why immu-
                                                                     notherapies work in some patients and not others is
       Collaboration is essential to accelerating progress           needed to help target this treatment to the people
       in developing effective prevention and treatment              most likely to benefit.
       interventions, as well as ensuring that the benefits of
       research are available to all Americans. For example,         NIH is also transforming treatment of sickle cell dis-
       the Partnership for Access to Clinical Trials is a col-       ease (SCD) through collaborations (Figure 15). SCD
       laborative effort that connects health care providers         is a group of inherited disorders characterized by the
       and their patients in the Washington, D.C., metropol-         buildup of an abnormal protein in red blood cells.
       itan area to NIH researchers conducting clinical trials       It can cause pain, fatigue, and damage to organs
       at the NIH Clinical Center.’”° By serving as a bridge         throughout the body. People of African ancestry have
       between research participants, their health care              the highest prevalence of SCD; it is estimated that the
       providers, and NIH researchers, this program serves           disease affects up to 100,000 Americans.” Although
       as a successful model for increasing diversity in             treatments are available to relieve symptoms and
       research participation, particularly among those who          extend lifespan, a bone marrow transplant is currently
       are underrepresented in clinical trials, and expanding        the only cure for SCD.® Unfortunately, a transplant
       access to the benefits of NIH research.                       is not feasible for most patients, because it requires
                                                                     bone marrow from an immune-matched sibling.
       NIH facilitates collaboration with industry and federal
                                                                     In 2016, NIH established the Sickle Cell Disease
       partners to advance treatment science. In 2017, in
                                                                     Implementation Consortium (SCDIC), the first
       collaboration with 12 leading biopharmaceutical
       companies and advocacy organizations, NIH
       launched the Partnership for Accelerating Cancer                 Figure 15. Sickle Cell
       Therapies,” a 5-year public-private research collabo-            Disease
       ration, as part of Cancer Moonshot™. The initial focus           In sickle cell disease,
                                                                        red blood cells make an
       of the partnership is the development, validation,
                                                                        abnormal protein that
       and standardization of biomarkers to better predict              causes them to take ona
       response to immunotherapy—a type of biological                   sickle shape. These cells
       therapy that turns on or off the immune system                   are inflexible and can stick
                                                                        to blood vessel walls,
       to help the body fight cancer, infection, and other              interrupting blood flow.
       diseases. Immunotherapies have resulted in dramatic
                                                                                                       Credit: Janice Haney Carr and
       clinical benefit in certain types of cancer; however,                                           the CDC Public Health Image
       existing immunotherapies do not work for all patients                                           Library.




                                                                           NIH-Wide Strategic Plan for Fiscal Years 2021-2025          15

                                                                                                                  APHA App. 258
Case: 25-1611        Document: 00118310432                   Page: 262       Date Filed: 07/08/2025                Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                Document 38-22
                                                        Document 38-22       Filed 04/25/25
                                                                             Filed 04/25/25        Page 33
                                                                                                   Page 33 of
                                                                                                           of 82
                                                                                                              82
     \
      a
      he Y




              research program to use implementation science—          NIH facilitates collaboration on complex scientific
              the scientific study of how best to ensure the uptake    questions requiring the intersection of disciplines,
              of evidence-based practice—to identify and address       methodologies, and knowledge by supporting a
              barriers to quality care in SCD.*! The SCDIC has         variety of funding mechanisms that are focused on
              created a registry of more than 2,400 patients. In       collaborative or team-based work. Such opportunities
              2018, NIH established the Cure Sickle Cell Initiative,   for investigator-initiated research extend from serving
              an innovative collaboration among researchers in         as co-primary investigators on a grant award to
              academia and industry, clinicians, patients, and         participating in highly complex networks of investiga-
              advocates to identify and support the most promising     tors and institutions charged with advancing science
              genetic therapies for SCD. Their goal is to bring new    in new directions. NIH looks forward to reaping the
              therapies to the point of FDA approval within the next   scientific benefits of continuing and expanding its
              5-10 years.                                              partnerships in the next 5 years.



                                                          Developing, Maintaining, and Renewing Scientific
              OBJECTIVE                  SAV
                                                          Research Capacity


              NIH not only funds innovative biomedical and             10 years of completing postgraduate clinical training
              behavioral research but also pursues its mission by      or their highest advanced research degree.® Through
              ensuring that the biomedical research workforce is       this initiative, NIH has more than doubled the number
              well trained and diverse and conducts its work within    of early-stage researchers supported—from less
              an infrastructure that enables groundbreaking results    than 600 in 2013 to 1,316 in 2019. Moving forward,
              at a rapid pace. Over the next 5 years, NIH is poised    NIH will continue to explore novel approaches to
              to enhance its support of research capacity to max-      expand pathways for funding early-stage researchers
              imize the potential of the research that the agency      and assess how NGRI policies affect women and
              sustains.                                                individuals from groups that are underrepresented in
                                                                       biomedical and behavioral sciences.
              Enhancing the Biomedical and                             To encourage early-stage researchers to explore new
              Behavioral Research Workforce                            research avenues, NIH recently created the Stephen

              NIH recognizes that its mission will be met only
              through the continued efforts of a talented and ded-        Figure 16. Minority Women in Science
              icated biomedical research workforce. The strength          Alma Levant Hayden was one of the first minority
              of the NIH workforce depends on its sustainability          women scientists in the federal government and worked
              and diversity (Figure 16), which NIH supports through       at NIH as a biochemist. Photo taken around 1952.
              both intramural and extramural focused training
              programs.
              Sustainability is achieved by maintaining an appro-
              priate balance of researchers at different career
              stages, ensuring that investigators early in their
              careers are given every opportunity to excel, even
              in times of limited funding. Intense competition for
              funding can pose a challenge for researchers trying
              to embark upon and sustain independent research
              careers. NIH’s Next Generation Researchers Initiative
              (NGRI) aims to enhance opportunities for early-stage
              researchers by prioritizing funding of independent
              research applications for investigators who are within



         16     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                          APHA App. 259
Case: 25-1611         Document: 00118310432                    Page: 263       Date Filed: 07/08/2025                Entry ID: 6734280

                     Case 1:25-cv-10787-BEM
                     Case 1:25-cv-10787-BEM           Document 38-22
                                                      Document 38-22           Filed 04/25/25
                                                                               Filed 04/25/25         Page 34
                                                                                                      Page 34 of
                                                                                                              of 82
                                                                                                                 82


       lra Katz Award, in memory of the longtime director of       Alaskan Native elders, community organizations, and
       the National Institute of Arthritis and Musculoskeletal     renowned faculty scientists.
       and Skin Diseases. This award is designed to support
                                                                   Reflective of the high priority that NIH places on
       earlystage researchers who propose innovative and
                                                                   workforce diversity, the NIH Common Fund manages
       unique ideas that represent a significant change in
                                                                   several training programs targeted on diversity.
       research direction from their past research or training
                                                                   Launched in 2014, the Enhancing the Diversity of
       experience.
                                                                   the NIHFunded Workforce Program® (also called
       Ground-breaking, impactful biomedical and                   the Diversity Program Consortium or DPC) encour-
       behavioral research depends upon a diverse                  ages the inclusion of talent across the career span.
       workforce, composed of people trained in multiple           Through integrated initiatives, DPC has supported
       disciplines and from different backgrounds, who             thousands of trainees in biomedical and behavioral
       can provide a richness of perspectives necessary to         research careers by providing funding for institu-
       inspire new ideas. Recognizing the need to advance          tional infrastructure, student support, and research
       talent in muchneeded fields of study, NIH supports          mentoring. Within 4 years of launch, 1,116 students
       training programs in a wide variety of areas, such as       were appointed to research-training positions through
       bioinformatics, scientific rigor and reproducibility,       DPC’s Building Infrastructure Leading to Diversity
       and data science. To illustrate, NIH supports               (BUILD) program, with 68 percent of BUILD students
       16 University-based Biomedical Informatics and Data         from underrepresented groups.® Moreover, half
       Science Training Programs,® including more than             of DPC member institutions (59 of 113) are either
       200 Ph.D.- and postdoctoral-level researchers.              historically Black colleges and universities or institu-
       Notably, NIH also partners with high schools,               tions with a track record of training Hispanic or Latinx
       minority-serving institutions, and others to support        students. BUILD funding enables supported scien-
       bioinformatics training.                                    tists to pursue research focused on understanding
                                                                   health disparities within and across underrepresented
       Given the role that interdisciplinary approaches
                                                                   groups.
       and team science play in fostering innovation, NIH
       has developed a number of initiatives to encourage          Plans are in place to launch the Faculty Institutional
       collaborative research. One such example is NIH’s           Recruitment for Sustainable Transformation (FIRST)
       Building Interdisciplinary Research Careers in              initiative.2°°° Modeled on the NIH’s Distinguished
       Women’s Health (BIRCWH), which connects junior              Scholars Program,°' FIRST aims to transform culture
       and senior faculty with shared interests in interdis-       at NIH-funded institutions through the recruitment
       ciplinary research on women’s health.® Since 2000,          of faculty cohorts who have a demonstrated
       BIRCWH has helped more than 700 junior faculty              commitment to diversity and inclusion. As it enters
       pursue their career goals, thereby expanding the            Phase II of its 10-year program, the DPC will continue
       pipeline of women’s health researchers and benefiting       to closely monitor the impact of these programs
       the health of women.                                        on the careers of individuals from backgrounds
                                                                   underrepresented in NIH-funded research.
       NIH supports numerous programs designed to foster
       research environments that encourage participa-             NIH recognizes that women scientists often face insti-
       tion from a full and diverse range of talent. NIH’s         tutional and environmental barriers that restrict their
       Maximizing Opportunities for Scientific and Academic        potential to advance their careers. The NIH Working
       Independent Careers (MOSAIC) program® facilitates           Group on Women in Biomedical Careers aims to
       the transition of promising postdoctoral researchers        identify and remove barriers to the entry, recruitment,
       from diverse backgrounds, including those from              retention, and career development of women biomed-
       underrepresented groups, to academic faculty                ical and behavioral scientists.°? The working group
       positions at institutions throughout the country. The       contributed to such recommendations as extended
       Native American Research Internship (NARI) program          periods for the consideration of tenure and parental
       supports diverse student researchers, including             leave, a grant program for research on causal factors
       American Indian and Alaskan Native students,                and interventions that affect the careers of women in
       from across the country in paid summer research             science and engineering, and workshops on mento-
       internships. NARI researchers benefit from cultural         ring women and best practices for women’s career
       and professional mentorship from American Indian or         success. The Women of Color Committee within the



                                                                        NIH-Wide Strategic Plan for Fiscal Years 2021-2025    1/

                                                                                                            APHA App. 260
Case: 25-1611      Document: 00118310432                   Page: 264          Date Filed: 07/08/2025                         Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM                  Document 38-22
                                                        Document 38-22        Filed 04/25/25
                                                                              Filed 04/25/25                 Page 35
                                                                                                             Page 35 of
                                                                                                                     of 82
                                                                                                                        82


            working group ensures that the unique career barriers
                                                                          Figure 17. Zebrafish Facility
            faced by women of color are addressed.
                                                                          At the largest zebrafish facility on NIH’s campus, Kevin
            Public health needs extend far beyond geographical            Bishop, NIH Zebrafish Core staff member, holds up a
            borders. For example, deadly infectious diseases,             tank of zebrafish to observe their behavior and phys-
                                                                          iology. Using molecular techniques, researchers alter
            such as EVD and COVID-19, can spread rapidly                  the zebrafish’s genome to mimic what is seen in human
            across international borders and continents.                  patients in the clinic.
            Recognizing that scientific research capacity is not
            equally distributed across the globe, potentially
            hampering the ability to combat such challenges, NIH
            develops international training programs. One such
            program, the Global Infectious Disease Research
            Training Program, builds infectious disease expertise
            and research capacity across the world and has
            prepared more than 1,200 researchers to conduct
            independent and locally relevant infectious disease
            research in their home countries.% The program
            connects U.S. institutions with institutions in low- and
            middle-income countries to provide degree programs,
            trainings, workshops, and mentoring on topics related
                                                                          Credit: Ernesto del Aguila Ill, NHGRI, NIH.
            to infectious diseases.

            The COVID-19 pandemic has also shown the need
            for local epidemiological modeling capability to           particularly genomics, computational chemistry, and
            provide actionable information for policy makers to        cryo-electron microscopy imaging. Cryo-electron
            make public health decisions during outbreaks. NIH         microscopy is a cutting-edge technology that enables
            builds capacity for in-country analysis of COVID-19        researchers to determine the structures of biological
            in low- and middle-income countries by training            molecules to identify therapeutic targets for vaccines
            modelers to track and analyze the progress of the          and drugs. NIH Common Fund’s Transformative High
            pandemic. These activities include longstanding NIH        Resolution Cryo-Electron Microscopy program
            partners who have well-established epidemiological         aims to broaden access to cryo-electron microscopy
            and surveillance sites in Africa, South America, and       through the support of national service centers,
            South Asia, but lack analytical capacity.                  improvement of technology, and training.
                                                                       NIH is also investing in the data infrastructure neces-
            Supporting Research Resources                              sary to accommodate rapid advances in biomedical
            and Infrastructure                                         and behavioral research. Research progress has
            For the biomedical research workforce to succeed           produced an explosion of human health data that
            in moving discovery forward, it requires a scientific      exceeds current abilities to capture and interpret
            infrastructure that is expansive, durable, and capable     them (Figure 18). To promote data sharing in high-
            of quickly integrating state-of-the-art resources that     priority research areas, NIH creates a number of
            are available to all. To achieve this goal, NIH devel-     different data repositories. For example, NIH has built
            ops a number of programs and policies designed             a data repository to maximize publication availability
            to provide the biomedical research workforce with          and data sharing for NIH HEAL InitiativeS” research
            stability and flexibility, broad access to innovations     projects.© This effort promotes dissemination of new
            in tools and technologies, materials, and knowledge        knowledge, enhances reproducibility, and will accel-
            repositories necessary for the design of impactful         erate the ability of researchers to build upon research
            research programs (Figure 17).                             to make new discoveries. In addition, the Data and
                                                                       Biospecimen Hub (DASH) is a centralized resource
            NIH’s support of modern technology platforms and           that allows researchers to share and access deidenti-
            high-performance computing capabilities enables            fied data, and for many studies, linked biospecimens
            innovation in scientific research in several areas,        are available to researchers.



       18     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                        APHA App. 261
Case: 25-1611        Document: 00118310432                     Page: 265                Date Filed: 07/08/2025                 Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                 Document 38-22
                                                         Document 38-22                 Filed 04/25/25
                                                                                        Filed 04/25/25               Page 36
                                                                                                                     Page 36 of
                                                                                                                             of 82
                                                                                                                                82




         Figure 18. Modern Data Environments to Accelerate Research
         Rapid advances in data generation and computing
         power provide extraordinary potential for accelerating
         biomedical research. However, researchers face technical
         hurdles to accessing, sharing, and analyzing within and
         across large biomedical datasets. NIH is tackling this
         challenge through multiple initiatives to build modern
         technology platforms, collaborative workspaces, tools,
         and applications necessary for researchers to securely
         find, access, share, store, and analyze data across diverse
         datasets. Two examples are the Genomic Data Science
         Analysis, Visualization, and Informatics Lab-space and the
         Cancer Research Data Commons. These platforms enable
         researchers to efficiently combine and analyze diverse
         data types, which can lead to new discoveries in disease
         prevention, diagnosis, and treatment. Several programs
         seek to provide researchers with state-of-the-art, high-      Credit: Ernesto del Aguila Ill, NHGRI, NIH.
         performance computing, such as the Biowulf cluster, which
         is the world’s most powerful supercomputer completely
         dedicated to advancing biomedical and behavioral research.




       Much of NIH’s efforts in resource building focuses on           treat cancer in specific, disproportionately affected
       providing researchers with the underlying evidence              populations. The NIH Surveillance, Epidemiology, and
       needed to design impactful research programs.                   End Results (SEER)* Program provides information
       These efforts include the development of resources              on cancer statistics based on race, gender, and
       for understanding public health needs of the general            geography to guide efforts to reduce the cancer
       population and specific populations, resources that             burden among the U.S. population. SEER currently
       will assist in providing access to patient populations,         reflects 35 percent of the U.S. population, and NIH
       and resources for better understanding the factors
       affecting such health conditions as Alzheimer’s
       disease and related dementias (Figure 19).                          Figure 19. Alzheimer’s Disease Research
                                                                           Infrastructure
       A widely available tool in which NIH invests to help               More than 5.8 million Americans age 65 and older are
       guide prevention and treatment efforts is the Global               living with Alzheimer’s disease (AD), the most common
       Burden of Disease (GBD) enterprise.°’ GBD is the                   form of dementia. Many others younger than age 65
                                                                          have developed the less common early-onset form of
       world’s largest scientific effort to systematically
                                                                          AD. Still more are affected by AD-related dementias
       quantify health loss from all diseases, injuries, and              (ADRDs). Although the underlying pathology may differ
       risk factors by age, sex, and geographic location over             among these conditions, their ultimate outcome is
       time. NIH and GBD collaborated to improve the way                  the same: the inexorable, relentless loss of memory,
                                                                          thought, and function. At present, no intervention has
       that disease causes and risk factors are identified.               been reliably proven to prevent, slow, or reverse the
       As aresult of this collaboration, NIH and the research             effects of AD/ADRD. Under the auspices of the National
       community can identify and track the causes and                    Plan to Address Alzheimer’s and Related Dementias,
       risk factors of premature death and disability in the              NIH develops and supports a robust infrastructure for
                                                                          discovery that supports activity across the full spectrum
       U.S. over time (both historically and projecting up                of AD/ADRD research, including, but not limited to, the
       to 25 years in the future). Because premature death                Dominantly Inherited Alzheimer’s Network, an interna-
       is often preventable, the availability of these data               tional consortium of researchers who are working with
                                                                          individuals from families with a rare form of the disease to
       not only improves understanding of the burden of
                                                                          identify the sequence of brain changes before symptoms
       disease and key health outcomes in the U.S., but also              appear; the NIH Blueprint Neurotherapeutics Network,
       enhances the ability to focus on the most pressing                 NIH’s preclinical/early clinical drug development program
       health challenges facing the nation.                               that provides support for drug discovery and develop-
                                                                          ment; and the Alzheimer’s Disease Education and Referral
       The ability to monitor cancer in the U.S. is an import-            Center, NIH’s primary source for consumer information on
                                                                          AD/ADRD research and care.
       ant step toward determining how best to prevent and




                                                                              NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                         APHA App. 262
Case: 25-1611     Document: 00118310432                   Page: 266         Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM               Document 38-22
                                                     Document 38-22         Filed 04/25/25
                                                                            Filed 04/25/25        Page 37
                                                                                                  Page 37 of
                                                                                                          of 82
                                                                                                             82
      Km


           will expand the program to cover 50 percent of the         on Child Health Outcomes (ECHO) Program also
           U.S. population.                                           leverages IDeA to expand pediatric research capacity
                                                                      in the IDeA States Pediatric Clinical Trials Network.'©
           The medical advances and new technologies that
                                                                      Beginning in 2018, IDeA also collaborated with NIH’s
           have allowed Americans to live longer and healthier
                                                                      Shared Instrumentation Grant (SIG) Programs to
           lives have not helped everyone equally. To build
                                                                      improve access to modern technologies for research-
           capacity at institutions with a historical and cur-
                                                                      ers in underresourced institutions in IDeA-eligible
           rent commitment to educating underrepresented
                                                                      states. SIG supports the acquisition of modern
           students and providing health care in underserved
                                                                      scientific instruments that must be used on a shared
           communities, NIH created the Research Centers in
                                                                      basis. 106
           Minority Institutions (RCMI) Program.®? The goals of
           RCMls are to enhance institutional research capacity,      Many NIH Common Fund projects focus on devel-
           enable investigators to become more successful in          oping resources that can be useful for research
           obtaining competitive funding, foster environments         communities focused on a particular topic. The NIH
           conducive to career enhancement, promote research          Common Fund Molecular Transducers of Physical
           on minority health and health disparities, and estab-      Activity Consortium (MoTrPAC)'°'® is building a map
           lish sustainable relationships with community-based        of the molecular responses to exercise, both imme-
           organizations.’                                            diate and over the long term. Data are being made
                                                                      widely available to the entire research community so
           NIH is also working to promote health equity in rural
                                                                      that investigators from anywhere can use this map
           populations. NIH’s Clinical and Translational Science
                                                                      to develop and test hypotheses about how exercise
           Awards (CTSA) Program’®'"92:1°5 ig engaging with
                                                                      improves health and ameliorates disease. The pro-
           patients, community members, and nonprofit orga-
                                                                      gram is scheduled to run through 2023 and released
           nizations to develop and disseminate best practices
                                                                      its first dataset through the MoTrPAC Data Hub in
           for patient-focused research in rural health."°* Project
                                                                      2019.
           areas include improving access to Clinical trials for
           rural communities, harnessing technology to deliver        Another valuable resource for the research communi-
           effective care, and enhancing rural community              ty includes improved understanding of the biological
           outreach. The CTSA Program is also partnering with         and behavioral mechanisms of symptoms, which
           other NIH ICs and federal agencies to support rural        can improve patient outcomes. The NIH Intramural
           health.                                                    Research Program launched the Symptom Science
                                                                      Center (SSC)'” to address the need for a more
           To further support rural communities, NIH is har-
                                                                      comprehensive approach to understanding the com-
           nessing the Institutional Development Award (IDeA)
                                                                      plex mechanisms underlying symptoms. Increased
           Program, which aims to broaden the geographic
                                                                      knowledge in this area can help develop precision
           distribution of NIH funding and to build research
                                                                      health interventions to treat patients more effectively.
           capacity in states that historically have had low
                                                                      Furthermore, the SSC serves as a nexus for collab-
           levels of NIH funding. NIH is building on the research
                                                                      oration among investigators from multiple ICs and
           capacity within IDeA states to help address the
                                                                      is committed to training scientists and clinicians in
           medical needs of children living in rural and under-
                                                                      symptom science.
           served areas. Similarly, the Environmental influences




                                                       Exemplifying and Promoting the Highest Level
           OBJECTIVE                                   of Scientific Integrity, Public Accountability, and
                                                       Social Responsibility in the Conduct of Science

           As a steward of public resources, NIH has a respon-        NIH must endeavor to ensure that all of its operations
           sibility to uphold public trust and confidence in the      and the research it supports are conducted efficiently,
           agency. In addition to fostering innovative research,      responsibly, ethically, and with integrity. Over the next



      20     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                        APHA App. 263
Case: 25-1611       Document: 00118310432                    Page: 267         Date Filed: 07/08/2025                Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM               Document 38-22
                                                       Document 38-22          Filed 04/25/25
                                                                               Filed 04/25/25        Page 38
                                                                                                     Page 38 of
                                                                                                             of 82
                                                                                                                82


       5 years, NIH is committed to taking additional steps       The relative merit of applications as determined
       to maintain and strengthen the processes by which it       through peer review, in conjunction with input
       governs the conduct of science.                            on mission relevance from IC Advisory Councils,
                                                                  informs IC Directors as they make funding decisions
       Fostering a Culture of Good                                that consider mission focus, portfolio balance,
                                                                  scientific opportunity, emerging and ongoing public
       Scientific Stewardship                                     health needs, and stakeholder priorities. Balancing
       This NIH-Wide Strategic Plan positions the agency to       research with training and infrastructure—as well as
       meet its mission by pursuing scientific opportunities      distribution across basic, translational, and clinical
       when they arise, responding to ongoing and emerging        research—are key factors taken into consideration
       public health needs, and addressing rare diseases.         in maintaining a diverse portfolio. NIH also considers
       NIH research efforts also align with and reflect HHS’s     the vital role of rare diseases research, through which
       priority goals." The agency promotes policies and          unique biological insights are possible. This research
       programs that foster and ensure a strong foundation        is less likely to be supported by private funders than
       and culture of good scientific stewardship. As critical    research into more prevalent disorders.
       research needs arise, NIH will respond by ensuring
                                                                  To maintain a peer review process of the highest
       that the scientific community has flexibility to quickly
                                                                  caliber, NIH has developed an ongoing systematic
       adapt to and address urgent public health issues.
                                                                  multimethod evaluation that will objectively assess
       Setting Priorities                                         most peer review study sections over a 5-year
                                                                  cycle.'"* The aims of the system are to keep study
       Scientific priority setting at NIH encourages input from   sections aligned with the current state of the science,
       a range of sources, including the research community;      confirm NIH is attracting applications that propose
       public forums; the Advisory Committee to the NIH           cuttingedge science, and ensure that study sections
       Director; U.S. Congress; Administration objectives;        are functioning efficiently with a balanced workload.
       and consultation with advocacy groups, professional        Additional programs, such as the Early Career
       societies, and research participants. The NIH Director     Reviewer Program,‘ help NIH refresh and diversify
       provides overall leadership to the ICs and OD offices,     its pool of reviewers, while also helping investigators
       especially on efforts involving several components of      improve their grant-writing skills, develop research
       the agency. Strategic plans developed by individual        evaluation capacity, and strengthen critique-writing
       ICs and OD offices, committees composed of repre-          skills.
       sentatives from multiple ICs, and interagency working
       groups describe a multitude of scientific priorities and   NIH proactively pursues scientific opportunities
       themes of interest to the agency."                         through a variety of programs that promote innovative
                                                                  research concepts and exploration of scientific
       NIH demonstrates effective stewardship by support-         hypotheses that could steer science in new direc-
       ing the most meritorious biomedical and behavioral         tions. Additionally, NIH encourages team science and
       research possible. The NIH peer review process             cross-disciplinary collaboration to propel research
       assesses research grant applications for overall           progress. NIH will continue to look for additional ways
       scientific and technical merit and ensures that appli-     to capitalize on the intersection of scientific fields to
       cations receive fair, independent, expert, and timely      further scientific progress and improve human health.
       reviews.'? Scientific review panels are strategically
       formed to include reviewers who possess both broad         Monitoring Expenditures and Scientific
       and specialized expertise and who can address              Progress
       stability and recent trends in the field. NIH makes
                                                                  NIH requires regular reporting from grant and contract
       efforts to ensure that review panels reflect diversity
                                                                  award recipients on research progress, spending,
       in career stage, geographic region, and demographic
                                                                  and findings. NIH staff review these reports to
       characteristics. NIH staff seek input from a variety
                                                                  ensure proper stewardship of federal funds and that
       of sources to identify reviewers for panels, including
                                                                  supported research is fulfilling all terms of the funding
       NIH program staff and advisory councils, as well
                                                                  agreement.
       as scientific literature, meetings, and professional
       organizations.



                                                                       NIH-Wide Strategic Plan for Fiscal Years 2021-2025     21

                                                                                                           APHA App. 264
Case: 25-1611        Document: 00118310432                            Page: 268               Date Filed: 07/08/2025                        Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                       Document 38-22
                                                               Document 38-22                 Filed 04/25/25
                                                                                              Filed 04/25/25             Page 39
                                                                                                                         Page 39 of
                                                                                                                                 of 82
                                                                                                                                    82


           Another aspect of NIH stewardship is to provide the                        across the diverse areas of biomedical and behavioral
           public with transparent and easily accessible informa-                     research.
           tion about NIH research awards and allow interested                        NIH shares common interests with many agencies
           individuals to monitor NIH’s support of research.                          across the federal government and often coordinates
           The NIH Research Portfolio Online Reporting Tools                          with other science agencies to promote collabo-
           Expenditures and Results (NIH RePORTER)"* tool,                            ration among researchers and manage research
           for example, provides public access to information                         portfolios. NIH supports Federal REPORTER," a
           on the grants, contracts, and intramural research
                                                                                      collaborative effort among federal funders to provide
           that NIH supports. Additionally, the NIH Data Book"'®                      a central database for certain grant information. In
           provides quick access to key annual statistics, such                       addition, NIH is partnering with the National Science
           as application success rates, workforce and training                       Foundation and the General Services Administration
           trends, the peer review process, and small business
                                                                                      to develop and implement computational tools to
           awardees. NIH will continue enhancing these and                            identify overlap between grant proposals across
           other tools in the suite of NIH RePORTER tools'” to
                                                                                      agencies in real-time, reducing the risk of unnec-
           better meet information and communication needs in                         essarily duplicative research.'2° Collectively, these
           the coming years.                                                          efforts promote transparency and enable efficiency
                                                                                      through data-driven decision-making.
           Making Evidence-Informed Decisions
           NIH is committed to enhancing scientific stewardship                       Assessing Programs, Processes,
           by optimizing approaches that generate evidence                            Outcomes, and Impact
           used to inform programmatic, operational, and
                                                                                      The NIH Report on Approaches to Assess the Value
           policy decisions. To further these efforts, NIH has
                                                                                      of Biomedical Research by NIH"*' found that a better
           developed several tools, available to its staff and to
                                                                                      understanding of all aspects of NIH’s work is key
           the broader scientific community, that can identify
                                                                                      to increasing the efficiency and effectiveness of the
           and analyze current and emerging areas of research
                                                                                      agency. NIH uses a variety of approaches— including
           that will advance NIH’s mission. For example, the
                                                                                      monitoring, performance measurement, analysis, and
           iCite''® suite of tools is a public resource that enables
                                                                                      evaluation—to assess the progress and effectiveness
           users to examine validated metrics regarding the
                                                                                      of its programs, policies, and operations and to
           impact of NIH-funded research articles (Figure 20).
                                                                                      generate information for decision-making. To increase
           These tools, which are informed by the judgment of
                                                                                      the use of these tools, NIH is enhancing the quality
           subject-matter experts, help users examine the NIH
                                                                                      of administrative data, making it an increasingly
           portfolio’s productivity, balance, and priorities across
                                                                                      strategic source of information that, when coupled
           the spectrum of research—from basic to clinical and
                                                                                      with other tools, could improve the agency’s


                Figure 20. Predicting Translational Progress of Research




                                                                   AA.
                Fundamental research can take                              Humen
                decades to translate into clinical
                outcomes. To capture the trans-
                lational potential of publications,
                NIH researchers created a machine
                learning model that maps papers on
                a trilinear graph using three Medical
                Subject Heading (MeSH) terms:
                Human, Animal, and Molecular/
                                                             MoLiCell                    Animal
                Cellular. Almost all NIH-funded                          Fundamental                   Translational                    Clinical
                papers (> 96 percent) are assigned                           1995                          2005                          2009

                at least one of the MeSH terms and         Credit: Hutchins Bl, Davis MT, Meseroll RA, Santangelo GM. Predicting translational progress
                can be plotted somewhere on “the           in biomedical research. PLOS Biol 2019;17(10):e3000416. https://dol.org/10.1371/journal.
                triangle of biomedicine.” The graph        pbio.3000416.
                pictured depicts the accumulation of
                fundamental, translational, and clinical research that led to cancer immunotherapy drugs like Opdivo (nivolumab). This
                visualization was generated using the iCite web tool developed by NIH.




      22     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                                 APHA App. 265
Case: 25-1611           Document: 00118310432                                       Page: 269         Date Filed: 07/08/2025                 Entry ID: 6734280

                     Case 1:25-cv-10787-BEM
                     Case 1:25-cv-10787-BEM                                      Document 38-22
                                                                                 Document 38-22       Filed 04/25/25
                                                                                                      Filed 04/25/25         Page 40
                                                                                                                             Page 40 of
                                                                                                                                     of 82
                                                                                                                                        82
                                                                                                                                                     prsiey
                                                                                                                                                     Ls
       effectiveness. Under HHS’s guidance, NIH will                                     health and society. Additionally, NIH ICs and OD offic-
       engage in capacity- and evidence-building activities                              es develop and disseminate a range of publicfriendly
       to support the Department’s implementation of the                                 health- and disease-specific educational materials
       Foundations for Evidence-Based Policymaking Act of                                on a host of topics. NIH provides evidence-based
       20181 and further develop its data-driven, results-                               and authoritative biomedical information in highly
       oriented culture.                                                                 expeditious and proactive ways. This vital function is
                                                                                         especially important during public health emergen-
       Communicating Results                                                             cies, such as infectious disease or foodborne illness
       NIH fosters scientific stewardship by ensuring that                               outbreaks.
       the products and processes of scientific research,                                Research results are also communicated through
       such as research data and scientific publications, are                            such NIH resources as PubMed and ClinicalTrials.
       available in accord with the FAIR principles that all                             gov. In 2020, NIH launched the new       PubMed, '?°-127
       research data should be findable, accessible, interop-                            the most heavily used biomedical literature citation
       erable, and reusable (Figure 21). NIH communicates                                database in the world, which enables the commu-
       research findings to the public in numerous ways,                                 nication and discovery of scientific literature around
       including through press releases on recent scientific                             the world. NIH’s PubMed Central (PMC)'?® provides
       advances on the NIH News & Events'?° website,                                     public access to the full text of more than 6 million
       the NIH Director’s Blog,'** and the Impact of NIH                                 peer-reviewed research articles (Figure 22). PMC
       Research pages,' which have examples illustrating                                 facilitates linking between articles and associated
       the downstream impact of NIH research on public                                   data; supports discovery of these data by aggregat-
                                                                                         ing data citations, data availability statements, and
          Figure 21. FAIR Principles                                                     supplementary materials; and contains a subset of
          NIH is working to align the research that it supports
                                                                                         about 3 million articles available for bulk retrieval for
          with the FAIR principles (findable, accessible, reus-                          text mining and other research purposes.
          able, interoperable) to ensure that the results of NIH
          investments can be leveraged by the entire research                            Reports from clinical studies are made available
          enterprise. NIH organizes its data science efforts                             through ClinicalTrials.gov, the largest public clinical
          around five themes: advancing data infrastructure to                           research registry and results database in the world.
          increase connectivity across systems and platforms;
          defining strategies to help researchers better store
                                                                                         This NIH resource provides patients and their
          and share their data; adopting and adapting data                               caregivers, health care providers, and researchers
          science tools to enhance research; engaging with                               with information on more than 330,000 active and
          stakeholder communities and enabling citizen                                   complete registered studies, including studies with
          scientists to support the biomedical data enterprise;
          and increasing the capacity of computational and                               summary results, many of which are not otherwise
          data science workers in biomedical research through                            available through published literature. A multiyear
          new and existing workforce programs.                                           effort is underway to modernize ClinicalTrials.gov to
                                                                                         deliver an improved user experience on an updated
                                                                                         platform that will accommodate growth and improve
                                                                                         efficiency.
                                                                                         In response to the COVID-19 pandemic, NIH part-
                                             :
                                                 ent   )
                                                           i
                                                                   .
                                                                        :"
                                                                       oo.
                                                                                         nered with researchers and leaders from universities
                                                                                         and industry to rapidly mobilize and create the
                                                           4 kf -ged
                                                                                         COVID-19 Open Research Dataset (CORD-19)'”? of
                                                               ~                         scholarly literature about COVID-19, SARS-CoV-2,
                                                                             4
                                                                                         and other coronaviruses. CORD-19 provides
                                                                                         immediate, machinereadable access to the full text
                                                                                         of pre-print and peer-reviewed articles to assist
                                                                                         researchers worldwide in finding answers to high-
                                                                                         priority scientific questions related to the COVID-19
                                                                                         response. NIH also developed the COVID-19 portfolio
                                                                                         tool’ as a complement to CORD-19. This tool
          Credit: Office of Data Science Strategy, NIH.
                                                                                         provides powerful search functionality and interactive


                                                                                              NIH-Wide Strategic Plan for Fiscal Years 2021-2025     23

                                                                                                                                   APHA App. 266
Case: 25-1611        Document: 00118310432                       Page: 270                      Date Filed: 07/08/2025             Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                     Document 38-22
                                                             Document 38-22                     Filed 04/25/25
                                                                                                Filed 04/25/25           Page 41
                                                                                                                         Page 41 of
                                                                                                                                 of 82
                                                                                                                                    82



                Figure 22. PubMed Central
                As a free archive of full-text biomedical and life sciences journal literature, PubMed Central is an authoritative source
                of scholarly information that ensures the insights gained through biomedical discovery are made openly available to
                research and clinical care communities, as well as to the public at large.



                                                                                   SAC       meee em vr HE
                                                                            Denver see SO pe ha: Sa ETD
                                                                                 29 ad mete? et



                                                                                                              CovID-19
                                                                                                             INTIATIVE
                                                                                                             Signe x00       “a




                              ~     : = =

                       =
                Credit: National Library of Medicine, NIH.




           visualizations to support cutting-edge analytics of                     TRSP studies provide valuable evidence to inform
           the literature to identify gaps and opportunities in                    government-wide policymaking. Research results
           COVID-19-related research. In addition, to assist                       from the Tobacco Centers of Regulatory Science, a
           researchers working on the genomics of the novel                        centerpiece of TRSP, will provide further insight into
           coronavirus, the COVID-19 Genome Sequence                               who is using these products, what health outcomes
           Dataset on Registry of Open Data on Amazon Web                          result from product use, and how to implement
           Services"*'is a centralized sequence repository for                     interventions to target health outcomes."
           strains of SARS-CoV-2.
                                                                                   Another key federal collaboration is the Interagency
                                                                                   Pain Research Coordinating Committee (IPRCC),**>
           Leveraging Partnerships                                                 chaired by NIH with members from several agencies
           Expanding fundamental knowledge of biological                           within HHS, including FDA, Centers for Disease
           systems and applying that knowledge to the                              Control and Prevention (CDC), Agency for Healthcare
           advancement of health requires strategic partnerships                   Research and Quality (AHRQ), Department of Defense
           with a range of organizations, including other federal                  (DoD), and U.S. Department of Veterans Affairs (VA).
           agencies, international governments, the private                        IPRCC coordinates federal activities to enhance
           sector, and the public. These partnerships bring                        pain research efforts and promote collaboration
           enhanced coordination, critical expertise, pooled                       across the government, with the ultimate goals of
           resources, and novel stakeholder connections to                         advancing the fundamental understanding of pain
           augment NIH efforts.                                                    and improving pain-related treatment strategies. NIH
                                                                                   also partners with DoD and VA on the NIH-DoD-VA
           Federal Partnerships                                                    Pain Management Collaboratory, which supports
                                                                                   the development, implementation, and testing of
           NIH values collaboration with its federal partners
                                                                                   cost-effective, large-scale, real-world research on
           and partners extensively with other federal agencies.
           Interagency collaborations address critical public                      nonpharmacologic approaches for pain management
           health needs and facilitate coordination, communica-                    and related conditions in military and veteran health
           tion, and resource-sharing. For instance, the Tobacco                   care delivery organizations.°°
           Regulatory Science Program (TRSP),'** a partnership                     The 27st Century Cures Act established the HHS
           between NIH and FDA, funded research on youth                           Task Force on Research Specific to Pregnant Women
           tobacco use; toxins and nicotine concentration in                       and Lactating Women (PRGLAC) to advise the HHS
           e-cigarettes; and the Population Assessment of                          Secretary regarding gaps in knowledge and research
           Tobacco and Health (PATH) Study, a longitudinal                         on safe and effective therapies for pregnant women
           examination of tobacco product use.'** Data from                        and lactating women (Figure 23).'97 Led by NIH, other


      24     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                             APHA App. 267
Case: 25-1611           Document: 00118310432                       Page: 271            Date Filed: 07/08/2025                    Entry ID: 6734280

                      Case 1:25-cv-10787-BEM
                      Case 1:25-cv-10787-BEM                 Document 38-22
                                                             Document 38-22              Filed 04/25/25
                                                                                         Filed 04/25/25           Page 42
                                                                                                                  Page 42 of
                                                                                                                          of 82
                                                                                                                             82



         Figure 23. Research for Pregnant and                              Public-Private Partnerships
         Lactating Women                                                   Public—private partnerships (PPPs) provide a mech-
         The 21st Century Cures Act established the Task Force             anism to strategically accelerate advances and
         on Research Specific to Pregnant Women and Lactating              accomplish goals that NIH cannot readily achieve by
         ee                            ey eee
         and Human Services regarding gaps in knowledge and
                                                                           acting
                                                                              .
                                                                                  alone.d For example, to hasten. the development
                                                                                                                       ,
         research on safe and effective therapies for pregnant             of interventions for COVID-19, NIH is leading the
         women and lactating women. PRGLAC was tasked with                 Accelerating COVID-19 Therapeutic Interventions and
         identifying these gaps and reporting its findings to the          Vaccines (ACTIV)? PPP (Figure 24). PPP activities
         Secretary.
                                                                           focus on the shared goals and mandates of the
                                                                           partners and leverage knowledge, skills, resources,
                                                                           and services to achieve synergy. For example, NIH—
                                                                           together with FDA, biopharmaceutical companies, and
                                                                           nonprofit organizations—launched the Accelerating
                                                                           Medicines Partnership (AMP).**° The goal of AMP is to
                                                                           increase the number of new diagnostics and therapies
                                                                           and reduce the time and cost of developing them.
                                                                           Four AMP initiatives are underway: AMPAlzheimer’s
                                                                           Disease (AMP-AD), AMP-Parkinson’s Disease (AMP-
                                                                           PD), AMP-Rheumatoid Arthritis/Lupus (AMP-RA/
         Credit: NICHD, NIH.                                               Lupus), and AMP-type 2 diabetes (AMP-T2D). After
                                                                           successfully meeting program milestones, AMP-AD
                                                                           and AMP-T2D are finalizing research plans for the next
       federal members include CDC, FDA, AHRQ, Health                      phase of the program. New AMP initiatives have been
       Resources and Services Administration (HRSA), VA,                   launched for schizophrenia’ and are in development
       and HHS Office on Women’s Health. Non-federal                       for gene therapy.
       members include representatives from medical soci-                  To capitalize on dramatic advances in genetics, NIH
       eties, nonprofit organizations, and industry. More than             ang the Bill and Melinda Gates Foundation have
       6 million women are pregnantin the U.S. each year,                  expanded their cooperation toward an audacious
       many taking medications or dietary supplements.                     goal: to develop affordable, gene-based cures for
       PRGLAC identified the lack of scientific evidence on                SCD and HIV within a decade. The intention is for
       the safety and efficacy of these compounds during                   these cures to be made globally available, especially
       pregnancy or breastfeeding as a substantial knowl-                  in lowresource settings where people are most
       edge gap in maternal health.                                        affected by these conditions.

         Figure 24. ACTIV: An Unprecedented Partnership for Unprecedented Times
         In April 2020, NIH launched the Accelerating COVID-19
         Therapeutic Interventions and Vaccines (ACTIV) public—
         private partnership to develop a coordinated research
         strategy for prioritizing and speeding the clinical evaluation
         of the most promising vaccines for severe acute respiratory
         syndrome coronavirus 2 (SARS-CoV-2) and treatments for
         coronavirus disease 2019 (COVID-19). Through ACTIV, NIH
         has partnered with more than 15 biopharmaceutical com-
         panies, as well as its sibling agencies and offices within
         the U.S. Department of Health and Human Services, other
         government agencies, the European Medicines Agency,
         and representatives from academia and philanthropic
         organizations. Through the ACTIV partnership, NIH is
                                                                              Credit: NIH.
         pursuing four fast-track focus areas most ripe for oppor-
         tunity: (1) developing a collaborative, streamlined forum to standardize and share evaluation methods and testing of
         preclinical therapeutics and vaccines; (2) prioritizing and accelerating clinical testing of the most promising treatments
         for all stages of the disease; (3) leveraging clinical trial capacity and effectiveness; and (4) accelerating the evaluation
         of vaccine candidates to enable rapid authorization or approval.



                                                                                 NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                         APHA App. 268
Case: 25-1611      Document: 00118310432                   Page: 272        Date Filed: 07/08/2025                Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM                Document 38-22
                                                      Document 38-22        Filed 04/25/25
                                                                            Filed 04/25/25         Page 43
                                                                                                   Page 43 of
                                                                                                           of 82
                                                                                                              82
      283
     WA
            The NIH Science and Technology Research                   and the African Academy of Sciences and seeks
            Infrastructure for Discovery, Experimentation, and        to build African research capacity in the genomic
            Sustainability (STRIDES) Initiative'*!— one of many       sciences and contribute to improving understanding
            NIH-wide efforts underway to implement the NIH            of health and disease in underrepresented and
            Strategic Plan for Data Science—provides NIH and          underserved populations.
            its funded researchers with cost-effective access
                                                                      NIH participates in the Global Alliance for Chronic
            to state-of-the-art cloud-based data storage and
                                                                      Diseases (GACD),'“° a consortium of the world’s
            computational capabilities, tools, and expertise.
                                                                      largest public research funding agencies. GACD’s
            Through STRIDES, NIH has established PPPs with
                                                                      mission is to reduce the burden of chronic
            commercial providers, such as Amazon Web Services
                                                                      noncommunicable diseases (NCDs) in low- and
            and Google Cloud. NIH anticipates forming additional
                                                                      middle-income countries and in populations facing
            industry partnerships through STRIDES to broaden
                                                                      conditions of vulnerability in high-income countries,
            access to services and tools, including training and
                                                                      by building evidence to inform national and
            professional services for researchers on how to
                                                                      international NCD policies. NIH funds GACD research
            use the latest cloud tools and technologies. These
                                                                      in the areas of cancer prevention, mental health, lung
            partnerships will allow academic researchers and
                                                                      disease, type 2 diabetes, hypertension, and scaling-
            industry to come together to create a data ecosystem
                                                                      up evidence-based interventions.
            that maximizes the use of NIH-supported biomedical
            and behavioral research data for the greatest benefit     In addition to working with international partners on
            to human health.                                          disease, NIH also supports other types of interna-
                                                                      tional health initiatives. For example, the NIH Disaster
            During the next 5 years, NIH will continue to expand
                                                                      Research Response (DR2) Program, which supports
            partnership opportunities focused on increasing diag-
                                                                      research to inform disaster and public health emer-
            nostics and therapies for particular conditions, curing
                                                                      gency preparedness, response, and recovery, serves
            intractable diseases, and making the vast amount of
                                                                      as a compelling model for addressing crises. DR2
            data generated by biomedical research accessible to
                                                                      has partnered with Japan’s National Institute for
            as many researchers as possible.
                                                                      Environmental Studies and Health Canada to begin
            International Partnerships                                developing similar programs in those countries.'4’
                                                                      Early outcomes include translation of data collection
            As the world grows increasingly connected, NIH            tools to Japanese, using DR2 tools in response to
            remains committed to developing and sustaining            Typhoon Hagibis, collaboration on DR2 workshops
            relationships with partners around the globe. Recent      and training exercises, and international outreach.
            events, including the COVID-19 pandemic, have
            illuminated the importance of a coordinated approach      Public Engagement
            to global health aligned with humanitarian and scien-
                                                                      Public engagement is vital to NIH research. Patients,
            tific values. Geographic boundaries do not prevent
                                                                      research participants, disease advocacy organi-
            infectious disease spread, nor should they prevent
                                                                      zations, and local, state, and cultural communities
            the advancement of research on such diseases. For
                                                                      have a leading role to play in the research enterprise.
            this reason, NIH collaborates internationally with
                                                                      During study design, these groups can highlight
            foreign governments and organizations.
                                                                      important knowledge gaps impeding community-level
            In collaboration with the Office of the U.S. Global       programs, policies, and practices. During data
            AIDS Coordinator and Health Diplomacy, NIH sup-           collection and analysis, they advise researchers on
            ports the African Forum for Research and Education        the challenges of applying new knowledge in different
            in Health (AFREhealth)'4?45 Program and the Health-       local and cultural contexts.
            professional Education Partnership Initiative,‘“4 both
                                                                      As part of its commitment to public engagement, NIH
            of which are designed to enhance the quality, quan-
                                                                      will continue providing underrepresented groups with
            tity, retention, research engagement, and networking
                                                                      equal access to research in an ethical and respon-
            of an interprofessional health workforce across Africa.
                                                                      sible manner that protects privacy and respects
            NIH also supports the Human Heredity and Health
                                                                      cultural sensitivities. NIH facilitated a data sharing
            in Africa Consortium (H3Africa) via the NIH Common
                                                                      and use agreement between the Navajo Nation
            Fund.'* This partnership includes the Wellcome Trust



       26     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                         APHA App. 269
Case: 25-1611        Document: 00118310432                 Page: 273        Date Filed: 07/08/2025                Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM             Document 38-22
                                                     Document 38-22         Filed 04/25/25
                                                                            Filed 04/25/25         Page 44
                                                                                                   Page 44 of
                                                                                                           of 82
                                                                                                              82


       and NIH grantees of the ECHO Program."* The              validates the original result and indicates readiness to
       agreement was created to advance the Navajo Birth        progress to the next phase.
       Cohort Study while respecting Navajo Nation cultural
       beliefs, Tribal sovereignty, and community values.‘49    NIH has collaborated with scientific journal publishers
       It is the first Tribal data-sharing agreement for a      to identify shared opportunities to enhance transpar-
       large-scale database as part of a nationwide research    ency, rigor, and reproducibility in published literature.
       consortium. This achievement lays the groundwork         NIH has also convened working groups and work-
       for discussion of similar agreements with other Tribal   shops focused on rigor, developed training modules
       Nations considering participation in biomedical and      for the research community on good experimental
       behavioral research programs.                            design, enhanced requirements for the content and
                                                                review of grant applications, and developed specific
       Public engagement is also key to NIH’s maternal
                                                                funding opportunities aimed at improving rigor and
       health efforts. The NIH Task Force on Maternal
                                                                reproducibility. Moving forward, NIH will continue
       Mortality developed Implementing a Maternal health
                                                                working closely with researchers, publishers, and
       and PRegnancy Outcomes Vision for Everyone
                                                                federal partners to develop and share recommenda-
       (IMPROVE), an NIH-wide research initiative. IMPROVE
                                                                tions and best practices. Along these lines, NIH has
       was informed by input from a variety of sources,         convened a working group of the Advisory Committee
       including the public and NIH-convened meetings for
                                                                to the Director to explore ways to enhance reproduc-
       scientists and clinicians to solicit recommendations
                                                                ibility and rigor in laboratory animal research.15°
       on health disparities underlying maternal mortality,
       as well as gaps and opportunities for future research.   Improving Stewardship of Clinical Trials
       IMPROVE will focus on women beginning in pregnan-
                                                                NIH invests more than $3 billion each year in clinical
       cy and continuing up to 1 year postpartum and will
                                                                trials. NIH must ensure these trials investigate
       include community-focused social and biobehavioral
                                                                high-priority questions, do not needlessly duplicate
       research, as well as research to accelerate discovery
                                                                previous trials, recruit and maintain sufficient par-
       and advance technologies to reduce maternal health
                                                                ticipants, are completed in a timely manner, and are
       risks.
                                                                likely to advance knowledge and improve health.
                                                                NIH has launched a series of efforts to enhance
       Ensuring Accountability and                              accountability and transparency in clinical research,'*"
       Confidence in Biomedical and                             as well as address challenges and shortcomings in
                                                                the design, efficiency, and timeliness of reporting
       Behavioral Sciences                                      clinical trial results. These efforts included dedicated
       To foster confidence in NIH-funded research and          funding opportunities, Good Clinical Practice training,
       results, NIH must ensure that both its operations        a single Institutional Review Board for multisite
       and its supported research are conducted efficiently,    research policy, and an optional template that guides
       responsibly, ethically, and with integrity. NIH is       investigators through the systematic development
       committed to taking steps to maintain and strengthen     of a comprehensive clinical protocol and required
       the processes by which it governs the conduct of         registration and reporting of clinical trial results. In
       science, continuing to be accountable for the public     addition, by ensuring that summaries of results of
       funds it invests in research.                            NIH-supported clinical trials are widely and freely
                                                                available, ClinicalTrials.gov promotes transparency
       Enhancing Reproducibility Through                        and helps ensure that research findings are contribut-
       Rigorous and Transparent Research                        ing to the advancement of public health.
       Two cornerstones of scientific research are rigor in
       the design and conduct of experiments and the ability
                                                                Assuring Ethical and Equitable Conduct of
       to reproduce research findings. The application of       Research Through Inclusion
       scientific rigor ensures robust and unbiased experi-     More women and underrepresented and underserved
       mental design, methodology, analysis, interpretation,    groups are participating in clinical research than
       and reporting of results. When a result can be repro-    ever before, in large part thanks to NIH policy. NIH’s
       duced by multiple scientists working independently, it   goal is to ensure that these trends continue so that




                                                                     NIH-Wide Strategic Plan for Fiscal Years 2021-2025     2/

                                                                                                         APHA App. 270
Case: 25-1611        Document: 00118310432                   Page: 274       Date Filed: 07/08/2025               Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM                 Document 38-22
                                                        Document 38-22       Filed 04/25/25
                                                                             Filed 04/25/25        Page 45
                                                                                                   Page 45 of
                                                                                                           of 82
                                                                                                              82


           the knowledge gained from research is applicable            Maintaining Transparency Through Data
           to everyone affected by the disease or condition            Access and Sharing
           under study (Figure 25). To this end, NIH has taken
           critical steps to ensure the scientifically appropriate     NIH is committed to making findings from the
           enrollment of women and underrepresented and                research that it funds accessible and available in a
           underserved groups in clinical research and is              timely manner, while also providing safeguards for
           engaged in efforts to increase inclusion of children,       privacy, intellectual property, security, and data man-
           older adults, pregnant and lactating women, and             agement. For instance, NIH-funded investigators are
           individuals with disabilities as appropriate. NIH           expected to make the results and accomplishments
           requires researchers who propose research involving         of their activities freely available within 12 months
           human subjects to include plans for how participants        of publication. NIH also encourages investigators to
           from these groups will be enrolled, unless there is a       share results prior to peer review, such as through
           scientific or ethical justification for their exclusion.    preprints, to speed the dissemination of their findings
           Once a grant is awarded, researchers must annually          and enhance the rigor of their work through informal
           report deidentified individual-level demographic data       peer review.
           so that NIH can continue to monitor inclusion.              A robust culture of data sharing is critical to contin-
                                                                       ued progress in science, maximizing NIH’s investment
                                                                       in research, and assurance of the highest levels of
           Figure 25. Clinical Center Research                         transparency and rigor. To this end, NIH will continue
           An NIH researcher examines a pediatric patient in the NIH   to promote opportunities for data management and
           Clinical Center.
                                                                       sharing while allowing flexibility for various data
                                                                       types, sharing platforms, and strategies. Additionally,
                                                                       NIH is implementing a policy requiring that all appli-
                                                                       cations include data sharing and management plans
                                                                       that consider input from stakeholders.    '*2"°¢

                                                                       Fostering a Safe and Harassment-Free
                                                                       Work Environment
                                                                       NIH has an imperative to transform the culture of
                                                                       science to prevent harassment (sexual, gender, and
                                                                       other) and mitigate its detrimental impacts, whether
                                                                       it is in the agency or anywhere NIH-funded activities
                                                                       are conducted. In 2019, NIH established the Advisory
                                                                       Committee to the NIH Director Working Group on
           Credit: Richard Clark, NIAMS, NIH.                          Changing the Culture to End Sexual Harassment.'*
                                                                       Following this group’s recommendations, NIH is
                                                                       taking actions within the agency’s authority to change
                                                                       the scientific workplace to make it safer and more
           NIH will continue its focus on challenges to recruiting
                                                                       welcoming (Figure 26). NIH issued several new pol-
           and retaining underrepresented populations in clinical
                                                                       icies, guidelines, and requirements on this topic and
           studies and will add data on the age at enrollment of
                                                                       communicated them widely to make expectations
           participants to the Research, Condition, and Disease
                                                                       clear to NIH-funded organizations and the workforce
           Classification (RCDC) Inclusion Statistics Report,
                                                                       at NIH.
           which allows users to view trends over time. In
           addition, NIH will train researchers to include women,      NIH expects recipients of federal funds to have
           underrepresented and underserved populations, and           policies and practices in place that foster a safe and
           individuals of all ages in studies as part of its efforts   harassment-free environment.'°* For instance, NIH
           to increase the diversity of study populations.             must be notified if a principal investigator or other key
                                                                       personnel named on an NIH grant award is unable to




      28      NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                         APHA App. 271
Case: 25-1611            Document: 00118310432                     Page: 275             Date Filed: 07/08/2025               Entry ID: 6734280

                     Case 1:25-cv-10787-BEM
                     Case 1:25-cv-10787-BEM                 Document 38-22
                                                            Document 38-22               Filed 04/25/25
                                                                                         Filed 04/25/25             Page 46
                                                                                                                    Page 46 of
                                                                                                                            of 82
                                                                                                                               82

                                                                                                                                      we
                                                                           concerns about the safety and/or work environment,
         Figure 26. NIH Harassment Does Not Work
                                                                           including issues related to sexual harassment or
         Here Campaign
                                                                           bullying.'°” Internally, NIH has undergone a workplace
         An image stating “Harassment Doesn’t Work Here”
         as part of NIH’s campaign to create a safe and
                                                                           climate and harassment survey to inform policy and
         civil workplace wherever NIH-funded research is                   practice and has expanded its human resources
         conducted.                                                        program to foster civility throughout the NIH commu-
                                                                           nity.
                                                                               "56

                                                                           NIH’s efforts have led to increased scrutiny and
                                                                           awareness of harassment, centralized mechanisms
                          HARASSMENT                                       for reporting harassment, and new anti-harassment

                            UY
                                                                           policies. NIH will continue working with its partners
                                                                           and exploring policymaking options based on recom-

                           WORK HERE                                       mendations from the Advisory Committee to the NIH
                                                                           Director and findings from internal studies to change
                                                                           the scientific culture, prevent sexual harassment, and
                                                                           promote a civil, safe, and respectful workplace for
                                                                           everyone.

                                                                           Managing Risks to the Research Enterprise
                                                                           NIH is committed to proactively managing risks
                                                                           that may impede the NIH mission. Such risks have
                                                                           the potential to affect patient and laboratory safety,
                                                                           the peer review process, laboratory animal welfare,
         Credit: NIH Civil Program.                                        conflict of interest disclosures, closeout of grant
                                                                           awards, data security, and more. Understanding the
                                                                           need to identify and manage risks, NIH incorporated
       fulfill their obligations to conduct research because               Enterprise Risk Management (ERM) capabilities into
       they are under investigation or have been removed                   its strategic planning, performance management, and
       from the workplace because of sexual harassment                     resource allocations (see Figure 27). Going forward,
       concerns. NIH expects recipients requesting changes                 NIH is better prepared to respond to emerging risks
       in investigator, key personnel, or recipient institution            that may undermine its research activities and are
       to mention whether these requests are related to                    inconsistent with its research values and principles.


         Figure 27. Managing          Risks to the Research Enterprise
         The NIH Risk Management Program provides NIH with a
         framework for systematically identifying and addressing
         risks that might adversely affect NIH’s ability to fulfill its
         mission. Risk management is a continuous process that
         requires all NIH staff and researchers to proactively identify
         and mitigate risk as part of their daily jobs. Understanding
         the need to identify and manage risk, NIH has incorporated
         Enterprise Risk Management (ERM) capabilities into
         its strategic planning, performance management, and
         resource allocations. ERM is a strategic discipline that
         seeks to deliberately and proactively understand the full
         spectrum of risks, including opportunities across an entire
         organization, and integrates them into an enterprise-wide,
         strategically aligned, and interrelated risk portfolio view. By
         incorporating ERM, NIH can proactively address emerging
         threats and opportunities and deliver results to the public in      Credit: NIH Risk Management Program.
         a transparent and accountable manner, all in an effort to
         further support NIH’s mission.




                                                                                 NIH-Wide Strategic Plan for Fiscal Years 2021-2025   29

                                                                                                                        APHA App. 272
Case: 25-1611     Document: 00118310432                    Page: 276        Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM                Document 38-22
                                                      Document 38-22        Filed 04/25/25
                                                                            Filed 04/25/25        Page 47
                                                                                                  Page 47 of
                                                                                                          of 82
                                                                                                             82


           As a part of its commitment to a culture of health and     Reducing Administrative Costs and Work
           safety for people conducting NIH-funded research,          Throughout the Grants Process
           and to mitigating the effects of emergencies on the
           research enterprise, the NIH Extramural Response           Reducing administrative burden increases the amount
           to Natural Disasters and Other Emergencies policy          of time that investigators can spend on research
           allows NIH to provide resources and assistance to          and that administrators can spend supporting the
           those in the NIH community affected by public health       research enterprise. NIH works to streamline grants
           emergencies.'®? Under such circumstances, NIH              policies and processes to reduce administrative
           will provide administrative flexibilities and additional   work and costs. Recent changes include automating
           funding using a number of mechanisms to support            the issuance of certificates of confidentiality that
           the continuation of research, as demonstrated during
                                                                      protect participants in NIH-funded research, creating
           the COVID-19 pandemic.                                     the Application Submission System & Interface
                                                                      for Submission Tracking (ASSIST) as an option for
           NIH and the research community have a vested               preparing and submitting applications, developing
           interest in mitigating any breaches of trust and           a tool that reduces the need to develop clinical trial
           confidentiality that undermine the integrity of U.S.       protocol text de novo, simplifying the appendix and
           biomedical research, while continuing the tradition        other material in grant applications to help during the
           of scientific collaboration, including international       review process, and reducing the need for multiple
           collaboration. NIH recognizes the importance of these      biographic profiles across different systems to help
           collaborations to advancing its mission. However,          people find information and simplify reporting and
           some researchers at NIH-funded institutions have           analysis.’ NIH will continue to work with stake-
           taken advantage of these collaborations through fail-      holders to further streamline the grant application
           ing to disclose contributions of resources from foreign    process, while promoting rigor and fostering compli-
           organizations, diverting proprietary information to        ance.
           foreign governments, and sharing confidential infor-
           mation obtained from NIH peer review meetings or
           otherwise trying to influence the peer review process.
                                                                      Optimizing Operations
                                                                      NIH seeks to continually optimize operations across
           NIH works with other federal agencies to take strong       an array of business, administrative, and scientific
           actions in response to these breaches of integrity         functions, as well as to improve its physical and
           which appear to be, at least partly, instigated by         technological infrastructures. Increasing coordination
           foreign governments.'*' NIH has increased the              and engagement throughout the agency and manag-
           visibility of this issue and reminds grant recipients to   ing risk while fostering innovation are critical to the
           be transparent and disclose all affiliations, financial    stewardship of the nation’s biomedical and behavioral
           conflicts of interest, and other support (including from   research ecosystem. Over the next 5 years, NIH will
           foreign entities) and contacts recipient institutions      implement strategies to excel as a federal science
           about any concerns.'® NIH has also bolstered its           agency dedicated to protecting and improving public
           internal processes and systems and increased               health.
           awareness among its own staff.
                                                                      NIH will continue implementing its Optimize NIH
           Looking to the future, NIH will continue careful           efforts, which were established as part of the
           monitoring and extensive outreach with academia,           Reimagine HHS effort to improve performance across
           professional societies, and federal partners to            the Department’s divisions. Through the Optimize NIH
           reinforce the importance of research security and          initiative, the agency is focusing on administrative
           integrity, as well as to hold people and institutions      areas that could be made more efficient and effective
           accountable for inappropriate actions.'® NIH will          if managed centrally, or better harmonized across
           continue to work closely with federal partners to          ICs and OD offices. Using a combination of process
           protect the safety, integrity, and inclusivity of U.S.     mapping, surveys, and focus groups, the agency will
           research and looks forward to continuing to work with      carefully evaluate which approach or combination of
           institutions and researchers to strengthen values that     approaches would yield the greatest improvements
           underpin research integrity and protect the nation’s       in each area. NIH’s optimization efforts are guided in
           biomedical innovations.'*                                  a data-driven and scientific manner, using teams led




      30     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                        APHA App. 273
Case: 25-1611        Document: 00118310432                             Page: 277            Date Filed: 07/08/2025                              Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                      Document 38-22
                                                              Document 38-22                Filed 04/25/25
                                                                                            Filed 04/25/25                   Page 48
                                                                                                                             Page 48 of
                                                                                                                                     of 82
                                                                                                                                        82
                                                                                                                                                       puis
                                                                                                                                                      ws
       by NIH experts in administrative operations with full               Meeting the goal of increased efficiency and effec-
       engagement by employees.                                            tiveness of operations across the agency requires
                                                                           the systematic assessment and management of
       Examples of functional areas that have already seen
                                                                           risk in NIH’s administrative and scientific programs,
       substantial improvement through Optimize NIH
                                                                           processes, and procedures. NIH is committed
       include management of federal advisory committees,
                                                                           to integrating an ERM framework into its organi-
       employee ethics requirements, and Freedom of
                                                                           zational culture to help prevent surprises, avoid
       Information Act (FOIA) requests. NIH has adopted
                                                                           operational failures, and allow quicker recovery
       a unified system to standardize and streamline
                                                                           when the unexpected happens. For example, NIH
       management of FOIA requests across the agency and
                                                                           evaluated the extramural grant program using a
       has launched a public-facing portal, FOlAXpress, to
                                                                           fraud risk framework to identify vulnerabilities and
       improve the FOIA requestor experience. The launch
                                                                           develop mitigation strategies, including a staff fraud
       of this portal increased information request process-
                                                                           awareness and training program, to reduce the risk
       ing speed by 83 percent, decreased the backlog by
       11 percent, and offered solutions that can be lever-
       aged across HHS. The lessons learned through the                      Figure 28. NIH Campuses
       optimization of initial functional areas will inform NIH’s            Aerial views and photos of various building on NIH
       approach to other business practice enhancements,                     campuses showing a portfolio of biomedical research,
       such as information technology security, acquisitions,                eaohpoaaareas and Seg                 ee                ae sear
            .                           .       soe           oe              les.   From   leit to right   ana   top   to     om:    Hesearc
       appointment of employees via a specialized hiring                     Tisngle Park,          Noch Caroline. Phosrix Epidemiology
       mechanism, travel management, and property                            and Clinical Research Branch, Phoenix, Arizona;
       management.                                                           Rocky Mountain Laboratories, Hamilton, Montana;
           a            :           :                     :                  NIH Main Campus, Bethesda, Maryland; Pregnancy
       Optimize NIH will also continue to establish best                     and Perinatology Branch, Detroit, Michigan; National
       practices for evaluating employee workload to                         Cancer Institute at Shady Grove, Rockville, Maryland;
       .                                              -            a         NIH Animal Center, Poolesville, Maryland; Bayview
       ee       a eee poke a feelers Workloa
        ecisions, and reduce workload inequities.
                                                  i tes                      Campus,    Baltimore, Maryland; and Frederick National
                                                                             Cabjocatory fac Gancer Becsarch rredeank. Marviand
       harmonization across ICs and OD offices is already
       underway for scientific review, grants management,
       and program management, with additional areas
       identified for future improvement. NIH will also
       continue to harmonize and align each IC’s strategic
       plan with a common template derived from the N/H-
       Wide Strategic Plan. Taken together, Optimize NIH
       projects will improve organizational effectiveness and
       performance and maximize the investment made by
       American taxpayers.
       In alignment with the Reimagine HHS and Optimize
       NIH initiatives and in response to NIH community
       feedback, the NIH OD launched the OD Strategic
       Engagement Agenda to foster a unified and
       coordinated OD, which engages seamlessly with
       the ICs to advance the mission of the agency. This
       data- and participant-driven initiative will solicit and
       incorporate employee input through listening tours,
       working groups, and an online ideation campaign
       to improve communication and functionality within
       the OD through coordination and engagement
       with the ICs. By working toward these goals and
       improving on the use of OD operating principles of
       transparency, accountability, strategy, coordination,                 Sa            a                Le      oa
       and decisionmaking, NIH will increase the efficiency                  Operations, NIH.
       and effectiveness of collaboration across NIH.



                                                                                 NIH-Wide Strategic Plan for Fiscal Years 2021-2025                   31



                                                                                                                                     APHA App. 274
Case: 25-1611       Document: 00118310432                 Page: 278       Date Filed: 07/08/2025                 Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM              Document 38-22
                                                     Document 38-22       Filed 04/25/25
                                                                          Filed 04/25/25         Page 49
                                                                                                 Page 49 of
                                                                                                         of 82
                                                                                                            82


           of fraud in the NIH extramural program and protect       It is critical that NIH provide, maintain, and operate
           public funds. By conducting risk assessments and         its physical infrastructure—buildings and facilities
           leveraging data collected within the ERM framework,      capable of fulfilling and responding to the complex,
           NIH will improve information sharing and leadership      collaborative, and changing nature of biomedical and
           decisionmaking and will prioritize corrective actions    behavioral science (Figure 28). The conduct of sci-
           for identified risks. Incorporating ERM practices into   entific discovery is enabled through safe and reliable
           daily operations also supports NIH in taking risks       facilities that can be adapted to support research on
           intelligently and prudently to achieve desired mission   existing and emerging public health challenges, such
           outcomes and enhances the agency’s transparency          as Alzheimer’s disease and viral pandemics. NIH will
           and accountability to the public.                        closely link its strategic research goals to the avail-
                                                                    ability, suitability, and capability of existing facilities
           Underpinning NIH efforts to optimize its administra-
                                                                    and will plan, program, and budget for redeveloped
           tive and scientific operations are efforts to advance
                                                                    and new facilities using planning and space utilization
           the agency’s physical and technological infrastruc-
                                                                    principles consistent with recognized business
           tures. For example, many of the agency’s research
                                                                    practices and the National Academies of Sciences,
           and supporting facilities were constructed more than
                                                                    Engineering, and Medicine recommendations.'® This
           50 years ago and require significant operating and
                                                                    integration of strategic research and infrastructure
           maintenance costs, repairs, and upgrades to remain
                                                                    planning will enhance the oversight, prioritization, and
           competitive in a global research environment. As
                                                                    delivery of facilities to meet the changing scientific
           resources become available, NIH will make strategic
                                                                    needs over time.
           investments in building, expanding, and modernizing
           infrastructure on all its campuses.




           CROSSCUTTING                                                                                            =

           Many scientific challenges and opportunities are         experiencing health disparities should be included
           not unique to any one Objective in this Strategic        in all relevant research, such that there is sufficient
           Plan. To emphasize this, NIH has identified five key     representation of each population to conduct relevant
           Crosscutting Themes that span all aspects of NIH’s       analyses. Inclusivity in research generates more
           Strategy.                                                broadly applicable information and improves scientific
                                                                    understanding of the health and well-being of specific
                               Improving Minority                   population groups.

                               Health and Reducing                  To promote health equity, NIH remains committed to
                                                                    supporting a robust program of research examining
                               Health Disparities                   how biological, behavioral, environmental, socio-
            Minority Health   | Underserved groups—including        cultural, and other factors interact with and shape
                and Health     Black, Latinx, and Indigenous and    individuals’ health trajectories across the lifespan.
                Disparities                                         The science of minority health and health disparities
                               Native American persons, Asian
                               Americans and Pacific Islanders,     is founded on the principle that the social construct
           and other persons of color; members of religious         of individual race and ethnicity and socioeconomic
           minorities; lesbian, gay, bisexual, transgender, and     status influence behavior, biology, and health
           queer (LGBTQ+) persons; persons with disabilities;       outcomes in many defined and undefined ways.
           persons who live in rural areas; or persons otherwise    These individual factors interact with structural social
           adversely affected by persistent poverty or inequali-    determinants that may promote cumulative adversity
           ty—have distinct health needs and often experience       that leads to worsened health outcomes through
           disparities in health outcomes. NIH maintains that       biological mechanisms.
           racial and ethnic minorities, rural residents, people
                                                                    Racism and discrimination are increasingly recog-
           with low incomes, SGM, and other populations
                                                                    nized as contributing to poorer health outcomes for

      32     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                        APHA App. 275
Case: 25-1611        Document: 00118310432                    Page: 279            Date Filed: 07/08/2025                Entry ID: 6734280

                   Case 1:25-cv-10787-BEM
                   Case 1:25-cv-10787-BEM               Document 38-22
                                                        Document 38-22                Filed 04/25/25
                                                                                      Filed 04/25/25     Page 50
                                                                                                         Page 50 of
                                                                                                                 of 82
                                                                                                                    82


       racial and ethnic minorities and other disproportion-       Plan for Women’s Health Research"’’ established
       ately affected populations. There is also a growing         NIH priorities across the research continuum and
       societal recognition that racism and discrimination         emphasized the importance of interdisciplinary
       extend beyond the behavior of individuals and are           partnerships. The NIH policy on Sex as a Biological
       embedded in social, institutional, organizational, and      Variable,'’4 along with the expanded NIH Inclusion
       governmental structures, processes, procedures,             Policy'”® that requires investigators to report Phase
       and practices that limit opportunities and resources        Ill clinical trial results by sex or gender, race, and
       to segments of the population.'*” NIH understands           ethnicity to ClinicalTrials.
                                                                                           gov, '”° will build foundational
       that health research needs to routinely incorporate         knowledge, accelerate translational research, and
       constructs and measurement of structural racism or          ultimately enable women to receive evidence-based
       discrimination across multiple domains and levels of        interventions specific to their needs.
       influence if minority health is to be optimized, health
                                                                   Promoting the recruitment, retention, and advance-
       equity achieved, and health disparities eliminated.’™
                                                                   ment of women scientists will also have a significant
       Understanding why underrepresented groups                   influence on workforce development, as well as
       experience specific health outcomes is at the core          provide opportunities for individual scientists to
       of minority health science. It is essential to identify     achieve their full potential, thereby improving research
       contributing factors to minority health conditions          on the health of women.
       independent of whether a health disparity exists or
       is identified. Minority health research is the scientific     _~. [ ~~             Addressing Public
       investigation of distinctive health characteristics and     “

       attributes of minority racial and/or ethnic groups that     | a7       |           Health Challenges
       are usually underrepresented in biomedical research            —o— |               Across the Lifespan
       to understand health outcomes in these populations
                                                                       Public Health       NIH supports biomedical and
       and develop interventions to reduce disparities in
       health outcomes       The NIH Minority Health and Health
                                                                   Challenges Across       behavioral research applicable to
                                                                       the Lifespan
                                                                                          the full spectrum of public health
       Disparities Strategic Plan'® sets the direction and
                                                                                          challenges and needs, such as
       goals for NIH research in this area. Several NIH ICs
                                                                   acute and chronic diseases, persistent and emerging
       and OD offices have core missions to address the
                                                                   infectious diseases, cancers, substance use dis-
       health of underserved and underrepresented popu-
                                                                   orders, disordered eating, Alzheimer’s disease and
       lations and to ensure they are adequately included in
       all NIH research. In addition, NIH-wide strategic plans     related dementias, the health impacts of environmen-
       identify efforts specific to the needs of underrepre-       tal exposures, and many more.'”” NIH research must
       sented populations to develop synergy and facilitate        address the prevention, treatment, and management
       collaborations across NIH.179171172                         of public health challenges; meet new challenges
                                                                   with fundamental research; and be ready to mobilize
       Promoting the recruitment, retention, and advance-          cutting-edge science in emergent situations.
       ment of scientists from underserved groups will also
       have a significant influence on workforce develop-          Many public health challenges affect people of
       ment and will provide opportunities for individual          various ages and populations differently. To promote
       scientists to achieve their full potential, thereby         health across the lifespan, NIH efforts include target-
       improving research on minority health and reducing          ed studies of specific age groups; studies of diseases
       health disparities.                                         that are unique to, or more common         in, certain age
                                                                   groups; longitudinal cohort studies that follow the
              “~__           Enhancing Women’s                     health outcomes of groups of individuals over long
                             Health                                periods of time (including across generations); and
                                                                   studies that examine how early exposures, adversity,
                       Women’s health is a wide-                   and positive experiences affect later health outcomes.
                       ranging topic that goes beyond              The critical issue of maternal mortality and mor-
        Women’s Health reproductive health to address              bidity in the U.S. is one example of a public health
                       a broader spectrum of diseases              challenge that requires multifaceted approaches at
                       and conditions experienced by               different points in the lifespan. Risks include not only
       women throughout their lifespan. To advance science         complications at the time of pregnancy, birth, and
       for the health of women, the Trans-NIH Strategic


                                                                           NIH-Wide Strategic Plan for Fiscal Years 2021-2025   33

                                                                                                                APHA App. 276
Case: 25-1611      Document: 00118310432                  Page: 280          Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM               Document 38-22
                                                     Document 38-22          Filed 04/25/25
                                                                             Filed 04/25/25        Page 51
                                                                                                   Page 51 of
                                                                                                           of 82
                                                                                                              82


           postpartum, but also cumulative and intergenerational       strategic partnerships across HHS to strengthen the
           impacts and exposures.                                      public health ecosystem. For example, NIH plays a
                                                                       key role in the Department-wide implementation and
           In addition to these programmatic approaches, NIH           dissemination of the HHS Secretary’s evidence-based
           policies set the expectation that all supported studies     initiative to combat opioid use disorder.
           will be designed to include children and older adults
           unless there is a scientific or ethical reason to exclude                      Leveraging Data
           them. This policy ensures that the scientific findings
                                                                            m)            Science for Biomedical
           for a given disease or condition are applicable to all              sits
                                                                             o1oreote
                                                                             O10100—7

           those affected.'7                                                 Ls           Discovery
                                                                                          An immense amount of data is
                              Promoting Collaborative                    Data Science     generated throughout the research
                              Science                                                     enterprise, from fundamental
                                                                                          experiments using cells and model
                             Complex public health challenges
                                                                       organisms to human clinical studies and communi-
                             and scientific questions require
             Collaborative                                             ty-level epidemiological research. The exponential
                             collaborative, team-driven research
                Science                                                growth of data has resulted from the development
                             involving experts working together
                                                                       of advanced biomedical technologies and computa-
                             across multiple scientific fields,
                                                                       tional processing unavailable a decade ago, including
           resulting in innovations that exceed the capacity
                                                                       advanced Al and virtual reality technologies. These
           of a single laboratory or discipline. NIH promotes
                                                                       transformative changes require innovative approach-
           opportunities that bring together scientists and
                                                                       es and business practices to address opportunities
           clinicians and recognizes patients and research
                                                                       and challenges in data science. Storing, managing,
           participants as partners and collaborators to generate
                                                                       standardizing, analyzing, sharing, and disseminating
           outcomes that address the public health challenges
                                                                       vast amounts of data are therefore critical priorities
           that communities face. NIH partners with a wide
                                                                       for NIH.
           array of other federal agencies, and domestic and
           international organizations in the public and private       The NIH Strategic Plan for Data Science'™ provides
           sectors to leverage their respective expertise and          a roadmap for modernizing and integrating the
           translate NIH research findings into new therapies,         NiHfunded biomedical data ecosystem, which com-
           technologies, and evidence-based practices for              prises the universe of data infrastructure, resources,
           improving health. For example, efforts to accelerate        tools, and workforce. Combining existing strengths
           COVID-19 diagnostics, therapeutic interventions, and        with new strategic partnerships, NIH works to ensure
           vaccine development are being conducted alongside           that data resources are guided by the FAIR principles
           sister agencies within HHS and representatives from         (Fiqure 21).18'8 Implementing the NIH Strategic Plan
           academic, nonprofit, and commercial organizations."         for Data Science will enhance the scientific commu-
                                                                       nity’s ability to address new challenges, maximize the
           Scientific progress also benefits from collaboration        value of data generated, and accelerate discoveries
           across NIH ICs and OD offices. These NIH collabora-         that lead to better health outcomes. Woven into this
           tions occur at every level of NIH operation, resulting      plan is NIH’s commitment to rapid, open sharing
           in innovative scientific programs that address a wide       of data and greater harmonization of data science
           range of health conditions. For example, the Pediatric      efforts across research domains, while respecting
           Research Consortium brings together staff from              participant privacy, security of sensitive data, and
           across NIH to discuss issues in pediatric research          Tribal sovereignty with respect to data.
           for a range of health conditions. NIH also cultivates




             NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                         APHA App. 277
Case: 25-1611          Document: 00118310432                        Page: 281            Date Filed: 07/08/2025                     Entry ID: 6734280

                    Case 1:25-cv-10787-BEM
                    Case 1:25-cv-10787-BEM                    Document 38-22
                                                              Document 38-22              Filed 04/25/25
                                                                                          Filed 04/25/25          Page 52
                                                                                                                  Page 52 of
                                                                                                                          of 82
                                                                                                                             82




   | Bold Predictions
       In the previous iteration of the N/H-Wide Strategic                  research fields that might be possible under NIH’s
       Plan, NIH set out 14 ambitious goals, or “Bold                       stewardship. NIH has made significant progress on
       Predictions,” for the next 5 years. These short-term                 all 14 Bold Predictions, with four being fully realized
       predictions were considered aspirational goals                       within the ambitious 5-year timeframe. Despite the
       for biomedical and behavioral research that were                     risks associated with making short-term predictions,
       potentially within reach, but by no means guaran-                    it is important that NIH continue to place high hopes
       teed outcomes. The 14 Bold Predictions were not                      on the ability for NIH-supported research to push
       an exhaustive list of all of the potential avenues of                the boundaries of innovation faster than ever before.
       success for NIH but were designed to illustrate some                 Below are some of the outcomes that NIH will strive
       of the potential achievements in a wide range of                     to deliver over the next 5 years.


         1.    The All of Us Research Program will reach its goal of 1 million diverse participants and will have gathered the
               most diverse collection of data (e.g., deep phenotypic, -omic, EHR, digital health technology) on 1 million or more
               participants of any research resource in the world.
               The regular use of genomic information will have transitioned from boutique to mainstream in all clinical settings,
               making genomic testing as routine as complete blood counts.
               Human studies on type 1 diabetes will assess the long-term survival and function of encapsulated human islets,
               as well as their efficacy in preventing or delaying the onset of complications and increasing overall survival.
               Incorporating novel genomics findings from clinical studies on congenital heart disease will help researchers
               move toward precision therapy and personalized counseling, leading to improved outcomes and longevity for
               affected children and adults.
               The high burden of heart disease in communities of color and rural areas will be reduced, especially for major
               outcomes, such as maternal morbidity and mortality, hypertension, and heart failure.
               A gene therapy for muscular dystrophy will restore the function of the mutated gene and improve patient
               outcomes.
               Gene-based therapies for SCD will be evaluated and refined in large-scale clinical trials, offering a cure to the
               approximately 100,000 people in the U.S. and 20 million globally who suffer severe pain and premature death
               from this condition.
               First-in-human clinical trials will demonstrate the efficacy of iPSC-derived products.
               Engineered biological cells and scaffolds will be successfully used to repair and replace tissue damaged        by
               chronic wounds or such disorders as osteoarthritis.
              . Insight will be gained into the ultimate ability to regenerate human limbs, using emerging technologies to activate
                the body’s own growth pathways and processes.
              . Research on new approaches to cervical cancer screening will lead to the development of self-sampling for
                women, with the potential to substantially reduce the incidence and mortality of this disease.
              . At least one novel, non-hormonal pharmacologic treatment for endometriosis will be identified and moved to
                clinical trials.
              . The number of maternal deaths per year in the U.S. will be significantly decreased, particularly among Black and
                American Indian or Alaska Native women, by implementing results of research studies focusing on links between
                social determinants and biological risk factors.
         14. Following PRGLAC Task Force findings that almost no data exist on medications in pregnant and lactating
               women, label changes will be facilitated by results of clinical trials for at least three therapeutics specific to
               (1) pregnant women and lactating women and (2) children.
         15. NIH-wide research will lead to new implementation strategies for pre-exposure prophylaxis that will significantly
               reduce the number of new HIV infections and to new longacting therapies to improve viral load suppression
               among people with HIV to levels that prevent transmission.




                                                                                  NIH-Wide Strategic Plan for Fiscal Years 2021-2025      35

                                                                                                                         APHA App. 278
Case: 25-1611     Document: 00118310432                       Page: 282             Date Filed: 07/08/2025                 Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM                  Document 38-22
                                                        Document 38-22              Filed 04/25/25
                                                                                    Filed 04/25/25         Page 53
                                                                                                           Page 53 of
                                                                                                                   of 82
                                                                                                                      82


           Bold Predictions (continued)


             16. At least one candidate universal influenza vaccine against groups 1 and 2 with 75 percent efficacy will be
                 submitted to the FDA for consideration.
             17. NIH-supported researchers will develop a universal coronavirus vaccine.
             18. By actively engaging with underserved populations to reduce disparities for COVID-19, researchers will prevent
                 and curb the spread of COVID-19 and save lives.
             19. Al will reveal molecular signatures associated with the return to health after an acute illness (e.g., COVID-19).
            20. Biomarkers will guide the choice of the most effective therapy for each individual rheumatoid arthritis patient.
            21. NIH-supported research will lead to the development of a clinically actionable biomarker for precision psychiatry,
                 using neuroimaging and/or additional physiological and psychological biomarkers.
            22. Comprehensive atlases of cell types in the mouse and human brain will provide a deeper understanding of the
                 circuits underlying behavior and a foundation for understanding the circuits affected in complex human brain
                 disorders, including depression.
            23. Invasive and noninvasive human brain recording and stimulation technologies will enable new paradigms for
                 interventions in movement disorders and neuropsychiatric diseases, as well as the development of brain-
                 machine interfaces for sensory and motor neural prostheses.
            24. Preventive approaches targeting vascular risk factors will reduce the risk for dementia and promote healthy brain
                 aging.
            25 . At least one promising lifestyle intervention to prevent Alzheimer’s disease and related dementias will be rigor-
                 ously demonstrated in the next 5 years.
            26. The role of cellular senescence in aging and disease will be clarified and translated into interventions to improve
                 health.
            27. Infant survival will be optimized by synthesizing milk that captures all of the components and properties of
                 human milk, even individualizing it to the characteristics of the infant’s mother.
            28. NIH research will discover how technology exposure and media use affect developmental trajectories, health and
                 educational outcomes, and parent-child interactions in childhood in the post-COVID-19 era.
            29. NIH research will lead to optimized treatment for infants with Neonatal Opioid Withdrawal Syndrome.
            30. NIH research will identify one promising intervention to mitigate risks of altered brain development trajectories
                 produced by exposure to alcohol and other drugs among adolescents.
            31. Increasing evidence of the effectiveness of nonpharmacologic treatments for pain will transform the way pain is
                 managed and decrease the need for opioids and other medications.
            32. Effective screening based on a person's genetics, environmental exposures, and sociobehavioral factors will
                 significantly decrease the 9 million lives lost each year to global air pollution by identifying those who are most
                 vulnerable for early intervention.
            33. NIH and NASA will spearhead the development of a space-based platform that will monitor species diversity and
                 predict geographic areas of climate concern.
                . The number of NIH R01 awards that support principal investigators from underrepresented racial and ethnic
                  groups will be increased by 50 percent, and the racial funding disparities gap for NIH RO1 grants will be eliminat-
                  ed by fiscal year 2025.
            35. New forms of scientific communications, such as preprints, will accelerate clinical research and shorten the
                 evidence-to-practice cycle.




      36    NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                  APHA App. 279
Case: 25-1611                    Document: 00118310432                     Page: 283               Date Filed: 07/08/2025              Entry ID: 6734280

                              Case 1:25-cv-10787-BEM
                              Case 1:25-cv-10787-BEM                  Document 38-22
                                                                      Document 38-22               Filed 04/25/25
                                                                                                   Filed 04/25/25      Page 54
                                                                                                                       Page 54 of
                                                                                                                               of 82
                                                                                                                                  82




             References
                       https://www.nih.gov/about-nih/what-we-do/mission-goals.
      OMANOOAHRWND =




                       https://www.nih.gov/about-nih/who-we-are/organization.
                       https://www.nih.gov/about-nih/what-we-do/budget.
                       https://report.nih.gov/nihdatabook/category/10.
                       https://grants.nih.gov/grants/peer-review.htm.
                       https://grants.nih.gov/grants/peerreview22713webv2.pdf.
                       https://grants.nih.gov/funding/index.htm.
                       https://irp.nih.gov/about-us/what-is-the-irp.
                       https://irp.nih.gov/nih-clinical-center.
                       https://clinicalcenter.nih.gov/ocmr/research-discoveries.html.
                       Collins FS. NIH Basics. Science, 2012; 337:503. PMID: 22859455.
                       Moses H   3rd, et al. JAMA, 2015; 313(2):174-89. PMID: 25585329.
                       https://www.genome.gov/Funded-Programs-Projects/ENC ODE-Project-ENCyclopedia-Of-DNA-Elements.
                       https://www.genome.gov/Funded-Programs-Projects/ClinGen-Clinical-Genome-Resource.
                       https://www.genome.gov/Funded-Programs-Projects/Human-Genome-Reference-Program#faq.
                       https://commonfund.nih.gov/hmp.
                       Elovitz MA, et al. Nature Communications 2019;10(1):1305. PMID 30899005.
                       Gehrig JL, et al. Science 2019;365(6449):eaau4732. PMID: 31296738.
                       Wilbert SA, et al. Cell Rep. 2020;30:4003-15.e3. PMID: 32209464.
                       https://www.cancer.gov/about-nci/budget/plan/immune-system-and-cancer.
                       Hand TW. et al. Trends Endocrinol Metab 2016;27(12):831-43. PMID: 27623245.
                       https://abcdstudy.org/about/.
                       Paulus MP, et al. Neuroimage 2019;185:140-53. PMID: 30339913.
                       Fine JD et al. JAMA Psychiatry 2019;76(7):762-4. PMID: 30916716.
                       Cheng W, et al. Mol Psychiatry, 2020. PMID: 32015467
                       https://braininitiative.nih.gov.
                       https://braininitiative.nin.gov/brain-programs/cell-census-network-biccn.
                       https://commonfund.nih.gov/singlecell.
                       https://commonfund.nih.gov/hubmap.
                       https://acd.od.nih.gov/documents/presentations/12132019AI.pdf.
                       Peng Y, et al. Ophthalmology 2019;126(4):565-75. PMID: 30471319.
                       Keenan TD, et al. Ophthalmology 2019;126(11):1533-40. PMID: 31358385.
                       https://www. fda.gov/news-events/press-announcements/fda-permits-marketing-artificial-intelligence-based-de-
                       vice-detect-certain-diabetes-related-eye.
                       https://www.healthypeople.gov/2020/topics-objectives/topic/social-determinants-of-health.
                       Walsh JJ, et al. Lancet Child Adolesc Health 2018;2(11):783-91. PMID: 30268792.
                       Trinh MH, et al. JAMA Pediatr 2019;174(1):71-8. PMID: 31764966.
                       https://www.niaid.nih.gov/diseases-conditions/infographic-hiv-vaccine.
                       https://www. niaid.nih.gov/diseases-conditions/coronaviruses-therapeutics-vaccines.
                       https://www.nih.gov/news-events/news-releases/statement-nih-barda-fda-emergency-use-authorization-moder-
                       na-covid-19-vaccine.
                       Regules JA, et al N png! J Med 0" 7; Phan 0          Mp: 25830322.
                              //          int/                                 bol
                       https: WW, wie jou/fl/aboutburdetvindex. nen
                       https://www.niaid.nih.gov/diseases-conditions/universal-influenza-vaccine-research.
                       https://www.niaid.nih.gov/news-events/nih-begins-first-human-trial-universal-influenza-vaccine-candidate.
                       https://www.cdc.gov/nchs/data/nvsr/nvsr69/nvsr69-13-508.pdf.
                       https://www.cdc.gov/nchs/data/hestat/suicide/rates 1999 2017.pdf.
                       Boudreaux ED, et al. Contemp. Clin. Trials 2013;36(1):14-24. PMID: 23707435.
                       https://www.nhibi.nih.gov/science/framingham-heart-study-fhs.
                       https://www.nhibi.nih.gov/science/systolic-blood-pressure-intervention-trial-sprint-study.
                       SPRINT Research Group. N Eng! J Med 2015;373(22):2103-16. PMID: 26551272.
                       Whelton PK, et al. Hypertension 2018;71(6):1269-324. PMID: 29133354.
                       Bress AP, et al. Circulation 2017;135(17):161 7-28. PMID: 28193605.
                       Wang C, et al. Nat Biomed Eng 2018;2(9):687-95. PMID: 30906648.



                                                                                          NIH-Wide Strategic Plan for Fiscal Years 2021-2025   3/

                                                                                                                              APHA App. 280
Case: 25-1611     Document: 00118310432                   Page: 284           Date Filed: 07/08/2025                Entry ID: 6734280

                Case 1:25-cv-10787-BEM               Document 38-22            Filed 04/25/25        Page 55 of 82


           54  https://allofus.nih.gov.
           55  https://grants.nih.gov/grants/guide/pa-files/PAR-17-483.html.
           56  https://orwh.od.nih.gov/sex-gender.
           57  https://www.nih.gov/news-events/nih-research-matters/replacing-function-impaired-cystic-fibrosis-protein.
           58  https://commonfund.nih.gov/hcscollaboratory.
           59  https://pubmed.ncbi.nlm.nih.gov/29860917/.
           60  https://www.cancer.gov/news-events/press-releases/2018/tailorx-breast-cancer-chemotherapy.
           61  https://pubmed.ncbi.nlm.nih.gov/29385370/.
           62  https://www.fda.gov/news-events/press-announcements/fda-approves-first-automated-insulin-delivery-de-
               vice-type-1-diabetes.
           63 https://www.fda.gov/news-events/press-announcements/fda-authorizes-first-interoperable-automated-insulin-dos-
               ing-controller-designed-allow-more-choices.
           64 Bekiari E, et al. BMJ 2018; 361:k1310. PMID: 29669716.
           65 http://www.braininitiative.nih.gov.
           66 https://www.nei.nih.gov/learn-about-eye-health/resources-for-health-educators/eye-health-data-and-statistics/age-re-
               lated-macular-degeneration-amd-data-and-statistics.
           67 Sharma R, et al. Sci Transl Med 2019;11(475):eaat5580. PMID: 30651323.
           68 https://www.nih.gov/news-events/news-releases/nih-launches-first-us-clinical-trial-patient-derived-stem-cell-therapy-
               replace-dying-cells-retina.
           69 https://ncats.nih.gov/tissuechip/about/operations.
           70 https://www.nih.gov/news-events/news-releases/nih-funded-tissue-chips-rocket-international-space-station.
           71 https://www.niaid.nih.gov/clinical-trials/laboratory-infectious-diseases.
           72 Mulangu S, et al. N Engl J Med 2019;381(24):2293-303. PMID: 31774950.
           73 Dahlhamer J, et al. MMWR Morb Mortal Wkly Rep 2018;67(36):1001-6. PMID: 30212442.
           74 https://www.cdc.gov/nchs/products/databriefs/db394.htm.
           75 https://heal.nih.gov/.
           76 https://www.niaid.nih.gov/clinical-trials/pact.
           77 https://fnih.org/what-we-do/programs/partnership-for-accelerating-cancer-therapies.
           78 Kennedy LB, Salama AKS. CA Cancer J Clin 2020;70(2):86-104. PMID: 31944278.
           79 https://www.cdc.gov/ncbddd/sicklecell/data.html.
           80 https://www.nih.gov/news-events/news-releases/nih-researchers-create-new-viral-vector-improved-gene-therapy-
               sickle-cell-disease.
           81 https://scdic.rti.org/.
           82 https://www.nhlbi.nih.gov/science/cure-sickle-cell-initiative.
           83 https://grants.nih.gov/ngri.htm.
           84 https://www.nlm.nih.gov/ep/GrantTrainInstitute.html.
           85 https://orwh.od.nih.gov/career-development-education/building-interdisciplinary-research-careers-wom-
               ens-health-bircwh.
           86 https://www.nigms.nih.gov/training/careerdev/Pages/MOSAIC.aspx.
           87 https://commonfund.nih.gov/diversity.
           88 https://acd.od.nih.gov/documents/presentations/06132019Diversity.pdf.
           89 https://dpcpsi.nih.gov/sites/default/files/CoC_Jan_2020_1115_FIRST_program_concept_clearance.pdf.
           90 https://www.sciencemag.org/news/2020/01/nih-s-new-cluster-hiring-program-aims-help-schools-attract-diverse-fac-
               ulty.
           91 https://diversity.nih.gov/programs-partnerships/dsp.
           92 https://womeninscience.nih.gov/.
           93 https://www.fic.nih.gov/Programs/Pages/infectious-disease.aspx.
           94 https://commonfund.nih.gov/CryoEM.
           95 https://heal.nih.gov/about/public-access-data.
           96 https://dash.nichd.nih.gov/.
           97 https://vizhub.healthdata.org/gbd-compare/.
           98 https://seer.cancer.gov/.
           99 https://www.nimhd.nih.gov/programs/extramural/research-centers/rcmi/index.html.
           100 https://grants.nih.gov/grants/guide/rfa-files/RFA-MD-20-006.html.
           101 https://ncats.nih.gov/ctsa.
           102 https://grants.nih.gov/grants/guide/notice-files/NOT-TR-19-015.html.
           103 https://grants.nih.gov/grants/guide/notice-files/NOT-TR-19-016.html.
           104 https://ncats.nih.gov/ctsa/projects/RuralHealth.
           105 https://echochildren.org/idea-states-pediatric-clinical-trials-network.
           106 https://orip.nih.gov/construction-and-instruments/s10-instrumentation-programs.
           107 https://commonfund.nih.gov/moleculartransducers/overview.
           108 https://motrpac-data.org/.


      38     NIH-Wide Strategic Plan for Fiscal Years 2021–2025



                                                                                                           APHA App. 281
Case: 25-1611        Document: 00118310432                    Page: 285           Date Filed: 07/08/2025                Entry ID: 6734280

                Case 1:25-cv-10787-BEM                 Document 38-22            Filed 04/25/25         Page 56 of 82


     109 https://www.ninr.nih.gov/newsandinformation/pressreleases/press-release-symptom-science-center.
     110 https://www.hhs.gov/about/strategic-plan/index.html.
     111 https://report.nih.gov/reports/strategic-plans.
     112 https://grants.nih.gov/grants/peer-review.htm.
     113 https://public.csr.nih.gov/StudySections/CSREnquire.
     114 https://public.csr.nih.gov/ForReviewers/BecomeAReviewer/ECR.
     115 https://projectreporter.nih.gov/.
     116 https://report.nih.gov/nihdatabook/.
     117 https://report.nih.gov/.
     118 https://icite.od.nih.gov/.
     119 https://federalreporter.nih.gov/.
     120 https://gcn.com/articles/2018/12/03/nsf-blockchain.aspx.
     121 https://smrb.od.nih.gov/documents/reports/VOBR SMRB Report 2014.pdf.
     122 https://www.congress.gov/bill/115th-congress/house-bill/4174.
     123 https://www.nih.gov/news-events/news-releases.
     124 https://directorsblog.nih.gov/.
     125 https://www.nih.gov/about-nih/what-we-do/impact-nih-research/our-stories.
     126 https://pubmed.ncbi.nlm.nih.gov/.
     127 https://www.nlm.nih.gov/news/NLMAnnouncesNewPubMed 202002.html.
     128 https://www.ncbi.nlm.nih.gov/pmc/.
     129 https://www.semanticscholar.org/cord19.
     130 https://icite.od.nih.gov/covid19/search/.
     131 https://registry.opendata.aws/ncbi-covid-19/.
     132 https://prevention.nih.gov/tobacco-regulatory-research.
     133 https://pathstudyinfo.nih.gov/landing.
     134 https://prevention.nih.gov/tobacco-regulatory-research/funded-research/funded-research-tobacco-centers-regulato-
         ry-science.
     135 https://www.iprcc.nih.gov/.
     136 http://painmanagementcollaboratory.org/.
     137 https://www.nichd.nih.gov/about/advisory/PRGLAC.
     138 https://www.nih.gov/research-training/medical-research-initiatives/activ.
     139 https://www.nih.gov/research-training/accelerating-medicines-partnership-amp.
     140 https://www.nih.gov/news-events/news-releases/nih-public-private-partnership-advance-early-interventions-schizo-
         phrenia.
     141 https://cloud.nih.gov/.
     142 https://www.afrehealth.org/.
     143 https://www.fic.nih.gov/Programs/Pages/african-association-health-professions.aspx.
     144 https://www.fic.nih.gov/Programs/Pages/health-professional-education-partnership-initiative-hepi.aspx.
     145 https://h3africa.org/.
     146 https://www.fic.nih.gov/Funding/Pages/collaborations-gacd.aspx.
     147 https://www.niehs.nih.gov/research/programs/disaster/index.cfm.
     148 https://www.nih.gov/news-events/news-releases/nih-facilitates-first-tribal-data-sharing-agreement-navajo-nation.
     149 https://echochildren.org/nih-echo-and-the-navajo-nation-make-history-with-new-data-sharing-and-use-agreement/.
     150 https://www.acd.od.nih.gov/working-groups/eprar.html.
     151 https://grants.nih.gov/policy/clinical-trials.htm.
     152 https://www.nih.gov/about-nih/who-we-are/nih-director/statements/statement-final-nih-policy-data-manage-
         ment-sharing.
     153 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-013.html.
     154 https://www.acd.od.nih.gov/working-groups/sexual-harassment.html.
     155 https://www.nih.gov/anti-sexual-harassment.
     156 https://grants.nih.gov/grants/policy/harassment.htm#:~:text=Anti-Sexual.
     157 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-124.html.
     158 https://diversity.nih.gov/building-evidence/harassment-survey.
     159 https://grants.nih.gov/policy/natural-disasters.htm.
     160 https://grants.nih.gov/policy/natural-disasters/corona-virus.htm.
     161 https://grants.nih.gov/policy/protecting-innovation.htm.
     162 https://nexus.od.nih.gov/all/2019/07/11/clarifying-long-standing-nih-policies-on-disclosing-other-support/.
     163 https://www.nih.gov/about-nih/who-we-are/nih-director/statements/statement-protecting-integrity-us-biomedical-re-
         search.
     164 https://nexus.od.nih.gov/all/2020/07/08/addressing-foreign-interference-and-associated-risks-to-the-integrity-of-bio-
         medical-research-and-how-you-can-help/.




                                                                         NIH-Wide Strategic Plan for Fiscal Years 2021–2025      39

                                                                                                               APHA App. 282
Case: 25-1611     Document: 00118310432                   Page: 286           Date Filed: 07/08/2025                Entry ID: 6734280

                Case 1:25-cv-10787-BEM                Document 38-22           Filed 04/25/25         Page 57 of 82


           165 https://nexus.od.nih.gov/all/2019/08/05/linking-orcid-identifiers-to-era-profiles-to-streamline-application-process-
               es-and-to-enhance-tracking-of-career-outcomes/.
           166 https://www.nap.edu/read/25483/.
           167 https://www.healthypeople.gov/2020/topics-objectives/topic/social-determinants-health/interventions-resources/dis-
               crimination.
           168 https://www.nimhd.nih.gov/about/overview/research-framework.html.
           169 https://www.nimhd.nih.gov/about/overview/strategic-plan.html.
           170 https://www.nimhd.nih.gov/about/overview/strategic-plan.html.
           171 https://dpcpsi.nih.gov/file/sgm-strategic-plan-2021-2025.
           172 https://orwh.od.nih.gov/sites/orwh/files/docs/ORWH_Strategic_Plan_2019_02_21_19_V2_508C.pdf.
           173 https://orwh.od.nih.gov/about/trans-nih-strategic-plan-womens-health-research.
           174 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-15-102.html.
           175 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-18-014.html.
           176 https://clinicaltrials.gov/.
           177 https://report.nih.gov/categorical_spending.aspx.
           178 https://grants.nih.gov/policy/inclusion/lifespan.htm.
           179 https://covid19.nih.gov/nih-strategic-response-covid-19.
           180 https://datascience.nih.gov/strategicplan.
           181 https://www.go-fair.org/fair-principles/.
           182 Wilkinson MD, et al. Sci. Data 2016;3:19. PMID: 26978244.




      40     NIH-Wide Strategic Plan for Fiscal Years 2021–2025



                                                                                                           APHA App. 283
Case: 25-1611    Document: 00118310432      Page: 287     Date Filed: 07/08/2025     Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-22   Filed 04/25/25   Page 58 of 82




                                                                               APHA App. 284
Case: 25-1611     Document: 00118310432                    Page: 288      Date Filed: 07/08/2025                Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM               Document 38-22
                                                     Document 38-22        Filed 04/25/25
                                                                           Filed 04/25/25        Page 59
                                                                                                 Page 59 of
                                                                                                         of 82
                                                                                                            82




           Appendix |: NIH Statutory Authority
           Begun as a one-room Laboratory of Hygiene in 1887
           (renamed the Hygienic Library in 1891), the National
                                                                     The Public Health Improvement
           Institutes of Health (NIH) today is one of the world’s    Act, P.L. 106-505
           foremost medical research centers. An agency of           On November 13, 2000, the Public Health Improve-
           the U.S. Department of Health and Human Services,         ment Act amended the PHS Act and provided new
           NIH is the federal focal point for health research. The   authorities to NIH and other PHS agencies and
           Statutory Authority granted to NIH generally appears      placed ongoing activities or programs in statute.
           in Title IV of the Public Health Service (PHS) Act,
           42 U.S.C. 281 et seq. This authority has along
                                                                     The National Institutes of Health
           history with many revisions and additions granted
           by new legislation over the years. Below are several      Reform Act of 2006, P.L. 109-482
           highlights from the legislative history of NIH.           On January 15, 2007, the NIH Reform Act of 2006
                                                                     affirmed the importance of NIH and its vital role in
           The Ransdell Act, PL. 71-251                              advancing biomedical research to improve the
                                                                     health of the nation. The law reinforced how NIH’s
           On May 26, 1930, the Ransdell Act reorganized,
                                                                     27 Institutes and Centers, along with various other
           expanded, and redesignated the Hygienic Laboratory
                                                                     NIH components, work together on the nation’s
           of the Public Health Service as the National Institute
                                                                     largest medical research enterprise. Among its provi-
           of Health (NIH), authorizing $750,000 for construction
                                                                     sions, the NIH Reform Act revised Title IV of the PHS
           of two buildings for NIH and creating a system of
                                                                     Act to create the Division of Program Coordination,
           fellowships.
                                                                     Planning, and Strategic Initiatives, to be supported by
                                                                     a Common Fund.
           The Public Health Service Act,
           P.L. 78-410                                               The 21st Century Cures Act,
           On July 1, 1944, the PHS Act (P.L. 78—410) consol-        P.L. 114-255
           idated and revised existing public health legislation,
                                                                     On December 13, 2016, the 27st Century Cures Act
           dividing the PHS into the Office of the Surgeon
                                                                     provided NIH with critical tools and resources to
           General, the Bureau of Medical Services, the Bureau
                                                                     advance biomedical research across the spectrum,
           of State Services, and NIH. The PHS Act gave NIH
                                                                     from foundational basic research studies to advanced
           the legislative basis for its postwar program, with
           general authority to conduct and support research         clinical trials of promising new therapies. The Cures
                                                                     Act provided NIH with important new authorities that
           into the diseases and impairments of man, authorized
                                                                     could be employed to hasten its mission to improve
           research projects and fellowships, and made the
                                                                     the health of Americans.
           National Cancer Institute a division of NIH.

           The National Heart Act of 1948,
           P.L. 80-655
           On June 16, 1948, the National Heart Act of 1948
           amended the PHS Act and authorized the National
           Heart Institute and changed the name of the National
           Institute of Health to National Institutes of Health.




      42     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                       APHA App. 285
Case: 25-1611        Document: 00118310432              Page: 289          Date Filed: 07/08/2025                Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM         Document 38-22
                                                 Document 38-22            Filed 04/25/25
                                                                           Filed 04/25/25        Page 60
                                                                                                 Page 60 of
                                                                                                         of 82
                                                                                                            82




       Appendix II: NIH Organizational Chart
                                      National Institutes of Health

                                                 Office of the Director




      =
      see
       National Cancer         National Eye Institute
                                                                =
                                                                =a
                                                                 National Heart, Lung,         National Human
       Institute                                                 and Blood Institute           Genome Research
                                                                                               Institute



      —— a
       National Institute on
                               ae
                               National Institute on
                                                                —National Institute of         National Institute of
       Aging                   Alcohol Abuse and                 Allergy and Infectious        Arthritis and
                               Alcoholism                        Diseases                      Musculoskeltal and
                                                                                               Skin Diseases



       National Institute of   Eunice Kennedy Shriver            National Institute on         National Institute of
       Biomedical Imaging      National Institute of             Deafness and Other            Dental and Craniofacial
       and Bioengineering      Child Health and                  Communication                 Research
                               Human Development                 Disorders


      =              is teed ih
       National Institute of   National Institute on
                                                                el)                 a
                                                                 National Institute of
                                                                                                ee             ES
                                                                                               National Institute of
       Diabetes and            Drug Abuse                        Environmental Health          General Medical
       Digestive and Kidney                                      Sciences                      Sciences
       Diseases


      te
       National Institute of   National Institute on
                                                                need
                                                                eee
                                                                 National Institute of         National Institute of
       Mental Health           Minority Health and               Neurological                  Nursing Research
                               Health Disparities                Disorders and Stroke




       National Library of
                               eee
                               John E. Fogarty
                                                                et | See was te
                                                                 National Center for           National Center for
       Medicine                International Center              Advancing                     Complementary and
                               for Advanced Study in             Translational Sciences        Integrative Health
                               the Health Sciences


      =Clinical Center         Center for
                                                                —Center for Scientific
                               Information                       Review
                               Technology



                                                                    NIH-Wide Strategic Plan for Fiscal Years 2021-2025   A3



                                                                                                        APHA App. 286
Case: 25-1611     Document: 00118310432                   Page: 290        Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM               Document 38-22
                                                     Document 38-22        Filed 04/25/25
                                                                           Filed 04/25/25        Page 61
                                                                                                 Page 61 of
                                                                                                         of 82
                                                                                                            82




           Appendix Ill: Strategic Planning Process
           The National Institutes of Health (NIH)-Wide Strategic    a timeline for the strategic planning process and
           Plan outlines NIH’s research priorities and how these     established an internal NIH-Wide Strategic Plan
           priorities align with the agency’s mission and goals      Working Group, composed of staff from each Institute
           in an evolving research landscape. It represents one      and Center (IC) and OD Office, representing the
           facet of NIH’s stewardship of federal dollars and         range of NIH’s activities and research portfolio. The
           contributes to maintaining transparency and account-      first Working Group meeting was held at the end of
           ability to its many stakeholders.                         September 2019.
           Biomedical and behavioral science is progressing
           rapidly. To keep pace and capitalize on scientific        Gathering Internal Input and
           advances while addressing evolving public health          Development of the Strategic Plan
           needs, NIH updates the NIH-Wide Strategic Plan
           every 5 years. The NIH-Wide Strategic Plan is a
                                                                     Framework
           living document, with each iteration building off the     From October to December 2019, the Working Group
           foundation of the previous plan and aligning with         met biweekly to develop the Framework for the
           the agency’s near-, mid-, and long-range goals.           Strategic Plan, which outlines, at a high level, NIH’s
           This latest iteration of the NIH-Wide Strategic Plan,     priorities for biomedical and behavioral research
           covering fiscal years 2021-2025, retains many of          that will be addressed over the next five years. The
           the core elements of the NIH-Wide Strategic Plan          Framework of the NIH-Wide Strategic Plan for fiscal
           for fiscal years 2016-2020. However, the Strategic        years 2016-2020 was used as a starting point, and
           Plan has been revised, updated, and expanded in           the Framework for the new Strategic Plan evolved
           response to the many discoveries and changes in           over several meetings. The proposed framework was
           the field made during the past 5 years. As part of this   reviewed by the IC Directors at the end of October,
           process, the Framework around which the Strategic         the Advisory Committee to the NIH Director in
           Plan is organized has also been revised.                  December, and the DPCPSI Council of Councils in
                                                                     January 2020. The final Framework was approved by
           In September 2019, NIH began updating the NIH-
                                                                     NIH Leadership.
           Wide Strategic Plan to cover fiscal years 2021-2025.
           The goal was to follow a process that was transpar-       In parallel with development of the Framework, ICs
           ent, focused on science and good stewardship of           and OD Offices were asked to provide information on
           research, guided by evidence, and informed by NIH’s       biomedical and behavioral research advances that
           many stakeholders.                                        have been made under the NIH-Wide Strategic Plan
                                                                     for fiscal years 2016-2020 and proposed activities
           The strategic planning process entailed four phases:
                                                                     that will be conducted during the next 5 years. The
           (1) pre-planning, (2) gathering internal input and
                                                                     Working Group reviewed the content provided and,
           development of the Strategic Plan framework,
                                                                     through an iterative process of voting and delibera-
           (3) gathering input from external stakeholders, and
                                                                     tion, proposed for NIH Leadership’s approval the top
           (4) drafting and publishing the Strategic Plan. The
                                                                     NIH-wide accomplishments and priorities for each
           following are key activities undertaken during these
                                                                     section of the Framework.
           four phases.

           Pre-Planning                                              Gathering Input from External
           The NIH Division of Program Coordination, Planning,
                                                                     Stakeholders
           and Strategic Initiatives (DPCPSI) within the Office of   NIH recognizes that input from external stakehold-
           the Director (OD), coordinated the development of the     ers—including members of the scientific and health
           NIH-Wide Strategic Plan for fiscal years 2021-2025.       care communities, professional societies, advocacy
           At the initiation of this process, DPCPSI developed       organizations, industry, other federal agencies, and




      44     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                       APHA App. 287
Case: 25-1611        Document: 00118310432                 Page: 291           Date Filed: 07/08/2025              Entry ID: 6734280

                Case 1:25-cv-10787-BEM               Document 38-22           Filed 04/25/25        Page 62 of 82


     the general public—provides valuable insight to be          prioritized content approved by NIH Leadership. As
     considered during its strategic planning process.           it became available from the RFI and webinars, the
                                                                 Working Group reviewed public feedback on the
     To solicit comments on the proposed Framework
                                                                 Framework and adjusted the draft Strategic Plan in
     from external stakeholders, the Working Group
                                                                 response to this input.
     developed a Request for Information (RFI) in the NIH
     Guide (NOT-OD-20-0641) and the Federal Register
     (FRN 2020-029192), which was advertised broadly.            Finalizing and Publishing the
     Comments were accepted online from February 12,             Strategic Plan
     2020, to April 1, 2020. NIH received 160 responses
                                                                 The draft Strategic Plan was finalized through an iter-
     to the RFI from external stakeholders. In addition,
                                                                 ative review process with NIH Leadership. Beginning
     NIH hosted two webinars on March 9 and 16, 2020,
                                                                 in July 2020, the draft Strategic Plan was reviewed
     to provide the opportunity for stakeholders to ask
                                                                 by IC and OD Office Directors, and subsequently by
     questions on the Strategic Plan development process
                                                                 the NIH Director and Deputy Director. It was then
     and comment on the Framework. A summary of RFI
                                                                 reviewed by the DPCPSI Council of Councils and the
     responses, the webinar slides, and transcript, will
                                                                 Advisory Committee to the NIH Director. Following
     be made available on the NIH-Wide Strategic plan
                                                                 final review and approval by the NIH Director and
     webpage.3
                                                                 Deputy Director, and subsequent sign off by the U.S.
                                                                 Department of Health and Human Services, the final
     Drafting and Publishing the                                 version of the NIH-Wide Strategic Plan for fiscal years
     Strategic Plan                                              2021–2025 was posted publicly on NIH’s website and
                                                                 widely disseminated to NIH stakeholders.
     In January 2020, the Working Group began drafting
     the Strategic Plan based on the Framework and the


          Endnotes
      1   https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-064.html
      2   https://www.federalregister.gov/documents/2020/02/13/2020-02919/request-for-information-rfi-inviting-comments-
          and-suggestions-on-a-framework-for-the-nih-wide
      3   https://www.nih.gov/about-nih/nih-wide-strategic-plan




                                                                       NIH-Wide Strategic Plan for Fiscal Years 2021–2025   45

                                                                                                           APHA App. 288
Case: 25-1611     Document: 00118310432                   Page: 292        Date Filed: 07/08/2025                Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM               Document 38-22
                                                     Document 38-22        Filed 04/25/25
                                                                           Filed 04/25/25        Page 63
                                                                                                 Page 63 of
                                                                                                         of 82
                                                                                                            82




           Appendix IV: NIH Common Fund Strategic
           Plan Report
                                                                    teams across NIH who collectively plan, implement,
           About the NIH Common Fund
                                                                    and oversee each program to ensure broad impact.
           The National Institutes of Health (NIH) Common           Individual awards supported through the NIH
           Fund! programs represent time-limited, strategic         Common Fund are administered in partnership with
           investments in biomedical and behavioral research        NIH Institutes and Centers (ICs).
           (collectively referred to as biomedical research
           in the remainder of this appendix) designed to
           achieve high-impact goals and catalyze discovery.
                                                                    About the NIH Common Fund
           Approximately 30 multidisciplinary scientific programs   Strategic Plan Report
           are supported by the NIH Common Fund, spanning           The Public Health Service Act requires, as part of the
           NIH’s mission and addressing challenges and oppor-       NIH-Wide Strategic Plan, that the NIH Director submit
           tunities that are of high priority for NIH as a whole.   a report to Congress containing a strategic plan for
           These bold scientific programs often accelerate          funding research “that represents important areas
           emerging science, enhance the biomedical research        of emerging scientific opportunities, rising public
           workforce, remove research roadblocks, or support        health challenges, or knowledge gaps that deserve
           high-risk, high-reward science. NIH Common Fund          special emphasis and would benefit from conducting
           programs frequently produce resources—such as            or supporting additional research that involves
           datasets, tools, technologies, or methods—that are       collaboration between two or more national research
           designed to spur subsequent biomedical advances          institutes or national centers, or would otherwise
           often not possible otherwise. The work supported by      benefit from strategic coordination and planning”
           the NIH Common Fund is inherently risky, but this risk   through the NIH Common Fund (42 U.S.C. §282a(c)
           is embraced because of the potential for transfor-
                                                                    (1)(C); 282(b)(7)(A)(i)).
           mative impact in advancing science and, ultimately,
           improving human health.
                                                                    NIH Common Fund Program
           The origins of the NIH Common Fund lie in the NIH
           Roadmap for Medical Research, which was launched
                                                                    Lifecycle
           in 2004. The NIH Reform Act of 2006 created the          The congressional mandate to support goal- and
           NIH Common Fund as a source of support for these         milestone-driven programs underlies a critical feature
           transformative, NIH-wide programs within the NIH         of NIH Common Fund programs: Each program
           Office of the Director (OD). This established a novel    establishes high-impact goals that are expected to be
           approach to support crosscutting, NIH-wide pro-          achieved within a maximum of 10 years. This program
           grams in areas of emerging scientific opportunities,     enables new needs or opportunities to be supported
           rising public health challenges, and knowledge gaps      as they emerge. The NIH Common Fund supports
           that deserved special emphasis or would otherwise        research programs that transcend the scientific
           benefit from strategic planning and coordination. The    boundaries of the individual ICs, are synergistic with
           Act also mandated an emphasis on goals and mile-         current IC-funded research, and would benefit from
           stones in NIH Common Fund programs and directed          limited-term NIH Common Fund investment. These
           NIH to encourage participation by early-career           programs are identified through a strategic planning
           researchers.                                             process that includes input from many stakeholders
                                                                    who first identify broad scientific areas that are prior-
           The Office of Strategic Coordination (OSC) within        ities for NIH as a whole and subsequently establish a
           the NIH Division of Program Coordination, Planning,      focused strategy for scientific initiatives that will cat-
           and Strategic Initiatives (DPCPSI) is responsible for    alyze progress within that area. This process ensures
           managing the NIH Common Fund. OSC coordinates            that the programs provide maximum utility to the


      46     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                       APHA App. 289
Case: 25-1611            Document: 00118310432                                 Page: 293                    Date Filed: 07/08/2025                               Entry ID: 6734280

                    Case 1:25-cv-10787-BEM
                    Case 1:25-cv-10787-BEM                             Document 38-22
                                                                       Document 38-22                       Filed 04/25/25
                                                                                                            Filed 04/25/25                   Page 64
                                                                                                                                             Page 64 of
                                                                                                                                                     of 82
                                                                                                                                                        82


       broad biomedical community and that they address                                  achieve those goals. The strategic planning process
       major roadblocks to research progress. At the com-                                is described in more detail in the next section, “NIH
       pletion of each program, the tools, technologies, and                             Common Fund Strategic Planning Process.”
       data produced by the program are taken up and used
                                                                                         Following strategic planning and selection of new
       by the community at large, and the infrastructure that
                                                                                         program areas, research projects addressing goals
       the NIH Common Fund has built transitions to other
                                                                                         and milestones identified during the planning process
       sources of support. The lifecycle of a NIH Common
                                                                                         are supported through a variety of funding mecha-
       Fund program is shown in Figure 29.
                                                                                         nisms. Awards are often implemented as partnerships
       NIH Common Fund strategic planning is a two-phase                                 among the many scientific investigators supported by
       process. Phase 1 of strategic planning identifies                                 a program and expert NIH staff, collaboratively work-
       broad areas that are high priorities for NIH and for                              ing together to achieve defined goals. NIH Common
       which transformational progress can be envisioned.                                Fund programs are actively managed to ensure that
       Phase 2 of strategic planning involves analysis                                   the output of each program is maximally useful to
       of the scientific landscape within a given field to                               the broader scientific community. Assessment of the
       identify the specific challenges and opportunities for                            utility of the program to the community is emphasized
       progress. Programmatic goals are established, with                                and is achieved through a variety of evaluative
       a series of funding initiatives collectively designed to                          processes.


         Figure 29. Lifecycle of NIH Common                        Fund Programs
         “Common Fund Program Lifecycle”: Infographic. Note that not all programs follow this exact timeline.




                                            Common                 Fund          Program                  Lifecycle


                           Strategic Planning                                  Program Implementation                                Program Transition
                                   (~15 months)                                      (~5-10 years)                                   {after ~5-10 years)



                   Phase 1                        Phase 2
                                                                                Stage 1                                                        Program
             Strategic Planning:           Strategic Planning:
                                                                                Program                                                       Transition
                Identification                  Refinement
                                                                            (mplementation
                   of broad                 (for the first stage
                                                                              (Years 1-5")
               program areas                 of the program)




                                                  Phase 2
                                           Strategic Planning:                                              Stage 2
                                                Refinement                                                 Program                             Program
                                             (for the second                                            Implementation                        Transition
                                                  stage of                                                (Years 6—10*)
                                               the program)




                                                                            ee >
                                                                       Ongoing program evaluation enables optimization throughout the lifetime of the program.




            *Years are approximate; Common Fund programs are supported fora maximum of 10 years,


         Credit: NIH Common Fund.




                                                                                                   NIH-Wide Strategic Plan for Fiscal Years 2021-2025                  AT
                                                                                                                                                      APHA App. 290
Case: 25-1611     Document: 00118310432                   Page: 294       Date Filed: 07/08/2025                     Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM               Document 38-22
                                                     Document 38-22       Filed 04/25/25
                                                                          Filed 04/25/25            Page 65
                                                                                                    Page 65 of
                                                                                                            of 82
                                                                                                               82


           Evaluation is an ongoing activity throughout the          milestones are established to meet the needs
           lifecycle of the program and includes both formal         identified during strategic planning and to provide a
           and informal evaluative activities. Informal evaluation   sustainable model for continued use by the scientific
           involves convening grantees and NIH-wide teams to         community when NIH Common Fund support for a
           review progress, discuss new challenges, and devel-       program has ended.
           op strategies to adapt as part of routine program
           management. It also involves gathering input from
           external consultants and using their input, together        Figure 30. NIH Common           Fund Data
           with internal analysis, to help guide the implementa-       Ecosystem
           tion of the program. Formal evaluations involve the         NIH Common Fund programs are intended to provide
                                                                       resources that accelerate discovery across many differ-
           development of baseline data for new programs and           ent biomedical research fields. Often these resources
           the development of multiple metrics of outcomes.            include large datasets and associated digital tools
           The utility of data, resources, technologies, and other     needed to mine and analyze the data. To maximize
           program outputs is assessed through surveys, expert         impact, these datasets and tools must be leveraged
                                                                       by researchers from different disciplines, using varying
           opinion, and the analysis of bibliometric data, such        expertise in bioinformatics and large-scale data
           as citation analyses. Challenges and opportunities to       analysis. Additionally, these datasets must be usable
           strengthen each program are considered continuous-          together across interoperable platforms. However,
                                                                       current approaches to data storage, management,
           ly, but this assessment is also done systematically for
                                                                       and analysis mean that data are often not findable,
           every program on an annual basis. This management           accessible, interoperable, and reusable (FAIR).
           process ensures that the programs stay on track             To address this challenge, the NIH Common Fund is
           toward their stated goals while also allowing adjust-       supporting the NIH Common Fund Data Ecosystem
           ments to ensure that the impact of each program is          (CFDE), an ongoing investment in data management
                                                                       infrastructure that will support past, current, and future
           maximized.
                                                                       NIH Common Fund datasets.
           Another ongoing activity for the NIH Common Fund            The CFDE includes several integrated efforts:
           is the support of infrastructure designed to maximize          ® CFDE Coordinating Center —The Coordinating
           the accessibility and utility of NIH Common Fund                 Center will manage and organize CFDE activities,
           datasets and digital resources. To this end, the NIH             engage with participating NIH Common Fund pro-
                                                                            grams, connect with user communities, support
           Common Fund Data Ecosystem (CFDE)? is working
                                                                            training, develop tools and standards, and provide
           to ensure all NIH Common Fund datasets are find-                 technical expertise.
           able, accessible, interoperable, and reusable (FAIR),          ® Participating NIH Common Fund Data
           providing training for users to operate on data ina              Coordinating Centers—These Centers will work
           cloud environment and ensuring that NIH Common                   with the CFDE Coordinating Center to understand
                                                                            its program’s unique requirements for data storage
           Fund data continue to be available after individual
                                                                            and analysis, adopt/adapt guidelines and best
           programs are completed. For more information on the              practices, share resources and tools, establish
           CFDE, see Figure 30.                                             and enable use cases for cross-data analyses, and
                                                                            provide training.
           The final stage of NIH Common Fund support
                                                                          ® Leveraging NIH-wide cloud service pro-
           involves the transition of mature programs to other              vider partnerships—Using the Science and
           sources of support or use within the scientific com-             Technology Research Infrastructure for Discovery,
           munity.                                                          Experimentation, and Sustainability (STRIDES) will
                                                                            ensure that data are onboarded to the cloud ina
           Although represented as sequential activities, the               consistent manner and provide favorable pricing
           management of each program has an iterative                      for cloud data storage and use.

           nature. Plans for implementation and transition are         Ultimately, the CFDE is intended to amplify the impact
                                                                       of many NIH Common Fund programs by enabling
           considered early in the lifecycle but may be adapted
                                                                       researchers to interrogate multiple disparate datasets
           in response to the science. Similarly, scientific           and thereby make new kinds of scientific discoveries
           progress may demand changes in the strategic plan,          that were not possible before.
           as new opportunities or challenges are identified.
           Nevertheless, early consideration of implementation
           and transition ensures that program goals and




      48     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                           APHA App. 291
Case: 25-1611        Document: 00118310432                      Page: 295       Date Filed: 07/08/2025                  Entry ID: 6734280

                    Case 1:25-cv-10787-BEM
                    Case 1:25-cv-10787-BEM                Document 38-22
                                                          Document 38-22        Filed 04/25/25
                                                                                Filed 04/25/25         Page 66
                                                                                                       Page 66 of
                                                                                                               of 82
                                                                                                                  82



       NIH Common Fund Strategic                                       > Why is now the right time for this idea (i.e., why
                                                                         is this idea timely)?
       Planning Process
                                                                       > What would be the goals of the program, and
       Strategic planning for the NIH Common Fund                        what initiatives or activities are envisioned to
       involves the identification of NIH-wide challenges and            achieve these goals?
       opportunities that meet NIH Common Fund program
       criteria® (Figure 31). It is designed to be flexible from    Generally, Phase 1 strategic planning activities gen-
       year to year to adapt to emerging opportunities, the         erate many more ideas than can be supported. Ideas
       changing needs of the scientific community, and              are prioritized by the NIH Director, with input from
       the availability of funds. Broad topics identified in        the OSC, DPCPSI, and Principal Deputy Directors. IC
       Phase 1 are refined into well-defined programs and           Directors may also provide input to the NIH Director
       initiatives in Phase 2.                                      on prioritization of concepts. A small subset of
                                                                    prioritized ideas then moves into Phase 2 planning.

         Figure 31. NIH Common         Fund Program                 Phase 2 refines the prioritized set of broad ideas
         Criteria                                                   identified in Phase 1 into specific, well-defined
         Transformative: Programs must have high potential to       initiatives. An NIH-wide Working Group representing
         dramatically affect biomedical research.                   a broad range of interested scientific communities is
         Catalytic: Programs must achieve a defined set of          formed to continue the planning process and, if the
         high-impact goals within a defined period of time.         program is approved, lead program implementation.
         Synergistic: Outcomes must synergistically promote         Phase 2 strategic planning also occurs before
         and advance individual missions of ICs to benefit          decisions are made to provide a second stage of
         health.
                                                                    support for existing programs. OSC assesses the
         Crosscutting: Program areas must cut across missions       progress of NIH Common Fund programs at the end
         of multiple ICs, be relevant to multiple diseases or
         conditions, and require a coordinated approach
                                                                    of the first stage of funding to determine whether a
         across NIH.                                                second stage of funding (up to a limit of 10 years
         Unique: Programs must be something no other entity         total) is necessary to reap maximum benefit from the
         is likely or able to do.                                   program. The Phase 2 refinement process includes
                                                                    analysis of NIH and external scientific research
                                                                    portfolios (Figure 32), solicitation of input from
       Phase 1 identifies broad scientific needs and                subject-matter experts, and input from IC Directors.
       opportunities, focusing on the greatest challenges           During Phase 2 planning, the DPCPSI Council of
       to research discovery and translation, as well as            Councils (CoC) provides input about whether the
       on the most promising emerging opportunities                 proposed idea addresses the NIH Common Fund
       to catalyze research across a variety of scientific          criteria and, if so, whether the proposed program
       disciplines and disease conditions. Although specific        initiatives are likely to achieve the program goals
       Phase 1 activities vary, ideas may be gathered               and produce the highest possible impact. When the
       through meetings with external scientific experts,           concept for a potential new program is cleared by the
       solicitation of ideas from ICs, discussions with             CoC, the Working Group develops a program propos-
       NIH Leadership and Advisory Committees, and                  al that clearly describes scientific needs, gaps, and
       engagement with the broader scientific community.            opportunities; goals and milestones of the proposed
       To effectively evaluate the responsiveness of the            program; description of program management;
       proposed idea to NIH Common Fund criteria, as well           and a budget for all years of the program. Program
       as the potential impact of the program, the following        proposals are presented to the NIH Director for a final
       questions are typically posed:                               decision about program approval.

          > What is the greatest opportunity in biomedical
            research today? How can this opportunity be
            realized?




                                                                         NIH-Wide Strategic Plan for Fiscal Years 2021-2025   49

                                                                                                             APHA App. 292
Case: 25-1611     Document: 00118310432                       Page: 296             Date Filed: 07/08/2025                    Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM                  Document 38-22
                                                        Document 38-22              Filed 04/25/25
                                                                                    Filed 04/25/25           Page 67
                                                                                                             Page 67 of
                                                                                                                     of 82
                                                                                                                        82



             Figure 32. Portfolio Analysis: Focusing Scope and Identifying Opportunities
             Portfolio analysis occurs during Phase 2 of the strategic planning process. It is a vital part of strategic planning that
             provides critical information concerning ongoing efforts in areas being considered as potential NIH Common Fund
             programs. Portfolio analysis helps identify specific areas where strategic investment by the NIH Common Fund could
             support unique and potentially transformative research.
             The Somatic Cell Genome Editing (SCGE) program, launched in fiscal year 2018, included a robust portfolio analysis
             during the planning process to identify specific activities in support of the program’s overall goal to advance therapeutic
             use of precision genome editing approaches to treat or cure numerous diseases caused by genetic mutations. With the
             discovery of CRISPR and similar tools that can precisely change genetic sequences, this field experienced an explosion
             of interest. However, remaining gaps in research investment were holding back the translation of genome editing
             approaches into the clinic, especially for rare or uncommon diseases. Information on private-sector and other govern-
             ment agency investment was provided by consultation with experts, complementing the SCGE portfolio analysis that
             assessed NIH investment in genome editing tools and technologies in fiscal year 2016. This analysis identified critical
             gap areas, including gene editing reporter systems and in vitro models for testing efficacy and safety. Additionally, the
             analysis demonstrated a pressing need to develop new genome editing tools that were less likely to produce adverse
             or off-target effects. Furthermore, the analysis revealed that current investment in genome editing delivery vehicles
             was highly focused on a single viral vector (adeno-associated virus, or AAV) with inherent limitations. Other delivery
             systems—such as nanoparticles, alternative viruses, ribonucleoprotein complexes, and exosomes—were largely
             overlooked, despite representing potentially transformative approaches to overcoming limitations associated with AAVs.
             The results of this portfolio analysis, combined with expert input, identified areas of scientific opportunity that became
             the basis of the SCGE program initiatives. These initiatives include (1) developing animal models for testing genome
             editing tools; (2) generating assays and models to test the efficacy and safety of genome editing tools; (3) improving
             genome editing delivery systems—including a wide range of delivery systems beyond AAVs—to target specific cells
             and tissues; (4) expanding the number and types of genome editing complexes; and (5) distributing the knowledge and
             resources developed through this program to the scientific community.
             A follow-up analysis conducted in 2020 confirmed that the SCGE program is stimulating research in gap areas identified
             in the baseline portfolio analysis. This analysis showed that the SCGE program is filling an important niche by support-
             ing research on exploring the use of exosomes, nanoparticles, and ribonucleoproteins as delivery vehicles. The analysis
             also revealed that the SCGE program is developing genome editing tools that target a wide range of tissues and organs,
             including one organ system (the gastrointestinal tract) that is not targeted by any other NIH-supported genome editing
             projects, as well as other several tissues or organs for which SCGE projects are the only ones using non-AAV delivery
             systems for targeted delivery.




           Strategic Planning Activities Since                               of approximately 300 selected scientific experts were
                                                                             invited to view ideas, provide comments and sugges-
           2015                                                              tions, and submit one original idea for inclusion in the
           Prior to the passage of the 27st Century Cures Act,§              online discussion. All ideas and associated discus-
           the NIH Common Fund developed a biennial strategic                sions were considered along with ideas submitted by
           planning report. With the passage of this Act, the                IC Directors.
           NIH Common Fund Strategic Planning Report is                      From these activities, two ideas were prioritized for
           now included within the NIH-Wide Strategic Plan.                  further planning and ultimately were launched in fiscal
           Described here are the strategic planning activities              year 2018:
           that have taken place since the last NIH Common
           Fund Strategic Planning Report in 2015.°                           @   Human      BioMolecular Atlas Program (HUBMAP)’
                                                                                  (Figure 33)—The planning process that led to
           Strategic Planning 2015-2016                                           the HUBMAP program identified understanding
                                                                                  human physiology and disease at the level of
           In 2015, OSC   held the “Innovate to Accelerate” 2-day
                                                                                  individual cells as a challenge that we now have
           strategic planning workshop that brought together
                                                                                  the technologies to address. Because the cell
           more than 20 innovative thinkers representing diverse
                                                                                  is the fundamental unit of the human body, an
           areas of expertise to brainstorm ideas for potential
                                                                                  understanding of normal and disease process-
           new NIH Common Fund programs beginning in fiscal
                                                                                  es at this level is anticipated to lead to more
           year 2018 or later. Following the workshop, all ideas
                                                                                  specific and effective therapies. In recent years,
           that emerged from the workshop were posted in an
                                                                                  technologies that enable the analysis of single
           online discussion forum, where an additional cohort



      oe     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                    APHA App. 293
Case: 25-1611        Document: 00118310432                        Page: 297          Date Filed: 07/08/2025                 Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                 Document 38-22
                                                         Document 38-22              Filed 04/25/25
                                                                                     Filed 04/25/25         Page 68
                                                                                                            Page 68 of
                                                                                                                    of 82
                                                                                                                       82


         Figure 33. Human          BioMolecular Atlas Program             materials. By expanding access and training for
        The Human BioMolecular Atlas Program is a collabo-                cryoEM, this program aims to enable research and
        rative effort to develop an open and global platform to           accelerate development of drugs and vaccines to
        map healthy cells in the human body.                              combat many diseases and conditions.

                                                                      In addition to launching new programs, several exist-
                                                                      ing NIH Common Fund programs underwent planning
                                                                      for a second stage of support that began in fiscal
                                                                      year 2018. These programs are described below:
                                                                      ®   Illuminating the Druggable Genome (IDG)"°
                                                                          (Figure 34)—Most drugs target proteins within
                                                                          four families: G protein-coupled receptors, nuclear
                                                                          receptors, ion channels, and protein kinases.
                                                                          However, only a small number of proteins within
                                                                          each of these families are well studied, and these
        Credit: NIH Common Fund.
                                                                          proteins typically are present in many cells
                                                                          throughout the body. Therefore, drugs that target
                                                                          these proteins may cause widespread adverse
                                                                          effects in cells and tissues that are not affected
         cells within the context of the tissues have made
                                                                          by disease. However, the lesser known members
         the goals of HUBMAP feasible. However, this
                                                                          of these protein families may be present in fewer
         challenge is enormous, given that the human body
                                                                          tissues and thus have potential as specific drug
         has approximately 37 trillion cells. HUBMAP is
                                                                          targets leading to fewer side effects. Technological
         developing an open and global platform to map
                                                                          advances in genomics, protein characterization,
         healthy cells in the human body, coordinating
                                                                          and computational methods provide an opportuni-
         with other international efforts. Capitalizing in part
                                                                          ty to identify and study large numbers of unknown
         upon the foundation laid by the NIH Common
                                                                          proteins. IDG originally launched a pilot stage in
         Fund’s Single-Cell Analysis Program,® HUBMAP is
                                                                          fiscal year 2014 to compile data about the unchar-
         building the framework needed to construct cell
                                                                          acterized proteins within the four protein classes
         atlases, tools, and resources to understand the
                                                                          that are most frequently targeted by drugs. In the
         function of and relationship among all the cells in
                                                                          second stage, implementation, IDG is capitalizing
         the human body. This understanding is expected
                                                                          on the information gathered and technologies
         to lead to new insights into human health, growth,
                                                                          developed in the pilot to further elucidate the
         development, aging, and disease.

         Transformative High Resolution Cryo-Electron
                                                                          Figure 34. illuminating the Druggable Genome
         Microscopy (CryoEM)*—Improvements in cryoEM
                                                                          Program
         technologies and new computational methods
                                                                          The goal of the Illuminating the Druggable Genome
         to analyze the associated data have created a
                                                                          program is to compile data about the uncharacterized
         transformative opportunity in structural biology.                proteins within the four protein classes that are most
         With these new methods, investigators can                        frequently targeted by drugs.
         analyze protein structures more easily than ever




                                                                                             IDG
         before, providing the basis for smart drug design
         and fundamental biological insights. However,
         the high cost of required equipment and limited
         workforce proficient in this technology represent
         a substantial challenge. The CryoEM program                                         ILLUMINATING the
         addresses this challenge. It is broadening
                                                                                             DRUGGABLE G ENOME
         access to high-resolution cryoEM for biomedical
         researchers by creating national service centers
                                                                          Credit: NIH Common Fund.
         and cultivating a skilled cryoEM workforce by
         developing and implementing cryoEM training



                                                                             NIH-Wide Strategic Plan for Fiscal Years 2021-2025    51

                                                                                                                   APHA App. 294
Case: 25-1611      Document: 00118310432                  Page: 298            Date Filed: 07/08/2025                   Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM              Document 38-22
                                                     Document 38-22            Filed 04/25/25
                                                                               Filed 04/25/25           Page 69
                                                                                                        Page 69 of
                                                                                                                of 82
                                                                                                                   82


                function of uncharacterized proteins within                Figure 35. Undiagnosed        Diseases Network
                three key families: G protein-coupled receptors,           The Undiagnosed Diseases Network is a research
                ion channels, and protein kinases. IDG is also             study to improve the level of diagnosis of rare and
                expanding the informatics tools developed in the           undiagnosed conditions.
                pilot stage and disseminating the IDG-generated
                resources to the biomedical research community.
                                                                                                      Undiagnosed
                Metabolomics''— Chemical reactions in the body
                produce small molecules, called metabolites, that
                                                                                                      Diseases Network
                can provide important information about diet,              Credit: NIH Common Fund.

                environmental exposures, and drug metabolism.
                The study of all of the metabolites in a given
                                                                            mechanisms so that treatments can be identified.
                sample, or metabolomics, therefore provides a
                                                                            UDN accepted 601 participants undiagnosed by
                powerful tool for researchers and clinicians to
                                                                            traditional medical practices in the first 20 months
                understand an individual’s current physiological
                                                                            of operation. Of those who completed their UDN
                state and possibly to develop personalized
                                                                            evaluation during this time, 35 percent were given
                diagnoses and treatment approaches. The NIH
                                                                            a diagnosis. Many of these diagnoses were rare
                Common Fund’s Metabolomics program was
                                                                            genetic diseases, including 31 previously unknown
                established to support broader use of metabolom-
                                                                            syndromes. In the second stage, UDN is focusing
                ic analysis in basic research and in the clinic. The
                                                                            on forming a sustainable national resource to
                first stage of the Metabolomics program contrib-
                                                                            diagnose both rare and new diseases, advancing
                uted to wider use of metabolomic approaches in
                                                                            laboratory and clinical research, enhancing global
                the biomedical research community and enhanced
                                                                            coordination and collaboration among laboratory
                researchers’ ability to conduct metabolic analyses.
                                                                            and clinical researchers, and sharing resulting
                In the second stage, the Metabolomics program
                                                                            data and approaches throughout the scientific and
                aims to enhance metabolomics data sharing;
                                                                            clinical communities.
                develop novel tools to facilitate data analysis; and
                generate standards, guidelines, and resources to
                                                                       Strategic Planning 2016-2017
                enable metabolomics research.
                                                                       Anticipated budget limitations led to a scaled-down
                Undiagnosed    Diseases Network (UDN)'?                strategic planning process in 2016-2017, focused on
                (Figure 35)—Rare diseases collectively affect          two existing NIH Common Fund programs requesting
                approximately 25 million Americans,'* many of          a second stage of support in fiscal year 2019:
                whom face a long and frustrating process to
                arrive at a diagnosis. The NIH Intramural Research     ®    Diversity Program Consortium (DPC): Enhancing
                Program launched the Undiagnosed Diseases                   the Diversity of the NIH-Funded Workforce™
                Program (UDP) in 2008 with the goal of diagnos-             (Figure 36)—In 2012, The Advisory Committee to
                ing, understanding, and treating rare disorders.           the NIH Director Working Group on Diversity in the
                This program leveraged revolutionary genomic               Biomedical Research Workforce issued a report’®
                sequencing technologies to aid in the diagnosis of         acknowledging NIH’s longstanding recognition
                rare diseases and developed a robust interdisci-           that diversity in the biomedical research workforce
                plinary approach to disease diagnosis that proved          is critical to ensuring the most creative minds have
                successful. However, the overwhelming patient              the opportunity to contribute to our research and
                need far exceeded the capacity of the UDP. In              health goals. However, despite ongoing invest-
                2013, the NIH Common     Fund launched UDN with            ment by NIH and others to increase the number of
                the goal of expanding the proven approach of               scientists from underrepresented groups, unac-
                UDP to academic health centers across the coun-            ceptable disparities in the biomedical workforce
                ty, working through challenges associated with              remain. The DPC was established to develop,
                implementing this approach in different clinical            implement, assess, and disseminate innovative
                and economic models. UDN promotes the use of               and effective training and mentoring approaches
                genomic data in disease diagnosis and engages              to enhance the participation and persistence of
                basic researchers to uncover underlying disease            individuals from underrepresented backgrounds



            NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                              APHA App. 295
Case: 25-1611          Document: 00118310432                        Page: 299       Date Filed: 07/08/2025                Entry ID: 6734280

                    Case 1:25-cv-10787-BEM
                    Case 1:25-cv-10787-BEM                  Document 38-22
                                                            Document 38-22          Filed 04/25/25
                                                                                    Filed 04/25/25        Page 70
                                                                                                          Page 70 of
                                                                                                                  of 82
                                                                                                                     82


          in biomedical research careers so that future                 ®   Extracellular RNA Communication (ERC)'*—Once
          programs may be more effective at recruiting                      thought to exist only inside cells, RNA is now
          and retaining a diverse workforce. Launched                       known to travel outside cells and play a role in
          with planning grants in 2013, the first stage of                  communication among cells throughout the body.
          the program had three initiatives: (1) Building                   When the ERC program was launched in 2013,
          Infrastructure Leading to Diversity (BUILD), which                researchers understood that RNA was exported
          is developing approaches to determine the most                    from cells, but fundamental questions about the
          effective ways to engage and retain students                      function of these extracellular RNAs (exRNAs),
          from diverse backgrounds in biomedical research                   how exRNAs are targeted to deliver messages to
          and to prepare students to become future con-                     other cells, and how exRNAs are regulated had
          tributors to the NIH-funded research enterprise;                  yet to be fully explored. Additionally, a lack of
          (2) the National Research Mentoring Network,                      standards, protocols, and data infrastructure was
          a national network of mentors and mentees                         a significant roadblock that hindered research
          providing mentorship, professional development,                   progress and prevented comparison of experi-
          training, networking, and resources; and (3) the                  ments between different laboratories. The ERC
          Coordination and Evaluation Center, which is                      program aimed to enable researchers to tackle
          coordinating and evaluating DPC activities. In                    fundamental questions about exRNAs in a coor-
          the second stage of the program, two additional                   dinated way, thereby establishing new biological
          initiatives are being supported. The Sponsored                    paradigms and accelerating development of
          Programs Administration Development program                       exRNAs as potential therapeutics or in diagnos-
          aims to increase the productivity of sponsored                    tics. The first stage of this program catalogued
          programs offices (or similar entities) at academic                exRNA molecules found in human biofluids from
          institutions to enhance biomedical research                       more than 2,000 healthy donors; established data
          and research training. The DPC Dissemination                      standards, created a data portal, and developed
          and Translation Awards (DPC DaTA) supports                        novel tools and reagents; and identified potential
          non-DPC institutions to employ DPC methods                        exRNA biomarkers for nearly 30 diseases. In the
          to evaluate the effectiveness of a biomedical                     second stage of the program, ERC is focusing
          research training, mentoring, or research                         on tool and technology development addressing
          capacity-building intervention.                                   major roadblocks to understanding exRNAs,
                                                                            including better understanding of the larger
       Figure 36. Diversity Program Consortium                              complexes, like extracellular vesicles that carry
                                                                            exRNAs through the body.
       The Diversity Program Consortium was established to
       develop, implement, assess, and disseminate innova-
       tive and effective training and mentoring approaches to          Strategic Planning 2017-2018
       enhance the participation and persistence of individuals
       from underrepresented backgrounds in biomedical                  In 2017, NIH leadership identified two timely, high-
       research careers so that future programs may be more             priority research areas suitable for NIH Common
       effective at recruiting and retaining a diverse workforce.       Fund support. Due to the pressing public health
                                                                        needs that these programs are intended to address,
                                                                        both programs were planned and launched on an
                                                                        accelerated timeline.

                                                                        ®   Acute to Chronic Pain Signatures (A2CPS)'7—As
                                                                            part of NIH’s response to the growing opioid crisis,
                                                                            the A2CPS program aims to further our under-
                                                                            standing of the transition from acute to chronic
                                                                            pain. Acute pain following injury resolves in many
                                                                            patients, but for a large number of people, the
                                                                            pain becomes chronic, even after the injury itself
       Credit: NIH Gommon Fund.                                             has healed. This transition is poorly understood
                                                                            and therefore prevention or treatment is difficult.
                                                                            The A2CPS program is addressing this challenge



                                                                             NIH-Wide Strategic Plan for Fiscal Years 2021-2025    53

                                                                                                                 APHA App. 296
Case: 25-1611       Document: 00118310432                     Page: 300      Date Filed: 07/08/2025              Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM                 Document 38-22
                                                        Document 38-22       Filed 04/25/25
                                                                             Filed 04/25/25        Page 71
                                                                                                   Page 71 of
                                                                                                           of 82
                                                                                                              82


                by developing a set of objective biomarkers (i.e.,        cells within the body were lagging behind, despite
                a “signature”) to predict susceptibility for transi-      applicability to a larger number of diseases.
                tioning to chronic pain after an acute pain event.        Additionally, a significant technological challenge
                The A2CPS program enhances the objectives of              was targeting the editing machinery to the
                the NIH Helping to End Addiction Long-term™”              appropriate cells and avoiding off-target effects.
                (HEAL) Initiative,’® a transagency effort to speed        Building upon these opportunities and challenges,
                scientific solutions to end the opioid public health      the SCGE program aims to improve the efficacy
                crisis. A2CPS will benefit the HEALS” research            and specificity of gene editing approaches to help
                priority to enhance pain management. Building             reduce the burden of common and rare diseases
                upon previous efforts by the NIH Pain Consortium          caused by genetic changes. SCGE is developing
                and others, this program was well positioned to           tools to perform and assess effective and safe
                rapidly launch in advance of HEALS but is now             genome editing in nonreproductive (i.e., somatic)
                fully coordinated with HEALS initiatives. It began        cells of the body, including approaches to ensure
                a planning stage in fiscal year 2019, scaling up to       genome editing tools are delivered specifically to
                implementation in fiscal year 2020.                       the targeted cell type within the body. By sharing
                                                                          these resources with the entire research com-
           ®    Somatic Cell Genome Editing (SCGE)'®
                                                                          munity, SCGE aims to reduce the time and cost
                (Figure 37)—The development of tools and
                                                                          required to develop new therapies. An accelerated
                approaches to precisely change genomic
                                                                          planning process that brought together thought
                sequences, including CRISPR, have raised the              leaders from academia, industry, and government
                possibility of a fundamentally new approach to
                                                                          allowed this program to be quickly launched in
                treat an enormous number of genetic diseases.
                                                                          fiscal year 2018.
                Capitalizing on the rapidly expanding field of
                precision genome editing tools, planning for the       Additionally, discussions between NIH leadership
                SCGE program identified several critical areas in      and IC Directors revealed enthusiasm for developing
                need of strategic investment to accelerate devel-      high-priority initiatives that extend from existing NIH
                opment of new genome editing—based therapies.          Common Fund programs and leverage previous
                Significant ongoing investments were advancing         investments. Within the CryoEM program, a new
                this nascent field but were largely focused on         effort was developed to increase access to cryo-
                ex vivo genome editing approaches, in which            electron tomography, a related technology that
                cells are edited outside of the body and then          enables improved imaging of molecules within intact
                reintroduced; in vivo approaches involving editing     cells and tissues in 3-D. Additional efforts to address
                                                                       the opioid public health crisis were supported through
                                                                       an expansion of the Stimulating Peripheral Activity to
           Figure 37. Somatic Cell Genome Editing                      Relieve Conditions (SPARC)”° program, launching a
           Program                                                     new initiative to generate anatomical and functional
           The Somatic Cell Genome Editing program is working          data from neural circuits mediating visceral pain.
           to improve the efficacy and specificity of gene editing
           approaches to help reduce the burden of common and          Strategic Planning 2018-2019
           rare diseases caused by genetic changes.
                                                                       To plan for new NIH Common Fund programs for
                                                                       potential launch in fiscal year 2021 or later, OSC host-
                                                                       ed a series of web-based workshops”! with editors
                                                                       from a diverse array of biomedical and behavioral
                                                                       research journals. The objective of these workshops
                                                                       was to learn about new scientific trends, emerging
                                                                       areas of research, and crosscutting challenges that
                                                                       may contribute to planning for new NIH Common
                                                                       Fund programs. Journal editors, with the exposure
                                                                       to and assessment of new scientific advances, are in
           Credit: NIH Common Fund.                                    a good position to understand the current scientific
                                                                       landscape. One prominent theme articulated in these



      5A       NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                         APHA App. 297
Case: 25-1611        Document: 00118310432                  Page: 301          Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM               Document 38-22           Filed 04/25/25        Page 72 of 82


     workshops was the emerging opportunities presented              the diversity of the biomedical workforce,
     by integration of artificial intelligence (AI) and machine      underrepresentation of some racial and ethnic
     learning approaches into biomedical research.                   groups, particularly at the faculty level, remains a
     Independently, in recognition of the opportunity and            persistent challenge. Many previous efforts have
     challenges posed by AI in biomedicine, NIH orga-                focused on individuals; however, substantial evi-
     nized a workshop in July 2018, Harnessing Artificial            dence suggests that targeting institutional culture
     Intelligence and Machine Learning to Advance                    change is needed to achieve the desired results.
     Biomedical Research.22 These initial discussions                Early success of the NIH Distinguished Scholars
     contributed to additional planning activities and, ulti-        Program26 and other cohort-based recruitment
     mately, a new NIH Common Fund program in AI (see                programs indicates that recruitment of a critical
     the next section, “Strategic Planning 2019–2020,” for           mass of investigators committed to diversity and
     more details).                                                  inclusion may foster the institutional changes
                                                                     needed to create meaningful changes in diversity
     In addition to input gathered through the journal
                                                                     at the faculty level. The FIRST program aims to
     editor workshops, OSC also solicited ideas from IC
                                                                     create cultures of inclusive excellence at NIH-
     Directors. From this process, three ideas emerged
                                                                     funded institutions, establishing and maintaining
     that are now being pursued as potential NIH Common
                                                                     scientific environments that can cultivate and
     Fund programs.
                                                                     benefit from a full range of talent. It will establish
     • Harnessing Data Science for Health Discovery                  a faculty cohort model for hiring, mentoring, and
        and Innovation in Africa23—This program will                 professional development; integrated, institu-
        leverage data science technologies and prior                 tion-wide approaches to address bias, faculty
        NIH investments to develop solutions to Africa’s             equity, mentoring, and work-life issues; and a
        most pressing public health problems through a               coordination and evaluation center to conduct
        robust ecosystem of new partners from academic,              independent evaluations of program impacts. This
        government, and private sectors. Extensive                   program was approved by the NIH Director and is
        mobile phone coverage in Africa provides an                  anticipated to launch in fiscal year 2021.
        opportunity to rapidly advance health care delivery
        systems through mobile health applications,               • Nutrition for Precision Health, powered by
        point-of-care technologies, and self-management              the NIH All of Us Research Program—Current
        systems. Additionally, this program leverages                dietary recommendations are often confusing,
        and builds upon substantial investment in African            sometimes contradictory, and generally do not
        research and research training by NIH ICs, the               consider individual differences. Rapidly advancing
        NIH Common Fund, and other organizations.                    technologies—including high-throughput -omics
        For example, the Data Science in Africa program              (e.g., genomics, epigenomics, proteomics, metab-
        will build on and translate the resources and                olomics) and AI—combined with the growing
        expertise developed through the Human Heredity               emphasis on personalized medicine approaches
        and Health in Africa24 program into products and             present an opportunity to develop more precise
        policies impacting health in Africa and around               and dynamic nutritional recommendations. The
        the world. The program aims to promote sustain-              program, still in development, would aim to
        ability of the African health research enterprise            understand individual responses to diet, enabling
        by encouraging robust partnerships with African              tailored dietary recommendations to be provided
        governmental, private, and academic partners and             by physicians and the development of tools to
        will also consider ethical, legal, and social issues         allow individuals to make more informed decisions
        for data science research and its applications               about healthy food choices. This program is
        to public health in Africa. This program was                 anticipated to launch in fiscal year 2021.
        approved by the NIH Director and is anticipated to
        launch in fiscal year 2021.
                                                                  Strategic Planning 2019–2020
                                                                  To plan for new NIH Common Fund programs to
     • Faculty Institutional Recruitment for Sustainable          begin in fiscal year 2022 or beyond, OSC used an
        Transformation (FIRST)25—Despite ongoing
                                                                  online crowdsourcing platform to solicit ideas from
        investment in programs designed to enhance



                                                                       NIH-Wide Strategic Plan for Fiscal Years 2021–2025     55

                                                                                                           APHA App. 298
Case: 25-1611      Document: 00118310432                      Page: 302               Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM                  Document 38-22
                                                        Document 38-22                Filed 04/25/25
                                                                                      Filed 04/25/25        Page 73
                                                                                                            Page 73 of
                                                                                                                    of 82
                                                                                                                       82


           the NIH community for bold investments that could                development of new NIH Common Fund programs.
           become future NIH Common Fund programs. The                      At the NIH Leadership Forum, NIH leadership and
           community was also encouraged to provide construc-               IC Directors identified cellular senescence as a
           tive comments on ideas submitted by others, so that              high-priority research area. Cellular senescence
           each idea could benefit from the collective expertise            refers to a highly stable state of cell cycle arrest in
           of the NIH community. In addition to gathering ideas             which cells stop dividing, often in response to various
           through the crowdsourcing site, IC Directors were                stressors, such as aging and inflammation. A better
           also invited to submit ideas.                                    understanding of the mechanisms of cellular senes-
                                                                            cence and how this process affects tissue and organ
           From this process, one idea focused on exploring
                                                                            function may lead to new approaches for addressing
           transposable elements and somatic mosaicism was
                                                                            the deleterious effects of aging and of numerous
           selected for further development. This potential
                                                                            diseases and conditions. If approved, this program is
           program, Somatic Mosaicism and Retrotranspositions
                                                                            planned to launch in fiscal year 2022.
           (SMaRt), would investigate genetic elements that
           make up approximately half of the human genome                   Finally, the Advisory Committee to the NIH Director
           and which, in some cases, have the ability to move               Working Group on Artificial Intelligence provided NIH-
           within the genome and thereby create genetically                 wide recommendations?’ on how NIH could leverage
           distinct cells within a single individual. This mobility         and promote Al to advance research across many
           can result in genomic damage and disease, but                    biomedical topics and have positive effects across
           the extent to which this process happens and how                 diverse fields. Several of these recommendations
           it is regulated is largely unknown. If approved, the             formed the basis for a new potential NIH Common
           SMakRT program would aim to deliver new paradigms                Fund program, Artificial Intelligence for BiomedicaL
           concerning the regulation of these elements and how              Excellence (AIBLE).”8 This program aims to generate
           their transposition contributes to normal biology and            new biomedically relevant datasets amenable to
           disease. Pending approval, this program is anticipat-            machine learning analysis at scale. This program is
           ed to launch in fiscal year 2022.                                anticipated to launch in fiscal year 2021. For more
                                                                            details, see Figure 38.
           In addition to the strategic planning process above,
           several other NIH-wide efforts contributed to


             Figure 38. Artificial Intelligence for BiomedicaL Excellence Program
             Following a 2018 NIH workshop on artificial intelligence (Al) and machine learning in biomedical research, the NIH
             Director formed the Advisory Committee to the NIH Director (ACD) Working Group on Artificial Intelligence. This group
             was charged with determining opportunities for NIH-wide efforts in Al and ways these efforts could cross biomedical
             topics to positively affect diverse fields, identifying ways for NIH to build connections between the data science and
             biomedical research communities, defining approaches to cross-training computer scientists and biomedical research-
             ers, and identifying ethical consideration for biomedical research and Al.
             This working group delivered its final recommendations in December 2019. Several of these recommendations fit well
             with the criteria for NIH Common Fund programs, whereas other recommendations were within the mandate of the NIH’s
             Office of Data Science Strategy. An NIH-wide working group convened and conducted planning activities to determine
             how an NIH Common Fund program could effectively address the relevant recommendations, leading to development
             of the Artificial Intelligence for Biomedical Excellence (AIBLE) program. The overall goal of this program is to generate
             new biomedically relevant datasets amenable to machine learning analysis at scale, achieved through the following
             initiatives:
                ® Support data design centers to generate rubrics of amenability to machine learning approaches that allow the
                  evaluation of datasets and plans to generate datasets, create infrastructure to disseminate tools, and host and
                  promote datasets.
                ® Develop software and firmware tools to accelerate Al readiness.
                ® Enhance existing data generation efforts to improve Al readiness.
                ® Generate gold-standard, multimodal human datasets that adhere to the rubrics established by the program.
                ® Use the rubrics to evaluate and update select existing public biomedical research data.
             Because this potential program leveraged the carefully developed recommendations from the ACD working group, it is
             anticipated to launch on an accelerated timeline in fiscal year 2021.




             NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                  APHA App. 299
Case: 25-1611       Document: 00118310432                      Page: 303            Date Filed: 07/08/2025                  Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM                 Document 38-22
                                                         Document 38-22             Filed 04/25/25
                                                                                    Filed 04/25/25          Page 74
                                                                                                            Page 74 of
                                                                                                                    of 82
                                                                                                                       82



       Strategic Planning 2020-2021                                    Planning for Transition from NIH
       OSC is currently beginning a new round of strategic          = OGommon          Fund Support
       planning in 2020. Still in the early stages of develop-
                                                                       NIH Common Fund programs are designed to
       ment, this round of strategic planning is intended to
                                                                       achieve a set of high-impact goals within a defined
       leverage existing community-generated white papers
                                                                       time frame. At the conclusion of each program, deliv-
       (i.e., assessments of scientific opportunities and
                                                                       erables will either stimulate |C-funded research or will
       needs in a given scientific area). By reviewing these
                                                                       transition to support by ICs or other entities that find
       thoughtful analyses from many scientific societies or
                                                                       the resources generated by the program useful.
       other groups, NIH may obtain well-considered input
       that reflects consensus views and that may reveal               Transition plans are considered early in the lifecycle of
       overlapping challenges and opportunities affecting              an NIH Common Fund program, and these plans are
       multiple communities. Potential program concepts                reconsidered throughout the lifecycle to ensure the
       will also be solicited from the IC Directors and may            transition accommodates the changing needs of both
       arise from discussions involving NIH leadership,                the program and the external scientific community.
       Advisory Councils, or other entities providing input            A detailed description of the NIH Common Fund’s
       to NIH.                                                         Human Microbiome Project” transition is provided as
                                                                       an example in Figure 39.


          Figure 39. Transition of the Human       Microbiome Project
         The Human Microbiome Project (HMP), supported by the NIH Common Fund from 2007 to 2016, developed numerous
         research resources to enable the study of the microbial communities that live in and on the human body and the roles
         these communities play in health and disease. The first stage of HMP developed DNA sequence datasets and computa-
         tional tools for characterizing the microbiome in healthy adults and in people with microbiome-associated diseases. The
         second stage of HMP created integrated datasets of multiple biological properties from both the microbiome and the
         host over time in people with specific microbiome-associated diseases.
         HMP was an extremely successful program. Some of its major accomplishments include sequencing approximately
         3,000 reference bacterial genomes isolated from the human body; generating a comprehensive profile of the healthy
         human microbiome; developing integrated datasets of metagenomic, transcript, protein, and metabolite profiles from
         microbiome and host in multiple human cohorts; developing software and online resources to enable studies of the
         microbiome; and publication of more than 700 scientific papers.
         HMP helped catalyze the nascent field of microbiome research, laying the foundation for continued NIH investment
         through the Institutes and Centers (ICs) after the program ended. NIH investment in microbiome research outside of
         HMP has increased more than 40-fold since the inception of HMP and now spans more than 20 ICs. The Trans-NIH
         Microbiome Working Group was established in 2012 to provide a forum for coordinating NIH research activities
         related to the human microbiome. Ongoing access to critical HMP resources, including datasets and digital tools, will
         be accomplished through the Common Fund Data Ecosystem (CFDE). Inclusion of these resources within the CFDE
         ensures that the biomedical research community continues to benefit from HMP and that investment in HMP is lever-
         aged for maximum possible impact.




                                                                             NIH-Wide Strategic Plan for Fiscal Years 2021-2025    o/

                                                                                                                   APHA App. 300
Case: 25-1611       Document: 00118310432                                Page: 304                Date Filed: 07/08/2025                            Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM                          Document 38-22
                                                                 Document 38-22                    Filed 04/25/25
                                                                                                   Filed 04/25/25               Page 75
                                                                                                                                Page 75 of
                                                                                                                                        of 82
                                                                                                                                           82



           The NIH Common Fund Budget
           The NIH Common Fund budget for fiscal years                                    the budget made available through annual appropri-
           2018-2021 is shown in Table 1. Although NIH                                    ations. As programs end, funds are freed to support
           Common Fund programs are planned in advance, the                               new programs and planned expansions of ongoing
           specific activities funded in each program depend on                           programs.

           Table 1: The NIH Common                    Fund Budget,          Fiscal Years 2018-2021

                                                        Fiscal Year              Fiscal Year             Fiscal Year 2020               Fiscal Year 2021
                                                        2018 Actual              2019 Actual             Actual                         President’s Budget
                                                                                                                                        Request?

             NIH Common Fund (dollars in
             millions)                                  $600.7                   $619.2                  $639.1                        $596.5


             NIH Common Fund
             Percentage of NIH Labor/U.S.
                                                                                                         1.54%                         1.54%
             Department of Health and                   1.62%                    1.50%
             Human Services Funding’

           ‘lncludes March 17, 2020, budget amendment of $439.584 million for the National Institute of Allergy and Infectious Diseases.
           Excludes mandatory funding for the Type 1 Diabetes Research program and funding appropriated through the Interior, Environment, and Related Agencies
            Appropriations Act for the National Institute of Environmental Health Sciences Superfund Research Program. Includes program evaluation financing resources.



           The Public Health Service Act requires that the NIH                            funds are available for new initiatives each year.
           Common Fund Strategic Plan Report include an                                   These new initiatives are identified by the strategic
           estimate of amounts needed for (i) maximizing the                              planning principles outlined in this report, thus
           potential of the Common Fund research under 42                                 ensuring they address research areas of substantial
           U.S.C. 282(b)(7)(A)(i); (ii) to be sufficient only for con-                    need. Within each of the programmatic areas identi-
           tinuing to fund research activities previously identified                      fied through strategic planning, the NIH peer review
           by the Division of Program Coordination, Planning,                             process also identifies specific research proposals
           and Strategic Initiatives; and (iii) to be necessary                           addressing areas of substantial need. Therefore, the
           to fund research described in 42 U.S.C. 282(b)(7)                              amounts described in (iii) are equal to the amount
           (A\(i) that (1) is in addition to the research activities                      reserved for new NIH Common Fund initiatives.
           described in clause (ii) and (2) for which there is the
                                                                                           Each year, as part of the President’s Budget Request,
           most substantial need. See 42 U.S.C. 282a(c)(1)(C).
                                                                                          the NIH Common            Fund describes both the amounts
           Budgets for ongoing NIH Common Fund programs                                   estimated for each ongoing program (i and ii) and the
           are planned in advance to maximize the potential of                            amounts budgeted for new initiatives (iii). Table 2
           all programs. Therefore, the amounts described in (i)                          shows the estimates presented in the Fiscal Year
           and (ii) are the same and are equal to the total budget                        2021 President’s Budget Request; prior years’
           for all NIH Common Fund programs. In addition to the                           Requests can be found at https://commonfund.nih.
           amount for ongoing NIH Common Fund programs,                                    gov/about/budgetrequests.




      08     NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                                                        APHA App. 301
Case: 25-1611            Document: 00118310432                        Page: 305            Date Filed: 07/08/2025               Entry ID: 6734280

                   Case 1:25-cv-10787-BEM
                   Case 1:25-cv-10787-BEM                      Document 38-22
                                                               Document 38-22              Filed 04/25/25
                                                                                           Filed 04/25/25          Page 76
                                                                                                                   Page 76 of
                                                                                                                           of 82
                                                                                                                              82



       Table 2: NIH Common            Fund President’s Budget Request, Fiscal Year 2021


                          NIH Common Fund Program                              Fiscal Year           Fiscal Year          oa
                             (Dollars in Thousands)                            2019 Final         PAVPAUN ST TH (1 |     President’s
                                                                                                                       Budget Request
       4D Nucleome                                                                27,997              28,860               27,485
       Acute to Chronic Pain Signatures                                            2,094              16,636               14,648
       Big Data to Knowledge (BD2K)                                                2,605                       0                    0
       Enhancing the Diversity of the NIH-Funded Workforce                        52,656              53,713               47,401
       Extracellular RNA Communication                                             6,728                5,846              10,497
       Gabriella Miller Kids First Pediatric Research                             13,482              13,000               13,000
       Genotype-Tissue Expression (GTEx) Resources                                   772                       0                    0
       Global Health                                                              15,569              11,565                9,261
       Glycoscience                                                               19,435              13,362                5,191
       Health Care Systems Research Collaboratory                                  1,988                1,750               1,694
       High-Risk Research                                                      206,110               193,100              186,001
            NIH Director's Pioneer Award                                        45,446                54,265               51,293
            NIH Director's New Innovator Award Program                          102,692               77,815               79,795
            Transformative Research Award                                        35,149               38,402               34,659
            NIH Director's Early Independence Award Program                       22,823              22,618               20,255
       Human BioMolecular Atlas Project (HuBMAP)                                  15,005              27,031               31,040
       Illuminating the Druggable Genome                                          12,970              13,390               12,971
       Knockout Mouse Phenotyping Program                                         13,757              11,000                        0
       Library of Integrated Network-Based Cellular Signatures (LINCS)             9,946                   87                       0
       Metabolomics                                                               12,403              12,401               12,000
       Molecular Transducers of Physical Activity                                 44,744              46,126               42,609
       New Models of Data Stewardship                                                199                       0                    0
       NIH Center for Regenerative Medicine (NCRM)                                 7,597                5,700                       0
       Protein Capture                                                             1,334                       0                    0
       Science of Behavior Change                                                 12,674                  222                       0
       Somatic Cell Genome Editing                                                33,324              38,937               44 232
       S.P.A.R.C. - Stimulating Peripheral Activity to Relieve Conditions         51,559              47,268               41,883
       Strengthening the Biomedical Research Workforce                                56                       0                    0
       Transformative High Resolution Cryo-Electron Microscopy (CryoEM)           14,895              51,800               36,290
       Undiagnosed Diseases Network                                               29,207              24,401               21,683
                          Strategic Planning, Evaluation, and Infrastructure      10,061              22,917               21,129

                                                 Subtotal NIH Common Fund      619,166               639,111              579,017

                                       New Initiatives in NIH Common Fund                                                  17,450

                                                    Total NIH Common Fund      619,166          oo                        596,467



                                                                               NIH-Wide Strategic Plan for Fiscal Years 2021-2025       59



                                                                                                                       APHA App. 302
Case: 25-1611      Document: 00118310432                  Page: 306       Date Filed: 07/08/2025             Entry ID: 6734280

                  Case 1:25-cv-10787-BEM               Document 38-22        Filed 04/25/25       Page 77 of 82


                  Endnotes
            1     https://commonfund.nih.gov.
            2     https://commonfund.nih.gov/dataecosystem.
            3     https://commonfund.nih.gov/sites/default/files/Initiatives 6-28-11.pdf.
            4     https://dpcpsi.nih.gov/council.
            5     https://www.congress.gov/114/plaws/publ255/PLAW-114publ255.pdf.
            6     https://commonfund.nih.gov/sites/default/files/2015%20Common%20Fund%20Strategic%20Planning%20Report
                  final%20-%20508.pdf.
            7     https://commonfund.nih.gov/HuBMAP.
            8     https://commonfund.nih.gov/Singlecell.
            9     https://commonfund.nih.gov/CryoEM.
            10    https://commonfund.nih.gov/IDG.
            11    https://commonfund.nih.gov/metabolomics.
            12    https://commonfund.nih.gov/Diseases.
            13    https://archives.nih.gov/asites/report/09-09-2019/report.nih.gov/nihfactsheets/ViewFactSheete790.html?c-
                  sid=126&key=R#R.
            14    https://commonfund.nih.gov/diversity.
            15    https://acd.od.nih.gov/documents/reports/DiversityBiomedicalResearchWorkforceReport.pdf.
            16    https://commonfund.nih.gov/exrna.
            17    https://commonfund.nih.gov/pain.
            18    https://heal.nih.gov.
            19    https://commonfund.nih.gov/editing.
            20    https://commonfund.nih.gov/sparc.
            21    https://commonfund.nih.gov/sites/default/files/Journal Editors Workshop Exec Summary 508.pdf.
            22    https://datascience.nih.gov/community/2018biomedAI.
            23    https://commonfund.nih.gov/AfricaData.
            24    https://h3africa.org.
            25    https://commonfund.nih.gov/first.
            26    https://diversity.nih.gov/programs-partnerships/dsp.
            27    https://acd.od.nih.gov/documents/presentations/12132019AI.pdf.
            28    https://dpcpsi.nih.gov/sites/default/files/CoC May 2020 1.05PM Concept Clearance AIBLE Brennan 508.pdf.
            29    https://commonfund.nih.gov/hmp.




       60       NIH-Wide Strategic Plan for Fiscal Years 2021–2025



                                                                                                     APHA App. 303
Case: 25-1611       Document: 00118310432                   Page: 307          Date Filed: 07/08/2025                Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM             Document 38-22
                                                    Document 38-22             Filed 04/25/25
                                                                               Filed 04/25/25           Page 78
                                                                                                        Page 78 of
                                                                                                                of 82
                                                                                                                   82




   g Appendix V: Acronyms
       3-D           three-dimensional                           CoC                Council of Councils
       A2CPS         Acute to Chronic Pain Signatures            CORD-19            COVID-19 Open Research Dataset
       ABCD          Adolescent Brain Cognitive                  COVID-19           coronavirus disease 2019
                     Development
                                                                 cryoEM             cryo-electron microscopy
       ACTIV         Accelerating COVID-19 Therapeutic
                      Interventions and Vaccines                 CSR                Center for Scientific Review

       AFREhealth    African Forum for Research and              CTSA              Clinical and Translational Science
                     Education in Health                                           Awards

       AHRQ          Agency for Healthcare Research and          DASH               Data and Biospecimen Hub
                     Quality                                     DoD                U.S. Department of Defense
       Al             artificial intelligence
                                                                 DPC                Diversity Program Consortium
       AIBLE         Artificial Intelligence for BiomedicaL
                                                                 DPC DaTA          DPC Dissemination and Translation
                     Excellence
                                                                                   Awards
       AMD            age-related macular degeneration
                                                                 DPCPSI             Division of Program Coordination,
       AMP           Accelerating Medicines Partnership                             Planning, and Strategic Initiatives

       AMP-AD        AMP-Alzheimer’s Disease                     DR2                Disaster Research Response

       AMP-PD        AMP-Parkinson’s Disease                     DRC                Democratic Republic of the Congo

       AMP-RA/       AMP-Rheumatoid Arthritis/Lupus              ECHO               Environmental influences on Child
       Lupus                                                                        Health Outcomes

       AMP-T2D       AMP-Type 2 Diabetes                         ENCODE             ENCyclopedia of DNA Elements

       ASSIST        Application Submission System &             ERC                extracellular RNA communication
                     Interface for Submission Tracking
                                                                 ERM                Enterprise Risk Management
       BIRCWH         Building Interdisciplinary Research
                                                                 EVD                Ebola virus disease
                      Careers in Women’s Health
                                                                 exRNA              extracellular RNA
       BRAIN          Brain Research through Advancing
                      Innovative Neurotechnologies®              FAIR              findable, accessible, interoperable,
                                                                                   and reusable
       BUILD          Building Infrastructure Leading to
                      Diversity                                  FDA                U.S. Food and Drug Administration
       CAR            chimeric antigen receptor                  FIC                Fogarty International Center
       cc             NIH Clinical Center                        FIRST              Faculty Institutional Recruitment for
                                                                                    Sustainable Transformation
       cDC            Centers for Disease Control and
                      Prevention                                 FOIA               Freedom of Information Act
       CFDE           Common Fund Data Ecosystem                 GACD               Global Alliance for Chronic Diseases
       CIT            Center for Information Technology          GBD                Global Burden of Disease
       ClinGen        Clinical Genome                            H3Africa           Human Heredity and Health in Africa
                                                                                    Consortium



                                                                        NIH-Wide Strategic Plan for Fiscal Years 2021-2025   61

                                                                                                            APHA App. 304
Case: 25-1611     Document: 00118310432                 Page: 308         Date Filed: 07/08/2025          Entry ID: 6734280

                Case 1:25-cv-10787-BEM             Document 38-22         Filed 04/25/25    Page 79 of 82



           HEAL           Helping to End Addiction                  NHLBI         National Heart, Lung, and Blood
                          Long-termSM                                             Institute
           HHS            U.S. Department of Health and             NIA           National Institute on Aging
                          Human Services
                                                                    NIAAA         National Institute on Alcohol Abuse
           HMP            Human Microbiome Project                                and Alcoholism
           HRSA           Health Resources and Services             NIAID         National Institute of Allergy and
                          Administration                                          Infectious Diseases
           HuBMAP         Human BioMolecular Atlas Program          NIAMS         National Institute of Arthritis and
                                                                                  Musculoskeletal and Skin Diseases
           IC             Institute and Center
                                                                    NIBIB         National Institute of Biomedical
           IDeA           Institutional Development Award                         Imaging and Bioengineering
           IDG            Illuminating the Druggable Genome         NICHD         Eunice Kennedy Shriver National
                                                                                  Institute of Child Health and Human
           IMPROVE        Implementing a Maternal health and
                                                                                  Development
                          PRegnancy Outcomes Vision for
                          Everyone                                  NIDA          National Institute on Drug Abuse
           INCLUDE        INvestigation of Co-occurring             NIDCD         National Institute on Deafness and
                          conditions across the Lifespan to                       Other Communication Disorders
                          Understand Down syndromE
                                                                    NIDCR         National Institute of Dental and
           IPRCC          Interagency Pain Research                               Craniofacial Research
                          Coordinating Committee
                                                                    NIDDK         National Institute of Diabetes and
           iPSC           induced pluripotent stem cell                           Digestive and Kidney Diseases
           ISS-NL         International Space Station               NIEHS         National Institute of Environmental
                          U.S. National Laboratory                                Health Sciences
           MOSAIC         Maximizing Opportunities                  NIGMS         National Institute of General Medical
                          for Scientific and Academic                             Sciences
                          Independent Careers
                                                                    NIH           National Institutes of Health
           MoTrPAC        Molecular Transducers of Physical
                          Activity Consortium                       NIH           NIH Research Portfolio Online
                                                                    RePORTER      Reporting Tools Expenditures and
           NARI           Native American Research                                Results
                          Internship
                                                                    NIMH          National Institute of Mental Health
           NASA           National Aeronautics and Space
                          Administration                            NIMHD         National Institute on Minority Health
                                                                                  and Health Disparities
           NCATS          National Center for Advancing
                          Translational Sciences                    NINDS         National Institute of Neurological
                                                                                  Disorders and Stroke
           NCCIH          National Center for Complementary
                          and Integrative Health                    NINR          National Institute of Nursing
                                                                                  Research
           NCD            noncommunicable diseases
                                                                    NLM           National Library of Medicine
           NCI            National Cancer Institute
                                                                    OD            NIH Office of the Director
           NEI            National Eye Institute
                                                                    OSC           Office of Strategic Coordination
           NGRI           Next Generation Researchers
                          Initiative                                PALM          Pamoja Tulinde Maisha
           NHGRI          National Human Genome Research            PATH          Population Assessment of Tobacco
                          Institute                                               and Health




      62    NIH-Wide Strategic Plan for Fiscal Years 2021–2025



                                                                                                  APHA App. 305
Case: 25-1611    Document: 00118310432                 Page: 309        Date Filed: 07/08/2025               Entry ID: 6734280

              Case 1:25-cv-10787-BEM             Document 38-22        Filed 04/25/25        Page 80 of 82



     PHS          Public Health Service                   SEER             Surveillance, Epidemiology, and End
                                                                           Results
     PMC          PubMed Central
                                                          SGM              sexual and gender minority
     PPP          public–private partnership
                                                          SIG              Shared Instrumentation Grant
     PRGLAC       Pregnant Women and Lactating
                  Women                                   SMaRt            Somatic Mosaicism and
                                                                           Retrotranspositions
     RCDC         Research, Condition, and Disease
                  Classification                          SPARC            Stimulating Peripheral Activity to
                                                                           Relieve Conditions
     RCMI         Research Centers in Minority
                  Institutions                            SPRINT           Systolic Blood Pressure Intervention
                                                                           Trial
     RFI          Request for Information
                                                          SSC              Symptom Science Center
     SAMHSA       Substance Abuse and Mental Health
                  Services Administration                 STRIDES          Science and Technology Research
                                                                           Infrastructure for Discovery,
     SARS-CoV-2 severe acute respiratory syndrome                          Experimentation, and Sustainability
                coronavirus 2
                                                          TRSP             Tobacco Regulatory Science
     SCAP         Single Cell Analysis Program                             Program
     SCD          sickle cell disease                     UDN              Undiagnosed Diseases Network
     SCDIC        Sickle Cell Disease Implementation      UDP              Undiagnosed Diseases Program
                  Consortium
                                                          VA               U.S. Department of Veterans Affairs
     SCGE         Somatic Cell Genome Editing




                                                                NIH-Wide Strategic Plan for Fiscal Years 2021–2025   63

                                                                                                    APHA App. 306
Case: 25-1611        Document: 00118310432                  Page: 310        Date Filed: 07/08/2025                Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM               Document 38-22
                                                       Document 38-22        Filed 04/25/25
                                                                             Filed 04/25/25        Page 81
                                                                                                   Page 81 of
                                                                                                           of 82
                                                                                                              82




           Acknowledgments
           The NIH-Wide Strategic Plan for Fiscal Years 2021-2025 is the product of many contributors. The NIH
           Director would like to thank the following stakeholders, committees, and staff for their time and effort in
           helping to develop this Strategic Plan.
           @     We would like to thank the NIH-Wide Strategic Working Group, whose enthusiasm, knowledge, and
                 commitment made this document possible: Elizabeth Baden, Julie Frost Bellgowan, Michelle Bennett,
                 Laura Berkson, David Bochner, Laura Brockway-Lunardi, Thomas Calder, Cindy Caughman, Mindy Chai,
                 Stephanie Clipper, Laura Cole, Christine Cooper, Stephanie Courchesne-Schlink, Jessica Creery, Ned
                 Culhane, Hope Cummings, Charles Dearolf, Clarence Dukes, Deborah Duran, Yvette Edghill Spano,
                 Nicole Garbarini, Taylor Gilliland, Shefa Gordon, John Grason, Rebecca Hong, Cristina Kapustij, Edmund
                 Keane, Mary Beth Kester, David Kosub, Ira Kukic, Erica Landis, Charlene Le Fauve, Issel Anne Lim, Ryan
                 Mahon, Rebecca Meseroll, Wynn Meyer, Lara Miller, Kathryn Morris, Kate Nagy, Patty Newman, Sheila
                 Newton, Rosanna Ng, Samia Noursi, Eileen Oni, Wilma Peterman Cross, Kamilah Rashid, Reaya Reuss,
                 Sarah Rhodes, David Saeger, Leigh Samsel, Claire Schulkey, Paul Scott, Ching-Yi Shieh, Kelly Singel,
                 Tyrone Spady, Erin Spaniol, Meredith Stein, Daniel Stimson, Nathaniel Stinson, Denise Stredrick, Rachel
                 Sturke, Meredith D. Temple-O’Connor, Kimberly Thigpen Tart, Leslie Thompson, Valerie Virta, Marina
                 Volkov, Julie Wallace, Elizabeth Walsh, Bridget Williams-Simmons, Nora Wong.

           e     In addition, we thank those across NIH who took the time to review the Framework and draft Strategic
                 Plan and provide content. This includes Institute, Center, and OD Office Directors and staff.

           e@    We would like to thank the NIH Advisory Committee to the Director and the NIH Division of Program
                 Coordination, Planning, and Strategic Initiatives Council of Councils for their insightful feedback on
                 the Framework and draft Strategic Plan.

           e     Finally, we are enormously appreciative of the robust input into the strategic planning process
                 from stakeholder communities, including members of the scientific and health care communities,
                 professional societies, advocacy organizations, industry, other federal agencies, and the general public.
                 We look forward to your continued involvement as NIH works to implement the vision outlined here.




      64        NIH-Wide Strategic Plan for Fiscal Years 2021-2025



                                                                                                         APHA App. 307
Case: 25-1611    Document: 00118310432      Page: 311     Date Filed: 07/08/2025     Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-22   Filed 04/25/25   Page 82 of 82




                                                                               APHA App. 308
Case: 25-1611   Document: 00118310432   Page: 312    Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-23
                                  Document 38-23    Filed 04/25/25
                                                    Filed 04/25/25   Page 1
                                                                     Page 1 of
                                                                            of 89
                                                                               89




                       EXHIBIT
                       EXHIBIT 23




                                                                        APHA App. 309
Case: 25-1611    Document: 00118310432                 Page: 313       Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM           Document 38-23
                                                 Document 38-23         Filed 04/25/25
                                                                        Filed 04/25/25      Page 2
                                                                                            Page 2 of
                                                                                                   of 89
                                                                                                      89




                                        UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF MASSACHUSETTS

           AMERICAN      PUBLIC      HEALTH
           ASSOCIATION; IBIS REPRODUCTIVE
           HEALTH; INTERNATIONAL UNION,
           UNITED AUTOMOBILE,
           AEROSPACE, AND AGRICULTURAL
           IMPLEMENT WORKERS (UAW);
           BRITTANY     CHARLTON;       KATIE
           EDWARDS; PETER LURIE; and
           NICOLE MAPHIS,
                                 Plaintiffs,


                  v.                                                    No. 1:25-cv-10787-BEM
           NATIONAL INSTITUTES OF
           HEALTH; JAY BHATTACHARYA, in
           his official capacity as Director of the
           National Institutes of Health; UNITED
           STATES DEPARTMENT OF HEALTH
           AND HUMAN SERVICES; and
           ROBERT F. KENNEDY, JR., in his
           official capacity as Secretary of the
           United States Department of Health and
           Human Services, et al.,
                                         Defendants.


                              DECLARATION OF GEORGES C. BENJAMIN, M.D.


                  I, Georges C. Benjamin, do hereby state the following, pursuant to 28 U.S.C. § 1746:


                   1.     1 am the Executive Director of the American Public Health Association (APHA). I

           have served in that role since December 2002.

                  2.      APHA’s mission is to: “Build public health capacity and promote effective policy

           and practice.” APHA members include more than 23,000 individual public health professional

           members, as well as agency members such as organizations interested in health, state and local

           health departments and health related businesses. APHA also coordinates with state and regional

           APHA affiliates across the nation. APHA members work in every discipline of public health, in




                                                                                                 APHA App. 310
Case: 25-1611    Document: 00118310432                  Page: 314        Date Filed: 07/08/2025              Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM             Document 38-23
                                                   Document 38-23         Filed 04/25/25
                                                                          Filed 04/25/25       Page 3
                                                                                               Page 3 of
                                                                                                      of 89
                                                                                                         89




            every state, and in countries across the globe.

                    3.     I make this declaration on behalf of the American Public Health Association in

            support of its motion to enjoin the National Institutes of Health and the Department of Health

           and Human Services from implementing or enforcing its directives forcing agency administrators

           to terminate the federal grants funding APHA’s members’ critical research.

                   4.      I am a graduate of the Illinois Institute of Technology and the University of

           Illinois College of Medicine. I am licensed to practice medicine in Maryland and the District of

           Columbia. I am board-certified in internal medicine and a Master of the American College of

           Physicians, a fellow of the National Academy of Public Administration, a fellow emeritus of the

           American College of Emergency Physicians, an elected member of the National Academy of

           Medicine (formally the Institute of Medicine) of the National Academies of Sciences,

           Engineering and Medicine, an honorary fellow of the Faculty of Public Health, and an honorary

           fellow of the Royal Society of Public Health.

                   5.      Following graduation from medical school, I entered active duty in the Army where

           I completed a residency in internal medicine at the Brooke Army Medical Center in San Antonio,

           Texas. Upon completion of my residency in 1981, I was assigned to Madigan Army Medical Center

           in Tacoma, Washington, as faculty and staff in the Department of Emergency Medicine, there I

           managed a 72,000-patient per year ambulatory care service as chief of the Acute Illness Clinic and

           was an attending physician within the Department of Emergency Medicine. I was reassigned in

           1983 and from then until the spring of 1987, I served as chief of emergency medicine at the Walter

           Reed Army Medical Center.

                   6.      Following my discharge from the United States Army in 1987, I was appointed as

           Chair of the Department of Community Health and Ambulatory Care at the District of Columbia

           General Hospital, serving in that post until December of 1990. From January 1990 to the fall of

                                                              2




                                                                                                    APHA App. 311
Case: 25-1611     Document: 00118310432                    Page: 315            Date Filed: 07/08/2025              Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM                Document 38-23
                                                      Document 38-23            Filed 04/25/25
                                                                                Filed 04/25/25         Page 4
                                                                                                       Page 4 of
                                                                                                              of 89
                                                                                                                 89




           1991, I was the Acting Commissioner for Public Health for the District of Columbia, and the

           Acting Director of the Emergency Ambulance Bureau in the District of Columbia Fire

           Department. | returned to serve as the Intermin Director of the Emergency Ambulance Bureau

           from the fall of 1994 to the spring of 1995.

                    7.      I served as the Secretary of the Maryland Department of Health and Mental

           Hygiene from April 1999 to December 2002, following four years as its Deputy Secretary for

           Public Health Services.

                    8.      In April 2016, I was appointed by President Obama to the National Infrastructure

           Advisory Council. In that role, I helped advise the President on how best to assure the security of

           the nation's critical infrastructure. I served in this capacity until December of 2020.

           APHA's Mission, Structure, and Activities.


                   9.       The mission of public health is to “fulfill society's interest in assuring conditions

           in which people can be healthy.”! Public health has been defined as “the science and art of

           preventing disease, prolonging life, and promoting health and efficiency through organized

           community efforts and informed choices of society, organizations, public and private

           communities, and individuals.”

                    10.     As adiscipline, public health involves:

                           a)   identifying health issues and priorities through the study of communities and

                                specifically through a focus on at-risk communities

                           b)   shaping public policies and interventions to address national, regional, and




           ? Institute of Medicine, The Future of Public Health. National Academy Press, Washington, DC, 1988.

           ? Winslow, C.E.A. (1920). The untilled fields of public health. Science, 51(1306), 23-33.

                                                                 3




                                                                                                          APHA App. 312
Case: 25-1611    Document: 00118310432                   Page: 316          Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM                Document 38-23
                                                      Document 38-23         Filed 04/25/25
                                                                             Filed 04/25/25        Page 5
                                                                                                   Page 5 of
                                                                                                          of 89
                                                                                                             89




                                local concerns, and

                           c)   ensuring all populations have access to appropriate and affordable health and

                                disease prevention services as well as monitoring and evaluating those services

                                and care.

                    11.     The American Public Health Association was founded in 1872, at a time when

            scientific advances were helping to reveal the causes of communicable diseases. These

            discoveries laid the foundation for the public health profession and for the infrastructure to

            support APHA’s work. Since that time, public health has evolved into a broad health discipline

            involving several different types of practitioners.

                    12.     APHA members work in every discipline of public health, in every state in the

            country, and in countries across the globe. APHA members are united with a common goal to

           promote optimal, equitable health and well-being for all.

                    13.    From its inception, APHA has been dedicated to ensuring optimal health of all

           U.S. residents. Two of its most important functions have been advocacy for adoption by the

           government of the most current scientific advances relevant to public health, and public

           education on how to improve individual and community health. Along with these efforts, APHA

           has also campaigned for developing well-organized governmental health departments at the

           tribal, federal, state, and local levels to provide the governmental level role to fulfill its statutory

           obligations.

                   14.     APHA works with key decisionmakers to shape public policy to address today’s

           current and emerging public health concerns. Those include ensuring access to care, protecting,

           and increasing funding for core public health programs and services and eliminating health

           disparities. APHA is also working on other critical public health issues including public health

           and emergency preparedness, food safety, hunger and nutrition, and the full range of

                                                               4




                                                                                                         APHA App. 313
Case: 25-1611     Document: 00118310432                 Page: 317         Date Filed: 07/08/2025                Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM             Document 38-23
                                                   Document 38-23          Filed 04/25/25
                                                                           Filed 04/25/25       Page 6
                                                                                                Page 6 of
                                                                                                       of 89
                                                                                                          89




           environmental health issues, public health infrastructure, disease control, international health,

           and tobacco control.

                   15.    | APHA also produces statements and resources for public health practitioners,

           including member-developed policy briefs that provide evidence to use in public health

           education and advocacy, provide easy access to the latest research and findings in public health,

           and assist policymakers and regulators in being able to access up-to-date facts and findings as

           they relate to public health. APHA holds an annual convention, the largest of its kind in public

           health, where students and published academics alike can present their research and learn from

           one another.

                   16.    | Among an array of other scientific literature, APHA publishes The American

           Journal of Public Health, which is dedicated to publishing original work in research, research

           methods, and program evaluation in the field of public health to advance public health research,

           policy, practice, and education.

          Equity and Inclusion are Central to APHA's Activities and the Activities of Its Members


                   17.     The entire field of public health is dedicated to an understanding of and creating

           interventions to ensure optimal health for all. This includes addressing inequitable access to

          health and health-related services and to achieve equity in health status. This type of work is

          essential not only to APHA’s own mission but to the discipline of public health itself and society

          as a whole.

                   18.     APHA and its members work on initiatives to ensure that health and health

          services are accessible to people in all communities. APHA and its members also study and

          research the way in which disease, injury, or health related issues affect populations that have

          been marginalized and excluded from full participation in society or that face resource deficits.

          Seeking to bring about optimal health through the appropriate distribution of health resources,

                                                             5




                                                                                                      APHA App. 314
Case: 25-1611    Document: 00118310432                   Page: 318           Date Filed: 07/08/2025              Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM               Document 38-23
                                                     Document 38-23           Filed 04/25/25
                                                                              Filed 04/25/25        Page 7
                                                                                                    Page 7 of
                                                                                                           of 89
                                                                                                              89




            ensuring that all communities have access to preventative health services and health care, and

            understanding the social determinants of health—the way in which nonclinical socio-economic

            factors, geographic factors, public policies and demographics that affect health-related

            outcomes—are all central to the field of public health and to the work of APHA and its members.

                     19.     APHA has several programs and activities aimed at eliminating discrimination

            and exclusion in the provision of health services including prevention and ensuring that the

            public is educated about both overt discrimination and bias. Its members also are individually

            and collectively engaged in this work.

                    20.    | APHA is involved in and supports research focused on addressing structural

            racism and developing solutions to mitigate racism within the institutions, including health

            institutions, in the United States. Many of APHA’s members also, individually and collectively

            through APHA, take part in similar initiatives. For some of these members, such research is not

            just another component of their work, but the very foundation for their careers.

           APHA’s Members Rely on NIH Grant Funding for their Work

                    21.    | APHA members rely heavily on funding from the Department of Health and

            Human Services, and from NIH in particular. NIH grants are essential to our members’ ability to

            support a wide range of activities, from tribal, federal, state, territorial and local health

            departments, to community-based programs, to academic research. APHA members have

            reasonably relied on the continued receipt of NIH grants that have already been awarded and, in

           general, on the continued availability of NIH grants to support work that is consistent with

           congressional mandates of the agency to conduct medical research and protect public health.

                   22.      Accordingly, the indiscriminate termination of grants by the NIH has already

           severely impacted our members’ work by disrupting ongoing programs and community support,

           making it difficult — if not impossible — to plan for the future. It has directly harmed individuals

                                                                6




                                                                                                            APHA App. 315
Case: 25-1611     Document: 00118310432                 Page: 319         Date Filed: 07/08/2025              Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM             Document 38-23
                                                   Document 38-23          Filed 04/25/25
                                                                           Filed 04/25/25        Page 8
                                                                                                 Page 8 of
                                                                                                        of 89
                                                                                                           89




           whose jobs are supported by this funding, both direct grant recipients and those whom they

           employ. And if allowed to continue unabated, these terminations will have a severely negative

           impact on public health.

           Partisan Political Considerations Jeopardize Public Health Initiatives


                   23.   | APHA members need the flexibility to pursue their work without fear of

           persecution or disruption in response to emerging threats to public health. Otherwise, precious

           time will be wasted, and lives will be lost. Such impacts of political pressure on public health are

           not hypothetical.

                   24.     Congressional action in the 1990s prohibiting federal funds from being used to

           “advocate or promote gun control” effectively chilled public health research into firearm injury

           prevention and its effect on communities for decades, as researchers feared having their work

           shut down if outside groups regarded it as advocacy. Even after the initial language was clarified,

           it still took years for Congress to expressly allow for funding to be reappropriated and for

           agencies to feel free to properly investigate a critical public health concern. Firearm injury

           disproportionately impacts communities of color with African American men receiving the bulk

           of the injuries and deaths. Firearms are also the leading cause of death for all children and teens

           regardless of race or ethnicity.

                   25.     Conversely, the history of American public health has demonstrated the

           importance of continuing research that examines disparate outcomes in marginalized

           communities, even in the face of partisan pressure not to study these groups. The AIDS epidemic,

           for instance, required researchers to pay careful attention to racial, gender, and sexual orientation

           differences in high-risk populations to develop effective interventions for particular communities

           to slow the spread of the virus. In the absence of such tailored responses, HIV and other sexually

           transmitted diseases would have wrought considerably more damage among these groups and to

                                                             7




                                                                                                      APHA App. 316
Case: 25-1611    Document: 00118310432                 Page: 320          Date Filed: 07/08/2025                 Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM             Document 38-23
                                                   Document 38-23          Filed 04/25/25
                                                                           Filed 04/25/25       Page 9
                                                                                                Page 9 of
                                                                                                       of 89
                                                                                                          89




            the general population.

                    26.   | Asamore recent example, the rapidly evolving response to the COVID-19

            pandemic also required researchers to quickly account for the needs of different communities,

            particularly regarding vaccine skepticism among ethnic minorities, some who were directly

            targeted with misinformation to sow distrust among ethnic minorities. By paying careful

            attention to these differences, researchers were able to guide authorities to direct resources and

            tailor responses accordingly, especially regarding vaccine distribution, benefiting the broader

            population as a result.

                    27.     When researchers are empowered to do their work free from political pressure,

            public health benefits. When they are discouraged, public health suffers.

           APHA Members Have Had Their Projects Cancelled Without Fair Warning


                   28.      Since at least February 2025, NIH has informed APHA members with previously

            awarded grants — some of which had been in place for years — would be terminated. Others have

            been informed, either directly or indirectly, that grant proposals they had already submitted

            would not be considered. These members were informed that these curtailed grants and programs

            “no longer effectuate agency priorities.” Specifically, the NIH targeted projects that dealt —

            however remotely or tangentially — with “gender identity” (also characterized in grant

           termination letters as “transgender issues”), and “diversity, equity, and inclusion” or “DEI.”

                   29.     Grant recipients were given no particularized justification for why their projects

           were canceled, or how their projects suddenly failed to “effectuate agency priorities.” Instead,

           they all received the same cut-and-paste response based on the category highlighted by the new

           directives that their project was judged to deal with.

                   30.     Prior to the recent waves of terminations, I have never been aware of an APHA

           member having their NIH grant terminated.




                                                                                                     APHA App. 317
Case: 25-1611    Document: 00118310432                Page: 321         Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM           Document 38-23
                                                 Document 38-23         Filed 04/25/25
                                                                        Filed 04/25/25       Page 10
                                                                                             Page 10 of
                                                                                                     of 89
                                                                                                        89




                   31.    | am aware of one dues-paying APHA member, who I will refer to as APHA

           Member 16, who is a named professor at a major private research university. As part of their

           work, APHA Member 16 has prioritized mentoring and training the next generation of scientists.

           To do this, they lead NIH-funded programs that have supported training in STEM fields at

           multiple levels, spanning from undergraduate students to graduate students and post-doctoral

           scholars.

                   32.   | Member 16 was awarded an NIH grant in excess of $600,000 to run a MARC

           program at their university, with an award term of five years. The goal of the MARC Program, as

           described in NIH PAR 21-147, is to develop a diverse pool of undergraduates who complete their

           baccalaureate degree, transition into, and complete bio-medical, research-focused higher degree

           programs. The MARC program is limited to applications from training programs at

           baccalaureate degree-granting research-intensive institutions, defined as those that receive an

           average of $7.5 million per year in NIH funding over the previous three fiscal years. A true and

           correct copy of the PAR is attached as Exhibit A.

                   33.   | MARC awards are part of the NIH Ruth L. Kirschstein National Research Service

           Awards (NRSA) program, which has been the primary means of supporting predoctoral and

           postdoctoral research training programs since enactment of the NRSA legislation in 1974. The

           PAR explains that these awards are designed to address the NIH’s recognition of the “need to

           diversify the scientific workforce by enhancing the participation of individuals from groups

           identified as underrepresented” in biomedical research workforce.

                   34.    Based on extensive data to support this definition, NIH describes the benefit of

           diverse teams as follows:

                    Research shows that diverse teams working together and capitalizing on innovative ideas
                   and distinct perspectives outperform homogenous teams. Scientists and trainees from
                   diverse backgrounds and life experiences bring different perspectives, creativity, and
                   individual interests to address complex scientific problems. There are many benefits that
                                                            9




                                                                                                   APHA App. 318
Case: 25-1611       Document: 00118310432               Page: 322         Date Filed: 07/08/2025              Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM            Document 38-23
                                                  Document 38-23          Filed 04/25/25
                                                                          Filed 04/25/25       Page 11
                                                                                               Page 11 of
                                                                                                       of 89
                                                                                                          89




                     flow from a diverse NIH-supported scientific workforce, including fostering scientific
                     innovation, enhancing global competitiveness, contributing to robust learning
                     environments, improving the quality of research, enhancing public trust, and increasing
                     the likelihood that health disparities and the needs of underserved populations are
                     addressed in biomedical research.


                     35.   | Despite NIH’s longstanding efforts to diversify the biomedical field,

            underrepresentation continues to be a problem. The PAR provides citations to support that fact

            that:

                     Individuals from certain groups and backgrounds are underrepresented in the biomedical
                     sciences research workforce as described in NIH's Interest in Diversity. The severity of
                     the underrepresentation of these groups increases throughout the training stages. For
                     example in 2017, students from certain racial and ethnic groups, including Blacks or
                     African Americans, Hispanics or Latinos, American Indians or Alaska Natives, Native
                     Hawaiians and other Pacific Islanders comprised ~35 percent of the college age
                     population, but earned only ~25 percent of bachelor’s degrees and ~16 percent of Ph.D.
                     degrees in science and engineering. Additionally, while the United States has seen a
                     significant increase in the number of Ph.D. degrees in the biomedical sciences earned by
                     scientists from groups underrepresented in the biomedical research workforce, a
                     corresponding increase in the ranks of the faculty in basic science departments at medical
                     schools has not occurred.

                     36.   | According to NIH, diversity enhancing institutional training grants to offset the

            cost of appointed trainee stipends, tuition and fees, and training related expenses, including

            health insurance, along with provision of activities that build a strong cohort of research-oriented

            individuals while enhancing the science identity, self-efficacy, and a sense of belonging among

            the cohort members have been proven to increase persistence in STEM fields.

                     37.   | APHA Member 16 has witnessed the importance of such grants to strengthen the

            scientific community. Over the years, they have seen many students who were able to gain

            research experience due to support from NIH institutional training grants who have benefited

            immensely. They have seen numerous examples of students who were the first in their family to

            go to college or came from families with very limited financial means, who are now completing

            residency training in critical fields such as neurosurgery and oncology, MD/PhD degrees to
                                                               10




                                                                                                     APHA App. 319
Case: 25-1611    Document: 00118310432                 Page: 323         Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM             Document 38-23
                                                   Document 38-23        Filed 04/25/25
                                                                         Filed 04/25/25       Page 12
                                                                                              Page 12 of
                                                                                                      of 89
                                                                                                         89




           develop into physician scientists, and PhD degrees in many different fields. Many of these

           students might never had access to research opportunities without such programs because they

           would have needed to work to pay for their tuition and/or living expenses.     As APHA Member 16

           has witnessed, these institutional training grants provide equitable access to research so students

           with different levels of financial means can understand what it takes to develop the skills to

           become a member of the biomedical workforce.

                   38.    | understand that applying fora MARC grant is a difficult process. 1] am told the

           final proposal was comprised of ~500 pages of information required to evaluate the plans to train

           undergraduate students who have the goal of pursuing a PhD or MD/PhD.

                   39.    | understand that once    a MARC application is completed, it is submitted to NIH

           and considered for rigorous review by a team of peer reviewers (faculty at other institutions) on

           the NIH study section that reviews such training and workforce development proposals. Most of

           these faculty member peer reviewers run similar NIH-funded programs at their own institute, so

           are very familiar with these programs. The review is very rigorous, with three assigned reviewers

           tasked to read the entire application and comb through all the data tables to assess the rigor and

           potential impact of the planned training.

                   40.   | APHA Member 16 was awarded the MARC grant in spring of 2023 with an

           Impact Score of 25. They successfully sought a non-competitive renewal in 2024 and submitted a

           second non-competitive renewal application by the deadline of October, 2024. They expected

           that they would receive another non-competitive renewal in 2025. The non-competitive renewal

           process is significantly less onerous than a competitive NIH application. For the non-

           competitive renewal, PIs assemble a report of Major Accomplishments, including a report for

           each supported trainee, including the degree sought, the research mentor, a brief description of

           the research project, courses taken, conference presentations, contributions to manuscripts,

                                                             1]




                                                                                                    APHA App. 320
Case: 25-1611    Document: 00118310432                 Page: 324        Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM            Document 38-23
                                                  Document 38-23        Filed 04/25/25
                                                                        Filed 04/25/25       Page 13
                                                                                             Page 13 of
                                                                                                     of 89
                                                                                                        89




            awards, and professional development activities. The report also includes plans for the next

            reporting period to accomplish the goals of the application as well as an Outcomes table detailing

            the trajectory of all supported MARC students, including any terminal degree received, position

            or training following the terminal degree and subsequent fellowships.

                   41.    | APHA Member 16 completed this report in anticipation of renewing their MARC

            grant. They have never heard of a non-competitive renewal being denied in their nearly 30 years

            of experience with NIH grants.

                   42.     On April 2, 2025, APHA Member 16 received an email from NIH terminating the

            MARC grant. A true and correct copy of the email, redacted to remove all identifying

            information, is attached hereto as Exhibit B.

                   43.     The email states “due to changes in NIH/HHS priorities, the Maximizing Access

            to Research Careers (MARC) program has been terminated. Your institution can continue to

            draw funds on any active award for allowed costs that are within scope and consistent with the

            Grants Policy Statement. Further awards will not be made, and NIGMS will not permit no-cost

           extensions. We advise against recruiting future cohorts.” No further explanation for the

           termination was provided.

                   44.     The termination has significant impacts on the students being supported, the

           university hosting them, and APHA Member 16.

                   45.     During the first two years of the grant, APHA Member 16’s work included

           organizing a 1-hour class that the funded MARC scholars attended weekly to support their

           scholarly and professional development. They also met regularly with each funded scholar and

           provided detailed feedback on applications to attend summer research programs, for graduate

           school, for MD/PhD Programs, for post-baccalaureate research opportunities, and many other

           internship opportunities. APHA Member 16 organized numerous mock interviews as well as

                                                            12




                                                                                                   APHA App. 321
Case: 25-1611    Document: 00118310432                  Page: 325         Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM            Document 38-23
                                                  Document 38-23          Filed 04/25/25
                                                                          Filed 04/25/25        Page 14
                                                                                                Page 14 of
                                                                                                        of 89
                                                                                                           89




           activities beyond the classroom to build a supportive cohort, such as weekend walks at various

           outdoor locations. A large fraction of the cohort also attended and presented their research at the

           Annual Biomedical Research Conference for Minoritized Students (ABRCMS) in both Year |

           and Year 2 of the MARC program. Two of the students won awards for their outstanding

           presentations at these meetings each year.

                   46.     The MARC students rely on MARC funding to pay their tuition. Without the

           tuition assistance provided by the MARC award, students may incur additional student loan debt

           because they were awarded $16,000 in tuition funds as a MARC Scholar. The MARC grant also

           provided an annual research stipend in the amount of $14,340 per year for junior and senior years

           as of June 2024. This annual stipend allowed students to accept summer research opportunities

           and to focus on research opportunities during the academic year rather than paid employment.

           APHA Member 16 is very concerned that these students, many of whom are of low socio-

           economic status, will now lose access to research opportunities, as they will need to seek other

           paid positions to pay for tuition, food, and housing.

                   47.     The university will also be injured by the loss of this workforce and the impact

           that the loss of funding has on critically important research, including end stage liver disease,

           development of new antimicrobial drugs to combat antibiotic resistance, and skin cancer. These

           are just a few of the areas current MARC students have contributed to, which will now be

           impacted by the loss of funding for these individuals and the need for the MARC students to seek

           other employment.

                  48.    | The MARC termination has not only impacted APHA Member 16’s salary; it has

           also affected their professional credentials. Obtaining and maintaining NIH funding is an

           important aspect of demonstrating one’s success in the biomedical field. And the mentoring and

           training work APHA Member 16 has done, made possible by NIH funding and recognized

                                                             13




                                                                                                      APHA App. 322
Case: 25-1611    Document: 00118310432                  Page: 326           Date Filed: 07/08/2025              Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM             Document 38-23
                                                   Document 38-23           Filed 04/25/25
                                                                            Filed 04/25/25        Page 15
                                                                                                  Page 15 of
                                                                                                          of 89
                                                                                                             89




            through several prestigious awards, is part of the value they bring as a faculty member to their

            university.

                    49.   | APHA Member 16 considered sharing their story publicly, but has declined to do

            so out of fear that disclosure of their name will lead to retaliation against their university in the

            form of additional terminated federal grants and the withholding of future federal funding.

                    50.     Another similar program to MARC is the Initiative to Maximize Student

            Development (IMSD) program. The goal of the IMSD Program, as described in NIH PAR 21-

            025, is to develop a diverse pool of scientists earning a Ph.D. and who have the skills to

            successfully transition into careers in the biomedical research workforce. The IMSD program is

            limited to applications from training programs at research-intensive institutions, defined as those

            that receive an average of $7.5 million per year in NIH funding over the previous three fiscal

            years. A true and correct copy of the PAR is attached as Exhibit C.

                    51.   | Like MARC awards, IMSD awards are also part of the NIH Ruth L. Kirschsten

            Nationa] Research Service Awards (NRSA) program, described in paragraph 33, above, and

            serve the same goals and interests. Whereas MARC awards are used to support undergraduate

            students interested in pursuing higher degrees in bio-medical research, IMSD awards are used to

            support graduate students as they transition into to graduate training, with the goal of ensuring

           that they successfully complete their PhDs, creating a stronger biomedical workforce of

            individuals with advanced degrees.

                    52.    Lam aware of an APHA Member who has received multiple IMSD awards from

           NIH. Their most recent award was in excess of $1,020,000, for winter 2023 through winter 2028.

                    53.    This APHA Member received an email from NIH on April 2, 2025, terminating

           their IMSD grant. A true and correct copy of the email, redacted to remove all identifying

           information, is attached hereto as Exhibit D.

                                                               14




                                                                                                        APHA App. 323
Case: 25-1611    Document: 00118310432                  Page: 327         Date Filed: 07/08/2025                         Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM             Document 38-23
                                                   Document 38-23         Filed 04/25/25
                                                                          Filed 04/25/25               Page 16
                                                                                                       Page 16 of
                                                                                                               of 89
                                                                                                                  89




                       54.   The email states “due to changes in NIH/HHS priorities, the Initiative for

           Maximizing Student Development (IMSD) program has been terminated. Your institution can

           continue to draw funds on any active award for allowed costs that are within scope and

           consistent with the Grants Policy Statement. Further awards will not be made, and NIGMS will

           not permit no-cost extensions. We advise against recruiting future cohorts.”

           Harms to APHA       Members


                       55.   These experiences are not unique. In the few weeks since NIH issued this new

           guidance, I have also heard from numerous APHA members expressing concerns about being

           able to continue research in their chosen area of study based on the termination notices they have

           received from NIH. These include, for example, terminations of research projects to improve

           prevention strategies and care for HIV, to help young adults to resist tobacco marketing, and to

           better reach vulnerable populations.     For some members, like those who study minority health or

           health disparities—a subject to which NIH has a whole institute devoted—the change in NIH

           priorities means an end to their research careers, for all intents and purposes.

                       56.   | have also heard from APHA members that they are unable to develop new

           proposals to address pressing public health issues which they reasonably fear will be

           immediately struck down as inconsistent with NIH’s new priorities. APHA members have also

           articulated fears that they will have to change specific words in their proposals so as not to be

           flagged for impermissibly promoting DEI in violation of NIH’s new priorities. But given the

           vagueness of the NIH’s guidelines—which do not define terms such as “Diversity, Equity, and

           Inclusion” or “DEI”, “amorphous equity objectives,” “Transgender issues,”      35   66
                                                                                                    “gender identity,”

           and “COVID-related research” while forbidding research “based on” these topics—they do not

           know how drastic their edits should be, or if any edits would satisfy NIH’s scrutiny of certain

           projects.

                                                              15




                                                                                                             APHA App. 324
Case: 25-1611    Document: 00118310432                    Page: 328         Date Filed: 07/08/2025               Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM               Document 38-23
                                                     Document 38-23         Filed 04/25/25
                                                                            Filed 04/25/25       Page 17
                                                                                                 Page 17 of
                                                                                                         of 89
                                                                                                            89




                    57.        Aside from the immediate aftershocks this has had on APHA members’ ongoing

            work, NIH’s new directives also jeopardize their future plans. There are APHA members who

            have spent countless hours crafting grant applications that the NIH now outright refuses to

            consider, and others who exist in limbo, unsure if they will ever be able to submit an application

            on their areas of study in the future.

                    58.        And aside from the scientific harms imposed by NIH’s misguided stance, the

            directives are also a discriminatory imposition on APHA members’ freedoms of speech, inquiry,

            and association.

                    59.        By categorically banning any study related to what it considers “diversity,”

            “equity,” “inclusion,” NIH is signaling to the APHA members and the broader scientific

            community alike that any study that incorporates these elements — however tangentially, and in

            whatever form — is intrinsically disfavored and will be subject to harsher scrutiny from the

            federal government.

                    60.     Further, studies that rely on public participation are jeopardized. If would-be grant

            recipients examine and account for the demographic differences among respondents, they run the

            risk of having their projects terminated under the new NIH guidelines— despite the fact that

            accounting for these differences is critical in order to properly fund educational initiatives and

            federal health care programs such as Medicare and Medicaid. Indeed, even if a study focuses on

           a homogenized minority population, they risk termination if that population is judged to be

            invoking “DEI” principles. Given the separate directive on “gender identity,” this scrutiny is

           especially intensified if the study focuses on or even acknowledges the existence of LGBTQ

           people, and transgender people in particular.

                   61.     Asa     direct result, APHA researchers are forced to choose whether to continue

           with important research that is supposedly no longer in accordance with NIH’s priorities and risk

                                                                16




                                                                                                       APHA App. 325
Case: 25-1611    Document: 00118310432                  Page: 329          Date Filed: 07/08/2025              Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM            Document 38-23
                                                  Document 38-23           Filed 04/25/25
                                                                           Filed 04/25/25       Page 18
                                                                                                Page 18 of
                                                                                                        of 89
                                                                                                           89




           losing their funding, or to cancel any research that deals with racial, sexual, gender, or ethnic

           minorities in order to retain it.

                   62.     The longer this guidance is in effect, the longer of an impact it will have on

           individual researchers as well. Interruptions in research can result in loss of research staff as well

           as unrecoverable delays in students’ academic pursuits, potentially with additional financial costs

           incurred as a result of prolonging their studies while looking for additional support. It would be

           even worse for faculty members, who can lose years of valuable progress in their career if their

           studies are interrupted, halted, or prevented from beginning at all.

                   63.     This is only intensified in research that relies on outside participation. Building an

           accurate, responsive, and representative survey class is an effort that takes both time and money,

           and programmatic delays in research can impact respondent’s willingness to participate in

           present or future surveys. And in the rare instances where APHA members are participating in

           clinical research, programmatic delays can become literal life and death matters.




                                                              17




                                                                                                      APHA App. 326
Case: 25-1611    Document: 00118310432                 Page: 330          Date Filed: 07/08/2025         Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM            Document 38-23
                                                  Document 38-23          Filed 04/25/25
                                                                          Filed 04/25/25       Page 19
                                                                                               Page 19 of
                                                                                                       of 89
                                                                                                          89




            I declare under penalty of perjury that the foregoing is true and correct.


                   Executed this 25" day of April 2025.




                                                                   AL Pee
                                                                   Ane                         mo
                                                                   Georges C. Benjamin, M.D.




                                                             18




                                                                                                    APHA App. 327
Case: 25-1611   Document: 00118310432   Page: 331   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-23
                                  Document 38-23    Filed 04/25/25
                                                    Filed 04/25/25   Page 20
                                                                     Page 20 of
                                                                             of 89
                                                                                89




                         EXHIBIT
                         EXHIBIT A




                                                                        APHA App. 328
Case: 25-1611              Document: 00118310432                  Page: 332        Date Filed: 07/08/2025               Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       21Allowed)
                                                                                                            Trial Not of 89

        This notice has expired. Check the NIH Guide (https://grants.nih.gov/funding/searchguide/) for active
                                              opportunities and notices.

      Department of Health and Human Services
      Part 1. Overview Information
      Participating Organization(s)
       National Institutes of Health (NIH (http://www.nih.gov))



      Components of Participating Organizations




                                                                     ED
       National Institute of General Medical Sciences (NIGMS (http://www.nigms.nih.gov))



      Funding Opportunity Title

       Maximizing Access to Research Careers (T34)

      Activity Code                                              PIR
       T34 (//grants.nih.gov/grants/funding/ac_search_results.htm?text_curr=t34&Search.x=0&Search.y=0&Search_Type=Activity) MARC
       Undergraduate NRSA Institutional Grants



      Announcement Type
       Reissue of PAR-19-219 (https://grants.nih.gov/grants/guide/pa-files/PAR-19-219.html) - Maximizing Access to Research Careers
       (T34)
                                                    EX

      Related Notices
              March 28, 2024 - This PAR has been reissued as PAR-24-138 (//grants.nih.gov/grants/guide/pa-files/PAR-24-138.html)
              March 15, 2023 - Notice of Informational Webinar on the NIGMS U-RISE and MARC Programs (T34). See Notice NOT-GM-
              23-037 (//grants.nih.gov/grants/guide/notice-files/NOT-GM-23-037.html)
              NOT-OD-23-012 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-23-012.html) Reminder: FORMS-H Grant
              Application Forms and Instructions Must be Used for Due Dates On or After January 25, 2023 - New Grant Application
              Instructions Now Available
              March 4, 2022 - Clarification of Eligibility for Institutions with Multiple Campuses in PAR-21-147. See Notice NOT-GM-23-013
              (https://grants.nih.gov/grants/guide/notice-files/NOT-GM-23-013.html)
              NOT-OD-22-190 (/grants/guide/notice-files/NOT-OD-22-190.html) - Adjustments to NIH and AHRQ Grant Application Due
              Dates Between September 22 and September 30, 2022
              March 4, 2022 - Notice of Informational Webinar on the NIGMS U-RISE and MARC Programs. See Notice NOT-GM-22-031
              (https://grants.nih.gov/grants/guide/notice-files/NOT-GM-22-031.html).
              October 28, 2021 - Reminder: FORMS-G Grant Application Forms & Instructions Must be Used for Due Dates On or After
              January 25, 2022 - New Grant Application Instructions Now Available. See Notice NOT-OD-22-018
              (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-22-018.html).
              September 13, 2021 - Updates to the Non-Discrimination Legal Requirements for NIH Recipients. See Notice NOT-OD-21-
              181 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-181.html).
              August 5, 2021 - New NIH "FORMS-G" Grant Application Forms and Instructions Coming for Due Dates on or after January
              25, 2022. See Notice NOT-OD-21-169 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-169.html)
              August 5, 2021 - Update: Notification of Upcoming Change in Federal-wide Unique Entity Identifier Requirements. See
              Notice NOT-OD-21-170 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-170.html)
              April 20, 2021 - Expanding Requirement for eRA Commons IDs to All Senior/Key Personnel. See Notice NOT-OD-21-109
              (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-109.html)

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                           1/31
                                                                                                                APHA App. 329
Case: 25-1611              Document: 00118310432                    Page: 333             Date Filed: 07/08/2025               Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       22Allowed)
                                                                                                            Trial Not of 89
              May 28, 2021 - Notice of Change to the Instructions for Appendices in PAR-21-147. See Notice NOT-GM-21-048
              (https://grants.nih.gov/grants/guide/notice-files/NOT-GM-21-048.html).
              March 19, 2021 - Notice of Informational Webinar on the NIGMS U-RISE and MARC Programs. See Notice NOT-GM-21-034
              (/grants/guide/notice-files/NOT-GM-21-034.html).



      Funding Opportunity Announcement (FOA) Number

       PAR-21-147

      Companion Funding Opportunity
       Not Applicable



      Number of Applications
       Only one application per institution is allowed, as defined in Section III. 3. Additional Information on Eligibility.



      Assistance Listing Number(s)
       93.859



      Funding Opportunity Purpose
       The goal of the Maximizing Access to Research Careers (MARC) program is to develop a diverse pool of undergraduates who
       complete their baccalaureate degree, and transition into and complete biomedical, research-focused higher degree programs (e.g.,
       Ph.D. or M.D./Ph.D.). This funding opportunity announcement (FOA) provides support to eligible, domestic institutions to develop
       and implement effective, evidence-informed approaches to biomedical training and mentoring that will keep pace with the rapid
       evolution of the research enterprise. NIGMS expects that the proposed research training programs will incorporate didactic,
       research, mentoring, and career development elements to prepare trainees for the completion of research-focused higher degree
       programs in biomedical fields. This program is limited to applications from training programs at baccalaureate degree-granting
       research-intensive institutions (i.e., those with an average of NIH Research Project Grant funding greater than or equal to $7.5
       million total costs over the last 3 fiscal years).

       This Funding Opportunity Announcement (FOA) does not allow appointed trainees to lead an independent clinical trial but does
       allow them to obtain research experience in a clinical trial led by a mentor or co-mentor.



      Key Dates
      Posted Date
       February 23, 2021



      Open Date (Earliest Submission Date)
       April 26, 2021



      Letter of Intent Due Date(s)
       Not Applicable



      Application Due Date(s)
       May 26, 2021; May 26, 2022; May 26, 2023

       All applications are due by 5:00 PM local time of applicant organization. All types of non-AIDS applications allowed for this funding
       opportunity announcement are due on the listed date(s).
  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                 2/31
                                                                                                                        APHA App. 330
Case: 25-1611              Document: 00118310432                   Page: 334           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       23Allowed)
                                                                                                            Trial Not of 89
       Applicants are encouraged to apply early to allow adequate time to make any corrections to errors found in the application during
       the submission process by the due date.



      AIDS Application Due Date(s)
       Not Applicable



      Scientific Merit Review
       October - November 2021, October - November 2022, October - November 2023



      Advisory Council Review
       January 2022, January 2023, January 2024



      Earliest Start Date
       June 2022, June 2023, June 2024



      Expiration Date
       May 27, 2023



      Due Dates for E.O. 12372
       Not Applicable


      Required Application Instructions
      It is critical that applicants follow the Training (T) Instructions in the SF424 (R&R) Application Guide
      (//grants.nih.gov/grants/guide/url_redirect.php?id=12000), except where instructed to do otherwise (in this FOA or in a Notice from
      the NIH Guide for Grants and Contracts (//grants.nih.gov/grants/guide/)). Conformance to all requirements (both in the Application
      Guide and the FOA) is required and strictly enforced. Applicants must read and follow all application instructions in the Application
      Guide as well as any program-specific instructions noted in Section IV. When the program-specific instructions deviate from those in
      the Application Guide, follow the program-specific instructions. Applications that do not comply with these instructions may be
      delayed or not accepted for review.



      Table of Contents
      Part 1. Overview Information
      Part 2. Full Text of the Announcement
          Section I. Funding Opportunity Description
          Section II. Award Information
          Section III. Eligibility Information
          Section IV. Application and Submission Information
          Section V. Application Review Information
          Section VI. Award Administration Information
          Section VII. Agency Contacts
          Section VIII. Other Information


      Part 2. Full Text of Announcement
      Section I. Funding Opportunity Description
      The overall goal of the NIH Ruth L. Kirschstein National Research Service Award (NRSA) program is to help ensure that a diverse
      pool of highly trained scientists is available in appropriate scientific disciplines to address the Nation's biomedical, behavioral, and
  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                   3/31
                                                                                                                     APHA App. 331
Case: 25-1611              Document: 00118310432                 Page: 335            Date Filed: 07/08/2025                Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       24Allowed)
                                                                                                            Trial Not of 89
      clinical research needs. In order to accomplish this goal, NRSA training programs are designed to train individuals to conduct
      research and to prepare for research careers. More information about NRSA programs may be found at the Ruth L. Kirschstein
      National Research Service Award (NRSA) (//grants.nih.gov/grants/guide/url_redirect.php?id=41125) website.

      Purpose and Background Information
      The NRSA program has been the primary means of supporting predoctoral and postdoctoral research training programs since
      enactment of the NRSA legislation in 1974. Each program should provide high-quality research training, mentored research
      experiences, and additional training opportunities that equip trainees with the technical (e.g., appropriate methods, technologies, and
      quantitative/computational approaches), operational (e.g., independent knowledge acquisition, rigorous experimental design and
      interpretation of data) and professional (e.g., management, leadership, communication, and teamwork) skills required for careers in
      the biomedical research workforce.

      The National Institutes of Health (NIH) recognizes the need to diversify the scientific workforce by enhancing the participation of
      individuals from groups identified as underrepresented (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html) in the
      biomedical, clinical, behavioral and social sciences (collectively termed "biomedical") research workforce. Research shows that
      diverse teams working together and capitalizing on innovative ideas and distinct perspectives outperform homogenous teams.
      Scientists and trainees from diverse backgrounds and life experiences bring different perspectives, creativity, and individual interests
      to address complex scientific problems. There are many benefits that flow from a diverse NIH-supported scientific workforce,
      including fostering scientific innovation, enhancing global competitiveness, contributing to robust learning environments, improving
      the quality of research, enhancing public trust, and increasing the likelihood that health disparities and the needs of underserved
      populations are addressed in biomedical research.

      NIGMS strives to ensure that future generations of researchers will be drawn from the entire pool of talented individuals, bringing
      different aptitudes, perspectives, interests, and experiences to address complex scientific problems. NIGMS seeks to enhance the
      diversity of the biomedical research workforce by supporting individuals from a variety of backgrounds at multiple training and career
      stages in a variety of institutions and educational settings across the country. Accordingly, NIGMS developed separate institutional
      eligibility tracks for review and funding of its undergraduate and graduate diversity enhancing programs based on NIH research
      project grant (RPG) (https://grants.nih.gov/grants/glossary.htm#ResearchProjectGrantRPG) funding levels. The two tracks include
      research-intensive, i.e., those with an average of NIH RPG funding greater than or equal to $7.5 million total costs per year over the
      past 3 fiscal years, and research-active, i.e., those with an average of RPG funding less than $7.5 million total costs per year over
      the past 3 fiscal years (RPG data are available through NIH RePORTER (https://report.nih.gov/award/index.cfm)). To prevent the
      duplication of diversity enhancing NIGMS programs, each institution will be eligible for one diversity enhancing undergraduate
      program (either Maximizing Access to Research Careers, MARC (https://www.nigms.nih.gov/training/marc/pages/ustarawards.aspx),
      or Undergraduate Research Training Initiative for Student Enhancement, U-RISE (https://www.nigms.nih.gov/training/RISE/Pages/U-
      RISE-T34.aspx)) regardless of the activity code (R25 or T34), and one diversity enhancing graduate program (either the Initiative to
      Maximize Student Development, IMSD (https://www.nigms.nih.gov/training/IMSD/pages/default.aspx), or Graduate Research
      Training Initiative for Student Enhancement, G-RISE (https://www.nigms.nih.gov/training/RISE/Pages/G-RISE-T32.aspx)) regardless
      of the activity code (R25 or T32). Institutions with MARC, U-RISE, IMSD or G-RISE are eligible to participate in the Bridges to the
      Baccalaureate and/or Bridges to the Doctorate programs provided other eligibility requirements are met.

      Need for the Program
      In spite of recent advances, individuals from certain groups and backgrounds are underrepresented in the biomedical sciences
      research workforce as described in NIH's Interest in Diversity (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html).
      The severity of the underrepresentation of these groups increases throughout the training stages. For example in 2017, students
      from certain racial and ethnic groups, including Blacks or African Americans, Hispanics or Latinos, American Indians or Alaska
      Natives, Native Hawaiians and other Pacific Islanders comprised ~35 percent of the college age population, but earned only ~25
      percent of bachelor’s degrees and ~16 percent of Ph.D. degrees in science and engineering (National Center for Science and
      Engineering Statistics (https://ncses.nsf.gov/pubs/nsb20197/demographic-attributes-of-s-e-degree-recipients#s-e-degrees-by-race-
      and-ethnicity)). Additionally, while the United States has seen a significant increase in the number of Ph.D. degrees in the biomedical
      sciences earned by scientists from groups underrepresented in the biomedical research workforce, a corresponding increase in the
      ranks of the faculty in basic science departments at medical schools has not occurred (Gibbs, et al., 2016, eLife 2016, 5:e21393;
      Valantine, Lund & Gammie, CBE-Life Sciences Education, 2016, 15:fe4).

      Several reports (see for example, ACD Working Group on Diversity in the Biomedical Workforce, 2012
      (https://acd.od.nih.gov/documents/reports/DiversityBiomedicalResearchWorkforceReport.pdf); PCAST Report, 2012
      (https://obamawhitehouse.archives.gov/sites/default/files/microsites/ostp/pcast-engage-to-excel-final_2-25-12.pdf); From College to
      Careers: Fostering Inclusion of Persons with Disabilities in STEM, 2014 (http://www.sciencemag.org/booklets/college-careers); and
      Increasing College Opportunity for Low Income Students, 2014

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                               4/31
                                                                                                                   APHA App. 332
Case: 25-1611              Document: 00118310432                  Page: 336           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       25Allowed)
                                                                                                            Trial Not of 89
      (https://obamawhitehouse.archives.gov/sites/default/files/docs/increasing_college_opportunity_for_low-
      income_students_report.pdf)) recommend supporting programs that strive to recruit, train, and mentor students from
      underrepresented groups who have an interest in science, technology, engineering and math (STEM) as a means to effectively build
      a diverse and competitive scientific workforce.

      Programmatic Approach
      This FOA is intended to enable the community to develop and implement evidence-informed approaches to biomedical research
      training and mentoring to enhance diversity in the biomedical research workforce. The President's Council of Advisors on Science
      and Technology (PCAST) report provided evidence that financial concerns and a deficit of peers from similar backgrounds can erode
      self-confidence and the will to remain in STEM majors (PCAST Report, 2012
      (https://obamawhitehouse.archives.gov/sites/default/files/microsites/ostp/pcast-engage-to-excel-final_2-25-12.pdf)). NIGMS diversity
      enhancing institutional training grants offset the cost of appointed trainee stipends, tuition and fees, and training related expenses,
      including health insurance, in accordance with the approved NIH support levels. Additionally, funded programs are expected to
      provide activities that will build a strong cohort of research-oriented individuals while enhancing the science identity, self-efficacy,
      and a sense of belonging among the cohort members. Programmatic activities include, but are not limited to, providing authentic
      research experiences, academic enhancements, skills development, and additional mentoring - activities proven to increase
      persistence in STEM fields (cited in PCAST Report, 2012
      (https://obamawhitehouse.archives.gov/sites/default/files/microsites/ostp/pcast-engage-to-excel-final_2-25-12.pdf) and Graduate
      STEM Education for the 21st Century, 2018 (https://www.nap.edu/catalog/25038/graduate-stem-education-for-the-21st-century)).
      Each program should provide high-quality training that equips individuals with the technical (e.g., appropriate methods, technologies,
      and quantitative/computational approaches), operational (e.g., independent knowledge acquisition, rigorous experimental design,
      and interpretation of data, conducting research in the safest manner possible) and professional (e.g., management, leadership,
      communication, and teamwork) skills required for careers in the biomedical research workforce. Funded programs are expected to
      promote inclusive research environments (i.e., institutional and departmental environments where trainees from all backgrounds feel
      integrated into and supported by the biomedical research community).

      Program Objective
      The Overarching Objective of the Maximizing Access to Research Careers program is to develop a diverse pool of undergraduates
      who complete their baccalaureate degree and transition into and complete biomedical, research-focused higher degree programs
      (e.g., Ph.D. or M.D./Ph.D.). The long-term goal is to develop a diverse pool of well-trained biomedical scientists, who have the
      following technical, operational, and professional skills:

             A broad understanding across biomedical disciplines and the skills to independently acquire the knowledge needed to
             advance their chosen fields;
             Expertise in a biomedical scientific discipline and the skills to think critically and independently, and to identify important
             biomedical research questions and approaches that push forward the boundaries of their areas of study;
             A strong foundation in scientific reasoning, rigorous research design, experimental methods, quantitative and computational
             approaches, and data analysis and interpretation;
             The skills to conduct research in the safest manner possible, and a commitment to approaching and conducting biomedical
             research responsibly, ethically, and with integrity;
             Experience initiating, conducting, interpreting, and presenting rigorous and reproducible biomedical research with increasing
             self-direction;
             The ability to work effectively in teams with colleagues from a variety of cultural and scientific backgrounds, and to promote
             inclusive and supportive scientific research environments;
             The skills to teach and communicate scientific research methodologies and findings to a wide variety of audiences (e.g.,
             discipline-specific, across disciplines, and the public); and
             The knowledge, professional skills and experiences required to identify and transition into careers in the biomedical research
             workforce (i.e., the breadth of careers that sustain biomedical research in areas that are relevant to the NIH mission).


      Diversity at all levels from the kinds of science to the regions in which it is conducted to the backgrounds of the people conducting it
      contributes to excellence in research training environments and strengthens the research enterprise. This FOA is intended to
      support outstanding research training programs that will enhance diversity at all levels. As part of a larger initiative to enhance
      diversity, the MARC program will support trainees who are earning a baccalaureate degree at research-intensive institutions and
      who intend to complete a biomedical research higher degree program (e.g., Ph.D., or M.D./Ph.D.).

      Program Considerations

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                   5/31
                                                                                                                    APHA App. 333
Case: 25-1611              Document: 00118310432                  Page: 337            Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       26Allowed)
                                                                                                            Trial Not of 89
      NIGMS intends to fund applications that propose feasible academic and research focused training programs that will enhance
      diversity in the biomedical workforce. Applicants are expected to identify training objectives (i.e., specific, measurable, and
      obtainable outcomes the program intends to achieve) and to develop plans to implement evidence-informed training and mentoring
      activities that are grounded in the literature and from evaluations of existing relevant programs. Program objectives must align with
      the overarching goal of the MARC diversity enhancing program. Funded programs are expected to provide evidence of
      accomplishing the training objectives in progress reports and when applying for renewal, to make training and career outcomes
      publicly available, and are strongly encouraged to disseminate successful training practices to the broader community.

      Institutional commitment and support for the proposed training program are important elements of the application. The MARC
      program may complement and synergize with other ongoing federally-supported predoctoral research training programs at the
      applicant institution (e.g., in the development of skills needed for careers in the biomedical research workforce); however, the MARC
      program goals and activities to achieve those goals must be distinct from related programs currently receiving federal support at the
      same institution. In cases where an institution has multiple NIGMS training grants, it is expected that these programs will seek to
      create administrative and training efficiencies to reduce costs and improve trainee services and outcomes. The training grant should
      be well integrated within one or more department(s)/program(s) and should exert a strong, positive influence on the development
      and execution of the outreach and recruitment of potential trainees, curriculum, training opportunities, and mentoring. Training grant
      funds may not be used solely as a vehicle to provide stipends for trainees to conduct research.

      Training grants are usually awarded for five years. The grant offsets the cost of stipends, tuition and fees, and training related
      expenses, including health insurance, for the appointed trainees in accordance with the approved NIH support levels. Trainees are
      typically provided full-time support for two to three years of undergraduate studies. Use of training grant support in the final three
      years of undergraduate research training is strongly encouraged to allow for the participation in research, training, mentoring,
      professional development, and cohort-building activities that will prepare the trainees to successfully transition into a biomedical,
      research-focused higher degree program (e.g., Ph.D. or M.D./Ph.D.).

      This FOA does not allow appointed trainees to lead an independent clinical trial but does allow them to obtain research experience
      in a clinical trial led by a mentor or co-mentor. NIH strongly supports training towards a career in clinically relevant research and so
      gaining experience in clinical trials under the guidance of a mentor or co-mentor is encouraged.

      See Section VIII. Other Information for award authorities and regulations.


      Section II. Award Information
      Funding Instrument
       Grant: A support mechanism providing money, property, or both to an eligible entity to carry out an approved project or activity.



      Application Types Allowed
       New
       Renewal of grants funded through PAR-19-219 (https://grants.nih.gov/grants/guide/pa-files/PAR-19-219.html)
       Resubmission

       The OER Glossary (//grants.nih.gov/grants/guide/url_redirect.php?id=11116) and the SF424 (R&R) Application Guide provide
       details on these application types. Only those application types listed here are allowed for this FOA.



      Clinical Trial?
       Not Allowed: Only accepting applications that do not propose clinical trials

       Note: Appointed Trainees are permitted to obtain research experience in a clinical trial led by a mentor or co-mentor.

       Need help determining whether you are doing a clinical trial? (https://grants.nih.gov/grants/guide/url_redirect.php?id=82370)



      Funds Available and Anticipated Number of Awards
       The number of awards is contingent upon NIH appropriations and the submission of a sufficient number of meritorious applications.



      Award Budget

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                   6/31
                                                                                                                     APHA App. 334
Case: 25-1611              Document: 00118310432                    Page: 338              Date Filed: 07/08/2025              Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       27Allowed)
                                                                                                            Trial Not of 89
       Application budgets should reflect the actual needs of the proposed project.

       Recipients are expected to be familiar with and comply with applicable cost policies and the NRSA Guidelines (NIH Grants Policy
       Statement - Institutional Research Training Grants (//grants.nih.gov/grants/guide/url_redirect.php?id=41126)). Funds may be used
       only for those expenses that are directly related to and necessary for the research training and must be expended in conformance
       with OMB Cost Principles, the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120), and the
       NRSA regulations, policies, guidelines, and conditions set forth in this document.



      Award Project Period
       Awards may be for project periods up to five years in duration and are renewable.



      Other Award Budget Information
      Stipends, Tuition, and Fees
       Kirschstein-NRSA awards provide stipends as a subsistence allowance to help defray living expenses during the research training
       experience.

       NIH will contribute to the combined cost of tuition and fees at the rate in place at the time of award.

       Stipend levels, as well as funding amounts for tuition and fees and the institutional allowance are announced annually in the NIH
       Guide for Grants and Contracts, and are also posted on the Ruth L. Kirschstein National Research Service Award (NRSA) webpage
       (https://researchtraining.nih.gov/resources/policy-notices).



      Trainee Travel
       NIGMS recognizes the need of trainees to attend scientific meetings and/or training events, and to build professional networks.
       NIGMS will provide up to $1,000 per trainee per year for scientific meetings or research training experiences that will enhance
       scientific development, build science identity, create a sense of belonging in the scientific community, and build professional
       networks. Plans for trainee travel should be well justified. For MARC-supported institutions outside the continental United States,
       $1,250 for travel per trainee per year will be provided.

       Trainees are required to spend at least one summer in a research training experience. Preferred sites are research-intensive
       graduate institutions such as those with NIH T32 training programs. Funds for the summer research experience will be provided as
       follows: $3,000 per MARC trainee, to be used in accordance with the institutional policies as a per diem for a period of up to ten
       weeks; and an additional $500 for travel to and from the host research training.

       NIGMS provides funds for the summer research training experience for up to 50% of the awarded number of MARC trainees at the
       time a competing award is made. For additional budget guidance on the MARC summer research requirement, see T34 Summer
       Research Experience Policy (https://www.nigms.nih.gov/training/T34/Pages/sre.aspx). Additional funds will not be provided for
       students continuing the research training at the host institution.

       Plans for trainee travel should be well justified. Foreign travel is not allowed.



      Training Related Expenses
       NIGMS will provide funds to help defray other research training expenses, such as health insurance, staff salaries, consultant costs,
       equipment, research supplies, and faculty/staff travel directly related to the research training program.

       The total amount of Training Related Expenses (TRE) that may be requested is limited to a maximum of $8,000/trainee/year. The
       maximum cap for the TRE portion of a proposed MARC budget is $250,000/year.

       Allowable costs include those associated with the following:

              Skills development training activities (e.g., focusing on quantitative and computational skills, problem-solving, critical thinking,
              scientific writing, effective communication, and project management);
              Seminar speakers, who will serve as role models to the trainees;


  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                   7/31
                                                                                                                      APHA App. 335
Case: 25-1611              Document: 00118310432                  Page: 339            Date Filed: 07/08/2025                Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       28Allowed)
                                                                                                            Trial Not of 89
              Training or mentoring interventions designed to increase persistence in research careers (e.g., those designed to increase
              science identity, self-efficacy and a sense of belonging in the scientific community);
              Salary support for the PD/PI or a combination of multiple PD(s)/PI(s)/co-Investigators. Typically, salary support does not
              exceed 1.8 person months (i.e., 15% effort on a 12-month basis in total) depending on the size and scope of the program;
              Salary support for administrative personnel; typically, the total combined salary support for program administrator/program
              coordinator and/or program assistant/clerical support does not exceed 3.0 person months (i.e., 25% effort on a 12-month
              basis) depending on the size and scope of the program.
              Limited program evaluation costs (typically up to $3,000 for the 5-year training grant period) and other program-related
              expenses may be included within the budget for training-related expenses.



      Indirect Costs
       Indirect Costs (also known as Facilities & Administrative [F&A] Costs) are reimbursed at 8% of modified total direct costs (exclusive
       of tuition and fees, consortium costs in excess of $25,000, and expenditures for equipment), rather than on the basis of a
       negotiated rate agreement.


      NIH grants policies as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120) will
      apply to the applications submitted and awards made from this FOA.

      Section III. Eligibility Information
      1. Eligible Applicants
      Eligible Organizations
      Higher Education Institutions

              Public/State Controlled Institutions of Higher Education
              Private Institutions of Higher Education

      The following types of Higher Education Institutions are always encouraged to apply for NIH support as Public or Private Institutions
      of Higher Education:

                       Hispanic-serving Institutions
                       Historically Black Colleges and Universities (HBCUs)
                       Predominantly Black Institutions (PBI)
                       Tribally Controlled Colleges and Universities (TCCUs)
                       American Indian/Alaska Native Serving, Non-Tribal Institutions (AI/AN)
                       Alaska Native and Native Hawaiian Serving Institutions
                       Asian American Native American Pacific Islander Serving Institutions (AANAPISIs)

      Nonprofits Other Than Institutions of Higher Education

              Nonprofits with 501(c)(3) IRS Status (Other than Institutions of Higher Education)
              Nonprofits without 501(c)(3) IRS Status (Other than Institutions of Higher Education)

      Governments

              Indian/Native American Tribal Governments (Federally Recognized)
              Indian/Native American Tribal Governments (Other than Federally Recognized)
              U.S. Territory or Possession

      Other

              Native American Tribal Organizations (other than Federally recognized tribal governments)
              Faith-based or Community-based Organizations


      For diversity enhancing programs, NIGMS recognizes separate institutional eligibility tracks: research-intensive, i.e., those with an
      average of NIH research project grant (RPG) (https://grants.nih.gov/grants/glossary.htm#ResearchProjectGrantRPG) funding
      greater than or equal to $7.5 million total costs per year over the past 3 fiscal years, and research-active, i.e., those with an average
      of RPG funding less than $7.5 million total costs per year over the past 3 fiscal years (RPG data are available through NIH

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                    8/31
                                                                                                                    APHA App. 336
Case: 25-1611              Document: 00118310432                     Page: 340            Date Filed: 07/08/2025                   Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       29Allowed)
                                                                                                            Trial Not of 89
      RePORTER (https://report.nih.gov/award/index.cfm)). For example, FY 2018, FY 2019 and FY 2020 for applications submitted in
      May 2021.

      Institutional eligibility for this FOA is limited to baccalaureate degree-granting research-intensive institutions as defined above.
      Research-active institutions are not eligible to apply for or receive MARC grants. To prevent the duplication of NIGMS diversity
      enhancing programs, each institution is eligible for one undergraduate program (either MARC
      (https://www.nigms.nih.gov/training/marc/pages/ustarawards.aspx) or U-RISE (https://www.nigms.nih.gov/training/RISE/Pages/U-
      RISE-T34.aspx)) regardless of the activity code (R25 or T34), and one graduate program (either IMSD
      (https://www.nigms.nih.gov/training/IMSD/pages/default.aspx) or G-RISE (https://www.nigms.nih.gov/training/RISE/Pages/G-RISE-
      T32.aspx)) regardless of the activity code (R25 or T32). Institutions with NIGMS MARC, U-RISE, IMSD, or G-RISE funding are
      eligible for the Bridges to the Baccalaureate and/or Bridges to the Doctorate programs provided the other eligibility criteria are met.
      Applicants are encouraged to consult NIGMS staff to discuss eligibility prior to submission.

      An institution funded through the U-RISE or MARC program that changes category due to changes in research project grant funding
      during the grant cycle should apply to the appropriate program based on their eligibility at the time of renewal. Programs that change
      category will report on the programs outcomes of the prior funding period(s), up to 15 years, using the appropriate tables.

      The sponsoring institution must assure support for the proposed program. Appropriate institutional commitment to the program
      should be detailed in the Institutional Support Letter in the Letters of Support attachment. Additionally, a signed letter is required
      from the Provost or similar official with institution-wide responsibility verifying the eligibility of the applicant institution at the time of
      application submission according to the eligibility criteria indicated above. See the application instructions for the required Letters of
      Support instructions in Section IV.

      Foreign Institutions
      Non-domestic (non-U.S.) Entities (Foreign Institutions) are not eligible to apply.

      Non-domestic (non-U.S.) components of U.S. Organizations are not eligible to apply.

      Required Registrations
      Applicant Organizations

      Applicant organizations must complete and maintain the following registrations as described in the SF 424 (R&R) Application Guide
      to be eligible to apply for or receive an award. All registrations must be completed prior to the application being submitted.
      Registration can take 6 weeks or more, so applicants should begin the registration process as soon as possible. The NIH Policy on
      Late Submission of Grant Applications (//grants.nih.gov/grants/guide/notice-files/NOT-OD-15-039.html) states that failure to
      complete registrations in advance of a due date is not a valid reason for a late submission.

             Dun and Bradstreet Universal Numbering System (DUNS) (http://fedgov.dnb.com/webform) - All registrations require that
             applicants be issued a DUNS number. After obtaining a DUNS number, applicants can begin both SAM and eRA Commons
             registrations. The same DUNS number must be used for all registrations, as well as on the grant application.
             System for Award Management (SAM) (https://www.sam.gov/portal/public/SAM/) Applicants must complete and maintain an
             active registration, which requires renewal at least annually. The renewal process may require as much time as the initial
             registration. SAM registration includes the assignment of a Commercial and Government Entity (CAGE) Code for domestic
             organizations which have not already been assigned a CAGE Code.
                      NATO Commercial and Government Entity (NCAGE) Code (//grants.nih.gov/grants/guide/url_redirect.php?id=11176)
                      Foreign organizations must obtain an NCAGE code (in lieu of a CAGE code) in order to register in SAM.
             eRA Commons (//grants.nih.gov/grants/guide/url_redirect.php?id=11123) - Applicants must have an active DUNS number to
             register in eRA Commons. Organizations can register with the eRA Commons as they are working through their SAM or
             Grants.gov registration, but all registrations must be in place by time of submission. eRA Commons requires organizations to
             identify at least one Signing Official (SO) and at least one Program Director/Principal Investigator (PD/PI) account in order to
             submit an application.
             Grants.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=82300) Applicants must have an active DUNS number and SAM
             registration in order to complete the Grants.gov registration.


      Program Directors/Principal Investigators (PD(s)/PI(s))

      All PD(s)/PI(s) must have an eRA Commons account. PD(s)/PI(s) should work with their organizational officials to either create a
      new account or to affiliate their existing account with the applicant organization in eRA Commons. If the PD/PI is also the



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                          9/31
                                                                                                                          APHA App. 337
Case: 25-1611              Document: 00118310432                  Page: 341           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       30Allowed)
                                                                                                            Trial Not of 89
      organizational Signing Official, they must have two distinct eRA Commons accounts, one for each role. Obtaining an eRA Commons
      account can take up to 2 weeks.

      Eligible Individuals (Program Director/Principal Investigator)
      Any individual(s) with the skills, knowledge, and resources necessary to carry out the proposed research training program as the
      Training Program Director/Principal Investigator (Training PD/PI) is invited to work with his/her organization to develop an application
      for support. Individuals from underrepresented racial and ethnic groups as well as individuals with disabilities are always encouraged
      to apply for NIH support.

      For institutions/organizations proposing multiple PDs/PIs, visit the Multiple Program Director/Principal Investigator Policy
      (//grants.nih.gov/grants/multi_pi/index.htm) and submission details in the Senior/Key Person Profile (Expanded) Component of the
      SF 424 (R&R) Application Guide.

      As described in the instructions for the Training Program Director(s)/Principal Investigator(s) (PD(s)/PI(s)) in Section IV.2 below,
      NIGMS encourages multiple PDs/PIs, particularly when each brings a unique perspective and skill set that will enhance training. At
      least one of the training PD(s)/PI(s) should be an established investigator in the biomedical sciences and capable of providing both
      administrative and scientific leadership to the development and implementation of the proposed program. Additional PDs/PIs,
      including individuals with experience in the science of education, relevant social science disciplines, program evaluation, mentoring,
      and university administration may be included to achieve the training goals. Any of the PDs/PIs may serve as the contact PD/PI. The
      contact PD/PI is expected to have a full-time appointment at the applicant institution unless extremely well-justified. If the full-time
      status of the contact PD/PI changes after the award, the institution must obtain prior program approval to appoint a new PD/PI or
      request a deviation from the full-time rule. The PD(s)/PI(s) will be responsible for the selection and appointment of trainees to the
      approved research training program, and for the overall direction, management, administration, and evaluation of the program. The
      PD(s)/PI(s) will be expected to monitor and assess the program and submit all documents and reports as required. The PD(s)/PI(s)
      have responsibility for the day-to-day administration of the program and are responsible for appointing members of the Advisory
      Committee (when applicable) and using their recommendations to determine the appropriate allotment of funds.


      2. Cost Sharing
      This FOA does not require cost sharing as defined in the NIH Grants Policy Statement.
      (//grants.nih.gov/grants/guide/url_redirect.php?id=11126)

      3. Additional Information on Eligibility
      Number of Applications
      NIGMS will accept only one application per institution, typically defined by a unique identifier, such as DUNS
      (https://fedgov.dnb.com/webform/) and an NIH Institution Profile File (IPF)
      (https://public.era.nih.gov/commons/public/quickqueries/ipfNumberByOrgName.era) number.

      The NIH will not accept duplicate or highly overlapping applications under review at the same time. This means that the NIH will not
      accept:

             A new (A0) application that is submitted before issuance of the summary statement from the review of an overlapping new
             (A0) or resubmission (A1) application.
             A resubmission (A1) application that is submitted before issuance of the summary statement from the review of the previous
             new (A0) application.
             An application that has substantial overlap with another application pending appeal of initial peer review (see NOT-OD-11-101
             (//grants.nih.gov/grants/guide/notice-files/NOT-OD-11-101.html)).


      Preceptors/Mentors (Participating Faculty)
      The selected faculty should be active researchers in the biomedical sciences as demonstrated by recent publications and research
      support. When building a training team, programs should include faculty who are committed to training, mentoring, and providing
      supportive and inclusive research environments. Programs are encouraged to build a diverse team of preceptors/mentors that
      includes, for example, faculty from underrepresented groups (see Notice of NIH's Interest in Diversity
      (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html)) and faculty at different career stages (i.e., early-career as well
      as established faculty).

      Trainees

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                               10/31
                                                                                                                    APHA App. 338
Case: 25-1611              Document: 00118310432                 Page: 342            Date Filed: 07/08/2025                Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       31Allowed)
                                                                                                            Trial Not of 89
      The individual to be trained must be a citizen or a noncitizen national of the United States or have been lawfully admitted for
      permanent residence at the time of appointment. Additional details on citizenship, training period, and aggregate duration of support
      are available in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=61131).

      Trainees should be research-oriented individuals enrolled in a major leading to a baccalaureate degree in a STEM discipline that will
      prepare the trainee for a biomedical, research-focused higher degree program (e.g., Ph.D. or M.D./Ph.D.). All trainees are required
      to pursue their research training full time as specified by the sponsoring institution in accordance with its own policies. Appointments
      are normally made in 12-month increments for 2-3 years, and no trainee may be appointed for less than 9 months during the initial
      period of appointment, except with prior approval of the NIH awarding unit.

      Section IV. Application and Submission Information
      1. Requesting an Application Package
      The application forms package specific to this opportunity must be accessed through ASSIST, Grants.gov Workspace or an
      institutional system-to-system solution. Links to apply using ASSIST or Grants.gov Workspace are available in Part 1 of this FOA.
      See your administrative office for instructions if you plan to use an institutional system-to-system solution.

      2. Content and Form of Application Submission
      It is critical that applicants follow the Training (T) Instructions in the SF424 (R&R) Application Guide
      (//grants.nih.gov/grants/guide/url_redirect.php?id=12000) except where instructed in this funding opportunity announcement to do
      otherwise. Conformance to the requirements in the Application Guide is required and strictly enforced. Applications that are out of
      compliance with these instructions may be delayed or not accepted for review.

      Page Limitations
      All page limitations described in the SF424 (R&R) Application Guide and the Table of Page Limits
      (//grants.nih.gov/grants/guide/url_redirect.php?id=61134) must be followed.

          Instructions for Application Submission
      The following section supplements the instructions found in the SF424 (R&R) Application Guide and should be used for preparing an
      application to this FOA.

      SF424(R&R) Cover
      Follow all instructions provided in the SF424 (R&R) Application Guide.

      SF424(R&R) Project/Performance Site Locations
      Follow all instructions provided in the SF424 (R&R) Application.

      SF424 (R&R) Other Project Information
      Follow all instructions provided in the SF424 (R&R) Application, with the following modifications:

          Are Human Subjects Involved: Check "No" unless the training program itself requires the trainees to take a workshop or
          course that will involve human subjects.

          Are Vertebrate Animals Used: Check "No" unless the training program itself requires the trainees to take a workshop or course
          that will involve vertebrate animals.

          Project Summary/Abstract: Provide an overview of the entire program. Include the mission, objectives, rationale and design of
          the research training program. Highlight key activities in the training plan that promote skills development and the successful
          transition into and completion of biomedical, research-focused higher degree programs. Indicate the intended trainee outcomes.

          Other Attachments.

          Advisory Committee (1-page maximum). An Advisory Committee is not a required component of a training program. However, if
          an Advisory Committee is intended, provide a plan for the appointment of an Advisory Committee to monitor progress of the
          training program. The roles, responsibilities, and desired expertise of committee members, frequency of committee meetings,
          and other relevant information should be included. Describe how the Advisory Committee will assess the overall effectiveness of
          the program. To avoid conflicts in the review process, only pre-existing Advisory Committee members should be named in the
          application. Potential Advisory Committee members should not be identified or contacted prior to receiving an award. Please
          name the file Advisory_Committee.pdf .

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                               11/31
                                                                                                                   APHA App. 339
Case: 25-1611              Document: 00118310432                    Page: 343            Date Filed: 07/08/2025                  Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       32Allowed)
                                                                                                            Trial Not of 89
          Recruitment Plan to Enhance Diversity (3-page maximum). The applicant must provide a Recruitment Plan to Enhance
          Diversity. The application should include outreach strategies and activities designed to recruit potential training program
          candidates who are from diverse backgrounds, including students from underrepresented racial and ethnic groups, individuals
          with disabilities, and students from disadvantaged backgrounds (see Notice of NIH's Interest in Diversity
          (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html)). Applicants are encouraged to consult the NIGMS
          webpage for strategies to enhance diversity in training programs
          (https://www.nigms.nih.gov/training/diversity/pages/approaches.aspx) when designing their plans. Describe the specific efforts to
          be undertaken by the training program and how these might coordinate with trainee recruitment efforts of the institution.
          Centralized institutional efforts alone will not satisfy the requirement to recruit individuals from underrepresented groups.
          Participating faculty are expected to be actively involved in recruitment efforts. Please name the file Recruitment_Plan.pdf . If
          this attachment is not included, the application will be considered incomplete and will not be reviewed.

          Trainee Retention Plan (3-page maximum). The applicant must provide a Trainee Retention Plan. The Trainee Retention Plan
          must describe efforts to sustain the scientific interests as well as monitor the academic and research progress of trainees from
          all backgrounds within a program (i.e., retention). Applicants are encouraged to consult the NIH’s extramural diversity website to
          identify promising retention practices (https://extramural-diversity.nih.gov/building-participation/recruitment-retention) and to use
          evidence-informed practices for retention with the recognition that the variety of trainee backgrounds and experiences may
          necessitate the need to tailor retention approaches. Describe the specific efforts to be undertaken by the training program and
          how these might coordinate with trainee retention efforts of the institution(s). Centralized institutional efforts alone will not satisfy
          the requirement to implement robust and successful mechanisms to retain all trainees (e.g., participating faculty are expected to
          be actively involved in trainee retention efforts). Please name the file Retention_Plan.pdf . If this attachment is not included, the
          application will be considered incomplete and will not be reviewed.

          Outcomes Data Collection and Storage Plan (2-page maximum). The applicant must provide an Outcomes Data Collection and
          Storage Plan to track the outcomes for all supported trainees for a minimum of 15 years beyond the trainee’s participation in the
          program. Programs are encouraged to make the aggregate outcome data available on the institution's website. If the applicant
          intends to make the data available, describe how the aggregate data will be de-identified before public posting. The applicant
          must include a strategy to ensure the secure storage and preservation of program data and outcomes. Describe how the data
          will be centralized, safeguarded, and retrievable during leadership changes. Please name the file
          Data_Collection_Storage_Plan.pdf . If this attachment is not included, the application will be considered incomplete and will not
          be reviewed.

          Dissemination Plan (1-page maximum). The application must provide a specific Dissemination Plan to publish or present
          nationally any findings or materials developed under the auspices of the program. Examples of dissemination may include data
          or materials from successful training or mentoring interventions via web postings, presentations at scientific meetings, and/or
          workshops. Please name the file Dissemination_Plan.pdf . If this attachment is not included, the application will be considered
          incomplete and will not be reviewed.

          The filename provided for each Other Attachment will be the name used for the bookmark in the electronic application in eRA
          Commons.

      SF424(R&R) Senior/Key Person Profile Expanded
      Follow all instructions provided in the SF424 (R&R) Application with the following modifications.

      Biographical sketch. The personal statement should describe a commitment to scientific rigor, research training, mentoring, as well
      as to promoting inclusive, safe, and supportive scientific environments.

      PHS 398 Cover Page Supplement
      Follow all instructions provided in the SF424 (R&R) Application.

      PHS 398 Training Subaward Budget Attachment(s)
      Follow all instructions provided in the SF424 (R&R) Application Guide.

      Training Budget
      Follow all instructions provided in the SF424 (R&R) Application Guide.

      PHS 398 Research Training Program Plan
      The PHS 398 Research Training Program Plan Form is comprised of the following sections:

             Training Program

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                    12/31
                                                                                                                       APHA App. 340
Case: 25-1611              Document: 00118310432                  Page: 344           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       33Allowed)
                                                                                                            Trial Not of 89
             Faculty, Trainees, and Training Record
             Other Training Program Sections
             Appendix - Note that the Appendix should only be used in circumstances covered in the NIH policy on appendix materials or if
             the FOA specifically instructs applicants to do so.


      Follow all instructions provided in the SF424 (R&R) Application Guide with the following modifications:

          Attention must be given to the required Training Data Tables (//grants.nih.gov/grants/guide/url_redirect.php?id=61169) for
          undergraduate programs (Tables 2, 3, 4, 5C, and 8D). In the Program Plan, applicants should also summarize key data from the
          tables that highlight the characteristics of the applicant pool, program faculty, institutional support, student outcomes, and other
          factors that contribute to the overall training environment of the program.

          Training Program
          Follow all training instructions provided in the SF424 (R&R) application guide except where instructed to do otherwise below.

          Program Plan

          The "Program Plan" attachment is required and must adhere to the NIH Table of Page Limits (https://grants.nih.gov/grants/how-
          to-apply-application-guide/format-and-write/page-limits.htm#train), as well as the organization and instructions provided below.

          Do not follow the organization and instructions provided in the SF424 (R&R) application guide for the Program Plan attachment;
          instead applicants must use the instructions below. Start each section with the appropriate heading.

          Rationale, Mission, and Objectives

          The application should describe how the MARC program will develop a diverse pool of well-trained scientists who have the
          technical, operational, and professional skills required to conduct research in a safe, ethically responsible and rigorous manner,
          and to enter the next phase of the career pathway as delineated in the Program Objective. The application should describe how
          the program will enhance the training environment and not simply provide financial support to the trainees. Specifically,
          applicants should describe the following:

             The justification for the proposed diversity enhancing research training program. The application should describe the current
             institutional efforts to promote diversity and to create inclusive research training environments and how the MARC program
             will enhance, but not duplicate these efforts. The rationale for the program should expand upon the "Training Outcome" data
             requested below that provides institutional baseline data on previous student outcomes comparing success rates for groups
             that are well-represented and underrepresented in the biomedical research workforce (see Notice of NIH's Interest in Diversity
             (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html));
             Current research training environment and student demographics. The application should describe the research training
             environment including, but not limited to, the relevant background, an overview of the current research training activities of the
             participating department(s) or unit(s), and areas for improvement in the current research training practices. The application
             must demonstrate the presence of a sufficient number of potential trainees from diverse backgrounds, for example, those
             from underrepresented groups (applicants are encouraged to use the Suggested Table Formats A.1, A.2, and A.3
             (https://www.nigms.nih.gov/training/MARC/pages/MARCtables.aspx) found on the NIGMS webpage to present the data; any
             Suggested, or other, Tables must be included in the Training Program section and will count towards the 25-page limit), and of
             faculty mentors/participating faculty in the appropriate biomedical fields (Tables 2 and 4
             (https://grants.nih.gov/grants/forms/data-tables.htm)). The application should also demonstrate the existence of sufficient
             resources to achieve the training objectives (Table 3 (https://grants.nih.gov/grants/forms/data-tables.htm)); and
             The training mission (i.e., broad statement of purpose of the program), and objectives (i.e., specific measurable outcomes the
             program intends to achieve). The baseline data, the trainee pool, and the institutional context should inform the objectives and
             the design of the proposed training program. The program-specific mission and objectives should align with the Overarching
             Objective of this funding announcement. Objectives should include, but not be limited to, baccalaureate degree completion
             rates, appropriate time-to-degree, and the rate of transitioning into and completion of research-focused higher degree
             programs.


          Curriculum and Overall Training Plan

          The application should describe the following:



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                               13/31
                                                                                                                    APHA App. 341
Case: 25-1611              Document: 00118310432                   Page: 345            Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       34Allowed)
                                                                                                            Trial Not of 89
             How the courses, structured activities, and research experiences will accomplish the specific training mission and objectives.
             Explain how these training activities are designed to develop the technical, operational, and professional skills of trainees.
             The application must include the "Required Training Activities" appendix to provide material to assess the required training
             elements and may use the "Elective Activities" appendix to provide up to four additional activities;
             Proposed changes to current research training practices to keep pace with the rapidly evolving biomedical research
             enterprise (e.g., curricular reforms, incorporation of additional quantitative and computational skills development, etc.);
             The mechanisms to ensure that trainees participate in authentic research experiences throughout the training period.
             Applications that propose classroom-centered research training activities should describe the learning objectives, course
             attributes, participating faculty, training frequency, and expected trainee outcomes. If trainee research experiences are
             proposed to include other institutions, describe how the PD(s)/PI(s) will interact with the research mentors to promote trainee
             success;
             The plans to ensure that MARC trainees complete at least one summer research training experience at a research-intensive
             institution (either at an external site or at the home institution). Preferable sites are graduate institutions that offer NIH T32
             predoctoral programs. To assist with this interaction, NIGMS maintains a list of NIGMS-funded T32 programs
             (http://www.nigms.nih.gov/training/pages/InstGrantLists.aspx). Other NIH Institutes and Centers also support the T32
             predoctoral training program in various research areas. For a query search to identify such programs, visit the NIH Research
             Portfolio Online Reporting Tools (RePORT (http://report.nih.gov/index.aspx)) website;
             The mechanism for ensuring that the trainees are learning the highest standards of practice in biomedical research (e.g.,
             record keeping and safety);
             How the Participating Faculty will teach laboratory safety throughout the didactic and mentored portions of the program;
             How the training activities will employ evidence-informed approaches to trainee learning, mentorship, inclusion, and
             professional development;
             The activities that will build a strong cohort of research-oriented individuals while enhancing the science identity, self-efficacy,
             and a sense of belonging among the cohort members;
             Representative examples of training programs for individual trainees. Examples may include degree requirements, didactic
             courses, laboratory experiences, and other training activities, such as seminars, journal clubs, etc. Describe how each
             trainee's program will be guided, and how the trainee's performance will be monitored and evaluated. Discuss the anticipated
             time required to complete the training program up to degree attainment;
             The trainees academic and research background needed to pursue the proposed training and plans to accommodate
             differences in preparation among trainees.
             How the training activities will be available to other trainees in the program(s), department(s) or institution(s) from which the
             supported trainees are drawn;
             For multi-disciplinary and/or multi-departmental programs, indicate how the individual disciplinary and/or departmental
             components of the program are integrated and coordinated, and how they will relate to an individual trainee's experience; and
             The ways, when applicable, that the training plan is distinct from, but will share resources and synergize with, other NIGMS-
             funded predoctoral training programs at the same institution (i.e., NIGMS predoctoral training programs listed in Table 3
             (https://grants.nih.gov/grants/forms/data-tables.htm)). See the "Program Considerations" section above.


          Career Development

          The application should describe the following:

             How the pool of potential applicants and trainees will be provided with information about the career outcomes of graduates of
             the program (e.g., on publicly accessible websites) and about the overall biomedical research workforce employment
             landscape;
             How trainees will be provided with support as well as adequate, appropriate, and timely information regarding the steps
             required to transition into the next phase of the biomedical research workforce pathway (e.g., when applying to research-
             focused graduate programs, or funding opportunities);
             How the trainees will be sponsored or mentored by individuals who will enhance their career opportunities (e.g., contacts at
             national meetings and institutions with NIH-funded T32 training programs, as well as members of scientific societies, and the
             research community);


          Program Oversight, Participating Faculty Selection, and Mentor Training

          The application should include the planned strategy and administrative structure to oversee and monitor the program, and to
          ensure appropriate and timely trainee progress for the duration of the trainees' undergraduate careers (the application may

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                 14/31
                                                                                                                      APHA App. 342
Case: 25-1611              Document: 00118310432                   Page: 346            Date Filed: 07/08/2025                  Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       35Allowed)
                                                                                                            Trial Not of 89
          include the "Evaluation and Assessment Instruments" Appendix to provide blank rubrics or forms). The application should
          describe how the participating faculty are trained to ensure the use of evidence-informed teaching, training and mentoring
          practices that promote the development of trainees from all backgrounds, e.g., trainees from underrepresented backgrounds in
          the biomedical sciences (see Notice of NIH's Interest in Diversity (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-
          031.html)). Applicants should describe the following:

             How the program will ensure that participating faculty employ the highest standards of scientific rigor and impart those
             standards to their trainees;
             How the program will ensure that participating faculty reinforce and augment the curricular material on responsible conduct of
             research, and methods for enhancing reproducibility;
             The mechanism for matching trainees with the appropriate participating faculty mentors;
             How the program will ensure that participating faculty engage in activities that promote trainee career development (including
             but not limited to the utilization of Individual Development Plans) and fulfill the need of the trainees to obtain their degrees in a
             timely fashion with the skills, credentials, and experiences to transition into the next phase of the biomedical research career
             pathway that are consistent with the trainees interests and values;
             A mechanism to monitor mentoring, including oversight of the effectiveness of the trainee/participating faculty match, and a
             plan for removing faculty displaying unacceptable mentorship qualities from the training program (applicants may use the
             Appendix labeled Conflict Resolution Protocols to provide details of the plan); and
             If a program coordinator or administrator position is planned to enhance oversight, a description of the person's administrative
             capabilities that are essential to coordinate the program must be included in the application.


          Institutional and Departmental Commitment to the Program

          A letter providing assurances of the institutional commitment to the program must be included in the Institutional Support Letter
          in the "Letters of Support" section of the application. In addition, applicants may use this section of the Training Program to
          expand upon the Facilities & Other Resources section and the Letters of Support section, as necessary, to provide additional
          information regarding the institutional and departmental commitment to the program. Do not repeat information contained
          elsewhere in the application.

          This section or the Institutional Support Letter should address how research training at the undergraduate level is supported.
          Additional examples of institutional commitment specific to undergraduate biomedical research training may include, but are not
          limited to:

             Support of an Office of Undergraduate Research;
             Stipend and tuition remission for research-oriented undergraduates;
             Undergraduate biomedical research counting towards course credit hours and/or degree requirements;
             Funds and protected time for faculty to develop course-based undergraduate research experiences that will fulfill degree
             requirements;
             Funds to sustain research-oriented courses;
             Faculty teaching models that support integrated/interdisciplinary STEM curricula and courses;
             Support of research training administrators and coordinators;
             Supervised student access to research facilities during non-standard work hours; and
             Personnel dedicated to undergraduate student success and oversight (e.g., tutoring and academic support services,
             infrastructure to identify students in need).


          Training Program Director(s)/Principal Investigator(s) (PD(s)/PI(s))

          The application should describe how the Training Program Director(s)/Principal Investigator(s) (PD(s)/PI(s)) will promote the
          success of the trainees and training program. NIGMS encourages multiple PDs/PIs, particularly when each brings a unique
          perspective and skill set that will enhance training as described in the Eligible Individuals section. The application should expand
          on the information in the biosketch(es) to address how the PD/PI or PD/PI team has:

             The expertise, as well as the administrative and training experience, to provide strong leadership, direction, management, and
             administration of the proposed research training program;
             The time to commit sufficient effort to ensure the program’s success given other professional obligations (the application
             should indicate the PD(s)/PI(s) s percent effort in the proposed program);
             At least one member of the team who has the scientific expertise in the biomedical sciences and who has a record of using
             rigorous and transparent methods in experimental design, data collection, analysis, and reporting;

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                  15/31
                                                                                                                      APHA App. 343
Case: 25-1611              Document: 00118310432                  Page: 347           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       36Allowed)
                                                                                                            Trial Not of 89
             A demonstrated commitment to training the next generation of the biomedical research workforce, leading recruitment efforts
             to enhance diversity, and fostering inclusive research environments. As with all participating faculty, the PD(s)/PI(s) should
             have received training on how to effectively mentor trainees from all backgrounds, e.g., trainees from groups
             underrepresented in the biomedical sciences (see Notice of NIH's Interest in Diversity
             (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html)); and
             A clearly delineated administrative structure and leadership succession plan for critical positions (e.g., PD(s)/PI(s)).


          Preceptors/Mentors (Participating Faculty)

          The application should describe how the participating faculty will promote the success of the trainees and training program, as
          well as conducting responsible and rigorous research. Describe how the program has or will assemble a diverse team of
          participating faculty (e.g., individuals from underrepresented backgrounds (see Notice of NIH's Interest in Diversity
          (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-15-053.html)), women, and faculty at different career stages) to provide
          potential role models within the training program and to enhance the excellence of the training environment. The application
          should summarize and expand on the material presented in the Training Tables (https://grants.nih.gov/grants/forms/data-
          tables.htm) and biosketches and address how the participating faculty:

             Have sufficient time to commit to training given their other professional obligations;
             Receive training in effective, evidence-informed teaching and mentoring practices;
             Promote the use of highest standards of practice to ensure the safety of all individuals in the research environment;
             Cooperate, interact, and collaborate (which can include joint sponsorship of trainee research);
             Promote the development of trainee skills in approaches to rigorous experimental design, methods of data collection, data
             analysis and interpretation, and reporting;
             Provide opportunities for trainees to initiate, conduct, interpret, and present rigorous, reproducible and responsible biomedical
             research with increasing self-direction;
             Demonstrate a commitment to effective mentoring, and to promoting inclusive, safe and supportive scientific and training
             environments; and
             Are evaluated as teachers and mentors.


          Trainee Positions, Appointment Process, Retention and Support

          Through the narrative and summaries of the information presented in the required Training Tables
          (https://grants.nih.gov/grants/forms/data-tables.htm) and the required attachments the following areas relevant to trainees
          should be addressed.

             Provide a strong justification for the number of requested trainee positions in the context of the training grant eligible pool
             described in the rationale section of the application and other training programs at the institution. Potential trainees should be
             research-oriented individuals enrolled in a major leading to a baccalaureate degree in a STEM discipline that will prepare the
             individual for a biomedical, research-focused higher degree program (e.g., Ph.D. or M.D./Ph.D.). For Renewal Applications -
             Describe the characteristics of the previously awarded trainees as part of the justification for the requested positions.;
             Explain the proposed training grant support structure, i.e., how many individuals (e.g., 4 per year), at what stage (e.g., third-
             and fourth-year students), and for how long (e.g., for 2 years); and
             Describe the review process to identify research-oriented candidates for the program. Programs are encouraged to develop a
             process that considers metrics beyond grade point average, and standardized test scores and that will identify promising
             candidates who are committed to contributing to the biomedical research enterprise and who, with training and support, will
             be competitive for research-focused higher degree programs (e.g., Ph.D. or M.D./Ph.D.).
             Applicants may use this section to expand upon the Trainee Retention Plan (provided in the "Other Attachments") and to
             provide evidence of the program's commitment to ensuring the well-being and success of all trainees throughout their training.


          Training Outcomes

          This section is intended to provide outcomes for the program described in the application (or for new programs, to provide
          outcomes for training grant eligible students for the proposed program). The application should provide information below about
          recent outcomes through narrative descriptions and a summary of the data presented in the required training tables
          (https://grants.nih.gov/grants/forms/data-tables.htm). Although the training tables for new applications only allow for five years of
          recent outcomes, the application may describe up to 15 years of outcomes in the narrative. Applicants are encouraged to
          provide outcome data using the Suggested Table Formats B.1, B.2, or B.3

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                16/31
                                                                                                                    APHA App. 344
Case: 25-1611              Document: 00118310432                  Page: 348            Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       37Allowed)
                                                                                                            Trial Not of 89
          (https://www.nigms.nih.gov/training/MARC/pages/MARCtables.aspx) found on the NIGMS webpage. The application should
          describe the following:

             Evidence that recent program graduates conducted rigorous research that advanced scientific knowledge and/or
             technologies, with increasing self-direction (e.g., peer-reviewed publications, or other measures of scientific accomplishment
             appropriate to the field such as presentations at national meetings and receiving fellowships);
             The rate of baccalaureate degree attainment and time-to-degree for recent graduates. The application must include outcome
             data regarding the number of former individuals in the program who graduated with a baccalaureate degree in a STEM field
             (obtained goal), remained in the program (still in training), or did not obtain a baccalaureate degree (attrition). The application
             should include institutional comparator groups (e.g., students with similar demographics and aptitude metrics who were not in
             the program) and the graduation rates for all students in the STEM fields represented; and
             The success of former students transitioning to the next phase in the biomedical research workforce pathway (e.g.,
             matriculation to a research-focused higher degree program). Applicants must complete Training Table 8D
             (https://grants.nih.gov/grants/forms/data-tables.htm), and are encouraged to use the Suggested Table Formats B.1, B.2, or
             B.3 (https://www.nigms.nih.gov/training/MARC/pages/MARCtables.aspx). Any Suggested, or other, Tables must be included in
             the Training Program section and will count towards the 25-page limit.


          Program Evaluation and Dissemination

          NIGMS funded training programs must conduct ongoing evaluations to monitor the success of the training and mentoring
          activities. The application should describe:

             The evaluation or assessment process to determine whether the overall program is effective in meeting its training mission
             and objectives, and whether the scientific research climate is inclusive, safe, and supportive of trainee development (the
             application may include the "Evaluation and Assessment Instruments" Appendix to provide blank survey instruments, rubrics,
             or forms);
             Plans for being responsive to outcomes analyses, critiques, surveys and evaluations;
             Past activities to track and post the career outcomes of trainees (applicants should expand upon, but not duplicate the
             information in the Outcomes Data Collection and Storage Plan ); and
             Past activities designed to share the outcomes of the training or mentoring interventions with the broader community
             (applicants should expand upon, but not duplicate the information in the Dissemination Plan ).


          Plan for Instruction in the Responsible Conduct of Research

          Applicants are required to comply with the instructions for Plan for Instruction in the Responsible Conduct of Research as
          provided in the SF424 (R&R) Application Guide, along with the following additional instructions:

          Describe how the Responsible Conduct of Research (RCR) components are well integrated into the overall curriculum, i.e., how
          they are taught at multiple stages of trainee development and in a variety of formats and contexts. Explain how the teaching of
          RCR synergizes with elements of the curriculum designed to enhance trainees abilities to conduct rigorous and reproducible
          research. Describe how all participating faculty will reiterate and augment key elements of responsible conduct when trainees
          are performing mentored research in their laboratories.

          Plan for Instruction in Methods for Enhancing Reproducibility

          Applicants are required to provide a Plan for Instruction in Methods for Enhancing Reproducibility

          as provided in the SF424 (R&R) Application Guide.

          Applicants are encouraged to consult the NIGMS clearinghouse for training modules to enhance data reproducibility
          (https://www.nigms.nih.gov/training/pages/clearinghouse-for-training-modules-to-enhance-data-reproducibility.aspx) and other
          resources when developing the plans.

          Progress Report (only for Renewal applications)

          For applications describing programs that were previously funded under PAR-19-219 (https://grants.nih.gov/grants/guide/pa-
          files/PAR-19-219.html) follow the instructions provided in the SF424 (R&R) Application Guide with the following exceptions:

          For the "Program Overview" section, follow the page limit indicated in the SF424 (R&R) application guide, but follow the
          instructions below instead:


  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                17/31
                                                                                                                    APHA App. 345
Case: 25-1611              Document: 00118310432                   Page: 349           Date Filed: 07/08/2025                  Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       38Allowed)
                                                                                                            Trial Not of 89
             Indicate the period covered since the last competitive review.
             Include information to demonstrate that the program successfully trained a diverse pool of individuals who have the technical,
             operational, and professional skills to transition into careers in the biomedical research workforce.
             Describe successes and challenges with regards to implementing the programmatic elements described in the previous
             application, including but not limited to the following areas:
                      Incorporating evidence-informed training and mentoring practices into the program.
                      Teaching of rigor and transparency, and the responsible and safe conduct of research throughout the training
                      experience.
                      The challenges and successes for enhancing diversity and inclusion.
                      Overseeing all aspects of the program (e.g., of the mentor/mentee matches, the participating faculty, and trainee
                      progress).
                      Preparing trainees for a broad range of careers in the biomedical research workforce (including but not limited to the
                      use of Individual Development Plans, IDPs).
             Provide justifications for failing to implement previously proposed programmatic elements.
             Provide evidence that the specific and measurable objectives described in the previous application were achieved and if not,
             provide a justification for failing to achieve the objectives.
             Describe how the funds provided under "Training Related Expenses" were used to benefit the program.
             Provide the methods and results of the evaluations of the program activities. Indicate whether the training activities were
             effective in contributing to the program objectives.
             Provide evidence that the scientific research climate is inclusive, safe, and supportive of trainee development.
             Expand upon the "Training Outcomes" to highlight successes and areas for improvement.
             Describe how the program responded to outcomes analyses, critiques, surveys and evaluations. Describe the barriers to
             success and indicate changes to the program designed to address these barriers.
             Describe how the program makes training and career outcomes publicly available.
             Indicate whether the PD(s)/PI(s) disseminated nationally any findings or materials developed under the auspices of the
             program to the broader training community.
             Indicate the broader impact of the program (e.g., on the curriculum, training environment, or institutional practices).
             Highlight how the training program has evolved in response to changes in relevant scientific and technical knowledge,
             educational practices, and evaluation of the training program.


          Faculty, Trainees, and Training Record
          Participating Faculty Biosketches

          Participating faculty should provide a personal statement that describes the appropriateness of their research background for
          the proposed training program, and their commitment to the following:

             Training, mentoring, and promoting inclusive, safe and supportive research environments;
             Maintaining a record of, and providing training in rigorous and unbiased experimental design, methodology, analysis,
             interpretation, and reporting of results;
             Promoting the use of highest standards of practice to ensure the safety of all individuals in the research environment;
             Supporting trainees participating in activities required to identify and transition into careers in the biomedical research
             workforce that are consistent with the trainees skills, interests, and values; and
                  Fulfilling the need of the trainees to complete their degrees in a timely fashion with the skills, credentials, and experiences
             to transition into research-focused higher degree programs (e.g., Ph.D. or M.D./Ph.D.).


          Letters of Support

          Institutional Support Letter (10-page maximum). The application must include a signed letter on institutional letterhead from a
          President, Provost, Dean, or similar key institutional leader that describes the activities and resources provided by the institution
          that are designed to ensure the success of the planned training program and its trainees. If this letter is not included, the
          application will be considered incomplete and will not be reviewed. The institutional commitment to the following areas should be
          described (as applicable):

             Developing and promoting a culture in which the highest standards of safety, scientific rigor, reproducibility, and responsible
             conduct are advanced;


  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                 18/31
                                                                                                                     APHA App. 346
Case: 25-1611              Document: 00118310432                   Page: 350            Date Filed: 07/08/2025                  Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       39Allowed)
                                                                                                            Trial Not of 89
             Ensuring sufficient start-up funding to permit early stage faculty to participate in training, and bridge funding to ensure that
             training may continue if a mentor experiences a hiatus in funds;
             Supporting core facilities and technology resources, and describing how they can be used to enhance training;
             Providing adequate staff, facilities, and educational resources to the planned program;
             Supporting the PDs/PIs and other key staff associated with the planned training program;
             Fostering and rewarding excellence in training (e.g., through institutional polices such as tenure and promotion);
             Supporting the remediation or removal of Participating Faculty from the program who are poorly performing mentors;
             Promoting diversity and inclusion at all levels of the research training environment (trainees, staff, faculty, and leadership);
             Ensuring a positive, supportive and inclusive research and training environment for individuals from all backgrounds;
             Ensuring the research facilities and laboratory practices promote the safety of trainees;
             Guaranteeing the research facilities are accessible to trainees with disabilities;
             Ensuring that proper policies, procedures, and oversight are in place to prevent discriminatory harassment and other
             discriminatory practices and to appropriately respond to allegations of such discriminatory practices, including providing any
             required notifications to NIH (e.g., requesting a change of PD/PI status; see NOT-OD-19-029
             (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-19-029.html));
             Providing trainees access to student support services, such as healthcare, counseling services, and housing;
             Providing resources and expertise for evaluating the training outcomes of the program; and
             For institutions that have multiple NIGMS-funded predoctoral training grants, the letter should also explain what distinguishes
             the proposed program from existing ones at the same training level, how the programs will synergize and share resources
             when appropriate, and how the training faculty, pool of potential trainees, and resources are sufficiently robust to support the
             proposed program in addition to existing ones.


          Institutional Eligibility Letter. (1-page maximum). The Authorized Organization Representative or Business Official or similar
          official with institution-wide responsibility must certify that all the components of the institution under the applicant DUNS or IPF
          number together have an average of RPG funding greater than or equal to $7.5 million total costs (both direct and F&A/indirect
          costs) per year over the past 3 fiscal years, as described in Section III, "Eligible Organization". If this letter is not included, the
          application will be considered incomplete and will not be reviewed.

          Other Letters of Support. Additional letters of support (e.g., from partner institutions or organizations) are permitted; however,
          these letters may not contain any information required in the Institutional Support Letter.

          Combine all Letters of Support into a single PDF file.

          Data Tables: The application must include the required Training Data Tables
          (https://grants.nih.gov/grants/guide/url_redirect.php?id=61169). Applications that do not contain the required tables, or that
          submit any additional tables in this attachment, will be considered noncompliant and will not be reviewed.

          Appendix
          Limited items are allowed in the Appendix. Follow all instructions for the Appendix as described in the SF424 (R&R) Application
          Guide; any instructions provided here are in addition to theSF424 (R&R) Application Guide instructions.

          The Appendix is meant to provide additional details to the following topics but is not meant to substitute for clear descriptions in
          the body of the application. Do not include items other than the required and allowable materials described below, as doing so
          will result in administrative withdrawal of the application prior to review. Name the file according to the headings below. A
          summary sheet listing all the items included in the Appendix may be included in the first Appendix attachment.

          The following are required Appendix materials:

             Required Training Activities. To adequately assess the content of the didactic portion of the training program, the application
             must include syllabi/outlines of all required training activities (e.g., syllabi for courses, mentor training materials, professional
             development workshops, career exploration opportunities, skills development activities).
             Responsible Conduct of Research Syllabi. In addition to the Plan for Instruction in the Responsible Conduct of Research, the
             application must provide syllabi/outlines of materials relating to Responsible Conduct of Research and descriptions of when in
             the trainees career paths the material is taught.


          The following are allowable Appendix materials:



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                      19/31
                                                                                                                       APHA App. 347
Case: 25-1611              Document: 00118310432                  Page: 351           Date Filed: 07/08/2025                  Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       40Allowed)
                                                                                                            Trial Not of 89
             Elective Activities. The application may include summary content from up to four additional elective courses and/or training
             activities (e.g., syllabi or summaries for courses, mentor training materials, outlines of professional development workshops,
             career exploration opportunities, or skills development activities).
             Evaluation and Assessment Instruments. The application may include blank surveys, rubrics, and/or forms used to (a)
             document and monitor trainee progress and (b) determine whether the training and research environment is effective,
             inclusive, safe, and supportive.
             Conflict Resolution Protocols (3-page maximum). The application may include detailed protocols for addressing problems with
             trainee and faculty matches, removal of faculty from the training program with unacceptable training/mentoring skills and for
             conflict resolutions for multi PD(s)/PI(s) and mentor/mentee relationships.


          Applications that do not include the required appendices or that exceed the number of allowed appendices or the page limitation
          of any of the allowed materials will be considered noncompliant and will not be reviewed.

      PHS Assignment Request Form
      All instructions in the SF424 (R&R) Application Guide must be followed.


      3. Unique Entity Identifier and System for Award Management (SAM)
      See Part 1. Section III.1 for information regarding the requirement for obtaining a unique entity identifier and for completing and
      maintaining active registrations in System for Award Management (SAM), NATO Commercial and Government Entity (NCAGE)
      Code (if applicable), eRA Commons, and Grants.gov


      4. Submission Dates and Times
      Part I. Overview Information contains information about Key Dates and times. Applicants are encouraged to submit applications
      before the due date to ensure they have time to make any application corrections that might be necessary for successful
      submission. When a submission date falls on a weekend or Federal holiday (https://grants.nih.gov/grants/guide/url_redirect.php?
      id=82380), the application deadline is automatically extended to the next business day.

      Organizations must submit applications to Grants.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=11128) (the online portal to
      find and apply for grants across all Federal agencies). Applicants must then complete the submission process by tracking the status
      of the application in the eRA Commons (//grants.nih.gov/grants/guide/url_redirect.php?id=11123), NIH’s electronic system for grants
      administration. NIH and Grants.gov systems check the application against many of the application instructions upon submission.
      Errors must be corrected and a changed/corrected application must be submitted to Grants.gov on or before the application due
      date and time. If a Changed/Corrected application is submitted after the deadline, the application will be considered late.
      Applications that miss the due date and time are subjected to the NIH Policy on Late Application Submission.

      Applicants are responsible for viewing their application before the due date in the eRA Commons to ensure accurate and
      successful submission.

      Information on the submission process and a definition of on-time submission are provided in the SF424 (R&R) Application Guide.

      5. Intergovernmental Review (E.O. 12372)
      This initiative is not subject to intergovernmental review. (//grants.nih.gov/grants/guide/url_redirect.php?id=11142)


      6. Funding Restrictions
      All NIH awards are subject to the terms and conditions, cost principles, and other considerations described in the NIH Grants Policy
      Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120). The National Research Service Award (NRSA) policies
      (//grants.nih.gov/grants/guide/url_redirect.php?id=41171) apply to this program. An NRSA appointment may not be held concurrently
      with another Federally sponsored fellowship, traineeship, or similar Federal award that provides a stipend or otherwise duplicates
      provisions of the NRSA.

      Pre-award costs are allowable only as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?
      id=11143). Note, however, that pre-award costs are not allowable charges for stipends or tuition/fees on institutional training grants
      because these costs may not be charged to the grant until a trainee has actually been appointed and the appropriate paperwork
      submitted to the NIH awarding component. Any additional costs associated with the decision to allow research elective credit for
      short-term research training are not allowable charges on an institutional training grant.

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                              20/31
                                                                                                                    APHA App. 348
Case: 25-1611              Document: 00118310432                  Page: 352           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       41Allowed)
                                                                                                            Trial Not of 89
      7. Other Submission Requirements and Information
      Applications must be submitted electronically following the instructions described in the SF424 (R&R) Application Guide. Paper
      applications will not be accepted.

      Applicants must complete all required registrations before the application due date.             Section III. Eligibility Information
      contains information about registration.

      For assistance with your electronic application or for more information on the electronic submission process, visit How to Apply
      Application Guide (https://grants.nih.gov/grants/how-to-apply-application-guide.html). If you encounter a system issue beyond your
      control that threatens your ability to complete the submission process on-time, you must follow the Dealing with System Issues
      (https://grants.nih.gov/grants/how-to-apply-application-guide/due-dates-and-submission-policies/dealing-with-system-issues.htm)
      guidance. For assistance with application submission, contact the Application Submission Contacts in Section VII.

          Important reminders:

          All PD(s)/PI(s) must include their eRA Commons ID in the Credential field of the Senior/Key Person Profile Component of the
          SF424(R&R) Application Package. Failure to register in the Commons and to include a valid PD/PI Commons ID in the
          credential field will prevent the successful submission of an electronic application to NIH.

          The applicant organization must ensure that the DUNS number it provides on the application is the same number used in the
          organization’s profile in the eRA Commons and for the System for Award Management (SAM). Additional information may be
          found in the SF424 (R&R) Application Guide.

          See more tips (//grants.nih.gov/grants/guide/url_redirect.php?id=11146) for avoiding common errors.

      Upon receipt, applications will be evaluated for completeness and compliance with application instructions by the Center for
      Scientific Review and NIGMS. Applications that are incomplete or non-compliant will not be reviewed.

      Applicants Requesting $500,000 or more for direct costs (less consortium F&A) in any year
      Applicants requesting $500,000 or more in direct costs in any year are not required to contact a Scientific/ Research Contact prior
      to submitting an application. The Policy on the Acceptance for Review of Unsolicited Applications that Request $500,000 or More in
      Direct Costs as described in the SF424 (R&R) Application Guide is not applicable to this FOA.

      Post Submission Materials
      Applicants are required to follow the instructions for post-submission materials, as described in the policy
      (//grants.nih.gov/grants/guide/url_redirect.php?id=82299).

      Section V. Application Review Information
      1. Criteria
      Only the review criteria described below will be considered in the review process.

      Applications submitted to the NIH in support of the NIH mission (//grants.nih.gov/grants/guide/url_redirect.php?id=11149) are
      evaluated for scientific and technical merit through the NIH peer review system.

      Overall Impact
      Reviewers will provide an overall impact score to reflect their assessment of the likelihood that the proposed training program will
      produce a diverse pool of well-trained scientists who complete their baccalaureate degree and transition into and complete
      biomedical, research-focused higher degree programs (e.g., Ph.D. or M.D./Ph.D.). Will the program provide trainees with the
      technical (e.g., appropriate methods, technologies, and quantitative/computational approaches), operational (e.g., independent
      knowledge acquisition, rigorous experimental design, and interpretation of data), and professional (e.g., management, leadership,
      communication, and teamwork) skills necessary to conduct rigorous and reproducible research, and transition into research-focused
      higher degree programs (e.g., Ph.D. or M.D./Ph.D.), in consideration of the following review criteria and additional review criteria (as
      applicable for the program proposed)?

      Specifically, do the courses, structured training activities, mentoring, and research experiences equip the trainees with:

             A broad understanding across biomedical disciplines;
             Expertise in a basic biomedical scientific discipline and the skills to independently acquire the knowledge needed to advance
             their chosen fields;
  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                21/31
                                                                                                                     APHA App. 349
Case: 25-1611              Document: 00118310432                   Page: 353           Date Filed: 07/08/2025                  Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       42Allowed)
                                                                                                            Trial Not of 89
             The ability to think critically and independently, and to identify important biomedical research questions and approaches that
             push forward the boundaries of their areas of study;
             A strong foundation in scientific reasoning, rigorous research design, experimental methods, quantitative and computational
             approaches, and data analysis and interpretation;
             The skills to conduct research in the safest manner possible, and a commitment to approaching biomedical research
             responsibly, ethically, and with integrity;
             Experience initiating, conducting, interpreting, and presenting rigorous and reproducible biomedical research with increasing
             self-direction;
             The ability to work effectively in teams with colleagues from a variety of cultural and scientific backgrounds, and to promote
             inclusive and supportive scientific research environments;
             The skills to teach and communicate scientific research methodologies and findings to a wide variety of audiences (e.g.,
             discipline-specific, across disciplines, and the public); and
             The knowledge, professional skills and experiences required to identify and transition into careers in the biomedical research
             workforce (i.e., the breadth of careers that sustain biomedical research in areas that are relevant to the NIH mission)?


      Scored Review Criteria
      Reviewers will consider each of the review criteria below in the determination of the merit of the training program, and give a
      separate score for each. An application does not need to be strong in all categories to be judged likely to have major scientific
      impact.

          Training Program and Environment
          Rationale, Mission, and Objectives

             Does the application provide a compelling rationale for the proposed research training program?
             Does the proposed program demonstrate the presence of a sufficient pool of potential trainees in appropriate disciplines,
             program faculty with the appropriate scientific expertise, and resources to achieve the training objectives?
             Are the mission and objectives for the training program specific and measurable and in alignment with the goal of the
             program?


          Curriculum and Overall Training Plan

             Will the courses, structured training activities, mentoring, and research experiences achieve the stated mission and objectives
             of the proposed training program?
             Does the application propose changes in the program’s research training and mentoring practices to effectively address the
             rapidly evolving biomedical research enterprise and current understanding of evidence-informed training and mentoring
             approaches?
             Will the trainees participate in authentic research experiences and complete at least one summer research training
             experience at a research-intensive institution?
             Is the mechanism for ensuring that the trainees are learning the highest standards of practice in biomedical research (e.g.,
             record keeping and safety) robust?
             Will the Participating Faculty teach laboratory safety throughout the didactic and mentored portions of the program?
             Does the training program plan provide a compelling explanation of how the courses, structured training activities, mentoring,
             and research experiences employ modern, evidence-informed approaches that are likely to enhance the success of the
             trainees?
             Are the activities likely to build a strong cohort of research-oriented individuals while enhancing the science identity, self-
             efficacy, and a sense of belonging among the cohort members?
             Do the required and elective training elements (e.g., syllabi, course descriptions) provide compelling evidence that the
             trainees will gain the requisite skills for the discipline in a timely fashion and that there are mechanisms to ensure that the
             trainees will be guided, monitored, and evaluated?
             Are there plans to accommodate differences in preparation among trainees?
             Is it clear how the proposed program will enhance the research training environment and not simply provide financial
             assistance for the trainees?
             Is it clear how the training activities will be available to other students in the program(s), department(s), or institution(s) from
             which the trainees are drawn?



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                 22/31
                                                                                                                     APHA App. 350
Case: 25-1611              Document: 00118310432                   Page: 354            Date Filed: 07/08/2025                  Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       43Allowed)
                                                                                                            Trial Not of 89
             For multi-disciplinary and/or multi-departmental programs, is it clear how the individual disciplinary and/or departmental
             components of the program are integrated and coordinated, and how each will relate to an individual trainee's experience?
             If applicable, is the proposed program distinct from, but planning to share resources and synergize with other NIGMS-funded
             predoctoral training programs at the institution?


          Career Development

             Is there a mechanism to ensure the pool of potential applicants and trainees will be provided with information about the
             outcomes of former trainees of the program (e.g., on publicly accessible websites) and about the overall biomedical research
             workforce employment landscape?
             Will the trainees be provided with support as well as adequate, appropriate, and timely information regarding the steps
             required to transition into the next phase of the biomedical research workforce pathway (e.g., when applying to research-
             focused graduate programs, or funding opportunities)?
             Will the trainees be introduced to mentors and sponsors who will enhance their career opportunities (e.g., contacts at national
             meetings and institutions with NIH-funded T32 training programs, as well as members of scientific societies, and the research
             community)?


          Program Oversight, Participating Faculty Selection, and Mentor Training

             Does the application describe an effective strategy and administrative structure to oversee and monitor the program to ensure
             appropriate and timely trainee progress for the duration of the trainees' undergraduate careers?
             Is selection of the program faculty based on a commitment to training and mentoring, and not simply research productivity?
             Will the participating faculty be trained to ensure the use of evidence-informed teaching and mentoring practices that promote
             the development of trainees from all backgrounds?
             Do the participating faculty have a record of employing the highest standards of rigor and transparency in their research, and
             plans to impart those standards to their trainees?
             Will the program ensure that program faculty reinforce and augment the curricular material on responsible conduct of
             research, and methods for enhancing reproducibility?
             Is there a clear mechanism for matching the trainees with appropriate program faculty?
             Is there a plan to ensure that the participating faculty engage in activities that promote trainee career development (including
             but not limited to the utilization of Individual Development Plans), and fulfill the need of the trainees to obtain their degrees in
             a timely fashion with the skills, credentials and experiences to transition into the next phase of the biomedical research
             pathway that are consistent with the trainees' interests, and values?
             Is there an effective mechanism to monitor mentoring, including oversight of the effectiveness of the trainee/participating
             faculty match, and a plan for removing participating faculty displaying unacceptable mentorship qualities from the training
             program?
             If a program coordinator or administrator position is planned, will the person's administrative capabilities contribute to the
             success of the program?


          Institutional and Departmental Commitment to the Program

             Will the institutional and departmental commitment to research and training excellence promote the success of the trainees
             and training program?
             Is there a clear institutional commitment to develop and promote a culture in which the highest standards of safety, scientific
             rigor, reproducibility, and responsible conduct of research are advanced?
             Does the institution provide sufficient start-up funding to permit early stage faculty to participate in training, and bridge funding
             to ensure that training may continue if a mentor experiences a hiatus in funds?
             Are the core facilities and technology resources necessary for the success of the program well supported?
             Is there adequate support of the PD(s)/PI(s) and other key staff, facilities, and educational resources associated with the
             training program?
             Do participating faculty have sufficient protected time available to devote to the training and mentoring activities?
             Is there evidence that the institution rewards excellence in training and mentoring through institutional policies?
             Does the institution support the remediation or removal of Participating Faculty from the program who are poorly performing
             mentors?
             Are diversity and inclusion efforts promoted at all levels of the research training environment (trainees, staff, faculty, and
             leadership)?

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                  23/31
                                                                                                                      APHA App. 351
Case: 25-1611              Document: 00118310432                  Page: 355            Date Filed: 07/08/2025                Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       44Allowed)
                                                                                                            Trial Not of 89
             Does the institution promote a positive, supportive, safe and inclusive research and training environment for individuals from
             all backgrounds?
             Is there evidence that the research facilities and laboratory practices ensure the safety of trainees?
             Is a process in place to address access issues for trainees with identified disabilities?
             Are appropriate policies and procedures in place to protect trainees from harassment and other prohibited practices?
             Is there evidence of an institutional commitment to providing the trainees access to student support services, such as health
             care, counseling services, and housing?
             Are the resources and expertise for evaluating the training outcomes of the program appropriate?
             Does the plan describe the changes the program(s), department(s) and/or the institution(s) will make to better support the
             goals of the training program?
             Does the application adequately address how research training at the undergraduate level is supported?


          Training Program Director(s)/Principal Investigator(s) (PD(s)/PI(s))
             Do the PD(s)/PI(s) have the scientific expertise, and administrative and training experience to provide strong leadership,
             direction, management, and administration of the proposed research training program?
             Do the PD(s)/PI(s) have the time to commit sufficient effort to ensure the program's success, given their other professional
             obligations?
             Does at least one member of the PD/PI team have a demonstrated record of using rigorous and transparent methods in
             experimental design, data collection, analysis, and reporting in the proposed scientific field?
             Have the PD(s)/PI(s) received training on how to effectively mentor trainees, including those from underrepresented groups,
             and promote inclusive, safe, and supportive research training environments?
             Do the PD(s)/PI(s) have a demonstrated commitment to training the next generation of the biomedical research workforce,
             leading recruitment efforts to enhance diversity, and fostering inclusive research environments?
             Are there a strong administrative structure and leadership succession plan for critical positions (e.g., PD/PI)?


          For applications designating multiple PD(s)/PI(s):

             Will the multiple PD/PI leadership approach benefit the trainees and enhance the ability of the program to achieve its training
             goals?
             Is there a clear leadership plan including the designated roles and responsibilities, governance, conflict resolution procedures,
             and organizational structure (see Multiple PD/PI Leadership Plan section)?


          Preceptors/Mentors (Participating Faculty)
             Do the participating faculty describe a compelling commitment to rigorous and unbiased experimental design, methodology,
             analysis, interpretation, and reporting of results?
             Do the participating faculty describe a compelling commitment to ethically sound and responsible scientific research?
             Do the participating faculty have plans to promote the use of highest standards of practice to ensure the safety of all
             individuals in the research environment?
             Do the selected program faculty come from various backgrounds, for example, individuals from groups underrepresented in
             the biomedical sciences, women, as well as faculty at different career stages (i.e., junior and senior faculty)? If not, are there
             plans to recruit faculty to enhance the diversity?
             Do the participating faculty have the time to commit sufficient effort to ensure trainee development and success, given their
             other professional obligations?
             Is there evidence that the participating faculty cooperate, interact, and collaborate (which can include joint sponsorship of
             trainee research)?
             Do the participating faculty provide opportunities for trainees to initiate, conduct, interpret, and present rigorous and
             reproducible biomedical research with increasing self-direction?
             Do the participating faculty have plans for ensuring their trainees develop skills in approaches to experimental design, as well
             as methods of data collection, analysis, interpretation, and reporting?
             Do the participating faculty demonstrate a commitment to effective mentoring, and promoting inclusive, safe, and supportive
             scientific and training environments?
             Are the participating faculty willing to engage in activities to promote the trainees career goals and to support trainees
             participating in activities required to identify and transition into careers in the biomedical research workforce that are

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                24/31
                                                                                                                    APHA App. 352
Case: 25-1611              Document: 00118310432                  Page: 356            Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       45Allowed)
                                                                                                            Trial Not of 89
             consistent with the trainees' skills, interests, and values?
             Do the participating faculty have a commitment to fulfilling the need of the trainees to obtain their degrees in a timely fashion
             with the skills, credentials, and experiences to transition into research-focused higher degree programs (e.g., Ph.D. or
             M.D./Ph.D.)?


          Trainee Positions, Appointment Process, and Retention, and Support
             Does the application provide a strong justification for the number of requested funded trainee positions given the pool of
             potential trainees, the size of the proposed program, the number of participating faculty, and other NIGMS funded training
             programs?
             Are trainees being appointed at the appropriate stage in order to most strongly benefit from the training program?
             Is the candidate review process likely to identify research-oriented candidates who are likely to transition to the next phase in
             the biomedical pathway?
             Is there an adequate, data-informed retention plan to ensure the well-being and success of all trainees throughout their
             training (see the "Trainee Retention Plan" attachment)?


          Training Record
          Training Outcomes for Trainees (renewals) or Training Grant Eligible Pool (new applications)

             Does the application provide evidence the trainees (or training grant eligible pool) conducted rigorous research that advanced
             scientific knowledge and/or technologies with increasing self-direction?
             Does the rate of degree attainment and time-to-degree for the trainees (or training grant eligible pool) indicate that these
             students completed their degrees at a high rate in a timely fashion?
             Are the trainees (or individuals in the training grant eligible pool) transitioning into and completing higher research-oriented
             higher degree programs (e.g., Ph.D. or M.D./Ph.D.)?


          Program Evaluation

             Is there a well thought out evaluation or assessment plan to determine whether the overall program is effective in meeting its
             training mission and objectives, and whether the training and scientific research climates are inclusive and supportive of
             trainee development (narrative and "Evaluation and Assessment Instruments" Appendix)?
             Is there evidence that the program has been and/or will be responsive to outcomes, critiques and evaluations?
             Does the training program have an appropriate plan to track trainee outcomes and make the data publicly available (e.g., on
             the institution's website)?


      Additional Review Criteria
      As applicable for the project proposed, reviewers will evaluate the following additional items while determining scientific and
      technical merit, and in providing an overall impact score, but will not give separate scores for these items.

          Training in Methods for Enhancing Reproducibility
          Does the Instruction in Methods for Enhancing Reproducibility plan describe how trainees will be instructed in principles
          important for enhancing research reproducibility including, at a minimum, evaluation of foundational research underlying a
          project, rigorous experimental design and data analysis, consideration of relevant biological variables such as sex,
          authentication of key biological and/or chemical resources, data and material sharing, record keeping, and transparency in
          reporting? Are the rigor and transparency components sufficiently well integrated into the overall curriculum? Are they taught at
          multiple stages of trainee development and in a variety of formats and contexts? Does the teaching synergize with elements of
          the curriculum designed to enhance trainees' abilities to conduct responsible research? Is there evidence that all participating
          faculty reiterate and augment key elements of methods for enhancing reproducibility when trainees are performing mentored
          research their laboratories? The plan will be rated as ACCEPTABLE or UNACCEPTABLE, and the summary statement will
          provide the consensus of the review committee.

          Recruitment Plan to Enhance Diversity
          Reviewers will examine the strategies to be used in the recruitment of prospective individuals from underrepresented groups.
          The plan will be rated as ACCEPTABLE or UNACCEPTABLE, and the consensus of the review committee will be included in an
  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                   25/31
                                                                                                                    APHA App. 353
Case: 25-1611              Document: 00118310432                 Page: 357           Date Filed: 07/08/2025                  Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       46Allowed)
                                                                                                            Trial Not of 89
          administrative note in the summary statement.

          Training in the Responsible Conduct of Research
          All applications for support under this FOA must include a plan to fulfill NIH requirements for instruction in the Responsible
          Conduct of Research (RCR). Taking into account the specific characteristics of the training program, the level of trainee
          experience, and the particular circumstances of the trainees, the reviewers will evaluate the adequacy of the proposed RCR
          training in relation to the following five required components: 1) Format - Does the plan satisfactorily address the format of
          instruction, e.g. lectures, coursework and/or real-time discussion groups, including face-to-face interaction? (A plan involving
          only on-line instruction is not acceptable); 2) Subject Matter Does the plan include a sufficiently broad selection of subject
          matter, such as conflict of interest, authorship, data management, human subjects and animal use, laboratory safety, research
          misconduct, and research ethics? 3) Faculty Participation - Does the plan adequately describe how faculty will participate in
          the instruction? For renewal applications, are all training faculty who served as course directors, speakers, lecturers, and/or
          discussion leaders during the past project period named in the application? 4) Duration of Instruction - Does the plan meet the
          minimum requirements for RCR, i.e., at least eight contact hours of instruction? 5) Frequency of Instruction Does the plan
          meet the minimum requirements for RCR, i.e., at least once during each career stage (undergraduate, post-baccalaureate,
          predoctoral, postdoctoral, and faculty levels) and at a frequency of no less than once every four years?

          Are the RCR components sufficiently well integrated into the overall curriculum? Are they taught at multiple stages of trainee
          development and in a variety of formats and contexts? Does the teaching of RCR synergize with elements of the curriculum
          designed to enhance trainees' abilities to conduct rigorous and reproducible research? Is there evidence that all participating
          faculty reiterate and augment key elements of responsible conduct when trainees are performing mentored research their
          laboratories?

          Plans and past record will be rated as ACCEPTABLE or UNACCEPTABLE, and the summary statement will provide the
          consensus of the review committee.

          Protections for Human Subjects
          Generally not applicable. Reviewers should bring any concerns to the attention of the Scientific Review Officer.

          Inclusion of Women, Minorities, and Individuals Across the Lifespan
          Generally not applicable. Reviewers should bring any concerns to the attention of the Scientific Review Officer.

          Vertebrate Animals
          Generally not applicable. Reviewers should bring any concerns to the attention of the Scientific Review Officer.

          Biohazards
          Generally not applicable. Reviewers should bring any concerns to the attention of the Scientific Review Officer.

          Resubmissions
          For Resubmissions, the committee will evaluate the application as now presented, taking into consideration the responses to
          comments from the previous scientific review group and changes made to the project. Undue weight should not be given for
          simply responding to previous comments; instead the content of the responses and how the application project will be improved
          by any proposed changes should be considered.

          Renewals
          For Renewals, the committee will consider the progress made in the last funding period, including on the Training in Methods for
          Enhancing Reproducibility Plan, Recruitment Plan to Enhance Diversity, and Training in the Responsible Conduct of Research
          Plan.

             Did the training grant team successfully implement the proposed programmatic elements?
             Is the program achieving its training objectives?
             Is there evidence that the training environment is inclusive, safe, and supportive?
             Has the program evaluated the quality and effectiveness of the training experience, and is there evidence that the evaluation
             outcomes and feedback from trainees have been acted upon?
             Are changes proposed that are likely to improve or strengthen the research training experience during the next project
             period?
  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                               26/31
                                                                                                                  APHA App. 354
Case: 25-1611              Document: 00118310432                  Page: 358           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       47Allowed)
                                                                                                            Trial Not of 89
             Does the program continue to evolve to reflect changes in the research area in which the training occurs and current
             evidence-informed training and mentoring approaches?
             Is the program having a broader impact (e.g., are students beyond the trainees directly supported by the program being
             positively impacted by the program's presence, are training practices and outcomes being shared with the broader biomedical
             training community)?


          Revisions
          Not Applicable

      Additional Review Considerations
      As applicable for the project proposed, reviewers will consider each of the following items, but will not give scores for these items,
      and should not consider them in providing an overall impact score.

          Select Agent Research
          Generally not applicable. Reviewers should bring any concerns to the attention of the Scientific Review Officer.

          Budget and Period of Support
          Reviewers will consider whether the budget and the requested period of support are fully justified and reasonable in relation to
          the proposed research.

      2. Review and Selection Process
      Applications will be evaluated for scientific and technical merit by (an) appropriate Scientific Review Group(s), convened by the
      NIGMS Scientific Review (https://www.nigms.nih.gov/training/pages/ReviewProcess.aspx) Branch in accordance with NIH peer
      review policy and procedures (//grants.nih.gov/grants/guide/url_redirect.php?id=11154), using the stated review criteria. Assignment
      to a Scientific Review Group will be shown in the eRA Commons.

      As part of the scientific peer review, all applications:

             May undergo a selection process in which only those applications deemed to have the highest scientific and technical merit
             (generally the top half of applications under review) will be discussed and assigned an overall impact score.
             Will receive a written critique.


      Applications will be assigned on the basis of established PHS referral guidelines to the appropriate NIH Institute or Center.
      Applications will compete for available funds with all other recommended applications. Following initial peer review, recommended
      applications will receive a second level of review by the NIGMS Advisory Council. The following will be considered in making funding
      decisions:

             Scientific and technical merit of the proposed project as determined by scientific peer review.
             Availability of funds.
             Relevance of the proposed project to program priorities.
             Geographic distribution of the NIGMS training grant portfolio.



      3. Anticipated Announcement and Award Dates
      After the peer review of the application is completed, the PD/PI will be able to access his or her Summary Statement (written
      critique) via the eRA Commons (//grants.nih.gov/grants/guide/url_redirect.php?id=11123). Refer to Part 1 for dates for peer review,
      advisory council review, and earliest start date

      Information regarding the disposition of applications is available in the NIH Grants Policy Statement
      (//grants.nih.gov/grants/guide/url_redirect.php?id=11156).


      Section VI. Award Administration Information
      1. Award Notices

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                 27/31
                                                                                                                    APHA App. 355
Case: 25-1611              Document: 00118310432                  Page: 359            Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       48Allowed)
                                                                                                            Trial Not of 89
      If the application is under consideration for funding, NIH will request "just-in-time" information from the applicant as described in the
      NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11157).

      A formal notification in the form of a Notice of Award (NoA) will be provided to the applicant organization for successful applications.
      The NoA signed by the grants management officer is the authorizing document and will be sent via email to the recipient’s business
      official.

      Awardees must comply with any funding restrictions described in Section IV.5. Funding Restrictions. Selection of an application for
      award is not an authorization to begin performance. Any costs incurred before receipt of the NoA are at the recipient's risk. These
      costs may be reimbursed only to the extent considered allowable pre-award costs.

      Any application awarded in response to this FOA will be subject to terms and conditions found on the Award Conditions and
      Information for NIH Grants (//grants.nih.gov/grants/guide/url_redirect.php?id=11158) website. This includes any recent legislation
      and policy applicable to awards that is highlighted on this website.


      2. Administrative and National Policy Requirements
      All NIH grant and cooperative agreement awards include the NIH Grants Policy Statement
      (//grants.nih.gov/grants/guide/url_redirect.php?id=11120) as part of the NoA. For these terms of award, see the NIH Grants Policy
      Statement Part II: Terms and Conditions of NIH Grant Awards, Subpart A: General (//grants.nih.gov/grants/guide/url_redirect.php?
      id=11157) and Part II: Terms and Conditions of NIH Grant Awards, Subpart B: Terms and Conditions for Specific Types of Grants,
      Recipients, and Activities (//grants.nih.gov/grants/guide/url_redirect.php?id=11159). More information is provided at Award
      Conditions and Information for NIH Grants (//grants.nih.gov/grants/guide/url_redirect.php?id=11158).

      Recipients of federal financial assistance (FFA) from HHS must administer their programs in compliance with federal civil rights laws
      that prohibit discrimination on the basis of race, color, national origin, disability, age and, in some circumstances, religion,
      conscience, and sex. This includes ensuring programs are accessible to persons with limited English proficiency. The HHS Office for
      Civil Rights provides guidance on complying with civil rights laws enforced by HHS. Please see https://www.hhs.gov/civil-rights/for-
      providers/provider-obligations/index.html (https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html) and
      http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html
      (https://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html).

      HHS recognizes that research projects are often limited in scope for many reasons that are nondiscriminatory, such as the principal
      investigator’s scientific interest, funding limitations, recruitment requirements, and other considerations. Thus, criteria in research
      protocols that target or exclude certain populations are warranted where nondiscriminatory justifications establish that such criteria
      are appropriate with respect to the health or safety of the subjects, the scientific study design, or the purpose of the research. For
      additional guidance regarding how the provisions apply to NIH grant programs, please contact the Scientific/Research Contact that
      is identified in Section VII under Agency Contacts of this FOA.

             Recipients of FFA must ensure that their programs are accessible to persons with limited English proficiency. HHS provides
             guidance to recipients of FFA on meeting their legal obligation to take reasonable steps to provide meaningful access to their
             programs by persons with limited English proficiency. Please see https://www.hhs.gov/civil-rights/for-individuals/special-
             topics/limited-english-proficiency/fact-sheet-guidance/index.html (https://www.hhs.gov/civil-rights/for-individuals/special-
             topics/limited-english-proficiency/fact-sheet-guidance/index.html) and https://www.lep.gov (https://www.lep.gov). For further
             guidance on providing culturally and linguistically appropriate services, recipients should review the National Standards for
             Culturally and Linguistically Appropriate Services in Health and Health Care at
             https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=2&lvlid=53 (https://minorityhealth.hhs.gov/omh/browse.aspx?
             lvl=2&lvlid=53).
             Recipients of FFA also have specific legal obligations for serving qualified individuals with disabilities. Please see
             http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html
             (https://www.hhs.gov/ocr/civilrights/understanding/disability/index.html).
             HHS funded health and education programs must be administered in an environment free of sexual harassment. Please see
             https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html (https://www.hhs.gov/civil-rights/for-
             individuals/sex-discrimination/index.html); https://www2.ed.gov/about/offices/list/ocr/docs/shguide.html; and
             https://www.eeoc.gov/eeoc/publications/upload/fs-sex.pdf (https://www.eeoc.gov/eeoc/publications/upload/fs-sex.pdf). For
             information about NIH's commitment to supporting a safe and respectful work environment, who to contact with questions or
             concerns, and what NIH's expectations are for institutions and the individuals supported on NIH-funded awards, please see
             https://grants.nih.gov/grants/policy/harassment.htm (https://grants.nih.gov/grants/policy/harassment.htm).

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                    28/31
                                                                                                                     APHA App. 356
Case: 25-1611              Document: 00118310432                 Page: 360           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       49Allowed)
                                                                                                            Trial Not of 89
             Recipients of FFA must also administer their programs in compliance with applicable federal religious nondiscrimination laws
             and applicable federal conscience protection and associated anti-discrimination laws. Collectively, these laws prohibit
             exclusion, adverse treatment, coercion, or other discrimination against persons or entities on the basis of their consciences,
             religious beliefs, or moral convictions. Please see https://www.hhs.gov/conscience/conscience-protections/index.html
             (https://www.hhs.gov/conscience/conscience-protections/index.html) and https://www.hhs.gov/conscience/religious-
             freedom/index.html (https://www.hhs.gov/conscience/religious-freedom/index.html).


      Please contact the HHS Office for Civil Rights for more information about obligations and prohibitions under federal civil rights laws
      at https://www.hhs.gov/ocr/about-us/contact-us/index.html (https://www.hhs.gov/ocr/about-us/contact-us/index.html) or call 1-800-
      368-1019 or TDD 1-800-537-7697.

      In accordance with the statutory provisions contained in Section 872 of the Duncan Hunter National Defense Authorization Act of
      Fiscal Year 2009 (Public Law 110-417), NIH awards will be subject to the Federal Awardee Performance and Integrity Information
      System (FAPIIS) requirements. FAPIIS requires Federal award making officials to review and consider information about an
      applicant in the designated integrity and performance system (currently FAPIIS) prior to making an award. An applicant, at its option,
      may review information in the designated integrity and performance systems accessible through FAPIIS and comment on any
      information about itself that a Federal agency previously entered and is currently in FAPIIS. The Federal awarding agency will
      consider any comments by the applicant, in addition to other information in FAPIIS, in making a judgement about the applicant’s
      integrity, business ethics, and record of performance under Federal awards when completing the review of risk posed by applicants
      as described in 45 CFR Part 75.205 Federal awarding agency review of risk posed by applicants. This provision will apply to all NIH
      grants and cooperative agreements except fellowships.

      Institutional NRSA training grants must be administered in accordance with the current NRSA section of the NIH Grants Policy
      Statement - Institutional Research Training Grants (//grants.nih.gov/grants/guide/url_redirect.php?id=61170).

      The taxability of stipends is described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=41171).
      Policies regarding the Ruth L. Kirschstein-NRSA payback obligation are explained in the NIH Grants Policy Statement
      (//grants.nih.gov/grants/guide/url_redirect.php?id=41171).

      Inventions and Copyrights
      Awards made primarily for educational purposes are exempted from the PHS invention requirements and thus invention reporting is
      not required, as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=61131).

      Cooperative Agreement Terms and Conditions of Award
      Not Applicable

      3. Reporting
      When multiple years are involved, awardees will be required to submit the Research Performance Progress Report (RPPR)
      (//grants.nih.gov/grants/rppr/index.htm) annually. Continuation support will not be provided until the required forms are submitted and
      accepted.

      Failure by the recipient institution to submit required forms in a timely, complete, and accurate manner may result in an expenditure
      disallowance or a delay in any continuation funding for the award.

      The Federal Funding Accountability and Transparency Act of 2006 (Transparency Act), includes a requirement for awardees of
      Federal grants to report information about first-tier subawards and executive compensation under Federal assistance awards issued
      in FY2011 or later. All awardees of applicable NIH grants and cooperative agreements are required to report to the Federal
      Subaward Reporting System (FSRS) available at www.fsrs.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=11170) on all
      subawards over $25,000. See the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11171) for
      additional information on this reporting requirement.

      Other Reporting Requirements
             The institution must submit a completed Statement of Appointment (PHS Form 2271
             (//grants.nih.gov/grants/guide/url_redirect.php?id=61189)) for each trainee appointed or reappointed to the training grant for 8
             weeks or more. Recipients must submit the PHS 2271 data electronically using the xTrain system. More information on xTrain
             is available at xTrain (eRA Commons) (//grants.nih.gov/grants/guide/url_redirect.php?id=41183). An appointment or
             reappointment may begin any time during the budget period, but not before the budget period start date of the grant year.



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                                 29/31
                                                                                                                   APHA App. 357
Case: 25-1611              Document: 00118310432                   Page: 361           Date Filed: 07/08/2025                    Entry ID: 6734280

  4/11/25, 1:56 PM   Case 1:25-cv-10787-BEM         Document
                                    Expired PAR-21-147:             38-23to Research
                                                        Maximizing Access      FiledCareers
                                                                                     04/25/25           Page
                                                                                            (T34 - Clinical       50Allowed)
                                                                                                            Trial Not of 89
             A notarized statement verifying possession of permanent residency documentation must be submitted with the Statement of
             Appointment (PHS Form 2271 (//grants.nih.gov/grants/guide/url_redirect.php?id=61189)). Individuals with a Conditional
             Permanent Resident status must first meet full (non-conditional) Permanent Residency requirements before receiving
             support.


      A final RPPR and the expenditure data portion of the Federal Financial Report are required for closeout of an award as described in
      the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11161).

      In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part 75, recipients that have
      currently active Federal grants, cooperative agreements, and procurement contracts from all Federal awarding agencies with a
      cumulative total value greater than $10,000,000 for any period of time during the period of performance of a Federal award, must
      report and maintain the currency of information reported in the System for Award Management (SAM) about civil, criminal, and
      administrative proceedings in connection with the award or performance of a Federal award that reached final disposition within the
      most recent five-year period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
      information will be made publicly available in the designated integrity and performance system (currently FAPIIS). This is a statutory
      requirement under section 872 of Public Law 110-417, as amended (41 U.S.C. 2313). As required by section 3010 of Public Law
      111-212, all information posted in the designated integrity and performance system on or after April 15, 2011, except past
      performance reviews required for Federal procurement contracts, will be publicly available. Full reporting requirements and
      procedures are found in Appendix XII to 45 CFR Part 75 Award Term and Conditions for Recipient Integrity and Performance
      Matters.


      4. Evaluation
      In carrying out its stewardship of human resource-related programs, the NIH may request information essential to an assessment of
      the effectiveness of this program from databases and from participants themselves. Trainees may be contacted after the completion
      of this award for periodic updates on various aspects of their employment history, publications, support from research grants or
      contracts, honors and awards, professional activities, and other information helpful in evaluating the impact of the program.

      Within 10 years of making awards under this program, NIGMS will assess the program's overall outcomes.

      The overall evaluation of the program will be based on metrics that will include, but are not limited to, the following:

             Institution types represented
             Geographical distribution of programs
             Demographics of trainees
             Trainee degree completion rates
             Time-to-degree
             Matriculation into and completion of research-oriented higher degree programs
             Scientific accomplishments of trainees
             Trainee career outcomes



      Section VII. Agency Contacts
      We encourage inquiries concerning this funding opportunity and welcome the opportunity to answer questions from potential
      applicants.

      Application Submission Contacts
      eRA Commons Help Desk (Questions regarding ASSIST, eRA Commons, application errors and warnings, documenting system
      problems that threaten submission by the due date, and post-submission issues)
      Finding Help Online: http://grants.nih.gov/support/ (//grants.nih.gov/support/) (preferred method of contact)

      Telephone: 301-402-7469 or 866-504-9552 (Toll Free)

      General Grants Information (Questions regarding application instructions, application processes, and NIH grant resources)
      Email: GrantsInfo@nih.gov (mailto:GrantsInfo@nih.gov) (preferred method of contact)
      Telephone: 301-637-3015

      Grants.gov Customer Support (Questions regarding Grants.gov registration and Workspace)
      Contact Center Telephone: 800-518-4726

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-147.html                                                                             30/31
                                                                                                                     APHA App. 358
Case: 25-1611              Document: 00118310432                           Page: 362        Date Filed: 07/08/2025           Entry ID: 6734280

   4/11/25, 1:56PM       Case 1:25-cv-10787-BEM
                         Case 1:25-cv-10 E&pfreBEall21-1DocnimantAs&<z
                                                      Document 38-23 ReskdleackAd2
                                                                                 6/25 ciiniRhaga
                                                                       Filed 04/25/25     Page tml
                                                                                                 51 Atdiue9
                                                                                                     of 89
       Email: support@grants.gov (mailto:support@grants.gov),

      Scientific/Research Contact(s)
       Kalynda Gonzales Stokes, Ph.D.
       National Institutes of General Medical Sciences (NIGMS)
       Email: kalynda.stokes@nih.gov (mailto:kalynda.stokes@nih.gov)

       Lameese Akacem, Ph.D.
       National Institutes of General Medical Sciences (NIGMS)
       Email: lameese.akacem@nih.gov (mailto:lameese.akacem@nih.gov)

       Peer Review Contact(s)
      Stephanie Constant, Ph.D.
       National Institute of General Medical Sciences
       Email: stephanie.constant@nih.gov (mailto:stephanie.constant@nih.gov)

       Financial/Grants Management Contact(s)
      Justin Rosenzweig
      National Institute of General Medical Sciences (NIGMS)
       Email: rosenzwj@nigms.nih.gov (mailto:rosenzwj@nigms.nih.gov)

       Section VIII. Other Information
       Recently issued trans-NIH policy notices (//grants.nih.gov/grants/guide/url_redirect.php?id=11163) may affect your application
      submission. A full list of policy notices published by NIH is provided in the N/H Guide for Grants and Contracts
      (//grants.nih.gov/grants/guide/url_redirect.php?id=11164). All awards are subject to the terms and conditions, cost principles, and
      other considerations described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120).

      Authority and Regulations
      Awards are made under the authorization of Section 487 of the Public Health Service Act as amended (42 USC 288) and under
      Federal Regulations 42 CFR 66.



      Weekly TOC for this Announcement (/grants/guide/Weeklyindex.cfm?02-26-21)
       NIH Funding Opportunities and Notices (/grants/guide/index.html)




        NI           > National Institutes of Health (/grants/oer.htm),
                          Office of Extramural Research

                     (     Z (https://www.hhs.gov/), P&Partment of ieeeaik
                     SS                             and Human Services (HHS)


                                                        TSA.               gov   (https:/Avww.usa.gov/)
                                                              Government




                                                           NIH... Turning Discovery Into Health®




   https://grants.nih.gov/grants/guide/pa-files/PAR-21-147
                                                       html                                                                                 31/31


                                                                                                                    APHA App. 359
Case: 25-1611   Document: 00118310432   Page: 363   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-23
                                  Document 38-23    Filed 04/25/25
                                                    Filed 04/25/25   Page 52
                                                                     Page 52 of
                                                                             of 89
                                                                                89




                         EXHIBIT
                         EXHIBIT B




                                                                        APHA App. 360
Case: 25-1611       Document: 00118310432                  Page: 364   Date Filed: 07/08/2025   Entry ID: 6734280

            Case 1:25-cv-10787-BEM                Document 38-23       Filed 04/25/25   Page 53 of 89


         From:           Gibbs, Kenneth (NIH/NIGMS) [E]
         To:
         Subject:        [External] NIGMS Funding Update
         Date:           Wednesday, April 2, 2025


        Re:
        Dear Dr.
        I am writing to let you know that due to changes in NIH/HHS priorities, the Maximizing Access
        to Research Careers (MARC) program has been terminated. Your institution can continue to
        draw funds on any active award for allowed costs that are within scope and consistent with
        the Grants Policy Statement. Further awards will not be made, and NIGMS will not permit no-
        cost extensions. We advise against recruiting future cohorts.
        NIGMS grants management will follow up if there is any specific information or action needed
        regarding your award. For additional information regarding funding opportunities that NIGMS
        supports, see NIGMS TWD Webpage:
        https://www.nigms.nih.gov/training/Pages/TWDPrograms.
        If you have specific follow up questions, please email nigmstrainingmail@nigms.nih.gov and
        include your grant number.


        Kenneth D. Gibbs, Jr., PhD, MPH
        Director, Division of Training and Workforce Development
        National Institute of General Medical Sciences
        National Institutes of Health




                                                                                          APHA App. 361
Case: 25-1611   Document: 00118310432   Page: 365   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-23
                                  Document 38-23    Filed 04/25/25
                                                    Filed 04/25/25   Page 54
                                                                     Page 54 of
                                                                             of 89
                                                                                89




                         EXHIBIT
                         EXHIBIT C




                                                                        APHA App. 362
Case: 25-1611              Document: 00118310432                    Page: 366           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical55
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)


        This notice has expired. Check the NIH Guide (https://grants.nih.gov/funding/searchguide/) for active
                                              opportunities and notices.

      Department of Health and Human Services
      Part 1. Overview Information
      Participating Organization(s)
       National Institutes of Health (NIH (http://www.nih.gov))



      Components of Participating Organizations




                                                                     ED
       National Institute of General Medical Sciences (NIGMS (http://www.nigms.nih.gov))



      Funding Opportunity Title

       Initiative for Maximizing Student Development (IMSD) (T32 - Clinical Trial Not Allowed)

      Activity Code                                              PIR
       T32 (//grants.nih.gov/grants/funding/ac_search_results.htm?text_curr=t32&Search.x=0&Search.y=0&Search_Type=Activity)
       Institutional National Research Service Award (NRSA)



      Announcement Type
       Reissue of PAR-19-037 (https://grants.nih.gov/grants/guide/pa-files/par-19-037.html) - Initiative for Maximizing Student
       Development (IMSD) (T32)
                                                    EX

      Related Notices
              November 14, 2023 - This PAR has been reissued as PAR-24-031 (//grants.nih.gov/grants/guide/pa-files/PAR-24-031.html)
              NOT-OD-23-012 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-23-012.html) Reminder: FORMS-H Grant
              Application Forms and Instructions Must be Used for Due Dates On or After January 25, 2023 - New Grant Application
              Instructions Now Available
              November 15, 2022 - Notice of a Question and Answer "Office Hour" with NIGMS Staff for IMSD and G-RISE Applicants.
              See Notice NOT-GM-23-020 (//grants.nih.gov/grants/guide/notice-files/NOT-GM-23-020.html)
              November 1, 2022 - Clarification of Eligibility for Institutions with Multiple Campuses in PAR-21-025 "Initiative for Maximizing
              Student Development (IMSD) (T32 - Clinical Trial Not Allowed)". See Notice NOT-GM-23-014
              (//grants.nih.gov/grants/guide/notice-files/NOT-GM-23-014.html)
              NOT-OD-22-190 (/grants/guide/notice-files/NOT-OD-22-190.html) - Adjustments to NIH and AHRQ Grant Application Due
              Dates Between September 22 and September 30, 2022
              October 28, 2021 - Reminder: FORMS-G Grant Application Forms & Instructions Must be Used for Due Dates On or After
              January 25, 2022 - New Grant Application Instructions Now Available. See Notice NOT-OD-22-018
              (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-22-018.html).
              September 13, 2021 - Updates to the Non-Discrimination Legal Requirements for NIH Recipients. See Notice NOT-OD-21-
              181 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-181.html).
              August 5, 2021 - New NIH "FORMS-G" Grant Application Forms and Instructions Coming for Due Dates on or after January
              25, 2022. See Notice NOT-OD-21-169 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-169.html)
              August 5, 2021 - Update: Notification of Upcoming Change in Federal-wide Unique Entity Identifier Requirements. See
              Notice NOT-OD-21-170 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-170.html)
              April 20, 2021 - Expanding Requirement for eRA Commons IDs to All Senior/Key Personnel. See Notice NOT-OD-21-109
              (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-109.html)


  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                   1/33
                                                                                                                      APHA App. 363
Case: 25-1611              Document: 00118310432                    Page: 367           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical56
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
              November 12, 2021 - Notice of Informational Webinar on the NIGMS IMSD and G-RISE Research Training Programs. See
              Notice NOT-GM-22-008 (https://grants.nih.gov/grants/guide/notice-files/NOT-GM-22-008.html).
              May 28, 2021 - Notice of Change to the Instructions for Appendices in PAR-21-025. See Notice NOT-GM-21-047
              (https://grants.nih.gov/grants/guide/notice-files/NOT-GM-21-047.html).
              December 09, 2020 - Notice of Change to the Number of Applications that Can Be Submitted by Institutions Applying to
              PAR-21-025. See Notice NOT-GM-21-011 (/grants/guide/notice-files/NOT-GM-21-011.html).



      Funding Opportunity Announcement (FOA) Number

       PAR-21-025

      Companion Funding Opportunity
       None



      Number of Applications
       See Section III. 3. Additional Information on Eligibility.



      Catalog of Federal Domestic Assistance (CFDA) Number(s)
       93.859



      Funding Opportunity Purpose
       The goal of the Initiative for Maximizing Student Development (IMSD) program is to develop a diverse pool of scientists earning a
       Ph.D., who have the skills to successfully transition into careers in the biomedical research workforce. This funding opportunity
       announcement (FOA) provides support to eligible, domestic institutions to develop and implement effective, evidence-informed
       approaches to biomedical graduate training and mentoring that will keep pace with the rapid evolution of the biomedical research
       enterprise. NIGMS expects that the proposed research training programs will incorporate didactic, research, mentoring, and career
       development elements to prepare trainees for careers that will have a significant impact on the health-related research needs of the
       Nation. This program is limited to applications from training programs at research-intensive institutions (i.e., those with NIH
       Research Project Grant funding averaging greater than or equal to $7.5 million in total costs (direct and F&A/indirect) per year over
       the last three fiscal years).

       This FOA does not allow appointed trainees to lead an independent clinical trial but does allow them to obtain research experience
       in a clinical trial led by a mentor or co-mentor.



      Key Dates
      Posted Date
       November 20, 2020



      Open Date (Earliest Submission Date)
       January 26, 2021



      Letter of Intent Due Date(s)
       Not Applicable



      Application Due Date(s)



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                 2/33
                                                                                                                      APHA App. 364
Case: 25-1611              Document: 00118310432                    Page: 368           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical57
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)

       February 26, 2021; January 28, 2022; January 30, 2023, by 5:00 PM local time of applicant organization. All types of applications
       allowed for this funding opportunity announcement are due on these dates.

       Applicants are encouraged to apply early to allow adequate time to make any corrections to errors found in the application during
       the submission process by the due date.



      AIDS Application Due Date(s)
       Not Applicable



      Scientific Merit Review
       June/July 2021, June/July 2022, June/July 2023



      Advisory Council Review
       October 2021; October 2022; October 2023



      Earliest Start Date
       February 2022, February 2023, February 2024



      Expiration Date
       January 31, 2023



      Due Dates for E.O. 12372
       Not Applicable


      Required Application Instructions
      It is critical that applicants follow the Training (T) Instructions in the SF424 (R&R) Application Guide
      (//grants.nih.gov/grants/guide/url_redirect.htm?id=12000), except where instructed to do otherwise (in this FOA or in a Notice from
      the NIH Guide for Grants and Contracts (//grants.nih.gov/grants/guide/)). Conformance to all requirements (both in the Application
      Guide and the FOA) is required and strictly enforced. Applicants must read and follow all application instructions in the Application
      Guide as well as any program-specific instructions noted in Section IV. When the program-specific instructions deviate from those in
      the Application Guide, follow the program-specific instructions. Applications that do not comply with these instructions may be
      delayed or not accepted for review.



      Table of Contents
      Part 1. Overview Information
      Part 2. Full Text of the Announcement
          Section I. Funding Opportunity Description
          Section II. Award Information
          Section III. Eligibility Information
          Section IV. Application and Submission Information
          Section V. Application Review Information
          Section VI. Award Administration Information
          Section VII. Agency Contacts
          Section VIII. Other Information




  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                3/33
                                                                                                                      APHA App. 365
Case: 25-1611              Document: 00118310432                    Page: 369           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical58
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)




      Part 2. Full Text of Announcement
      Section I. Funding Opportunity Description
      The overall goal of the NIH Ruth L. Kirschstein National Research Service Award (NRSA) program is to help ensure that a diverse
      pool of highly trained scientists is available in appropriate scientific disciplines to address the Nation's biomedical, behavioral, and
      clinical research needs. In order to accomplish this goal, NRSA training programs are designed to train individuals to conduct
      research and to prepare for research careers. More information about NRSA programs may be found at the Ruth L. Kirschstein
      National Research Service Award (NRSA) (//grants.nih.gov/grants/guide/url_redirect.htm?id=41125) website.


      Purpose and Background Information
      The NRSA program has been the primary means of supporting predoctoral and postdoctoral research training programs since
      enactment of the NRSA legislation in 1974. Each program should provide high-quality research training, mentored research
      experiences, and additional training opportunities that equip trainees with the technical (e.g., appropriate methods, technologies, and
      quantitative/computational approaches), operational (e.g., independent knowledge acquisition, rigorous experimental design and
      interpretation of data) and professional (e.g., management, leadership, communication, and teamwork) skills required for careers in
      the biomedical research workforce.

      The National Institutes of Health (NIH) recognizes the need to diversify the scientific workforce by enhancing the participation of
      individuals from groups identified as underrepresented (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html) in the
      biomedical, clinical, behavioral and social sciences (collectively termed "biomedical") research workforce. Research shows that
      diverse teams working together and capitalizing on innovative ideas and distinct perspectives outperform homogenous teams.
      Scientists and trainees from diverse backgrounds and life experiences bring different perspectives, creativity, and individual interests
      to address complex scientific problems. There are many benefits that flow from a diverse NIH-supported scientific workforce,
      including fostering scientific innovation, enhancing global competitiveness, contributing to robust learning environments, improving
      the quality of research, enhancing public trust, and increasing the likelihood that health disparities and the needs of underserved
      populations are addressed in biomedical research.

      NIGMS strives to ensure that future generations of researchers will be drawn from the entire pool of talented individuals, bringing
      different aptitudes, perspectives, interests, and experiences to address complex scientific problems. NIGMS seeks to enhance the
      diversity of the biomedical research workforce by supporting individuals from a variety of backgrounds at multiple training and career
      stages in a variety of institutions and educational settings across the country. Accordingly, NIGMS developed separate institutional
      eligibility tracks for review and funding of its undergraduate and graduate diversity enhancing programs based on NIH research
      project grant (RPG) (https://grants.nih.gov/grants/glossary.htm#ResearchProjectGrantRPG) funding levels. The two tracks include
      research-intensive, i.e., those with an average of NIH RPG funding greater than or equal to $7.5 million total costs per year over the
      past 3 fiscal years, and research-active, i.e., those with an average of RPG funding less than $7.5 million total costs per year over
      the past 3 fiscal years (RPG data are available through NIH RePORTER (https://report.nih.gov/award/index.cfm)). To prevent the
      duplication of diversity enhancing NIGMS programs, each institution will be eligible for one diversity enhancing undergraduate
      program (either Maximizing Access to Research Careers, MARC (https://www.nigms.nih.gov/training/marc/pages/ustarawards.aspx),
      or Undergraduate Research Training Initiative for Student Enhancement, U-RISE (https://www.nigms.nih.gov/training/RISE/Pages/U-
      RISE-T34.aspx)) regardless of the activity code (R25 or T34), and one diversity enhancing graduate program (either the Initiative to
      Maximize Student Development, IMSD (https://www.nigms.nih.gov/training/IMSD/pages/default.aspx), or G-RISE
      (https://www.nigms.nih.gov/training/RISE/Pages/G-RISE-T32.aspx)) regardless of the activity code (R25 or T32). Institutions with
      MARC, U-RISE, IMSD or G-RISE are eligible to participate in the Bridges to the Baccalaureate and/or Bridges to the Doctorate
      programs provided other eligibility requirements are met.

      Need for the Program
      In spite of recent advances, individuals from certain groups and backgrounds are underrepresented in the biomedical sciences
      research workforce as described in NIH's Interest in Diversity (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html).
      The severity of the underrepresentation of these groups increases throughout the training stages. For example in 2017, students
      from certain racial and ethnic groups, including Blacks or African Americans, Hispanics or Latinos, American Indians or Alaska
      Natives, Native Hawaiians and other Pacific Islanders comprised ~35 percent of the college age population, but earned only ~25
      percent of bachelor’s degrees and ~16 percent of Ph.D. degrees in science and engineering (National Center for Science and
      Engineering Statistics (https://ncses.nsf.gov/pubs/nsb20197/demographic-attributes-of-s-e-degree-recipients#s-e-degrees-by-race-
      and-ethnicity)). Additionally, while the United States has seen a significant increase in the number of Ph.D. degrees in the biomedical
  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                   4/33
                                                                                                                      APHA App. 366
Case: 25-1611              Document: 00118310432                    Page: 370           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical59
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
      sciences earned by scientists from groups underrepresented in the biomedical research workforce, a corresponding increase in the
      ranks of the faculty in basic science departments at medical schools has not occurred (Gibbs, et al., 2016, eLife 2016, 5:e21393;
      Valantine, Lund & Gammie, CBE-Life Sciences Education, 2016, 15:fe4).

      Several reports (see for example, ACD Working Group on Diversity in the Biomedical Workforce, 2012
      (https://acd.od.nih.gov/documents/reports/DiversityBiomedicalResearchWorkforceReport.pdf); PCAST Report, 2012
      (https://obamawhitehouse.archives.gov/sites/default/files/microsites/ostp/pcast-engage-to-excel-final_2-25-12.pdf); From College to
      Careers: Fostering Inclusion of Persons with Disabilities in STEM, 2014 (http://www.sciencemag.org/booklets/college-careers); and
      Increasing College Opportunity for Low Income Students, 2014
      (https://obamawhitehouse.archives.gov/sites/default/files/docs/increasing_college_opportunity_for_low-
      income_students_report.pdf)) recommend supporting programs that strive to recruit, train, and mentor students from
      underrepresented groups who have an interest in science, technology, engineering and math (STEM) as a means to effectively build
      a diverse and competitive scientific workforce.

      Programmatic Approach
      This FOA is intended to enable the community to develop and implement evidence-informed approaches to biomedical research
      training and mentoring to enhance diversity in the biomedical research workforce. The President's Council of Advisors on Science
      and Technology (PCAST) report provided evidence that financial concerns and a deficit of peers from similar backgrounds can erode
      self-confidence and the will to remain in STEM majors (PCAST Report, 2012
      (https://obamawhitehouse.archives.gov/sites/default/files/microsites/ostp/pcast-engage-to-excel-final_2-25-12.pdf)). NIGMS diversity
      enhancing institutional training grants offset the cost of appointed trainee stipends, tuition and fees, and training related expenses,
      including health insurance, in accordance with the approved NIH support levels. Additionally, funded programs are expected to
      provide activities that will build a strong cohort of research-oriented individuals while enhancing the science identity, self-efficacy,
      and a sense of belonging among the cohort members. Programmatic activities include, but are not limited to, providing authentic
      research experiences, academic enhancements, skills development, and additional mentoring - activities proven to increase
      persistence in STEM fields (cited in PCAST Report, 2012
      (https://obamawhitehouse.archives.gov/sites/default/files/microsites/ostp/pcast-engage-to-excel-final_2-25-12.pdf) and Graduate
      STEM Education for the 21st Century, 2018 (https://www.nap.edu/catalog/25038/graduate-stem-education-for-the-21st-century)).
      Each program should provide high-quality training that equips individuals with the technical (e.g., appropriate methods, technologies,
      and quantitative/computational approaches), operational (e.g., independent knowledge acquisition, rigorous experimental design,
      and interpretation of data, conducting research in the safest manner possible) and professional (e.g., management, leadership,
      communication, and teamwork) skills required for careers in the biomedical research workforce. Funded programs are expected to
      promote inclusive research environments (i.e., institutional and departmental environments where trainees from all backgrounds feel
      integrated into and supported by the biomedical research community).

      Program Objective
      The Overarching Objective of this Initiative for Maximizing Student Development (IMSD) program is to develop a diverse pool of
      well-trained Ph.D. biomedical scientists, who have the following technical, operational, and professional skills:

             A broad understanding across biomedical disciplines and the skills to independently acquire the knowledge needed to
             advance their chosen fields;
             Expertise in a biomedical scientific discipline and the skills to think critically and independently, and to identify important
             biomedical research questions and approaches that push forward the boundaries of their areas of study;
             A strong foundation in scientific reasoning, rigorous research design, experimental methods, quantitative and computational
             approaches, and data analysis and interpretation;
             The skills to conduct research in the safest manner possible, and a commitment to approaching and conducting biomedical
             research responsibly, ethically, and with integrity;
             Experience initiating, conducting, interpreting, and presenting rigorous and reproducible biomedical research with increasing
             self-direction;
             The ability to work effectively in teams with colleagues from a variety of cultural and scientific backgrounds, and to promote
             inclusive and supportive scientific research environments;
             The skills to teach and communicate scientific research methodologies and findings to a wide variety of audiences (e.g.,
             discipline-specific, across disciplines, and the public); and
             The knowledge, professional skills and experiences required to identify and transition into careers in the biomedical research
             workforce (i.e., the breadth of careers that sustain biomedical research in areas that are relevant to the NIH mission).

      Diversity at all levels from the kinds of science to the regions in which it is conducted to the backgrounds of the people conducting it
      contributes to excellence in research training environments and strengthens the research enterprise. This FOA is intended to

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                   5/33
                                                                                                                      APHA App. 367
Case: 25-1611              Document: 00118310432                    Page: 371            Date Filed: 07/08/2025                Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical60
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
      support outstanding research training programs that will enhance diversity at all levels. As part of a larger initiative to enhance
      diversity, the IMSD program will support trainees earning a Ph.D. at research-intensive institutions.

      Program Considerations
      NIGMS intends to fund applications that propose feasible academic and research focused training programs that will enhance
      diversity in the biomedical workforce. Applicants are expected to identify training objectives (i.e., specific, measurable, and
      obtainable outcomes the program intends to achieve) and to develop plans to implement evidence-informed training and mentoring
      activities that are grounded in the literature and from evaluations of existing relevant programs. Program objectives must align with
      the overarching goal of the IMSD diversity enhancing program. Funded programs are expected to provide evidence of
      accomplishing the training objectives in progress reports and upon renewal, to make training and career outcomes publicly available,
      and are strongly encouraged to disseminate successful training practices to the broader community.

      Institutional commitment and support for the proposed training program are important elements of the application. The IMSD
      program may complement and synergize with other ongoing federally-supported predoctoral research training programs at the
      applicant institution (e.g., in the development of skills needed for careers in the biomedical research workforce); however, the IMSD
      program goals and activities to achieve those goals must be distinct from related programs currently receiving federal support at the
      same institution. In cases where an institution has multiple NIGMS training grants, it is expected that these programs will seek to
      create administrative and training efficiencies to reduce costs and improve trainee services and outcomes. The training grant should
      be well integrated within one or more graduate department(s)/program(s) and should exert a strong, positive influence on the
      development and execution of the outreach and recruitment of potential trainees, graduate curriculum, training opportunities, and
      mentoring. Training grant funds may not be used solely as a vehicle to provide stipends for trainees to conduct research.

      NIGMS does not accept applications for predoctoral T32 programs proposing only short-term research training. Programs proposing
      short-term research training should apply to the Kirschstein-NRSA Short-Term Institutional Research Training Grant Program (T35)
      exclusively reserved for predoctoral, short-term research training (see PA-20-162 (https://grants.nih.gov/grants/guide/pa-files/PA-20-
      162.html) and subsequent reissuances but note that NIGMS does not participate in that FOA). NIGMS will not accept applications
      proposing combined predoctoral and postdoctoral training under this FOA.

      Training grants are usually awarded for five years. The grant offsets the cost of stipends, tuition and fees, and training related
      expenses, including health insurance, for the appointed trainees in accordance with the approved NIH support levels. Students are
      typically provided full-time support for two to three years of graduate studies. Use of training grant support in the first three years of
      graduate research training is strongly encouraged to provide maximum flexibility in the participation in courses, laboratory rotations,
      professional development, and cohort-building activities.

      This FOA does not allow appointed trainees to lead an independent clinical trial but does allow them to obtain research experience
      in a clinical trial led by a mentor or co-mentor. NIH strongly supports training towards a career in clinically relevant research and so
      gaining experience in clinical trials under the guidance of a mentor or co-mentor is encouraged.

      See       Section VIII. Other Information for award authorities and regulations.

      Section II. Award Information
      Funding Instrument
       Grant: A support mechanism providing money, property, or both to an eligible entity to carry out an approved project or activity.



      Application Types Allowed
       New

       Resubmissions
       Renewal of applications submitted to PAR-19-037 (https://grants.nih.gov/grants/guide/pa-files/par-19-037.html)

       The OER Glossary (//grants.nih.gov/grants/guide/url_redirect.htm?id=11116) and the SF424 (R&R) Application Guide provide
       details on these application types. Only those application types listed here are allowed for this FOA.



      Clinical Trial?
       Not Allowed: Only accepting applications that do not propose clinical trials

       Note: Appointed trainees are permitted to obtain research experience in a clinical trial led by a mentor or co-mentor.

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                     6/33
                                                                                                                      APHA App. 368
Case: 25-1611              Document: 00118310432                    Page: 372           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical61
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
       Need help determining whether you are doing a clinical trial? (https://grants.nih.gov/grants/guide/url_redirect.htm?id=82370)



      Funds Available and Anticipated Number of Awards
       The number of awards is contingent upon NIH appropriations and the submission of a sufficient number of meritorious applications.



      Award Budget
       Application budgets are not limited but need to reflect the actual needs of the proposed project.

       Grantees are expected to be familiar with and comply with applicable cost policies and the NRSA Guidelines (NIH Grants Policy
       Statement - Institutional Research Training Grants (//grants.nih.gov/grants/guide/url_redirect.htm?id=41126)). Funds may be used
       only for those expenses that are directly related to and necessary for the research training and must be expended in conformance
       with OMB Cost Principles, the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.htm?id=11120), and the
       NRSA regulations, policies, guidelines, and conditions set forth in this document.



      Award Project Period
       Awards may be for project periods up to five years in duration and are renewable.



      Other Award Budget Information
      Stipends, Tuition, and Fees
       Kirschstein-NRSA awards provide stipends as a subsistence allowance to help defray living expenses during the research training
       experience.

       NIH will contribute to the combined cost of tuition and fees at the rate in place at the time of award.

       Stipend levels, as well as funding amounts for tuition and fees and the institutional allowance are announced annually in the NIH
       Guide for Grants and Contracts, and are also posted on the Ruth L. Kirschstein National Research Service Award (NRSA) webpage
       (https://researchtraining.nih.gov/resources/policy-notices).



      Trainee Travel
       NIGMS recognizes the need of trainees from diverse backgrounds, including those from underrepresented groups, to attend
       scientific meetings and/or training events, and to build professional networks. NIGMS will provide up to $1,000 per trainee per year
       to travel to scientific meetings or training experiences that will enhance scientific development, build science identity, create a sense
       of belonging in the scientific community, and build professional networks. Plans for trainee travel should be well justified. For IMSD-
       supported institutions outside the continental United States, $1,250 for travel per trainee per year will be provided.



      Training Related Expenses
       NIGMS will provide funds to help defray other research training expenses, such as health insurance, staff salaries, consultant costs,
       equipment, research supplies, and faculty/staff travel directly related to the research training program. Training related expenses
       are limited to a maximum of $6,400/trainee/year.

       Allowable costs include those associated with the following:

       Skills development training activities (e.g., focusing on quantitative and computational, problem-solving, critical thinking, scientific
       writing, effective communication, and project management);

       Seminar speakers, who will serve as role models to the trainees

       Training or mentoring interventions designed to increase persistence in research (e.g., those designed to increase science identity,
       self-efficacy and a sense of belonging in the scientific community);



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                    7/33
                                                                                                                      APHA App. 369
Case: 25-1611              Document: 00118310432                    Page: 373           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical62
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
       Typically, salary support for the PD/PI or in a combination of multiple PD(s)/PI(s)/co-Investigators does not exceed 1.8 person
       months (i.e., 15% effort on a 12-month basis in total) depending on the size and scope of the program;

       Salary support for administrative personnel; typically, the total combined salary support for program administrator/program
       coordinator and/or program assistant/clerical support does not exceed 3.0 person months (i.e., 25% effort on a 12-month basis)
       depending on the size and scope of the program.

       Limited program evaluation costs (typically up to $3,000 for the 5-year training grant period) and other program-related expenses
       may be included within the budget for training-related expenses.



      Indirect Costs
       Indirect Costs (also known as Facilities & Administrative [F&A] Costs) are reimbursed at 8% of modified total direct costs (exclusive
       of tuition and fees, consortium costs in excess of $25,000, and expenditures for equipment), rather than on the basis of a
       negotiated rate agreement.


      NIGMS does not permit automatic carryover from one budget period to the next. NIH grants policies as described in the NIH Grants
      Policy Statement (//grants.nih.gov/grants/guide/url_redirect.htm?id=11120) will apply to the applications submitted and awards made
      from this FOA.


      Section III. Eligibility Information
      1. Eligible Applicants
      Eligible Organizations
          Eligible Organizations
          Higher Education Institutions

                  Public/State Controlled Institutions of Higher Education
                  Private Institutions of Higher Education

          The following types of Higher Education Institutions are always encouraged to apply for NIH support as Public or Private
          Institutions of Higher Education:

                  Hispanic-serving Institutions
                  Historically Black Colleges and Universities (HBCUs)
                  Predominantly Black Institutions (PBI)
                  Tribally Controlled Colleges and Universities (TCCUs)
                  American Indian/Alaska Native Serving, Non-Tribal Institutions (AI/AN)
                  Alaska Native and Native Hawaiian Serving Institutions
                  Asian American Native American Pacific Islander Serving Institutions (AANAPISIs)

          Nonprofits Other Than Institutions of Higher Education

                  Nonprofits with 501(c)(3) IRS Status (Other than Institutions of Higher Education)
                  Nonprofits without 501(c)(3) IRS Status (Other than Institutions of Higher Education)

          Governments

                  Indian/Native American Tribal Governments (Federally Recognized)
                  Indian/Native American Tribal Governments (Other than Federally Recognized)
                  U.S. Territory or Possession

          Other

                  Native American Tribal Organizations (other than Federally recognized tribal governments)
                  Faith-based or Community-based Organizations

      For diversity enhancing programs, NIGMS recognizes separate institutional eligibility tracks: research-intensive, i.e., those with an
      average of NIH research project grant (RPG) (https://grants.nih.gov/grants/glossary.htm#ResearchProjectGrantRPG) funding
      greater than or equal to $7.5 million total costs per year over the past 3 fiscal years, and research-active, i.e., those with an average

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                    8/33
                                                                                                                      APHA App. 370
Case: 25-1611              Document: 00118310432                    Page: 374             Date Filed: 07/08/2025                  Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical63
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
      of RPG funding less than $7.5 million total costs per year over the past 3 fiscal years (RPG data are available through NIH
      RePORTER (https://report.nih.gov/award/index.cfm)). For example, FY 2018, FY 2019 and FY 2020 for applications submitted in
      January 2021.
      Institutional eligibility for this FOA is limited to research-intensive institutions as defined above. Research-active institutions are not
      eligible to apply for or receive IMSD grants. To prevent the duplication of NIGMS diversity enhancing programs, each institution is
      eligible for one undergraduate program (either MARC (https://www.nigms.nih.gov/training/marc/pages/ustarawards.aspx) or U-RISE
      (https://www.nigms.nih.gov/training/RISE/Pages/U-RISE-T34.aspx)) regardless of the activity code (R25 or T34), and one graduate
      program (either IMSD (https://www.nigms.nih.gov/training/IMSD/pages/default.aspx) or G-RISE
      (https://www.nigms.nih.gov/training/RISE/Pages/G-RISE-T32.aspx)) regardless of the activity code (R25 or T32). Institutions with
      NIGMS MARC, U-RISE, IMSD, or G-RISE funding are eligible for the Bridges to the Baccalaureate and/or Bridges to the Doctorate
      programs provided the other eligibility criteria are met.
      An institution funded through the G-RISE or IMSD program that changes category due to changes in research project grant funding
      during the grant cycle should apply to the appropriate program based on their eligibility at the time of renewal. Programs that change
      category will report on the programs outcomes of the prior funding period(s), up to 15 years, using the appropriate tables.
      The sponsoring institution must assure support for the proposed program. Appropriate institutional commitment to the program
      should be detailed in the Institutional Support Letter in the Letters of Support attachment. Additionally, a signed letter is required
      from the Provost or similar official with institution-wide responsibility verifying the eligibility of the applicant institution at the time of
      application submission according to the eligibility criteria indicated above. See the application instructions for the required Letters of
      Support instructions in Section IV. (https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html#_Section_IV._Application)

      Foreign Institutions
      Non-domestic (non-U.S.) Entities (Foreign Institutions) are not eligible to apply.

      Non-domestic (non-U.S.) components of U.S. Organizations are not eligible to apply.


      Required Registrations
      Applicant Organizations

      Applicant organizations must complete and maintain the following registrations as described in the SF 424 (R&R) Application Guide
      to be eligible to apply for or receive an award. All registrations must be completed prior to the application being submitted.
      Registration can take 6 weeks or more, so applicants should begin the registration process as soon as possible. The NIH Policy on
      Late Submission of Grant Applications (//grants.nih.gov/grants/guide/notice-files/NOT-OD-15-039.html) states that failure to
      complete registrations in advance of a due date is not a valid reason for a late submission.

             Dun and Bradstreet Universal Numbering System (DUNS) (http://fedgov.dnb.com/webform) - All registrations require that
             applicants be issued a DUNS number. After obtaining a DUNS number, applicants can begin both SAM and eRA Commons
             registrations. The same DUNS number must be used for all registrations, as well as on the grant application.
             System for Award Management (SAM) (https://www.sam.gov/portal/public/SAM/) Applicants must complete and maintain an
             active registration, which requires renewal at least annually. The renewal process may require as much time as the initial
             registration. SAM registration includes the assignment of a Commercial and Government Entity (CAGE) Code for domestic
             organizations which have not already been assigned a CAGE Code.
             NATO Commercial and Government Entity (NCAGE) Code (//grants.nih.gov/grants/guide/url_redirect.htm?id=11176) Foreign
             organizations must obtain an NCAGE code (in lieu of a CAGE code) in order to register in SAM.
             eRA Commons (//grants.nih.gov/grants/guide/url_redirect.htm?id=11123) - Applicants must have an active DUNS number to
             register in eRA Commons. Organizations can register with the eRA Commons as they are working through their SAM or
             Grants.gov registration, but all registrations must be in place by time of submission. eRA Commons requires organizations to
             identify at least one Signing Official (SO) and at least one Program Director/Principal Investigator (PD/PI) account in order to
             submit an application.
             Grants.gov (//grants.nih.gov/grants/guide/url_redirect.htm?id=82300) Applicants must have an active DUNS number and SAM
             registration in order to complete the Grants.gov registration.

      Program Directors/Principal Investigators (PD(s)/PI(s))

      All PD(s)/PI(s) must have an eRA Commons account. PD(s)/PI(s) should work with their organizational officials to either create a
      new account or to affiliate their existing account with the applicant organization in eRA Commons. If the PD/PI is also the
      organizational Signing Official, they must have two distinct eRA Commons accounts, one for each role. Obtaining an eRA Commons
      account can take up to 2 weeks.


  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                      9/33
                                                                                                                         APHA App. 371
Case: 25-1611              Document: 00118310432                    Page: 375           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical64
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)

      Eligible Individuals (Program Director/Principal Investigator)
      Any individual(s) with the skills, knowledge, and resources necessary to carry out the proposed research training program as the
      Training Program Director/Principal Investigator (Training PD/PI) is invited to work with his/her organization to develop an application
      for support. Individuals from underrepresented racial and ethnic groups as well as individuals with disabilities are always encouraged
      to apply for NIH support.

      For institutions/organizations proposing multiple PDs/PIs, visit the Multiple Program Director/Principal Investigator Policy
      (//grants.nih.gov/grants/multi_pi/index.htm) and submission details in the Senior/Key Person Profile (Expanded) Component of the
      SF 424 (R&R) Application Guide.

      As described in the instructions for the Training Program Director(s)/Principal Investigator(s) (PD(s)/PI(s)) in Section IV.2 below,
      NIGMS encourages multiple PDs/PIs, particularly when each brings a unique perspective and skill set that will enhance training. At
      least one of the training PDs/PIs should be an established investigator in the biomedical sciences and capable of providing both
      administrative and scientific leadership to the development and implementation of the proposed program. Additional PD(s)/PI(s),
      including individuals with experience in the science of education, relevant social science disciplines, program evaluation, mentoring,
      and university administration may be included to achieve the training goals. Any of the PDs/PIs may serve as the contact PD/PI. The
      contact PD/PI is expected to have a full-time appointment at the applicant institution unless extremely well-justified. If the full-time
      status of the contact PD/PI changes after the award, the institution must obtain prior program approval to appoint a new PD/PI or
      request a deviation from the full-time rule. The PDs/PIs will be responsible for the selection and appointment of trainees to the
      approved research training program, and for the overall direction, management, administration, and evaluation of the program. The
      PDs/PIs will be expected to monitor and assess the program and submit all documents and reports as required. The PDs/PIs have
      responsibility for the day-to-day administration of the program and are responsible for appointing members of the Advisory
      Committee (when applicable) and using their recommendations to determine the appropriate allotment of funds.


      2. Cost Sharing
      This FOA does not require cost sharing as defined in the NIH Grants Policy Statement.
      (//grants.nih.gov/grants/guide/url_redirect.htm?id=11126)


      3. Additional Information on Eligibility
      Number of Applications
      The NIH will not accept duplicate or highly overlapping applications under review at the same time. This means that the NIH will not
      accept:

             A new (A0) application that is submitted before issuance of the summary statement from the review of an overlapping new
             (A0) or resubmission (A1) application.
             A resubmission (A1) application that is submitted before issuance of the summary statement from the review of the previous
             new (A0) application.
             An application that has substantial overlap with another application pending appeal of initial peer review (see NOT-OD-11-101
             (//grants.nih.gov/grants/guide/notice-files/NOT-OD-11-101.html)).

      Preceptors/Mentors (Participating Faculty)
      The selected faculty should be active researchers in the biomedical sciences as demonstrated by recent publications and research
      support. When building a training team, programs should include faculty who are committed to training, mentoring, and providing
      supportive and inclusive research environments. Programs are encouraged to build a diverse team of preceptors/mentors that
      includes, for example, faculty from underrepresented groups (see Notice of NIH's Interest in Diversity) and faculty at different career
      stages (i.e., early-career as well as established faculty).

      Trainees
      The individual to be trained must be a citizen or a noncitizen national of the United States or have been lawfully admitted for
      permanent residence at the time of appointment. Additional details on citizenship, training period, and aggregate duration of support
      are available in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.htm?id=61131).

      All trainees are required to pursue their research training full time, normally defined as 40 hours per week, or as specified by the
      sponsoring institution in accordance with its own policies. Appointments are normally made in 12-month increments, and no trainee
      may be appointed for less than 9 months during the initial period of appointment, except with prior approval of the NIH awarding unit.
      Use of training grant support in the first three years of graduate research training is strongly encouraged to provide maximum
      flexibility in the participation in courses, laboratory rotations, professional development, and cohort-building activities.

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                               10/33
                                                                                                                      APHA App. 372
Case: 25-1611              Document: 00118310432                    Page: 376           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical65
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
      The IMSD program is not intended for health-professional students who wish to interrupt their studies for a year or more to engage
      in research training.

      Predoctoral trainees must be enrolled in a program leading to a Ph.D. in a biomedical discipline.

      Section IV. Application and Submission Information
      1. Requesting an Application Package
      The application forms package specific to this opportunity must be accessed through ASSIST, Grants.gov Workspace or an
      institutional system-to-system solution. Links to apply using ASSIST or Grants.gov Workspace are available in Part 1 of this FOA.
      See your administrative office for instructions if you plan to use an institutional system-to-system solution.

      2. Content and Form of Application Submission
      It is critical that applicants follow the Training (T) Instructions in the SF424 (R&R) Application Guide
      (//grants.nih.gov/grants/guide/url_redirect.htm?id=12000) except where instructed in this funding opportunity announcement to do
      otherwise. Conformance to the requirements in the Application Guide is required and strictly enforced. Applications that are out of
      compliance with these instructions may be delayed or not accepted for review.


      Page Limitations
      All page limitations described in the SF424 (R&R) Application Guide and the Table of Page Limits
      (//grants.nih.gov/grants/guide/url_redirect.htm?id=61134) must be followed.

      Instructions for Application Submission
      The following section supplements the instructions found in the SF424 (R&R) Application Guide and should be used for preparing an
      application to this FOA.

      SF424(R&R) Cover
      Follow all instructions provided in the SF424 (R&R) Application Guide.

      SF424(R&R) Project/Performance Site Locations
      Follow all instructions provided in the SF424 (R&R) Application.

      SF424 (R&R) Other Project Information
      Follow all instructions provided in the SF424 (R&R) Application, with the following additional modifications:

          Are Human Subjects Involved: Check "No" unless the training program itself requires the trainees to take a workshop or
          course that will involve human subjects.

          Are Vertebrate Animals Used: Check "No" unless the training program itself requires the trainees to take a workshop or course
          that will involve vertebrate animals.

          Project Summary/Abstract. Provide an overview of the entire program. Include the mission, objectives, rationale and design of
          the research training program. Highlight key activities in the training plan that promote skills development and successful
          transitions into careers in the biomedical research workforce. Indicate the planned duration of appointments, the projected
          number of trainees and intended trainee outcomes.

          Other Attachments.

          Advisory Committee (1-page maximum). An Advisory Committee is not a required component of a training program. However, if
          an Advisory Committee is intended, provide a plan for the appointment of an Advisory Committee to monitor progress of the
          training program. The roles, responsibilities, and desired expertise of committee members, frequency of committee meetings,
          and other relevant information should be included. Describe how the Advisory Committee will assess the overall effectiveness of
          the program. To avoid conflicts in the review process, only pre-existing Advisory Committee members should be named in the
          application. Potential Advisory Committee members should not be identified or contacted prior to receiving an award. Please
          name the file Advisory_Committee.pdf .

          Application and Admissions Data. The applicant must provide Application and Admissions Data to allow for the evaluation of the
          ability of participating departments/interdepartmental programs to recruit training grant eligible individuals. These data are useful

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                11/33
                                                                                                                      APHA App. 373
Case: 25-1611              Document: 00118310432                    Page: 377            Date Filed: 07/08/2025                  Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical66
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
          in assessing the admissions and recruitment process, the diversity of the pool, and the appropriate number of training positions
          to be awarded. Provide the numbers and characteristics of training grant eligible (I) applicants, (II) admitted individuals, and (III)
          matriculants for each of the past 5 academic years as well as the average over those years. Applicants are encouraged to use
          the Suggested Table Format Table A (https://www.nigms.nih.gov/training/instpredoc/Pages/predoctoral-nih-data-tables-data-
          formats.aspx) provided on the NIGMS website and to report on the categories listed in NIH s Interest in Diversity
          (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html) listed below. Demographic data should be from voluntary
          self-reporting.

             Total. The total number of individuals in the relevant category (e.g., applicants, admitted individuals, or matriculants). In cases
             of interdepartmental programs, provide aggregate data for all the participating departments.
             Number from Underrepresented Racial and Ethnic Minority (URM) Groups. Number of individuals from racial and ethnic
             groups that have been shown by the National Science Foundation to be underrepresented in biomedical research on a
             national basis (i.e., Black or African Americans, Hispanic or Latinos, American Indians or Alaska Natives, Native Hawaiians
             and other Pacific Islanders; see https://grants.nih.gov/grants/guide/notice-files/not-od-15-089.html
             (https://grants.nih.gov/grants/guide/notice-files/not-od-15-089.html))
             Number with a Disability. If data are available, the number with disabilities, defined as those with a physical or mental
             impairment that substantially limits one or more major life activities as described in the Americans with Disabilities Act of 1990,
             as amended (https://www.ada.gov/pubs/adastatute08.htm).
             Number from Disadvantaged Backgrounds. If data are available, the number from disadvantaged backgrounds (see NIH s
             Interest in Diversity (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html)).
             Number of applicants who identify as women.
             Number of individuals from an institutionally defined underrepresented group. If relevant, number of applicants from a racial or
             ethnic group that can be demonstrated convincingly to be underrepresented by the grantee institution. For more information
             on racial and ethnic categories and definitions, see the OMB Revisions to the Standards for Classification of Federal Data on
             Race and Ethnicity (https://www.govinfo.gov/content/pkg/FR-1997-10-30/html/97-28653.htm
             (https://www.govinfo.gov/content/pkg/FR-1997-10-30/html/97-28653.htm)). Add columns as needed.

          If the training program is interdepartmental with separate admissions for each department, provide the number of training grant
          eligible (I) applicants, (II) admitted individuals, and (III) matriculants in the relevant departments described in the application for
          each of the past 5 academic years. Please name the file Application_Admissions_Data.pdf . If this attachment is not included,
          the application will be considered incomplete and will not be reviewed.

          Recruitment Plan to Enhance Diversity (3-page maximum). The applicant must provide a Recruitment Plan to Enhance
          Diversity. The application should include outreach strategies and activities designed to recruit potential training program
          candidates who are from diverse backgrounds, including students from underrepresented racial and ethnic groups, individuals
          with disabilities, and students from disadvantaged backgrounds (see Notice of NIH's Interest in Diversity
          (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html)). Applicants are encouraged to consult the NIGMS
          webpage for strategies to enhance diversity in training programs
          (https://www.nigms.nih.gov/training/diversity/pages/approaches.aspx) when designing their plans. Describe the specific efforts to
          be undertaken by the training program and how these might coordinate with trainee recruitment efforts of the institution.
          Centralized institutional efforts alone will not satisfy the requirement to recruit individuals from underrepresented groups.
          Participating faculty are expected to be actively involved in recruitment efforts. Please name the file Recruitment_Plan.pdf . If
          this attachment is not included, the application will be considered incomplete and will not be reviewed.

          Trainee Retention Plan (3-page maximum). The applicant must provide a Trainee Retention Plan. The Trainee Retention Plan
          must describe efforts to sustain the scientific interests as well as monitor the academic and research progress of trainees from
          all backgrounds within a program (i.e., retention). Applicants are encouraged to consult the NIH’s extramural diversity website to
          identify promising retention practices (https://extramural-diversity.nih.gov/building-participation/recruitment-retention) and to use
          evidence-informed practices for retention with the recognition that the variety of trainee backgrounds and experiences may
          necessitate the need to tailor retention approaches. Describe the specific efforts to be undertaken by the training program and
          how these might coordinate with trainee retention efforts of the institution(s). Centralized institutional efforts alone will not satisfy
          the requirement to implement robust and successful mechanisms to retain all trainees (e.g., participating faculty are expected to
          be actively involved in trainee retention efforts). Please name the file Retention_Plan.pdf . If this attachment is not included, the
          application will be considered incomplete and will not be reviewed.

          Outcomes Data Collection and Storage Plan (2-page maximum). The applicant must provide an Outcomes Data Collection and
          Storage Plan to track the outcomes for all supported trainees for a minimum of 15 years beyond the trainee’s participation in the
          program. Programs are encouraged to make the aggregate outcome data available on the institution's website. If the applicant

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                      12/33
                                                                                                                       APHA App. 374
Case: 25-1611              Document: 00118310432                    Page: 378           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical67
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
          intends to make the data available, describe how the aggregate data will be de-identified before public posting. The applicant
          must include a strategy to ensure the secure storage and preservation of program data and outcomes. Describe how the data
          will be centralized, safeguarded, and retrievable during leadership changes. Please name the file
          Data_Collection_Storage_Plan.pdf . If this attachment is not included, the application will be considered incomplete and will not
          be reviewed.

          Dissemination Plan (1-page maximum). The application must provide a specific Dissemination Plan to publish or present
          nationally any findings or materials developed under the auspices of the program. Examples of dissemination may include data
          or materials from successful training or mentoring interventions via web postings, presentations at scientific meetings, and/or
          workshops. Please name the file Dissemination_Plan.pdf . If this attachment is not included, the application will be considered
          incomplete and will not be reviewed.

          The filename provided for each Other Attachment will be the name used for the bookmark in the electronic application in eRA
          Commons.

      SF424(R&R) Senior/Key Person Profile Expanded
      Follow all instructions provided in the SF424 (R&R) Application with the following modifications.

      Biographical sketch. The personal statement should describe a commitment to scientific rigor, training, mentoring, as well as to
      promoting inclusive, safe, and supportive scientific environments.

      PHS 398 Cover Page Supplement
      Follow all instructions provided in the SF424 (R&R) Application.

      PHS 398 Training Subaward Budget Attachment(s)
      Follow all instructions provided in the SF424 (R&R) Application Guide.

      Training Budget
      Follow all instructions provided in the SF424 (R&R) Application Guide with the following additional modifications:

             Include all allowable categories of funds requested to support trainees in the program.
             As per the instructions, request actual amounts for tuition/fees and provide justification. The amounts may be adjusted at the
             time of award.

      PHS 398 Research Training Program Plan
      The PHS 398 Research Training Program Plan Form is comprised of the following sections:

             Training Program
             Faculty, Trainees, and Training Record
             Other Training Program Sections
             Appendix- Note that the Appendix should only be used in circumstances covered in the NIH policy on appendix materials or if
             the FOA specifically instructs applicants to do so.

          Follow all instructions provided in the SF424 (R&R) Application Guide with the following additional modifications:

          Attention must be given to the required Training Data Tables (//grants.nih.gov/grants/guide/url_redirect.htm?id=61169) for New
          or Renewal applications. Guidance for preparing the Training Data Tables
          (https://www.nigms.nih.gov/training/instpredoc/Pages/predoctoral-nih-data-tables-data-formats.aspx) is found on the NIGMS
          website. Table 6A is not required for NIGMS Predoctoral Training Grant applications, and applicants must not include it.
          In the Program Plan, applicants should also summarize key data from the tables that highlight the characteristics of the applicant
          pool, program faculty, institutional support, student outcomes, and other factors that contribute to the overall training
          environment of the program.

          Training Program

          Follow all training instructions provided in the SF424 (R&R) application guide except where instructed to do otherwise below.

          Program Plan

          The "Program Plan" attachment is required and must adhere to the NIH Table of Page Limits (https://grants.nih.gov/grants/how-
          to-apply-application-guide/format-and-write/page-limits.htm#train), as well as the organization and instructions provided below.



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                13/33
                                                                                                                      APHA App. 375
Case: 25-1611              Document: 00118310432                    Page: 379           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical68
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
          Do not follow the organization and instructions provided in the SF424 (R&R) application guide for the Program Plan attachment;
          instead applicants must use the instructions below. Start each section with the appropriate heading.

          Rationale, Mission, and Objectives

          The application should describe how the IMSD program will develop a diverse pool of well-trained scientists who have the
          technical, operational, and professional skills required to conduct research in a safe, ethically responsible and rigorous manner,
          and to enter careers in the biomedical research workforce as delineated in the Program Objective. The application should
          describe how the program will enhance the training environment and not simply provide financial support to graduate trainees.
          Specifically, applicants should describe the following:

             The justification for the proposed diversity enhancing research training program. The application should describe the current
             institutional efforts to promote diversity and to create inclusive research training environments and how the IMSD program will
             enhance, but not duplicate these efforts. The rationale for the program should expand upon the "Training Outcome" data
             requested below that provides institutional baseline data on previous student outcomes comparing success rates for groups
             that are well-represented and underrepresented in the biomedical research workforce (see Notice of NIH's Interest in Diversity
             (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html));
             Current research training environment. The application should describe the research training environment including, but not
             limited to, the relevant background, an overview of the current research training activities of the participating department(s) or
             unit(s), and areas for improvement in the current research training practices. Applicants must demonstrate the presence of a
             sufficient number of potential trainees in appropriate disciplines (Table 1 (https://grants.nih.gov/grants/forms/data-tables.htm))
             and program faculty with the appropriate biomedical expertise (Tables 2 and 4 (https://grants.nih.gov/grants/forms/data-
             tables.htm)) as well as the current research training resources (Table 3 (https://grants.nih.gov/grants/forms/data-tables.htm));
             and
             The training mission (i.e., broad statement of purpose of the program), and objectives (i.e., specific measurable outcomes the
             program intends to achieve). The baseline data, the trainee pool, and the institutional context should inform the objectives and
             the design of the proposed training program. The program-specific mission and objectives should align with the Overarching
             Objective of this funding announcement. Objectives should include, but not be limited to, Ph.D. completion rates and
             appropriate time-to-degree.




          Curriculum and Overall Training Plan

          The application should describe the following:

             How the courses, structured activities, and research experiences will accomplish the specific training mission and objectives.
             Explain how these training activities are designed to develop the technical, operational, and professional skills of trainees.
             The application must include the "Required Training Activities" appendix to provide material to assess the required training
             elements and may use the "Elective Activities" appendix to provide up to four additional activities;
             Proposed changes to current research training practices to keep pace with the rapidly evolving biomedical research
             enterprise (e.g., curricular reforms, incorporation of additional quantitative and computational skills development, etc.);
             The mechanism for ensuring that the trainees are learning the highest standards of practice in biomedical research (e.g.,
             record keeping and safety);
             How the Participating Faculty will teach laboratory safety throughout the didactic and mentored portions of the program;
             How the training activities will employ evidence-informed approaches to trainee learning, mentorship, inclusion, and
             professional development;
             The activities that will build a strong cohort of research-oriented individuals while enhancing the science identity, self-efficacy,
             and a sense of belonging among the cohort members;
             Representative examples of training programs for individual trainees. Examples may include degree requirements, didactic
             courses, laboratory experiences, qualifying examinations, and other training activities, such as seminars, journal clubs, etc.
             Describe how each trainee's program will be guided, and how the trainee's performance will be monitored and evaluated.
             Discuss the anticipated time required to complete the training program up to degree attainment;
             The trainees academic and research background needed to pursue the proposed training and plans to accommodate
             differences in preparation among trainees (e.g., training and mentoring interventions provided in the summer before starting
             graduate courses and supplementary instruction throughout the training experience).
             How the training activities will be available to other trainees in the program(s), department(s) or institution(s) from which the
             supported trainees are drawn;

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                  14/33
                                                                                                                      APHA App. 376
Case: 25-1611              Document: 00118310432                    Page: 380           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical69
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
             For multi-disciplinary and/or multi-departmental programs, indicate how the individual disciplinary and/or departmental
             components of the program are integrated and coordinated, and how they will relate to an individual trainee's experience; and
             The ways, when applicable, that the training plan is distinct from, but will share resources and synergize with, other NIGMS-
             funded predoctoral training programs at the same institution (i.e., NIGMS predoctoral training programs listed in Table 3
             (https://grants.nih.gov/grants/forms/data-tables.htm)). See the "Program Considerations" section above.



          Career Development

          The application should describe the following:

             How the pool of potential applicants and trainees will be provided with information about the career outcomes of graduates of
             the program (e.g., on publicly accessible websites) and about the overall biomedical research workforce employment
             landscape;
             How trainees in the program will be provided with adequate and appropriate information regarding the variety of careers in the
             biomedical research workforce for which their training would be useful;
             How the proposed program will engage a range of potential employers to ensure the trainees will acquire the appropriate
             skills, knowledge, and steps needed to attain positions in the sectors of the biomedical research workforce that are of interest
             to them; and
             How the training program or institution will provide experiential learning opportunities (e.g., internships, shadowing,
             informational interviews, teaching opportunities) that allow trainees to develop the professional skills and networks necessary
             to transition into careers in the biomedical research workforce.


          Program Oversight, Participating Faculty Selection, and Mentor Training

          The application should include the planned strategy and administrative structure to oversee and monitor the program, and to
          ensure appropriate and timely trainee progress for the duration of the trainees' graduate careers (the application may include the
          "Evaluation and Assessment Instruments" Appendix to provide blank rubrics or forms). The application should describe how the
          participating faculty are trained to ensure the use of evidence-informed teaching, training and mentoring practices that promote
          the development of trainees from all backgrounds, e.g., trainees from underrepresented backgrounds in the biomedical sciences
          (see Notice of NIH's Interest in Diversity (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html)). Applicants
          should describe the following:

             How the program will ensure that participating faculty employ the highest standards of scientific rigor and impart those
             standards to their trainees;
             How the program will ensure that participating faculty reinforce and augment the curricular material on responsible conduct of
             research, and methods for enhancing reproducibility;
             The mechanism for matching trainees with the appropriate participating faculty (e.g., laboratory rotations, faculty forums, and
             interviews);
             How the program will ensure that participating faculty engage in activities that promote trainee career development (including
             but not limited to the utilization of Individual Development Plans) and fulfill the need of the trainees to obtain their Ph.D.
             degrees in a timely fashion with the skills, credentials, and experiences to transition into careers in the biomedical research
             workforce that are consistent with the trainees interests and values;
             A mechanism to monitor mentoring, including oversight of the effectiveness of the trainee/participating faculty match, and a
             plan for removing faculty displaying unacceptable mentorship qualities from the training program (applicants may use the
             Appendix labeled Conflict Resolution Protocols to provide details of the plan); and
             If a program coordinator or administrator position is planned to enhance oversight, a description of the person's administrative
             capabilities that are essential to coordinate the program must be included in the application.

          Institutional and Departmental Commitment to the Program

          A letter providing assurances of the institutional commitment to the program must be included in the "Letters of Support"
          section of the application. Applicants may use this section to expand upon the Facilities & Other Resources section and the
          Letters of Support section, as necessary, to provide additional information regarding the institutional and departmental
          commitment to the program. Do not repeat information contained elsewhere in the application.

          Training Program Director(s)/Principal Investigator(s) (PD(s)/PI(s))



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                               15/33
                                                                                                                      APHA App. 377
Case: 25-1611              Document: 00118310432                    Page: 381            Date Filed: 07/08/2025                  Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical70
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
          The application should describe how the Training Program Director(s)/Principal Investigator(s) (PD(s)/PI(s)) will promote the
          success of the trainees and training program. NIGMS encourages multiple PDs/PIs, particularly when each brings a unique
          perspective and skill set that will enhance training as described in the Eligible Individuals section. The application should expand
          on the information in the biosketch(es) to address how the PD/PI or PD/PI team has:

             The expertise, as well as the administrative and training experience, to provide strong leadership, direction, management, and
             administration of the proposed research training program;
             The time to commit sufficient effort to ensure the program’s success given other professional obligations (the application
             should indicate the PD(s)/PI(s) s percent effort in the proposed program);
             At least one member of the team who has the scientific expertise in the biomedical sciences and who has a record of using
             rigorous and transparent methods in experimental design, data collection, analysis, and reporting;
             A demonstrated commitment to training the next generation of the biomedical research workforce, leading recruitment efforts
             to enhance diversity, and fostering inclusive research environments. As with all participating faculty, the PD(s)/PI(s) should
             have received training on how to effectively mentor trainees from all backgrounds, e.g., trainees from groups
             underrepresented in the biomedical sciences (see Notice of NIH's Interest in Diversity
             (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html)); and
             A clearly delineated administrative structure and leadership succession plan for critical positions (e.g., PD(s)/PI(s)).

          Preceptors/Mentors (Participating faculty)

          The application should describe how the participating faculty will promote the success of the trainees and training program, as
          well as conducting responsible and rigorous research. Describe how the program has or will assemble a diverse team of
          participating faculty (e.g., individuals from underrepresented backgrounds (see Notice of NIH's Interest in Diversity
          (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-15-053.html)), women, and faculty at different career stages) to provide
          potential role models within the training program and to enhance the excellence of the training environment. The application
          should summarize and expand on the material presented in the Training Tables (https://grants.nih.gov/grants/forms/data-
          tables.htm) and biosketches and address how the participating faculty:

             Have sufficient time to commit to training given their other professional obligations;
             Receive training in effective, evidence-informed teaching and mentoring practices;
             Promote the use of highest standards of practice to ensure the safety of all individuals in the research environment;
             Cooperate, interact, and collaborate (which can include joint sponsorship of trainee research);
             Promote the development of trainee skills in approaches to rigorous experimental design, methods of data collection, data
             analysis and interpretation, and reporting;
             Provide opportunities for trainees to initiate, conduct, interpret, and present rigorous, reproducible and responsible biomedical
             research with increasing self-direction;
             Demonstrate a commitment to effective mentoring, and to promoting inclusive, safe and supportive scientific and training
             environments; and
             Are evaluated as teachers and mentors.


          Application Process, Trainee Positions, Retention, and Support

          Through the narrative and summaries of the information presented in the required Training Tables
          (https://grants.nih.gov/grants/forms/data-tables.htm) and the required attachments (i.e., Application and Admissions Data for all
          applications) the following areas relevant to trainees should be addressed.

          Application Process

             Describe the admissions data provided in the required "Application and Admissions Data" attachment in "Other Attachments",
             including the characteristics of training grant eligible (I) applicants, (II) admitted individuals, and (III) matriculants for each of
             the past 5 academic years. Applicants are encouraged to report on the numbers and averages for the categories listed in NIH
             s Interest in Diversity (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html). If the program is an
             interdepartmental training program with separate admissions, describe the data in the required attachment regarding the
             number and averages of training grant eligible (I) applicants, (II) admitted individuals, and (III) matriculants in the relevant
             departments for each of the past 5 academic years. Application and admissions data should inform the recruitment plans in
             the training grant application.
             Expand upon the "Recruitment Plan to Enhance Diversity" (provided in "Other Attachments"). Explain how the program will
             identify and recruit a diverse pool of potential candidates from a wide variety of institutions and backgrounds (with a focus on
             identifying effective recruitment strategies for individuals from nationally underrepresented groups in the biomedical sciences,

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                    16/33
                                                                                                                       APHA App. 378
Case: 25-1611              Document: 00118310432                    Page: 382           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical71
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
             see Notice of NIH's Interest in Diversity (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html)) who have the
             potential to strongly benefit from, and with proper training and support succeed in the program.
             Describe plans for a candidate review process that will allow a broad group of trainees, who have taken advantage of the
             research opportunities available to them and are committed to contributing to the biomedical research enterprise, the ability to
             participate in the training program. The process should consider metrics beyond undergraduate institution, GPA, and
             standardized test scores. If the program trainees are drawn from multiple departments, describe how the PD(s)/PI(s) will
             ensure that the review process is consistent across all relevant departments.
             If the training program does not conduct its own recruitment and admissions for Ph.D. students entering the university and
             instead appoints students who were admitted by university departments or other graduate programs, provide a strong
             rationale for taking this approach.

          Trainee Positions

             Describe how large the program will be across all cohorts (i.e., the total number of individuals enrolled in the proposed
             program ranging from the entering cohort to those nearing graduation). For interdepartmental programs, describe the
             expected number of individuals in the program from each scientific discipline.
             Provide a strong justification for the number of requested funded slots per year in the context of the training grant eligible
             pool, the size of the proposed program, the number of participating faculty, and other NIGMS-funded training grants at the
             institution. For Renewal Applications - Describe the characteristics of the previously awarded training positions (Table 7) as
             part of the justification for the requested positions.
             Explain the proposed training grant support structure, i.e., how many individuals (e.g., 4 per year), at what stage (e.g., first-
             year entrants), and for how long (e.g., for 1 year). Note: NIGMS typically funds trainees during years 1-3 of the Ph.D.
             program.
             Define and justify the selection and re-appointment criteria for the training grant supported trainees in the program.


          Retention and Support

             Applicants may use this section to expand upon the Trainee Retention Plan (provided in the "Other Attachments") and to
             provide evidence of the program's commitment to ensuring the well-being and success of all trainees throughout their
             graduate training.
             Describe the ability for participating department(s) and/or the institution(s) to support trainees for the duration of their graduate
             careers.

          Training Outcomes

          This section is intended to provide outcomes for the program described in the application (or for new programs, to provide
          outcomes for training grant eligible students for the proposed program). The application should provide the information below
          about recent outcomes through narrative descriptions and a summary of the data presented in the required training tables
          (https://grants.nih.gov/grants/forms/data-tables.htm). Although the training tables for new applications only allow for five years of
          recent outcomes, the application may describe up to 15 years of outcomes in the narrative. The application should describe the
          following:

             Evidence that recent program graduates conducted rigorous research that advanced scientific knowledge and/or
             technologies, with increasing self-direction (e.g., peer-reviewed publications in Training Table 5A
             (https://grants.nih.gov/grants/forms/data-tables.htm), or other measures of scientific accomplishment appropriate to the field);
             The rate of Ph.D. degree attainment and time-to-degree for recent graduates (Training Table 8A
             (https://grants.nih.gov/grants/forms/data-tables.htm)). Verify in the text that the time-to-degree was calculated according to the
             table instructions;
             A description or analysis of how the Ph.D. degree attainment, time-to-degree data, and evidence of scholarly productivity
             (e.g., peer-reviewed publications, or other measures of scientific accomplishment appropriate to the field) for recent program
             graduates from underrepresented groups (see Notice of NIH's Interest in Diversity (https://grants.nih.gov/grants/guide/notice-
             files/NOT-OD-20-031.html)) compares to the data for recent program graduates from well-represented groups; and
             The success of recent graduates transitioning to careers in the biomedical research workforce (Training Table 8A
             (https://grants.nih.gov/grants/forms/data-tables.htm)).

          Program Evaluation and Dissemination

          NIGMS funded training programs must conduct ongoing evaluations to monitor the success of the training and mentoring
          activities. The application should describe:

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                   17/33
                                                                                                                      APHA App. 379
Case: 25-1611              Document: 00118310432                    Page: 383           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical72
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
             The evaluation or assessment process to determine whether the overall program is effective in meeting its training mission
             and objectives, and whether the scientific research climate is inclusive, safe, and supportive of trainee development (the
             application may include the "Evaluation and Assessment Instruments" Appendix to provide blank survey instruments, rubrics,
             or forms);
             Plans for being responsive to outcomes analyses, critiques, surveys and evaluations;
             Past activities to track and post the career outcomes of trainees (applicants should expand upon, but not duplicate the
             information in the Outcomes Data Collection and Storage Plan ); and
             Past activities designed to share the outcomes of the training or mentoring interventions with the broader community
             (applicants should expand upon, but not duplicate the information in the Dissemination Plan ).


          Plan for Instruction in the Responsible Conduct of Research

          Applicants are required to comply with the instructions for Plan for Instruction in the Responsible Conduct of Research as
          provided in the SF424 (R&R) Application Guide, along with the following additional instructions:

          Describe how the Responsible Conduct of Research (RCR) components are well integrated into the overall curriculum, i.e., how
          they are taught at multiple stages of trainee development and in a variety of formats and contexts. Explain how the teaching of
          RCR synergizes with elements of the curriculum designed to enhance trainees abilities to conduct rigorous and reproducible
          research. Describe how all participating faculty will reiterate and augment key elements of responsible conduct when trainees
          are performing mentored research in their laboratories.

          Plan for Instruction in Methods for Enhancing Reproducibility

          Applicants are required to provide a Plan for Instruction in Methods for Enhancing Reproducibility as provided in the SF424
          (R&R) Application Guide.

          Applicants are encouraged to consult the NIGMS clearinghouse for training modules to enhance data reproducibility
          (https://www.nigms.nih.gov/training/pages/clearinghouse-for-training-modules-to-enhance-data-reproducibility.aspx) and other
          resources when developing the plans.

          Progress Report (only for Renewal applications)

          For applications describing programs that were previously funded under PAR-19-037 (https://grants.nih.gov/grants/guide/pa-
          files/par-19-037.html) follow the instructions provided in the SF424 (R&R) Application Guide with the following exceptions:

          For the "Program Overview" section, follow the page limit indicated in the SF424 (R&R) application guide, but follow the
          instructions below instead:

             Indicate the period covered since the last competitive review.
             Include information to demonstrate that the program successfully trained a diverse pool of individuals who have the technical,
             operational, and professional skills to transition into careers in the biomedical research workforce.
             Describe successes and challenges with regards to implementing the programmatic elements described in the previous
             application, including but not limited to the following areas:

               o Incorporating evidence-informed training and mentoring practices into the program.

               o Teaching of rigor and transparency, and the responsible and safe conduct of research throughout the training experience.

               o The challenges and successes for enhancing diversity and inclusion.

               o Overseeing all aspects of the program (e.g., of the mentor/mentee matches, the participating faculty, and trainee
               progress).

               o Preparing trainees for a broad range of careers in the biomedical research workforce (including but not limited to the use
               of Individual Development Plans, IDPs).

             Provide justifications for failing to implement previously proposed programmatic elements.
             Provide evidence that the specific and measurable objectives described in the previous application were achieved and if not,
             provide a justification for failing to achieve the objectives.
             Describe how the funds provided under "Training Related Expenses" were used to benefit the program.
             Provide the methods and results of the evaluations of the program activities. Indicate whether the training activities were
             effective in contributing to the program objectives.
             Provide evidence that the scientific research climate is inclusive, safe, and supportive of trainee development.
  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                18/33
                                                                                                                      APHA App. 380
Case: 25-1611              Document: 00118310432                    Page: 384           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical73
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
             Expand upon the "Training Outcomes" to highlight successes and areas for improvement.
             Describe how the program responded to outcomes analyses, critiques, surveys and evaluations. Describe the barriers to
             success and indicate changes to the program designed to address these barriers.
             Describe how the program makes training and career outcomes publicly available.
             Indicate whether the PD(s)/PI(s) disseminated nationally any findings or materials developed under the auspices of the
             program to the broader training community.
             Indicate the broader impact of the program (e.g., on the curriculum, training environment, or institutional practices).
             Highlight how the training program has evolved in response to changes in relevant scientific and technical knowledge,
             educational practices, and evaluation of the training program.


          Faculty, Trainees, and Training Record
          Participating Faculty Biosketches

          Participating faculty should provide a personal statement that describes the appropriateness of their research background for
          the proposed training program, and their commitment to the following:

             Training, mentoring, and promoting inclusive, safe and supportive research environments;
             Maintaining a record of, and providing training in rigorous and unbiased experimental design, methodology, analysis,
             interpretation, and reporting of results;
             Promoting the use of highest standards of practice to ensure the safety of all individuals in the research environment;
             Supporting trainees participating in activities required to identify and transition into careers in the biomedical research
             workforce that are consistent with the trainees skills, interests, and values; and
                  Fulfilling the need of the trainees to complete their Ph.D. degrees in a timely fashion with the skills, credentials, and
             experiences to transition into careers in the biomedical research workforce.

          Letters of Support

          Institutional Support Letter (10-page maximum). The application must include a signed letter on institutional letterhead from a
          President, Provost, Dean, or similar key institutional leader that describes the activities and resources provided by the institution
          that are designed to ensure the success of the planned training program and its trainees. If this letter is not included, the
          application will be considered incomplete and will not be reviewed. The institutional commitment to the following areas should be
          described (as applicable):

             Developing and promoting a culture in which the highest standards of safety, scientific rigor, reproducibility, and responsible
             conduct are advanced;
             Ensuring sufficient start-up funding to permit early stage faculty to participate in training, and bridge funding to ensure that
             training may continue if a mentor experiences a hiatus in funds;
             Supporting core facilities and technology resources, and describing how they can be used to enhance training;
             Providing adequate staff, facilities, and educational resources to the planned program;
             Supporting the PDs/PIs and other key staff associated with the planned training program;
             Fostering and rewarding excellence in training (e.g., through institutional polices such as tenure and promotion);
             Supporting the remediation or removal of Participating Faculty from the program who are poorly performing mentors;
             Promoting diversity and inclusion at all levels of the research training environment (trainees, staff, faculty, and leadership);
             Ensuring a positive, supportive and inclusive research and training environment for individuals from all backgrounds;
             Ensuring the research facilities and laboratory practices promote the safety of trainees;
             Guaranteeing the research facilities are accessible to trainees with disabilities;
             Ensuring that proper policies, procedures, and oversight are in place to prevent discriminatory harassment and other
             discriminatory practices and to appropriately respond to allegations of such discriminatory practices, including providing any
             required notifications to NIH (e.g., requesting a change of PD/PI status; see NOT-OD-19-029
             (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-19-029.html));
             Providing trainees access to student support services, such as healthcare, counseling services, and housing;
             Ensuring that trainees will continue to be supported when they transition from the training grant to other sources of support;
             Providing resources and expertise for evaluating the training outcomes of the program; and
             For institutions that have multiple NIGMS-funded predoctoral training grants, the letter should also explain what distinguishes
             the proposed program from existing ones at the same training level, how the programs will synergize and share resources
             when appropriate, and how the training faculty, pool of potential trainees, and resources are sufficiently robust to support the
             proposed program in addition to existing ones.

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                19/33
                                                                                                                      APHA App. 381
Case: 25-1611              Document: 00118310432                    Page: 385            Date Filed: 07/08/2025                  Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical74
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)


          Institutional Eligibility Letter. (1-page maximum). The Provost or similar official with institution-wide responsibility must certify that
          all the components of the institution under the applicant DUNS or IPF number together have an average of RPG funding greater
          than or equal to $7.5 million total costs (both direct and F&A/indirect costs) per year over the past 3 fiscal years, as described in
          Section III, "Eligible Organization". If this letter is not included, the application will be considered incomplete and will not be
          reviewed.

          Other Letters of Support. Additional letters of support (e.g., from partner institutions or organizations) are permitted; however,
          these letters may not contain any information required in the Institutional Support Letter.

          Combine all Letters of Support into a single PDF file.

          Data Tables: The application must include the required Training Data Tables
          (https://grants.nih.gov/grants/guide/url_redirect.htm?id=61169). For New applications: Tables 1, 2, 3, 4, 5A, and 8A Part III. For
          Renewals: Tables 1, 2, 3, 4, 5A, 7, and 8A. Applications that do not contain the required tables, or that submit any additional
          tables in this attachment, will be considered noncompliant and will not be reviewed.

          Appendix

          Limited items are allowed in the Appendix. Follow all instructions for the Appendix as described in the SF424 (R&R) Application
          Guide; any instructions provided here are in addition to theSF424 (R&R) Application Guide instructions.

          The Appendix is meant to provide additional details to the following topics but is not meant to substitute for clear descriptions in
          the body of the application. Do not use the Appendix to circumvent page limits. Do not include items other than the required and
          allowable materials described below, as doing so will result in administrative withdrawal of the application prior to review. Name
          the file according to the headings below. A summary sheet listing all the items included in the Appendix may be included in the
          first Appendix attachment.

          The following are required Appendix materials:

             Required Training Activities. To adequately assess the content of the didactic portion of the training program, the application
             must include syllabi/outlines of all required training activities (e.g., syllabi for courses, mentor training materials, professional
             development workshops, career exploration opportunities, skills development activities).
             Responsible Conduct of Research Syllabi. In addition to the Plan for Instruction in the Responsible Conduct of Research, the
             application must provide syllabi/outlines of materials relating to Responsible Conduct of Research and descriptions of when in
             the trainees career paths the material is taught.

          The following are allowable Appendix materials:

             Elective Activities. The application may include summary content from up to four additional elective courses and/or training
             activities (e.g., syllabi or summaries for courses, mentor training materials, outlines of professional development workshops,
             career exploration opportunities, or skills development activities).
             Evaluation and Assessment Instruments. The application may include blank surveys, rubrics, and/or forms used to (a)
             document and monitor trainee progress and (b) determine whether the training and research environment is effective,
             inclusive, safe, and supportive.
             Conflict Resolution Protocols (3-page maximum). The application may include detailed protocols for addressing problems with
             trainee and faculty matches, removal of faculty from the training program with unacceptable training/mentoring skills and for
             conflict resolutions for multi PD(s)/PI(s) and mentor/mentee relationships.

          Applications that do not include the required appendices or that exceed the number of allowed appendices or the page limitation
          of any of the allowed materials will be considered noncompliant and will not be reviewed.

      PHS Human Subjects and Clinical Trials Information
      Generally, not applicable. All instructions in the SF424 (R&R) Application Guide must be followed, with the following additional
      modifications:

      Study Record: PHS Human Subjects and Clinical Trials Information

      DO NOT USE. Attempts to submit a full, detailed study record will result in a validation error.

      Delayed Onset Study




  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                    20/33
                                                                                                                        APHA App. 382
Case: 25-1611              Document: 00118310432                    Page: 386           Date Filed: 07/08/2025                  Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical75
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
      Generally, not applicable. Note: Delayed onset (https://grants.nih.gov/grants/glossary.htm#DelayedOnsetHumanSubjectStudy) does
      NOT apply to a program that will not start immediately (i.e., delayed start).

      PHS Assignment Request Form
      All instructions in the SF424 (R&R) Application Guide must be followed.


      3. Unique Entity Identifier and System for Award Management (SAM)
      See Part 1. Section III.1 for information regarding the requirement for obtaining a unique entity identifier and for completing and
      maintaining active registrations in System for Award Management (SAM), NATO Commercial and Government Entity (NCAGE)
      Code (if applicable), eRA Commons, and Grants.gov


      4. Submission Dates and Times
      Part I. Overview Information contains information about Key Dates and times. Applicants are encouraged to submit applications
      before the due date to ensure they have time to make any application corrections that might be necessary for successful
      submission. When a submission date falls on a weekend or Federal holiday (https://grants.nih.gov/grants/guide/url_redirect.htm?
      id=82380), the application deadline is automatically extended to the next business day.

      Organizations must submit applications to Grants.gov (//grants.nih.gov/grants/guide/url_redirect.htm?id=11128) (the online portal to
      find and apply for grants across all Federal agencies). Applicants must then complete the submission process by tracking the status
      of the application in the eRA Commons (//grants.nih.gov/grants/guide/url_redirect.htm?id=11123), NIH’s electronic system for grants
      administration. NIH and Grants.gov systems check the application against many of the application instructions upon submission.
      Errors must be corrected and a changed/corrected application must be submitted to Grants.gov on or before the application due
      date and time. If a Changed/Corrected application is submitted after the deadline, the application will be considered late.
      Applications that miss the due date and time are subjected to the NIH Policy on Late Application Submission.

      Applicants are responsible for viewing their application before the due date in the eRA Commons to ensure accurate and
      successful submission.

      Information on the submission process and a definition of on-time submission are provided in the SF424 (R&R) Application Guide.



      5. Intergovernmental Review (E.O. 12372)
      This initiative is not subject to intergovernmental review. (//grants.nih.gov/grants/guide/url_redirect.htm?id=11142)

      6. Funding Restrictions
      All NIH awards are subject to the terms and conditions, cost principles, and other considerations described in the NIH Grants Policy
      Statement (//grants.nih.gov/grants/guide/url_redirect.htm?id=11120). The National Research Service Award (NRSA) policies
      (//grants.nih.gov/grants/guide/url_redirect.htm?id=41171) apply to this program. An NRSA appointment may not be held concurrently
      with another Federally sponsored fellowship, traineeship, or similar Federal award that provides a stipend or otherwise duplicates
      provisions of the NRSA.

      Pre-award costs are allowable only as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.htm?
      id=11143). Note, however, that pre-award costs are not allowable charges for stipends or tuition/fees on institutional training grants
      because these costs may not be charged to the grant until a trainee has actually been appointed and the appropriate paperwork
      submitted to the NIH awarding component. Any additional costs associated with the decision to allow research elective credit for
      short-term research training are not allowable charges on an institutional training grant.


      7. Other Submission Requirements and Information
      Applications must be submitted electronically following the instructions described in the SF424 (R&R) Application Guide. Paper
      applications will not be accepted.

      Applicants must complete all required registrations before the application due date.                Section III. Eligibility Information
      contains information about registration.

      For assistance with your electronic application or for more information on the electronic submission process, visit How to Apply
      Application Guide (https://grants.nih.gov/grants/how-to-apply-application-guide.html). If you encounter a system issue beyond your
  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                   21/33
                                                                                                                       APHA App. 383
Case: 25-1611              Document: 00118310432                    Page: 387           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical76
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
      control that threatens your ability to complete the submission process on-time, you must follow the Dealing with System Issues
      (https://grants.nih.gov/grants/how-to-apply-application-guide/due-dates-and-submission-policies/dealing-with-system-issues.htm)
      guidance. For assistance with application submission, contact the Application Submission Contacts in       Section VII.

          Important reminders:

          All PD(s)/PI(s) must include their eRA Commons ID in the Credential field of the Senior/Key Person Profile Component of the
          SF424(R&R) Application Package. Failure to register in the Commons and to include a valid PD/PI Commons ID in the
          credential field will prevent the successful submission of an electronic application to NIH.

          The applicant organization must ensure that the DUNS number it provides on the application is the same number used in the
          organization’s profile in the eRA Commons and for the System for Award Management (SAM). Additional information may be
          found in the SF424 (R&R) Application Guide.

          See more tips (//grants.nih.gov/grants/guide/url_redirect.htm?id=11146) for avoiding common errors.

      Upon receipt, applications will be evaluated for completeness and compliance with application instructions by the Center for
      Scientific Review, NIH, and NIGMS. Applications that are incomplete or non-compliant will not be reviewed.

      Applicants Requesting $500,000 or more for direct costs (less consortium F&A) in any year
      Applicants requesting $500,000 or more in direct costs in any year are not required to contact a Scientific/ Research Contact prior
      to submitting an application. The Policy on the Acceptance for Review of Unsolicited Applications that Request $500,000 or More in
      Direct Costs as described in the SF424 (R&R) Application Guide is not applicable to this FOA.

      Post Submission Materials
      Applicants are required to follow the instructions for post-submission materials, as described in the policy
      (//grants.nih.gov/grants/guide/url_redirect.htm?id=82299).


      Section V. Application Review Information
      1. Criteria
      Only the review criteria described below will be considered in the review process.

      Applications submitted to the NIH in support of the NIH mission (//grants.nih.gov/grants/guide/url_redirect.htm?id=11149) are
      evaluated for scientific and technical merit through the NIH peer review system.

      Overall Impact
      Reviewers will provide an overall impact score to reflect their assessment of the likelihood that the proposed training program will
      produce a diverse pool of well-trained scientists with the technical (e.g., appropriate methods, technologies, and
      quantitative/computational approaches), operational (e.g., independent knowledge acquisition, rigorous experimental design, and
      interpretation of data), and professional (e.g., management, leadership, communication, and teamwork) skills necessary to conduct
      rigorous and reproducible research, and transition into careers in the biomedical research workforce, in consideration of the
      following review criteria and additional review criteria (as applicable for the program proposed).

      Specifically, do the courses, structured training activities, mentoring, and research experiences equip the trainees with:

             A broad understanding across biomedical disciplines;
             Expertise in a basic biomedical scientific discipline and the skills to independently acquire the knowledge needed to advance
             their chosen fields;
             The ability to think critically and independently, and to identify important biomedical research questions and approaches that
             push forward the boundaries of their areas of study;
             A strong foundation in scientific reasoning, rigorous research design, experimental methods, quantitative and computational
             approaches, and data analysis and interpretation;
             The skills to conduct research in the safest manner possible, and a commitment to approaching biomedical research
             responsibly, ethically, and with integrity;
             Experience initiating, conducting, interpreting, and presenting rigorous and reproducible biomedical research with increasing
             self-direction;
             The ability to work effectively in teams with colleagues from a variety of cultural and scientific backgrounds, and to promote
             inclusive and supportive scientific research environments;


  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                               22/33
                                                                                                                      APHA App. 384
Case: 25-1611              Document: 00118310432                    Page: 388           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical77
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
             The skills to teach and communicate scientific research methodologies and findings to a wide variety of audiences (e.g.,
             discipline-specific, across disciplines, and the public); and
             The knowledge, professional skills and experiences required to identify and transition into careers in the biomedical research
             workforce (i.e., the breadth of careers that sustain biomedical research in areas that are relevant to the NIH mission).

      Scored Review Criteria
      Reviewers will consider each of the review criteria below in the determination of the merit of the training program and give a
      separate score for each. An application does not need to be strong in all categories to be judged likely to have major scientific
      impact.

          Training Program and Environment
          Rationale, Mission, and Objectives

             Does the application provide a compelling rationale for the proposed research training program?
             Does the proposed program demonstrate the presence of a sufficient pool of potential trainees in appropriate disciplines
             (Table 1), program faculty with the appropriate scientific expertise (Tables 2 and 4), and resources to achieve the training
             objectives (Table 3)?
             Are the mission and objectives for the training program specific and measurable and in alignment with the goal of producing a
             diverse pool of well-trained scientists with the technical, operational, and professional skills necessary to transition into
             careers in the biomedical research workforce?




          Curriculum and Overall Training Plan

             Will the courses, structured training activities, mentoring, and research experiences achieve the stated mission and objectives
             of the training program?
             Does the application propose changes in the program’s research training and mentoring practices to effectively address the
             rapidly evolving biomedical research enterprise and current understanding of evidence-informed training and mentoring
             approaches?
             Is the mechanism for ensuring that the trainees are learning the highest standards of practice in biomedical research (e.g.,
             record keeping and safety) robust?
             Will the Participating Faculty teach laboratory safety throughout the didactic and mentored portions of the program?
             Does the training program plan provide a compelling explanation of how the courses, structured training activities, mentoring,
             and research experiences employ modern, evidence-informed approaches that are likely to enhance the success of the
             trainees?
             Are the activities likely to build a strong cohort of research-oriented individuals while enhancing the science identity, self-
             efficacy, and a sense of belonging among the cohort members?
             Do the required and elective training elements (e.g., syllabi, course descriptions) provide compelling evidence that the
             trainees will gain the requisite skills for the discipline in a timely fashion and that there are mechanisms to ensure that the
             trainees will be guided, monitored, and evaluated?
             Are there plans to accommodate differences in preparation among trainees?
             Is it clear how the proposed program will enhance the research training environment and not simply provide financial
             assistance for the trainees?
             Is it clear how the training activities will be available to other students in the program(s), department(s), or institution(s) from
             which the trainees are drawn?
             For multi-disciplinary and/or multi-departmental programs, is it clear how the individual disciplinary and/or departmental
             components of the program are integrated and coordinated, and how each will relate to an individual trainee's experience?
             If applicable, is the proposed program distinct from, but planning to share resources and synergize with other NIGMS-funded
             predoctoral training programs at the institution (listed in Training Table 3, and reinforced in the Institutional Support Letter)?




          Career Development




  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                 23/33
                                                                                                                      APHA App. 385
Case: 25-1611              Document: 00118310432                    Page: 389           Date Filed: 07/08/2025                  Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical78
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
             Will the applicants and trainees be provided with information about the career outcomes of graduates of the program and
             about the overall biomedical research workforce employment landscape?
             Will the trainees be provided with adequate and appropriate information regarding the wide variety of careers in the
             biomedical research workforce for which their training may be useful?
             Will the program engage with potential employers to ensure that the trainees acquire the appropriate skills, knowledge, and
             steps needed to attain positions in the sectors of the biomedical research workforce that are of interest to them?
             Will the training program or institution provide experiential learning opportunities (e.g. internships, shadowing, informational
             interviews) that allow trainees to develop the professional skills and networks necessary to transition into careers in the
             biomedical research workforce?



          Program Oversight, Participating Faculty Selection, and Mentor Training

             Does the application describe an effective strategy and administrative structure to oversee and monitor the program to ensure
             appropriate and timely trainee progress for the duration of the trainees' graduate careers?
             Is selection of the program faculty based on a commitment to training and mentoring, and not simply research productivity?
             Will the participating faculty be trained to ensure the use of evidence-informed teaching and mentoring practices that promote
             the development of trainees from all backgrounds?
             Do the participating faculty have a record of employing the highest standards of rigor and transparency in their research, and
             plans to impart those standards to their trainees?
             Will the program ensure that program faculty reinforce and augment the curricular material on responsible conduct of
             research, and methods for enhancing reproducibility?
             Is there a clear mechanism for matching the trainees with appropriate program faculty (e.g., laboratory rotations, faculty
             forums and interviews)?
             Is there a plan to ensure that the participating faculty engage in activities that promote trainee career development (including
             but not limited to the utilization of Individual Development Plans), and fulfill the need of the trainees to obtain their Ph.D.
             degrees in a timely fashion with the skills, credentials and experiences to transition into careers in the biomedical research
             workforce that are consistent with the trainees' interests, and values?
             Is there an effective mechanism to monitor mentoring, including oversight of the effectiveness of the trainee/participating
             faculty match, and a plan for removing participating faculty displaying unacceptable mentorship qualities from the training
             program?
             If a program coordinator or administrator position is planned, will the person's administrative capabilities contribute to the
             success of the program?


          Institutional and Departmental Commitment to the Program

             Will the institutional and departmental commitment to research and training excellence promote the success of the trainees
             and training program?
             Is there a clear institutional commitment to develop and promote a culture in which the highest standards of safety, scientific
             rigor, reproducibility, and responsible conduct of research are advanced?
             Does the institution provide sufficient start-up funding to permit early stage faculty to participate in training, and bridge funding
             to ensure that training may continue if a mentor experiences a hiatus in funds?
             Are the core facilities and technology resources necessary for the success of the program well supported?
             Is there adequate support of the PD(s)/PI(s) and other key staff, facilities, and educational resources associated with the
             training program?
             Do participating faculty have sufficient protected time available to devote to the training and mentoring activities?
             Is there evidence that the institution rewards excellence in training and mentoring through institutional policies?
             Does the institution support the remediation or removal of Participating Faculty from the program who are poorly performing
             mentors?
             Are diversity and inclusion efforts promoted at all levels of the research training environment (trainees, staff, faculty, and
             leadership)?
             Does the institution promote a positive, supportive, safe and inclusive research and training environment for individuals from
             all backgrounds?
             Is there evidence that the research facilities and laboratory practices ensure the safety of trainees?
             Is a process in place to address access issues for trainees with identified disabilities?
             Are appropriate policies and procedures in place to protect trainees from harassment and other prohibited practices?

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                  24/33
                                                                                                                      APHA App. 386
Case: 25-1611              Document: 00118310432                    Page: 390           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical79
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
             Is there evidence of an institutional commitment to providing the trainees access to student support services, such as health
             care, counseling services, and housing?
             Is there a commitment to ensure that trainees will continue to be supported when they transition from the training grant to
             other sources of support?
             Are the resources and expertise for evaluating the current and future training outcomes of the program appropriate?
             Does the program plan describe the changes the graduate program(s), department(s) and/or the institution(s) will make to
             better support the goals of the training program?


          Training Program Director(s)/Principal Investigator(s) (PD(s)/PI(s))
             Do the PD(s)/PI(s) have the scientific expertise, and administrative and training experience to provide strong leadership,
             direction, management, and administration of the proposed research training program?
             Do the PD(s)/PI(s) have the time to commit sufficient effort to ensure the program's success, given their other professional
             obligations?
             Does at least one member of the PD/PI team have a demonstrated record of using rigorous and transparent methods in
             experimental design, data collection, analysis, and reporting in the proposed scientific field?
             Have the PD(s)/PI(s) received training on how to effectively mentor trainees, including those from underrepresented groups,
             and promote inclusive, safe, and supportive research training environments?
             Do the PD(s)/PI(s) have a demonstrated commitment to training the next generation of the biomedical research workforce,
             leading recruitment efforts to enhance diversity, and fostering inclusive research environments?
             Is there a strong administrative structure and leadership succession plan for critical positions (e.g., PD/PI)?


          For applications designating multiple PD(s)/PI(s):

             Will the multiple PD/PI leadership approach benefit the trainees and enhance the ability of the program to achieve its training
             goals?
             Is there a clear leadership plan including the designated roles and responsibilities, governance, conflict resolution procedures,
             and organizational structure (see Multiple PD/PI Leadership Plan section)?


          Preceptors/Mentors (Participating Faculty)
             Do the participating faculty describe a compelling commitment to rigorous and unbiased experimental design, methodology,
             analysis, interpretation, and reporting of results?
             Do the participating faculty describe a compelling commitment to ethically sound and responsible scientific research?
             Do the participating faculty have plans to promote the use of highest standards of practice to ensure the safety of all
             individuals in the research environment?
             Do the selected program faculty come from various backgrounds, for example, individuals from groups underrepresented in
             the biomedical sciences, women, as well as faculty at different career stages (i.e., junior and senior faculty)? If not, are there
             plans to recruit faculty to enhance the diversity?
             Do the participating faculty have the time to commit sufficient effort to ensure trainee development and success, given their
             other professional obligations?
             Is there evidence that the participating faculty cooperate, interact, and collaborate (which can include joint sponsorship of
             trainee research)?
             Do the participating faculty provide opportunities for trainees to initiate, conduct, interpret, and present rigorous and
             reproducible biomedical research with increasing self-direction?
             Do the participating faculty have plans for ensuring their trainees develop skills in approaches to experimental design, as well
             as methods of data collection, analysis, interpretation, and reporting?
             Do the participating faculty demonstrate a commitment to effective mentoring, and promoting inclusive, safe, and supportive
             scientific and training environments?
             Are the participating faculty willing to engage in activities to promote the trainees career goals and to support trainees
             participating in activities required to identify and transition into careers in the biomedical research workforce that are
             consistent with the trainees' skills, interests, and values?
             Do the participating faculty have a commitment to fulfilling the need of the trainees to obtain their Ph.D. degrees in a timely
             fashion with the skills, credentials, and experiences to transition into careers in the biomedical research workforce?



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                25/33
                                                                                                                      APHA App. 387
Case: 25-1611              Document: 00118310432                    Page: 391           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical80
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)

          Application Process, Trainee Positions, Retention, and Support
          Application Process

             Is a candidate review process proposed that will allow a broad group of trainees, who have taken advantage of the research
             opportunities available to them and are committed to contributing to the biomedical research enterprise, the ability to
             participate in the training program? Does the process consider metrics beyond undergraduate institution, GPA, and
             standardized test scores?
             If the program trainees are drawn from multiple departments, is the review process consistent across all relevant
             departments?
             Is the training program’s approach to recruiting and admitting students appropriate (e.g., direct admissions as first year Ph.D.
             students into the program versus appointment of students admitted to other departments or Ph.D. programs)?


          Funded Positions

             Does the application provide a strong justification for the number of requested funded trainee positions given the pool of
             potential trainees, the size of the proposed program, the number of participating faculty, and other NIGMS funded training
             programs?
             Are there well-defined and justified selection and re-appointment criteria for trainees in the training program?
             Are trainees being appointed at the appropriate stage in order to most strongly benefit from the training program (e.g., in the
             first three years)?

          Retention and Support

             Is there an adequate, evidence-informed retention plan to ensure the well-being and success of all trainees throughout their
             graduate training (see the "Trainee Retention Plan" attachment)?
             Does the institution have the resources to support trainees for the duration of their graduate careers?




          Training Record


          Training Outcomes for Trainees (renewals) or Training Grant Eligible Pool (new applications)

             Does the application provide evidence the trainees (or training grant eligible pool) conducted rigorous research that advanced
             scientific knowledge and/or technologies with increasing self-direction (e.g., peer-reviewed publications listed in Table 5A, and
             other accomplishments appropriate to the field)?
             Does the rate of Ph.D. degree attainment and time-to-degree for the trainees (or training grant eligible pool) indicate that
             these students completed their degrees at a high rate in a timely fashion (Training Table 8A)?
             Are completion rates, time-to-degree, and scholarly outcomes for the trainees (or training grant eligible pool) from
             underrepresented groups (see Notice of NIH's Interest in Diversity (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-
             20-031.html)) comparable to those from well-represented groups?
             Are the trainees (or individuals in the training grant eligible pool) transitioning to careers in the biomedical research workforce
             (i.e., the breadth of careers involved in the conduct and support of biomedical research in areas that are relevant to the NIH
             mission; Training Table 8A)?

          Program Evaluation

             Is there a well thought out evaluation or assessment plan to determine whether the overall program is effective in meeting its
             training mission and objectives, and whether the training and scientific research climates are inclusive and supportive of
             trainee development (narrative and "Evaluation and Assessment Instruments" Appendix)?
             Is there evidence that the program has been and/or will be responsive to outcomes, critiques and evaluations?
             Does the training program have an appropriate plan to track trainee outcomes and make the data publicly available (e.g., on
             the institution's website)?

      Additional Review Criteria
      As applicable for the project proposed, reviewers will evaluate the following additional items while determining scientific and
      technical merit, and in providing an overall impact score, but will not give separate scores for these items.


  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                 26/33
                                                                                                                      APHA App. 388
Case: 25-1611              Document: 00118310432                    Page: 392           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical81
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)

          Training in Methods for Enhancing Reproducibility
          Does the Instruction in Methods for Enhancing Reproducibility plan describe how trainees will be instructed in principles
          important for enhancing research reproducibility including, at a minimum, evaluation of foundational research underlying a
          project, rigorous experimental design and data analysis, consideration of relevant biological variables such as sex,
          authentication of key biological and/or chemical resources, data and material sharing, record keeping, and transparency in
          reporting? Are the rigor and transparency components sufficiently well integrated into the overall curriculum? Are they taught at
          multiple stages of trainee development and in a variety of formats and contexts? Does the teaching synergize with elements of
          the curriculum designed to enhance trainees' abilities to conduct responsible research? Is there evidence that all participating
          faculty reiterate and augment key elements of methods for enhancing reproducibility when trainees are performing mentored in
          research their laboratories? The plan will be rated as ACCEPTABLE or UNACCEPTABLE, and the summary statement will
          provide the consensus of the review committee.

          Recruitment Plan to Enhance Diversity
          Peer reviewers will separately evaluate the recruitment plan to enhance diversity after the overall score has been determined.
          Reviewers will examine the strategies to be used in the recruitment of prospective individuals from underrepresented groups.
          The plan will be rated as ACCEPTABLE or UNACCEPTABLE, and the consensus of the review committee will be included in an
          administrative note in the summary statement.

          Training in the Responsible Conduct of Research
          All applications for support under this FOA must include a plan to fulfill NIH requirements for instruction in the Responsible
          Conduct of Research (RCR). Taking into account the specific characteristics of the training program, the level of trainee
          experience, and the particular circumstances of the trainees, the reviewers will evaluate the adequacy of the proposed RCR
          training in relation to the following five required components: 1) Format - Does the plan satisfactorily address the format of
          instruction, e.g. lectures, coursework and/or real-time discussion groups, including face-to-face interaction? (A plan involving
          only on-line instruction is not acceptable); 2) Subject Matter Does the plan include a sufficiently broad selection of subject
          matter, such as conflict of interest, authorship, data management, human subjects and animal use, laboratory safety, research
          misconduct, and research ethics? 3) Faculty Participation - Does the plan adequately describe how faculty will participate in
          the instruction? For renewal applications, are all training faculty who served as course directors, speakers, lecturers, and/or
          discussion leaders during the past project period named in the application? 4) Duration of Instruction - Does the plan meet the
          minimum requirements for RCR, i.e., at least eight contact hours of instruction? 5) Frequency of Instruction Does the plan
          meet the minimum requirements for RCR, i.e., at least once during each career stage (undergraduate, post-baccalaureate,
          predoctoral, postdoctoral, and faculty levels) and at a frequency of no less than once every four years?

          Are the RCR components sufficiently well integrated into the overall curriculum? Are they taught at multiple stages of trainee
          development and in a variety of formats and contexts? Does the teaching of RCR synergize with elements of the curriculum
          designed to enhance trainees' abilities to conduct rigorous and reproducible research? Is there evidence that all participating
          faculty reiterate and augment key elements of responsible conduct when trainees are performing mentored research their
          laboratories?

          Plans and past record will be rated as ACCEPTABLE or UNACCEPTABLE, and the summary statement will provide the
          consensus of the review committee.

          Protections for Human Subjects
          Generally not applicable. Reviewers should bring any concerns to the attention of the Scientific Review Officer.

          Inclusion of Women, Minorities, and Individuals Across the Lifespan
          Generally not applicable. Reviewers should bring any concerns to the attention of the Scientific Review Officer.

          Vertebrate Animals
          Generally not applicable. Reviewers should bring any concerns to the attention of the Scientific Review Officer.

          Biohazards
          Generally not applicable. Reviewers should bring any concerns to the attention of the Scientific Review Officer.

          Resubmissions

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                27/33
                                                                                                                      APHA App. 389
Case: 25-1611              Document: 00118310432                    Page: 393           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical82
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
          For Resubmissions, the committee will evaluate the application as now presented, taking into consideration the responses to
          comments from the previous scientific review group and changes made to the project. Undue weight should not be given for
          simply responding to previous comments; instead the content of the responses and how the application project will be improved
          by any proposed changes should be considered.

          Renewals
          For Renewals, the committee will consider the progress made in the last funding period, including on the Training in Methods for
          Enhancing Reproducibility Plan, Recruitment Plan to Enhance Diversity, and Training in the Responsible Conduct of Research
          Plan.

             Did the training grant team successfully implement the proposed programmatic elements?
             Is the program achieving its training objectives?
             Is there evidence that the training environment is inclusive, safe, and supportive?
             Has the program evaluated the quality and effectiveness of the training experience, and is there evidence that the evaluation
             outcomes and feedback from trainees have been acted upon?
             Are changes proposed that are likely to improve or strengthen the research training experience during the next project
             period?
             Does the program continue to evolve to reflect changes in the research area in which the training occurs and current
             evidence-informed training and mentoring approaches?
             Is the program having a broader impact (e.g., are students beyond the trainees directly supported by the program being
             positively impacted by the program's presence, are training practices and outcomes being shared with the broader biomedical
             training community)?

          Revisions
          Not Applicable

      Additional Review Considerations
      As applicable for the project proposed, reviewers will consider each of the following items, but will not give scores for these items,
      and should not consider them in providing an overall impact score.

          Select Agent Research
          Generally not applicable. Reviewers should bring any concerns to the attention of the Scientific Review Officer.

          Budget and Period of Support
          Reviewers will consider whether the budget and the requested period of support are fully justified and reasonable in relation to
          the proposed research.


      2. Review and Selection Process
      Applications will be evaluated for scientific and technical merit by (an) appropriate Scientific Review Group(s), convened by the
      NIGMS Scientific Review (https://www.nigms.nih.gov/training/pages/ReviewProcess.aspx) Branch in accordance with NIH peer
      review policy and procedures (//grants.nih.gov/grants/guide/url_redirect.htm?id=11154), using the stated review criteria. Assignment
      to a Scientific Review Group will be shown in the eRA Commons.

      As part of the scientific peer review, all applications:

             May undergo a selection process in which only those applications deemed to have the highest scientific and technical merit
             (generally the top half of applications under review) will be discussed and assigned an overall impact score.
             Will receive a written critique.

      Applications will be assigned on the basis of established PHS referral guidelines to the appropriate NIH Institute or Center.
      Applications will compete for available funds with all other recommended applications. Following initial peer review, recommended
      applications will receive a second level of review by the National Advisory General Medical Sciences Council. The following will be
      considered in making funding decisions:

             Scientific and technical merit of the proposed project as determined by scientific peer review.
             Availability of funds.
             Relevance of the proposed project to program priorities.

  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                 28/33
                                                                                                                      APHA App. 390
Case: 25-1611              Document: 00118310432                    Page: 394           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical83
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
             Geographic distribution of the NIGMS training grant portfolio.

      3. Anticipated Announcement and Award Dates
      After the peer review of the application is completed, the PD/PI will be able to access his or her Summary Statement (written
      critique) via the eRA Commons (//grants.nih.gov/grants/guide/url_redirect.htm?id=11123). Refer to Part 1 for dates for peer review,
      advisory council review, and earliest start date

      Information regarding the disposition of applications is available in the NIH Grants Policy Statement
      (//grants.nih.gov/grants/guide/url_redirect.htm?id=11156).


      Section VI. Award Administration Information
      1. Award Notices
      If the application is under consideration for funding, NIH will request "just-in-time" information from the applicant as described in the
      NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.htm?id=11157).

      A formal notification in the form of a Notice of Award (NoA) will be provided to the applicant organization for successful applications.
      The NoA signed by the grants management officer is the authorizing document and will be sent via email to the grantee’s business
      official.

      Awardees must comply with any funding restrictions described in Section IV.5. Funding Restrictions. Selection of an application for
      award is not an authorization to begin performance. Any costs incurred before receipt of the NoA are at the recipient's risk. These
      costs may be reimbursed only to the extent considered allowable pre-award costs.

      Any application awarded in response to this FOA will be subject to terms and conditions found on the Award Conditions and
      Information for NIH Grants (//grants.nih.gov/grants/guide/url_redirect.htm?id=11158) website. This includes any recent legislation
      and policy applicable to awards that is highlighted on this website.

      2. Administrative and National Policy Requirements
      All NIH grant and cooperative agreement awards include the NIH Grants Policy Statement
      (//grants.nih.gov/grants/guide/url_redirect.htm?id=11120) as part of the NoA. For these terms of award, see the NIH Grants Policy
      Statement Part II: Terms and Conditions of NIH Grant Awards, Subpart A: General (//grants.nih.gov/grants/guide/url_redirect.htm?
      id=11157) and Part II: Terms and Conditions of NIH Grant Awards, Subpart B: Terms and Conditions for Specific Types of Grants,
      Grantees, and Activities (//grants.nih.gov/grants/guide/url_redirect.htm?id=11159). More information is provided at Award Conditions
      and Information for NIH Grants (//grants.nih.gov/grants/guide/url_redirect.htm?id=11158).

      Recipients of federal financial assistance (FFA) from HHS must administer their programs in compliance with federal civil rights laws
      that prohibit discrimination on the basis of race, color, national origin, disability, age and, in some circumstances, religion,
      conscience, and sex. This includes ensuring programs are accessible to persons with limited English proficiency. The HHS Office for
      Civil Rights provides guidance on complying with civil rights laws enforced by HHS. Please see https://www.hhs.gov/civil-rights/for-
      providers/provider-obligations/index.html (https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html) and
      http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html
      (https://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html).

      HHS recognizes that research projects are often limited in scope for many reasons that are nondiscriminatory, such as the principal
      investigator s scientific interest, funding limitations, recruitment requirements, and other considerations. Thus, criteria in research
      protocols that target or exclude certain populations are warranted where nondiscriminatory justifications establish that such criteria
      are appropriate with respect to the health or safety of the subjects, the scientific study design, or the purpose of the research. For
      additional guidance regarding how the provisions apply to NIH grant programs, please contact the Scientific/Research Contact that
      is identified in Section VII under Agency Contacts of this FOA.

             Recipients of FFA must ensure that their programs are accessible to persons with limited English proficiency. HHS provides
             guidance to recipients of FFA on meeting their legal obligation to take reasonable steps to provide meaningful access to their
             programs by persons with limited English proficiency. Please see https://www.hhs.gov/civil-rights/for-individuals/special-
             topics/limited-english-proficiency/fact-sheet-guidance/index.html (https://www.hhs.gov/civil-rights/for-individuals/special-
             topics/limited-english-proficiency/fact-sheet-guidance/index.html) and https://www.lep.gov (https://www.lep.gov). For further
             guidance on providing culturally and linguistically appropriate services, recipients should review the National Standards for
  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                    29/33
                                                                                                                      APHA App. 391
Case: 25-1611              Document: 00118310432                    Page: 395           Date Filed: 07/08/2025                 Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical84
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)
             Culturally and Linguistically Appropriate Services in Health and Health Care at
             https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=2&lvlid=53 (https://minorityhealth.hhs.gov/omh/browse.aspx?
             lvl=2&lvlid=53).
             Recipients of FFA also have specific legal obligations for serving qualified individuals with disabilities. Please see
             http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html
             (https://www.hhs.gov/ocr/civilrights/understanding/disability/index.html).

             HHS funded health and education programs must be administered in an environment free of sexual harassment. Please see
             https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html (https://www.hhs.gov/civil-rights/for-
             individuals/sex-discrimination/index.html); https://www2.ed.gov/about/offices/list/ocr/docs/shguide.html; and
             https://www.eeoc.gov/eeoc/publications/upload/fs-sex.pdf (https://www.eeoc.gov/eeoc/publications/upload/fs-sex.pdf). For
             information about NIH's commitment to supporting a safe and respectful work environment, who to contact with questions or
             concerns, and what NIH's expectations are for institutions and the individuals supported on NIH-funded awards, please see
             https://grants.nih.gov/grants/policy/harassment.htm (https://grants.nih.gov/grants/policy/harassment.htm).
             Recipients of FFA must also administer their programs in compliance with applicable federal religious nondiscrimination laws
             and applicable federal conscience protection and associated anti-discrimination laws. Collectively, these laws prohibit
             exclusion, adverse treatment, coercion, or other discrimination against persons or entities on the basis of their consciences,
             religious beliefs, or moral convictions. Please see https://www.hhs.gov/conscience/conscience-protections/index.html
             (https://www.hhs.gov/conscience/conscience-protections/index.html) and https://www.hhs.gov/conscience/religious-
             freedom/index.html (https://www.hhs.gov/conscience/religious-freedom/index.html).

      Please contact the HHS Office for Civil Rights for more information about obligations and prohibitions under federal civil rights laws
      at https://www.hhs.gov/ocr/about-us/contact-us/index.html (https://www.hhs.gov/ocr/about-us/contact-us/index.html) or call 1-800-
      368-1019 or TDD 1-800-537-7697.

      In accordance with the statutory provisions contained in Section 872 of the Duncan Hunter National Defense Authorization Act of
      Fiscal Year 2009 (Public Law 110-417), NIH awards will be subject to the Federal Awardee Performance and Integrity Information
      System (FAPIIS) requirements. FAPIIS requires Federal award making officials to review and consider information about an
      applicant in the designated integrity and performance system (currently FAPIIS) prior to making an award. An applicant, at its option,
      may review information in the designated integrity and performance systems accessible through FAPIIS and comment on any
      information about itself that a Federal agency previously entered and is currently in FAPIIS. The Federal awarding agency will
      consider any comments by the applicant, in addition to other information in FAPIIS, in making a judgement about the applicant’s
      integrity, business ethics, and record of performance under Federal awards when completing the review of risk posed by applicants
      as described in 45 CFR Part 75.205 Federal awarding agency review of risk posed by applicants. This provision will apply to all NIH
      grants and cooperative agreements except fellowships.

      Institutional NRSA training grants must be administered in accordance with the current NRSA section of the NIH Grants Policy
      Statement - Institutional Research Training Grants (//grants.nih.gov/grants/guide/url_redirect.htm?id=61170).

      The taxability of stipends is described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.htm?id=41171).
      Policies regarding the Ruth L. Kirschstein-NRSA payback obligation are explained in the NIH Grants Policy Statement
      (//grants.nih.gov/grants/guide/url_redirect.htm?id=41171).

      Inventions and Copyrights
      Awards made primarily for educational purposes are exempted from the PHS invention requirements and thus invention reporting is
      not required, as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.htm?id=61131).

      Cooperative Agreement Terms and Conditions of Award
      Not Applicable

      3. Reporting
      When multiple years are involved, awardees will be required to submit the Research Performance Progress Report (RPPR)
      (//grants.nih.gov/grants/rppr/index.htm) annually. Continuation support will not be provided until the required forms are submitted and
      accepted.

      Failure by the grantee institution to submit required forms in a timely, complete, and accurate manner may result in an expenditure
      disallowance or a delay in any continuation funding for the award.



  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                 30/33
                                                                                                                      APHA App. 392
Case: 25-1611            Document: 00118310432                     Page: 396             Date Filed: 07/08/2025                   Entry ID: 6734280

   4/21/25, 6:51PM     Case 1:25-cv-10787-BEM
                       Case 1:25-C\ExbO:48ARBEOS: inilaoe tennanibiZky
                                                     Document          2iddent Filed
                                                                   38-23       BéleepA4i2ik&th
                                                                                     04/25/25 (732PPage
                                                                                                    aig@aBinalhicBAlowed)
                                                                                                          85 of 89
       The Federal Funding Accountability and Transparency Act of 2006 (Transparency Act), includes a requirement for awardees of
       Federal grants to report information about first-tier subawards and executive compensation under Federal assistance awards issued
       in FY2011 or later. All awardees of applicable NIH grants and cooperative agreements are required to report to the Federal
       Subaward      Reporting System (FSRS) available at www.fsrs.gov (//grants.nih.gov/grants/guide/url_redirect.htm?id=11170) on all
       subawards over $25,000. See the N/H Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.htm?id=11171) for
       additional information on this reporting requirement.

       Other Reporting Requirements
            e The institution must submit a completed Statement of Appointment (PHS Form 2271
              (/grants.nih.gov/grants/guide/url_redirect.htm?id=61189)) for each trainee appointed or reappointed to the training grant for 8
              weeks or more. Grantees must submit the PHS 2271 data electronically using the xTrain system. More information on xTrain
              is available at xTrain (eRA Commons) (//grants.nih.gov/grants/guide/url_redirect.htm?id=41183). An appointment or
                reappointment may begin any time during the budget period, but not before the budget period start date of the grant year.
            « Anotarized statement verifying possession of permanent residency documentation must be submitted with the Statement of
              Appointment (PHS Form 2271 (//grants.nih.gov/grants/guide/url_redirect.htm?id=61189)). Individuals with a Conditional
              Permanent Resident status must first meet full (non-conditional) Permanent Residency requirements before receiving
              support.
            e Termination Notice: Within 30 days of the end of the total support period, the institution must submit a Termination Notice
                (PHS Form 416-7 (//grants.nih.gov/grants/guide/url_redirect.htm?id=41179)) via xTrain
                (/grants.nih.gov/grants/guide/url_redirect.htm?id=41183) for each trainee appointed for eight weeks or more.

       Afinal RPPR, the expenditure data portion of the Federal Financial Report, and Termination Notices for all Trainees, are required for
       closeout of an award as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.htm?id=11161).

       In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part 75, recipients that have
       currently active Federal grants, cooperative agreements, and procurement contracts from all Federal awarding agencies with a
       cumulative total value greater than $10,000,000 for any period of time during the period of performance of a Federal award, must
       report and maintain the currency of information reported in the System for Award Management (SAM) about civil, criminal, and
       administrative proceedings in connection with the award or performance of a Federal award that reached final disposition within the
       most recent five-year period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
       information will be made publicly available in the designated integrity and performance system (currently FAPIIS). This is a statutory
       requirement under section 872 of Public Law 110-417, as amended        (41 U.S.C. 2313). As required by section 3010 of Public Law
       111-212, all information posted in the designated integrity and performance system on or after April 15, 2011, except past
       performance reviews required for Federal procurement contracts, will be publicly available. Full reporting requirements and
       procedures are found in Appendix XII to 45 CFR Part 75 Award Term and Conditions for Recipient Integrity and Performance
       Matters.

       4. Evaluation
       In carrying out its stewardship of human resource-related programs, the NIH may request information essential to an assessment of
       the effectiveness of this program from databases and from participants themselves. Trainees may be contacted after the completion
       of this award for periodic updates on various aspects of their employment history, publications, support from research grants or
       contracts, honors and awards, professional activities, and other information helpful in evaluating the impact of the program.

       Within 10 years of making awards under this program, NIGMS will assess the program's overall outcomes.

       The overall evaluation of the program will be based on metrics that will include, but are not limited to, the following:

            ¢   Institution types represented
            ¢   Geographical distribution of programs
            e   Demographics of trainees
            e   Trainee Ph.D. completion rates
            e   Time-to-degree
            e Scientific accomplishments of trainees
            e Trainee career outcomes


       Section VII. Agency Contacts
       We encourage inquiries concerning this funding opportunity and welcome the opportunity to answer questions from potential
       applicants.

   https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                                 31/33


                                                                                                                        APHA App. 393
Case: 25-1611              Document: 00118310432                     Page: 397        Date Filed: 07/08/2025                 Entry ID: 6734280

   4/21/25, 6:51PM    Case 1:25-cv-10787-BEM
                      Case 1:25-C\ExbO:48xRBEIS: inilaoe tennanibiZky
                                                    Document          2iddent Filed
                                                                  38-23       BéledpA4i2 ith (732PPage
                                                                                    04/25/25       aig@aBKGaliicBAlowed)
                                                                                                         86 of 89


       Application Submission Contacts
       eRA Commons Help Desk (Questions regarding ASSIST, eRA Commons, application errors and warnings, documenting system
       problems that threaten submission by the due date, and post-submission issues)
       Finding Help Online: http://grants.nih.gov/support/ (//grants.nih.gov/support/) (preferred method of contact)

       Telephone: 301-402-7469 or 866-504-9552 (Toll Free)

       General Grants Information (Questions regarding application instructions, application processes, and NIH grant resources)
       Email: Grantsinfo@nih.gov (mailto:GrantsInfo@nih.gov) (preferred method of contact)
       Telephone: 301-637-3015

       Grants.gov Customer Support (Questions regarding Grants.gov registration and Workspace)
       Contact Center Telephone: 800-518-4726
       Email: support@grants.gov (mailto:support@grants.gov)

       Scientific/Research Contact(s)
       Shakira Nelson, Ph.D.
       National Institute of General Medical Sciences (NIGMS)
       Email: shakira.nelson@nih.gov (mailto:shakira.nelson@nih.gov)

       Mercedes Rubio, Ph.D.
       National Institute of General Medical Sciences (NIGMS)
       Email:   rubiome@mail.nih.gov      (mailto:rubiome@mail.nih.gov)

       Peer Review Contact(s)
       Stephanie Constant, Ph.D.
       National Institute of General Medical Sciences
       Email: stephanie.constant@nih.gov (mailto:stephanie.constant@nih.gov)

       Financial/Grants Management Contact(s)
       Justin Rosenzweig
       National Institute of General Medical Sciences
       Email: rosenzwj@nigms.nih.gov (mailto:rosenzwj@nigms.nih.gov ),



       Section VIII. Other Information

       submission. A full list of policy notices published by NIH is provided in the N/H Guide for Grants and Contracts
       (/grants.nih.gov/grants/guide/url_redirect.htm?id=11164). All awards are subject to the terms and conditions, cost principles, and
       other considerations described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.htm?id=11120).

       Authority and Regulations
       Awards are made under the authorization of Section 487 of the Public Health Service Act as amended (42 USC 288) and under
       Federal Regulations 42 CFR 66.



       Weekly TOC for this Announcement (/grants/guide/WeeklyIndex.cfm?11-20-20)
      NIH Funding Opportunities and Notices (/grants/guide/index.html)




                          National Institutes of Health _(/grants/oer.htm)
                          Office of Extramural Research

                     ( @    (https:/www.hhs.gov/) Department of Health
                     sa                                and Human Services (HHS)



   https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                             32/33


                                                                                                                    APHA App. 394
Case: 25-1611              Document: 00118310432                      Page: 398          Date Filed: 07/08/2025                Entry ID: 6734280

  4/21/25, 6:51 PM   Case 1:25-cv-10787-BEM             Document
                                Expired PAR-21-025: Initiative           38-23
                                                               for Maximizing         Filed 04/25/25
                                                                              Student Development (IMSD) (T32Page
                                                                                                             - Clinical87
                                                                                                                        Trialof 89
                                                                                                                              Not Allowed)


                                                                              (https://www.usa.gov/)


                                                            NIH... Turning Discovery Into Health®




  https://grants.nih.gov/grants/guide/pa-files/PAR-21-025.html                                                                               33/33
                                                                                                                      APHA App. 395
Case: 25-1611   Document: 00118310432   Page: 399   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-23
                                  Document 38-23    Filed 04/25/25
                                                    Filed 04/25/25   Page 88
                                                                     Page 88 of
                                                                             of 89
                                                                                89




                        EXHIBIT
                        EXHIBIT D




                                                                        APHA App. 396
Case: 25-1611       Document: 00118310432                  Page: 400   Date Filed: 07/08/2025   Entry ID: 6734280

            Case 1:25-cv-10787-BEM                Document 38-23       Filed 04/25/25   Page 89 of 89


         From:           Gibbs, Kenneth (NIH/NIGMS) [E]
         To:
         Subject:        [External] NIGMS Funding Update
         Date:           Wednesday, April 2, 2025


        Re:
        Dear Dr.
        I am writing to let you know that due to changes in NIH/HHS priorities, the Initiative for
        Maximizing Student Development (IMSD) program has been terminated. Your institution can
        continue to draw funds on any active award for allowed costs that are within scope and
        consistent with the Grants Policy Statement. Further awards will not be made, and NIGMS will
        not permit no-cost extensions. We advise against recruiting future cohorts.
        NIGMS grants management will follow up if there is any specific information or action needed
        regarding your award. For additional information regarding funding opportunities that NIGMS
        supports, see NIGMS TWD Webpage:
        https://www.nigms.nih.gov/training/Pages/TWDPrograms.
        If you have specific follow up questions, please email nigmstrainingmail@nigms.nih.gov and
        include your grant number.


        Kenneth D. Gibbs, Jr., PhD, MPH
        Director, Division of Training and Workforce Development
        National Institute of General Medical Sciences
        National Institutes of Health




                                                                                          APHA App. 397
Case: 25-1611   Document: 00118310432   Page: 401    Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-24
                                  Document 38-24    Filed 04/25/25
                                                    Filed 04/25/25   Page 1
                                                                     Page 1 of
                                                                            of 57
                                                                               57




                       EXHIBIT
                       EXHIBIT 24




                                                                        APHA App. 398
Case: 25-1611      Document: 00118310432               Page: 402         Date Filed: 07/08/2025            Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM            Document 38-24
                                                   Document 38-24         Filed 04/25/25
                                                                          Filed 04/25/25      Page 2
                                                                                              Page 2 of
                                                                                                     of 57
                                                                                                        57




                                        UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF MASSACHUSETTS



         AMERICAN PUBLIC HEALTH
         ASSOCIATION, ef al.,

                                 Plaintiffs,
                                                                 Case No. 1:25-cv-10787-BEM
                         Vv.


         NATIONAL INSTITUTES OF HEALTH, ef al.,

                                 Defendants.




                                      DECLARATION OF KELLY BLANCHARD
                I, Kelly Blanchard, pursuant to 28 U.S.C. § 1746, depose and say as follows:

           1.   I am the President of Ibis Reproductive Health (Ibis). I have served in that role since November

                2004. Founded in 2002, Ibis is a global research organization whose mission is to drive change

                through bold, rigorous research and principled partnerships that advance sexual and reproductive

                autonomy, choice, and health worldwide.

          2.    I make this declaration on behalf of Ibis Reproductive Health in support of its Motion for

                Preliminary Injunction seeking to enjoin defendants from implementing or enforcing unlawful

                directives, and terminations of grants that supposedly no longer effectuate agency priorities,

                including research grant RO1HD109320, which was terminated by the NIH in March 2025.

          3.    [have extensive training and experience in clinical and social science research and have led clinical

                trials and other qualitative and quantitative research for more than 20 years. I earned an MSc in

                Population and International Health from the Harvard School of Public Health and an AB from




                                                                                                   APHA App. 399
Case: 25-1611        Document: 00118310432               Page: 403       Date Filed: 07/08/2025             Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM               Document 38-24
                                                      Document 38-24      Filed 04/25/25
                                                                          Filed 04/25/25       Page 3
                                                                                               Page 3 of
                                                                                                      of 57
                                                                                                         57



                Harvard College. I have published more than 140 articles in peer-reviewed scientific journals and

                serve as an expert peer reviewer for high-impact journals. Since 2004 as President of Ibis

                Reproductive Health I have provided strategic leadership of the organization and worked with our

                Senior Management Team to lead cutting edge research, build and maintain the critical principled

                partnerships to develop and implement that research, raise the funding needed to undertake this

                work, and disseminate and communicate research results to key stakeholders, including policy

                makers, clinicians, professional societies and norm setting bodies, and the general public to ensure

                our research and project work makes an impact.


        Award of NIH Grant       RO1HD109320


           1.   Public health research is core to Ibis’s work, which is informed by relationships and collaboration

                with communities, including transgender and gender diverse community members, to identify key

                gaps in information and resources concerning reproductive health, autonomy, and health care

                access for these populations. With offices in Cambridge, Massachusetts, Oakland, California, and

                Johannesburg, South Africa, Ibis has a highly trained and committed staff of demographers,

                epidemiologists, and public health researchers leading over 30 studies worldwide.

                In   September   2023,   Ibis   was    awarded   a National   Institutes   of Health    (“NIH”)   Grant

                RO1HD109320 titled “Advancing novel survey tools to increase participation and improve sexual

                and reproductive health data quality” based on a panel of expert reviewers scoring the proposal in

                the top 2 percent of all submitted grants that cycle for its likelihood of exerting a sustained and

                positive impact on public health. A true and correct copy of this Notice of Award (NOA) is

                attached as Exhibit A. This five-year research grant anticipated providing approximately $2.2




                                                                                                       APHA App. 400
Case: 25-1611        Document: 00118310432                Page: 404          Date Filed: 07/08/2025               Entry ID: 6734280

                   Case 1:25-cv-10787-BEM
                   Case 1:25-cv-10787-BEM             Document 38-24
                                                      Document 38-24          Filed 04/25/25
                                                                              Filed 04/25/25        Page 4
                                                                                                    Page 4 of
                                                                                                           of 57
                                                                                                              57




                  million in funding! for a research project to evaluate innovative methods for improving the

                  collection and quality of data in sexual and reproductive health (SRH) research for all people,

                  including those who identify as transgender and gender diverse.

            3. NIH Grant RO1HD109320 was awarded to support the goal of enhancing research on the sexual

                  and reproductive health of transgender, nonbinary, and intersex people (TNBI) people. The

                  Institute of Medicine’s report on “The Health of Lesbian, Bisexual, and Transgender People,”

                  called for NIH-supported research to address the methodological challenges that have impeded

                  research on the health of transgender people — specifically, to improve strategies for reaching

                  larger, more diverse samples of transgender persons in the United States. Historically, research on

                  SRH has excluded or misclassified TNBI people due to presumptions that pregnancy and related

                  outcomes can be experienced solely by cisgender women. However, TNBI people plan for and

                  carry pregnancies, and thus require high-quality and evidence-based healthcare. Despite this need,

                  existing data on the SRH needs of TNBI populations primarily come from convenience samples —

                  small in size and/or limited in geographic scope. The dearth of representative data has meant,

                  critically, that SRH providers do not have adequate evidence upon which to rely to ensure that the

                  SRH   needs   of their TNBI     patients are met within existing healthcare services — thereby

                  contributing to lower quality care and SRH disparities among these populations.

            4,    With the Grant, Ibis intended to test methods of improving the representativeness of the research

                  population, participant retention, and quality of collected data among TNBI people in the United

                 ' States. Specifically, the research project sought to (1) recruit a large, diverse sample of TNBI

                  people from across the United States, (2) collect longitudinal data on core SRH outcomes (virtually




         The Notice of Award provided the following recommended total awards for each year of the grant: YR 1 ($510,937); YR 2
        ($482,443); YR 3 ($434,712); YR 4 ($424,119 YR 5 ($405, 474).




                                                                                                          APHA App. 401
Case: 25-1611     Document: 00118310432                Page: 405          Date Filed: 07/08/2025            Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM            Document 38-24
                                                   Document 38-24          Filed 04/25/25
                                                                           Filed 04/25/25      Page 5
                                                                                               Page 5 of
                                                                                                      of 57
                                                                                                         57




                no longitudinal data on these topics exist among TNBI people), and (3) improve retention and data

                quality among TNBI participants in SRH research as compared to standard methods.

            . Additionally, the research project sought to further a cross-cutting goal identified by the National

                Institute of Child Health and Human Development’s (NICHD) 2020 and 2025 Strategic Plans — to

                address health disparities for sexual and gender minority people — and would have contributed

                evidence toward “Advancing Gynecologic, Andrologic, and Reproductive Health” and “Setting

                the Foundation for Healthy Pregnancies and Lifelong Wellness”, two of the five core priorities of

                the NICHD 2025 Strategic Plan. The Grant went through a noncompetitive renewal process, and

                was renewed for the June 1, 2024 — May 31, 2025 budget cycle. A true and correct copy of this

                NOA, renewing the Grant is attached as Exhibit B. Per the standard noncompetitive renewal

                process, the Principal Investigator submitted a Research Performance Progress Report (RPPR) six

                weeks before the end of the first grant year, and after review by NICHD           staff, the study was

                determined to be proceeding appropriately, and thus the second year of the Grant was awarded.

            . In addition to the primary research Grant, Ibis was awarded a supplemental grant for years 2

                through 5 of the study, tied to the RO1 Grant, which provided an additional $59,000 of funding per

                year. A true and correct copy of this supplemental award is attached as Exhibit C.

            . The preparation of this grant application took several years. The first conversation with a Program

                Officer at the NIH to begin development of this grant application took place in January 2019. The

                final revised RO1 application was the result of over two years of conceptualization, relationship

                building, study design, drafting, and multiple expert consultations. The first draft of the application

                was submitted to the NICHD in October 2021. It was not funded and received reviewer feedback.

                The Principal Investigator then worked to revise the application based on those comments, with

                members of the research project team and partners in additional rounds of expert consultation and




                                                                                                    APHA App. 402
Case: 25-1611      Document: 00118310432                  Page: 406         Date Filed: 07/08/2025             Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM             Document 38-24
                                                    Document 38-24          Filed 04/25/25
                                                                            Filed 04/25/25        Page 6
                                                                                                  Page 6 of
                                                                                                         of 57
                                                                                                            57




                review, alongside input from the NICHD            Program Officer. These revisions took another six

                months before readiness for submission of the final revised application in July 2022, which was

                ultimately funded in September of 2023 - over four and a half years after preparation of the

                application first began.

            . Ibis’s proposed research project was reviewed by a study section which scored the proposed

                project in the highest 2 percent of reviewed proposals. In the Summary Statement submitted by

                the panel of scientists, expert reviewers characterized the research as being “exceptionally high

                impact and has a high likelihood of profound and sustained impact on public health research and

                clinical practice” as well as having the potential to “significantly change the field by establishing

                new tools for assessing the relevance of key preventative health screenings in public health

                research and clinical practice,” and that the study would “fill a massive gap in terms of research.”

            . To the extent that the termination of this grant has prevented the collection of survey data, each

                week that goes by is another week where people are not being appropriately screened into clinical

                care and research that would be relevant for their bodies, leading to missed preventative care, or

                conversely, unnecessary preventive care. The screening tools the surveys would have tested were

                designed to identify improvements to clinical and research screening questions that could address

                these discordances. Further, each week that goes by without the contribution of this data to the

                field is a week where clinical providers do not have the evidence they need to provide evidence-

                based SRH care to TNBI people, including care related to fertility services, pregnancy, family

                formation,   contraceptive   use,   and   more.   Leading   professional   and   medical   societies   have

                emphasized the urgent need for these data, as have Americans who deserve to see themselves

                reflected in the research.




                                                                                                       APHA App. 403
Case: 25-1611     Document: 00118310432                 Page: 407        Date Filed: 07/08/2025             Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM            Document 38-24
                                                   Document 38-24         Filed 04/25/25
                                                                          Filed 04/25/25      Page 7
                                                                                              Page 7 of
                                                                                                     of 57
                                                                                                        57




           10. In the nearly two years since the Grant was awarded, Ibis has hired two full-time staff to serve as

                research   coordinators    and has invested thousands     of staff hours    in developing    essential

                components of the research project — namely the various survey designs and methodologies to be

                tested for their ability to improve accuracy, completion, and quality of survey data. This work has

                included recruiting, convening, and seeking input from community advisory board members;

                conducting formative cognitive interviews; developing and programming a complex, highly novel

                and innovative online survey with randomization of key survey methodologies to be tested,

                formalizing research project partnerships with academic institutions and community partners; and

                seeking and securing institutional review board (IRB) approval of the research. The research team.

                was poised to launch the first of several surveys and begin full data collection shortly after the

                termination letter was received.




        Termination of NIH Grant          ROLHD109320

           11. On March 20, 2025, in the midst of the second year of grant funding, I received a letter from the

                NIH notifying me that the funding for RO1HD109320 was terminated. The termination letter stated

                that the RO1HD109320 Grant “no longer effectuates agency priorities.” The letter goes on to state

                that “[rJesearch programs based on gender identity are often unscientific, have little identifiable

                return on investment, and do nothing to enhance the health of many Americans. It is the policy of

                NIH not to prioritize these research programs . . . The premise of this award is incompatible with

                agency priorities, and no modification of the project could align the project with agency priorities.”

                A true and correct copy of this termination letter is attached as Exhibit D. The letter was signed

                by Michelle G. Bulls on behalf of Margaret Young, Chief Grants Management Officer for the

                NICHD.




                                                                                                   APHA App. 404
Case: 25-1611     Document: 00118310432                Page: 408         Date Filed: 07/08/2025           Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM            Document 38-24
                                                   Document 38-24         Filed 04/25/25
                                                                          Filed 04/25/25     Page 8
                                                                                             Page 8 of
                                                                                                    of 57
                                                                                                       57




           12. I was not given any previous indication by NIH, the Institute, or the Program Officer that [bis’s

                RO1HD109320 Grant was in jeopardy of being terminated.

           13. The termination letter was vague and not scientifically accurate, nor does it explain how the agency

                decision was   made   or consider important aspects of the funded research. For example, the

                termination letter does not give a description of what is meant by “gender identity,” nor was Ibis

                provided any clarification on why the grant was terminated based on the belief that “[r]esearch

                programs based on gender identity are often unscientific, have little identifiable return on

                investment, and do nothing to enhance the health of many Americans.” Existing research does not

                support this statement, and indeed, the panel of experts convened by the NIH concluded the

                opposite, that this research had a strong likelihood of exerting “profound and sustained impact on

                public health” for Americans.

           14. On March 26, 2025, I received revised NOAs for both the primary grant [5R01HD109320-02] and

                the supplemental grant [3RO01HD109320-028S1] indicating that the end of each grant was revised

                to March 21, 2025. True and correct copies of these revised NOAs are attached as Exhibit E and

                Exhibit F. These revised NOAs repeated the vague and inaccurate statement from the termination

                letter, and provided limited instructions for the close out of the Grant.

           15. The implementation of this Grant to date has been in full compliance with the terms and conditions

                of the award, and the research is in full alignment with the stated priorities of the NIH broadly,

                and the NICHD specifically. Nor has Ibis provided consent for the termination.

           16. The abrupt decision during an awarded grant year unjustly disrupts vital research with significant

                public health implications, and causes harm to Ibis’s small, nonprofit research organization and its

                research project partners. As a result of the Grant termination in the midst of a grant year, Ibis is

                suddenly left without funding to support commitments to staff salary and benefits, and subaward




                                                                                                  APHA App. 405
Case: 25-1611     Document: 00118310432                 Page: 409         Date Filed: 07/08/2025              Entry ID: 6734280

                 Case 1:25-cv-10787-BEM
                 Case 1:25-cv-10787-BEM             Document 38-24
                                                    Document 38-24         Filed 04/25/25
                                                                           Filed 04/25/25       Page 9
                                                                                                Page 9 of
                                                                                                       of 57
                                                                                                          57




                costs. Ibis cannot complete the urgently needed research that the NIH               has already invested

                $1,047,555 over the past 22 months, leading to a potentially significant wasted investment.

                Additionally, the $1.4 million in research funding committed to Ibis in the NOA for the remaining

                3-5 years of the grant was an important part of the $8 million annual operating budget for Ibis, as

                a small nonprofit organization.

           17. As a result of the grant termination, Ibis must restructure research teams because of staffing

                pressures and seek additional funding to cover the salaries of four employees staffed on the project.

                This termination potentially puts at risk staff positions at Ibis if additional funds to cover staff time

                cannot be secured or other projects are not available to cover that time. Ibis has also had to pause

                the next phase of the research project, hindering collection of crucial data on SRH experiences and

                preferences   from under-studied populations that independent          expert NIH     reviewers   deemed

                urgently needed.

           18. On April 16, 2025, I filed a letter of appeal to the NIH on behalf of Ibis, appealing the termination

                of RO1HD109320.       In the appeal, I challenged the grant termination on the basis that the

                termination letter received was generic, false, and not based on the merit of the science or progress

                of the research project in question. I am appealing the termination, but I do not know whether it is

                possible to or how to recharacterize my project in my appeal to fit within any new agency priorities

                because I do not understand the terms describing the reasons for termination or even what the new

                priorities are. I also do not know whether the appeal has any chance of success, given the language

                of the termination notice that the premise of my grant is incompatible with agency priorities.




                                                                                                      APHA App. 406
Case: 25-1611     Document: 00118310432               Page: 410         Date Filed: 07/08/2025         Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM           Document 38-24
                                                 Document 38-24          Filed 04/25/25
                                                                         Filed 04/25/25      Page 10
                                                                                             Page 10 of
                                                                                                     of 57
                                                                                                        57




                I declare under penalty of perjury that the foregoing is true and correct.

                Executed this 24th day of April, 2025.



                                                                            a

                                                                     Kelly blanche




                                                                                                 APHA App. 407
Case: 25-1611   Document: 00118310432   Page: 411   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-24
                                  Document 38-24    Filed 04/25/25
                                                    Filed 04/25/25   Page 11
                                                                     Page 11 of
                                                                             of 57
                                                                                57




                         EXHIBIT
                         EXHIBIT A




                                                                        APHA App. 408
Case: 25-1611                                Document: 00118310432              Page: 412           Date Filed: 07/08/2025                   Entry ID: 6734280

                            4 SERVICpsPS.
                     RDCs
                                             a Pe 1:25-cv-10787-BEM
                                            Case  phartrento/séaBbehd Hocamfemvises24
                                                                      Document 38-24                Filed 04/25/25
                                                                                                    Filed 04/25/25           Page 12
                                                                                                                             Page 12 of
                                                                                                                                     ofNetice
                                                                                                                                        57 of Award
              ‘ty,
                            yy                 National Institutes of Health                                                               FAIN# RO1HD109320
       OF HEALTy,
                              {                EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD                                             Federal Award   Date
                                                                                                                                                      02/09/2024
              ag


                                               HEALTH & HUMAN DEVELOPMENT
               s
                     &,
                          Mera



    Recipient Information                                            Federal Award Information
    1. Recipient Name
       IBIS REPRODUCTIVE HEALTH, INC.
                                                                    11. Award Number
                                                                       1RO1HD109320-01A1

      SC                                                            12. Unique Federal Award Identification Number (FAIN)
                                                                        RO1HD109320
    2. Congressional District of Recipient
       05
                                                                    13. Statutory Authority
                                                                        42 USC 241 42 CFR 52
    3. Payment System Identifier (ID)
       1030382773A1
                                                                    14. Federal Award Project Title
                                                                        Advancing novel survey tools to increase participation and improve sexual and
    4. Employer Identification Number (EIN)
       030382773                                                        reproductive health data quality

                                                                    15. Assistance Listing Number
    5. Data Universal Numbering System (DUNS)
                                                                        93.865
       126940738

                                                                    16. Assistance Listing Program Title
    6. Recipient’s Unique Entity Identifier
       TFRSQTKOHSMS                                                     Child Health and Human Development Extramural Research

                                                                    17. Award Action Type
    7. Project Director or Principal Investigator
                                                                        New Competing (REVISED)
       Heidi Serene Moseson Lidow, PHD

                                                                    18. Is the Award    R&D?
                                                                        Yes
|
    8. Authorized Official                                                             Summary Federal Award Financial Information
       Kelly Blanchard                                                19. Budget Period Start Date 09/21/2023 — End Date 05/31/2024
                                                                      20. Total Amount of Federal Funds Obligated by this Action                              SO
                                                                              20 a. Direct Cost Amount                                                        SO
                                                                              20 b. Indirect Cost Amount                                                      $0
                                                                      21. Authorized Carryover
    Federal Agency Information                                        22. Offset
    9. Awarding Agency Contact Information                            23. Total Amount of Federal Funds Obligated this budget period                  $510,937
       Yvonne C. Talley                                               24. Total Approved Cost Sharing or Matching, where applicable                          0)
       Grants Management Official                                     25. Total Federal and Non-Federal Approved this Budget Period                   $510,937
       EUNICE KENNEDY SHRIVER NATIONAL
       INSTITUTE OF CHILD HEALTH & HUMAN                              26. Project Period Start Date 09/21/2023 — End Date 05/31/2028
       DEVELOPMENT                                                    27. Total Amount of the Federal Award including Approved Cost                   $510,937
       talleyy@mail.nih.gov                                              Sharing or Matching this Project Period
       301-496-7432
    10. Program Official Contact Information                        28. Authorized Treatment of Program Income
       Ronna Popkin                                                     Additional Costs

       EUNICE KENNEDY SHRIVER NATIONAL                              29. Grants Management Officer - Signature
       INSTITUTE OF CHILD HEALTH & HUMAN                                Yvonne C. Talley
       DEVELOPMENT
       ronna.popkin@nih.gov
       301-827-5121
     30. Remarks
            Acceptance of this award, including the "Terms and Conditions," is acknowledged         by the recipient when funds are drawn down or otherwise

                                                                                   Page 1 of 9




                                                                                                                                    APHA App. 409
Case: 25-1611        Document: 00118310432                      Page: 413              Date Filed: 07/08/2025           Entry ID: 6734280

       requested from the grant payment system.
                  Case 1:25-cv-10787-BEM                  Document 38-24                Filed 04/25/25        Page 13 of 57




                                                                    Page 2 of 9
                                           Version:13 - 8/3/2022 12:59 PM | Generated on: 2/9/2024 12:05 AM



                                                                                                                  APHA App. 410
Case: 25-1611      Document: 00118310432                       Page: 414              Date Filed: 07/08/2025          Entry ID: 6734280

                Case 1:25-cv-10787-BEM                  Document 38-24                Filed 04/25/25         Page 14 of 57


                                                                   Notice of Award
           RESEARCH
           Department of Health and Human Services
           National Institutes of Health

           EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

                SECTION I – AWARD DATA – 1R01HD109320-01A1 REVISED



             Principal Investigator(s):
             Heidi Serene Moseson Lidow, PHD

             Award e-mailed to:

             Dear Authorized Official:

             The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and
             “Terms and Conditions” in Section III) to IBIS REPRODUCTIVE HEALTH in support of the above referenced
             project. This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject to the
             requirements of this statute and regulation and of other referenced, incorporated or attached terms and
             conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must
             include an acknowledgment of NIH award support and a disclaimer such as “Research reported in this
             publication was supported by the Eunice Kennedy Shriver National Institute Of Child Health & Human
             Development of the National Institutes of Health under Award Number R01HD109320. The content is
             solely the responsibility of the authors and does not necessarily represent the official views of the
             National Institutes of Health.” Prior to issuing a press release concerning the outcome of this research,
             please notify the NIH awarding IC in advance to allow for coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a
             reasonable expectation that the design, conduct and reporting of research funded under NIH awards will
             be free from bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with
             the 2011 revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to
             the NIH through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,

             Yvonne C. Talley
             Grants Management Officer
             EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

             Additional information follows



                                                                   Page 3 of 9
                                         Version: 13 - 8/3/2022 12:59 PM | Generated on: 2/9/2024 12:05 AM


                                                                                                                APHA App. 411
Case: 25-1611    Document: 00118310432                     Page: 415             Date Filed: 07/08/2025             Entry ID: 6734280

            Case 1:25-cv-10787-BEM                  Document 38-24                Filed 04/25/25          Page 15 of 57




            Cumulative Award Calculations for this Budget Period (U.S. Dollars)
            Salaries and Wages                                                                                   $101,304
            Fringe Benefits                                                                                       $28,365
            Personnel Costs (Subtotal)                                                                           $129,669
            Consultant Services                                                                                   $11,180
            Other                                                                                                  $4,300
            Subawards/Consortium/Contractual Costs                                                               $306,480
            Equipment or Facility Rental/User Fees                                                                $20,747


            Federal Direct Costs                                                                                 $472,376
            Federal F&A Costs                                                                                     $38,561
            Approved Budget                                                                                      $510,937
            Total Amount of Federal Funds Authorized (Federal Share)                                             $510,937
            TOTAL FEDERAL AWARD AMOUNT                                                                           $510,937

            AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                       $0


                           SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
             YR                 THIS AWARD                                     CUMULATIVE TOTALS
              1                                     $510,937                                               $510,937
              2                                     $482,443                                               $482,443
              3                                     $434,712                                               $434,712
              4                                     $424,119                                               $424,119
              5                                     $405,474                                               $405,474
            Recommended future year total cost support, subject to the availability of funds and satisfactory progress
            of the project

            Fiscal Information:
            Payment System Identifier:          1030382773A1
            Document Number:                    RHD109320A
            PMS Account Type:                   P (Subaccount)
            Fiscal Year:                        2023

            IC      CAN              2023               2024                 2025              2026          2027
            HD      8014702          $51,714            $482,443             $434,712          $424,119      $405,474
            OD      8025139          $459,223

            Recommended future year total cost support, subject to the availability of funds and satisfactory progress
            of the project

            NIH Administrative Data:
            PCC: PDB -RP / OC: 41021 / Released: Talley, Yvonne 02/08/2024
            Award Processed: 02/09/2024 12:05:49 AM

            SECTION II – PAYMENT/HOTLINE INFORMATION – 1R01HD109320-01A1 REVISED

            For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
            http://grants.nih.gov/grants/policy/awardconditions.htm

            SECTION III – STANDARD TERMS AND CONDITIONS – 1R01HD109320-01A1 REVISED

                                                               Page 4 of 9
                                     Version: 13 - 8/3/2022 12:59 PM | Generated on: 2/9/2024 12:05 AM
                                                                                                             APHA App. 412
Case: 25-1611     Document: 00118310432                       Page: 416              Date Filed: 07/08/2025            Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-24                Filed 04/25/25         Page 16 of 57

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project
           and is subject to the terms and conditions incorporated either directly or by reference in the following:

                a. The grant program legislation and program regulation cited in this Notice of Award.
                b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                   those included in appropriations acts.
                c. 45 CFR Part 75.
                d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                   Statement, including addenda in effect as of the beginning date of the budget period.
                e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                   progress report when applicable.
                f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but
           non-research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other
           than the rate(s) specified in the award document(s).


           An unobligated balance may be carried over into the next budget period without Grants Management
           Officer prior approval.

           This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity
           identifier (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN) R01HD109320. Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions
           that may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional
           award applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For
           more information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.

           This award provides support for one or more clinical trials. By law (Title VIII, Section 801 of Public Law
           110-85), the “responsible party” must register “applicable clinical trials” on the ClinicalTrials.gov Protocol
           Registration System Information Website. NIH encourages registration of all trials whether required under
           the law or not. For more information, see http://grants.nih.gov/ClinicalTrials_fdaaa/

           This award is funded by the following list of institutes. Any papers published under the auspices of this
           award must cite the funding support of all institutes.


                                                               Page 5 of 9
                                     Version: 13 - 8/3/2022 12:59 PM | Generated on: 2/9/2024 12:05 AM


                                                                                                              APHA App. 413
Case: 25-1611       Document: 00118310432                     Page: 417              Date Filed: 07/08/2025            Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-24                Filed 04/25/25         Page 17 of 57


           Eunice Kennedy Shriver National Institute Of Child Health & Human Development (NICHD)
           Office Of The Director, National Institutes Of Health (OD)


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-
           obligations/index.html and https://www.hhs.gov/.

                •   Recipients of FFA must ensure that their programs are accessible to persons with limited English
                    proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                    meaningful access to programs or activities by limited English proficient individuals,
                    see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-
                    proficiency/fact-sheet-guidance/index.html and https://www.lep.gov.
                •   For information on an institution’s specific legal obligations for serving qualified individuals with
                    disabilities, including providing program access, reasonable modifications, and to provide
                    effective communication, see
                    http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                •   HHS funded health and education programs must be administered in an environment free of
                    sexual harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-
                    discrimination/index.html. For information about NIH's commitment to supporting a safe and
                    respectful work environment, who to contact with questions or concerns, and what NIH's
                    expectations are for institutions and the individuals supported on NIH-funded awards, please see
                    https://grants.nih.gov/grants/policy/harassment.htm.
                •   For guidance on administering programs in compliance with applicable federal religious
                    nondiscrimination laws and applicable federal conscience protection and associated anti-
                    discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html
                    and https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR
           Part 75, recipients that have currently active Federal grants, cooperative agreements, and procurement
           contracts with cumulative total value greater than $10,000,000 must report and maintain information in
           the System for Award Management (SAM) about civil, criminal, and administrative proceedings in
           connection with the award or performance of a Federal award that reached final disposition within the
           most recent five-year period. The recipient must also make semiannual disclosures regarding such
           proceedings. Proceedings information will be made publicly available in the designated integrity and
           performance system (currently the Federal Awardee Performance and Integrity Information System
           (FAPIIS)). Full reporting requirements and procedures are found in Appendix XII to 45 CFR Part 75. This
           term does not apply to NIH fellowships.
           Treatment of Program Income:
           Additional Costs

           SECTION IV – HD SPECIFIC AWARD CONDITIONS – 1R01HD109320-01A1 REVISED


          Clinical Trial Indicator: Yes
          This award supports one or more NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.



                                                               Page 6 of 9
                                     Version: 13 - 8/3/2022 12:59 PM | Generated on: 2/9/2024 12:05 AM


                                                                                                              APHA App. 414
Case: 25-1611     Document: 00118310432                      Page: 418              Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-24                Filed 04/25/25         Page 18 of 57

           REVISION: This revised award reflects NICHD acceptance of the following
           documentation/information and removes the restriction indicated on the previous Notice of Award:

           Previously pending items:


           1. Updated Other Support

           2. Institutional Review Board (IRB) approval


           The previous terms and conditions of award remain in effect as stated below.

           ********************

           Start Date
           This award includes funds for twelve months of support but is awarded for less
           than twelve months. Noncompeting Continuation awards will cycle on JUNE 1.

           Funding Level
           In order to meet NICHD program objectives within FY2023 budget constraints,
           this grant is reduced 14 percent below the level recommended by the Integrated
           Review Group. Future year levels of support are reduced 24.9 percent determined
           by applying the same administrative reduction.
           Escalation
           In accordance with the NICHD FY2023 fiscal policy, escalation on recurring costs has been
           removed. See NICHD Funding Strategies for Fiscal Year 2023.

           *****************************
           Clinical Trial Terms

           Dissemination Policy
           The clinical trial(s) supported by this award are subject to the Dissemination Plan
           specified in the application dated 07/05/2022 and the NIH policy
           on Dissemination of NIH-Funded Clinical Trial Information. The policy states that
           the clinical trial(s) funded by this award will be registered in ClinicalTrials.gov not
           later than 21 calendar days after enrollment of the first participant and that
           primary summary results will be reported in ClinicalTrials.gov not later than one
           year after the trial completion date. The reporting of summary results is required
           even if the primary trial completion date occurs after the period of performance.

           This award is subject to additional certification requirements with submission of
           the Annual, Interim and Final Research Performance Progress Reports (RPPR).
           The recipient must agree to the following annual certification when submitting
           each RPPR. By submitting the RPPR, the Signing Official (SO) signifies
           compliance, as follows:

           In submitting this RPPR, the SO (or PD/PI with delegated authority), certifies to
           the best of their knowledge that, for all clinical trials funded under this NIH award,
           the recipient and all investigators conducting NIH-funded clinical trials comply
           with the recipient’s plan addressing compliance with the Dissemination of NIH-
           Funded Clinical Trial Information policy. Any clinical trial funded in whole or in
                                                               Page 7 of 9
                                     Version: 13 - 8/3/2022 12:59 PM | Generated on: 2/9/2024 12:05 AM


                                                                                                              APHA App. 415
Case: 25-1611     Document: 00118310432                      Page: 419              Date Filed: 07/08/2025              Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-24                Filed 04/25/25           Page 19 of 57


           part under this award has been registered in ClinicalTrials.gov or will be
           registered not later than 21 calendar days after enrollment of the first participant.
           Summary results have been submitted to ClinicalTrials.gov or will be submitted
           not later than one year after the trial completion date, even if the trial completion
           date occurs after the period of performance.

           Clinical Trial Study/Studies:
           STUDY NUMBER: 427630

           Risk Assessment
           This Clinical Trial Study or Studies listed above have been determined by NICHD
           to be considered LOW risk. Oversight by NICHD will occur in the standard manner
           through the annual RPPR. An annual update (no additional reports) on the status
           of the milestones included in Section 6 of the eRA HSS and any additional
           agreed-upon milestones are due in the RPPR. Information and procedures
           concerning these requirements are available on the NICHD Policies on Clinical
           Research site.
           *****************************
           Human Subjects
           For all competing applications or new protocols, the NICHD expects investigators
           for ALL NICHD Clinical Trials to abide by the requirements stated in NIH Guide
           Notice NOT-HD-20-036 “NICHD Data Safety Monitoring Guidelines for Extramural
           Clinical Trials and Clinical Research”. All NICHD applications which include
           Clinical Trials must include a Data Safety Monitoring Plan. All NIH-sponsored
           multi-site clinical trials, NIH-defined Phase III clinical trials and some single site
           clinical trials that pose potential risk to participants require Data and Safety
           Monitoring Board (DSMB) oversight. Applicants are expected to establish an
           independent, external DSMB when required by this policy.

           For all competing applications or new protocols, the NICHD expects investigators
           for ALL human subject research to abide by the requirements stated in NIH Guide
           Notice NOT-HD-20-035 “NICHD Serious Adverse Event, Unanticipated Problem,
           and Serious Adverse Event Reporting Guidance”.
           *****************************
           Consortium
           This award includes funds awarded for consortium activity with the following:
           Mount Holyoke College
           Stanford University




           SPREADSHEET SUMMARY
           AWARD NUMBER: 1R01HD109320-01A1 REVISED

           INSTITUTION: IBIS REPRODUCTIVE HEALTH

           Budget                          Year 1            Year 2             Year 3            Year 4       Year 5
                                                               Page 8 of 9
                                     Version: 13 - 8/3/2022 12:59 PM | Generated on: 2/9/2024 12:05 AM


                                                                                                                APHA App. 416
Case: 25-1611     Document: 00118310432                       Page: 420              Date Filed: 07/08/2025                 Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-24                Filed 04/25/25             Page 20 of 57

           Salaries and Wages              $101,304          $111,382           $154,015          $154,015       $154,015
           Fringe Benefits                 $28,365           $31,187            $43,124           $43,124        $43,124
           Personnel Costs (Subtotal)      $129,669          $142,569           $197,139          $197,139       $197,139
           Consultant Services             $11,180           $4,318             $12,016           $12,016        $16,898
           Travel                                                               $1,878            $1,878         $3,755
           Other                           $4,300            $3,755             $3,755            $3,755         $3,755
           Subawards/Consortium/Con        $306,480          $268,902           $131,137          $120,544       $93,775
           tractual Costs
           Equipment or Facility           $20,747           $22,811            $34,409           $34,409        $34,409
           Rental/User Fees
           TOTAL FEDERAL DC                $472,376          $442,355           $380,334          $369,741       $349,731
           TOTAL FEDERAL F&A               $38,561           $40,088            $54,378           $54,378        $55,743
           TOTAL COST                      $510,937          $482,443           $434,712          $424,119       $405,474


           Facilities and Administrative   Year 1            Year 2             Year 3            Year 4         Year 5
           Costs
           F&A Cost Rate 1                 20.2%             20.2%              20.2%             20.2%          20.2%
           F&A Cost Base 1                 $190,896          $198,453           $269,197          $269,197       $275,956
           F&A Costs 1                     $38,561           $40,088            $54,378           $54,378        $55,743




                                                               Page 9 of 9
                                     Version: 13 - 8/3/2022 12:59 PM | Generated on: 2/9/2024 12:05 AM


                                                                                                                  APHA App. 417
Case: 25-1611   Document: 00118310432   Page: 421   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-24
                                  Document 38-24    Filed 04/25/25
                                                    Filed 04/25/25   Page 21
                                                                     Page 21 of
                                                                             of 57
                                                                                57




                         EXHIBIT
                         EXHIBIT B




                                                                        APHA App. 418
Case: 25-1611                                Document: 00118310432                        Page: 422             Date Filed: 07/08/2025                Entry ID: 6734280

                             4 SERVICEPS.
                      » st
                                             adepprimpnt
                                            Case        ef resgvaptiym an Document
                                                 1:25-cv-10787-BEM        BaNeAMent 38-24
                                                                                    38-24                       Filed 04/25/25
                                                                                                                Filed 04/25/25         Page 22
                                                                                                                                       Page 22 of
                                                                                                                                               of 57
                                                                                                                                                  5 Notice of Award

                     %
                                               National Institutes of Health                                                                        FAIN# RO1HD109320
       a0 MEAL, an                             EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD                                                     Federal Award Date
                                               HEALTH & HUMAN DEVELOPMENT                                                                                    08/20/2024
                     b,
                          en


    Recipient Information                                                      Federal Award Information
    1. Recipient Name
       IBIS REPRODUCTIVE HEALTH, INC.
                                                                               11. Award Number
                                                                                  5RO1HD109320-02

                                                                               12. Unique Federal Award Identification Number (FAIN)
    2. Congressional District of Recipient                                         RO1HD109320
       05
                                                                               13. Statutory Authority
    3. Payment System Identifier (ID)                                              42 USC 241 42 CFR 52
       1030382773A1
                                                                               14. Federal Award Project Title
    4. Employer Identification Number (EIN)                                        Advancing novel survey tools to increase participation and improve sexual and
       030382773                                                                   reproductive health data quality

    5. Data Universal Numbering System (DUNS)                                  15. Assistance Listing Number
       126940738                                                                   93.865

    6. Recipient's Unique Entity Identifier                                    16. Assistance Listing Program Title
       TFR8QTK9HSM5                                                                Child Health and Human Development Extramural Research

    7. Project Director or Principal Investigator                              17. Award Action Type
       Heidi Serene Moseson Lidow, PHD                                             Non-Competing Continuation

                                                                               18. Is the Award R&D?
                                                                                   Yes

    8. Authorized Official                                                                          Summary Federal Award Financial Information
       Kelly Blanchard                                                          19. Budget Period Start Date 06/01/2024 — End Date 05/31/2025
                                                                                20. Total Amount of Federal Funds Obligated by this Action                     $477,618
                                                                                         20 a. Direct Cost Amount                                              $437,931
                                                                                         20 b. Indirect Cost Amount                                             $39,687
                                                                                21. Authorized Carryover                                                              $o
    Federal Agency Information                                                  22. Offset                                                                            $0
    9. Awarding Agency Contact Information                                      23. Total Amount of Federal Funds Obligated this budget period                 $477,618
       Yvonne C. Talley                                                         24. Total Approved Cost Sharing or Matching, where applicable                         $0
       Grants Management Official                                               25. Total Federal and Non-Federal Approved this Budget Period                  $477,618
       EUNICE KENNEDY SHRIVER NATIONAL
       INSTITUTE OF CHILD HEALTH & HUMAN                                        26. Project Period Start Date 09/21/2023 — End Date 05/31/2028
       DEVELOPMENT                                                              27. Total Amount of the Federal Award including Approved Cost                  $988,555
      talleyy@mail.nih.gov                                                          Sharing or Matching this Project Period
       301-496-7432
    10. Program Official Contact Information                                   28. Authorized Treatment of Program Income
       Ronna Popkin                                                                Additional Costs

       EUNICE KENNEDY SHRIVER NATIONAL                                         29. Grants Management Officer - Signature
       INSTITUTE OF CHILD HEALTH & HUMAN                                           Yvonne C. Talley
       DEVELOPMENT
       ronna.popkin@nih.gov
       301-827-5121
     30. Remarks
            Acceptance of this award, including the "Terms and Conditions,” is acknowledged by the recipient when funds are drawn down or
            otherwise requested from the grant payment system.




                                                                                              Page 1 of 7




                                                                                                                                             APHA App. 419
Case: 25-1611      Document: 00118310432                        Page: 423                          Date Filed: 07/08/2025    Entry ID: 6734280

                Case 1:25-cv-10787-BEM                Document 38-24                               Filed 04/25/25   Page 23 of 57



                                                                       Notice of Award
           RESEARCH
           Department of Health and Human Services
           National Institutes of Health

           EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

                SECTION I – AWARD DATA – 5R01HD109320-02



             Principal Investigator(s):
             Heidi Serene Moseson Lidow, PHD

             Award e-mailed to:

             Dear Authorized Official:

             The National Institutes of Health hereby awards a grant in the amount of $477,618 (see “Award Calculation”
             in Section I and “Terms and Conditions” in Section III) to IBIS REPRODUCTIVE HEALTH in support of the
             above referenced project. This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject
             to the requirements of this statute and regulation and of other referenced, incorporated or attached terms
             and conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must include
             an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
             was supported by the Eunice Kennedy Shriver National Institute Of Child Health & Human Development of
             the National Institutes of Health under Award Number R01HD109320. The content is solely the responsibility
             of the authors and does not necessarily represent the official views of the National Institutes of Health.”
             Prior to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC
             in advance to allow for coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a reasonable
             expectation that the design, conduct and reporting of research funded under NIH awards will be free from
             bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
             revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
             through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,




             Yvonne C. Talley
             Grants Management Officer
             EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

             Additional information follows




             Cumulative Award Calculations for this Budget Period (U.S. Dollars)

                                                                      Page 2 of 7
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/20/2024 12:18 AM



                                                                                                                       APHA App. 420
Case: 25-1611    Document: 00118310432                           Page: 424                         Date Filed: 07/08/2025        Entry ID: 6734280

            Case 1:25-cv-10787-BEM                  Document 38-24                               Filed 04/25/25     Page 24 of 57

           Salaries and Wages                                                                                              $110,268
           Fringe Benefits                                                                                                  $30,875
           Personnel Costs (Subtotal)                                                                                      $141,143
           Consultant Services                                                                                               $4,275
           Other                                                                                                             $3,717
           Subawards/Consortium/Contractual Costs                                                                          $266,213
           Equipment or Facility Rental/User Fees                                                                           $22,583

           Federal Direct Costs                                                                                            $437,931
           Federal F&A Costs                                                                                                $39,687
           Approved Budget                                                                                                 $477,618
           Total Amount of Federal Funds Authorized (Federal Share)                                                        $477,618
           TOTAL FEDERAL AWARD AMOUNT                                                                                      $477,618

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                            $477,618


                           SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                  THIS AWARD                                       CUMULATIVE TOTALS
             2                                      $477,618                                                $477,618
             3                                      $434,712                                                $434,712
             4                                      $424,119                                                $424,119
             5                                      $405,474                                                $405,474
           Recommended future year total cost support, subject to the availability of funds and satisfactory progress
           of the project

           Fiscal Information:
           Payment System Identifier:         1030382773A1
           Document Number:                   RHD109320A
           PMS Account Type:                  P (Subaccount)
           Fiscal Year:                       2024

           IC       CAN                 2024                          2025                               2026        2027
           HD       8014702             $427,618                      $434,712                           $424,119    $405,474
           OD       8055729             $50,000                       $0                                 $0          $0

           Recommended future year total cost support, subject to the availability of funds and satisfactory progress
           of the project

           NIH Administrative Data:
           PCC: PDB -RP / OC: 41025 / Released: 08/17/2024
           Award Processed: 08/20/2024 12:18:52 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 5R01HD109320-02

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 5R01HD109320-02

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                a. The grant program legislation and program regulation cited in this Notice of Award.
                b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                   those included in appropriations acts.
                c. 45 CFR Part 75.
                d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                   Statement, including addenda in effect as of the beginning date of the budget period.
                e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                   progress report when applicable.
                f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
                                                         Page 3 of 7
                                             Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/20/2024 12:18 AM



                                                                                                                         APHA App. 421
Case: 25-1611       Document: 00118310432                            Page: 425                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-24                               Filed 04/25/25    Page 25 of 57

           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
           research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
           the rate(s) specified in the award document(s).


           An unobligated balance may be carried over into the next budget period without Grants Management Officer
           prior approval.

           This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
           (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN) R01HD109320. Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
           may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
           applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
           information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.



           This award is funded by the following list of institutes. Any papers published under the auspices of this
           award must cite the funding support of all institutes.
           Eunice Kennedy Shriver National Institute Of Child Health & Human Development (NICHD)
           Office Of The Director, National Institutes Of Health (OD)


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
           and https://www.hhs.gov/.

                •    Recipients of FFA must ensure that their programs are accessible to persons with limited English
                     proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                     meaningful access to programs or activities by limited English proficient individuals,
                     see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                     sheet-guidance/index.html and https://www.lep.gov.
                •    For information on an institution’s specific legal obligations for serving qualified individuals with
                     disabilities, including providing program access, reasonable modifications, and to provide effective
                     communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                •    HHS funded health and education programs must be administered in an environment free of sexual
                     harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                     For information about NIH's commitment to supporting a safe and respectful work environment,
                     who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                                                                      Page 4 of 7
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/20/2024 12:18 AM



                                                                                                                          APHA App. 422
Case: 25-1611       Document: 00118310432                        Page: 426                          Date Filed: 07/08/2025   Entry ID: 6734280

            Case 1:25-cv-10787-BEM                  Document 38-24                               Filed 04/25/25   Page 26 of 57

                     individuals supported on NIH-funded awards, please see
                     https://grants.nih.gov/grants/policy/harassment.htm.
                •    For guidance on administering programs in compliance with applicable federal religious
                     nondiscrimination laws and applicable federal conscience protection and associated anti-
                     discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                     https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


           Treatment of Program Income:
           Additional Costs

           SECTION IV – HD SPECIFIC AWARD CONDITIONS – 5R01HD109320-02


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.

           Funding Level
           In accordance with NIH FY2024 fiscal policy, this non-competing award is reduced 1%
           below the committed funding level on the FY2023 Notice of Award. See NIH Guide
           Notice NOT-OD-24-109 for more information.

           Co-fund
           Co-funding support in the amount of $50,000 from the Office of Behavioral and Social
           Sciences Research (OBSSR).

           Clinical Trial Terms

           Dissemination Policy
           The clinical trial(s) supported by this award are subject to the Dissemination Plan
           specified in the application dated 07/05/2022 and the NIH policy on Dissemination of
           NIH-Funded Clinical Trial Information. The policy states that the clinical trial(s) funded
           by this award will be registered in ClinicalTrials.gov not later than 21 calendar days after
           enrollment of the first participant and that primary summary results will be reported in
           ClinicalTrials.gov not later than one year after the trial completion date. The reporting of
           summary results is required even if the primary trial completion date occurs after the
           period of performance.

           This award is subject to additional certification requirements with submission of the
           Annual, Interim and Final Research Performance Progress Reports (RPPR). The recipient
           must agree to the following annual certification when submitting each RPPR. By
           submitting the RPPR, the Signing Official (SO) signifies compliance, as follows:

           In submitting this RPPR, the SO (or PD/PI with delegated authority), certifies to the best
           of their knowledge that, for all clinical trials funded under this NIH award, the recipient
           and all investigators conducting NIH-funded clinical trials comply with the recipient’s
                                                                    Page 5 of 7
                                             Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/20/2024 12:18 AM



                                                                                                                       APHA App. 423
Case: 25-1611    Document: 00118310432                         Page: 427                          Date Filed: 07/08/2025       Entry ID: 6734280

            Case 1:25-cv-10787-BEM                Document 38-24                               Filed 04/25/25      Page 27 of 57

           plan addressing compliance with the Dissemination of NIH-Funded Clinical Trial
           Information policy. Any clinical trial funded in whole or in part under this award has
           been registered in ClinicalTrials.gov or will be registered not later than 21 calendar days
           after enrollment of the first participant. Summary results have been submitted to
           ClinicalTrials.gov or will be submitted not later than one year after the trial completion
           date, even if the trial completion date occurs after the period of performance.

           Clinical Trial Study/Studies:
           STUDY NUMBER: 427630

           Risk Assessment
           This Clinical Trial Study or Studies listed above have been determined by NICHD to be
           considered LOW risk. Oversight by NICHD will occur in the standard manner through
           the annual RPPR. An annual update (no additional reports) on the status of the milestones
           included in Section 6 of the eRA HSS and any additional agreed-upon milestones are due
           in the RPPR. Information and procedures concerning these requirements are available on
           the NICHD Policies on Clinical Research site.

           *****************************
           Human Subjects
           For all competing applications or new protocols, the NICHD expects investigators for
           ALL NICHD Clinical Trials to abide by the requirements stated in NIH Guide Notice
           NOT-HD-20-036 “NICHD Data Safety Monitoring Guidelines for Extramural Clinical
           Trials and Clinical Research”. All NICHD applications which include Clinical Trials
           must include a Data Safety Monitoring Plan. All NIH-sponsored multi-site clinical trials,
           NIH-defined Phase III clinical trials and some single site clinical trials that pose potential
           risk to participants require Data and Safety Monitoring Board (DSMB) oversight.
           Applicants are expected to establish an independent, external DSMB when required by
           this policy.

           For all competing applications or new protocols, the NICHD expects investigators for
           ALL human subject research to abide by the requirements stated in NIH Guide Notice
           NOT-HD-20-035 “NICHD Serious Adverse Event, Unanticipated Problem, and Serious
           Adverse Event Reporting Guidance”.

           Consortium
           This award includes funds awarded for consortium activity with the following:
           Mount Holyoke College
           Stanford University




           SPREADSHEET SUMMARY
           AWARD NUMBER: 5R01HD109320-02

           INSTITUTION: IBIS REPRODUCTIVE HEALTH

           Budget                       Year 2                        Year 3                            Year 4      Year 5
           Salaries and Wages           $110,268                      $154,015                          $154,015    $154,015
           Fringe Benefits              $30,875                       $43,124                           $43,124     $43,124
           Personnel Costs (Subtotal)   $141,143                      $197,139                          $197,139    $197,139
                                                                  Page 6 of 7
                                           Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/20/2024 12:18 AM



                                                                                                                        APHA App. 424
Case: 25-1611     Document: 00118310432                             Page: 428                         Date Filed: 07/08/2025      Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-24                               Filed 04/25/25      Page 28 of 57

           Consultant Services             $4,275                        $12,016                           $12,016     $16,898
           Travel                                                        $1,878                            $1,878      $3,755
           Other                           $3,717                        $3,755                            $3,755      $3,755
           Subawards/Consortium/Co         $266,213                      $131,137                          $120,544    $93,775
           ntractual Costs
           Equipment or Facility           $22,583                       $34,409                           $34,409     $34,409
           Rental/User Fees
           TOTAL FEDERAL DC                $437,931                      $380,334                          $369,741    $349,731
           TOTAL FEDERAL F&A               $39,687                       $54,378                           $54,378     $55,743
           TOTAL COST                      $477,618                      $434,712                          $424,119    $405,474


           Facilities and Administrative   Year 2                        Year 3                            Year 4      Year 5
           Costs
           F&A Cost Rate 1                 20.2%                         20.2%                             20.2%       20.2%
           F&A Cost Base 1                 $196,468                      $269,197                          $269,197    $275,956
           F&A Costs 1                     $39,687                       $54,378                           $54,378     $55,743




                                                                     Page 7 of 7
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/20/2024 12:18 AM



                                                                                                                            APHA App. 425
Case: 25-1611   Document: 00118310432   Page: 429   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-24
                                  Document 38-24    Filed 04/25/25
                                                    Filed 04/25/25   Page 29
                                                                     Page 29 of
                                                                             of 57
                                                                                57




                         EXHIBIT
                         EXHIBIT C




                                                                        APHA App. 426
Case: 25-1611                                Document: 00118310432                        Page: 430            Date Filed: 07/08/2025                 Entry ID: 6734280

                             4 SERVICEPS.
                      » st
                                             adepprimpnt
                                            Case        ef resgvaptiym an Document
                                                 1:25-cv-10787-BEM        BaNeAMent 38-24
                                                                                    38-24                      Filed 04/25/25
                                                                                                               Filed 04/25/25          Page 30
                                                                                                                                       Page 30 of
                                                                                                                                               of 57
                                                                                                                                                  5 Notice of Award

                     %
                                               National Institutes of Health                                                                        FAIN# RO1HD109320
       a0 MEAL, an                             EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD                                                     Federal Award Date
                                               HEALTH & HUMAN DEVELOPMENT                                                                                    08/28/2024
                     b,
                          en


    Recipient Information                                                      Federal Award Information
    1. Recipient Name
       IBIS REPRODUCTIVE HEALTH, INC.
                                                                               11. Award Number
                                                                                  3RO1HD109320-02S1

                                                                               12. Unique Federal Award Identification Number (FAIN)
    2. Congressional District of Recipient                                         RO1HD109320
       05
                                                                               13. Statutory Authority
    3. Payment System Identifier (ID)                                              42 USC 241 42 CFR 52
       1030382773A1
                                                                               14. Federal Award Project Title
    4. Employer Identification Number (EIN)                                        Advancing novel survey tools to increase participation and improve sexual and
       030382773                                                                   reproductive health data quality

    5. Data Universal Numbering System (DUNS)                                  15. Assistance Listing Number
       126940738                                                                   93.865

    6. Recipient's Unique Entity Identifier                                    16. Assistance Listing Program Title
       TFR8QTK9HSM5                                                                Child Health and Human Development Extramural Research

    7. Project Director or Principal Investigator                              17. Award Action Type
       Heidi Serene Moseson Lidow, PHD                                             Supplement

                                                                               18. Is the Award R&D?
                                                                                   Yes

    8. Authorized Official                                                                          Summary Federal Award Financial Information
       Kelly Blanchard                                                          19. Budget Period Start Date 06/01/2024 — End Date 05/31/2025
                                                                                20. Total Amount of Federal Funds Obligated by this Action                         $59,000
                                                                                         20 a. Direct Cost Amount                                                  $50,000
                                                                                         20 b. Indirect Cost Amount                                                 $9,000
                                                                                21. Authorized Carryover
    Federal Agency Information                                                  22. Offset
    9. Awarding Agency Contact Information                                      23. Total Amount of Federal Funds Obligated this budget period                     $59,000
       Yvonne C. Talley                                                         24. Total Approved Cost Sharing or Matching, where applicable                            $0
       Grants Management Official                                               25. Total Federal and Non-Federal Approved this Budget Period                      $59,000
       EUNICE KENNEDY SHRIVER NATIONAL
       INSTITUTE OF CHILD HEALTH & HUMAN                                        26. Project Period Start Date 09/21/2023 — End Date 05/31/2028
       DEVELOPMENT                                                              27. Total Amount of the Federal Award including Approved Cost                $1,047,555
      talleyy@mail.nih.gov                                                          Sharing or Matching this Project Period
       301-496-7432
    10. Program Official Contact Information                                   28. Authorized Treatment of Program Income
       Ronna Popkin                                                                Additional Costs

       EUNICE KENNEDY SHRIVER NATIONAL                                         29. Grants Management Officer - Signature
       INSTITUTE OF CHILD HEALTH & HUMAN                                           Yvonne C. Talley
       DEVELOPMENT
       ronna.popkin@nih.gov
       301-827-5121
     30. Remarks
            Acceptance of this award, including the "Terms and Conditions,” is acknowledged by the recipient when funds are drawn down or
            otherwise requested from the grant payment system.




                                                                                              Page 1 of 6




                                                                                                                                             APHA App. 427
Case: 25-1611      Document: 00118310432                        Page: 431                          Date Filed: 07/08/2025    Entry ID: 6734280

                Case 1:25-cv-10787-BEM                Document 38-24                               Filed 04/25/25   Page 31 of 57



                                                                       Notice of Award
           RESEARCH
           Department of Health and Human Services
           National Institutes of Health

           EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

                SECTION I – AWARD DATA – 3R01HD109320-02S1



             Principal Investigator(s):
             Heidi Serene Moseson Lidow, PHD

             Award e-mailed to:

             Dear Authorized Official:

             The National Institutes of Health hereby awards a grant in the amount of $59,000 (see “Award Calculation”
             in Section I and “Terms and Conditions” in Section III) to IBIS REPRODUCTIVE HEALTH in support of the
             above referenced project. This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject
             to the requirements of this statute and regulation and of other referenced, incorporated or attached terms
             and conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must include
             an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
             was supported by the Eunice Kennedy Shriver National Institute Of Child Health & Human Development of
             the National Institutes of Health under Award Number R01HD109320. The content is solely the responsibility
             of the authors and does not necessarily represent the official views of the National Institutes of Health.”
             Prior to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC
             in advance to allow for coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a reasonable
             expectation that the design, conduct and reporting of research funded under NIH awards will be free from
             bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
             revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
             through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,




             Yvonne C. Talley
             Grants Management Officer
             EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

             Additional information follows




             Cumulative Award Calculations for this Budget Period (U.S. Dollars)

                                                                      Page 2 of 6
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/28/2024 11:17 AM



                                                                                                                       APHA App. 428
Case: 25-1611    Document: 00118310432                           Page: 432                         Date Filed: 07/08/2025         Entry ID: 6734280

            Case 1:25-cv-10787-BEM                  Document 38-24                               Filed 04/25/25    Page 32 of 57

           Salaries and Wages                                                                                                  $7,018
           Fringe Benefits                                                                                                     $1,965
           Personnel Costs (Subtotal)                                                                                          $8,983
           Materials & Supplies                                                                                                 $809
           Participant Subsistence                                                                                            $40,208

           Federal Direct Costs                                                                                               $50,000
           Federal F&A Costs                                                                                                   $9,000
           Approved Budget                                                                                                    $59,000
           Total Amount of Federal Funds Authorized (Federal Share)                                                           $59,000
           TOTAL FEDERAL AWARD AMOUNT                                                                                         $59,000

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                              $59,000


                  SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 2 ) (for this Document Number)
          AWARD NUMBER                                             TOTAL FEDERAL AWARD AMOUNT
          3R01HD109320-02S1                                                                 $59,000
          5R01HD109320-02                                                                  $477,618
          TOTAL                                                                            $536,618


                           SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                  THIS AWARD                                       CUMULATIVE TOTALS
             2                                        $59,000                                               $536,618
             3                                        $59,000                                               $493,712
             4                                        $59,000                                               $483,119
             5                                        $59,000                                               $464,474
           Recommended future year total cost support, subject to the availability of funds and satisfactory progress
           of the project

           Fiscal Information:
           Payment System Identifier:         1030382773A1
           Document Number:                   RHD109320A
           PMS Account Type:                  P (Subaccount)
           Fiscal Year:                       2024

           IC       CAN                 2024                          2025                               2026       2027
           HD       8014702             $9,000                        $59,000                            $59,000    $59,000
           OD       8025139             $50,000                       $0                                 $0         $0

           Recommended future year total cost support, subject to the availability of funds and satisfactory progress
           of the project

           NIH Administrative Data:
           PCC: PDB -RP / OC: 41023 / Released: 08/27/2024
           Award Processed: 08/28/2024 11:17:42 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 3R01HD109320-02S1

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 3R01HD109320-02S1

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                a. The grant program legislation and program regulation cited in this Notice of Award.
                b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                   those included in appropriations acts.
                c. 45 CFR Part 75.
                d. National Policy Requirements and all other requirements described in the NIH Grants Policy

                                                                    Page 3 of 6
                                             Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/28/2024 11:17 AM



                                                                                                                        APHA App. 429
Case: 25-1611        Document: 00118310432                            Page: 433                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                      Document 38-24                               Filed 04/25/25    Page 33 of 57

                      Statement, including addenda in effect as of the beginning date of the budget period.
                e.    Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                      progress report when applicable.
                f.    This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
           research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
           the rate(s) specified in the award document(s).


           An unobligated balance may be carried over into the next budget period without Grants Management Officer
           prior approval.

           This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
           (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN) R01HD109320. Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
           may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
           applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
           information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.



           This award is funded by the following list of institutes. Any papers published under the auspices of this
           award must cite the funding support of all institutes.
           Office Of The Director, National Institutes Of Health (OD)
           Eunice Kennedy Shriver National Institute Of Child Health & Human Development (NICHD)


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
           and https://www.hhs.gov/.

                •     Recipients of FFA must ensure that their programs are accessible to persons with limited English
                      proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                      meaningful access to programs or activities by limited English proficient individuals,
                      see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                      sheet-guidance/index.html and https://www.lep.gov.
                •     For information on an institution’s specific legal obligations for serving qualified individuals with
                                                                       Page 4 of 6
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/28/2024 11:17 AM



                                                                                                                           APHA App. 430
Case: 25-1611       Document: 00118310432                         Page: 434                          Date Filed: 07/08/2025   Entry ID: 6734280

            Case 1:25-cv-10787-BEM                   Document 38-24                               Filed 04/25/25   Page 34 of 57

                     disabilities, including providing program access, reasonable modifications, and to provide effective
                     communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                •    HHS funded health and education programs must be administered in an environment free of sexual
                     harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                     For information about NIH's commitment to supporting a safe and respectful work environment,
                     who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                     individuals supported on NIH-funded awards, please see
                     https://grants.nih.gov/grants/policy/harassment.htm.
                •    For guidance on administering programs in compliance with applicable federal religious
                     nondiscrimination laws and applicable federal conscience protection and associated anti-
                     discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                     https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


           Treatment of Program Income:
           Additional Costs

           SECTION IV – HD SPECIFIC AWARD CONDITIONS – 3R01HD109320-02S1


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.

           This award provides funding in the amount of $59,000 to support Advancing novel
           survey tools to increase participation and improve sexual and reproductive health data
           quality. NICHD will provide support in the amount of $9,000 and Sexual and Gender
           Minority Research Office (SGMRO) will provide co-funding support in the amount of
           $50,000.

           Human Subject
           For all competing applications or new protocols, the NICHD expects investigators for
           ALL NICHD Clinical Trials to abide by the requirements stated in NIH Guide Notice
           NOT-HD-20-036 “NICHD Data Safety Monitoring Guidelines for Extramural Clinical
           Trials and Clinical Research”. All NICHD applications which include Clinical Trials
           must include a Data Safety Monitoring Plan. All NIH-sponsored multi-site clinical trials,
           NIH-defined Phase III clinical trials and some single site clinical trials that pose potential
           risk to participants require Data and Safety Monitoring Board (DSMB) oversight.
           Applicants are expected to establish an independent, external DSMB when required by
           this policy.

           For all competing applications or new protocols, the NICHD expects investigators for
           ALL human subject research to abide by the requirements stated in NIH Guide Notice
           NOT-HD-20-035 “NICHD Serious Adverse Event, Unanticipated Problem, and Serious
           Adverse Event Reporting Guidance”.




                                                                     Page 5 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/28/2024 11:17 AM



                                                                                                                        APHA App. 431
Case: 25-1611     Document: 00118310432                             Page: 435                         Date Filed: 07/08/2025    Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-24                               Filed 04/25/25     Page 35 of 57

           SPREADSHEET SUMMARY
           AWARD NUMBER: 3R01HD109320-02S1

           INSTITUTION: IBIS REPRODUCTIVE HEALTH

           Budget                          Year 2                        Year 3                            Year 4     Year 5
           Salaries and Wages              $7,018                        $13,964                           $18,175    $25,122
           Fringe Benefits                 $1,965                        $3,910                            $5,089     $7,034
           Personnel Costs (Subtotal)      $8,983
           Consultant Services                                                                                        $9,950
           Materials & Supplies            $809                          $1,609                            $2,094     $2,894
           Travel                                                        $2,000                            $2,000     $5,000
           Participant Subsistence         $40,208                       $28,517                           $22,642
           TOTAL FEDERAL DC                $50,000                       $50,000                           $50,000    $50,000
           TOTAL FEDERAL F&A               $9,000                        $9,000                            $9,000     $9,000
           TOTAL COST                      $59,000                       $59,000                           $59,000    $59,000


           Facilities and Administrative   Year 2                        Year 3                            Year 4     Year 5
           Costs
           F&A Cost Rate 1                 18%                           18%                               18%        18%
           F&A Cost Base 1                 $50,000                       $50,000                           $50,000    $50,000
           F&A Costs 1                     $9,000                        $9,000                            $9,000     $9,000




                                                                     Page 6 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/28/2024 11:17 AM



                                                                                                                           APHA App. 432
Case: 25-1611   Document: 00118310432   Page: 436   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-24
                                  Document 38-24    Filed 04/25/25
                                                    Filed 04/25/25   Page 36
                                                                     Page 36 of
                                                                             of 57
                                                                                57




                        EXHIBIT
                        EXHIBIT D




                                                                        APHA App. 433
Case: 25-1611                     Document: 00118310432        Page: 437   Date Filed: 07/08/2025         Entry ID: 6734280

                                Case 1:25-cv-10787-BEM
                                Case 1:25-cv-10787-BEM   Document 38-24
                                                         Document 38-24    Filed 04/25/25
                                                                           Filed 04/25/25   Page 37
                                                                                            Page 37 of
                                                                                                    of 57
                                                                                                       57



                                ” SERVICE,
                          ~                  %,
          of BIALTy




                                             C    NIH)   National Institutes of Health
                      %                                  Office of Extramural Research
                          My,




             03/20/2025

            Kelly Blanchard
            IBIS REPRODUCTIVE HEALTH



            Dear Kelly Blanchard:

            Effective with the date of this letter, funding for Project Number 5RO1HD109320-02 is hereby
            terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy
            Statement,! and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.”

            The 2024 Policy Statement applies to your project because NIH approved your grant on
            06/01/2024, and “obligations generally should be determined by reference to the law in effect
            when the grants were made.”

            The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
            agreements and is incorporated by reference in all NIH grant and cooperative agreement
            awards.*” According to the Policy Statement, “NIH may ... terminate the grant in whole or in
            part as outlined in 2 CFR Part 200.340.°” At the time your grant was issued, 2 C.F.R. §
            200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity, to
            the greatest extent authorized by law, if an award no longer effectuates the program goals or
            agency priorities.”

            This award no longer effectuates agency priorities. Research programs based on gender identity
            are often unscientific, have little identifiable return on investment, and do nothing to enhance the
            health of many Americans. Many such studies ignore, rather than seriously examine, biological
            realities. It is the policy of NIH not to prioritize these research programs. Although “NIH
            generally will suspend (rather than immediately terminate) a grant and allow the recipient an
            opportunity to take appropriate corrective action before NIH makes a termination decision,”® no
            corrective action is possible here. The premise of this award is incompatible with agency
            priorities, and no modification of the project could align the project with agency priorities.


             1 https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
            22 CER. § 200.341(a); 45 CER. § 75.373
            3 Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
            4 2024 Policy Statement at IIA-1.
            3 Id. at IIA-155.
            § 2024 Policy Statement at IIA-156.




                                                                                                  APHA App. 434
Case: 25-1611         Document: 00118310432                  Page: 438   Date Filed: 07/08/2025    Entry ID: 6734280

              Case 1:25-cv-10787-BEM                    Document 38-24   Filed 04/25/25   Page 38 of 57




       Costs resulting from financial obligations incurred after termination are not allowable.7 Nothing
       in this notice excuses either NIH or you from complying with the closeout obligations imposed
       by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
       Funding Accountability and Transparency Act or the Office of Management and Budget’s
       regulations to USAspending.gov.8
       Administrative Appeal
       You may object and provide information and documentation challenging this termination.9 NIH
       has established a first-level grant appeal procedure that must be exhausted before you may file an
       appeal with the Departmental Appeals Board.10
       You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
       written notification of the determination is received, except that if you show good cause why an
       extension of time should be granted, Dr. Memoli may grant an extension of time.11
       The request for review must include a copy of the adverse determination, must identify the
       issue(s) in dispute, and must contain a full statement of your position with respect to such
       issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
       written statement, you shall provide copies of any documents supporting your claim.12


       Sincerely,




       Michelle G. Bulls, on behalf of Margaret Young, Chief Grants Management Officer,
       National Institute of Child Health & Human Development
       Director, Office of Policy for Extramural Research Administration
       Office of Extramural Research




       7
         See 2 C.F.R. § 200.343 (2024).
       8
         2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
       9
         See 45 C.F.R. § 75.374.
       10
          See 42 C.F.R. Part 50, Subpart D
       11
            11 Id. § 50.406(a)
       12
            12 Id. § 50.406(b)



                                                                2
                                                                                              APHA App. 435
Case: 25-1611   Document: 00118310432   Page: 439   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-24
                                  Document 38-24    Filed 04/25/25
                                                    Filed 04/25/25   Page 39
                                                                     Page 39 of
                                                                             of 57
                                                                                57




                         EXHIBIT
                         EXHIBIT E




                                                                        APHA App. 436
Case: 25-1611                  Document: 00118310432              Page: 440            Date Filed: 07/08/2025                 Entry ID: 6734280

                      og Case
                          Heperpapt  h el HEROTABEEYM an Document
                                1:25-cv-10787-BEM         BaNEAMeNt 38-24
                                                                    38-24              Filed 04/25/25
                                                                                       Filed 04/25/25          Page 40
                                                                                                               Page 40 of
                                                                                                                       of 57
                                                                                                                          5 Notice of Award

                     %
                            National Institutes of Health                                                                   FAIN# RO1HD109320
       a0 MEAL, an              EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD                                            Federal Award Date
                                HEALTH & HUMAN DEVELOPMENT                                                                           03/25/2025
                     b,
                          en


    Recipient Information                               Federal Award Information
    1. Recipient Name
       IBIS REPRODUCTIVE HEALTH, INC.
                                                       11. Award Number
                                                          5RO1HD109320-02

                                                       12. Unique Federal Award Identification Number (FAIN)
    2. Congressional District of Recipient                 RO1HD109320
       05
                                                       13. Statutory Authority
    3. Payment System Identifier (ID)                      42 USC 241 42 CFR 52
       1030382773A1
                                                       14. Federal Award Project Title
    4. Employer Identification Number (EIN)                Advancing novel survey tools to increase participation and improve sexual and
       030382773                                           reproductive health data quality

    5. Data Universal Numbering System (DUNS)          15. Assistance Listing Number
       126940738                                           93.865

    6. Recipient's Unique Entity Identifier            16. Assistance Listing Program Title
       TFR8QTK9HSM5                                        Child Health and Human Development Extramural Research

    7. Project Director or Principal Investigator      17. Award Action Type
       Heidi Serene Moseson Lidow, PHD                     Non-Competing Continuation (REVISED)

                                                       18. Is the Award R&D?
                                                           Yes

    8. Authorized Official                                                  Summary Federal Award Financial Information
       Kelly Blanchard                                  19. Budget Period Start Date 06/01/2024 — End Date 03/21/2025
                                                        20. Total Amount of Federal Funds Obligated by this Action                            $0
                                                                 20 a. Direct Cost Amount                                                     $0
                                                                 20 b. Indirect Cost Amount                                                   $0
                                                        21. Authorized Carryover
    Federal Agency Information                          22. Offset
    9. Awarding Agency Contact Information              23. Total Amount of Federal Funds Obligated this budget period                 $477,618
       Yvonne C. Talley                                 24. Total Approved Cost Sharing or Matching, where applicable                         So
       Grants Management Official                       25. Total Federal and Non-Federal Approved this Budget Period                  $477,618
       EUNICE KENNEDY SHRIVER NATIONAL
       INSTITUTE OF CHILD HEALTH & HUMAN                26. Project Period Start Date 09/21/2023 — End Date 03/21/2025
       DEVELOPMENT                                      27. Total Amount of the Federal Award including Approved Cost                $1,047,555
      talleyy@mail.nih.gov                                  Sharing or Matching this Project Period
       301-496-7432
    10. Program Official Contact Information           28. Authorized Treatment of Program Income
       Ronna Popkin                                        Additional Costs

       EUNICE KENNEDY SHRIVER NATIONAL                 29. Grants Management Officer - Signature
       INSTITUTE OF CHILD HEALTH & HUMAN                   Margaret A. Young
       DEVELOPMENT
       ronna.popkin@nih.gov
       301-827-5121
     30. Remarks
            Acceptance of this award, including the "Terms and Conditions,” is acknowledged by the recipient when funds are drawn down or
            otherwise requested from the grant payment system.




                                                                      Page 1 of 9




                                                                                                                     APHA App. 437
Case: 25-1611      Document: 00118310432                        Page: 441                          Date Filed: 07/08/2025       Entry ID: 6734280

                Case 1:25-cv-10787-BEM                Document 38-24                               Filed 04/25/25   Page 41 of 57



                                                                       Notice of Award
           RESEARCH
           Department of Health and Human Services
           National Institutes of Health

           EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

                SECTION I – AWARD DATA – 5R01HD109320-02 REVISED



             Principal Investigator(s):
             Heidi Serene Moseson Lidow, PHD

             Award e-mailed to:

             Dear Authorized Official:

             The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and “Terms
             and Conditions” in Section III) to IBIS REPRODUCTIVE HEALTH in support of the above referenced project.
             This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject to the requirements of this
             statute and regulation and of other referenced, incorporated or attached terms and conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must include
             an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
             was supported by the Eunice Kennedy Shriver National Institute Of Child Health & Human Development of
             the National Institutes of Health under Award Number R01HD109320. The content is solely the responsibility
             of the authors and does not necessarily represent the official views of the National Institutes of Health.”
             Prior to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC
             in advance to allow for coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a reasonable
             expectation that the design, conduct and reporting of research funded under NIH awards will be free from
             bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
             revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
             through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,




             Margaret A. Young
             Grants Management Officer
             EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

             Additional information follows




             Cumulative Award Calculations for this Budget Period (U.S. Dollars)
             Salaries and Wages                                                                                             $110,268

                                                                      Page 2 of 9
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:15 AM



                                                                                                                       APHA App. 438
Case: 25-1611     Document: 00118310432                           Page: 442                         Date Filed: 07/08/2025     Entry ID: 6734280

            Case 1:25-cv-10787-BEM                   Document 38-24                               Filed 04/25/25   Page 42 of 57

           Fringe Benefits                                                                                                $30,875
           Personnel Costs (Subtotal)                                                                                    $141,143
           Consultant Services                                                                                             $4,275
           Other                                                                                                           $3,717
           Subawards/Consortium/Contractual Costs                                                                        $266,213
           Equipment or Facility Rental/User Fees                                                                         $22,583

           Federal Direct Costs                                                                                          $437,931
           Federal F&A Costs                                                                                              $39,687
           Approved Budget                                                                                               $477,618
           Total Amount of Federal Funds Authorized (Federal Share)                                                      $477,618
           TOTAL FEDERAL AWARD AMOUNT                                                                                    $477,618

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                               $0


                  SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 2 ) (for this Document Number)
          AWARD NUMBER                                             TOTAL FEDERAL AWARD AMOUNT
          5R01HD109320-02                                                                  $477,618
          3R01HD109320-02S1                                                                 $59,000
          TOTAL                                                                            $536,618


                               SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                    THIS AWARD                             CUMULATIVE TOTALS
             2                                   $477,618                                                               $536,618

           Fiscal Information:
           Payment System Identifier:          1030382773A1
           Document Number:                    RHD109320A
           PMS Account Type:                   P (Subaccount)
           Fiscal Year:                        2024

           IC        CAN                                                                2024
           HD        8014702                                                            $427,618
           OD        8055729                                                            $50,000



           NIH Administrative Data:
           PCC: PDB -RP / OC: 41025 / Released: 03/25/2025
           Award Processed: 03/26/2025 12:15:10 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 5R01HD109320-02 REVISED

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 5R01HD109320-02 REVISED

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                 a. The grant program legislation and program regulation cited in this Notice of Award.
                 b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                    those included in appropriations acts.
                 c. 45 CFR Part 75.
                 d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                    Statement, including addenda in effect as of the beginning date of the budget period.
                 e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                    progress report when applicable.
                 f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
                                                         Page 3 of 9
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:15 AM



                                                                                                                       APHA App. 439
Case: 25-1611     Document: 00118310432                               Page: 443                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                      Document 38-24                               Filed 04/25/25    Page 43 of 57

           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
           research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
           the rate(s) specified in the award document(s).


           An unobligated balance may be carried over into the next budget period without Grants Management Officer
           prior approval.

           This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
           (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN) R01HD109320. Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
           may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
           applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
           information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


           This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
           Statement Section 8.6 Closeout for complete closeout requirements at:
           http://grants.nih.gov/grants/policy/policy.htm#gps.

           A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
           Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
           Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
           additional information on this submission requirement. The final FFR must indicate the exact balance of
           unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
           between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
           awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
           expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
           expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

           A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
           conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
           568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
           Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
           G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
           U42, U45, UC6, UC7, UR2, X01, X02.

           Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
           (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
           renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
           well. Instructions for preparing an Interim or Final RPPR are at:
           https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
           the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
           reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
           lay person audience.

                                                                       Page 4 of 9
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:15 AM



                                                                                                                           APHA App. 440
Case: 25-1611       Document: 00118310432                            Page: 444                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-24                               Filed 04/25/25    Page 44 of 57

           NIH requires electronic submission of the final invention statement through the Closeout feature in the
           Commons.

           NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
           then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
           electronically as noted above. If not already submitted, the Final Invention Statement is required and should
           be sent directly to the assigned Grants Management Specialist.

           This award is funded by the following list of institutes. Any papers published under the auspices of this
           award must cite the funding support of all institutes.
           Eunice Kennedy Shriver National Institute Of Child Health & Human Development (NICHD)
           Office Of The Director, National Institutes Of Health (OD)


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
           and https://www.hhs.gov/.

                ·    Recipients of FFA must ensure that their programs are accessible to persons with limited English
                     proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                     meaningful access to programs or activities by limited English proficient individuals,
                     see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                     sheet-guidance/index.html and https://www.lep.gov.
                ·    For information on an institution’s specific legal obligations for serving qualified individuals with
                     disabilities, including providing program access, reasonable modifications, and to provide effective
                     communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                ·    HHS funded health and education programs must be administered in an environment free of sexual
                     harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                     For information about NIH's commitment to supporting a safe and respectful work environment,
                     who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                     individuals supported on NIH-funded awards, please see
                     https://grants.nih.gov/grants/policy/harassment.htm.
                ·    For guidance on administering programs in compliance with applicable federal religious
                     nondiscrimination laws and applicable federal conscience protection and associated anti-
                     discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                     https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


           Treatment of Program Income:
           Additional Costs

           SECTION IV – HD SPECIFIC AWARD CONDITIONS – 5R01HD109320-02 REVISED


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.

                                                                      Page 5 of 9
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:15 AM



                                                                                                                          APHA App. 441
Case: 25-1611     Document: 00118310432                              Page: 445                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-24                               Filed 04/25/25    Page 45 of 57

           TERMINATION
           This award no longer effectuates agency priorities. Research programs based on gender identity are often
           unscientific, have little identifiable return on investment, and do nothing to enhance the health of many
           Americans. Many such studies ignore, rather than seriously examine, biological realities. Therefore, it is the
           policy of NIH not to prioritize such research programs.


           CLOSEOUT
           “Recipient Institution” may request funds to support patient safety and orderly closeout of the project. Funds
           used to support any other research activities will be disallowed and recovered. Please be advised that your
           organization, as part of the orderly closeout process will need to submit the necessary closeout documents
           (i.e., Final Research Performance Progress Report, Final Invention Statement, and the Final Federal Financial
           Report (FFR), as applicable within 120 days of the end of this grant.


           The Closeout procedures should occur as expeditiously as possible while maintaining the safety of human
           subjects. There must be an orderly process to ensure the safety and welfare of participants. The grant
           close-out must occur within 120 days. The closeout will include:

                  · Informing all enrolled study participants of the study’s termination and what study closure means
                    for them:
                           · Options pertaining to receiving further intervention, continuing follow-up, if required
                           · Recognition of the value of their data and contribution to research
                  · If there remain participants that are actively participating in the research, the process and
                    responsibilities will differ depending on the nature of the research.
                           · If there is a prospect of direct benefit of the intervention and/or the intervention requires
                             ongoing monitoring for safety and welfare there must be a plan to address these needs.
                           · If there are no participants actively participating, or there is no need for ongoing
                             monitoring or care, the protocol may be closed.
                  · Conduct any necessary final study visits or data collection procedures for enrolled participants.
                  · Notifying the IRB, DSMB, FDA, and/or other monitoring bodies of the study’s closure.
                  · Assure all consent forms, case report forms, and source documentation for the study are
                    completed as necessary and are present in the study files.
                  · Complete all adverse event reporting and reconciliation as per protocol.
                  · Perform any appropriate statistical analyses of the study data collected to date.
                  · Prepare a comprehensive final study report summarizing findings, including any deviations from
                    the protocol and GCP compliance.
                  · Review and clean collected data for accuracy and completeness resulting in a locked dataset,
                    suitable for sharing, as required.
                  · Confirm final disposition of investigational product(s) and devices. Plan for removal of any
                    implanted devices, if applicable.
                  · Handle any biospecimens collected and prepare them for sharing, if required.
                  · Update the study record and status to terminated in ClinicalTrials.gov as appropriate.



           APPEALS
                                                                      Page 6 of 9
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:15 AM



                                                                                                                          APHA App. 442
Case: 25-1611     Document: 00118310432                              Page: 446                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-24                               Filed 04/25/25    Page 46 of 57

           NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as implemented in NIH GPS
           Section 8.5.2. This revised award represents the final decision of the NIH. It shall be the final decision of the
           Department of Health and Human Services (HHS) unless within 30 days after receiving this decision you
           mail or email a written notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
           appeal justification, total amount in dispute, and any material or documentation that will support your
           position. Finally, the appeal must be signed by the institutional official authorized to sign award applications
           and must be dated no later than 30 days after the date of this notice.


           ********



           Funding Level
           In accordance with NIH FY2024 fiscal policy, this non-competing award is reduced 1%
           below the committed funding level on the FY2023 Notice of Award. See NIH Guide
           Notice NOT-OD-24-109 for more information.

           Co-fund
           Co-funding support in the amount of $50,000 from the Office of Behavioral and Social
           Sciences Research (OBSSR).

           Clinical Trial Terms

           Dissemination Policy
           The clinical trial(s) supported by this award are subject to the Dissemination Plan
           specified in the application dated 07/05/2022 and the NIH policy on Dissemination of
           NIH-Funded Clinical Trial Information. The policy states that the clinical trial(s) funded
           by this award will be registered in ClinicalTrials.gov not later than 21 calendar days after
           enrollment of the first participant and that primary summary results will be reported in
           ClinicalTrials.gov not later than one year after the trial completion date. The reporting of
           summary results is required even if the primary trial completion date occurs after the
           period of performance.

           This award is subject to additional certification requirements with submission of the
           Annual, Interim and Final Research Performance Progress Reports (RPPR). The recipient
           must agree to the following annual certification when submitting each RPPR. By
           submitting the RPPR, the Signing Official (SO) signifies compliance, as follows:

           In submitting this RPPR, the SO (or PD/PI with delegated authority), certifies to the best
           of their knowledge that, for all clinical trials funded under this NIH award, the recipient
           and all investigators conducting NIH-funded clinical trials comply with the recipient’s
           plan addressing compliance with the Dissemination of NIH-Funded Clinical Trial
           Information policy. Any clinical trial funded in whole or in part under this award has
           been registered in ClinicalTrials.gov or will be registered not later than 21 calendar days
           after enrollment of the first participant. Summary results have been submitted to
           ClinicalTrials.gov or will be submitted not later than one year after the trial completion
           date, even if the trial completion date occurs after the period of performance.

           Clinical Trial Study/Studies:
           STUDY NUMBER: 427630

           Risk Assessment
                                                                      Page 7 of 9
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:15 AM



                                                                                                                          APHA App. 443
Case: 25-1611     Document: 00118310432                                Page: 447                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                       Document 38-24                               Filed 04/25/25    Page 47 of 57

           This Clinical Trial Study or Studies listed above have been determined by NICHD to be
           considered LOW risk. Oversight by NICHD will occur in the standard manner through
           the annual RPPR. An annual update (no additional reports) on the status of the milestones
           included in Section 6 of the eRA HSS and any additional agreed-upon milestones are due
           in the RPPR. Information and procedures concerning these requirements are available on
           the NICHD Policies on Clinical Research site.

           *****************************
           Human Subjects
           For all competing applications or new protocols, the NICHD expects investigators for
           ALL NICHD Clinical Trials to abide by the requirements stated in NIH Guide Notice
           NOT-HD-20-036 “NICHD Data Safety Monitoring Guidelines for Extramural Clinical
           Trials and Clinical Research”. All NICHD applications which include Clinical Trials
           must include a Data Safety Monitoring Plan. All NIH-sponsored multi-site clinical trials,
           NIH-defined Phase III clinical trials and some single site clinical trials that pose potential
           risk to participants require Data and Safety Monitoring Board (DSMB) oversight.
           Applicants are expected to establish an independent, external DSMB when required by
           this policy.

           For all competing applications or new protocols, the NICHD expects investigators for
           ALL human subject research to abide by the requirements stated in NIH Guide Notice
           NOT-HD-20-035 “NICHD Serious Adverse Event, Unanticipated Problem, and Serious
           Adverse Event Reporting Guidance”.

           Consortium
           This award includes funds awarded for consortium activity with the following:
           Mount Holyoke College
           Stanford University




           SPREADSHEET SUMMARY
           AWARD NUMBER: 5R01HD109320-02 REVISED

           INSTITUTION: IBIS REPRODUCTIVE HEALTH

           Budget                                                         Year 2
           Salaries and Wages                                             $110,268
           Fringe Benefits                                                $30,875
           Personnel Costs (Subtotal)                                     $141,143
           Consultant Services                                            $4,275
           Other                                                          $3,717
           Subawards/Consortium/Contractual Costs                         $266,213
           Equipment or Facility Rental/User Fees                         $22,583
           TOTAL FEDERAL DC                                               $437,931
           TOTAL FEDERAL F&A                                              $39,687
           TOTAL COST                                                     $477,618


           Facilities and Administrative Costs                            Year 2
           F&A Cost Rate 1                                                20.2%
           F&A Cost Base 1                                                $196,468
           F&A Costs 1                                                    $39,687

                                                                        Page 8 of 9
                                                 Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:15 AM



                                                                                                                            APHA App. 444
Case: 25-1611   Document: 00118310432                 Page: 448                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM      Document 38-24                               Filed 04/25/25    Page 48 of 57




                                                       Page 9 of 9
                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:15 AM



                                                                                                           APHA App. 445
Case: 25-1611   Document: 00118310432   Page: 449   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-24
                                  Document 38-24    Filed 04/25/25
                                                    Filed 04/25/25   Page 49
                                                                     Page 49 of
                                                                             of 57
                                                                                57




                         EXHIBIT
                         EXHIBIT F




                                                                        APHA App. 446
Case: 25-1611                  Document: 00118310432              Page: 450            Date Filed: 07/08/2025                 Entry ID: 6734280

                      og Case
                          Heperpapt  h el HEROTABEEYM an Document
                                1:25-cv-10787-BEM         BaNeAhent 38-24
                                                                    38-24              Filed 04/25/25
                                                                                       Filed 04/25/25          Page 50
                                                                                                               Page 50 of
                                                                                                                       of 57
                                                                                                                          5 Notice of Award

                     %
                            National Institutes of Health                                                                   FAIN# RO1HD109320
       a0 MEAL, an              EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD                                            Federal Award Date
                                HEALTH & HUMAN DEVELOPMENT                                                                           03/25/2025
                     b,
                          en


    Recipient Information                               Federal Award Information
    1. Recipient Name
       IBIS REPRODUCTIVE HEALTH, INC.
                                                       11. Award Number
                                                          3RO1HD109320-02S1

                                                       12. Unique Federal Award Identification Number (FAIN)
    2. Congressional District of Recipient                 RO1HD109320
       05
                                                       13. Statutory Authority
    3. Payment System Identifier (ID)                      42 USC 241 42 CFR 52
       1030382773A1
                                                       14. Federal Award Project Title
    4. Employer Identification Number (EIN)                Advancing novel survey tools to increase participation and improve sexual and
       030382773                                           reproductive health data quality

    5. Data Universal Numbering System (DUNS)          15. Assistance Listing Number
       126940738                                           93.865

    6. Recipient's Unique Entity Identifier            16. Assistance Listing Program Title
       TFR8QTK9HSM5                                        Child Health and Human Development Extramural Research

    7. Project Director or Principal Investigator      17. Award Action Type
       Heidi Serene Moseson Lidow, PHD                     Supplement (REVISED)

                                                       18. Is the Award R&D?
                                                           Yes

    8. Authorized Official                                                  Summary Federal Award Financial Information
       Kelly Blanchard                                  19. Budget Period Start Date 06/01/2024 — End Date 03/21/2025
                                                        20. Total Amount of Federal Funds Obligated by this Action                               $0
                                                                 20 a. Direct Cost Amount                                                        $0
                                                                 20 b. Indirect Cost Amount                                                      $0
                                                        21. Authorized Carryover
    Federal Agency Information                          22. Offset
    9. Awarding Agency Contact Information              23. Total Amount of Federal Funds Obligated this budget period                     $59,000
       Yvonne C. Talley                                 24. Total Approved Cost Sharing or Matching, where applicable                            So
       Grants Management Official                       25. Total Federal and Non-Federal Approved this Budget Period                      $59,000
       EUNICE KENNEDY SHRIVER NATIONAL
       INSTITUTE OF CHILD HEALTH & HUMAN                26. Project Period Start Date 09/21/2023 — End Date 03/21/2025
       DEVELOPMENT                                      27. Total Amount of the Federal Award including Approved Cost                $1,047,555
      talleyy@mail.nih.gov                                  Sharing or Matching this Project Period
       301-496-7432
    10. Program Official Contact Information           28. Authorized Treatment of Program Income
       Ronna Popkin                                        Additional Costs

       EUNICE KENNEDY SHRIVER NATIONAL                 29. Grants Management Officer - Signature
       INSTITUTE OF CHILD HEALTH & HUMAN                   Margaret A. Young
       DEVELOPMENT
       ronna.popkin@nih.gov
       301-827-5121
     30. Remarks
            Acceptance of this award, including the "Terms and Conditions,” is acknowledged by the recipient when funds are drawn down or
            otherwise requested from the grant payment system.




                                                                      Page 1 of 8




                                                                                                                     APHA App. 447
Case: 25-1611              Document: 00118310432                     Page: 451             Date Filed: 07/08/2025                Entry ID: 6734280

                        Case 1:25-cv-10787-BEM
                        Case 1:25-cv-10787-BEM                 Document 38-24
                                                               Document 38-24              Filed 04/25/25
                                                                                           Filed 04/25/25        Page 51
                                                                                                                 Page 51 of
                                                                                                                         of 57
                                                                                                                            57



                                                                         Notice of Award
               Caen   RESEARCH
           %




                      Department of Health and Human Services
               MA\.
   go NEALTY




                      National Institutes of Health
               >:

                      EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH & HUMAN DEVELOPMENT

                        SECTION I - AWARD DATA —- 3R01HD109320-02S1          REVISED



                        Principal Investigator(s):
                        Heidi Serene Moseson Lidow, PHD

                        Award e-mailed to a
                        Dear Authorized Official:

                        The National Institutes of Health hereby revises this award (see “Award Calculation” in Section | and “Terms
                        and Conditions” in Section III) to IBIS REPRODUCTIVE HEALTH in support of the above referenced project.
                        This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject to the requirements of this
                        statute and regulation and of other referenced, incorporated or attached terms and conditions.

                        Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
                        funds are drawn down or otherwise requested from the grant payment system.

                        Each publication, press release, or other document about research supported by an NIH award must include
                        an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
                        was supported by the Eunice Kennedy Shriver National Institute Of Child Health & Human Development of
                        the National Institutes of Health under Award Number RO1HD109320. The content is solely the responsibility
                        of the authors and does not necessarily represent the official views of the National Institutes of Health.”
                        Prior to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC
                        in advance to allow for coordination.

                        Award recipients must promote objectivity in research by establishing standards that provide a reasonable
                        expectation that the design, conduct and reporting of research funded under NIH awards will be free from
                        bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
                        revised regulation at 42 CFR Part 50 Subpart F._ The Institution shall submit all FCO! reports to the NIH
                        through the eRA Commons FCOI Module. The regulation does not apply to Phase | Small Business
                        Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
                        website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
                        information.

                        If you have any questions about this award, please direct questions to the Federal Agency contacts.

                        Sincerely yours,




                        Margaret A. Young
                        Grants Management Officer
                        EUNICE KENNEDY SHRIVER NATIONAL INSTITUTE OF CHILD HEALTH               & HUMAN DEVELOPMENT

                        Additional information follows




                        Cumulative Award Calculations for this Budget Period (U.S. Dollars)
                        Salaries and Wages                                                                                    $7,018
                                                                         Page 2 of 8



                                                                                                                        APHA App. 448
Case: 25-1611    Document: 00118310432                           Page: 452                         Date Filed: 07/08/2025       Entry ID: 6734280

            Case 1:25-cv-10787-BEM                  Document 38-24                               Filed 04/25/25   Page 52 of 57

           Fringe Benefits                                                                                                   $1,965
           Personnel Costs (Subtotal)                                                                                        $8,983
           Materials & Supplies                                                                                               $809
           Participant Subsistence                                                                                          $40,208

           Federal Direct Costs                                                                                             $50,000
           Federal F&A Costs                                                                                                 $9,000
           Approved Budget                                                                                                  $59,000
           Total Amount of Federal Funds Authorized (Federal Share)                                                         $59,000
           TOTAL FEDERAL AWARD AMOUNT                                                                                       $59,000

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                                $0


                  SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 2 ) (for this Document Number)
          AWARD NUMBER                                             TOTAL FEDERAL AWARD AMOUNT
          3R01HD109320-02S1                                                                 $59,000
          5R01HD109320-02                                                                  $477,618
          TOTAL                                                                            $536,618


                           SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                  THIS AWARD                                       CUMULATIVE TOTALS
             2                                        $59,000                                               $536,618
             3                                              $0                                              $434,712
             4                                              $0                                              $424,119
             5                                              $0                                              $405,474
           Recommended future year total cost support, subject to the availability of funds and satisfactory progress
           of the project

           Fiscal Information:
           Payment System Identifier:         1030382773A1
           Document Number:                   RHD109320A
           PMS Account Type:                  P (Subaccount)
           Fiscal Year:                       2024

           IC       CAN                                                                2024
           HD       8014702                                                            $9,000
           OD       8025139                                                            $50,000

           Recommended future year total cost support, subject to the availability of funds and satisfactory progress
           of the project

           NIH Administrative Data:
           PCC: PDB -RP / OC: 41023 / Released: 03/25/2025
           Award Processed: 03/26/2025 12:14:52 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION – 3R01HD109320-02S1 REVISED

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS – 3R01HD109320-02S1 REVISED

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                a. The grant program legislation and program regulation cited in this Notice of Award.
                b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                   those included in appropriations acts.
                c. 45 CFR Part 75.
                d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                   Statement, including addenda in effect as of the beginning date of the budget period.

                                                                    Page 3 of 8
                                             Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:14 AM



                                                                                                                      APHA App. 449
Case: 25-1611        Document: 00118310432                            Page: 453                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                      Document 38-24                               Filed 04/25/25    Page 53 of 57

                e.    Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                      progress report when applicable.
                f.    This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
           research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
           the rate(s) specified in the award document(s).


           An unobligated balance may be carried over into the next budget period without Grants Management Officer
           prior approval.

           This grant is subject to Streamlined Noncompeting Award Procedures (SNAP).

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
           (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN) R01HD109320. Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
           may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
           applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
           information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


           This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
           Statement Section 8.6 Closeout for complete closeout requirements at:
           http://grants.nih.gov/grants/policy/policy.htm#gps.

           A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
           Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
           Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
           additional information on this submission requirement. The final FFR must indicate the exact balance of
           unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
           between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
           awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
           expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
           expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

           A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
           conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
           568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
           Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
           G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
           U42, U45, UC6, UC7, UR2, X01, X02.

           Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
           (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
           renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
           well. Instructions for preparing an Interim or Final RPPR are at:
                                                                       Page 4 of 8
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:14 AM



                                                                                                                           APHA App. 450
Case: 25-1611       Document: 00118310432                            Page: 454                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-24                               Filed 04/25/25    Page 54 of 57

           https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
           the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
           reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
           lay person audience.

           NIH requires electronic submission of the final invention statement through the Closeout feature in the
           Commons.

           NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
           then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
           electronically as noted above. If not already submitted, the Final Invention Statement is required and should
           be sent directly to the assigned Grants Management Specialist.

           This award is funded by the following list of institutes. Any papers published under the auspices of this
           award must cite the funding support of all institutes.
           Office Of The Director, National Institutes Of Health (OD)
           Eunice Kennedy Shriver National Institute Of Child Health & Human Development (NICHD)


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
           and https://www.hhs.gov/.

                ·    Recipients of FFA must ensure that their programs are accessible to persons with limited English
                     proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                     meaningful access to programs or activities by limited English proficient individuals,
                     see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                     sheet-guidance/index.html and https://www.lep.gov.
                ·    For information on an institution’s specific legal obligations for serving qualified individuals with
                     disabilities, including providing program access, reasonable modifications, and to provide effective
                     communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                ·    HHS funded health and education programs must be administered in an environment free of sexual
                     harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                     For information about NIH's commitment to supporting a safe and respectful work environment,
                     who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                     individuals supported on NIH-funded awards, please see
                     https://grants.nih.gov/grants/policy/harassment.htm.
                ·    For guidance on administering programs in compliance with applicable federal religious
                     nondiscrimination laws and applicable federal conscience protection and associated anti-
                     discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                     https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


           Treatment of Program Income:
           Additional Costs

           SECTION IV – HD SPECIFIC AWARD CONDITIONS – 3R01HD109320-02S1 REVISED

                                                                      Page 5 of 8
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:14 AM



                                                                                                                          APHA App. 451
Case: 25-1611     Document: 00118310432                              Page: 455                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-24                               Filed 04/25/25    Page 55 of 57


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.

           TERMINATION
           This award no longer effectuates agency priorities. Research programs based on gender identity are often
           unscientific, have little identifiable return on investment, and do nothing to enhance the health of many
           Americans. Many such studies ignore, rather than seriously examine, biological realities. Therefore, it is the
           policy of NIH not to prioritize such research programs.


           CLOSEOUT
           “Recipient Institution” may request funds to support patient safety and orderly closeout of the project. Funds
           used to support any other research activities will be disallowed and recovered. Please be advised that your
           organization, as part of the orderly closeout process will need to submit the necessary closeout documents
           (i.e., Final Research Performance Progress Report, Final Invention Statement, and the Final Federal Financial
           Report (FFR), as applicable within 120 days of the end of this grant.


           The Closeout procedures should occur as expeditiously as possible while maintaining the safety of human
           subjects. There must be an orderly process to ensure the safety and welfare of participants. The grant
           close-out must occur within 120 days. The closeout will include:

                  · Informing all enrolled study participants of the study’s termination and what study closure means
                    for them:
                           · Options pertaining to receiving further intervention, continuing follow-up, if required
                           · Recognition of the value of their data and contribution to research
                  · If there remain participants that are actively participating in the research, the process and
                    responsibilities will differ depending on the nature of the research.
                           · If there is a prospect of direct benefit of the intervention and/or the intervention requires
                             ongoing monitoring for safety and welfare there must be a plan to address these needs.
                           · If there are no participants actively participating, or there is no need for ongoing
                             monitoring or care, the protocol may be closed.
                  · Conduct any necessary final study visits or data collection procedures for enrolled participants.
                  · Notifying the IRB, DSMB, FDA, and/or other monitoring bodies of the study’s closure.
                  · Assure all consent forms, case report forms, and source documentation for the study are
                    completed as necessary and are present in the study files.
                  · Complete all adverse event reporting and reconciliation as per protocol.
                  · Perform any appropriate statistical analyses of the study data collected to date.
                  · Prepare a comprehensive final study report summarizing findings, including any deviations from
                    the protocol and GCP compliance.
                  · Review and clean collected data for accuracy and completeness resulting in a locked dataset,
                    suitable for sharing, as required.
                  · Confirm final disposition of investigational product(s) and devices. Plan for removal of any
                    implanted devices, if applicable.
                  · Handle any biospecimens collected and prepare them for sharing, if required.
                                                                      Page 6 of 8
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:14 AM



                                                                                                                          APHA App. 452
Case: 25-1611     Document: 00118310432                              Page: 456                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-24                               Filed 04/25/25    Page 56 of 57

                  · Update the study record and status to terminated in ClinicalTrials.gov as appropriate.



           APPEALS
           NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as implemented in NIH GPS
           Section 8.5.2. This revised award represents the final decision of the NIH. It shall be the final decision of the
           Department of Health and Human Services (HHS) unless within 30 days after receiving this decision you
           mail or email a written notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
           appeal justification, total amount in dispute, and any material or documentation that will support your
           position. Finally, the appeal must be signed by the institutional official authorized to sign award applications
           and must be dated no later than 30 days after the date of this notice.


           ********




           This award provides funding in the amount of $59,000 to support Advancing novel
           survey tools to increase participation and improve sexual and reproductive health data
           quality. NICHD will provide support in the amount of $9,000 and Sexual and Gender
           Minority Research Office (SGMRO) will provide co-funding support in the amount of
           $50,000.

           Human Subject
           For all competing applications or new protocols, the NICHD expects investigators for
           ALL NICHD Clinical Trials to abide by the requirements stated in NIH Guide Notice
           NOT-HD-20-036 “NICHD Data Safety Monitoring Guidelines for Extramural Clinical
           Trials and Clinical Research”. All NICHD applications which include Clinical Trials
           must include a Data Safety Monitoring Plan. All NIH-sponsored multi-site clinical trials,
           NIH-defined Phase III clinical trials and some single site clinical trials that pose potential
           risk to participants require Data and Safety Monitoring Board (DSMB) oversight.
           Applicants are expected to establish an independent, external DSMB when required by
           this policy.

           For all competing applications or new protocols, the NICHD expects investigators for
           ALL human subject research to abide by the requirements stated in NIH Guide Notice
           NOT-HD-20-035 “NICHD Serious Adverse Event, Unanticipated Problem, and Serious
           Adverse Event Reporting Guidance”.



           SPREADSHEET SUMMARY
           AWARD NUMBER: 3R01HD109320-02S1 REVISED

           INSTITUTION: IBIS REPRODUCTIVE HEALTH

           Budget                          Year 2                         Year 3                            Year 4    Year 5
           Salaries and Wages              $7,018
           Fringe Benefits                 $1,965
           Personnel Costs (Subtotal)      $8,983
           Materials & Supplies            $809
           Participant Subsistence         $40,208
           TOTAL FEDERAL DC                $50,000

                                                                      Page 7 of 8
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:14 AM



                                                                                                                           APHA App. 453
Case: 25-1611     Document: 00118310432                             Page: 457                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                    Document 38-24                               Filed 04/25/25    Page 57 of 57

           TOTAL FEDERAL F&A               $9,000
           TOTAL COST                      $59,000                       $0                                $0        $0


           Facilities and Administrative   Year 2                        Year 3                            Year 4    Year 5
           Costs
           F&A Cost Rate 1                 18%
           F&A Cost Base 1                 $50,000
           F&A Costs 1                     $9,000




                                                                     Page 8 of 8
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/26/2025 12:14 AM



                                                                                                                          APHA App. 454
Case: 25-1611   Document: 00118310432   Page: 458   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-25
                                  Document 38-25    Filed 04/25/25
                                                    Filed 04/25/25   Page 1
                                                                     Page 1of7
                                                                            of 7




                      EXHIBIT
                      EXHIBIT 25




                                                                        APHA App. 455
Case: 25-1611   Document: 00118310432      Page: 459      Date Filed: 07/08/2025      Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-25    Filed 04/25/25   Page 2 of 7




                                                                             APHA App. 456
Case: 25-1611   Document: 00118310432      Page: 460      Date Filed: 07/08/2025      Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-25    Filed 04/25/25   Page 3 of 7




                                                                             APHA App. 457
Case: 25-1611   Document: 00118310432      Page: 461      Date Filed: 07/08/2025      Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-25    Filed 04/25/25   Page 4 of 7




                                                                             APHA App. 458
Case: 25-1611   Document: 00118310432      Page: 462      Date Filed: 07/08/2025      Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-25    Filed 04/25/25   Page 5 of 7




                                                                             APHA App. 459
Case: 25-1611   Document: 00118310432      Page: 463      Date Filed: 07/08/2025      Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-25    Filed 04/25/25   Page 6 of 7




                                                                             APHA App. 460
Case: 25-1611   Document: 00118310432      Page: 464      Date Filed: 07/08/2025      Entry ID: 6734280

                Case 1:25-cv-10787-BEM   Document 38-25    Filed 04/25/25   Page 7 of 7




                                                                             APHA App. 461
Case: 25-1611   Document: 00118310432   Page: 465    Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-26
                                  Document 38-26    Filed 04/25/25
                                                    Filed 04/25/25   Page 1
                                                                     Page 1 of
                                                                            of 19
                                                                               19




                       EXHIBIT
                       EXHIBIT 26




                                                                        APHA App. 462
Case: 25-1611         Document: 00118310432          Page: 466    Date Filed: 07/08/2025       Entry ID: 6734280

           Case 1:25-cv-10787-BEM            Document 38-26       Filed 04/25/25    Page 2 of 19




                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS


       AMERICAN PUBLIC HEALTH
       ASSOCIATION, et al.,

                                       Plaintiffs,
                                                                 Case No. 1:25-cv-10787-BEM
                 v.

       NATIONAL INSTITUES OF HEALTH, et
       al.,

                                       Defendants.


                              DECLARATION OF JEREMY M. BERG, PH.D.

      I, Jeremy M. Berg, declare as follows:

                Background

                1.      I am a former director of the National Institute of General Medical Sciences

      (NIGMS), one of the twenty-seven National Institutes of Health (NIH). I served as director of

      NIGMS from 2003 to 2011. The purpose of NIGMS is to support research and training of scientists

      across a wide range of areas, including biochemistry, cell biology, genetics, computational

      biology, bioinformatics, anesthesiology, wound healing, and burn and trauma research. The United

      States’ ability to effectively treat, diagnose, manage, and ultimately cure diseases requires an

      understanding of their underlying mechanisms and biology. NIGMS’ investments in fundamental

      basic research have supported 90 Nobel prizes and improvements in treatments for diseases

      including heart disease, cancer, neurological diseases associated with aging, sepsis, and many

      others.

                2.      NIGMS was organized into four programmatic divisions and a center: Cell Biology

      and Biophysics; Genetics and Developmental Biology; Pharmacology, Physiology and Biological


                                                        1
                                                                                        APHA App. 463
Case: 25-1611        Document: 00118310432          Page: 467        Date Filed: 07/08/2025         Entry ID: 6734280

            Case 1:25-cv-10787-BEM            Document 38-26        Filed 04/25/25      Page 3 of 19




       Chemistry, Minority Opportunities in Research, and the Center for Computational Biology. In

       addition, it has a Grant Management Office, an Office for Scientific Review, an Evaluation Office,

       an Office of Extramural Activities, an Office of Communications, a Budget Office, and the Office

       of the Director. There was also a training committee that consisted of POs from the various

       scientific divisions who oversaw the different institutional programs.

                3.      My responsibilities as director of NIGMS included staying information about,

       planning and participating in, and, in some cases, leading activities across the NIH. The ICs

       directors met together with the NIH director and other leaders typically monthly.

                4.      I left NIH in 2011 to come to the University of Pittsburgh with my wife, a leading

       breast cancer screening expert who was recruited to this institution. Here, I have continued to

       conduct some NIH-funded research in the area of computational biology and also have helped to

       manage a range of programs that receive NIH funding.

                5.      Since January 20, 2025, delays and terminations in NIH funding have dramatically

       disrupted the work of advancing biomedical research and training the next generation of scientists.

       Steps that have contributed to these disruptions have included the “pausing” of grant-making

       processes at NIH, the extremely slow release of continuing awards for multi-year grants, the

       disruption of the regularly scheduled national Advisory Committee meetings required to approve

       grant applications prior to funding, the disruption of the peer review “study section” meetings

       required for grant application evaluation and prioritization, and other steps. More recently, these

       have included direct terminations of specific grants based not on lack of performance or any other

       irregularities, but claims that the aims of these grants no longer aligned with NIH’s priorities.

                6.      Based on my personal analysis of publicly available data (through the NIH Reporter

       website), over $3.3 billion of NIH funding that would typically have been disbursed through NIH’s



                                                         2

                                                                                             APHA App. 464
Case: 25-1611     Document: 00118310432                    Page: 468         Date Filed: 07/08/2025           Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM                 Document 38-26
                                                       Document 38-26        Filed 04/25/25
                                                                             Filed 04/25/25     Page 4
                                                                                                Page 4 of
                                                                                                       of 19
                                                                                                          19




           grant making and grants management process by this point in the year has not been. The funding

           of new and competitive renewal (covering the continuation of projects that are nonetheless fully

           peer reviewed) grants is strikingly different starting shortly after January 20, 2025, compared to

           the preceding decade. In the image, below, the relatively flat line (red) for fiscal year 2025, after

           the first week of the current Trump administration reveals behavior that is completely distinct from

           that in previous years.


                              0.100 -




                                        New and Competitive Renewal Grants
                        m 0.075-
                        77)
                        fe)
                        O
                        i
                        ie
                        F, 0.050-
                        ©
                        NN
                        o
                        eo
                        = 0.025-
                                                                                              FY2025


                              0.000 -
                                        Oct                            Jan                              Apr
                                                                      Date



                   ao             Through April 7th, more than $1.6 billion is missing from the funding that would

           be anticipated from continuation awards for multi-year grants. In addition, more than $500 million

           is missing in new grant funding from grant applications that undergo the highly competitive

           scientific peer review, based on comparison with the level of new grants awards from this same

           period from previous fiscal years.




                                                                                                    APHA App. 465
Case: 25-1611        Document: 00118310432          Page: 469       Date Filed: 07/08/2025         Entry ID: 6734280

            Case 1:25-cv-10787-BEM            Document 38-26       Filed 04/25/25      Page 5 of 19




                8.      If these estimates were broken down on a week-to-week basis (i.e., weeks in 2024

       compared to weeks in 2025), the estimated difference is stark. In Weeks 4-11 of 2024 (i.e., January

       20, 2024, through March 14, 2024), NIH awarded a total of $4.08 billion with 8,071 awards. For

       comparison, in Weeks 4-11 of 2025 (i.e., January 20, 2025 through March 14, 2025), NIH awarded

       a total of $2.45 billion with 4,961 awards. This represents a reduction of approximately 40%.

                9.      Narrowing the focus to new awards (and competitive renewal awards) that require

       study section and advisory council review prior to the award, in those same weeks, NIH awarded

       $740 million in 1,756 awards in 2024 but only $360 million in 781 awards in 2025. Focusing

       further still just on Weeks 6-11 (February 3rd to March 14th), the comparison is even more

       striking: 1,342 awards for $576 million in 2024, compared with 395 awards for $180 million in

       2025, a reduction of approximately 69%.

                10.     In a recent analysis, which includes awards with April 1st budget start dates, the

       estimated difference for Weeks 12-13 (i.e., the period from March 14, 2025 to April 1, 2025) is

       $1.04 billion. Of this, $780 million is due to non-competitive renewal awards that were

       anticipatable during this period—since many grants were due for renewal by April 1, 2025. In

       addition, based on the new and competitive renewal awards made during this same period in 2023

       and 2024, I estimate that there is a $260 million reduction in anticipatable new and competitive

       renewal awards in 2025.

                11.     Similarly, scientific colleagues have received grant terminations that have

       completely upended the work of their research labs, staff, and students. For example, all the awards

       for the Antiviral Drug Discovery (AViDD) Centers for Pathogens of Pandemic Potential have

       apparently been terminated. This program is intended to do preparatory work for viruses and other

       pathogens that might cause pandemics in the future; and again went through a competitive award



                                                        4

                                                                                            APHA App. 466
Case: 25-1611     Document: 00118310432             Page: 470         Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM            Document 38-26         Filed 04/25/25      Page 6 of 19




       process. These awards were terminated on the grounds that the COVID pandemic is over and,

       therefore, this research is no longer needed. It is hard for me to understand the logic of the

       termination of these forward-looking looking grants when the risk of a pandemic from COVID

       and other viruses persist.

                12.   As further described below, these disruptions and terminations are completely

       contrary to my previous experience both at and with the National Institutes of Health.

                Role of NIH in Biomedical Research at Universities

                13.   Since the 1930s, the NIH and its predecessor agencies have supported the

       advancement of the United States’ understanding of human disease and disability by funding

       training and research. In 1944, Congress formally created the NIH as part of the Public Health

       Service in order to encourage scientific institutions, other public institutions, and scientists in the

       conduct of research and demonstrations related to the causes, diagnosis, treatment, control, and

       prevention of physical and mental illnesses and disability. Congress specifically authorized

       support of research through grants to universities, hospitals, laboratories, and other public or

       private institutions for research projects after review by the NIH institutes’ national advisory

       councils. Similarly, Congressional funding for training and fellowships dates back more than 50

       years.

                14.   Since the 1930s, Congress has also added new institutes and centers focusing on

       different diseases, organ systems, life stages, or other aspects of biomedical research. For example,

       Congress specifically created NIGMS in 1962 to cover biomedical research of interest to two or

       more existing institutes or that are not covered by other institutes. Today, there are 27 institutes

       and centers as well as the Office of the Director within NIH. With the exceptions of the Center(s)

       for Scientific Review, the Center for Information Technology, and the NIH Clinical Center, the



                                                         5

                                                                                              APHA App. 467
Case: 25-1611     Document: 00118310432              Page: 471         Date Filed: 07/08/2025         Entry ID: 6734280

            Case 1:25-cv-10787-BEM             Document 38-26         Filed 04/25/25    Page 7 of 19




       individual institutions, centers and the Director have the authority to issue grants to researchers

       through their organizations.

                15.    Today, Congress appropriates more than $47 billion to the NIH’s institutes and

       centers to advance biomedical research, including through grants to extramural researchers and

       institutions. Over 85 percent of NIH’s annual funding to advance biomedical research powers the

       more than 38,000 principal researchers, research projects, and trainees in external organizations

       across the United States. This funding may cover everything from a principal investigator or junior

       researchers’ salaries and benefits to research supplies, as well as real research costs that are not

       readily attributed to specific projects, often referred to as indirect costs.

                16.    NIH grants are typically awarded for an average of four years because the

       advancement of biomedical research benefits significantly from stable funding across a number of

       years. Very few research projects of any scientific significance can be completed in less than two

       years. Generally, grants are not fully funded all at once. An initial award in one fiscal year is

       followed by continuation (or non-competitive renewal) awards in subsequent years pending

       submission of an acceptable scientific and financial progress report. Thus, at any given point in

       time, about 80 percent of NIH’s external funding is committed to existing research, support for the

       NIH intramural research program, or other costs such as NIH operations. The remaining 15 percent

       is available for new grant applications and the competitive renewal of long-term research projects.

       Stability is important to scientific investigation, particularly to encourage researchers to pursue

       innovation and risk in biomedical research. NIGMS has developed a variety of methods to provide

       stable funding for researchers so that productive or promising projects are not interrupted.

                17.    The stability of these grants also furthers the building of research capacity and the

       training of both graduate students and early-career scientists. A large proportion of pre- and



                                                          6

                                                                                             APHA App. 468
Case: 25-1611     Document: 00118310432             Page: 472       Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-26         Filed 04/25/25      Page 8 of 19




       postdoctoral scientists are supported during some or all of their training periods via research

       project grants rather than training awards. This situation exists because many members of research

       teams funded by NIH research project grants include graduate students and postdoctoral

       researchers who engage in research as a key component of their training activities.

                18.   Through the Ruth L. Kirschstein National Research Service Awards and other

       programs, Congress has historically directed funding to public and private institutions specifically

       for the pre-doctoral and post-doctoral training of individuals to undertake biomedical research.

       Since 1972, such funding has included explicit provisions directed toward increasing the

       percentage of women and individuals from disadvantaged backgrounds (including racial and

       ethnic minorities) into fields of biomedical research. This is particularly important since project

       selection and other aspects of research related to health can depend on the life experiences of those

       engaging in research.

                19.   Institutional training grants (T32s) can be used to cover the costs of predoctoral or

       postdoctoral students. Individual grants, typically classified as F-series (“Fellowship”) or K-series

       (“Career Development”) grants can be used to provide stipends to researchers at all stages of their

       career, cover tuition and costs, and fund other expenses.

                20.   At the direction of Congress, NIH and institutes like NIGMS have also increased

       their funding in specific research areas. For example, this is true for research related to HIV/AIDS

       which has been coordinated through the NIH Office of AIDS Research. When I was a department

       chair at Johns Hopkins School of Medicine in the 1990s, there were serious discussions about

       where non-AIDS patients were going to be treated as beds at Johns Hopkins Hospital filled with

       AIDS patients. But with the support of NIH, the United States developed an understanding of basic

       biochemistry and virology of the HIV virus, identified a variety of drug targets and, subsequently,



                                                        7

                                                                                             APHA App. 469
Case: 25-1611     Document: 00118310432             Page: 473        Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-26         Filed 04/25/25      Page 9 of 19




       developed drugs that have turned HIV infection from a death sentence into a treatable chronic

       condition. For some patients, the newest research has achieved a true cure to their HIV infection.

       Considering continued outbreaks and deaths from HIV/AIDS, the potential to reduce this public

       health risk in vulnerable communities and internationally is profoundly important.

                NIH Funding Priorities Based on Congressional Direction & Scientific Assessment

                21.   In addition to Congressionally directed funding, the Director of the NIH and each

       institute and center engages with its advisory council, policy makers, scientific and professional

       societies, and other public stakeholders to identify agency funding priorities. Congress has directed

       the NIH to assemble accurate data to assess research priorities including information to evaluate

       scientific opportunities and public health disease burdens, including progress in reducing health

       disparities. NIH publicizes the data on the study populations of clinical research funding by its

       institutes and centers on its website. NIH also considers disease burden in the United States and

       the potential for return on investment to the United States; rare diseases and conditions; and the

       biological, social, and other determinants of health contribution to health disparities in identifying

       research priorities. These priorities are reported to Congress and publicized on its website via the

       NIH strategic plan.

                22.   At NIGMS, the institute specifically engaged in scientifically based strategic

       planning on a five-year basis. While I was NIGMS director, we developed the first formal NIGMS

       strategic plan, NIGMS Strategic Plan 2008-2012: Investing in the Future.1 This plan was

       developed through extensive interactions with stakeholders from different communities around the

       country and staff across NIGMS and NIH.



       1
        NAT’L INST. GEN. MEDICAL SCIENCES, INVESTING IN DISCOVERY (2007),
       https://www.nigms.nih.gov/sites/nigms/files/migrated/NIGMS-strategic-plan-2008-2012.pdf

                                                         8

                                                                                             APHA App. 470
Case: 25-1611      Document: 00118310432              Page: 474        Date Filed: 07/08/2025       Entry ID: 6734280

             Case 1:25-cv-10787-BEM           Document 38-26          Filed 04/25/25   Page 10 of 19




                23.    We also developed a strategic plan specific for research training.2 The four themes

       of this plan are Theme I:       Research training is a responsibility shared by NIH, academic

       institutions, faculty and trainees; Theme II: Research training focuses on student development,

       not simply selection of talent; Theme III: Breadth and flexibility enable research training to keep

       pace with the opportunities and demands of contemporary science and provide the foundation for

       a scientific career paths; and Theme IV: Diversity is an indispensable component of research

       training excellence, and it must be advanced across the entire research enterprise.

                24.    Once agency priorities have been identified, each institute and center issues notices

       of funding opportunities (NOFOs) for specific grant mechanisms, some of which are targeted to

       specific areas and some are open-ended invitations to investigators to propose problems of interest

       and specific approaches that fall within the given NIH institute or center’s mission.

                25.    As further described below, when reviewing applications for NIH funding, both the

       institute and its advisory council explicitly consider whether an application is consistent with its

       mission and scientific priorities identified in its strategic plan.

                Review of External Funding at NIH Based on Scientific Merit and Strategic Plan

                26.    The NIH receives approximately 50,000 grant applications per year. NIGMS alone

       awards and manages more than 4,500 grants on average and reviews nearly 1,000 grant

       applications (in addition to those reviewed by study sections at the NIH’s Center for Scientific

       Review) received in response to NOFOs. As part of the NIH mission to advance biomedical

       research, all applications submitted to the NIH in support of biomedical and behavioral research

       are evaluated for scientific and technical merit through the NIH peer review system.




       2
           https://www.nigms.nih.gov/sites/nigms/files/migrated/NIGMS-Strategic-Training-Plan.pdf
                                                           9

                                                                                               APHA App. 471
Case: 25-1611     Document: 00118310432             Page: 475        Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM            Document 38-26         Filed 04/25/25      Page 11 of 19




                27.   Notices of funding opportunities explicitly incorporate the criteria used to assess

       scientific and technical merit of each grant application. Criteria can include the scientific

       significance of the proposed project, including the strength of the scientific premises of the grant;

       the investigators’ expertise and resources; the potential innovative impact of the proposed

       research; and whether there is a rigorous and feasible approach to address the aims of the project.

       Other criteria include justification of the proposed budget and duration in relation to the proposed

       research. For clinical research, patients need to be protected from research risks including the risk

       of needing to stop the research and the application also needs to address the appropriateness of the

       proposed study population.

                28.   When a scientist submits a grant application through their organization, the NIH

       assigns the application to a study section at the Center for Scientific Review for peer review or to

       study sections at a specific NIH institute or center for more scientifically specialized topics. Study

       sections are composed of 20-30 independent researchers from the scientific community who have

       the expertise to assess topics such as Basic Mechanisms of Diabetes and Metabolism or Chemical

       Biology and Probes. There are approximately 250 standing study sections that meet at least three

       times a year on specified topics. Special emphasis panels or study sections also meet to review

       applications for more specialized programs or for projects that fall outside an existing study

       section.

                29.   The study section meets, reviews, and scores an application for scientific and

       technical merit. The review is time intensive and done on a mostly voluntary basis. Each reviewer

       on a study section is assigned between 4-10 applications. Each application has two primary

       reviewers and an additional reader who present the application for discussion at one-to-two-day

       meetings. Scores can significantly shift as key features or flaws are noted. Scores from different



                                                        10

                                                                                             APHA App. 472
Case: 25-1611     Document: 00118310432             Page: 476       Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM           Document 38-26         Filed 04/25/25      Page 12 of 19




       study sections are normalized so that scores from different study sections can be compared. Fewer

       than half of applications make it through this part of the process with a significant chance of being

       selected for funding.

                30.   I served as a study section member and study section chair just prior to my

       appointment as NIGMS director. For applications for which one had primary responsibility, each

       reviewer writes a critique and assigned numerical scores. I found that I spent approximately five

       hours per application reading and writing these critiques. This is in addition to one’s normal job

       and personal responsibilities. At study section meetings, each application is presented and

       discussed. Each application is presented by two primary reviewers, briefly describing the subject

       of the proposal and the approach and outlining major strengths and weaknesses. An additional

       reader provides further comments, and the application is discussed by the study section committee.

       After the discussion, the primary reviewers give their final numerical scores, and each member of

       the study section provides a score in secret although members are encouraged to announce if they

       are voting outside of the range of the primary reviewers as an indication that they are weighing

       their own judgements or certain arguments by the primary reviewers strongly.

                31.   Advisory councils from each institute or center then meet and review the grant

       critiques (called summary statements) with NIH staff to ensure that the first level of peer review

       appears to have proceeded appropriately and to assess alignment of the application with the

       institutes' funding priorities. Advisory councils are committees of 10-12 academic scientists and

       other experts (e.g., patient advocates, economists) who typically serve four-year terms and are

       appointed by the Secretary of Health and Human Services. Advisory councils provide oversight of

       the first stage of peer review and make recommendations about applications that should be given

       higher or lower priority given the state of science in a given institute or center’s field, and the



                                                        11

                                                                                             APHA App. 473
Case: 25-1611     Document: 00118310432             Page: 477        Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM            Document 38-26         Filed 04/25/25      Page 13 of 19




       mission and extant portfolio of said institute. Advisory councils typically meet three times a year

       with meetings scheduled years in advance. These meetings align with the normal funding cycles

       for grant review process.

                32.   Finally, each institute and center’s director make funding decisions with the advice

       of program officers and senior leaders in the institute or center. Funding decisions are largely based

       on peer review scores, but also with consideration regarding the existing grant portfolio, a center’s

       publicized priorities, or recommendations of staff. Budgets are adjusted based on peer review, staff

       recommendations, and the availability of Congressionally appropriated funds. Grants are then

       awarded to each researcher’s institution. Successful applicants receive Notices of Award

       (“NOAs”). The NOA identifies the institutional grantee, one or more principal investigators, and

       specifies the amount of the award, its duration, and all other terms and conditions with which the

       grantee must comply.

                33.   Before this year, I have never observed nearly all study sections and advisory

       councils canceled for a funding cycle. On January 21, the Acting Secretary of Health and Human

       Services informed NIH that all notices in the Federal Register would need to be approved by a

       Presidential appointee. This is important because study sections and advisory councils are

       committees subject to the Federal Advisory Committee Act (FACA), a transparency statute

       enacted in 1972. My understanding is that this law was intended to prevent the federal government

       from receiving advice in secret. Here, it was being used to block normal grant-making processes.

       Approval of grant applications and peer review is required in order for an application to be eligible

       for funding.

                34.   NIH application submission, study section review, advisory council consideration,

       and funding decision and notice of award generation normally occur on a regular schedule with



                                                        12

                                                                                             APHA App. 474
Case: 25-1611       Document: 00118310432            Page: 478        Date Filed: 07/08/2025           Entry ID: 6734280

             Case 1:25-cv-10787-BEM           Document 38-26         Filed 04/25/25      Page 14 of 19




       three cycles per year.3 In my experience, institutions and investigators are quite familiar with and

       anticipate these scheduled dates. Many investigators know upcoming application due dates off the

       top of their heads and upcoming advisory council meetings dates are selected and publicized in

       institute web pages a year or more in advance.




                Continued Funding at NIH Based on Scientific Merit & Performance

                35.     NIH staff, such as grant management officers and scientific review officers, are also

       assigned to manage the more than 59,000 grants that NIH manages in a year. In 2023, these grants

       supported 38,000 principal investigators and more than 300,000 researchers at more than 2,500

       institutions across the country.

                36.     Due to the nature of funding scientifically significant but innovative and sometimes

       risky nature of biomedical research, investigators have the flexibility to adjust their research efforts

       depending on ongoing discoveries or other developments in the scientific field. But the NIH’s staff

       still review annual progress reports to assess whether or not the researcher has continued to make

       progress on the project appropriate for what was in their grant application.



       3
           https://grants.nih.gov/grants-process/submit/submission-policies/standard-due-dates.
                                                         13

                                                                                               APHA App. 475
Case: 25-1611     Document: 00118310432             Page: 479         Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM              Document 38-26       Filed 04/25/25       Page 15 of 19




                37.   NIH program officers and grants management specialists must review these reports

       and approve a new year of funding through an administrative review without the involvement of

       study sections and advisory councils. As mentioned above, due to the importance of funding

       stability in advancing scientific investigation—absent scientific misconduct or other significant

       events—these funding streams are almost always approved in a timely manner as grants come up

       for review based on their start date.

                Rarity of Grant Terminations

                38.   The NIH rarely terminates grants. I do not recall any instances of such terminations

       by NIGMS during my nearly eight years as director. Prior to 2025, I am only aware of two such

       terminations in subsequent years. One involved an aging investigator who was not longer able to

       conduct the research (and who died shortly thereafter) and another involved an investigator who

       separated from his university following investigations into sexual harassment involving younger

       scientists.4

                39.   Otherwise, in instance of concerns about performance of the grant, rather than

       terminating a grant, the NIH has generally discussed with the grantee or with others at the grantee

       organization to pursue corrective action prior to making any additional awards.

                40.   Finally, in instances of scientific misconduct, the NIH still seeks to preserve the

       results of the research if possible. Scientific misconduct includes, but is not limited to, fabrication

       of the data and results from a scientific study or plagiarism of another person’s processes and

       results without giving appropriate credit.5 Under many circumstances, misconduct investigations,



       4
         See Amy Harmon, Chicago Professor Resigns Amid Sexual Misconduct Investigation,
       N.Y.TIMES (Feb. 2, 2016), https://www.nytimes.com/2016/02/03/us/chicago-professor-resigns-
       amid-sexual-misconduct-investigation.html
       5
         Office Res. Integrity, Definition of Research Misconduct, DEP’T HEALTH & HUMAN SERVS.,
       https://ori.hhs.gov/definition-research-misconduct (last visited on Apr. 2, 2025).
                                                         14

                                                                                              APHA App. 476
Case: 25-1611     Document: 00118310432            Page: 480        Date Filed: 07/08/2025         Entry ID: 6734280

           Case 1:25-cv-10787-BEM           Document 38-26        Filed 04/25/25      Page 16 of 19




       conducted by the grantee organization or their designee, identify problematic scientific

       publications and push for correction or retractions for impacted publications. But in other

       instances, publications are cleared by the investigation with no evidence of influence on the

       publication due to the inappropriate behavior.

                41.   This stands in sharp contrast to what is occurring during the present administration.

       Large number of grants are being terminated, allegedly because the award “no longer effectuates

       the program goals or agency priorities” or for other reasons. Some many grants are being

       terminated that NIH has added a field to the NIH Reporter database to designate terminated grants.

       This did not exist prior to April 2025. The Department of Health and Human Services (HHS) now

       posts a link to a spreadsheet of terminated grants on its TAGGS database landing page.6

                42.   I have been examining the terminated grants lists on a regular basis. For the week

       from April 11, 2025 through April 18, 2025 only a single new grant (a supplement to an existing

       grant) was added. However, data from NIH Reporter over the same period indicated that more than

       20 awards were terminated over this period. This inconsistency adds further confusion about the

       nature of ongoing terminations.

                43.   NIH has recently also been making changes to its use of the Payment Management

       System (PMS). Universities do not receive payment when an NIH grant is awarded, but rather are

       given the ability to request reimbursement through the PMS. DOGE is apparently introducing

       additional steps in this process and NIH had, at least for a period, halted all payments through the

       PMS and, perhaps, was using this system to withhold grant payments to specific institutions.7




       6 https://taggs.hhs.gov/
       7 https://www.washingtonpost.com/politics/2025/04/17/doge-trump-grants-hhs-nih-backlog/


                                                        15

                                                                                            APHA App. 477
Case: 25-1611     Document: 00118310432           Page: 481        Date Filed: 07/08/2025         Entry ID: 6734280

           Case 1:25-cv-10787-BEM          Document 38-26         Filed 04/25/25     Page 17 of 19




                Funding Disruptions Devastating, Without Alternatives

                44.   In the long term, if these disruptions in Congressionally directed funding continue,

       the biomedical enterprise both in public and private institutions is in danger. As an example of

       how basic research helps to fuel rapid progress in developing new and safer treatments and

       prevention strategies, the U.S. Food & Drug Administration recently approved a first-in-class non-

       opioid medicine for mild to moderate pain (suzetrigine, brandname Journavx).8 This was based on

       decades of basic and more applied research in NIH-funded academic and private-sector

       laboratories. The loss of any of the large amount of information or techniques generated from this

       research would have made approval of this pain medication impossible. Move over, many of the

       scientists involved— including those in industry—were trained at the NIH or in academic

       laboratories supported by the NIH. In the long run, these advancements have the potential both to

       provide a new alternative to treat post-surgical pain, but also to address the demand side of the

       opioid public health crisis.

                45.   There are not alternative sources to replace the NIH’s more than $40 billion in

       biomedical research funding. In 2022, the NIH invested more than 25 more times on grants than

       the next largest funder, the Wellcome Trust based in the United Kingdom.9 Combining then the

       next 25 largest funders of biomedical research would not replace the NIH’s annual funding of

       biomedical research. Moreover, as private or non-US based funders, those funders are unlikely to

       have the same priorities identified by Congress and by US-based researchers and stakeholders.




       8
         Press Release, FDA Approves Novel Non-Opioid Treatment for Moderate to Severe Acute Pain
       (Jan. 30, 2025), https://www.fda.gov/news-events/press-announcements/fda-approves-novel-
       non-opioid-treatment-moderate-severe-acute-pain
       9
         Nisha Gaind, How the NIH Dominates the World’s Health Research, 639 NATURE 554 (2025),
       doi: https://doi.org/10.1038/d41586-025-00754-4
                                                       16

                                                                                           APHA App. 478
Case: 25-1611      Document: 00118310432           Page: 482       Date Filed: 07/08/2025         Entry ID: 6734280

          Case 1:25-cv-10787-BEM           Document 38-26         Filed 04/25/25      Page 18 of 19




             Terminations Will Likely Cause Severe Career Disruption and Harm

             46.     Throughout my career, I have also helped guide scientists at the beginning of their

      independent careers as they sought to compete for NIH funding. Prior to coming to NIH, I was

      Director of the Department of Biophysics and Biophysical Chemistry at the Johns Hopkins

      University School of Medicine. In this role, I conducted research in partnerships with graduate

      students including combined MD/PhD students, and postdoctoral fellows with much of this work

      supported by NIGMS and other NIH institutes.

             47.     As a department chair, I recruited many faculty starting their independent careers.

      Obtaining NIH funding was an essential step in developing their careers, both in terms of providing

      funds for their research and for demonstrating that their ideas and research was sufficient good

      that it has passed the rigorous bars for NIH funding.

             48.     At my present institution, it is an unwritten rule that all faculty members need to

      hold two substantial NIH grants to receive tenure. Again, this reflects both the financial support

      for their continuing research and the recognition and prestige associated with competing through

      peer review and the rest of the NIH funding processes.

             49.     I have never had to deal with a faculty candidate who have had an NIH grant or

      grants terminated or withdrawn from consideration for reasons of “agency priorities.” However, it

      is difficult for me to imagine such an individual competing for a coveted faculty position against

      a large pool of qualified candidates. This reflects the substantial likely irreversible personal harm

      done to individual scientists through this capricious use of NIH funding for political purposes.

             50.     As an undergraduate, graduate student, and postdoctoral fellow, my training and

      research were supported through research grants to my research mentors. When I started my

      independent career, my research projects were funded through a then-new program directed to



                                                       17
                                                                                           APHA App. 479
Case: 25-1611    Document: 00118310432                Page: 483         Date Filed: 07/08/2025         Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM           Document 38-26
                                                 Document 38-26         Filed 04/25/25
                                                                        Filed 04/25/25     Page 19
                                                                                           Page 19 of
                                                                                                   of 19
                                                                                                      19




          beginning faculty members. The continuity of Congress and the American people’s investment in

          biomedical research via the NIH has been vital to my career path. The United States has similarly

          invested in the training and research of numerous students, early career scientists, and faculty in

          every state and territory. It is a shame that these interruptions in NIH funding now endanger the

          advancements and institutions powered by those individual researchers.



          I declare under the penalty of perjury that the foregoing is true and correct.

          Executed on this 24th day of April 2025, in Gibsonia, PA.




                                                                                f

                                                           [AAA      AA,        lA

                                                         Jéremy M. Berg, Ph.D.
                                                         Former    Director (2003-2011)
                                                         National Institute of General     Medical   Sciences
                                                         National Institutes of Health




                                                            18




                                                                                               APHA App. 480
Case: 25-1611   Document: 00118310432   Page: 484    Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-29
                                  Document 38-29    Filed 04/25/25
                                                    Filed 04/25/25   Page 1
                                                                     Page 1 of
                                                                            of 68
                                                                               68




                       EXHIBIT
                       EXHIBIT 29




                                                                        APHA App. 481
Case: 25-1611            Document: 00118310432                Page: 485        Date Filed: 07/08/2025            Entry ID: 6734280

            Case 1:25-cv-10787-BEM                      Document 38-29        Filed 04/25/25         Page 2 of 68




                                         UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MASSACHUSETTS



        AMERICAN PUBLIC HEALTH
        ASSOCIATION, et al.,
                                       Plaintiffs,
                                                                        Case No. 1:25-cv-10787-BEM
                                 v.
        NATIONAL INSTITUTES OF HEALTH, et                               Leave to File Under Seal Granted
        al.,                                                            April 24, 2025 (ECF No. 36)

                                       Defendants.


                                          DECLARATION OF APHA MEMBER 2

                  I,                       , pursuant to 28 U.S.C. § 1746, depose and say as follows:
           1. My name is                                 and I serve as the Managing Director for
                                 a small company dedicated to providing world-class education focused on pain
       research and neuroscience. In this position, I develop and coordinate educational modules,
       including webinars, conferences, and lectures for the continuing education of clinicians and
       researchers. I have held this position since I began working for                                         at the
       beginning of 2016.
           2. I am offering this Declaration in my individual capacity and not on behalf of my
       employer.
           3. I have 20 years of experience working on accreditation systems and instructional design,
       and I have been working in pain and neuroscience for the last decade. I began my career in this
       field at                                                       , where I served as the
                                                               , and then worked at
                                                     as the                       . I have also served as a
                       for the                                                                  for the last five years.
       My professional goal is to help other people do their jobs better.
           4. Helping people who experience chronic pain is something I’m passionate about because
       it is one of the largest public health crises that is rarely discussed. Nearly 25% of American
       adults experience chronic pain and over 8% of American adults have chronic pain that frequently
                                                                  1
                                                                                                         APHA App. 482
Case: 25-1611    Document: 00118310432              Page: 486         Date Filed: 07/08/2025           Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-29           Filed 04/25/25    Page 3 of 68




       limits their life or work. Children are also vulnerable to the impacts of chronic pain; they
       experience it at similar rates and it critically impacts their development and their lifelong
       relationship to healthcare. The economic burden of pain in the United States is more than the
       annual costs (in 2010 dollars) of heart disease ($309 billion), cancer ($243 billion), and diabetes
       ($188 billion) and nearly 30% higher than the combined cost of cancer and diabetes. Adjusted
       for inflation, chronic pain costs the United States nearly $1 trillion annually. I am also passionate
       about solving the problem of chronic pain because of its close relationship to the devastating
       effects of the opioid crisis. Almost one in four American adults know someone struggling with
       an opioid addiction. These are issues that affect almost all of us, and they deserve close attention.
          5. I am a member of APHA and pay $230 in annual dues.
          6. I am the Program Director for an R24 grant awarded by the National Institute of Health
       (“NIH”). R24 grants are issued by NIH to provide tools and resources in support of ongoing
       research. The grant award number is                        .
          7. The grant funds the development and operation of a Coordinating Center for National
       Pain Scientists (“Coordinating Center”). As described in the Notice of Funding Opportunity
       (“NOFO”)                     , the Coordinating Center is designed to be “a central facilitator for
       integrating training and mentoring across a network of mentors and early-stage investigators
       funded by the NIH,” including NIH trainees, fellows, and others. The purpose of the
       Coordinating Center is to “enhance the training experience of new pain researchers across the
       continuum of basic, translational, and clinical research and create a vast network of NIH-funded
       pain researchers to promote multidisciplinary collaborations in pain research.” A true and correct
       copy of                   is attached hereto as Exhibit A.
          8. The creation of the Coordinating Center is in direct response to the NIH Helping to End
       Addiction Long Term (“HEAL”) Initiative®’s goal of building the pain workforce because there
       are not enough pain researchers to enhance and develop evidence-based approaches for pain
       management. The NIH has described this as an “urgent need” and has identified several factors
       that have contributed to a leaky workforce pipeline to pain research, including: challenging
       research environments for clinicians, a high departure rate from the field among senior
       researchers who serve as mentors for more junior researchers, a lack of structure for early-stage
       investigators to learn from experienced investigators, and a lack of collaboration between pain
       management researchers across disciplines. Furthermore, the Coordinating Center fills a gap in

                                                         2

                                                                                             APHA App. 483
Case: 25-1611      Document: 00118310432             Page: 487        Date Filed: 07/08/2025             Entry ID: 6734280

            Case 1:25-cv-10787-BEM            Document 38-29         Filed 04/25/25      Page 4 of 68




       NIH’s structure because there is no NIH Institute for Pain that would normally serve as the
       coordinating and centralization entity for pain-related research and resources.
          9. The Coordinating Center also responds to the priorities of other NIH Institutes and
       Centers (“ICs”). There are currently 27 ongoing clinical pain studies within the HEAL Initiative
       and there are thousands of more pain-related research programs across the ICs. This has led to a
       disjointed and uncoordinated approach which is a hinderance to the effective, multidisciplinary,
       and collaborative research that is needed to address such a grave public health problem. The
       Coordinating Center serves the function of connecting these researchers, educating them about
       the developing science of each other’s studies, and helping to accelerate innovate approaches to
       pain management and treatment.
          10. The Coordinating Center is also aligned with President Trump’s Make America Healthy
       Again Executive Order and Commission which is tasked with addressing the key health priority
       of chronic disease. As described above, chronic pain is a largely silent public health crisis.
          11. Applicants to this NOFO and all training-related grants were required to include elements
       from the Notice of NIH’s Interest in Diversity NOT-OD-20-031. Specifically, the NOFO said,
                In addition to scientific diversity, applicants should strive to incorporate diversity
                in their team development plan. Research shows that diverse teams working
                together and capitalizing on innovative ideas and distinct perspectives outperform
                homogenous teams. Scientists and trainees from diverse backgrounds and life
                experiences bring different perspectives, creativity, and individual enterprise to
                address complex scientific problems. There are many benefits that flow from a
                diverse NIH-supported scientific workforce, including: fostering scientific
                innovation, enhancing global competitiveness, contributing to robust learning
                environments, improving the quality of the research, advancing the likelihood that
                underserved or health disparity populations participate in, and benefit from health
                research, and enhancing public trust. Please refer to Notice of NIH’s Interest in
                Diversity NOT-OD-20-031 for more details.
       A true and correct copy of NOT-OD-20-031 is attached hereto as Exhibit B.
          12. Because of this requirement, the grant application for the Coordinating Center that I
       prepared described how the Coordinating Center would be open and available to all pain
       researchers, including those from underrepresented backgrounds, such as women, Black, and
       Latinx researchers, as well as researchers with a low socioeconomic status and researchers with
       disabilities. The goal of the Coordinating Center is to improve mentorship and collaboration
       among pain researchers and clinicians, so it is critical that all researchers feel welcome.
       However, explicit mention of underrepresented groups in the grant application was only included

                                                          3

                                                                                              APHA App. 484
Case: 25-1611    Document: 00118310432             Page: 488        Date Filed: 07/08/2025            Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-29         Filed 04/25/25      Page 5 of 68




       because it was an NIH requirement at the time, and the proposed budget did not dedicate any
       financial resources to this ancillary aim of diversifying the workforce. The operation of the
       Coordinating Center complies with federal, state, and local laws. We have never performed any
       preferential hiring, nor have we distributed any travel scholarships based upon demographic
       categories.
          13. Putting together the grant application for the Coordinating Center was extremely time
       intensive. During the final weeks, I worked 196 hours over 11 days. I stopped going into the
       office, slept some nights but not all, and at times forgot to eat for many hours. I met with
       software platform vendors and other vendors so I could pull together a budget justification that
       was accurate to the dollar. Because instructional design methodology is my specialty, I dedicated
       roughly half the application to describing the innovative approaches I developed to meet the
       needs of NIH. I also spent hours meeting with NIH program officers during the application
       process so I could fully understand NIH needs, including the scale of the Coordinating Center.
       During the competitive review process, NIH followed up with me for additional information, and
       the responses to those requests were also time intensive.
          14. In September of 2022, NIH issued a Notice of Award (“NOA”) for $6,882,205 for a
       period of three years (to end August 31, 2025) to fund the Coordinating Center. It was
       communicated to me that I would be able to apply for a Type 4 Non-Compete Renewal at the
       close of the grant to continue funding the Coordinating Center for at least another two years. A
       true and correct copy of that NOA is attached hereto as Exhibit C.
          15. Since its launch, the Coordinating Center has been a massive success. It is the first and
       only mechanism for consolidating the entirety of pain researchers across the spectrum of basic,
       clinical, and translational research, at all career stages. This is primarily accomplished through an
       online hub that—among other things—indexes research studies, provides up-to-date contact
       information to enhance collaboration opportunities, connects researchers with clinical doctors
       who may have ready study participants, and aggregates funding and job opportunities. For
       example, a user of the hub who is interested in understanding pain associated with fibromyalgia
       can type the term into the network and instantly be connected with all the researchers who are
       doing this work. The Coordinating Center acts as a digital resource center and provides tools and
       support for other NIH-funded pain research programs, consolidating their resources into one



                                                        4

                                                                                             APHA App. 485
Case: 25-1611    Document: 00118310432             Page: 489        Date Filed: 07/08/2025         Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-29        Filed 04/25/25      Page 6 of 68




       location while reducing the need for redundant, more costly infrastructure at each study site. To
       date, the online platform has nearly 5,000 users and the number is growing daily.
          16. Another major way the Coordinating Center achieves its goals is through an annual
       conference that gathers pain researchers together to accelerate “bench to bedside” treatment,
       which is the process of translating scientific discoveries made by researchers into practical
       applications and improved patient care. At the conference, researchers have the opportunity to
       hear directly from people who have the conditions they aim to treat, which helps them develop
       new hypotheses or narrow in on hypotheses worth further testing. This annual meeting also
       serves as a required in-person investigator meeting for pain research programs funded under the
       HEAL Initiative and through individual ICs. It is the only place for many of these investigators
       and their research teams to meet in-person, collaborate, and connect with other NIH-funded pain
       researchers. By centralizing the in-person meetings for various studies and programs, the
       Coordinating Center has helped to reduce redundancy for multiple meetings, centralize planning
       resources, and approach pain research efforts as a holistic group instead of the status quo of
       individual meetings for each study. This has reduced overall costs for affiliated meetings, while
       enhancing efficacy. Overwhelmingly, participants say that they were “able to network with
       researchers from across the continuum of basic, translational, and clinical research,” and that
       they now “plan to collaborate with at least one other researcher from a discipline different than
       their own.”
          17. To make the Coordinating Center as successful as it’s been, I’ve had to hire three
       dedicated staff people: a Conference and Community Coordinator, a Community Engagement
       Coordinator, and a Digital Media Specialist. One hundred percent of their time is allocated to the
       Coordinating Center. I also spend approximately 55% of my time on the Coordinating Center.
          18. And, in 2024 NIH issued a NOA to                               for a Supplemental Award to
       support the HEAL PAIN Researcher Cohort Program (“PAIN Cohort Program”), an
       interdisciplinary training program among postdoctoral researchers pursuing careers in pain and
       addiction science. The Supplemental Award was a 5-year grant that required an annual Non-
       Compete Renewal. The first-year award was for $850,595, and because it is a Supplemental
       Award, the budget and project period end dates are the same as the parent award, described in
       paragraph 14 above. The Supplemental Award number is                              . A true and
       correct copy of the NOA reflecting the Supplemental Award is attached hereto as Exhibit D.

                                                        5

                                                                                            APHA App. 486
Case: 25-1611      Document: 00118310432           Page: 490        Date Filed: 07/08/2025            Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-29         Filed 04/25/25     Page 7 of 68




          19. The PAIN Cohort Program utilized the Coordinating Center to help foster collaboration
       and a shared learning experience across six universities: the University of Utah, Mass General
       Brigham, Stanford University, University of Michigan, University of Florida, and Washington
       University in St. Louis. Each university, in turn, recruited four trainees under the Ruth L.
       Kirschstein National Research Service Awards (“NRSA”) program (T90 awards) and one trainee
       under the R90 grant program to bring postdoctoral researchers from various disciplines together
       to learn from one another. For example, one postdoctoral trainee might be from the school of
       dentistry and another from the school of engineering and through the program, they have the
       opportunity to develop innovative treatments and translate research findings into clinical
       practice.
          20. The PAIN Cohort Program emphasizes mentorship, career development, and hands-on
       research experience, and the Coordinating Center is a critical tool for achieving those goals. The
       Coordinating Center provides the necessary infrastructure for trainees to coordinate with one
       another across institutions. Through the Coordinating Center, trainees can do their own research
       planning and develop materials to support that research. To support this collaborative effort, I
       redesigned a training curriculum so that it could work on a national scale and so trainees could
       learn in a timely and effective manner, including a weekly webinar series on pain research and
       soft skills. An added benefit of using the Coordinating Center as the central hub for the PAIN
       Cohort Program is that the materials and resources developed through the PAIN Cohort Program
       are also available to the larger Coordinating Center network. Additionally, the Coordinating
       Center establishes an enduring archive of this critical work.
          21. I spend about 30% of my time working on the PAIN Cohort Program, meaning that 85%
       of my time is spent working on these two NIH-funded projects.
          22. Given the success of the Coordinating Center, there has never been any indication that
       the Non-Compete Renewal I was set to apply for this year would not be granted. In fact, just last
       year I was awarded the NIH                       Award for the work I’ve done on the
       Coordinating Center.
          23. However, on March 21, 2025, before that renewal application was due, I received a
       termination letter from the NIH notifying me that my award was terminated. The letter said:
                This award no longer effectuates agency priorities. Research programs based
                primarily on artificial and non-scientific categories, including amorphous equity
                objectives are antithetical to the scientific inquiry, do nothing to expand our

                                                        6

                                                                                            APHA App. 487
Case: 25-1611      Document: 00118310432             Page: 491        Date Filed: 07/08/2025           Entry ID: 6734280

            Case 1:25-cv-10787-BEM            Document 38-29         Filed 04/25/25       Page 8 of 68




                knowledge of living systems, provide low returns on investment, and ultimately do
                not enhance health, lengthen life, or reduce illness. Worse, so called diversity,
                equity, and inclusion (“DEI”) studies are often used to support unlawful
                discrimination on the basis of race and other protected characteristics, which harms
                the health of Americans. Therefore it is the policy of NIH not to prioritize such
                research programs.
       A true and correct copy of the termination letter is attached hereto as Exhibit E.
           24. The reasons given in the termination letter are inconsistent with the work of the
       Coordinating Center. The Coordinating Center does not spend any money on diversifying the
       biomedical research field. The Coordinating Center aims to enhance the field for all pain
       researchers, regardless of their race, gender, sexual orientation, or any other identity that might
       be understood to fall into that classification.
           25. The termination letter also did not define the terms within it. Because the terms do not
       describe the work that the Coordinating Center does, it is unclear to me what criteria NIH used to
       determine that the Coordinating Center “no longer effectuates agency priorities.”
           26. When I reached out to my Program Officer to get clarity about why the funding had been
       terminated, I was informed that the IC had not been consulted about the termination of the grant
       and my Program Officer had also not been informed.
           27. The next weekday after receiving the termination letter, on March 24, 2025, I appealed
       pursuant to the instructions in the termination letter. In drafting the appeal, I was left to guess
       how NIH applied the terms used in the letter to the Coordinating Center. I received an
       acknowledgment of receipt of the appeal, two weeks later, on April 7, 2025.
           28. After submitting my appeal, I received a revised NOA with a revised project period end
       date of March 21, 2025. The revised NOA stated that the award is “related to DEI” and “no
       longer effectuates agency priorities” and was terminated for those reasons. A true and correct
       copy of the revised NOA is attached hereto at Exhibit F.
           29. Because the Supplemental Award is connected to the Coordinating Center award, it has
       also been terminated. I received a revised NOA with a new project period end date of March 21,
       2025. My Supplemental Award Program Officer told me that they had not been informed about
       the termination of my Supplemental Award. A true and correct copy of the revised Supplemental
       NOA is attached hereto at Exhibit G.
           30. The impact of this termination is severe and dire. In a conversation with my grants
       manager at NIH, I was told that NIH would not cover unliquidated obligations that have already

                                                          7

                                                                                               APHA App. 488
Case: 25-1611     Document: 00118310432             Page: 492        Date Filed: 07/08/2025           Entry ID: 6734280

            Case 1:25-cv-10787-BEM           Document 38-29         Filed 04/25/25       Page 9 of 68




       been made in reliance on this funding. I have asked for this policy in writing, but have not yet
       received it.
           31. If this is true, I may be faced with up to $1 million to pay for obligations already
       committed for the upcoming annual conference currently scheduled for June. For example, for
       almost two years, we’ve had a nearly $500,000 contract with the hotel that is set to host the
       conference. We also have a $120,000 planned expense for audio/video services for the
       conference. Additional food and beverage costs are also potentially on the line. If
                  is forced to pay these costs out-of-pocket, it would bankrupt the business.
           32. Conference travel support was also funded through the grant. To date, approximately 100
       people have applied for this travel support, and I must now determine who has been approved for
       that support and contact them to find out if they’ve purchased tickets that they now may not be
       reimbursed for. This poses a particularly upsetting challenge, since those attendees applied for
       travel support because they are unable to afford the costs on their own. Relatedly, many other
       grant programs throughout the NIH include requirements that their researchers attend the
       conference. If the conference is cancelled because of the termination, all the researchers who
       have already purchased plane tickets or made other travel arrangements have now wasted those
       federal funds. Likewise, it is unclear to me what will happen regarding faculty member
       reimbursements.
           33. Even if NIH provides funding to cover these obligated costs, the conference cannot move
       forward, and all these expenditures will be wasted.
           34. Additionally, the day that I received the termination letter, I had to furlough the three
       staff people who work with me on the Coordinating Center because 100% of their time was spent
       supporting this program.
           35. I also am no longer receiving a salary, despite the time and costs associated with closing
       out the grant and resolving the financial burden caused by NIH’s abrupt grant termination.
           36.                          does not have a fallback plan. As the Coordinating Center work
       scaled up over the years, our other educational programs have necessarily had to scale back.
       Other budget lines that kept us afloat in the past are no longer there.
           37. Perhaps most concerning is the impact the virtually overnight disappearance of the
       Coordinating Center will have on the prospect of responding to the public health crisis of chronic
       pain and addiction. Without the Coordinating Center, researchers will go back to being siloed,

                                                         8

                                                                                              APHA App. 489
Case: 25-1611     Document: 00118310432                Page: 493          Date Filed: 07/08/2025                 Entry ID: 6734280

                Case 1:25-cv-10787-BEM
                Case 1:25-cv-10787-BEM            Document 38-29
                                                  Document 38-29          Filed 04/25/25
                                                                          Filed 04/25/25       Page 10
                                                                                               Page 10 of
                                                                                                       of 68
                                                                                                          68




            critical studies will struggle to find collaborators, promising developments in the field will not be
            shared broadly, and the scientists tasked with finding a solution to this critical problem will no
            longer hear from people with chronic pain in such an effective manner.
                 38. | am seeking to file this declaration under seal because I am scared for my own security,
            especially that I will get doxed. The current climate is particularly hostile and even though |
            believe NIH still intends to do good work, my association with this case could make it seem like
            | am oppositional to NIH’s interests or biomedical research in general, when that is not the case.
            1 am also worried that involvement in this case may jeopardize future NIH funding opportunities.
            Finally, | am also worried that my involvement in this case could have longer term negative
            consequences on my career because broad knowledge that my funding was terminated by NIH
            may suggest that I was not good at developing and providing continuing education. when that too
            is not the case.


            I declare under penalty of perjury that the foregoing is true and correct.
            Executed this
                        77 day of April, 2025.




                                                                                                     APHA App. 490
Case: 25-1611   Document: 00118310432   Page: 494   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-29
                                  Document 38-29    Filed 04/25/25
                                                    Filed 04/25/25   Page 11
                                                                     Page 11 of
                                                                             of 68
                                                                                68




                         EXHIBIT
                         EXHIBIT A




                                                                        APHA App. 491
Case: 25-1611                    Document: 00118310432                                    Page: 495                    Date Filed: 07/08/2025                                 Entry ID: 6734280

                        Case 1:25-cv-10787-BEM                                   Document 38-29                         Filed 04/25/25                    Page 12 of 68
                    This notice has expired. Check the NIH Guide (https://grants.nih.gov/funding/searchguide/) for active opportunities and notices.

   Department of Health and Human Services

   Part 1. Overview Information
   Participating Organization(s)
   National Institutes of Health (NIH (http://www.nih.gov))




                                                                                ED
   Components of Participating Organizations
   National Institute of Neurological Disorders and Stroke (NINDS (https://www.ninds.nih.gov/))

   National Institute of Dental and Craniofacial Research (NIDCR (https://www.nidcr.nih.gov/))

   National Center for Complementary and Integrative Health (NCCIH (https://nccih.nih.gov/))


   Institutes/Centers.                                          PIR
   All applications to this funding opportunity announcement should fall within the mission of the Institutes/Centers. The following NIH Offices may co-fund applications assigned to those


   Office of Research on Women's Health (ORWH (https://orwh.od.nih.gov/))




   Funding Opportunity Title

   Emergency Awards: HEAL Initiative: Coordinating Center for National Pain Scientists Career Development (R24 Clinical Trial Not
                                               EX

   Allowed)

   Activity Code
   R24 (//                                            _results.htm?text_curr=



   Announcement Type
   Reissue of


   Related Notices
   None



   Funding Opportunity Announcement (FOA) Number




   Companion Funding Opportunity
   None


   Number of Applications
   See Section III. 3. Additional Information on Eligibility.



   Assistance Listing Number(s)




   Funding Opportunity Purpose
   HEAL is issuing this FOA in response to the declared public health emergency issued by the Secretary, HHS. Please see Determination that a Public Health Emergency Exists Nationwide as the
   Result of the Opioid Crisis (https://www.phe.gov/emergency/news/healthactions/phe/Pages/opioids.aspx) as renewed in Renewal of the Determination that a Public Health Emergency Exists
   Nationwide as the Result of the Continued Consequences of the Opioid Crisis (https://www.phe.gov/emergency/news/healthactions/phe/Pages/Opioids-6Oct2021.aspx).

   There is an urgent need for more research to establish best practices in the pain management field, however, there is a limited workforce pipeline of pain researchers to meet NIH’s long-term goals
   of providing effective non-opioid options for the treatment of pain conditions and better pain management overall. The Interagency Pain Research Coordinating Committee (IPRCC) has identified
   the workforce problem as a barrier for new pain research, and has identified factors that contributed to it, including challenging environments for clinicians to practice research and a high departure
   rate among senior investigators and mentors. The IPRCC also identified a need for more structured opportunities for early-stage investigators to learn from experienced investigators. The pain
   management field has further recognized that basic, translational, and clinical researchers do not regularly collaborate when developing grant applications. If pain management researchers across
   all disciplines were to work together, it would enhance the innovation, relevance, and practical application of pain management research.

   To support the NIH HEAL Initiative’s response supporting new investigators, promoting multidisciplinary collaborations among pain researchers, and identifying innovative treatments to manage
   pain, this FOA invites applications for the Coordinating Center for National Pain Scientists (CCNPS). The CCNPS will be a central facilitator for integrating training and mentoring across a network of
   mentors and early-stage investigators funded by NIH (e.g., NIH trainees, NIH fellows, and Career Development Awardees). The main purpose of the CCNPS is to enhance the training experience of
   new pain researchers across the continuum of basic, translational, and clinical research and create a vast network of NIH-funded pain researchers to promote multidisciplinary collaborations in pain
   research. The CCNPS will create and run a coordination center to connect NIH-funded pain researchers with each other with the goal of enhancing the innovation, relevance, and practical
   application of pain management research, as well as increase communication among pain management researchers across all disciplines.




   Key Dates
                                                                                                                                                                 APHA App. 492
Case: 25-1611                   Document: 00118310432                                      Page: 496                    Date Filed: 07/08/2025                                Entry ID: 6734280

                        Case 1:25-cv-10787-BEM                                    Document 38-29                         Filed 04/25/25                    Page 13 of 68
   Posted Date
   May 05, 2022


   Open Date (Earliest Submission Date)
   June 15, 2022


   Letter of Intent Due Date(s)
   30 days before application due date


   Application Due Date(s)
   07/15/2022

   All applications are due by 5:00 PM local time of applicant organization.

   Applicants are encouraged to apply early to allow adequate time to make any corrections to errors found in the application during the submission process by the due date.

   AIDS Application Due Date(s)
   Not Applicable

   Scientific Merit Review
   Not Applicable

   Advisory Council Review
   Not Applicable

   Earliest Start Date
   December 2022

   Expiration Date
   July 16, 2022


   Due Dates for E.O. 12372
   Not Applicable


   Required Application Instructions
   It is critical that applicants follow the instructions in the Research (R) Instructions in the SF424 (R&R) Application Guide (//grants.nih.gov/grants/guide/url_redirect.php?id=12000), except where
   instructed to do otherwise (in this FOA or in a Notice from NIH Guide for Grants and Contracts (//grants.nih.gov/grants/guide/)).

   Conformance to all requirements (both in the Application Guide and the FOA) is required and strictly enforced. Applicants must read and follow all application instructions in the Application Guide as
   well as any program-specific instructions noted in Section IV. When the program-specific instructions deviate from those in the Application Guide, follow the program-specific instructions.

   Applications that do not comply with these instructions may be delayed or not accepted for review.


   Table of Contents
   Part 1. Overview Information
       Key Dates
   Part 2. Full Text of Announcement
       Section I. Funding Opportunity Description
       Section II. Award Information
       Section III. Eligibility Information
       Section IV. Application and Submission Information
       Section V. Application Review Information
       Section VI. Award Administration Information
       Section VII. Agency Contacts
       Section VIII. Other Information




   Part 2. Full Text of Announcement
   Section I. Funding Opportunity Description
   Purpose

   There is an urgent need for more research to establish best practices in the pain management field, however, there is a limited workforce pipeline of pain researchers to meet NIH’s long-term goals
   of providing effective non-opioid options for the treatment of pain conditions and better pain management overall. The Interagency Pain Research Coordinating Committee (IPRCC) has identified the
   workforce problem as a barrier for new pain research, and has identified factors that contribute to it, including challenging environments for clinicians to practice research and a high departure rate
   among senior investigators and mentors. The IPRCC also identified a need for more structured opportunities for early-stage investigators to learn from experienced investigators. The pain
   management field has further recognized that basic, translational, and clinical researchers do not regularly collaborate when developing grant applications. If pain management researchers across
   all disciplines were to work together, it would enhance the innovation, relevance, and practical application of pain management research.

   This FOA invites applications to develop a Coordinating Center for National Pain Scientists (CCNPS) that will support the NIH HEAL Initiative’s goal of supporting new investigators, promoting
   multidisciplinary collaborations among pain researchers, and identifying innovative treatments to manage pain. The CCNPS will be a central facilitator for integrating training and mentoring across a
   network of mentors and early-stage investigators funded by NIH (e.g., NIH trainees, NIH fellows, and career development awardees). The CCNPS will also synergize the specific efforts of NIH HEAL
   Initiative's two previously released FOAs (a K24 (NOT-NS-21-026 (https://grants.nih.gov/grants/guide/notice-files/NOT-NS-21-026.html)) to support mentors and a K12 (RFA-NS-22-045
   (https://grants.nih.gov/grants/guide/rfa-files/RFA-NS-22-045.html)) to develop a structured mentorship/career development program) which are in response to the need to increase the clinical
   research workforce. The main purpose of the CCNPS is to enhance the training experience of early-career researchers and investigators who are new to pain research across the continuum of
   basic, translational, and clinical research and create a vast network of NIH-funded pain researchers to promote multidisciplinary collaborations in pain research. The CCNPS will create and run a

                                                                                                                                                                  APHA App. 493
Case: 25-1611                   Document: 00118310432                                    Page: 497                    Date Filed: 07/08/2025                                Entry ID: 6734280

                       Case 1:25-cv-10787-BEM                                   Document 38-29                         Filed 04/25/25                    Page 14 of 68
  coordination center to connect NIH-funded pain researchers with each other with the goal of enhancing the innovation, relevance, and practical application of pain management research, as well as
  increase communication among pain management researchers across all disciplines.

  Coordinating Center for National Pain Scientists Career Development

  This program would serve as a central facilitator to integrate training and mentoring across a network of all early-stage pain investigators funded by NIH (e.g., NIH trainees, NIH fellows, and Career
  Development Awardees) and pain mentors funded by Institutes. The goal is to enhance the experience of all newly funded NIH pain researchers across the spectrum of basic, translational, and
  clinical research and to promote multidisciplinary research that is meaningful for those living with pain. The CCNPS should ultimately be an engaging network where: 1) all NIH funded early-stage
  pain investigators can connect and learn from NIH funded pain mentors across the U.S.; 2) early-stage NIH funded investigators can learn from and collaborate with each other; 3) collaboration
  along the continuum of pain research is facilitated. Additionally, the CCNPS wouldbe required to organize and host an annual meeting that should be widely attended by NIH funded pain researchers
  across the entire research continuum (i.e., basic, clinical and translational researchers) and acrosscareer levels. Attendance at this meeting will be mandatory for the scholars funded by an
  accompanying K12 (RFA-NS-22-045 (https://grants.nih.gov/grants/guide/rfa-files/RFA-NS-22-045.html)). Attendance at this meeting will be recommended for all NIH-funded pain early-stage
  investigators (researchers on K grants, T grants, F grants, etc.). The CCNPS will be responsible for promoting this meeting and networking opportunities to NIH-funded early-stage investigators and
  mentors.

  Key components of the program:

        Create a governing body composed of multidisciplinary pain researchers and pain patients from across the United States.
        Create a networking system to connect pain researchers across the continuum of pain research, from all disciplines, and at all career levels.
        Create a medium that facilitates communication between basic, translational, and clinical researchers.
        Plan and host an annual meeting for all NIH-funded pain trainees and mentors.
        Disseminate information about the annual meeting, collaboration and education events, accomplishments of trainees, etc.
        Regular hosting of collaboration and educational events to connect early-stage investigators among themselves and with more experienced investigators on a regular basis.
        Assess educational courses offered for trainees and mentors, and then develop and offer courses that would help enhance the field of pain management, if necessary.
        Conduct an external evaluation of the accompanying K12 program’s effectiveness in its last year (RFA-NS-22-045 (https://grants.nih.gov/grants/guide/rfa-files/RFA-NS-22-045.html)).
        Create and utilize objective criteria to 1) measure success of the network (e.g. participation, engagements, publications with multiple network participants); and 2) evaluate the impact of the
        network on career success and development (e.g. correlate network participation with traditional criteria for assessing accomplishments such as publications or promotions).

  Elements of the CCNPS Program:

  Administrative Coordination

  There are several administrative coordination components of the CCNPS:

        Create a network/networking system for NIH-funded pain researchers. Specifically, the network should help connect early-stage investigators to established mentors around the country and
        should help enhance collaboration among early-stage investigators who are along the pain research continuum (i.e., basic, translational, and clinical researchers). It is required that the
        network have an online space/platform component that CCNPS uses to engage network participants regularly throughout the year.
        Survey early-stage investigators and NIH-funded mentors to obtain their input about the types of activities (e.g., social networking, pain seminars, leadership training, mentoring experiences)
        that should be incorporated into the network.
        Identify NIH-funded early-stage career investigators (e.g., those who have received a K grant, are on a T grant, etc.) as well as NIH-funded mentors to inform them about, and encourage their
        participation in, the network.
        Plan and implement activities that will enhance and facilitate communication across the pain research continuum with the goal of increasing multidisciplinary collaborations.
        Disseminate information about all CCNPS activities, including the annual meeting, collaboration events, education events, successes of trainees, etc., to all awardees of NIH pain grants.
        Assist early-stage NIH pain grant awardees in navigating systems (i.e., connecting to a senior mentor at an outside institution, identifying helpful courses and training, running webinars to
        provide information that might help early-stage NIH pain grant awardees progress to mid-stage investigators, etc.)
        Create and utilize criteria/methods to measure the success of the CCNPS at meeting its stated objectives. It is recommended that these methods include an element that can be used to
        compare success of network participants to non-participants
        There should be a clear logistical plan and timeline that explains how and when activities will occur within the coordinating center

  Organization of an Annual Meeting and Networking Activities

  A required element of this FOA is the planning and hosting of an annual meeting for all NIH-funded early-stage pain researchers (i.e., researchers on K grants, T grants, F grants, etc.) and NIH-
  funded mentors. The PD/PI, along with the governing board, will organize this meeting annually to serve a forum where mentoring and career development activities can be discussed and take
  place. The meeting should also serve the purpose of connecting investigators across the continuum of pain research to facilitate multidisciplinary collaborations. The main scope of the annual
  meeting should be to help build a network of pain researchers from across the United States, as well as across the scientific continuum, who are working towards the common goal of improving pain
  management by openly sharing and communicating their knowledge in a collegial atmosphere. The annual meeting should also povide enhanced mentorship opportunities, leadership courses, and
  any additional trainings that maybe ncessary for early-career scietistis. The CCNPS should encourage all NIH-funded early-stage pain investigators and NIH-funded mentors to attend the annual
  meeting. The CCNPS also should incorporate a mechanism to fund a portion of all NIH-funded early-career pain researcher trainees’ travel to the annual meeting. Meeting attendance is required for
  K12 scholars, and it is expected that the K12 Advisory Committee members will attend.

  The network also should include regular activities to keep pain scientists engaged in the network throughout the year and add value to the training experience of NIH pain early-stage researchers.
  These activities would support the overall goals of the CCNPS to 1) enhance the training experience of early-stage career researchers; 2) facilitate/enhance communication/collaboration between
  pain researchers across the continuum of scientific disciplines; and 3) enhance the access of trainees to more senior mentors. The CCNPS should seek out stakeholders’ perspectives on what
  activities would be most useful to host throughout the year to achieve the CCNPS’s goals and encourage maximum participation from NIH pain early-stage investigators and NIH-funded mentors.

  Research education infrastructure

  The CCNPS is expected to survey early-stage investigators, mentors, and the governing board to understand potential educational activities, webinars, training or courses that would maximize the
  potential of pain researchers. The CCNP should consider administering the educational activities, training and/or courses at the annual meeting, or make them available at regular intervals
  throughout the year. If necessary, the CCNPS will develop and administer the necessary courses and training. In addition, the CCNPS may decide to improve access to key trainings or courses, that
  are already available, by focusing on disseminating this information across the network.

  Program Evaluation

  The CCNPS would berequired to conduct an external review of the success of the K12 program (see accompanying K12 FOA;
                 The governing board and PD/PI would be required to create objective criteria by which to measure the success of the program. The governing board and PD/PI also would be
  responsible for conducting the review, preparing a report and presenting their findings to NIH program staff.

  PD/PI Responsibilities

  The PD/PI(s) would be expected to coordinate meetings and events, monitor and assess the program, and submit all documents and reports as required. The PD/PI(s) would be responsible for the
  day-to-day administration of the program, appointing members of the governing board, conceptualizing and establishing the network/networking system, designing an outreach plan to recruit eligible
  participants to the network, planning and leading governing board discussions, monitoring the success and reach of the CCNPS program, leading the development of the review criteria for the K12
  program and dissemination of information about/promotion of the CCNPS. This R24 grant will provide PD/PI(s) 50% protected time in order to run the CCNPS. PD/PIs and NAC members from the
  K12 award cannot apply to be PD/PI(s) for the R24. PD/PI(s) also are responsible for hiring the program staff needed to execute CCNPS operations. This R24 grant would support an administrative
  staff member for up to 6 calendar months/year and one IT/web support staff for 4 months/year. In addition, if extensive coordination is required to achieve the goals of the CCNPS, an additional 6
  month/year salary support may be requested to support a CCNPS administrative position designed to accomplish these goals.

  It is expected that the PD/PI(s) will provide detailed information about the specific goals and expectations of the CCNPS to all governing board members, and when appropriate, department chairs of
  early-stage NIH grantees, and ensure that the governing board agrees with the goals, expectations, and requirements of the CCNPS. The PD/PI(s) may wish to assign significant programmatic roles

                                                                                                                                                               APHA App. 494
Case: 25-1611                    Document: 00118310432                                        Page: 498                     Date Filed: 07/08/2025                                    Entry ID: 6734280

                         Case 1:25-cv-10787-BEM                                      Document 38-29                          Filed 04/25/25                      Page 15 of 68
   to faculty members (e.g., name co-directors) or administrative staff who do not serve as PD/PI(s). These individuals should agree to perform the described duties and should have documented,
   sufficient time to commit to the program.

   The PD/PI(s) would be required to submit annual progress reports, in the Research Performance Progress Report (RPPR) (https://grants.nih.gov/grants/rppr/index.htm)format, and financial
   statements as required in the NIH Grants Policy Statement. (https://grants.nih.gov/grants/guide/url_redirect.php?id=11161)

   Governing Board

   The governing board, chaired by the PD/PI(s), is a select group of multidisciplinary scientists who have established records of research and mentoring, as well as pople with pain. The governing
   board should include approximately 10 members (eight established research investigators as well as at least two patients with lived experience). This committee must be diverse with respect to
   scientific interests, geographic location, clinical scientist and non-clinical scientists, and prior training affiliations (i.e., multidisciplinary). The committee also should have appropriate representation of
   experts with regard to gender, socioeconomic background, disability, and race/ethnicity. While the governing board will likely contain mostly mid-career and senior scientists, the PD/PI(s) may also
   wish to add additional individuals who are more junior scientists but are clearly outstanding for their career stage (i.e., individuals who have published high quality research and recently received their
   first R01). Note that not all members of the board must have identical roles in the program, and the PD/PI may wish to assign subcommittee roles to board members. The governing board will plan,
   design and help run CCNPS activities including the annual meeting, provide input on the quality of CCNPS activities to ensure that the goals are being met and help evaluate the K12 program. Due
   to the role of the governing board in evaluating the K12 program, PD/PI(s) and K12 AC members from the K12 program cannot serve on the governing board for the CCNPS. The duration of service
   of individuals on the board should be negotiated between individual members and the PD/PI and generally should be a minimum of three years.

   A description of the governing board should be included in the grant application; however, board members need not be named in the grant application. The application should mention how the
   PD/PI(s) will propose to achieve the composition of the governing board. The application should include descriptions as to how the board will provide oversight and guidance within CCNPS. After the
   NOA has been issued, NIH must approve the composition of the governing board, including the individuals’ names, expertise, current affiliation, and prior training affiliations, as well as their roles and
   responsibilities, and other relevant information. Board members should be paid a yearly honorarium for their participation in the CCNPS, and honorariums should be in line with NIH guidelines of a
   maximum of $400 per meeting.

   HEAL

   In addition to scientific diversity, applicants should strive to incorporate diversity in their team development plan. Research shows that diverse teams working together and capitalizing on innovative
   ideas and distinct perspectives outperform homogenous teams. Scientists and trainees from diverse backgrounds and life experiences bring different perspectives, creativity, and individual
   enterprise to address complex scientific problems. There are many benefits that flow from a diverse NIH-supported scientific workforce, including: fostering scientific innovation, enhancing global
   competitiveness, contributing to robust learning environments, improving the quality of the research, advancing the likelihood that underserved or health disparity populations participate in, and
   benefit from health research, and enhancing public trust. Please refer to Notice of NIH's Interest in Diversity NOT-OD-20-031 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html)for
   more details.

   The NIH HEAL Initiative will require a high level of coordination and sharing between investigators. It is expected that NIH HEAL Initiative recipients will cooperate and coordinate their activities after
   awards are made by participating in Program Director/Principal Investigator (PD/PI) meetings, including an annual HEAL Investigators Meeting, as well as other activities.
   See Section VIII. Other Information for award authorities and regulations.


   Section II. Award Information
   Funding Instrument
   Grant: A support mechanism providing money, property, or both to an eligible entity to carry out an approved project or activity.



   Application Types Allowed
   New


   The OER Glossary (//grants.nih.gov/grants/guide/url_redirect.php?id=11116) and the SF424 (R&R) Application Guide provide details on these application types. Only those application types listed
   here are allowed for this FOA.



   Clinical Trial?
   Not Allowed: Only accepting applications that do not propose clinical trials.



   Need help determining whether you are doing a clinical trial? (https://grants.nih.gov/grants/guide/url_redirect.php?id=82370)



   Funds Available and Anticipated Number of Awards
   The number of awards is contingent upon NIH appropriations and the submission of a sufficient number of meritorious applications.

   NIH intends to fund one award, corresponding to $1,893,240 direct costs in FY 2022. Future year amounts will depend on annual appropriations.

   HEAL intends to commit approximately $2,499,120 (direct cost) in FY23, $1,893,240 (direct cost) in FY24, $1,893,240 (direct cost) in FY25, and $1,893,240 (direct cost) in FY26.



   Award Budget
   Application budgets are not limited, but need to reflect the actual needs of the proposed project.



   Award Project Period
   The project period is 5 years.


   NIH grants policies as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120) will apply to the applications submitted and awards made from this
   FOA.


   Section III. Eligibility Information
   1. Eligible Applicants

   Eligible Organizations
   Higher Education Institutions

          Public/State Controlled Institutions of Higher Education
          Private Institutions of Higher Education

       The following types of Higher Education Institutions are always encouraged to apply for NIH support as Public or Private Institutions of Higher Education:

                                                                                                                                                                        APHA App. 495
Case: 25-1611                    Document: 00118310432                                     Page: 499                    Date Filed: 07/08/2025                                Entry ID: 6734280

                         Case 1:25-cv-10787-BEM                                   Document 38-29                         Filed 04/25/25                    Page 16 of 68
               Hispanic-serving Institutions
               Historically Black Colleges and Universities (HBCUs)
               Tribally Controlled Colleges and Universities (TCCUs)
               Alaska Native and Native Hawaiian Serving Institutions
               Asian American Native American Pacific Islander Serving Institutions (AANAPISIs)

   Nonprofits Other Than Institutions of Higher Education

           Nonprofits with 501(c)(3) IRS Status (Other than Institutions of Higher Education)
           Nonprofits without 501(c)(3) IRS Status (Other than Institutions of Higher Education)

   For-Profit Organizations

           Small Businesses
           For-Profit Organizations (Other than Small Businesses)

   Local Governments

           State Governments
           County Governments
           City or Township Governments
           Special District Governments
         Indian/Native American Tribal Governments (Federally Recognized)
         Indian/Native American Tribal Governments (Other than Federally Recognized)
   Federal Government

           Eligible Agencies of the Federal Government
           U.S. Territory or Possession

   Other

           Independent School Districts
           Public Housing Authorities/Indian Housing Authorities
           Native American Tribal Organizations (other than Federally recognized tribal governments)
           Faith-based or Community-based Organizations
           Regional Organizations

   Foreign Institutions
   Non-domestic (non-U.S.) Entities (Foreign Institutions) are not eligible to apply.

   Non-domestic (non-U.S.) components of U.S. Organizations are eligible to apply.

   Foreign components, as defined in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11118), are not allowed.

   Required Registrations
   Applicant organizations

   Applicant organizations must complete and maintain the following registrations as described in the SF 424 (R&R) Application Guide to be eligible to apply for or receive an award. All registrations
   must be completed prior to the application being submitted. Registration can take 6 weeks or more, so applicants should begin the registration process as soon as possible. The NIH Policy on Late
   Submission of Grant Applications (//grants.nih.gov/grants/guide/notice-files/NOT-OD-15-039.html) states that failure to complete registrations in advance of a due date is not a valid reason for a late
   submission.

           System for Award Management (SAM) (https://www.sam.gov/portal/public/SAM/) – Applicants must complete and maintain an active registration, which requires renewal at least annually. The
           renewal process may require as much time as the initial registration. SAM registration includes the assignment of a Commercial and Government Entity (CAGE) Code for domestic
           organizations which have not already been assigned a CAGE Code.
                 NATO Commercial and Government Entity (NCAGE) Code (//grants.nih.gov/grants/guide/url_redirect.php?id=11176) – Foreign organizations must obtain an NCAGE code (in lieu of a
                 CAGE code) in order to register in SAM.
                 Unique Entity Identifier (UEI)- A UEI is issued as part of the SAM.gov registration process. SAM registrations prior to fall 2021 were updated to include a UEI. For applications due on or
                 after January 25, 2022, the UEI must be provided on the application forms (e.g., FORMS-G); the same UEI must be used for all registrations, as well as on the grant application.
                 Dun and Bradstreet Universal Numbering System (DUNS) (http://fedgov.dnb.com/webform) – Organization registrations prior to April 2022 require applicants to obtain a DUNS prior to
                 registering in SAM. By April 2022, the federal government will stop using the DUNS number as an entity identifier and will transition to the Unique Entity Identifier (UEI) issued by SAM.
                 Prior to April 2022, after obtaining a DUNS number, applicants can begin both SAM and eRA Commons registrations. The same DUNS number must be used for all registrations, as
                 well as on the grant application.
           eRA Commons (https://era.nih.gov/) - Once the unique organization identifier (DUNS prior to April 2022; UEI after April 2022) is established, organizations can register with eRA Commons in
           tandem with completing their full SAM and Grants.gov registrations; all registrations must be in place by time of submission. eRA Commons requires organizations to identify at least one
           Signing Official (SO) and at least one Program Director/Principal Investigator (PD/PI) account in order to submit an application.
           Grants.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=82300) – Applicants must have an active SAM registration in order to complete the Grants.gov registration.

   Program Directors/Principal Investigators (PD(s)/PI(s))

   All PD(s)/PI(s) must have an eRA Commons account. PD(s)/PI(s) should work with their organizational officials to either create a new account or to affiliate their existing account with the applicant
   organization in eRA Commons. If the PD/PI is also the organizational Signing Official, they must have two distinct eRA Commons accounts, one for each role. Obtaining an eRA Commons account
   can take up to 2 weeks.

   Eligible Individuals (Program Director/Principal Investigator)
   Any individual(s) with the skills, knowledge, and resources necessary to carry out the proposed research as the Program Director(s)/Principal Investigator(s) (PD(s)/PI(s)) is invited to work with
   his/her organization to develop an application for support. Individuals from underrepresented racial and ethnic groups as well as individuals with disabilities are always encouraged to apply for NIH
   support. See, Reminder: Notice of NIH's Encouragement of Applications Supporting Individuals from Underrepresented Ethnic and Racial Groups as well as Individuals with Disabilities, NOT-OD-22-
   019 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-22-019.html).

   For institutions/organizations proposing multiple PDs/PIs, visit the Multiple Program Director/Principal Investigator Policy and submission details in the Senior/Key Person Profile (Expanded)
   Component of the SF424 (R&R) Application Guide.

   2. Cost Sharing
   This FOA does not require cost sharing as defined in the NIH Grants Policy Statement. (//grants.nih.gov/grants/guide/url_redirect.php?id=11126)

   3. Additional Information on Eligibility

   Number of Applications
   Applicant organizations may submit more than one application, provided that each application is scientifically distinct.

                                                                                                                                                                 APHA App. 496
Case: 25-1611                    Document: 00118310432                                       Page: 500                     Date Filed: 07/08/2025                                   Entry ID: 6734280

                         Case 1:25-cv-10787-BEM                                     Document 38-29                          Filed 04/25/25                      Page 17 of 68
   The NIH will not accept duplicate or highly overlapping applications under review at the same time, per 2.3.7.4 Submission of Resubmission Application
   (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_2/2.3.7_policies_affecting_applications.htm#Submissi). This means that the NIH will not accept:

          A new (A0) application that is submitted before issuance of the summary statement from the review of an overlapping new (A0) or resubmission (A1) application.
          A resubmission (A1) application that is submitted before issuance of the summary statement from the review of the previous new (A0) application.
          An application that has substantial overlap with another application pending appeal of initial peer review (see 2.3.9.4 Similar, Essentially Identical, or Identical Applications
          (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_2/2.3.9_application_receipt_information_and_deadlines.htm#Similar,))


   Section IV. Application and Submission Information
   1. Requesting an Application Package
   The application forms package specific to this opportunity must be accessed through ASSIST, Grants.gov Workspace or an institutional system-to-system solution. Links to apply using ASSIST
   or Grants.gov Workspace are available in Part 1 of this FOA. See your administrative office for instructions if you plan to use an institutional system-to-system solution.

   2. Content and Form of Application Submission
   It is critical that applicants follow the instructions in the Research (R) Instructions in the SF424 (R&R) Application Guide (//grants.nih.gov/grants/guide/url_redirect.php?id=12000) except where
   instructed in this funding opportunity announcement to do otherwise. Conformance to the requirements in the Application Guide is required and strictly enforced. Applications that are out of
   compliance with these instructions may be delayed or not accepted for review.
   Letter of Intent
   Although a letter of intent is not required, is not binding, and does not enter into the review of a subsequent application, the information that it contains allows IC staff to estimate the potential review
   workload and plan the review.

   By the date listed in Part 1. Overview Information, prospective applicants are asked to submit a letter of intent that includes the following information:

          Descriptive title of proposed activity
          Name(s), address(es), and telephone number(s) of the PD(s)/PI(s)
          Names of other key personnel
          Participating institution(s)
          Number and title of this funding opportunity

   The letter of intent should be sent to:


       National Institute of Neurological Disorders and Stroke (NINDS)
       Email:

   Page Limitations
   All page limitations described in the SF424 Application Guide and the Table of Page Limits (//grants.nih.gov/grants/guide/url_redirect.php?id=11133) must be followed.

   Instructions for Application Submission
   The following section supplements the instructions found in the SF424 (R&R) Application Guide and should be used for preparing an application to this FOA.

   SF424(R&R) Cover
   All instructions in the SF424 (R&R) Application Guide must be followed.

   SF424(R&R) Project/Performance Site Locations
   All instructions in the SF424 (R&R) Application Guide must be followed.

   SF424(R&R) Other Project Information
   All instructions in the SF424 (R&R) Application Guide must be followed.

   SF424(R&R) Senior/Key Person Profile
   All instructions in the SF424 (R&R) Application Guide must be followed.

   R&R Budget
   All instructions in the SF424 (R&R) Application Guide must be followed.

   Personnel Costs: Individuals designing, directing, and implementing the career development program may request salary and fringe benefits to support up to 6 person-months (50% effort total for all
   individuals) and 4 person-months of IT/web support. In addition, if extensive coordination is required to achieve the goals of the program, an additional 6 person-month salary may be requested to
   support a CCNPS administrative position designed to accomplish these goals. Salaries requested may not exceed the levels commensurate with the institution's policy for similar positions and may
   not exceed the congressionally mandated cap.

   Other Program Related Expenses: Consultant costs, equipment, supplies, travel for key persons, and other program-related expenses may be included in the proposed budget. These expenses
   must be justified as specifically required by the proposed program and must not duplicate items generally available at the applicant institution. Honoraria for attending meetings and travel to
   meetings may be requested for members of the governing board. Honoraria also may be offered for planning the annual meeting and the evaluation of the K12 program.

   The salaries of administrative and clerical staff should normally be treated as indirect (F&A) costs. Direct charging of these costs may be appropriate only if all of the following conditions are met: (1)
   Administrative or clerical services are integral to a project or activity; (2) Individuals involved can be specifically identified with the project or activity; (3) Such costs are explicitly included in the
   budget or have the prior written approval of the Federal awarding agency; and (4) The costs are not also recovered as indirect costs. When specifically identified and justified, these expenses must
   be itemized in Sections A and B, as appropriate, of the R&R Budget. It is anticipated that support will not exceed 16 person-months for administrative support, which can only be requested for work
   directly performed for the CCNPS program.

   R&R Subaward Budget
   All instructions in the SF424 (R&R) Application Guide must be followed.

   PHS 398 Cover Page Supplement
   All instructions in the SF424 (R&R) Application Guide must be followed.

   Program Plan

   Program Administration:

   Describe the strengths, leadership and administrative skills, scientific expertise, and training experience of the CCNPS PD/PI(s). Particular attention should be paid to the qualifications of the
   PD/PI(s) to lead and oversee this national coordinating center. Describe the strategy and administrative structure that is intended to be used to plan, execute and monitor the program.

   If the CCNPS program will have co-directors, these individuals, as well as their roles, should be identified, and qualifications to perform these responsibilities should be discussed. All PD/PI(s) should
   provide a letter documenting their willingness to serve in their proposed capacity. The letters should be included in the “Letters of Support” section.

   Governing Board:

                                                                                                                                                                      APHA App. 497
Case: 25-1611                   Document: 00118310432                                       Page: 501                    Date Filed: 07/08/2025                                  Entry ID: 6734280

                          Case 1:25-cv-10787-BEM                                   Document 38-29                          Filed 04/25/25                     Page 18 of 68
   Describe the planned make-up of the governing board. Describe how the PD/PI(s) will identify and approach potential board members. Describe how the governing board will operate and how the
   input of patients with lived pain experience will be incorporated into board decision-making. Describe the proposed roles for patients with lived pain experience.

   After the NOA has been issued, the PD/PI(s) needs to report the composition of the governing board, including name, expertise, current affiliation, and prior training affiliations, as well as their roles
   and responsibilities, and other relevant information. NIH program staff will have to approve the governing board composition and may make changes to the composition of the board, if necessary.

   Proposed Activities:

   Networking. Describe how the coordinating center will implement and design a network/networking system for NIH-funded pain early-stage investigators and NIH-funded mentors. NOTE that it is
   required that the network have an online component so that the network regularly engages participants throughout the year, across the U.S. Explain how the CCNPS program will enhance
   communication between scientists across the continuum of pain research. Describe how the program intends to recruit NIH-funded pain researchers from across the pain research continuum and
   how the program intends to connect researchers of different career stages. Delineate how the coordinating center intends to achieve buy-in from both early and late-stage investigators, as well as
   researchers from all levels across the pain research continuum (i.e., basic, clinical, and translational scientists) to participate in this network.

   Annual Meeting. Describe the type of content and information that would be included in an annual meeting for all NIH-funded early-stage pain researchers (i.e., researchers on K grants, T grants,
   etc.) and NIH-funded mentors. Explain how the CCNPS would organize this meeting and how it would promote and build a network of pain researchers from across the United States and the
   scientific continuum, who are working towards a common goal of improving pain management. Describe how the CCNPS would promote the meeting and encourage all pain NIH-funded early-stage
   investigators and NIH-funded mentors to attend the annual meeting. Also, provide a proposal to fund a portion of all pain-focused NIH-funded early-career trainees travel to the annual meeting.

   Research education infrastructure. Describe how the program will survey early-stage investigators, mentors, and the governing board to assess potential educational activities, webinars, trainings
   or courses that would maximize the potential of pain researchers. Explain how the program will provide educational activities, training and/or courses at the annual meeting or make them available at
   regular intervals. Detail how the CCNPS, if necessary, will develop and provide the necessary courses and trainings throughout the year. Discuss how the program will improve access to key training
   or courses that already are available, by disseminating this information across the network.

   Program Evaluation. Describe how the governing board and PD/PI will create objective criteria by which to measure the success of the K12 program. Discuss how they will be responsible for
   conducting the review, preparing a report and presenting their findings to NIH program staff.

   Stakeholder Engagement. Describe how the program will educate early-stage investigators on the role of stakeholder and community engagement across the continuum of scientific research.
   Discuss community stakeholder activities and trainings that are planned as part of the program. Explain how patients with lived experience will be utilized on the governing board. Describe how the
   program will engage NIH grant awardees to encourage participation in the network as well as gather input for the network’s design.

   Dissemination. Describe how the program plans to disseminate program information (i.e., information about the annual meeting, training, and networking events) as well as the successes of
   program participants across the network. Discuss how the program plans to ensure that the network is as expansive and diverse as possible and how the program plans to track the success, or
   limitations, of information dissemination strategies and engagement in research education activities.

   Leadership. Describe the plan for using the CCNPS program to contribute to the development of future leaders within the pain management community.

   Institutional Environment and Commitment to the CCNPS

   The PD/PI’s sponsoring institution must assure support for the proposed CCNPS program, including assurance that sufficient time will be allowed for the PD/PI(s) to contribute to the proposed
   program (a minimum of 6-person months per year, equivalent to 50% effort) will be maintained.
   PHS 398 Research Plan
   All instructions in the SF424 (R&R) Application Guide must be followed, with the following additional instructions:

   Resource Sharing Plan: Individuals are required to comply with the instructions for the Resource Sharing Plans as provided in the SF424 (R&R) Application Guide.

   HEAL

   Datasharing: Under Research Strategy/Resource Sharing Plan

   NIH intends to maximize the impact of HEAL Initiative-supported projects through broad and rapid data sharing. Consistent with the HEAL Initiative Public Access and Data Sharing Policy
   (https://heal.nih.gov/about/public-access-data (https://heal.nih.gov/about/public-access-data)), all applications, regardless of the amount of direct costs requested for any one year, are required to
   include a Data Management and Sharing Plan outlining how scientific data and any accompanying metadata will be managed and shared. The plan should describe data types, file formats,
   submission timelines, and standards used in collecting or processing the data. It is expected that data generated by HEAL Initiative-funded projects will be submitted to study-appropriate domain-
   specific or generalist repositories in consultation with the HEAL Data Stewardship Group to ensure the data is accessible via the HEAL Initiative Data Ecosystem (https://heal.nih.gov/about/heal-
   data-ecosystem). Additional guidance on data related activities can be found at https://www.healdatafair.org/. (https://www.healdatafair.org/)

   To maximize discoverability and value of HEAL datasets and studies, and facilitate data integration and collaboration, applications submitted in response to this FOA are strongly encouraged to
   incorporate standards and resources where applicable:

          Applicants are encouraged to ensure that data collected by the study conform to Findable, Accessible, Interoperable, and Reusable (FAIR
          (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4792175/)) principles.
          Applicants are specifically encouraged to incorporate into their planning, an alignment with the guidelines, principles and recommendations developed by the HEAL Data Ecosystem, including
          but not limited to preparing data to store in selected specified repositories, applying minimal metadata standards, use of core HEAL Clinical Data Elements (CDEs,
          https://heal.nih.gov/data/common-data-elements (https://heal.nih.gov/data/common-data-elements)), and other necessary requirements to prepare data to connect to the HEAL Data
          Ecosystem.

          All new HEAL clinical pain studies are required to submit their case-report forms/questionnaires to the HEAL Clinical Data Elements (CDE) Program. The program will create the CDE files
          containing standardized variable names, responses, coding, and other information. The program will also format the case-report forms in a standardized way that is compliant with accessibility
          standards under Section 508 of the Rehabilitation Act of 1973 (29 U.S.C § 794 (d) (https://www.gpo.gov/fdsys/pkg/USCODE-2011-title29/html/USCODE-2011-title29-chap16-subchapV-
          sec794d.htm)), which “require[s] Federal agencies to make their electronic and information technology accessible to people with disabilities.” HEAL Initiative clinical studies that are using
          copyrighted questionaries are required to obtain licenses for use prior to initiating data collection. Licenses must be shared with the HEAL CDE team and the program officer prior to use of
          copyrighted materials. For additional information, visit the HEAL CDE Program (https://heal.nih.gov/data/common-data-elements).

   The NIH notices referenced below provide additional NIH guidance that should be considered in developing a strong data management and sharing plan. The list is instructive but not
   comprehensive.

          Elements of an NIH Data Management and Sharing Plan (NOT-OD-21-014 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-014.html))
          NIH has provided guidance around selecting a repository for data generated by NIH-supported research and has developed desirable characteristics for all data repositories (NOT-OD-21-016
          (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-016.html)).
          NIH encourages the use of data standards including the PhenX Toolkit (www.phenxtoolkit.org (http://www.phenxtoolkit.org)) (for example, see NOT-DA-12-008
          (https://grants.nih.gov/grants/guide/notice-files/NOT-DA-12-008.html), NOT-MH-15-009 (https://grants.nih.gov/grants/guide/notice-files/NOT-MH-15-009.html))
          NIH encourages researchers to explore the use of the HL7 FHIR® (Fast Healthcare Interoperability Resources) standard to capture, integrate, and exchange clinical data for research
          purposes and to enhance capabilities to share research data (NOT-OD-19-122 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-19-122.html)). The FHIR® standard may be particularly
          useful in facilitating the flow of data with EHR-based datasets, tools, and applications.
          NIH encourages clinical research programs and researchers to adopt and use the standardized set of data classes, data elements, and associated vocabulary standards specified in the
          United States Core Data for Interoperability (USCDI) (https://www.healthit.gov/isa/united-states-core-data-interoperability-uscdi) standards, as they are applicable (NOT-OD-20-146
          (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-146.html)). Use of the USCDI can complement the FHIR® standard and enable researchers to leverage structured EHR data for
          research and enable discovery.

   Recipientsconducting research that includes collection of genomic data should incorporate requirements under the NIH Genomic Data Sharing Policy (NOT-OD-14-124
   (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-14-124.html), NOT-OD-15-086 (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-15-086.html)).

                                                                                                                                                                    APHA App. 498
Case: 25-1611                   Document: 00118310432                                        Page: 502                    Date Filed: 07/08/2025                              Entry ID: 6734280

                         Case 1:25-cv-10787-BEM                                    Document 38-29                          Filed 04/25/25                      Page 19 of 68
   Appendix:
   Only limited Appendix materials are allowed. Follow all instructions for the Appendix as described in the SF424 (R&R) Application Guide.
   PHS Human Subjects and Clinical Trials Information
   When involving human subjects research, clinical research, and/or NIH-defined clinical trials (and when applicable, clinical trials research experience) follow all instructions for the PHS Human
   Subjects and Clinical Trials Information form in the SF424 (R&R) Application Guide, with the following additional instructions:

   If you answered “Yes” to the question “Are Human Subjects Involved?” on the R&R Other Project Information form, you must include at least one human subjects study record using the Study
   Record: PHS Human Subjects and Clinical Trials Information form or Delayed Onset Study record.

   Study Record: PHS Human Subjects and Clinical Trials Information

   All instructions in the SF424 (R&R) Application Guide must be followed.

   Delayed Onset Study

   Note: Delayed onset (https://grants.nih.gov/grants/glossary.htm#DelayedOnsetStudy) does NOT apply to a study that can be described but will not start immediately (i.e., delayed start).All
   instructions in the SF424 (R&R) Application Guide must be followed.

   PHS Assignment Request Form
   All instructions in the SF424 (R&R) Application Guide must be followed.

   3. Unique Entity Identifier and System for Award Management (SAM)
   See Part 1. Section III.1 for information regarding the requirement for obtaining a unique entity identifier and for completing and maintaining active registrations in System for Award Management
   (SAM), NATO Commercial and Government Entity (NCAGE) Code (if applicable), eRA Commons, and Grants.gov

   4. Submission Dates and Times
   Part I. Overview Information contains information about Key Dates and times. Applicants are encouraged to submit applications before the due date to ensure they have time to make any application
   corrections that might be necessary for successful submission. When a submission date falls on a weekend or Federal holiday (https://grants.nih.gov/grants/guide/url_redirect.php?id=82380), the
   application deadline is automatically extended to the next business day.

   Organizations must submit applications to Grants.gov (//grants.nih.gov/grants/guide/url_redirect.php?id=11128) (the online portal to find and apply for grants across all Federal agencies). Applicants
   must then complete the submission process by tracking the status of the application in the eRA Commons (//grants.nih.gov/grants/guide/url_redirect.php?id=11123), NIH’s electronic system for
   grants administration. NIH and Grants.gov systems check the application against many of the application instructions upon submission. Errors must be corrected and a changed/corrected application
   must be submitted to Grants.gov on or before the application due date and time. If a Changed/Corrected application is submitted after the deadline, the application will be considered late.
   Applications that miss the due date and time are subjected to the NIH Policy on Late Application Submission.

   Applicants are responsible for viewing their application before the due date in the eRA Commons to ensure accurate and successful submission.

   Information on the submission process and a definition of on-time submission are provided in the SF424 (R&R) Application Guide.

   Late applications will not be considered.

   5. Intergovernmental Review (E.O. 12372)
   This initiative is not subject to intergovernmental review. (https://grants.nih.gov/grants/policy/nihgps/html5/section_10/10.10.1_executive_orders.htm)

   6. Funding Restrictions
   All NIH awards are subject to the terms and conditions, cost principles, and other considerations described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?
   id=11120).

   Pre-award costs are allowable only as described in the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11143).

   7. Other Submission Requirements and Information
   Applications must be submitted electronically following the instructions described in the SF424 (R&R) Application Guide. Paper applications will not be accepted.

   Applicants must complete all required registrations before the application due date. Section III. Eligibility Information contains information about registration.

   For assistance with your electronic application or for more information on the electronic submission process, visit How to Apply – Application Guide (https://grants.nih.gov/grants/how-to-apply-
   application-guide.html). If you encounter a system issue beyond your control that threatens your ability to complete the submission process on-time, you must follow the Dealing with System Issues
   (https://grants.nih.gov/grants/how-to-apply-application-guide/due-dates-and-submission-policies/dealing-with-system-issues.htm) guidance. For assistance with application submission, contact the
   Application Submission Contacts in Section VII.

       Important reminders:

       All PD(s)/PI(s) must include their eRA Commons ID in the Credential fieldof the Senior/Key Person Profile form. Failure to register in the Commons and to include a valid PD/PI Commons ID in
       the credential field will prevent the successful submission of an electronic application to NIH. See Section III of this FOA for information on registration requirements.

       The applicant organization must ensure that the unique entity identifier (DUNS number or UEI as required) provided on the application is the same number used in the organization’s profile in
       the eRA Commons and for the System for Award Management. Additional information may be found in the SF424 (R&R) Application Guide.

       See more tips (//grants.nih.gov/grants/guide/url_redirect.php?id=11146) for avoiding common errors.

   Upon receipt, applications will be evaluated for completeness and compliance with application instructions by the Center for Scientific Review and responsiveness by components of participating
   organizations, NIH. Applications that are incomplete, non-compliant and/or nonresponsive will not be reviewed.

   Webinar

   In order to learn more about this RFA and to have the opportunity to ask questions, a pre-application webinar will be held on June 6th from 12:00-1:00pm EST (9:00-10:00am PST). Information on
   how to join the webinar is provided below.



   To join the web presentation:

   1.Go to

   https://nih.zoomgov.com/j/1619140305?pwd=YkhXYTlISXVnTkp6M2E1UUUvRmFQZz09 (https://nih.zoomgov.com/j/1619140305?pwd=YkhXYTlISXVnTkp6M2E1UUUvRmFQZz09)

   2. Click "Join Now"

   For audio you can follow the prompts on your monitor, or

   Call-in number (US): 646 828 7666

   Meeting ID: 161 914 0305

   Passcode: 103026

                                                                                                                                                                        APHA App. 499
Case: 25-1611                    Document: 00118310432                                        Page: 503                     Date Filed: 07/08/2025                                  Entry ID: 6734280

                        Case 1:25-cv-10787-BEM                                      Document 38-29                           Filed 04/25/25                      Page 20 of 68
   Post Submission Materials
   Applicants are required to follow the instructions for post-submission materials, as described in the policy (//grants.nih.gov/grants/guide/url_redirect.php?id=82299). Any instructions provided here
   are in addition to the instructions in the policy.

   After the NOA has been issued, the PD/PI(s) needs to report the composition of the governing board, including name, expertise, current affiliation, and prior training affiliations, as well as their roles
   and responsibilities, and other relevant information. NIH program staff will have to approve the governing board composition and may make changes to the composition of the board, if necessary.


   Section V. Application Review Information
   1. Criteria
   Only the review criteria described below will be considered in the review process. Applications submitted to the NIH in support of the NIH mission (//grants.nih.gov/grants/guide/url_redirect.php?
   id=11149) are evaluated for scientific and technical merit through the NIH peer review system.

   Overall Impact
   Reviewers will provide an overall impact score to reflect their assessment of the likelihood that the proposed coordinating center will create a network for researchers across the spectrum of pain
   research, bring early-stage investigators and mentors together, organize an annual meeting, and offer courses and trainings throughout the year to help enhance the field of pain management, in
   consideration of the following review criteria and additional review.

   Scored Review Criteria
   Reviewers will consider each of the review criteria below in the determination of scientific merit, and give a separate score for each. An application does not need to be strong in all categories to be
   judged likely to have major scientific impact. For example, a project that by its nature is not innovative may be essential to advance a field.

       Significance
       Does the project address an important problem or a critical barrier to progress in the field? Is the prior research that serves as the key support for the proposed project rigorous? If the aims of
       the project are achieved, how will scientific knowledge, technical capability, and/or clinical practice be improved? How will successful completion of the aims change the concepts, methods,
       technologies, treatments, services, or preventative interventions that drive this field?

       Investigator(s)
       Are the PD(s)/PI(s), collaborators, and other researchers well suited to the project? If Early Stage Investigators or those in the early stages of independent careers, do they have appropriate
       experience and training? If established, have they demonstrated an ongoing record of accomplishments that have advanced their field(s)? If the project is collaborative or multi-PD/PI, do the
       investigators have complementary and integrated expertise; are their leadership approach, governance and organizational structure appropriate for the project?

       Specific to this FOA:

          Is there evidence that an appropriate level of effort will be devoted by the program leadership to ensure program objectives?
          Are the PD/PI(s) research qualifications, scientific stature, previous leadership and mentoring experience, and track record(s) appropriate for the proposed coordinating center?
          Are the PD/PI(s) currently engaged in research relevant to the scientific area of the proposed program?
          For applications designating multiple PDs/PIs:
                 Is a strong justification provided that the multiple PD/PI leadership approach will benefit the career development program and the scholars?
                 Is a strong and compelling leadership approach evident, including the designated roles and responsibilities, with and justified by the aims of the career development program and the
                 complementary expertise of the PDs/PIs?

       Innovation
       Does the application challenge and seek to shift current research or clinical practice paradigms by utilizing novel theoretical concepts, approaches or methodologies, instrumentation, or
       interventions? Are the concepts, approaches or methodologies, instrumentation, or interventions novel to one field of research or novel in a broad sense? Is a refinement, improvement, or new
       application of theoretical concepts, approaches or methodologies, instrumentation, or interventions proposed?

       Approach
       Are the overall strategy, methodology, and analyses well-reasoned and appropriate to accomplish the specific aims of the project? Have the investigators included plans to address weaknesses
       in the rigor of prior research that serves as the key support for the proposed project? Have the investigators presented strategies to ensure a robust and unbiased approach, as appropriate for
       the work proposed? Are potential problems, alternative strategies, and benchmarks for success presented? If the project is in the early stages of development, will the strategy establish
       feasibility and will particularly risky aspects be managed? Have the investigators presented adequate plans to address relevant biological variables, such as sex, for studies in vertebrate animals
       or human subjects?

       If the project involves human subjects and/or NIH-defined clinical research, are the plans to address 1) the protection of human subjects from research risks, and 2) inclusion (or exclusion) of
       individuals on the basis of sex/gender, race, and ethnicity, as well as the inclusion or exclusion of individuals of all ages (including children and older adults), justified in terms of the scientific
       goals and research strategy proposed?

       Environment
       Will the scientific environment in which the work will be done contribute to the probability of success? Are the institutional support, equipment and other physical resources available to the
       investigators adequate for the project proposed? Will the project benefit from unique features of the scientific environment, subject populations, or collaborative arrangements?

   Additional Review Criteria
   As applicable for the project proposed, reviewers will evaluate the following additional items while determining scientific and technical merit, and in providing an overall impact score, but will not give
   separate scores for these items.

   Administrative Coordination
          Is there evidence that the proposed network/networking system can reach and disseminate information about the R24 activities to NIH-funded pain early-stage investigators who could benefit
          from receiving support from the network?
          Is the proposed program likely to entice NIH pain grant awardees (early-stage investigators and NIH funded mentors) across the research continuum to participate in the network?
          Are there proposed activities to ensure that NIH early-stage investigators will gain a thorough appreciation of how all levels of scientific research (i.e. basic/clinical/translational) interact?
          Is there a plan to effectively deliver or facilitate access to necessary educational courses/trainings to members of the network?
          Is there a thoughtful plan for maximizing the participation of pain researchers in the network who are diverse in the field by gender, socioeconomic background, training, geographic location,
          disability, as well as race and ethnicity?
          Are the guidelines proposed for oversight of didactic, training-related, and research-related activities of the program appropriate?
          Is there a plan to objectively evaluate the success of the network? Would the evaluation method permit the comparison of program participants to non-program participants?

   Network
          Does the proposalapplication describe the creation of an innovative network that NIH-funded early stage-investigators and NIH-funded mentors will engage in?
          Does the proposalapplication describe an online or virtual networking system that engages participants regularly and semi-frequently throughout the year?
          Is the network an innovative way to engage the NIH trainee community and foster a collegial atmosphere that will facilitate multidisciplinary collaborations?

                                                                                                                                                                       APHA App. 500
Case: 25-1611                  Document: 00118310432                                       Page: 504                    Date Filed: 07/08/2025                                 Entry ID: 6734280

                         Case 1:25-cv-10787-BEM                                   Document 38-29                         Filed 04/25/25                     Page 21 of 68
         Will the proposed network and network activities be valuable to early-stage investigators?
         Does the proposed program clearly outline a plan to identify and recruit NIH pain grant awardees (NIH-funded early-stage investigators and NIH-funded mentors) to participate in the network?
         IsAre the proposed amount and mode of communication to NIH early-stage investigators appropriate?
         Will the proposed communication plan ensure participation and buy-in from a diverse group of NIH early-stage investigators representing the whole continuum of pain research?
         Is there a proposed method to survey the community about their educational and collaborative needs? Is the plan appropriate?
         Will the proposed networking activities help prepare early-stage pain researchers for successful, impactful careers regardless of their home institution?
         Is there a proposed plan to facilitate communication/collaboration between researchers across the pain research continuum, between early-stage investigators and mentors, and among early-
         stage investigators?

   Education/Training Component
         Does the application propose a useful and helpful course (or courses) for the pain community?
         Is there a plan to engage the community to determine what is needed to fulfill the educational goals of this program?
         Is there a plan for fostering leadership skills and opportunities for all early-stage investigators?
         Is there a plan to evaluate and measure educational activities?
         Does the proposalapplication include courses on scientific leadership, mentoring, how to serve on review panels, and grant writing (i.e., courses preparing early-stage investigators for an
         impactful and successful academic research career)?

   Annual Meeting


         Does the program discuss how the program will disseminate information about the meeting to potential attendees?
         Is there a well-considered plan for inclusion of an appropriate number and type of attendees at this annual meeting, to include not only the K12 scholars but all NIH-supported pain
         researchers?
         Is there a plan about how to distribute funds to early-career researchers?

   Program Evaluation

         Is there a clear and objective standard for evaluating the K12 program

   Data Sharing

   Reviewers will comment on whether the following Resource Sharing Plans, or the rationale for not sharing the following types of resources, are reasonable: (1) Data Sharing Plan
   (//grants.nih.gov/grants/guide/url_redirect.php?id=11151); (2) Sharing Model Organisms (https://grants.nih.gov/grants/policy/model_organism/); and (3) Genomic Data Sharing Plan (GDS)
   (https://osp.od.nih.gov/scientific-sharing/policies).
       Governing Board
         Is the proposed constitution of the governing board appropriate?
         Is there a strong plan to recruit the governing board?
         Is the role of pain patients on the board defined?
         Is there a plan to maintain patient representation for the duration of the award?
         Is there a strong plan to include junior pain scientists -- who could provide diverse insights and helpful advice to the program design -- who have launched successful research programs, with
         appropriate attention to diversity, including gender, socioeconomic background, training, geographic location, disability, and race/ethnicity?

       Protections for Human Subjects
       Generally not applicable.

       Inclusion of Women, Minorities, and Individuals Across the Lifespan
       Generally not applicable.

       Vertebrate Animals
       Generally not applicable.

       Biohazards
       Not applicable

       Resubmissions
       Not Applicable

       Renewals
       Not Applicable

       Revisions
       Not Applicable

   Additional Review Considerations
   As applicable for the project proposed, reviewers will consider each of the following items, but will not give scores for these items, and should not consider them in providing an overall impact score.

       Applications from Foreign Organizations
       Not Applicable.

       Select Agent Research
       Not Applicable

       Resource Sharing Plans
   Not Applicable.

       Authentication of Key Biological and/or Chemical Resources:
       Not applicable

       Budget and Period of Support
       Reviewers will consider whether the budget and the requested period of support are fully justified and reasonable in relation to the proposed research.

   2. Review and Selection Process
                                                                                                                                                                  APHA App. 501
Case: 25-1611                    Document: 00118310432                                       Page: 505                    Date Filed: 07/08/2025                                  Entry ID: 6734280

                        Case 1:25-cv-10787-BEM                                     Document 38-29                          Filed 04/25/25                     Page 22 of 68
   Applications will be evaluated for scientific and technical merit by NIH program staff convened by NINDS using the stated review criteria.

   Applications may undergo a selection process in which only those applications deemed to have the highest scientific and technical merit will be discussed and assigned an overall assessment score.

   Appeals (https://grants.nih.gov/grants/policy/nihgps/html5/section_2/2.4.2_appeals_of_initial_scientific_review.htm)of initial peer review will not be accepted for applications submitted in response to
   this FOA.

   Applications will be assigned on the basis of established PHS referral guidelines to the appropriate NIH Institute or Center. Applications will compete for available funds with all other recommended
   applications submitted in response to this FOA. The following will be considered in making funding decisions:

              Scientific and technical merit of the proposed project as determined by scientific peer review.
              Availability of funds.
              Relevance of the proposed project to program priorities.

   3. Anticipated Announcement and Award Dates
   Not Applicable


   Section VI. Award Administration Information
   1. Award Notices
   If the application is under consideration for funding, NIH will request "just-in-time" information from the applicant as described in the NIH Grants Policy Statement
   (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_2/2.5.1_just-in-time_procedures.htm).

   A formal notification in the form of a Notice of Award (NoA) will be provided to the applicant organization for successful applications. The NoA signed by the grants management officer is the
   authorizing document and will be sent via email to the recipient's business official.

   Recipients must comply with any funding restrictions described in Section IV.5. Funding Restrictions. Selection of an application for award is not an authorization to begin performance. Any costs
   incurred before receipt of the NoA are at the recipient's risk. These costs may be reimbursed only to the extent considered allowable pre-award costs.

   Any application awarded in response to this FOA will be subject to terms and conditions found on the Award Conditions and Information for NIH Grants
   (https://grants.nih.gov/grants/policy/nihgps/HTML5/part_ii_subpart_b.htm) website. This includes any recent legislation and policy applicable to awards that is highlighted on this website.

   Institutional Review Board or Independent Ethics Committee Approval: Recipient institutions must ensure that protocols are reviewed by their IRB or IEC. To help ensure the safety of participants
   enrolled in NIH-funded studies, the recipient must provide NIH copies of documents related to all major changes in the status of ongoing protocols.

   2. Administrative and National Policy Requirements
   All NIH grant and cooperative agreement awards include the NIH Grants Policy Statement (//grants.nih.gov/grants/guide/url_redirect.php?id=11120) as part of the NoA. For these terms of award, see
   the NIH Grants Policy Statement Part II: Terms and Conditions of NIH Grant Awards, Subpart A: General (//grants.nih.gov/grants/guide/url_redirect.php?id=11157) and Part II: Terms and Conditions
   of NIH Grant Awards, Subpart B: Terms and Conditions for Specific Types of Grants, Recipients, and Activities (//grants.nih.gov/grants/guide/url_redirect.php?id=11159), including of note, but not
   limited to:

          Federalwide Research Terms and Conditions (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_3/3.1_federalwide_standard_terms_and_conditions_for_research_grants.htm)
          Prohibition on Certain Telecommunications and Video Surveillance Services or Equipment (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-041.html)
          Acknowledgment of Federal Funding (https://grants.nih.gov/grants/policy/nihgps/HTML5/section_4/4.2.1_acknowledgement_of_federal_funding.htm)

   If a recipient is successful and receives a Notice of Award, in accepting the award, the recipient agrees that any activities under the award are subject to all provisions currently in effect or
   implemented during the period of the award, other Department regulations and policies in effect at the time of the award, and applicable statutory provisions.

   Should the applicant organization successfully compete for an award, recipients of federal financial assistance (FFA) from HHS must administer their programs in compliance with federal civil rights
   laws that prohibit discrimination on the basis of race, color, national origin, disability, age and, in some circumstances, religion, conscience, and sex (including gender identity , sexual orientation, and
   pregnancy). This includes ensuring programs are accessible to persons with limited English proficiency and persons with disabilities. The HHS Office for Civil Rights provides guidance on complying
   with civil rights laws enforced by HHS. Please see https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html (https://www.hhs.gov/civil-rights/for-providers/provider-
   obligations/index.html) and https://www.hhs.gov/civil-rights/for-individuals/nondiscrimination/index.html (https://www.hhs.gov/civil-rights/for-individuals/nondiscrimination/index.html)

   HHS recognizes that research projects are often limited in scope for many reasons that are nondiscriminatory, such as the principal investigator’s scientific interest, funding limitations, recruitment
   requirements, and other considerations. Thus, criteria in research protocols that target or exclude certain populations are warranted where nondiscriminatory justifications establish that such criteria
   are appropriate with respect to the health or safety of the subjects, the scientific study design, or the purpose of the research. For additional guidance regarding how the provisions apply to NIH grant
   programs, please contact the Scientific/Research Contact that is identified in Section VII under Agency Contacts of this FOA.

          Recipients of FFA must ensure that their programs are accessible to persons with limited English proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
          meaningful access to programs or activities by limited English proficient individuals see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-sheet-
          guidance/index.html (https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-sheet-guidance/index.html)and https://www.lep.gov (https://www.lep.gov/).

          For information on an institution’s specific legal obligations for serving qualified individuals with disabilities, including reasonable accommodations and making services accessible to them, see
          http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html (https://www.hhs.gov/ocr/civilrights/understanding/disability/index.html).

          HHS funded health and education programs must be administered in an environment free of sexual harassment, see https://www.hhs.gov/civil-rights/for-individuals/sex-
          discrimination/index.html (https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html). For information about NIH's commitment to supporting a safe and respectful work
          environment, who to contact with questions or concerns, and what NIH's expectations are for institutions and the individuals supported on NIH-funded awards, please see
          https://grants.nih.gov/grants/policy/harassment.htm (https://grants.nih.gov/grants/policy/harassment.htm).

          For guidance on administering programs in compliance with applicable federal conscience protection and associated anti-discrimination laws see https://www.hhs.gov/conscience/conscience-
          protections/index.html (https://www.hhs.gov/conscience/conscience-protections/index.html) and https://www.hhs.gov/conscience/religious-freedom/index.html
          (https://www.hhs.gov/conscience/religious-freedom/index.html).

   Please contact the HHS Office for Civil Rights for more information about obligations and prohibitions under federal civil rights laws at https://www.hhs.gov/ocr/about-us/contact-us/index.html
   (https://www.hhs.gov/ocr/about-us/contact-us/index.html) or call 1-800-368-1019 or TDD 1-800-537-7697.

   In accordance with the statutory provisions contained in Section 872 of the Duncan Hunter National Defense Authorization Act of Fiscal Year 2009 (Public Law 110-417), NIH awards will be subject
   to the Federal Awardee Performance and Integrity Information System (FAPIIS) requirements. FAPIIS requires Federal award making officials to review and consider information about an applicant
   in the designated integrity and performance system (currently FAPIIS) prior to making an award. An applicant, at its option, may review information in the designated integrity and performance
   systems accessible through FAPIIS and comment on any information about itself that a Federal agency previously entered and is currently in FAPIIS. The Federal awarding agency will consider any
   comments by the applicant, in addition to other information in FAPIIS, in making a judgement about the applicant’s integrity, business ethics, and record of performance under Federal awards when
   completing the review of risk posed by applicants as described in 45 CFR Part 75.205 and 2 CFR Part 200.206 “Federal awarding agency review of risk posed by applicants.” This provision will
   apply to all NIH grants and cooperative agreements except fellowships.

   Cooperative Agreement Terms and Conditions of Award
   Not Applicable.

   3. Reporting

                                                                                                                                                                     APHA App. 502
Case: 25-1611                   Document: 00118310432                                        Page: 506                     Date Filed: 07/08/2025                                   Entry ID: 6734280

                           Case 1:25-cv-10787-BEM
                           Case 1:25-cv-10787-BEM                                    Document 38-29
                                                                                     Document 38-29                        Filed 04/25/25
                                                                                                                           Filed 04/25/25                    Page 23
                                                                                                                                                             Page 23 of
                                                                                                                                                                     of 68
                                                                                                                                                                        68
     When multiple years are involved, recipients will be required to submit the   Research Performance Progress Report (RPPR) (//arants.nih. gov/grants/rppr/index. htm) annually and financial statements
     as required in the NIH Grants Policy Statement. (https://arants.nih.gov/grants/policy/nihops/HTMLS/section
                                                                                                8/8.4.1 reporting.htm)
     PD/PI(s) mustsubmit annual progress reports to NIH. Progress reports should describe all relevant outcomes related to CCNPS activities over the years funded. This should include a summary
     describing the types of NIH grant awardees participating in the network, including their institutions and research specialties. Progress reports should describe how the CCNPS program has evolved
     in response to feedback and the results observed in previous years. Progress reports should describe efforts to evaluate the program, and any changes made to the program based on those
     evaluations. The reports also should describe in general terms the makeup of the goveming board and any changes to this makeup.

      A final RPPR, invention statement, and the expenditure data portion of the Federal Financial Report are required for closeout of an award, as described in the NIH Grants Policy Statement
     {https://orants
     gov/grants/policy/nihops/HTML5/section
                     nih.                                        8/8.6 closeout. htm). NIH FOAs outline intended research goals and objectives. Post award, NIH will review and measure performance
     based on the details and outcomes that are shared within the RPPR, as described at 45 CFR Part 75.301 and 2 CFR Part 200.301.

     The Federal Funding Accountability and Transparency Act of 2006 (Transparency Act), includes a requirement for recipients of Federal grants to report information about first-tier subawards and
     executive compensation under Federal assistance awards issued in FY2011 or later. All recipients of applicable NIH grants and cooperative agreements are required to report to the Federal
     Subaward Reporting System (FSRS) available at (//grants.nih.gov/grants/quide/url_
                                                     www fsrs.goy                                     redirect. php?id=11170) on all subawards over $25,000. See the NIH Grants Policy Statement
     (U/grants.nih.gov/grants/quide/un_
                                   redirect. php?id=11171) for additional information on this reporting requirement.

     In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XIl to 45 CFR Part 75, recipients that have currently active Federal grants, cooperative agreements, and
     procurement contracts from all Federal awarding agencies with a cumulative total value greater than $10,000,000 for any period of time during the period of performance of a Federal award, must
     report and maintain the currency of information reported in the System for Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the award or
     performance of a Federal award that reached final disposition within the most recent five-year period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
     information will be made publicly available in the designated integrity and performance system (currently FAPIIS). This is a statutory requirement under section 872 of Public Law 110-417, as
     amended (41 U.S.C. 2313). As required by section 3010 of Public Law 111-212, all information posted in the designated integrity and performance system on or after April 15, 2011, except past
     performance reviews required for Federal procurement contracts, will be publicly available. Full reporting requirements and procedures are found in Appendix XII to 45 CFR Part 75 — Award Term
     and Conditions for Recipient Integrity and Performance Matters.


     Section VII. Agency Contacts
     We encourage inquiries conceming this funding opportunity and welcome the opportunity to answer questions from potential applicants.

     Application Submission Contacts
     eRA Service Desk (Questions regarding ASSIST, eRA Commons, application errors and warnings, documenting system problems that threaten submission by the due date, and post-submission
     issues)
     Finding Help Online: bttp-//grants.nih.gov/support/ (//grants.nih.gov/support/) (preferred method of contact)
     Telephone: 301-402-7469 or 866-504-9552 (Toll Free)
     General Grants Information (Questions regarding application instructions, application processes, and NIH grant resources)
     Email:    GrantsInfo@nih.gov (mailto:GrantsInfo@nih.gov) (preferred method of contact)
     Telephone: 301-480-7075
     Grants.gov Customer Support (Questions regarding Grants.gov registration and Workspace)
     Contact Center Telephone: 800-518-4726
     Email: support@grants.
                  gov (mailto-support@grants.gov).
     Scientific/Research Contact(s)

     National Institute of Neurological Disorders and Stroke




     National Institute of Neurological Disorders and Stroke
     Email:


     National Institute of Dental & Craniofacial Research (NIDCR)
     Phone:
     E-mail:
     David Thomas, Ph.D.
     Office of Research on Women's Health
     Phone: 301-435-1313
     Email: thomas@nih.gov
            david. (mailto: david, thomas@nih.gov)

     Peer Review Contact(s)
     Not Applicable

     Financial/Grants Management Contact(s)
     Chief Grants Management Officer
     National Institute of Neurological Disorders and Stroke (NINDS)
                          nih.goy (mailto:ChiefGrantsManagementOfficer@ninds nih.gov)
     Email: ChiefGrantsManagementOfficer@ninds
     National Institute of Dental & Craniofacial Research (NIDCR)


     E-mai C—O
     Section VIII. Other Information

     the esis              ae    eee                                               RT                    All awards are subject to the terms ai conditions, cost principles, and other considerations
     described in the NIH Grants Policy Statement (//arants.nih.gov/arants/quide/url_redirect.php?id=11120).

     Authority and Regulations
     Awards are made under the authorization of Sections 301 and 405 of the Public Health Service Act as amended (42 USC 241 and 284) and under Federal Regulations 42 CFR 63A and 45 CFR Part
     75 and 2 CFR Part 200.




                                                                                                                                                                      APHA App. 503
Case: 25-1611                  Document: 00118310432                                Page: 507                 Date Filed: 07/08/2025     Entry ID: 6734280




                     Case 1:25-cv-10787-BEM                                   Document 38-29                     Filed 04/25/25   Page 24 of 68
  NIH Funding Opportunities and Notices (/grants/guide/index.html)



                                                          (/grants/oer.htm)


                                            Department of Health
                   (https://www.hhs.gov/)
                                            and Human Services (HHS)

                                                                                                 (https://www.usa.gov/)


                                                                               NIH... Turning Discovery Into Health®




                                                                                                                                   APHA App. 504
Case: 25-1611   Document: 00118310432   Page: 508   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-29
                                  Document 38-29    Filed 04/25/25
                                                    Filed 04/25/25   Page 25
                                                                     Page 25 of
                                                                             of 68
                                                                                68




                         EXHIBIT
                         EXHIBIT B




                                                                        APHA App. 505
Case: 25-1611            Document: 00118310432                       Page: 509               Date Filed: 07/08/2025           Entry ID: 6734280
 NOT-OD-20-031: Notice of NIH's Interest in Diversity
                        Case 1:25-cv-10787-BEM                   Document 38-29              Filed 04/25/25     Page 26 of 68

         Notice of NIH's Interest in Diversity


         Notice Number: NOT-OD-20-031
         Key Dates
         Release Date: November 22, 2019

         Related Announcements
         NOT-OD-18-210 – Rescinded
         NOT-MH-20-051

         Issued by
         National Institutes of Health (NIH)

         Purpose
         NIH’s mission is to seek fundamental knowledge about the nature and behavior of living systems and to apply that knowledge to
         enhance health, lengthen life, and reduce illness and disability. To achieve this mission, NIH substantially invests in research to
         improve public health; it also devotes substantial resources to identify, develop, support and maintain the quality of its scientific
         resources, including human capital.

         This diversity statement was informed by a literature review, the reports and deliberations of several internal NIH committees, as
         well as input from Institute and Center officials, program staff and external stakeholders.

         Implementation Timeline
         This notice is effective upon its release date and supersedes the prior Notice of Interest in Diversity (NOT-OD-18-210), and the
         current diversity language in existing funding opportunity announcements (FOAs).

         Diversity Statement
         Every facet of the United States scientific research enterprise—from basic laboratory research to clinical and translational research
         to policy formation–requires superior intellect, creativity and a wide range of skill sets and viewpoints. NIH’s ability to help ensure
         that the nation remains a global leader in scientific discovery and innovation is dependent upon a pool of highly talented scientists
         from diverse backgrounds who will help to further NIH's mission.

         Research shows that diverse teams working together and capitalizing on innovative ideas and distinct perspectives outperform
         homogenous teams. Scientists and trainees from diverse backgrounds and life experiences bring different perspectives, creativity,
         and individual enterprise to address complex scientific problems. There are many benefits that flow from a diverse NIH-supported
         scientific workforce, including: fostering scientific innovation, enhancing global competitiveness, contributing to robust learning
         environments, improving the quality of the research, advancing the likelihood that underserved or health disparity populations
         participate in, and benefit from health research, and enhancing public trust.

         Underrepresented Populations in the U.S. Biomedical, Clinical, Behavioral and Social Sciences Research
         Enterprise
         In spite of tremendous advancements in scientific research, information, educational and research opportunities are not equally
         available to all. NIH encourages institutions to diversify their student and faculty populations to enhance the participation of



 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html[12/23/20, 3:41:08 PM]
                                                                                                                     APHA App. 506
Case: 25-1611            Document: 00118310432                       Page: 510               Date Filed: 07/08/2025            Entry ID: 6734280
 NOT-OD-20-031: Notice of NIH's Interest in Diversity
                        Case 1:25-cv-10787-BEM                   Document 38-29              Filed 04/25/25     Page 27 of 68
         individuals from groups that are underrepresented in the biomedical, clinical, behavioral and social sciences, such as:

             A. Individuals from racial and ethnic groups that have been shown by the National Science Foundation to be
                underrepresented in health-related sciences on a national basis (see data at http://www.nsf.gov/statistics/showpub.cfm?
                TopID=2&SubID=27) and the report Women, Minorities, and Persons with Disabilities in Science and Engineering). The
                following racial and ethnic groups have been shown to be underrepresented in biomedical research: Blacks or African
                Americans, Hispanics or Latinos, American Indians or Alaska Natives, Native Hawaiians and other Pacific Islanders. In
                addition, it is recognized that underrepresentation can vary from setting to setting; individuals from racial or ethnic groups
                that can be demonstrated convincingly to be underrepresented by the grantee institution should be encouraged to
                participate in NIH programs to enhance diversity. For more information on racial and ethnic categories and definitions, see
                the OMB Revisions to the Standards for Classification of Federal Data on Race and Ethnicity
                (https://www.govinfo.gov/content/pkg/FR-1997-10-30/html/97-28653.htm).

             B. Individuals with disabilities, who are defined as those with a physical or mental impairment that substantially limits one or
                more major life activities, as described in the Americans with Disabilities Act of 1990, as amended. See NSF data
                at, https://www.nsf.gov/statistics/2017/nsf17310/static/data/tab7-5.pdf.

            C. Individuals from disadvantaged backgrounds, defined as those who meet two or more of the following criteria:
                    1. Were or currently are homeless, as defined by the McKinney-Vento Homeless Assistance Act (Definition:
                       https://nche.ed.gov/mckinney-vento/);
                    2. Were or currently are in the foster care system, as defined by the Administration for Children and Families
                       (Definition: https://www.acf.hhs.gov/cb/focus-areas/foster-care);
                    3. Were eligible for the Federal Free and Reduced Lunch Program for two or more years (Definition:
                       https://www.fns.usda.gov/school-meals/income-eligibility-guidelines);
                    4. Have/had no parents or legal guardians who completed a bachelor’s degree (see
                       https://nces.ed.gov/pubs2018/2018009.pdf);
                    5. Were or currently are eligible for Federal Pell grants (Definition: https://www2.ed.gov/programs/fpg/eligibility.html);
                    6. Received support from the Special Supplemental Nutrition Program for Women, Infants and Children (WIC) as a
                       parent or child (Definition: https://www.fns.usda.gov/wic/wic-eligibility-requirements).
                    7. Grew up in one of the following areas: a) a U.S. rural area, as designated by the Health Resources and Services
                       Administration (HRSA) Rural Health Grants Eligibility Analyzer (https://data.hrsa.gov/tools/rural-health), or b) a
                       Centers for Medicare and Medicaid Services-designated Low-Income and Health Professional Shortage Areas
                        (qualifying zipcodes are included in the file). Only one of the two possibilities in #7 can be used as a criterion for the
                       disadvantaged background definition.

                        Students from low socioeconomic (SES) status backgrounds have been shown to obtain bachelor’s and
                        advanced degrees at significantly lower rates than students from middle and high SES groups
                        (see https://nces.ed.gov/programs/coe/indicator_tva.asp), and are subsequently less likely to be represented in
                        biomedical research. For background see Department of Education data at, https://nces.ed.gov/;
                        https://nces.ed.gov/programs/coe/indicator_tva.asp; https://www2.ed.gov/rschstat/research/pubs/advancing-
                        diversity-inclusion.pdf.

            D. Literature shows that women from the above backgrounds (categories A, B, and C) face particular challenges at the
               graduate level and beyond in scientific fields. (See, e.g., From the NIH: A Systems Approach to Increasing the Diversity of
               Biomedical Research Workforce https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5008902/ ).

              Women have been shown to be underrepresented in doctorate-granting research institutions at senior faculty levels in most
              biomedical-relevant disciplines, and may also be underrepresented at other faculty levels in some scientific disciplines (See
              data from the National Science Foundation National Center for Science and Engineering Statistics: Women, Minorities, and
              Persons with Disabilities in Science and Engineering, special report available


 https://grants.nih.gov/grants/guide/notice-files/NOT-OD-20-031.html[12/23/20, 3:41:08 PM]
                                                                                                                      APHA App. 507
Case: 25-1611             Document: 00118310432                   Page: 511            Date Filed: 07/08/2025               Entry ID: 6734280

NOT-OD-20-031: Notice of NIH's Interest in Diver:
                       Case 1:25-cv-10787-BEM
                       Case 1:25-cv- 10787-8EM               Document 38-29
                                                             Document 38-29            Filed 04/25/25
                                                                                       Filed 04/25/25        Page 28
                                                                                                             Page 28 of
                                                                                                                     of 68
                                                                                                                        68
             at httos://Awww.nsf.    statistics/201 7/nsii7310/, especially Table 9-23, describing science, engineering, and health
             doctorate holders employed in universities and 4-year colleges, by broad occupation, Sex, years since doctorate, and faculty
             rank).

             Upon review of NSF data, and scientific discipline or field related data, NIH encourages institutions to consider women for
             faculty-level, diversity-targeted programs to address faculty recruitment, aopointment, retention or advancement.


        Inquines
        Please direct all inquiries to:

        Division of Biomedical Research Workforce
        Office of Extramural Research
        —                        achtraining.nih.gov




        Weekly TOC for this Announcement
        Ni 1 Funding Opportunities and Notices




                                                        ne - En -
                                                                         % Department of
                                                                                                                  of
          Is BY National Institutes of Heal                                Lea                                USA.gov,
                           Office of Extramural Research                   and Human
                                                        Services (HHS)

                                                       NIH... Turning Discovery Into Health®




               Note: For helo accessing PDF, RIF, MS Word, Excel, PowerPoint, Audio or Video files, see Helo Downloading Files




 https://grants.nih.gov/grants/guide/notice-files/
                               NOT-OD-20-03 1 .html[ 12/23/20, 3:41:08 PM]
                                                                                                                   APHA App. 508
Case: 25-1611   Document: 00118310432   Page: 512   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-29
                                  Document 38-29    Filed 04/25/25
                                                    Filed 04/25/25   Page 29
                                                                     Page 29 of
                                                                             of 68
                                                                                68




                         EXHIBIT
                         EXHIBIT C




                                                                        APHA App. 509
Case: 25-1611                                       Document: 00118310432                     Page: 513              Date Filed: 07/08/2025         Entry ID: 6734280

                                           Case 1:25-cv-10787-BEM
                                           Case 1:25-cv-10787-BEM                          Document 38-29
                                                                                           Document 38-29             Filed 04/25/25
                                                                                                                      Filed 04/25/25   Page 30
                                                                                                                                       Page 30 of
                                                                                                                                               of 68
                                                                                                                                                  68

                             as SERVICrs
                       3SS                 &
                                               “,    Department of Health and Human Services                                                       Notice of Award
       A OF MEAL, ty




                              WZ                     National Institutes of Health                                                                FAIN}
                                       {             NATIONAL INSTITUTE OF NEUROLOGICAL DISORDERS AND                                               Federal Award Date
                                                                                                                                                            09-28-2022
                   eae                              STROKE
              a




    Recipient Information                                                        Federal Award            Information
    1. Recipient Name

                                                                                11. Award     Number



                                                                                12. Unique Federal Award Identification Number (FAIN)
    2. Congressional District of Recipient

                                                                                13. Statutory Authority
                                                                                    42 USC 241 42 CFR 52
    3. Payment System Identifier (ID)

                                                                                14. Federal Award Project Title

    4. Employer Identification Number (EIN)

                                                                                15. Assistance Listing Number

    5. Data Universal Numbering System (DUNS)

                                                                                16. Assistance Listing Program Title
                                                                                    Extramural Research Programs in the Neurosciences and Neurological Disorders
    6. Recipient’s Unique Entity Identifier

                                                                                17. Award Action Type
                                                                                    New Competing
    7. Project Director or Principal Investigator

                                                                                18. Is the Award       R&D?
                                                                                     Yes


                                                                                                      Summary Federal Award Financial Information
    8. Authorized Official                                                       19. Budget Period Start Date 09-28-2022 — End Date 08-31-2025
                                                                                 20. Total Amount of Federal Funds Obligated by this Action               $6,882,205
                                                                                             20 a.    Direct Cost Amount                                  $6,257,349
                                                                                            20 b. Indirect Cost Amount                                      $624,856
                                                                                 21. Authorized Carryover
                                                                                 22. Offset
    Federal Agency Information                                                   23. Total Amount of Federal Funds Obligated this budget period           $6,882,205
    9. Awarding Agency Contact Information                                       24. Total Approved Cost Sharing or Matching, where applicable                     SO
                                                                                 25. Total Federal and Non-Federal Approved this Budget Period            $6,882,205
       Grants Management Officer
       NATIONAL INSTITUTE OF NEUROLOGICAL                                        26. Project Period Start Date 09-28-2022 — End Date 08-31-2025
       DISORDERS AND STROKE                                                      27. Total Amount of the Federal Award including Approved Cost            $6,882,205
                                                                                     Sharing or Matching this Project Period

    10. Program Official Contact Information                                    28. Authorized Treatment of Program Income
                                                                                    Additional Costs
       Health Science Policy Analyst
       NATIONAL INSTITUTE OF NEUROLOGICAL                                       29. Grants Management          Officer - Signature
       DISORDERS AND STROKE



     30. Remarks
         Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or otherwise
                                                                                                     Page 1 of 11



                                                                                                                                           APHA App. 510
Case: 25-1611        Document: 00118310432                      Page: 514              Date Filed: 07/08/2025           Entry ID: 6734280

                  Case 1:25-cv-10787-BEM                  Document 38-29                Filed 04/25/25         Page 31 of 68

       requested from the grant payment system.




                                                                    Page 2 of 11
                                           Version:11 - 7/14/2022 8:27 PM | Generated on: 9/28/2022 12:09 AM


                                                                                                                  APHA App. 511
Case: 25-1611    Document: 00118310432                         Page: 515             Date Filed: 07/08/2025           Entry ID: 6734280

            Case 1:25-cv-10787-BEM                      Document 38-29                Filed 04/25/25         Page 32 of 68


                                                                  Notice of Award
          RESOURCE-RELATED RESEARCH
          Department of Health and Human Services
          National Institutes of Health

          NATIONAL INSTITUTE OF NEUROLOGICAL DISORDERS AND STROKE

            SECTION I – AWARD DATA –



            Principal Investigator(s):


            Award e-mailed to: j

            Dear Authorized Official:

            The National Institutes of Health hereby awards a grant in the amount of $6,882,205 (see “Award
            Calculation” in Section I and “Terms and Conditions” in Section III) to                           . in
            support of the above referenced project. This award is pursuant to the authority of 42 USC 241 42 CFR
            52 and is subject to the requirements of this statute and regulation and of other referenced, incorporated
            or attached terms and conditions.

            Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
            funds are drawn down or otherwise requested from the grant payment system.

            Each publication, press release, or other document about research supported by an NIH award must
            include an acknowledgment of NIH award support and a disclaimer such as “Research reported in this
            publication was supported by the National Institute Of Neurological Disorders And Stroke of the National
            Institutes of Health under Award Number                  . The content is solely the responsibility of the
            authors and does not necessarily represent the official views of the National Institutes of Health.” Prior
            to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC in
            advance to allow for coordination.

            Award recipients must promote objectivity in research by establishing standards that provide a
            reasonable expectation that the design, conduct and reporting of research funded under NIH awards will
            be free from bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with
            the 2011 revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to
            the NIH through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
            Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
            website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
            information.

            If you have any questions about this award, please direct questions to the Federal Agency contacts.

            Sincerely yours,


            Grants Management Officer
            NATIONAL INSTITUTE OF NEUROLOGICAL DISORDERS AND STROKE

            Additional information follows



                                                                 Page 3 of 11
                                        Version: 11 - 7/14/2022 8:27 PM | Generated on: 9/28/2022 12:09 AM
                                                                                                                APHA App. 512
Case: 25-1611    Document: 00118310432                     Page: 516              Date Filed: 07/08/2025            Entry ID: 6734280

            Case 1:25-cv-10787-BEM                 Document 38-29                Filed 04/25/25         Page 33 of 68




           Cumulative Award Calculations for this Budget Period (U.S. Dollars)
           Salaries and Wages                                                                                 $516,300
           Fringe Benefits                                                                                    $165,216
           Personnel Costs (Subtotal)                                                                         $681,516
           Consultant Services                                                                                $358,254
           Equipment                                                                                             $8,791
           Materials & Supplies                                                                               $509,214
           Travel                                                                                             $335,505
           Other                                                                                              $879,641
           Publication Costs                                                                                  $505,428
           ADP/Computer Services                                                                              $355,176
           Equipment or Facility Rental/User Fees                                                               $52,500
           Participant Subsistence                                                                            $483,459
           Participant Travel                                                                                $2,087,865


           Federal Direct Costs                                                                              $6,257,349
           Federal F&A Costs                                                                                  $624,856
           Approved Budget                                                                                   $6,882,205
           Total Amount of Federal Funds Authorized (Federal Share)                                          $6,882,205
           TOTAL FEDERAL AWARD AMOUNT                                                                        $6,882,205

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                             $6,882,205


                             SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                  THIS AWARD                              CUMULATIVE TOTALS
             1                                $6,882,205                                  $6,882,205

           Fiscal Information:
           Payment System Identifier:
           Document Number:
           PMS Account Type:                                  )
           Fiscal Year:                       2022

           IC      CAN                                                    2022
           DA                                                             $5,142,623
           NS                                                             $1,739,582



           NIH Administrative Data:
           PCC:             / OC:     / Released:                         09-27-2022
           Award Processed: 09/28/2022 12:09:12 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION –

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS –


                                                            Page 4 of 11
                                   Version: 11 - 7/14/2022 8:27 PM | Generated on: 9/28/2022 12:09 AM


                                                                                                            APHA App. 513
Case: 25-1611     Document: 00118310432                      Page: 517              Date Filed: 07/08/2025           Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-29                Filed 04/25/25         Page 34 of 68

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project
           and is subject to the terms and conditions incorporated either directly or by reference in the following:

                a. The grant program legislation and program regulation cited in this Notice of Award.
                b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                   those included in appropriations acts.
                c. 45 CFR Part 75.
                d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                   Statement, including addenda in effect as of the beginning date of the budget period.
                e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                   progress report when applicable.
                f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but
           non-research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other
           than the rate(s) specified in the award document(s).


           Carry over of an unobligated balance into the next budget period requires Grants Management Officer
           prior approval.

           This grant is excluded from Streamlined Noncompeting Award Procedures (SNAP).

           MULTI-YEAR FUNDED AWARD: This is a multi-year funded award. A progress report is due annually on
           or before the anniversary of the budget/project period start date of the award, in accord with the
           instructions posted at: http://grants.nih.gov/grants/policy/myf.htm.

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity
           identifier (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN)          . Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions
           that may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional
           award applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For
           more information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


           This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
           Statement Section 8.6 Closeout for complete closeout requirements at:
           http://grants.nih.gov/grants/policy/policy.htm#gps.

                                                             Page 5 of 11
                                    Version: 11 - 7/14/2022 8:27 PM | Generated on: 9/28/2022 12:09 AM


                                                                                                              APHA App. 514
Case: 25-1611     Document: 00118310432                      Page: 518              Date Filed: 07/08/2025             Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-29                Filed 04/25/25         Page 35 of 68

           A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the eRA Commons
           (Commons) within 120 days of the period of performance end date; see the NIH Grants Policy Statement
           Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for additional
           information on this submission requirement. The final FFR must indicate the exact balance of unobligated
           funds and may not reflect any unliquidated obligations. There must be no discrepancies between the final
           FFR expenditure data and the Payment Management System's (PMS) quarterly cash transaction data. A
           final quarterly federal cash transaction report is not required for awards in PMS B subaccounts (i.e.,
           awards to foreign entities and to Federal agencies). NIH will close the awards using the last recorded cash
           drawdown level in PMS for awards that do not require a final FFR on expenditures or quarterly federal
           cash transaction reporting. It is important to note that for financial closeout, if a grantee fails to submit a
           required final expenditure FFR, NIH will close the grant using the last recorded cash drawdown level. If the
           grantee submits a final expenditure FFR but does not reconcile any discrepancies between expenditures
           reported on the final expenditure FFR and the last cash report to PMS, NIH will close the award at the
           lower amount. This could be considered a debt or result in disallowed costs.

           A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
           conference or cancer education grants) must be submitted within 120 days of the expiration date. The
           HHS 568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not
           apply to Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71,
           DP7, G07, G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15,
           U13, U14, U41, U42, U45, UC6, UC7, UR2, X01, X02.

           Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
           (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a
           competitive renewal application is submitted prior to that date, then an Interim RPPR must be submitted
           by that date as well. Instructions for preparing an Interim or Final RPPR are at:
           https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth
           in the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that
           data reported within Section I of the Interim and Final RPPR forms will be made public and should be
           written for a lay person audience.

           NIH strongly encourages electronic submission of the final invention statement through the Closeout
           feature in the Commons, but will accept an email or hard copy submission as indicated below.

           Email: The final invention statement may be e-mailed as PDF attachments to:
           NIHCloseoutCenter@mail.nih.gov.

           Hard copy: Paper submissions of the final invention statement may be faxed to the NIH Division of Central
           Grants Processing, Grants Closeout Center, at 301-480-2304, or mailed to:

           National Institutes of Health
           Office of Extramural Research
           Division of Central Grants Processing
           Grants Closeout Center
           6705 Rockledge Drive
           Suite 5016, MSC 7986
           Bethesda, MD 20892-7986 (for regular or U.S. Postal Service Express mail)
           Bethesda, MD 20817 (for other courier/express deliveries only)

           NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another
           institution, then a Final RPPR is not required. However, a final expenditure FFR is required and should be
           submitted electronically as noted above. If not already submitted, the Final Invention Statement is
           required and should be sent directly to the assigned Grants Management Specialist.

           This award is funded by the following list of institutes. Any papers published under the auspices of this
           award must cite the funding support of all institutes.

                                                             Page 6 of 11
                                    Version: 11 - 7/14/2022 8:27 PM | Generated on: 9/28/2022 12:09 AM


                                                                                                              APHA App. 515
Case: 25-1611     Document: 00118310432                      Page: 519              Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-29                Filed 04/25/25         Page 36 of 68


           National Institute On Drug Abuse (NIDA)
           National Institute Of Neurological Disorders And Stroke (NINDS)


           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR
           Part 75, recipients that have currently active Federal grants, cooperative agreements, and procurement
           contracts with cumulative total value greater than $10,000,000 must report and maintain information in
           the System for Award Management (SAM) about civil, criminal, and administrative proceedings in
           connection with the award or performance of a Federal award that reached final disposition within the
           most recent five-year period. The recipient must also make semiannual disclosures regarding such
           proceedings. Proceedings information will be made publicly available in the designated integrity and
           performance system (currently the Federal Awardee Performance and Integrity Information System
           (FAPIIS)). Full reporting requirements and procedures are found in Appendix XII to 45 CFR Part 75. This
           term does not apply to NIH fellowships.
           Treatment of Program Income:
           Additional Costs

           SECTION IV – NS SPECIFIC AWARD CONDITIONS –


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.

           This award has been converted to a multi-year funded award, with 3 years of funding provided in
           the current fiscal year. The 4th and/or 5th years of support will be funded contingent upon an
           acceptable administrative progress review and receipt of the information below.


           Effective December 22, 2010 (NOT-OD-11-010), NIH requires that all multi-year funded awards
           submit an annual progress report. The annual progress report is due each year on or before
           anniversary date 09/01 . Instructions on how to submit the report through the eRA Commons are
           posted at http://grants.nih.gov/grants/policy/myf.htm

           This award is co-funded by the National Institute of Neurological Disorders and Stroke (NINDS)
           and National Institute of Drug Abuse. All publications, posters, oral presentations at scientific
           meetings, seminars, and any other forum in which results of this co-funded research are
           presented must include a formal acknowledgement of the NINDS/other funding entity support,
           citing the NINDS grant number as identified on this award document.

           ADMINISTRATIVE CONTINUATION APPLICATION:

           The Principal Investigator will submit an Administrative Continuation Application in order to
           request support for the final year of this project. A signed PHS 2590 face page, which will serve
           as the application package, is due 2 months prior to the anticipated start of the 4th year of
           support and should be sent by email from the Authorized Organizational Representative (AOR) to
           the Program Official and Grants Management Specialist identified below or in the eRA Commons.
           Note that the administrative review cannot be completed without the receipt of the RPPR
           documenting the 3rd year of progress. In order to prevent a lapse in funding, we strongly
           encourage you to submit the information above as well as the RPPR documenting the Y-03 year
           of progress 60 days prior to start of the budget period. We are unable to release additional funds
           until administrative review has been completed.

           NINDS staff will review these documents administratively. If approved, a Notice of Award will be
           issued extending the project period for two additional years. If not approved for continued funding,
           a one-year no-cost extension will be permitted upon request.


                                                             Page 7 of 11
                                    Version: 11 - 7/14/2022 8:27 PM | Generated on: 9/28/2022 12:09 AM


                                                                                                              APHA App. 516
Case: 25-1611   Document: 00118310432                    Page: 520              Date Filed: 07/08/2025          Entry ID: 6734280

            Case 1:25-cv-10787-BEM               Document 38-29                Filed 04/25/25         Page 37 of 68

           HEAL SHARING REQUIREMENTS
           1. Electronic copies of Publications will be deposited in PubMed Central with proper tagging of
           metadata to ensure online discoverability and accessibility within four weeks of acceptance by a
           journal.
           2. Publications will be Published under the Creative Commons Attribution 4.0 Generic License
           (CC BY 4.0) or an equivalent license, or otherwise dedicated to the public domain (e.g., Creative
           Commons public domain tool, CC0).
           3. Publications will be made publicly available immediately without any embargo period.
           4. Underlying Primary Data for the Publications will be made broadly available through an
           appropriate data repository such as the HEAL central data repository.
           5. To the extent feasible, Underlying Primary Data will be shared simultaneously with the
           Publication and made immediately accessible through release under the Creative Commons
           Attribution 4.0 Generic License (CC BY 4.0) or an equivalent license, or otherwise dedicated to
           the public domain (e.g., Creative Commons public domain tool, CC0).


                                ADDITIONAL TERMS AND CONDITIONS ON HEAL
                                                GRANTS

            in addition to standard terms and conditions of awards, and standard IC terms,
            including standard clinical trials requirements outlined in the
            NIHGPS:
            https://grants.nih.gov/grants/policy/nihgps/html5/section_4/4.1.3_clinical_trials_r
            egistration_and_reporting_in_clinicaltrials.gov_requirement.htm

            Data sharing requirements do not apply to SBIRs.


            HEAL Data Sharing Requirements
            NIH intends to maximize the impact of HEAL Initiative-supported projects through
            broad and rapid data sharing. All HEAL Initiative award recipients, regardless of the
            amount of direct costs requested for any one year, are required to comply with the
            HEAL Public Access and Data Sharing Policy, which also aligns with the NIH Policy for
            Data Management and Sharing (https://grants.nih.gov/grants/guide/notice-
            files/NOT-OD-21-013.html). HEAL award recipients must following all requirements
            and timelines developed through the HEAL Initiative Data Ecosystem, as described in
            HEAL’s compliance guidance (https://heal.nih.gov/data/complying- heal-data-sharing-
            policy):

          1. Submit a Data Management and Sharing Plan as part of your application for HEAL
             funding; follow the plan as part of your award
                 HEAL Initiative applicants, regardless of the amount of direct costs requested
                    for any budget or project, must submit a data management and sharing plan
                    (as part of their resource sharing plan) that outlines management and
                    sharing of scientific data, accompanying metadata, other relevant data, and
                    associated documentation. The plan should describe data types, file formats,
                    submission timelines, and standards used in collecting or processing the
                    data.
                 Data management and sharing plans should include the proposed
                    repository where HEAL-generated data will be stored long-term.

                                                          Page 8 of 11
                                 Version: 11 - 7/14/2022 8:27 PM | Generated on: 9/28/2022 12:09 AM


                                                                                                          APHA App. 517
Case: 25-1611       Document: 00118310432                   Page: 521              Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                  Document 38-29                Filed 04/25/25         Page 38 of 68


                     Submission and curation costs may be included in budgets.

            2. Upon award, finalize a data repository selection
                 Data generated by HEAL Initiative-funded projects must be submitted to
                   study- appropriate data repositories to ensure the data is accessible via
                   the HEAL Initiative Data Ecosystem.
                 Some repositories require use of specific data dictionaries or structured data
                   elements, so knowing your repository’s requirements up front can help
                   reduce the burden of preparing data for submission.
                 HEAL-funded awardees must follow requirements for selected repository

            3. Within one year of award, register your study with the HEAL platform.
                 This process will connect the Platform to information about your study
                   and data, including metadata, and identify the selected repository.
                 HEAL requests initial submission within one year of award, with annual
                   updates, and to be updated in accordance with any release of study data.

            4. Report data submission when HEAL-generated data are deposited in repositories
                 At the completion of the study and/or when prepared to make the final data
                   deposits in the repositor(ies) of choice, ensure your study registration is
                   complete.
                 The NIH HEAL Initiative expects submission of data used in publications to be
                   submitted to repositories at the time of or prior to publication.

            5. Report publications

            Award recipients and their collaborators are required to acknowledge HEAL Initiative
            support by referencing in the acknowledgement sections of any relevant publication:
            “This research was supported by the National Institutes of Health through the NIH
            HEAL Initiative (https://heal.nih.gov/) under award number [include specific
            grant/contract/award number; with NIH grant number(s) in this format:
            R01GM987654].”


            HEAL Initiative studies conducting clinical research or research involving human
            subjects must meet the following additional requirements:
                    HEAL Initiative trials that are required to register in clinicaltrials.gov should reference
                     support from and inclusion in the HEAL Initiative by including the standardized terms
                     “the HEAL Initiative (https://heal.nih.gov/)” in the Study Description Section.
                    All new HEAL clinical pain studies are required to submit their case-report
                     forms/questionnaires to the HEAL Clinical Data Elements (CDE) Program. The program
                     will create the CDE files containing standardized variable names, responses, coding,
                     and other information. The program will also format the case-report forms in a
                     standardized way that is compliant with accessibility standards under Section 508 of
                     the Rehabilitation Act of 1973 (29 U.S.C § 794 (d)), which
                     “require[s] Federal agencies to make their electronic and information technology
                     accessible to people with disabilities.” HEAL Initiative clinical studies that are using
                     copyrighted questionaries are required to obtain licenses for use prior to initiating
                                                            Page 9 of 11
                                   Version: 11 - 7/14/2022 8:27 PM | Generated on: 9/28/2022 12:09 AM


                                                                                                             APHA App. 518
Case: 25-1611    Document: 00118310432                      Page: 522              Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                  Document 38-29                Filed 04/25/25         Page 39 of 68


                    data collection. Licenses must be shared with the HEAL CDE team and the program
                    officer prior to use of copyrighted materials. For additional information, visit the HEAL
                    CDE Program.
                   To the extent possible, HEAL awardees are expected to integrate broad data
                    sharing consent language into their informed consent forms.

            Additional details, resources, and tools to assist with data related activities can be
            found at https://www.healdatafair.org/.

            All data collected as part of the NIH HEAL Initiative are so collected under a
            Certificate of Confidentiality and entitled to the protections thereof. Institutions who
            receive Data and/or Materials from this award for performance of activities under
            this award are required to use the Data and/or Materials only as outlined by the NIH
            HEAL Initiative, in a manner that is
            consistent with applicable state and federal laws and regulations, including any
            informed consent requirements and the terms of the institution’s NIH funding,
            including NOT-OD-17-109 and 42 U.S.C. 241(d). Failure to adhere to this criterion may
            result in enforcement actions.


            Declaration of Exceptional Circumstances (DECs)
            This award is funded through the NIH HEAL Initiative (https://www.nih.gov/research-
            training/medical-research-initiatives/heal-initiative). The requirements here include,
            but are not limited to, reporting requirements and data sharing are incorporated due
            to the need to respond to the national opioid public health crisis. As part of the
            response to this crisis, the NIH intends to maximize the availability of publications and
            the sharing of underlying data for NIH HEAL Initiative supported research projects.
            Award recipients are expected to cooperate and comply with all NIH data sharing
            including the aforementioned central data sharing platform requirements developed
            for this public health emergency during the project period.

            Participation in Annual Investigator Meetings
            The NIH HEAL Initiative will require a high level of coordination and sharing between
            investigators. It is expected that NIH HEAL Initiative awardees will cooperate and
            coordinate their activities after awards are made by participating in Program
            Director/Principal Investigator (PD/PI) meetings, including an annual HEAL
            Investigators Meeting, as well as other activities.



           SPREADSHEET SUMMARY
           AWARD NUMBER:

           INSTITUTION:

           Budget                                              Year 1
           Salaries and Wages                                  $516,300
           Fringe Benefits                                     $165,216
           Personnel Costs (Subtotal)                          $681,516

                                                            Page 10 of 11
                                   Version: 11 - 7/14/2022 8:27 PM | Generated on: 9/28/2022 12:09 AM


                                                                                                             APHA App. 519
Case: 25-1611    Document: 00118310432                       Page: 523              Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                   Document 38-29                Filed 04/25/25         Page 40 of 68

           Consultant Services                                  $358,254
           Equipment                                            $8,791
           Materials & Supplies                                 $509,214
           Travel                                               $335,505
           Other                                                $879,641
           Publication Costs                                    $505,428
           ADP/Computer Services                                $355,176
           Equipment or Facility Rental/User Fees               $52,500
           Participant Subsistence                              $483,459
           Participant Travel                                   $2,087,865
           TOTAL FEDERAL DC                                     $6,257,349
           TOTAL FEDERAL F&A                                    $624,856
           TOTAL COST                                           $6,882,205


           Facilities and Administrative Costs                  Year 1
           F&A Cost Rate 1                                      10%
           F&A Cost Base 1                                      $1,881,544
           F&A Costs 1                                          $188,154
           F&A Cost Rate 2                                      10%
           F&A Cost Base 2                                      $2,486,786
           F&A Costs 2                                          $248,679
           F&A Cost Rate 3                                      10%
           F&A Cost Base 3                                      $1,880,228
           F&A Costs 3                                          $188,023




                                                             Page 11 of 11
                                    Version: 11 - 7/14/2022 8:27 PM | Generated on: 9/28/2022 12:09 AM


                                                                                                              APHA App. 520
Case: 25-1611   Document: 00118310432   Page: 524   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-29
                                  Document 38-29    Filed 04/25/25
                                                    Filed 04/25/25   Page 41
                                                                     Page 41 of
                                                                             of 68
                                                                                68




                        EXHIBIT
                        EXHIBIT D




                                                                        APHA App. 521
Case: 25-1611                        Document: 00118310432                        Page: 525           Date Filed: 07/08/2025           Entry ID: 6734280

                        Ea Case
                            Saparmmpnh el HeRg ape yn an Document
                                1:25-cv-10787-BEM        BaNigAhent 38-29
                                                                    38-29                             Filed 04/25/25
                                                                                                      Filed 04/25/25       Page 42
                                                                                                                           Page 42 of
                                                                                                                                   of 68
                                                                                                                                      6S eee of Award

                   %
                                        National Institutes of Health
            ‘
       «OF MEALI                a       NATIONAL INSTITUTE OF NEUROLOGICAL           DISORDERS AND STROKE                             ai,   —_     Date
                   4,                                                                                                                       08/26/2024
                    *   Neer




    Recipient Information                                          Federal Award Information
    1. Recipient Name

      ee                                                           11. Award Number
    2. Congressional District of Recipient                         12. Unique Federal Award Identification Number (FAIN)


    3. Payment System Identifier (ID)                              13. Statutory Authority
      |                        ss                                     42 USC 241      42 CFR 52

    4. Employer Identification Number (EIN)                        14. Federal Award Project Title


    5. Data Universal Numbering System (DUNS)                      15. Assistance Listing Number


    6. Recipient's Unique Entity Identifier                        16. Assistance Listing Program Title
      Po                                                              Drug Abuse and Addiction Research Programs
    7. Project Director or Principal Investigator                  17. Award Action Type
      a                                                               Supplement (REVISED)
                                                                   18. Is the Award R&D?
                                                                       Yes

    8. Authorized Official                                                              Summary Federal Award Financial Information
                                                                    19. Budget Period Start Date 03/01/2024 — End Date 08/31/2025
                                                                    20. Total Amount of Federal Funds Obligated by this Action               $158,940
                                                                                 20 a. Direct Cost Amount                                    $112,628
                                                                                 20 b. Indirect Cost Amount                                   $46,312
                                                                    21. Authorized Carryover
    Federal Agency Information                                      22. Offset
    9. Awarding Agency Contact Information                          23. Total Amount of Federal Funds Obligated this budget period           $850,595
               |                                                    24. Total Approved Cost Sharing or Matching, where applicable                   $o
       Grants Management Specialist                                 25. Total Federal and Non-Federal Approved this Budget Period            $850,595
       NATIONAL INSTITUTE OF NEUROLOGICAL                                   .       .
       DISORDERS AND STROKE                                         26. Project Period Start Date 09/28/2022 — End Date 08/31/2025
                                                                    27. Total Amount of the Federal Award including Approved Cost           $7,732,800
                                                                        Sharing or Matching this Project Period
    10. Program                     Official Contact Information
                                                                   28. Authorized Treatment of Program Income
       H ealth Science Policy Analyst                                  Additional Costs
       NATIONAL INSTITUTE OF NEUROLOGICAL
       DISORDERS AND STROKE                                        29. Grants Management Officer - Signature



     30. Remarks
            Acceptance of this award, including the "Terms and Conditions,” is acknowledged by the recipient when funds are drawn down or
            otherwise requested from the grant payment system.




                                                                                     Page 1 of 6




                                                                                                                                APHA App. 522
Case: 25-1611      Document: 00118310432                         Page: 526                          Date Filed: 07/08/2025    Entry ID: 6734280

                Case 1:25-cv-10787-BEM                 Document 38-29                               Filed 04/25/25   Page 43 of 68



                                                                        Notice of Award
           RESOURCE-RELATED RESEARCH
           Department of Health and Human Services
           National Institutes of Health

           NATIONAL INSTITUTE OF NEUROLOGICAL DISORDERS AND STROKE

                SECTION I – AWARD DATA –



             Principal Investigator(s):


             Award e-mailed to:

             Dear Authorized Official:

             The National Institutes of Health hereby revises this award to reflect an increase in the amount of $158,940
             (see “Award Calculation” in Section I and “Terms and Conditions” in Section III) to                        ,
                . in support of the above referenced project. This award is pursuant to the authority of 42 USC 241 42
             CFR 52 and is subject to the requirements of this statute and regulation and of other referenced,
             incorporated or attached terms and conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must include
             an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
             was supported by the National Institute Of Neurological Disorders And Stroke of the National Institutes of
             Health under Award Number                    . The content is solely the responsibility of the authors and does
             not necessarily represent the official views of the National Institutes of Health.” Prior to issuing a press
             release concerning the outcome of this research, please notify the NIH awarding IC in advance to allow for
             coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a reasonable
             expectation that the design, conduct and reporting of research funded under NIH awards will be free from
             bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
             revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
             through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,




             Grants Management Officer
             NATIONAL INSTITUTE OF NEUROLOGICAL DISORDERS AND STROKE

             Additional information follows




             Cumulative Award Calculations for this Budget Period (U.S. Dollars)

                                                                       Page 2 of 6
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:05 AM



                                                                                                                        APHA App. 523
Case: 25-1611     Document: 00118310432                           Page: 527                         Date Filed: 07/08/2025                  Entry ID: 6734280

            Case 1:25-cv-10787-BEM                   Document 38-29                               Filed 04/25/25               Page 44 of 68

           Salaries and Wages                                                                                                         $191,215
           Fringe Benefits                                                                                                             $66,217
           Personnel Costs (Subtotal)                                                                                                 $257,432
           Consultant Services                                                                                                          $1,000
           Materials & Supplies                                                                                                        $76,373
           Travel                                                                                                                       $5,521
           Other                                                                                                                       $17,747
           Publication Costs                                                                                                           $22,718
           ADP/Computer Services                                                                                                       $17,029
           Equipment or Facility Rental/User Fees                                                                                       $7,860
           Participant Subsistence                                                                                                     $43,771
           Participant Travel                                                                                                         $153,295

           Federal Direct Costs                                                                                                       $602,746
           Federal F&A Costs                                                                                                          $247,849
           Approved Budget                                                                                                            $850,595
           Total Amount of Federal Funds Authorized (Federal Share)                                                                   $850,595
           TOTAL FEDERAL AWARD AMOUNT                                                                                                 $850,595

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                                      $158,940


                 SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 1 ) (for this Document Number)
          AWARD NUMBER                                            TOTAL FEDERAL AWARD AMOUNT
                                                                                          $850,595
                                                                                        $6,882,205
          TOTAL                                                                        $7,732,800


                               SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                    THIS AWARD                             CUMULATIVE TOTALS
             1                                   $850,595                                                                          $7,732,800

           Fiscal Information:
           Payment System Identifier:
           Document Number:
           PMS Account Type:
           Fiscal Year:                       2024

           IC        CAN                                                                2024
           NS                                                                           $850,595



           NIH Administrative Data:
           PCC:             / OC:     / Released: 08/23/2024
           Award Processed: 08/26/2024 12:05:15 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION –                                                              REVISED

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS –                                                             REVISED

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                 a. The grant program legislation and program regulation cited in this Notice of Award.
                 b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                    those included in appropriations acts.
                 c. 45 CFR Part 75.
                 d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                    Statement, including addenda in effect as of the beginning date of the budget period.
                                                            Page 3 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:05 AM



                                                                                                                                    APHA App. 524
Case: 25-1611        Document: 00118310432                            Page: 528                         Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                      Document 38-29                               Filed 04/25/25    Page 45 of 68

                e.    Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                      progress report when applicable.
                f.    This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
           research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
           the rate(s) specified in the award document(s).


           Carry over of an unobligated balance into the next budget period requires Grants Management Officer prior
           approval.

           This grant is excluded from Streamlined Noncompeting Award Procedures (SNAP).

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
           (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN)                                   . Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
           may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
           applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
           information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


           This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
           Statement Section 8.6 Closeout for complete closeout requirements at:
           http://grants.nih.gov/grants/policy/policy.htm#gps.

           A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
           Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
           Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
           additional information on this submission requirement. The final FFR must indicate the exact balance of
           unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
           between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
           awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
           expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
           expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

           A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
           conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
           568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
           Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
           G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
           U42, U45, UC6, UC7, UR2, X01, X02.

           Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
           (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
           renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
           well. Instructions for preparing an Interim or Final RPPR are at:
                                                                       Page 4 of 6
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:05 AM



                                                                                                                            APHA App. 525
Case: 25-1611       Document: 00118310432                            Page: 529                         Date Filed: 07/08/2025            Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-29                               Filed 04/25/25             Page 46 of 68

           https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
           the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
           reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
           lay person audience.

           NIH requires electronic submission of the final invention statement through the Closeout feature in the
           Commons.

           NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
           then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
           electronically as noted above. If not already submitted, the Final Invention Statement is required and should
           be sent directly to the assigned Grants Management Specialist.


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
           and https://www.hhs.gov/.

                •    Recipients of FFA must ensure that their programs are accessible to persons with limited English
                     proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                     meaningful access to programs or activities by limited English proficient individuals,
                     see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                     sheet-guidance/index.html and https://www.lep.gov.
                •    For information on an institution’s specific legal obligations for serving qualified individuals with
                     disabilities, including providing program access, reasonable modifications, and to provide effective
                     communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                •    HHS funded health and education programs must be administered in an environment free of sexual
                     harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                     For information about NIH's commitment to supporting a safe and respectful work environment,
                     who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                     individuals supported on NIH-funded awards, please see
                     https://grants.nih.gov/grants/policy/harassment.htm.
                •    For guidance on administering programs in compliance with applicable federal religious
                     nondiscrimination laws and applicable federal conscience protection and associated anti-
                     discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                     https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


           Treatment of Program Income:
           Additional Costs

           SECTION IV – NS SPECIFIC AWARD CONDITIONS –                                                              REVISED


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.


                                                                      Page 5 of 6
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:05 AM



                                                                                                                                   APHA App. 526
Case: 25-1611    Document: 00118310432                              Page: 530                        Date Filed: 07/08/2025     Entry ID: 6734280

            Case 1:25-cv-10787-BEM                       Document 38-29                               Filed 04/25/25   Page 47 of 68

            REVISED AWARD: This award is being revised to increase the supplement award in
            the amount of $112,628 direct cost and $46,312 facilities and administrative
            costs. These funds may not be used for any other purpose without the prior written
            approval of the NINDS.

            ADMINISTRATIVE SUPPLEMENT
            This award provides an administrative supplement in the amount of $490,118 direct
            costs, and $201,537 facilities and administrative costs for the           initiative will
            closely cooperate with site Principal Investigators, mentors, trainees, evaluators, and
            established T32 programs to align and amplify training endeavors across the
            program. This approach will establish an integrated and supportive professional
            development network for the PAIN Cohort trainees, with the overarching goal of
            fostering their continued engagement and retention within the clinical pain research
            workforce. These funds may not be used for any other purpose without the prior
            written approval of the NINDS.




            SPREADSHEET SUMMARY
            AWARD NUMBER:                                   REVISED

            INSTITUTION:

            Budget                                                         Year 1
            Salaries and Wages                                             $191,215
            Fringe Benefits                                                $66,217
            Personnel Costs (Subtotal)                                     $257,432
            Consultant Services                                            $1,000
            Materials & Supplies                                           $76,373
            Travel                                                         $5,521
            Other                                                          $17,747
            Publication Costs                                              $22,718
            ADP/Computer Services                                          $17,029
            Equipment or Facility Rental/User Fees                         $7,860
            Participant Subsistence                                        $43,771
            Participant Travel                                             $153,295
            TOTAL FEDERAL DC                                               $602,746
            TOTAL FEDERAL F&A                                              $247,849
            TOTAL COST                                                     $850,595


            Facilities and Administrative Costs                            Year 1
            F&A Cost Rate 1                                                41.12%
            F&A Cost Base 1                                                $602,746
            F&A Costs 1                                                    $247,849




                                                                         Page 6 of 6
                                                  Version: 25 - 2/15/2024 9:51 AM | Generated on: 8/26/2024 12:05 AM

                                                                                                                          APHA App. 527
Case: 25-1611   Document: 00118310432   Page: 531   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-29
                                  Document 38-29    Filed 04/25/25
                                                    Filed 04/25/25   Page 48
                                                                     Page 48 of
                                                                             of 68
                                                                                68




                         EXHIBIT
                         EXHIBIT E




                                                                        APHA App. 528
Case: 25-1611       Document: 00118310432              Page: 532        Date Filed: 07/08/2025         Entry ID: 6734280

                Case 1:25-cv-10787-BEM          Document 38-29         Filed 04/25/25         Page 49 of 68




  From:                            Bulls, Michelle G. (NIH/OD) [E] <michelle.bulls@nih.gov>
  Sent:                            Friday, March 21, 2025 9:31 AM
  To:
  Subject:                         Grant Termination Notification

  Follow Up Flag:                  Follow up
  Flag Status:                     Flagged

  Categories:                      NIH




  3/21/2025




  Dear                         :
  Effective with the date of this letter, funding for Project Number                   is hereby terminated
  pursuant to the Fiscal Year 2022 National Institutes of Health (“NIH”) Grants Policy Statement, [1] and 2 C.F.R.
  § 200.340(a)(2). This letter constitutes a notice of termination. [2]
  The 2022 Policy Statement applies to your project because NIH approved your grant on 9/28/2022, and
  “obligations generally should be determined by reference to the law in effect when the grants were made.” [3]
  The 2022 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements and is
  incorporated by reference in all NIH grant and cooperative agreement awards. [4]” According to the Policy
  Statement, “NIH may … terminate the grant in whole or in part as outlined in 2 CFR Part 200.340. [5]” At the
  time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal awarding agency
  or pass-through entity, to the greatest extent authorized by law, if an award no longer effectuates the program
  goals or agency priorities.”
  This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-
  scientific categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do nothing
  to expand our knowledge of living systems, provide low returns on investment, and ultimately do not enhance
  health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are
  often used to support unlawful discrimination on the basis of race and other protected characteristics, which
  harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research programs.


                                                            1
                                                                                                 APHA App. 529
Case: 25-1611         Document: 00118310432                    Page: 533   Date Filed: 07/08/2025     Entry ID: 6734280

               Case 1:25-cv-10787-BEM                 Document 38-29       Filed 04/25/25   Page 50 of 68

  Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an
  opportunity to take appropriate corrective action before NIH makes a termination decision,” [6] no corrective
  action is possible here. The premise of this award is incompatible with agency priorities, and no modification of
  the project could align the project with agency priorities.
  Costs resulting from financial obligations incurred after termination are not allowable. [7] Nothing in this notice
  excuses either NIH or you from complying with the closeout obligations imposed by 2 C.F.R. §§ 75.381-
  75.390. NIH will provide any information required by the Federal Funding Accountability and Transparency
  Act or the Office of Management and Budget’s regulations to USAspending.gov.[8]
  Administrative Appeal
  You may object and provide information and documentation challenging this termination. [9] NIH has
  established a first-level grant appeal procedure that must be exhausted before you may file an appeal with the
  Departmental Appeals Board.[10]
  You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written
  notification of the determination is received, except that if you show good cause why an extension of time
  should be granted, Dr. Memoli may grant an extension of time. [11]
  The request for review must include a copy of the adverse determination, must identify the issue(s) in dispute,
  and must contain a full statement of your position with respect to such issue(s) and the pertinent facts and
  reasons in support of your position. In addition to the required written statement, you shall provide copies of
  any documents supporting your claim. [12]


  Sincerely,




  Michelle G. Bulls, on behalf of                , Chief Grants Management Officer, NINDS
  Director, Office of Policy for Extramural Research Administration
  Office of Extramural Research




  [1]
      h ps://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
  [2]
      2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
  [3]
      Benne v. New Jersey, 470 U.S. 632, 638 (1985).
  [4]
      NIH Grants Policy Statement at IIA-1.
  [5]
      Id. at IIA-155.
  [6]
      NIH Grants Policy Statement at IIA-156.
  [7]
      See 2 C.F.R. § 200.343 (2024).
  [8]
      2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
  [9]
      See 45 C.F.R. § 75.374.
  [10]
       See 42 C.F.R. Part 50, Subpart D
  [11]
       11 Id. § 50.406(a)
                                                                   2
                                                                                               APHA App. 530
Case: 25-1611          Document: 00118310432   Page: 534    Date Filed: 07/08/2025    Entry ID: 6734280

                  Case 1:25-cv-10787-BEM
                  Case 1:25-cv-10787-BEM   Document 38-29
                                           Document 38-29    Filed 04/25/25
                                                             Filed 04/25/25   Page 51
                                                                              Page 51 of
                                                                                      of 68
                                                                                         68

   [12]
   [2] 12
       12 Id.
          Id. §§ 50.406(b)




                                                    3
                                                                                APHA App. 531
Case: 25-1611   Document: 00118310432   Page: 535   Date Filed: 07/08/2025   Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-29
                                  Document 38-29    Filed 04/25/25
                                                    Filed 04/25/25   Page 52
                                                                     Page 52 of
                                                                             of 68
                                                                                68




                         EXHIBIT
                         EXHIBIT F




                                                                        APHA App. 532
Case: 25-1611                          Document: 00118310432              Page: 536              Date Filed: 07/08/2025             Entry ID: 6734280

                              Ea Case
                                  Saparmmpnh el HeRg ape yn an Document
                                      1:25-cv-10787-BEM        BaNiéAhent 38-29
                                                                          38-29                  Filed 04/25/25
                                                                                                 Filed 04/25/25        Page 53
                                                                                                                       Page 53 of
                                                                                                                               of 68
                                                                                                                                  6S eee of Award

                        Te,
                                        National Institutes of Health
       a0 MEAL, v74 ,              a    NATIONAL INSTITUTE OF NEUROLOGICAL    DISORDERS AND STROKE                                 ai,    —_      Date
                                                                                                                                          03/24/2025
                        by,
                  ra




    Recipient Information                                       Federal Award Information
    1. Recipient Name

                                                               11. Award Number


    2. Congressional District of Recipient                     12. Unique Federal Award Identification Number (FAIN)


    3. Payment System Identifier                (ID)           13. Statutory Authority
                                                                   42 USC 241 42 CFR 52

    4. Employer Identification Number (EIN)                    14. Federal Award Project Title



    5. Data Universal Numbering System (DUNS)                  15. Assistance Listing Number


    6. Recipient's Unique Entity Identifier                    16. Assistance Listing Program Title
                                                                   Extramural Research Programs in the Neurosciences and Neurological Disorders

    7. Project Director or Principal Investigator              17. Award Action Type
                                                                   New Competing (REVISED)

                                                               18. Is the Award R&D?
                                                                   Yes

    8. Authorized Official                                                          Summary Federal Award Financial Information
                                                                19. Budget Period Start Date 09/28/2022 — End Date 03/21/2025
                                                                20. Total Amount of Federal Funds Obligated by this Action                         $o
                                                                         20 a. Direct Cost Amount                                                  $0
                                                                         20 b. Indirect Cost Amount                                                $0
                                                                21. Authorized Carryover
    Federal Agency Information                                  22. Offset
    9. Awarding Agency Contact Information                      23. Total Amount of Federal Funds Obligated this budget period            $6,882,205
                                                                24. Total Approved Cost Sharing or Matching, where applicable                      $0
       Chief Grants Management Officer                          25. Total Federal and Non-Federal Approved this Budget Period             $6,882,205
       NATIONAL INSTITUTE OF NEUROLOGICAL
       DISORDERS AND STROKE                                     26. Project Period Start Date 09/28/2022 — End Date 03/21/2025
                                                                27. Total Amount of the Federal Award including Approved Cost             $7,732,800
                                                                    Sharing or Matching this Project Period
 f


    10. Program Official Contact Information
                                                               28. Authorized Treatment of Program Income
       H ealth Science Policy Analyst                              Additional Costs
       NATIONAL INSTITUTE OF NEUROLOGICAL
       DISORDERS AND STROKE                                    29. Grants Management Officer - Signature



     30. Remarks
             Acceptance of this award, including the "Terms and Conditions,” is acknowledged by the recipient when funds are drawn down or
             otherwise requested from the grant payment system.




                                                                              Page 1 of 9




                                                                                                                            APHA App. 533
Case: 25-1611      Document: 00118310432                         Page: 537                          Date Filed: 07/08/2025       Entry ID: 6734280

                Case 1:25-cv-10787-BEM                 Document 38-29                               Filed 04/25/25   Page 54 of 68



                                                                        Notice of Award
           RESOURCE-RELATED RESEARCH
           Department of Health and Human Services
           National Institutes of Health

           NATIONAL INSTITUTE OF NEUROLOGICAL DISORDERS AND STROKE

                SECTION I – AWARD DATA –                                  REVISED



             Principal Investigator(s):


             Award e-mailed to:

             Dear Authorized Official:

             The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and “Terms
             and Conditions” in Section III) to                            in support of the above referenced project.
             This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject to the requirements of this
             statute and regulation and of other referenced, incorporated or attached terms and conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must include
             an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
             was supported by the National Institute Of Neurological Disorders And Stroke of the National Institutes of
             Health under Award Number                    . The content is solely the responsibility of the authors and does
             not necessarily represent the official views of the National Institutes of Health.” Prior to issuing a press
             release concerning the outcome of this research, please notify the NIH awarding IC in advance to allow for
             coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a reasonable
             expectation that the design, conduct and reporting of research funded under NIH awards will be free from
             bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
             revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
             through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,




             Grants Management Officer
             NATIONAL INSTITUTE OF NEUROLOGICAL DISORDERS AND STROKE

             Additional information follows




             Cumulative Award Calculations for this Budget Period (U.S. Dollars)
             Salaries and Wages                                                                                              $516,300

                                                                       Page 2 of 9
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:06 AM



                                                                                                                        APHA App. 534
Case: 25-1611     Document: 00118310432                           Page: 538                         Date Filed: 07/08/2025                Entry ID: 6734280

            Case 1:25-cv-10787-BEM                   Document 38-29                               Filed 04/25/25             Page 55 of 68

           Fringe Benefits                                                                                                         $165,216
           Personnel Costs (Subtotal)                                                                                              $681,516
           Consultant Services                                                                                                     $358,254
           Equipment                                                                                                                  $8,791
           Materials & Supplies                                                                                                    $509,214
           Travel                                                                                                                  $335,505
           Other                                                                                                                   $879,641
           Publication Costs                                                                                                       $505,428
           ADP/Computer Services                                                                                                   $355,176
           Equipment or Facility Rental/User Fees                                                                                    $52,500
           Participant Subsistence                                                                                                 $483,459
           Participant Travel                                                                                                     $2,087,865

           Federal Direct Costs                                                                                                    $6,257,349
           Federal F&A Costs                                                                                                        $624,856
           Approved Budget                                                                                                         $6,882,205
           Total Amount of Federal Funds Authorized (Federal Share)                                                                $6,882,205
           TOTAL FEDERAL AWARD AMOUNT                                                                                              $6,882,205

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                                          $0


                 SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 1 ) (for this Document Number)
          AWARD NUMBER                                            TOTAL FEDERAL AWARD AMOUNT
                                                                                        $6,882,205
                                                                                          $850,595
          TOTAL                                                                        $7,732,800


                               SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                    THIS AWARD                             CUMULATIVE TOTALS
             1                                  $6,882,205                                                                       $7,732,800

           Fiscal Information:
           Payment System Identifier:
           Document Number:
           PMS Account Type:                                           )
           Fiscal Year:                       2022

           IC        CAN                                                                2022
           DA                                                                           $5,142,623
           NS                                                                           $1,739,582



           NIH Administrative Data:
           PCC:             / OC:     / Released: 03/24/2025
           Award Processed: 03/25/2025 12:06:02 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION –                                                          REVISED

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS –                                                           REVISED

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                 a. The grant program legislation and program regulation cited in this Notice of Award.
                 b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                    those included in appropriations acts.
                 c. 45 CFR Part 75.
                 d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                                                            Page 3 of 9
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:06 AM



                                                                                                                                  APHA App. 535
Case: 25-1611        Document: 00118310432                            Page: 539                         Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                      Document 38-29                               Filed 04/25/25    Page 56 of 68

                      Statement, including addenda in effect as of the beginning date of the budget period.
                e.    Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                      progress report when applicable.
                f.    This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
           research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
           the rate(s) specified in the award document(s).


           Carry over of an unobligated balance into the next budget period requires Grants Management Officer prior
           approval.

           This grant is excluded from Streamlined Noncompeting Award Procedures (SNAP).

           MULTI-YEAR FUNDED AWARD: This is a multi-year funded award. A progress report is due annually on or
           before the anniversary of the budget/project period start date of the award, in accord with the instructions
           posted at: http://grants.nih.gov/grants/policy/myf.htm.

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
           (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN)                                   . Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
           may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
           applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
           information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


           This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
           Statement Section 8.6 Closeout for complete closeout requirements at:
           http://grants.nih.gov/grants/policy/policy.htm#gps.

           A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
           Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
           Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
           additional information on this submission requirement. The final FFR must indicate the exact balance of
           unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
           between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
           awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
           expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
           expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

           A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
           conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
           568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
           Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
           G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
           U42, U45, UC6, UC7, UR2, X01, X02.
                                                                       Page 4 of 9
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:06 AM



                                                                                                                            APHA App. 536
Case: 25-1611       Document: 00118310432                            Page: 540                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-29                               Filed 04/25/25    Page 57 of 68


           Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
           (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
           renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
           well. Instructions for preparing an Interim or Final RPPR are at:
           https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
           the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
           reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
           lay person audience.

           NIH requires electronic submission of the final invention statement through the Closeout feature in the
           Commons.

           NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
           then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
           electronically as noted above. If not already submitted, the Final Invention Statement is required and should
           be sent directly to the assigned Grants Management Specialist.

           This award is funded by the following list of institutes. Any papers published under the auspices of this
           award must cite the funding support of all institutes.
           National Institute On Drug Abuse (NIDA)
           National Institute Of Neurological Disorders And Stroke (NINDS)


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
           and https://www.hhs.gov/.

                ·    Recipients of FFA must ensure that their programs are accessible to persons with limited English
                     proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                     meaningful access to programs or activities by limited English proficient individuals,
                     see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                     sheet-guidance/index.html and https://www.lep.gov.
                ·    For information on an institution’s specific legal obligations for serving qualified individuals with
                     disabilities, including providing program access, reasonable modifications, and to provide effective
                     communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                ·    HHS funded health and education programs must be administered in an environment free of sexual
                     harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                     For information about NIH's commitment to supporting a safe and respectful work environment,
                     who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                     individuals supported on NIH-funded awards, please see
                     https://grants.nih.gov/grants/policy/harassment.htm.
                ·    For guidance on administering programs in compliance with applicable federal religious
                     nondiscrimination laws and applicable federal conscience protection and associated anti-
                     discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                     https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.



                                                                      Page 5 of 9
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:06 AM



                                                                                                                          APHA App. 537
Case: 25-1611     Document: 00118310432                              Page: 541                         Date Filed: 07/08/2025            Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-29                               Filed 04/25/25             Page 58 of 68

           Treatment of Program Income:
           Additional Costs

           SECTION IV – NS SPECIFIC AWARD CONDITIONS –                                                              REVISED


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.

           This award related to DEI no longer effectuates agency priorities. It is the policy of NIH not to further
           prioritize these research programs. Therefore, the award is terminated. Research programs based primarily
           on artificial and non-scientific categories, including amorphous equity objectives, are antithetical to the
           scientific inquiry, do nothing to expand our knowledge of living systems, provide low returns on investment,
           and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and
           inclusion (“DEI”) studies are often used to support unlawful discrimination on the basis of race and other
           protected characteristics, which harms the health of Americans. Therefore, it is the policy of NIH not to
           prioritize such research programs.                                 may request funds to support patient safety
           and orderly closeout of the project. Funds used to support any other research activities will be disallowed
           and recovered. Please be advised that your organization, as part of the orderly closeout process will need to
           submit the necessary closeout documents (i.e., Final Research Performance Progress Report, Final
           Invention Statement, and the Final Federal Financial Report (FFR), as applicable) within 120 days of the end
           of this grant to avoid unilateral closeout.

           NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as implemented in NIH GPS
           Section 8.5.2. This letter represents the final decision of the NIH. It shall be the final decision of the
           Department of Health and Human Services (HHS) unless within 30 days after receiving this decision you
           mail or email a written notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
           appeal justification, total amount in dispute, and any material or documentation that will support your
           position. Finally, the appeal must be signed by the institutional official authorized to sign award applications
           and must be postmarked no later than 30 days after the postmarked date of this notice.

                                  ADDITIONAL TERMS AND CONDITIONS ON
                                              HEAL GRANTS

            in addition to standard terms and conditions of awards, and standard IC
            terms, including standard clinical trials requirements outlined in the
            NIHGPS:
            https://grants.nih.gov/grants/policy/nihgps/html5/section 4/4.1.3 clinical
             trials r egistration and reporting in clinicaltrials.gov requirement.htm

            Data sharing requirements do not apply to SBIRs.


            HEAL Data Sharing Requirements
            NIH intends to maximize the impact of HEAL Initiative-supported projects
            through broad and rapid data sharing. All HEAL Initiative award recipients,
            regardless of the amount of direct costs requested for any one year, are
            required to comply with the HEAL Public Access and Data Sharing Policy,
            which also aligns with the NIH Policy for Data Management and Sharing
            (https://grants.nih.gov/grants/guide/notice-files/NOT-OD-21-013.html). HEAL
            award recipients must following all requirements and timelines developed
            through the HEAL Initiative Data Ecosystem, as described in HEAL’s
            compliance guidance (https://heal.nih.gov/data/complying- heal-data-sharing-
            policy):

            1. Submit a Data Management and Sharing Plan as part of your
                                                                      Page 6 of 9
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:06 AM



                                                                                                                                   APHA App. 538
Case: 25-1611   Document: 00118310432                      Page: 542                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM           Document 38-29                               Filed 04/25/25    Page 59 of 68

            application for HEAL funding; follow the plan as part of your award
               ·  HEAL Initiative applicants, regardless of the amount of direct costs
                  requested for any budget or project, must submit a data management
                  and sharing plan (as part of their resource sharing plan) that outlines
                  management and sharing of scientific data, accompanying metadata,
                  other relevant data, and associated documentation. The plan should
                  describe data types, file formats, submission timelines, and standards
                  used in collecting or processing the data.
               ·  Data management and sharing plans should include the proposed
                  repository where HEAL-generated data will be stored long-term.
                  Submission and curation costs may be included in budgets.

            2. Upon award, finalize a data repository selection
                · Data generated by HEAL Initiative-funded projects must be
                  submitted to study- appropriate data repositories to ensure the data
                  is accessible via the HEAL Initiative Data Ecosystem.
                · Some repositories require use of specific data dictionaries or structured
                  data elements, so knowing your repository’s requirements up front can
                  help reduce the burden of preparing data for submission.
                · HEAL-funded awardees must follow requirements for selected repository

            3. Within one year of award, register your study with the HEAL platform.
                ·  This process will connect the Platform to information about your
                   study and data, including metadata, and identify the selected
                   repository.
                ·  HEAL requests initial submission within one year of award, with annual
                   updates, and to be updated in accordance with any release of study
                   data.

            4. Report data submission when HEAL-generated data are deposited in
               repositories
                ·  At the completion of the study and/or when prepared to make the final
                   data deposits in the repositor(ies) of choice, ensure your study
                   registration is complete.
                ·  The NIH HEAL Initiative expects submission of data used in
                   publications to be submitted to repositories at the time of or prior to
                   publication.

            5. Report publications

            Award recipients and their collaborators are required to acknowledge HEAL
            Initiative support by referencing in the acknowledgement sections of any
            relevant publication:
            “This research was supported by the National Institutes of Health through the
            NIH HEAL Initiative (https://heal.nih.gov/) under award number [include specific
            grant/contract/award number; with NIH grant number(s) in this format:
            R01GM987654].”


            HEAL Initiative studies conducting clinical research or research involving
                                                            Page 7 of 9
                                     Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:06 AM



                                                                                                                APHA App. 539
Case: 25-1611       Document: 00118310432                      Page: 543                         Date Filed: 07/08/2025   Entry ID: 6734280

           Case 1:25-cv-10787-BEM               Document 38-29                               Filed 04/25/25    Page 60 of 68

            human subjects must meet the following additional requirements:
                ·    HEAL Initiative trials that are required to register in clinicaltrials.gov should
                     reference support from and inclusion in the HEAL Initiative by including the
                     standardized terms “the HEAL Initiative (https://heal.nih.gov/)” in the Study
                     Description Section.
                ·    All new HEAL clinical pain studies are required to submit their case-report
                     forms/questionnaires to the HEAL Clinical Data Elements (CDE) Program. The
                     program will create the CDE files containing standardized variable names,
                     responses, coding, and other information. The program will also format the
                     case-report forms in a standardized way that is compliant with accessibility
                     standards under Section 508 of the Rehabilitation Act of 1973 (29 U.S.C § 794
                     (d)), which
                     “require[s] Federal agencies to make their electronic and information
                     technology accessible to people with disabilities.” HEAL Initiative clinical
                     studies that are using copyrighted questionaries are required to obtain licenses
                     for use prior to initiating data collection. Licenses must be shared with the
                     HEAL CDE team and the program officer prior to use of copyrighted materials.
                     For additional information, visit the HEAL CDE Program.
                ·    To the extent possible, HEAL awardees are expected to integrate broad
                     data sharing consent language into their informed consent forms.

            Additional details, resources, and tools to assist with data related activities can
            be found at https://www.healdatafair.org/.

            All data collected as part of the NIH HEAL Initiative are so collected under a
            Certificate of Confidentiality and entitled to the protections thereof. Institutions
            who receive Data and/or Materials from this award for performance of
            activities under this award are required to use the Data and/or Materials only
            as outlined by the NIH HEAL Initiative, in a manner that is
            consistent with applicable state and federal laws and regulations, including any
            informed consent requirements and the terms of the institution’s NIH funding,
            including NOT-OD-17-109 and 42 U.S.C. 241(d). Failure to adhere to this
            criterion may result in enforcement actions.


            Declaration of Exceptional Circumstances (DECs)
            This award is funded through the NIH HEAL Initiative
            (https://www.nih.gov/research- training/medical-research-initiatives/heal-
            initiative). The requirements here include, but are not limited to, reporting
            requirements and data sharing are incorporated due to the need to respond to
            the national opioid public health crisis. As part of the response to this crisis, the
            NIH intends to maximize the availability of publications and the sharing of
            underlying data for NIH HEAL Initiative supported research projects. Award
            recipients are expected to cooperate and comply with all NIH data sharing
            including the aforementioned central data sharing platform requirements
            developed for this public health emergency during the project period.

            Participation in Annual Investigator Meetings
            The NIH HEAL Initiative will require a high level of coordination and sharing
            between investigators. It is expected that NIH HEAL Initiative awardees will
            cooperate and coordinate their activities after awards are made by participating
            in Program Director/Principal Investigator (PD/PI) meetings, including an annual
                                                                Page 8 of 9
                                         Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:06 AM



                                                                                                                    APHA App. 540
Case: 25-1611      Document: 00118310432                            Page: 544                        Date Filed: 07/08/2025     Entry ID: 6734280

            Case 1:25-cv-10787-BEM                       Document 38-29                               Filed 04/25/25   Page 61 of 68

                HEAL Investigators Meeting, as well as other activities.



            SPREADSHEET SUMMARY
            AWARD NUMBER:                               REVISED

            INSTITUTION:                                        .

            Budget                                                         Year 1
            Salaries and Wages                                             $516,300
            Fringe Benefits                                                $165,216
            Personnel Costs (Subtotal)                                     $681,516
            Consultant Services                                            $358,254
            Equipment                                                      $8,791
            Materials & Supplies                                           $509,214
            Travel                                                         $335,505
            Other                                                          $879,641
            Publication Costs                                              $505,428
            ADP/Computer Services                                          $355,176
            Equipment or Facility Rental/User Fees                         $52,500
            Participant Subsistence                                        $483,459
            Participant Travel                                             $2,087,865
            TOTAL FEDERAL DC                                               $6,257,349
            TOTAL FEDERAL F&A                                              $624,856
            TOTAL COST                                                     $6,882,205


            Facilities and Administrative Costs                            Year 1
            F&A Cost Rate 1                                                10%
            F&A Cost Base 1                                                $1,881,544
            F&A Costs 1                                                    $188,154
            F&A Cost Rate 2                                                10%
            F&A Cost Base 2                                                $2,486,786
            F&A Costs 2                                                    $248,679
            F&A Cost Rate 3                                                10%
            F&A Cost Base 3                                                $1,880,228
            F&A Costs 3                                                    $188,023




                                                                         Page 9 of 9
                                                  Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:06 AM

                                                                                                                          APHA App. 541
Case: 25-1611   Document: 00118310432   Page: 545   Date Filed: 07/08/2025    Entry ID: 6734280




         Case 1:25-cv-10787-BEM
         Case 1:25-cv-10787-BEM   Document 38-29
                                  Document 38-29    Filed 04/25/25
                                                    Filed 04/25/25   Page 62
                                                                     Page 62 of
                                                                             of 68
                                                                                68




                        EXHIBIT
                        EXHIBIT G




                                                                        APHA App. 542
Case: 25-1611                       Document: 00118310432                  Page: 546           Date Filed: 07/08/2025           Entry ID: 6734280

                        Ea Case
                            Saparmmpnh el HeRg ape yn an Document
                                1:25-cv-10787-BEM        BaNgAhent 38-29
                                                                   38-29                       Filed 04/25/25
                                                                                               Filed 04/25/25       Page 63
                                                                                                                    Page 63 of
                                                                                                                            of 68
                                                                                                                               6S eee of Award

                   %
                                     National Institutes of Health
            ‘
       «OF MEALI                a    NATIONAL INSTITUTE OF NEUROLOGICAL       DISORDERS AND STROKE                             ai,   —_     Date
                   4,                                                                                                                03/24/2025
                    *   Neer




    Recipient Information                                    Federal Award Information
    1. Recipient Name

      ee                                                    11. Award Number
    2. Congressional District of Recipient                  12. Unique Federal Award Identification Number (FAIN)


    3. Payment System Identifier (ID)                       13. Statutory Authority
      |                        ss                              42 USC 241      42 CFR 52

    4. Employer Identification Number (EIN)                 14. Federal Award Project Title


    5. Data Universal Numbering System (DUNS)               15. Assistance Listing Number


    6. Recipient's Unique Entity Identifier                 16. Assistance Listing Program Title
      Po                                                       Drug Abuse and Addiction Research Programs
    7. Project Director or Principal Investigator           17. Award Action Type
      a                                                        Supplement (REVISED)
                                                            18. Is the Award R&D?
                                                                Yes

    8. Authorized Official                                                       Summary Federal Award Financial Information
                                                             19. Budget Period Start Date 03/01/2024 — End Date 03/21/2025
                                                             20. Total Amount of Federal Funds Obligated by this Action                      $o
                                                                          20 a. Direct Cost Amount                                           $0
                                                                          20 b. Indirect Cost Amount                                         $0
                                                             21. Authorized Carryover
    Federal Agency Information                               22. Offset
    9. Awarding Agency Contact Information                   23. Total Amount of Federal Funds Obligated this budget period           $850,595
               a                                             24. Total Approved Cost Sharing or Matching, where applicable                   $o
       Chief Grants Management Officer                       25. Total Federal and Non-Federal Approved this Budget Period            $850,595
       NATIONAL INSTITUTE OF NEUROLOGICAL                            .       .
       DISORDERS AND STROKE                                  26. Project Period Start Date 09/28/2022 — End Date 03/21/2025
                                                             27. Total Amount of the Federal Award including Approved Cost           $7,732,800
                                                                 Sharing or Matching this Project Period
 f


    10. Program Official Contact Information
                                                            28. Authorized Treatment of Program Income
       H ealth Science Policy Analyst                           Additional Costs
       NATIONAL INSTITUTE OF NEUROLOGICAL
       DISORDERS AND STROKE                                 29. Grants Management Officer - Signature



     30. Remarks
            Acceptance of this award, including the "Terms and Conditions,” is acknowledged by the recipient when funds are drawn down or
            otherwise requested from the grant payment system.




                                                                              Page 1 of 6




                                                                                                                         APHA App. 543
Case: 25-1611      Document: 00118310432                         Page: 547                          Date Filed: 07/08/2025       Entry ID: 6734280

                Case 1:25-cv-10787-BEM                 Document 38-29                               Filed 04/25/25   Page 64 of 68



                                                                        Notice of Award
           RESOURCE-RELATED RESEARCH
           Department of Health and Human Services
           National Institutes of Health

           NATIONAL INSTITUTE OF NEUROLOGICAL DISORDERS AND STROKE

                SECTION I – AWARD DATA –                                       REVISED



             Principal Investigator(s):


             Award e-mailed to:

             Dear Authorized Official:

             The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and “Terms
             and Conditions” in Section III) to                           . in support of the above referenced project.
             This award is pursuant to the authority of 42 USC 241 42 CFR 52 and is subject to the requirements of this
             statute and regulation and of other referenced, incorporated or attached terms and conditions.

             Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
             funds are drawn down or otherwise requested from the grant payment system.

             Each publication, press release, or other document about research supported by an NIH award must include
             an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
             was supported by the National Institute Of Neurological Disorders And Stroke of the National Institutes of
             Health under Award Number                     The content is solely the responsibility of the authors and does
             not necessarily represent the official views of the National Institutes of Health.” Prior to issuing a press
             release concerning the outcome of this research, please notify the NIH awarding IC in advance to allow for
             coordination.

             Award recipients must promote objectivity in research by establishing standards that provide a reasonable
             expectation that the design, conduct and reporting of research funded under NIH awards will be free from
             bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
             revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
             through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
             Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
             website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
             information.

             If you have any questions about this award, please direct questions to the Federal Agency contacts.

             Sincerely yours,




             Grants Management Officer
             NATIONAL INSTITUTE OF NEUROLOGICAL DISORDERS AND STROKE

             Additional information follows




             Cumulative Award Calculations for this Budget Period (U.S. Dollars)
             Salaries and Wages                                                                                              $191,215

                                                                       Page 2 of 6
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:19 AM



                                                                                                                        APHA App. 544
Case: 25-1611     Document: 00118310432                           Page: 548                         Date Filed: 07/08/2025                  Entry ID: 6734280

            Case 1:25-cv-10787-BEM                   Document 38-29                               Filed 04/25/25               Page 65 of 68

           Fringe Benefits                                                                                                             $66,217
           Personnel Costs (Subtotal)                                                                                                 $257,432
           Consultant Services                                                                                                          $1,000
           Materials & Supplies                                                                                                        $76,373
           Travel                                                                                                                       $5,521
           Other                                                                                                                       $17,747
           Publication Costs                                                                                                           $22,718
           ADP/Computer Services                                                                                                       $17,029
           Equipment or Facility Rental/User Fees                                                                                       $7,860
           Participant Subsistence                                                                                                     $43,771
           Participant Travel                                                                                                         $153,295

           Federal Direct Costs                                                                                                       $602,746
           Federal F&A Costs                                                                                                          $247,849
           Approved Budget                                                                                                            $850,595
           Total Amount of Federal Funds Authorized (Federal Share)                                                                   $850,595
           TOTAL FEDERAL AWARD AMOUNT                                                                                                 $850,595

           AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                                            $0


                 SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 1 ) (for this Document Number)
          AWARD NUMBER                                            TOTAL FEDERAL AWARD AMOUNT
                                                                                          $850,595
                                                                                        $6,882,205
          TOTAL                                                                        $7,732,800


                               SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
            YR                    THIS AWARD                             CUMULATIVE TOTALS
             1                                   $850,595                                                                          $7,732,800

           Fiscal Information:
           Payment System Identifier:
           Document Number:
           PMS Account Type:
           Fiscal Year:                        2024

           IC        CAN                                                                2024
           NS                                                                           $850,595



           NIH Administrative Data:
           PCC:             / OC:     / Released: 03/24/2025
           Award Processed: 03/25/2025 12:19:43 AM

           SECTION II – PAYMENT/HOTLINE INFORMATION –                                                              REVISED

           For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
           http://grants.nih.gov/grants/policy/awardconditions.htm

           SECTION III – STANDARD TERMS AND CONDITIONS –                                                             REVISED

           This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
           is subject to the terms and conditions incorporated either directly or by reference in the following:

                 a. The grant program legislation and program regulation cited in this Notice of Award.
                 b. Conditions on activities and expenditure of funds in other statutory requirements, such as
                    those included in appropriations acts.
                 c. 45 CFR Part 75.
                 d. National Policy Requirements and all other requirements described in the NIH Grants Policy
                    Statement, including addenda in effect as of the beginning date of the budget period.
                 e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
                                                            Page 3 of 6
                                              Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:19 AM



                                                                                                                                    APHA App. 545
Case: 25-1611        Document: 00118310432                            Page: 549                         Date Filed: 07/08/2025          Entry ID: 6734280

           Case 1:25-cv-10787-BEM                      Document 38-29                               Filed 04/25/25    Page 66 of 68

                      progress report when applicable.
                f.    This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

           (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htm for certain
           references cited above.)

           Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
           definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
           awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
           should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
           some awards may have another classification for purposes of indirect costs. The auditor is not required to
           report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
           research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
           the rate(s) specified in the award document(s).


           Carry over of an unobligated balance into the next budget period requires Grants Management Officer prior
           approval.

           This grant is excluded from Streamlined Noncompeting Award Procedures (SNAP).

           This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
           (UEI) and maintain an active registration in the System for Award Management (SAM). Should a
           consortium/subaward be issued under this award, a UEI requirement must be included. See
           http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
           requirement and other additional information.

           This award has been assigned the Federal Award Identification Number (FAIN)                                   . Recipients
           must document the assigned FAIN on each consortium/subaward issued under this award.

           Based on the project period start date of this project, this award is likely subject to the Transparency Act
           subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
           may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
           applicability information.

           In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
           information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


           This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
           Statement Section 8.6 Closeout for complete closeout requirements at:
           http://grants.nih.gov/grants/policy/policy.htm#gps.

           A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
           Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
           Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
           additional information on this submission requirement. The final FFR must indicate the exact balance of
           unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
           between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
           awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
           expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
           expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

           A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
           conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
           568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
           Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
           G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
           U42, U45, UC6, UC7, UR2, X01, X02.

           Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
           (Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
           renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
           well. Instructions for preparing an Interim or Final RPPR are at:
           https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
                                                                       Page 4 of 6
                                                Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:19 AM



                                                                                                                            APHA App. 546
Case: 25-1611       Document: 00118310432                            Page: 550                         Date Filed: 07/08/2025            Entry ID: 6734280

           Case 1:25-cv-10787-BEM                     Document 38-29                               Filed 04/25/25             Page 67 of 68

           the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
           reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
           lay person audience.

           NIH requires electronic submission of the final invention statement through the Closeout feature in the
           Commons.

           NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
           then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
           electronically as noted above. If not already submitted, the Final Invention Statement is required and should
           be sent directly to the assigned Grants Management Specialist.


           Recipients must administer the project in compliance with federal civil rights laws that prohibit
           discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
           conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
           basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
           pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
           persons with limited English proficiency and providing programs that are accessible to and usable by
           persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
           laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
           and https://www.hhs.gov/.

                ·    Recipients of FFA must ensure that their programs are accessible to persons with limited English
                     proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
                     meaningful access to programs or activities by limited English proficient individuals,
                     see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
                     sheet-guidance/index.html and https://www.lep.gov.
                ·    For information on an institution’s specific legal obligations for serving qualified individuals with
                     disabilities, including providing program access, reasonable modifications, and to provide effective
                     communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
                ·    HHS funded health and education programs must be administered in an environment free of sexual
                     harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
                     For information about NIH's commitment to supporting a safe and respectful work environment,
                     who to contact with questions or concerns, and what NIH's expectations are for institutions and the
                     individuals supported on NIH-funded awards, please see
                     https://grants.nih.gov/grants/policy/harassment.htm.
                ·    For guidance on administering programs in compliance with applicable federal religious
                     nondiscrimination laws and applicable federal conscience protection and associated anti-
                     discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
                     https://www.hhs.gov/conscience/religious-freedom/index.html.

           In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
           75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
           with cumulative total value greater than $10,000,000 must report and maintain information in the System for
           Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
           award or performance of a Federal award that reached final disposition within the most recent five-year
           period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
           information will be made publicly available in the designated integrity and performance system (currently
           the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
           and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.


           Treatment of Program Income:
           Additional Costs

           SECTION IV – NS SPECIFIC AWARD CONDITIONS –                                                              REVISED


          Clinical Trial Indicator: No
          This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
          for NIH definition of Clinical Trial.



                                                                      Page 5 of 6
                                               Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:19 AM



                                                                                                                                   APHA App. 547
Case: 25-1611    Document: 00118310432                              Page: 551                         Date Filed: 07/08/2025    Entry ID: 6734280

            Case 1:25-cv-10787-BEM                       Document 38-29                               Filed 04/25/25   Page 68 of 68

            This award related to DEI no longer effectuates agency priorities. It is the policy of NIH not to further
            prioritize these research programs. Therefore, the award is terminated. Research programs based primarily
            on artificial and non-scientific categories, including amorphous equity objectives, are antithetical to the
            scientific inquiry, do nothing to expand our knowledge of living systems, provide low returns on investment,
            and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and
            inclusion (“DEI”) studies are often used to support unlawful discrimination on the basis of race and other
            protected characteristics, which harms the health of Americans. Therefore, it is the policy of NIH not to
            prioritize such research programs.                                . may request funds to support patient safety
            and orderly closeout of the project. Funds used to support any other research activities will be disallowed
            and recovered. Please be advised that your organization, as part of the orderly closeout process will need to
            submit the necessary closeout documents (i.e., Final Research Performance Progress Report, Final
            Invention Statement, and the Final Federal Financial Report (FFR), as applicable) within 120 days of the end
            of this grant to avoid unilateral closeout.

            NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as implemented in NIH GPS
            Section 8.5.2. This letter represents the final decision of the NIH. It shall be the final decision of the
            Department of Health and Human Services (HHS) unless within 30 days after receiving this decision you
            mail or email a written notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
            appeal justification, total amount in dispute, and any material or documentation that will support your
            position. Finally, the appeal must be signed by the institutional official authorized to sign award applications
            and must be postmarked no later than 30 days after the postmarked date of this notice.




            SPREADSHEET SUMMARY
            AWARD NUMBER:                                   REVISED

            INSTITUTION:                                        .

            Budget                                                         Year 1
            Salaries and Wages                                             $191,215
            Fringe Benefits                                                $66,217
            Personnel Costs (Subtotal)                                     $257,432
            Consultant Services                                            $1,000
            Materials & Supplies                                           $76,373
            Travel                                                         $5,521
            Other                                                          $17,747
            Publication Costs                                              $22,718
            ADP/Computer Services                                          $17,029
            Equipment or Facility Rental/User Fees                         $7,860
            Participant Subsistence                                        $43,771
            Participant Travel                                             $153,295
            TOTAL FEDERAL DC                                               $602,746
            TOTAL FEDERAL F&A                                              $247,849
            TOTAL COST                                                     $850,595


            Facilities and Administrative Costs                            Year 1
            F&A Cost Rate 1                                                41.12%
            F&A Cost Base 1                                                $602,746
            F&A Costs 1                                                    $247,849




                                                                         Page 6 of 6
                                                  Version: 25 - 2/15/2024 9:51 AM | Generated on: 3/25/2025 12:19 AM

                                                                                                                          APHA App. 548
